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                                  Hearing Date and Time: November 15, 2018 at 10:00 a.m. (Eastern Time)
                                  Objection Date and Time: November 8, 2018 at 4:00 p.m. (Eastern Time)

    PAUL, WEISS, RIFKIND, WHARTON &
    GARRISON LLP
    1285 Avenue of the Americas
    New York, New York 10019
    Tel: 212-373-3000
    Fax: 212-757-3990
    Paul M. Basta
    Kelley A. Cornish
    Lewis R. Clayton
    Susanna M. Buergel
    Robert Britton
    Jonathan Hurwitz

    Proposed Counsel for Debtors
    and Debtors in Possession

    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    ----------------------------------------------------------------x
    In re:                                                           :      Chapter 11
                                                                     :
    SEARS HOLDINGS CORPORATION, et al.,                              :      Case No. 18-23538 (RDD)
                                                                     :
                      Debtors.    1                                  :      (Jointly Administered)
                                                                     :
    ----------------------------------------------------------------x



    1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation
        (3116); Kmart Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680);
        ServiceLive Inc. (6774); A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E
        Lawn & Garden, LLC (5028); A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel
        Solutions, Inc. (7180); Kmart Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022);
        Sears Development Co. (6028); Sears Holdings Management Corporation (2148); Sears Home & Business
        Franchises, Inc. (6742); Sears Home Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C.
        (7182); Sears Procurement Services, Inc. (2859); Sears Protection Company (1250); Sears Protection
        Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc.
        (3626); SYW Relay LLC (1870); Wally Labs LLC (None); Big Beaver of Florida Development, LLC
        (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133); KBL Holding
        Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898); Kmart
        Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
        Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection
        Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC
        (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034);
        Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); SHC Licensed
        Business LLC (3718); SHC Promotions LLC (9626); and Sears Brands Management Corporation (5365).
        The location of the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman Estates, Illinois
        60179.
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                             Hearing Date and Time: November 15, 2018 at 10:00 a.m. (Eastern Time)
                             Objection Date and Time: November 8, 2018 at 4:00 p.m. (Eastern Time)

                   NOTICE OF HEARING ON DEBTORS’
              APPLICATION FOR AN ORDER AUTHORIZING
       THE RETENTION AND EMPLOYMENT OF PAUL, WEISS, RIFKIND,
      WHARTON & GARRISON LLP AS ATTORNEYS FOR THE DEBTORS
    AND DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

           PLEASE TAKE NOTICE that a hearing on the annexed Debtors’ Application for

    an Order Authorizing the Retention and Employment of Paul, Weiss, Rifkind, Wharton &

    Garrison LLP as Attorneys for the Debtors and Debtors In Possession Nunc Pro Tunc to

    the Petition Date (the “Application”) of Sears Holdings Corporation and its debtor

    affiliates, as debtors and debtors in possession in the above-captioned chapter 11 cases

    (collectively, the “Debtors”), for entry of an order pursuant to sections 327(a) and 330 of

    title 11 of the United States Code (the “Bankruptcy Code”), rule 2014 and rule 2016 of

    the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 2014-1

    and rule 2016-1 of the Local Bankruptcy Rules for the Southern District of New York (the

    “Local Rules”), will be held before the Honorable Robert D. Drain, United States

    Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District of New

    York, Courtroom 118, 300 Quarropas Street, White Plains, New York, 10601-4140 (the

    “Bankruptcy Court”) on November 15, 2018 at 10:00 a.m. (Eastern Time)

    (the “Hearing”), or as soon thereafter as counsel may be heard.


           PLEASE TAKE FURTHER NOTICE that any responses or objections

    (the “Objections”) to the Application shall be in writing, shall conform to the Bankruptcy

    Rules and the Local Rules, shall be filed with the Bankruptcy Court (a) by attorneys

    practicing in the Bankruptcy Court, including attorneys admitted pro hac vice,

    electronically in accordance with General Order M-399 (which can be found at

    www.nysb.uscourts.gov), and (b) by all other parties in interest, on a CD-ROM, in text-
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    searchable portable document format (PDF) (with a hard copy delivered directly to

    Chambers), in accordance with the customary practices of the Bankruptcy Court and

    General Order M-399, to the extent applicable, and shall be served in accordance with the

    Order Implementing Certain Notice and Case Management Procedures, entered on

    October 17, 2018 (ECF No. 139), so as to be filed and received no later than November 8,

    2018 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”).


           PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and

    served with respect to the Application, the Debtors may, on or after the Objection Deadline,

    submit to the Bankruptcy Court an order substantially in the form of the proposed order

    annexed to the Application, which order may be entered without further notice or

    opportunity to be heard.


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                             Hearing Date and Time: November 15, 2018 at 10:00 a.m. (Eastern Time)
                             Objection Date and Time: November 8, 2018 at 4:00 p.m. (Eastern Time)

           PLEASE TAKE FURTHER NOTICE that any objecting parties are required to

    attend the Hearing, and failure to appear may result in relief being granted upon default.


     Dated: November 1, 2018
            New York, New York

                                                /s/ Paul M. Basta____________________
                                                PAUL, WEISS, RIFKIND, WHARTON &
                                                GARRISON LLP
                                                1285 Avenue of the Americas
                                                New York, New York 10019
                                                Tel: 212-373-3000
                                                Fax: 212-757-3990
                                                Paul M. Basta
                                                Kelley A. Cornish
                                                Lewis R. Clayton
                                                Susanna M. Buergel
                                                Robert Britton
                                                Jonathan Hurwitz

                                                Proposed Counsel for Debtors
                                                and Debtors in Possession
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                           :       Chapter 11
                                                                 :
SEARS HOLDINGS CORPORATION, et al.,                              :       Case No. 18-23538 (RDD)
                                                                 :
                  Debtors. 1                                     :       (Jointly Administered)
                                                                 :
----------------------------------------------------------------x
            DEBTORS’ APPLICATION FOR AN ORDER AUTHORIZING
         THE RETENTION AND EMPLOYMENT OF PAUL, WEISS, RIFKIND,
        WHARTON & GARRISON LLP AS ATTORNEYS FOR THE DEBTORS
      AND DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

                   Sears Holdings Corporation (“Sears”) and its affiliated debtors and debtors in

possession (each a “Debtor” and, collectively, the “Debtors”) submit this application

(this “Retention Application”) for entry of an order, substantially in the form attached hereto as

Exhibit A (the “Proposed Order”), pursuant to sections 327(a) and 330 of title 11 of the United

States Code (the “Bankruptcy Code”), rule 2014 and rule 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rule 2014-1 and rule 2016-1 of the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”), authorizing the retention and


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
    LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
    Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
    Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
    MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
    Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
    (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
    Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
    Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); Big Beaver of Florida
    Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133);
    KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898);
    Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
    Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
    (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
    Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
    (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); SHC Licensed Business LLC (3718); SHC
    Promotions LLC (9626); and Sears Brands Management Corporation (5365). The location of the Debtors’ corporate
    headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss” or the “Firm”) as

the Debtors’ attorneys nunc pro tunc to the Petition Date (as defined below), to render professional

services        (i) acting     at     the     direction       of     the     restructuring       sub-committee

(the “Restructuring Sub-Committee”) of the restructuring committee (the “Restructuring

Committee”) of the Company’s board of directors (the “Board”) with respect to certain matters

controlled by the Restructuring Sub-Committee (the “RSC Conflict Matters”), including the

Debtors’ investigation into prepetition related party transactions, and (ii) acting at the direction of

the Restructuring Committee or the Restructuring Sub-Committee, as the case may be, in

connection with all matters in which Weil, Gotshal, & Manges LLP (“Weil”) cannot represent the

Debtors due to an actual or perceived conflict of interest (the “Other Conflict Matters” and,

together with the RSC Conflict Matters, the “Conflict Matters”). In support of this Retention

Application, the Debtors rely upon the declaration of Paul M. Basta (the “Basta Declaration”)

attached hereto as Exhibit B and (b) the declaration of William Transier, Disinterested Director 2

of Sears Holdings Corporation (the “Transier Declaration”), attached hereto as Exhibit C, and

respectfully state as follows:

                                            Jurisdiction and Venue

                   1.        This Court has jurisdiction to consider this matter pursuant to

28 U.S.C. §§ 157 and 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. This matter

is a core proceeding pursuant to 28 U.S.C. § 157(b).




2
    The members of the Restructuring Committee are Paul DePodesta, Ann Reese, Alan Carr, and William Transier.
    The members of the Restructuring Sub-Committee are Alan Carr and William Transier (together, the “Disinterested
    Directors”).
                                                          2
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               2.      The statutory predicates for the relief requested herein are sections 327(a)

and 330 of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Local Rules 2014-1 and

2016-1.

                                          Background

               3.      On October 15, 2018 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code, thereby commencing the

instant cases (the “Chapter 11 Cases”). The Debtors continue to manage and operate their

businesses as debtors in possession under sections 1107 and 1108 of the Bankruptcy Code.

               4.      No trustee or examiner has been appointed in the Chapter 11 Cases. An

official committee of unsecured creditors was appointed on October 24, 2018. The Debtors’

Chapter 11 Cases are being jointly administered for procedural purposes only pursuant to Rule

1015(b) of the Bankruptcy Rules.

               5.      Additional information regarding the Debtors’ business, capital structure,

and the circumstances leading to the commencement of these Chapter 11 Cases is set forth in the

Declaration of Robert A. Riecker Pursuant to Rule 1007-2 of the Local Bankruptcy Rules for the

Southern District of New York [Docket No. 3] (the “Riecker Declaration”), which is incorporated

herein by reference.

                                        Relief Requested

               6.      By this Retention Application, the Debtors seek authority to retain and

employ Paul, Weiss as their attorneys to render professional services in connection with (i) RSC

Conflict Matters, at the direction of the Restructuring Sub-Committee in accordance with the terms

and conditions set forth in the Paul, Weiss engagement agreement effective as of October 8, 2018

(the “Engagement Letter”), attached hereto as Exhibit D, and (ii) Other Conflict Matters, at the


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direction of the Restructuring Committee or Restructuring Sub-Committee, as applicable, in

accordance with the terms and conditions of the Engagement Letter, subject in each case to any

actual or perceived conflicts of interest that Paul, Weiss may have with respect to such Conflict

Matters. The Debtors request that the Court approve the retention of Paul, Weiss as attorneys to

perform the legal services described herein that will be required during these Chapter 11 Cases.

                                   Paul, Weiss’s Qualifications

               7.      These Chapter 11 Cases, including the RSC Conflict Matters and any Other

Conflict Matters, will be complex. While the Debtors’ primary restructuring counsel will oversee

the general day-to-day administration and prosecution of these Chapter 11 Cases, the Conflict

Matters will require separate counsel with expansive experience and knowledge in, among other

areas, the fields of debtors’ and creditors’ rights, investigations, complex litigation and corporate

governance matters. Paul, Weiss is a full-service law firm with a national and international

presence and has experience and expertise in every major substantive area of legal practice,

including the foregoing fields. Paul, Weiss was retained as of October 8th of this year to assist

with the Conflict Matters in connection with the commencement of the Chapter 11 Cases. Since

that time, Paul, Weiss attorneys have spent significant time developing an understanding of

potential RSC Conflict Matters and related legal issues, and beginning an investigation of RSC

Conflict Matters. In particular, Paul, Weiss served preliminary informal document requests related

to the RSC Conflict Matters on multiple parties at the direction of the Restructuring

Sub-Committee prior to the Petition Date, has served additional document requests since the

Petition Date, and has received multiple productions of documents and begun to conduct witness

interviews. Paul, Weiss is working closely with the Restructuring Sub-Committee and its other

advisors to diligently conduct the Restructuring Sub-Committee’s ongoing investigation into


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prepetition RSC Conflict Matters and to analyze and advise the Restructuring Sub-Committee with

respect to potential postpetition RSC Conflict Matters.

               8.      For the foregoing reasons, the Debtors believe that Paul, Weiss is

particularly well-situated and well-qualified to represent them in connection with the Conflict

Matters in a most efficient and timely manner. Accordingly, the retention of Paul, Weiss is

necessary and in the best interests of the Debtors, their estates and their creditors.

               9.      The Debtors have been informed that Paul M. Basta and Kelley A. Cornish,

partners of Paul, Weiss, as well as other partners of, counsel to, and associates of Paul, Weiss who

will be working on this matter, are members in good standing of, among others, the Bar of the

State of New York and the United States District Court for the Southern District of New York.

                                      Services to Be Provided

               10.     Prior to the Petition Date, the Debtors retained Paul, Weiss to fulfill two

roles. First, Paul, Weiss will assist the Restructuring Sub-Committee with respect to all RSC

Conflict Matters. In this role, Paul, Weiss will act solely at the direction of the Disinterested

Directors (the sole members of the Restructuring Sub-Committee). Second, Paul, Weiss will assist

the Restructuring Committee or Restructuring Sub-Committee, as the case may be, in the event of

any actual or perceived Other Conflict Matter that prevents Weil from representing the Debtors in

connection with any particular matter in these Chapter 11 Cases, subject in each case to any actual

or perceived conflicts of interest that Paul, Weiss may have with respect to such Conflict Matters.

               11.     The Debtors request authority to retain Paul, Weiss to continue to provide

advice with respect to Conflict Matters at the direction of the Restructuring Sub-Committee and

the Restructuring Committee, as applicable, in accordance with the terms of the Engagement

Letter. Among other things, Paul, Weiss will provide services related to:


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                      (a)     investigating and advising the Restructuring Sub-Committee
                              regarding whether a matter constitutes a RSC Conflict Matter;

                      (b)     conducting investigations and analyses sufficient to advise the
                              Restructuring Sub-Committee regarding RSC Conflict Matters;

                      (c)     implementing the directions of the Restructuring Sub-Committee
                              related to RSC Conflict Matters;

                      (d)     implementing the directions of the Restructuring Committee or the
                              Restructuring Sub-Committee, as the case may be, with respect to
                              Other Conflict Matters; and

                      (e)     rendering services for the Restructuring Sub-Committee and
                              Restructuring Committee including, but not limited to, fact
                              investigation, legal research, briefing, argument, discovery,
                              negotiation, litigation, participation in meetings of the Board and
                              applicable committees thereof, appearance and participation in
                              hearings, and communications and meetings with parties in interest,
                              in each case as it relates to RSC Conflict Matters or Other Conflict
                              Matters.

               12.    Paul, Weiss has stated its desire and willingness to act in these Chapter 11

Cases with respect to the Conflict Matters and render the necessary professional services as

attorneys for the Debtors.

               13.    By separate application, the Debtors have requested that the Court approve

the retention and employment of (among others) (i) Weil, as lead restructuring counsel on matters

other than Conflict Matters and (ii) Young Conaway Stargatt & Taylor, LLP (“YCST”) as conflicts

counsel with respect to any Conflict Matters in which Paul, Weiss has an actual or perceived

conflict of interest. Paul, Weiss will work closely (to the extent appropriate) with Weil, YCST,

the Debtors, and any other retained professionals to clearly delineate the respective scope of work

and to prevent unnecessary duplication of services whenever possible.


                                  Professional Compensation



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                    14.       The professional services of Paul, Weiss are necessary to ensure that all

Conflict Matters related to the Debtors’ Chapter 11 Cases are handled in an efficient, diligent and

expeditious manner. Paul, Weiss has advised the Debtors that, subject to the Court’s allowance of

compensation and reimbursement of expenses in accordance with applicable general orders and

fee guidelines of this Court, sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, and any other or further orders of the Court, it will charge the Debtors for its legal

services on an hourly basis in accordance with its ordinary and customary rates for matters of this

type in effect on the date such services are rendered, and for reimbursement of all costs and

expenses incurred in connection with these Chapter 11 Cases, as set forth in the Basta Declaration

filed concurrently herewith.

                    15.       The hourly rates set forth herein and in the Basta Declaration are the Firm’s

standard hourly rates. These rates are set at a level designed to fairly compensate the Firm for the

work of its attorneys and paralegals and to cover fixed and routine overhead expenses and are

revised on an annual basis. The current standard hourly rates for Paul, Weiss attorneys and

paralegals range from $1,165 to $1,560 per hour for partners; $1,125 to $1,160 per hour for

counsel; $480 to $1,065 per hour for staff attorneys and associates; and $110 to $365 per hour for

legal assistants. These rates are subject to periodic adjustment to reflect economic and other

conditions. 3 The Firm has not agreed to any variations from, or alternatives to, its standard billing

arrangements for this engagement. The following attorneys are currently expected to have primary

responsibility for representing the Debtors:


3
    Paul, Weiss, like other law firms, typically increases the hourly billing rate of attorneys and paraprofessionals once
    a year, which increase includes (i) ordinary step increases related to the advancing seniority or promotion of an
    attorney or paraprofessional (a “Step Increase”) and (ii) periodic rate increases with respect to each level of seniority
    (a “Rate Increase”). The Step Increases do not constitute “rate increases” (as the term is used in the Guidelines for
    Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by
    Attorneys in Larger Chapter 11 Cases, effective November 1, 2013 (the “US Trustee Guidelines”)).
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     Paul M. Basta (Partner)                26 years of experience      $1,560 per hour

     Kelley A. Cornish (Partner)            34 years of experience      $1,560 per hour

     Lewis R. Clayton (Partner)             39 years of experience      $1,560 per hour

     Susanna Buergel (Partner)              16 years of experience      $1,485 per hour

     Jonathan Hurwitz (Counsel)             31 years of experience      $1,160 per hour

     Karen King (Counsel)                   17 years of experience      $1,160 per hour

     Robert Britton (Counsel)               11 years of experience      $1,125 per hour

     David Giller (Associate)               3 years of experience        $940 per hour

     Jonathan Silberstein-Loeb              3 years of experience        $940 per hour
     (Associate)

     Teresa Lii (Associate)                 4 years of experience        $920 per hour

     Rachel Corrigan (Law Clerk)         Less than 1 year experience     $640 per hour

     Akila Sarathy (Law Clerk)           Less than 1 year experience     $640 per hour

Other Paul, Weiss lawyers and paraprofessionals will be utilized or consulted and may appear on

behalf of the Debtors in these Chapter 11 Cases, as necessary.

               16.    In addition, Paul, Weiss customarily charges its clients for all costs and

expenses incurred, including, among other things, telephone and telecopier toll and other charges,

mail and express mail charges, special or hand delivery charges, document processing,

photocopying charges, travel expenses, expenses for “working meals,” computerized research,

transcription costs, as well as non-ordinary overhead expenses approved by the client such as

secretarial and other overtime. The Firm will charge the Debtors for these expenses in a manner

and at rates consistent with charges made generally to the Firm’s other clients.

               17.    The Debtors understand and have agreed that Paul, Weiss hereafter will

apply to the Court for allowances of compensation and reimbursement of expenses in accordance
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with General Order M-412 (Order Establishing Procedures for Monthly Compensation and

Reimbursement of Expenses of Professionals, dated December 21, 2010 (Gonzalez, C.J.)),

Administrative Order M-447 (Amended Guidelines for Fees and Disbursements for Professionals

in Southern District of New York Bankruptcy Cases, dated January 29, 2013 (Morris, C.J.)), and

the U.S Trustee Guidelines (collectively, the “Fee Guidelines”), sections 330 and 331 of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any further orders of the Court

(the “Orders”) for all professional services performed and expenses incurred after the Petition

Date.

               18.     Subject to the provisions of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, the Fee Guidelines, and the Orders, the Debtors propose to compensate Paul,

Weiss for services rendered at its customary hourly rates that are in effect from time to time, as set

forth in the Basta Declaration, and to reimburse Paul, Weiss according to its customary

reimbursement policies. The Debtors respectfully submit that Paul, Weiss’s rates and policies as

set forth in the Basta Declaration are reasonable.

                             Compensation Received by Paul, Weiss

               19.     Paul, Weiss received an advanced payment retainer in connection with this

engagement on October 12, 2018 in the amount of $250,000. Paul, Weiss applied $217,708 of

fees against this retainer on the evening of October 12, 2018. Paul Weiss continues to hold the

balance of the retainer, which will be applied to outstanding amounts relating to the period prior

to the Petition Date. Any further outstanding fees and expenses on account of services rendered

and expenses incurred prior to the Petition Date will be waived by Paul, Weiss. Other than as set

forth herein, Paul, Weiss did not receive any other payments from the Debtors in connection with

this matter during the ninety (90) days immediately preceding the Petition Date.


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               20.     Pursuant to Bankruptcy Rule 2016(b), Paul, Weiss has neither shared nor

agreed to share (i) any compensation it has received or may receive with another party or person,

other than with the partners, counsel, associates, and contract attorneys associated with Paul, Weiss

or (ii) any compensation another person or party has received.

                                  Paul, Weiss’s Disinterestedness

               21.     To the best of the Debtors’ knowledge, as set forth in the Basta Declaration,

(a) Paul, Weiss is a “disinterested person” as that term is defined in section 101(14) of the

Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code, and (b) neither Paul,

Weiss nor any of the partners, counsel, associates, or paralegals of Paul, Weiss have any

connection with or any adverse interest to any of the Debtors, their affiliates, their creditors, or any

other parties in interest, or their respective attorneys and accountants, except as is disclosed in the

Basta Declaration. If any new relevant facts or relationships are discovered, Paul, Weiss will use

reasonable efforts to identify such developments and to promptly file a supplemental declaration,

as required by Bankruptcy Rule 2014(a).

               22.     For all of the above reasons, the Debtors submit that Paul, Weiss’s

engagement is necessary and in the best interests of the Debtors and their estates, and comports

with the requirements of section 327(a) of the Bankruptcy Code.

                                                Notice

               23.     Notice of this Motion will be provided to: (i) the Office of the United States

Trustee for Region 2; (ii) the holders of the twenty (20) largest unsecured claims against the

Debtors (on a consolidated basis); (iii) counsel for Bank of America, N.A., as administrative agent

under the First Lien Credit Facility and the DIP ABL Agent; (iv) counsel for Citibank, N.A., as

administrative agent under the Stand-Alone L/C Facility; (v) counsel for JPP, LLC, as


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administrative agent under the Second Lien Credit Facility, the IP/Ground Lease Term Loan, and

the Consolidated Secured Loan Facility; (vi) counsel for Computershare Trust Company N.A., as

indenture trustee for the Second Lien PIK Notes, the Holdings Unsecured PIK Notes, and the

Holdings Unsecured Notes; (vii) counsel for Wilmington Trust, National Association, as indenture

trustee for the Second Lien Notes; (viii) counsel for The Bank of New York Mellon Trust

Company, N.A., as successor trustee for the SRAC Unsecured PIK Notes, the SRAC Unsecured

Notes, and the SRAC Medium Term Notes; (ix) the Pension Benefit Guaranty Corporation; (x) the

Unions; (xi) the Securities and Exchange Commission; (xii) the Internal Revenue Service; (xiii)

the United States Attorney’s Office for the Southern District of New York; (xiv) the Banks; and

(xv) Akin Gump Strauss Hauer & Feld LLP as counsel for the Official Committee of Unsecured

Creditors. The Debtors submit that, in view of the facts and circumstances, such notice is sufficient

and no other or further notice need be provided.

               24.     No previous request for the relief sought herein has been made by the

Debtors to this or any other court.

                [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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                                     Exhibit A

                                  Proposed Order
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                           :         Chapter 11
                                                                 :
SEARS HOLDINGS CORPORATION, et al.,                              :         Case No. 18-23538 (RDD)
                                                                 :
                  Debtors. 1                                     :         (Jointly Administered)
                                                                 :
----------------------------------------------------------------x
                  ORDER AUTHORIZING THE RETENTION
              AND EMPLOYMENT OF PAUL, WEISS, RIFKIND,
       WHARTON & GARRISON LLP AS ATTORNEYS FOR THE DEBTORS
     AND DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE

                    Upon the Debtors’ Application for an Order Authorizing the Retention and

Employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for the Debtors

and Debtors In Possession Nunc Pro Tunc to the Petition Date (the “Retention Application”) 2

of the above-captioned debtors and debtors in possession (each, a “Debtor” and, collectively,

the “Debtors”), for entry of an order pursuant to sections 327(a) and 330 of title 11 of the United



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart
    Operations LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774);
    A&E Factory Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028);
    A&E Signature Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart
    Corporation (9500); MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears
    Holdings Management Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home
    Improvement Products, Inc. (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc.
    (2859); Sears Protection Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck
    Acceptance Corp. (0535); Sears, Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs
    LLC (None); Big Beaver of Florida Development, LLC (None); California Builder Appliances, Inc. (6327);
    Florida Builder Appliances, Inc. (9133); KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc.
    (1696); Kmart of Washington LLC (8898); Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC
    (8915); MyGofer LLC (5531); Sears Brands Business Unit Corporation (4658); Sears Holdings Publishing
    Company, LLC. (5554); Sears Protection Company (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None);
    SOE, Inc. (9616); StarWest, LLC (5379); STI Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None);
    BlueLight.com, Inc. (7034); Sears Brands, L.L.C. (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC
    (9022); SHC Licensed Business LLC (3718); SHC Promotions LLC (9626); and Sears Brands Management
    Corporation (5365). The location of the Debtors’ corporate headquarters is 3333 Beverly Road, Hoffman
    Estates, Illinois 60179.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
    Retention Application.
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States Code (the “Bankruptcy Code”), rules 2014 and 2016 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local Bankruptcy

Rules for the Southern District of New York (the “Local Rules”) authorizing the retention and

employment of Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss” or the “Firm”)

as attorneys for the Debtors with respect to all Conflict Matters in these Chapter 11 Cases,

effective nunc pro tunc to the Petition Date, all as more fully described in the Retention

Application; and the Court having reviewed the Retention Application, the declaration of Paul

M. Basta, a partner of Paul, Weiss (the “Basta Declaration”), and the declaration of William

Transier, a Disinterested Director of Sears (the “Transier Declaration”); and this Court being

satisfied, based on the representations made in the Retention Application and the Basta

Declaration, that Paul, Weiss is a “disinterested person” as such term is defined in section

101(14) of the Bankruptcy Code, as modified by section 1107(b) of the Bankruptcy Code, and

as required under section 327(a) of the Bankruptcy Code, and that Paul, Weiss represents no

interest adverse to the Debtors’ estates with respect to the matters upon which it is to be

engaged; and it appearing that this Court has jurisdiction to consider the Retention Application

pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that venue of the Chapter 11 Cases

and the Retention Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and it appearing that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b); and it

appearing that proper and adequate notice of the Retention Application has been given and that

no other or further notice is necessary; and a hearing having been held to consider the relief

requested in the Retention Application; and upon the record of the hearing and all of the

proceedings had before the Court; and the Court having found and determined that the relief

sought in the Retention Application is in the best interests of the Debtors, their estates, their


                                               2
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creditors and all other parties in interest; and the legal and factual bases set forth in the Retention

Application having established just cause for the relief granted herein; and after due deliberation

and sufficient cause appearing therefor, it is hereby ORDERED that:

                1.      The Retention Application is GRANTED to the extent provided herein.

                2.      Pursuant to sections 327(a) and 330 of the Bankruptcy Code, Bankruptcy

Rules 2014 and 2016, and Local Rules 2014-1 and 2016-1, the Debtors are authorized to employ

and retain Paul, Weiss as their counsel with respect to all Conflict Matters in these Chapter 11

Cases nunc pro tunc to the Petition Date in accordance with the terms and conditions set forth

in the engagement agreement effective as of October 8, 2018 (the “Engagement Letter”)

attached to the Retention Application as Exhibit D.

                3.      Paul, Weiss is authorized to render professional services to the Debtors

as described in the Retention Application and the Engagement Letter. Specifically, but without

limitation, Paul, Weiss shall provide services related to:

                        (a)     investigating and advising the Restructuring Sub-Committee
                                regarding whether a matter constitutes a RSC Conflict Matter;

                        (b)     conducting investigations and analyses sufficient to advise the
                                Restructuring Sub-Committee regarding RSC Conflict Matters;

                        (c)     implementing the directions of the Restructuring Sub-Committee
                                related to RSC Conflict Matters;

                        (d)     implementing the directions of the Restructuring Committee or
                                the Restructuring Sub-Committee, as the case may be, with
                                respect to Other Conflict Matters; and

                        (e)     rendering services for the Restructuring Sub-Committee and
                                Restructuring Committee including, but not limited to, fact
                                investigation, legal research, briefing, argument, discovery,
                                negotiation, litigation, participation in meetings of the Board and
                                applicable committees thereof, appearance and participation in
                                hearings, and communications and meetings with parties in
                                interest, in each case as it relates to RSC Conflict Matters or
                                Other Conflict Matters.
                                                  3
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               4.      Paul, Weiss shall apply for compensation of professional services and

reimbursement of expenses incurred in connection with the Chapter 11 Cases in compliance

with sections 330 and 331 of the Bankruptcy Code and the applicable provisions of the

Bankruptcy Rules, the Local Rules and any applicable orders of this Court.

               5.      Paul, Weiss may apply its advanced payment retainer to outstanding fees

and expenses relating to the period prior to the Petition Date. Paul, Weiss shall waive any

outstanding fees and expenses in excess of the fully applied advanced payment retainer relating

to the period prior to the Petition Date.

               6.      Paul, Weiss shall use its best efforts to avoid any duplication of services

provided by any of the Debtors’ other Chapter 11 Professionals in these Chapter 11 Cases.

               7.      To the extent the Retention Application is inconsistent with this Order,

the terms of this Order shall govern.

               8.      The Debtors and Paul, Weiss are authorized to take all action necessary

to carry out this Order.

               9.      Notice of the Retention Application as provided therein shall be deemed

good and sufficient notice of the Retention Application, and the Local Bankruptcy Rules are

satisfied by the contents of the Retention Application.

               10.     The terms and conditions of this Order shall be immediately effective

and enforceable upon its entry.




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               11.    This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and/or enforcement of this Order.




Dated: ______________, 2018
       White Plains, New York
                                             ____________________________________
                                             THE HONORABLE ROBERT D. DRAIN
                                             UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit B

                                Basta Declaration
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                           :       Chapter 11
                                                                 :
SEARS HOLDINGS CORPORATION, et al.,                              :       Case No. 18-23538 (RDD)
                                                                 :
                  Debtors. 1                                     :       (Jointly Administered)
                                                                 :
----------------------------------------------------------------x
  DECLARATION OF PAUL M. BASTA IN SUPPORT OF DEBTORS’ APPLICATION
 FOR AN ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF PAUL,
              WEISS, RIFKIND, WHARTON & GARRISON LLP
  AS ATTORNEYS FOR THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE

PAUL M. BASTA makes this declaration under 28 U.S.C. § 1746:

                   1.       I am a partner in the law firm of Paul, Weiss, Rifkind, Wharton & Garrison

LLP (“Paul, Weiss” or the “Firm”), an international law firm with its principal offices at 1285

Avenue of the Americas, New York, New York 10019. I am a lead attorney from Paul, Weiss

working on the above-captioned chapter 11 cases. I am a member in good standing of the Bar of

the State of New York and I have been admitted to practice in the United States District Court for

the Southern District of New York.


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
    LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
    Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
    Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
    MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
    Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
    (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
    Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
    Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); Big Beaver of Florida
    Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133);
    KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898);
    Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
    Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
    (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
    Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
    (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); SHC Licensed Business LLC (3718); SHC
    Promotions LLC (9626); and Sears Brands Management Corporation (5365). The location of the Debtors’ corporate
    headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
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                   2.       I submit this declaration (this “Declaration”), pursuant to Rule 2016 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and section 329 of title 11 of

the United States Code (the “Bankruptcy Code”), in support of the Debtors’ Application for an

Order Authorizing the Retention and Employment of Paul, Weiss, Rifkind, Wharton &

Garrison LLP as Attorneys for the Debtors and Debtors in Possession Nunc Pro Tunc to the

Petition Date (the “Retention Application”). 2 Unless otherwise stated in this Declaration, I have

personal knowledge of the facts set forth herein. To the extent any information disclosed herein

requires amendment or modification upon Paul, Weiss’s completion of further review, or as

additional party-in-interest information becomes available, a supplemental declaration will be

submitted to the Court reflecting such amended or modified information.

                        Services to be Rendered; Compensation Arrangements

                   3.       As set forth in that certain engagement agreement effective as of October 8,

2018, a copy of which is attached to the Retention Application as Exhibit D

(the “Engagement Letter”), I have been advised that the Debtors wish to employ and retain Paul,

Weiss to provide services in these Chapter 11 Cases with respect to Conflict Matters at the

direction of the Restructuring Sub-Committee and the Restructuring Committee, as applicable, in

accordance with the terms of the Engagement Letter. The Debtors have requested that Paul, Weiss

render services including, but not limited to, the following:

                            (a)      investigating and advising the Restructuring Sub-Committee
                                     regarding whether a matter constitutes a RSC Conflict Matter;

                            (b)      conducting investigations and analyses sufficient to advise the
                                     Restructuring Sub-Committee regarding RSC Conflict Matters;




2
    Capitalized terms used, but not otherwise defined herein, have the meaning ascribed to them in the Retention
    Application.
                                                          2
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                       (c)     implementing the directions of the Restructuring Sub-Committee
                               related to RSC Conflict Matters;

                       (d)     implementing the directions of the Restructuring Committee or the
                               Restructuring Sub-Committee, as the case may be, with respect to
                               Other Conflict Matters; and

                       (e)     rendering services for the Restructuring Sub-Committee and
                               Restructuring Committee including, but not limited to, fact
                               investigation, legal research, briefing, argument, discovery,
                               negotiation, litigation, participation in meetings of the Board and
                               applicable committees thereof, appearance and participation in
                               hearings, and communications and meetings with parties in interest,
                               in each case as it relates to RSC Conflict Matters or Other Conflict
                               Matters

               4.      Subject to the Court’s approval, Paul, Weiss will charge the Debtors for its

legal services on an hourly basis in accordance with its ordinary and customary rates for matters

of this type in effect on the date such services are rendered and for reimbursement of its actual,

necessary expenses and other charges incurred by the Firm. In the normal course of business,

Paul, Weiss revises its hourly rates annually. The current standard hourly rates for Paul, Weiss’s

attorneys and paralegals range from $1,165 to $1,560 per hour for partners; $1,125 to $1,160 per

hour for counsel; $480 to $1,065 per hour for staff attorneys and associates; and $110 to $365 per

hour for paraprofessionals.

               5.      The following attorneys are currently expected to have primary

responsibility for representing the Debtors:




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        Paul M. Basta (Partner)                  26 years of experience         $1,560 per hour

        Kelley A. Cornish (Partner)              34 years of experience         $1,560 per hour

        Lewis R. Clayton (Partner)               39 years of experience         $1,560 per hour

        Susanna Buergel (Partner)                16 years of experience         $1,485 per hour

        Jonathan Hurwitz (Counsel)               31 years of experience         $1,160 per hour

        Karen King (Counsel)                     17 years of experience         $1,160 per hour

        Robert Britton (Counsel)                 11 years of experience         $1,125 per hour

        David Giller (Associate)                  3 years of experience          $940 per hour

        Jonathan Silberstein-Loeb                 3 years of experience          $940 per hour
        (Associate)

        Teresa Lii (Associate)                    4 years of experience          $920 per hour

        Rachel Corrigan (Law Clerk)           Less than 1 year experience        $640 per hour

        Akila Sarathy (Law Clerk)             Less than 1 year experience        $640 per hour



Other Paul, Weiss lawyers and paraprofessionals will be utilized or consulted and may appear on

behalf of the Debtors in these Chapter 11 Cases, as necessary. None of the professionals included

in this engagement vary their rate based on the geographic location of these Chapter 11 Cases.

                6.      The hourly rates set forth above are the Firm’s standard hourly rates for

work of this nature. These rates are set at a level designed to fairly compensate the Firm for the

work of its attorneys and paralegals and to cover fixed and routine overhead expenses.

Additionally, it is the Firm’s policy to charge its clients in all areas of practice for all other expenses

incurred in connection with the client’s case or transaction, subject to any modification to such

policies that Paul, Weiss may be required to make to comply with the applicable general orders of

this Court and the U.S. Trustee Guidelines for Reviewing Applications for Compensation and

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Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases,

effective as of November 1, 2013 (collectively, the “Fee Guidelines”), sections 330 and 331 of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any further order of the Court. The

expenses charged to clients include, among other things, telephone and telecopier toll and other

charges, mail and express mail charges, special or hand delivery charges, document processing

charges, photocopying charges, charges for mailing supplies (including, without limitation,

envelopes and labels) provided by the Firm to outside copying services for use in mass mailings,

travel expenses, expenses for “working meals,” computerized research, transcription costs, as well

as non-ordinary overhead expenses, approved by the client, such as secretarial and other overtime.

The Firm will charge the Debtors for these expenses in a manner and at rates consistent with

charges made generally to the Firm’s other clients. The Firm believes that it is fairer to charge

these expenses to the clients incurring them rather than to increase the hourly rates and spread the

expenses among all clients.

               7.      Paul, Weiss has advised the Debtors that it intends to apply to the Court for

allowance of compensation for professional services rendered and reimbursement of charges,

costs, and expenses incurred in these Chapter 11 Cases. No promises have been received by Paul,

Weiss, or any member, counsel or associate of Paul, Weiss, as to payment or compensation in

connection with these Chapter 11 Cases other than in accordance with Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and the Fee Guidelines. Further, Paul, Weiss has no agreement

with any other entity to share compensation received by Paul, Weiss or any such entity.

               8.      Paul, Weiss received an advanced payment retainer in connection with this

engagement on October 12, 2018 in the amount of $250,000. Paul, Weiss applied $217,708 of

fees against this retainer on the evening of October 12, 2018. Paul Weiss continues to hold the


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balance of the retainer, which will be applied to outstanding amounts relating to the period prior

to the Petition Date. Any further outstanding fees and expenses on account of services rendered

and expenses incurred prior to the Petition Date will be waived by Paul, Weiss. Other than as set

forth herein, Paul, Weiss did not receive any other payments from the Debtors in connection with

this matter during the ninety (90) days immediately preceding the Petition Date.

               9.      Paul, Weiss is willing to act on the Debtors’ behalf at its normal and

customary rates for matters of this type, together with reimbursement of all costs and expenses

incurred by Paul, Weiss in connection with these Chapter 11 Cases, and the Debtors have proposed

to pay Paul, Weiss at such rates and to reimburse it for such costs and expenses in accordance with

the applicable provisions of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, the

Local Bankruptcy Rules and guidelines and orders of this Court.

                                 Paul, Weiss’s Disinterestedness

               10.     To confirm that Paul, Weiss did not have any conflicts or other relationships

that might preclude its representation of the Debtors with respect to the matters upon which it is

being employed, I caused Paul, Weiss attorneys under my supervision to conduct a review of

potential connections and relationships between Paul, Weiss and parties in interest in these Chapter

11 Cases within the following categories (as provided to Paul, Weiss by Weil on behalf of the

Debtors, and as set forth in Exhibit 1 hereto) (the “Potential Parties in Interest”):

                       (a)     Debtors, Non-Debtor Affiliates, and Trade
                               Names/Aliases/Trademarks (Up to 8 Years);

                       (b)     100 Largest Unsecured Creditors;

                       (c)     363 Sale Parties;

                       (d)     5% or More Equity Holders;

                       (e)     Bank Accounts/Lender/UCC Lien Parties/Administrative Agents;

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                      (f)     Bankruptcy Judges, Clerk of Court, and Staff;

                      (g)     Bankruptcy Professionals;

                      (h)     Beneficiaries of Letters of Credit;

                      (i)     Contract Counter-Parties;

                      (j)     Critical Vendors/ Other Material Vendors/Common
                              Carriers/Shippers/Major Customers;

                      (k)     Directors, Officers, and Director and Officer Affiliations (Current
                              and Former);

                      (l)     Equity Holders;

                      (m)     Governmental/Regulatory Agencies/Taxing Authorities;

                      (n)     Insurance Brokers/Insurance Providers and Surety Bond Providers;

                      (o)     Known Affiliates / Joint Venture Counterparties;

                      (p)     Landlords;

                      (q)     Litigation;

                      (r)     Office of the United States Trustee;

                      (s)     Ordinary Course Professionals;

                      (t)     Other Parties in Interest;

                      (u)     Professionals of Other Parties in Interest;

                      (v)     Significant Competitors;

                      (w)     Taxing Authorities;

                      (x)     Top Unsecured Creditors;

                      (y)     Unions; and

                      (z)     Utilities.

               11.    Paul, Weiss has searched its electronic database for its connections to the

Potential Parties in Interest. The records upon which this investigation is based are maintained by

Paul, Weiss in the ordinary course of business and are believed to be accurate. To the extent that
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I become aware hereafter that any such records or other information contained herein is not

accurate, I will promptly apprise the Court.

                    12.      Based upon a review of the foregoing information, neither I, Paul, Weiss,

nor any member of, counsel to, or associate of Paul, Weiss represents any entity other than the

Debtors, at the direction of the Restructuring Committee and Restructuring Sub-Committee, as

applicable, in connection with the Conflict Matters in these Chapter 11 Cases. In addition, to the

best of my knowledge after due inquiry, and except as otherwise disclosed herein, neither I, Paul,

Weiss, nor any member of, counsel to, or associate of the Firm represents any party in interest in

these Chapter 11 Cases in matters related to these Chapter 11 Cases.

                    13.      Paul, Weiss, and the partners, counsel, and associates of Paul, Weiss,

presently represent, may have represented in the past, and may represent in the future, entities (or

affiliates of entities) that are claimants of and/or interest holders in the Debtors, and/or are parties

in interest in these Chapter 11 Cases, in matters unrelated to these Chapter 11 Cases. To the best

of my knowledge, all such parties are specifically described in this Declaration and/or listed on the

schedule attached hereto as Exhibit 2 (the “Disclosure Schedule”). 3 Based on my review of the

Disclosure Schedule, to the best of my knowledge, Paul, Weiss does not hold or represent an

interest adverse to the estates as a result of its representation of parties in interest in matters that

are unrelated to these Chapter 11 Cases. Pursuant to section 327(c) of the Bankruptcy Code, Paul,

Weiss is not disqualified from acting as the Debtors’ counsel merely because it represents certain



3
    As referenced in the Disclosure Schedule, the term “current client” means an entity listed as a client, or related to a
    client, in Paul, Weiss’s conflicts search system where that matter was reported as open. As referenced in the
    Disclosure Statement, the term “former client” means any entity listed as a client, or related to a client, in the Paul,
    Weiss conflicts search system where the matter was reported as closed within the last two years. Whether an actual
    client relationship exists can only be determined by reference to the documents governing Paul, Weiss’s
    representation rather than its potential listing in Paul, Weiss’s conflicts search system. The list on Exhibit 2,
    generated by the conflicts search system, is over-inclusive for disclosure purposes.
                                                              8
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of the Debtors’ creditors, equity security holders, or other entities that may be parties in interest in

matters that are unrelated to the Debtors or these Chapter 11 Cases. Other than as set forth below

and on the Disclosure Schedule, Paul, Weiss has not represented, does not represent, and will not

represent any of the Potential Parties in Interest in matters directly related to the Debtors or these

Chapter 11 Cases.

                14.     The Disclosure Schedule identifies, among others, certain financial

institutions and lenders of the Debtors. Paul, Weiss is a general purpose law firm that provides a

full range of corporate, litigation, real estate, tax and bankruptcy services. Accordingly, Paul,

Weiss provides regular outside counsel in a variety of matters to its clients, which have included

or may currently or in the future include such parties. As noted above, Paul, Weiss will not

represent any such parties in any matter relating to the Chapter 11 Cases or in connection with the

Debtors. As such, I do not believe that Paul, Weiss’s current or prior representations of such

entities or their affiliates preclude Paul, Weiss from being a disinterested party under the

Bankruptcy Code.

                15.     Paul, Weiss currently represents (i) MasterCard International Inc.

(“MasterCard”) in litigation captioned In Re Payment Card Interchange Fee and Merchant

Discount Antitrust Litigation and related litigations in which the Company, together with many

other U.S. retailers that utilize MasterCard services, is a plaintiff, and (ii) Bumble Bee Foods LLC

(“Bumble Bee”) in litigation titled In re Packaged Seafood Products Antitrust Litigation in which

Kmart Holding Corporation, together with many other U.S. retailers that sell Bumble Bee products,

is a plaintiff. These matters are unrelated to the matters for which the Debtors have retained Paul,

Weiss. Neither MasterCard nor Bumble Bee have asserted claims against the Debtors in these

Chapter 11 Cases or otherwise. MasterCard, Bumble Bee, and the Debtors have each provided


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conflict waivers to Paul, Weiss in connection with Paul, Weiss’s representation of the Debtors

with respect to Conflict Matters in these Chapter 11 Cases.

               16.     In February of 2018, the Debtors launched an exchange offer for their 6

5/8% Senior Secured Notes due 2018 (the “Old Senior Secured Notes”) for an equal amount of

new 6 5/8% Senior Secured Notes due 2019 (the “New Senior Secured Notes”)

(the “Exchange Offer”). In connection with the Exchange Offer, Paul, Weiss represented a

financial institution that held Old Senior Secured Notes and that is unaffiliated with the Debtors.

That representation concluded and was closed prior to the Petition Date. The Exchange Offer

constitutes an RSC Conflict Matter. However, Paul, Weiss will not be involved in the investigation

of the Exchange Offer, which will be handled solely by YCST. Paul, Weiss does not and will not

represent any party other than the Debtors, at the direction of the Restructuring Committee or the

Restructuring Sub-Committee, as applicable, in connection with Conflict Matters related to the

Chapter 11 Cases.

               17.     Paul, Weiss previously represented Citibank in connection with a

proprietary branded and co-branded credit card program developed by the Debtors.                This

representation concluded and was closed prior to the Petition Date. Paul, Weiss does not and will

not represent Citibank in connection with any matter related to the Chapter 11 Cases.

               18.     Prior to the Petition Date, Paul, Weiss represented multiple financial

institutions in connection with general reviews of the Debtors’ capital structure and debt

documents, and potential investments in or related to the Debtors.            These representations

terminated prior to Paul, Weiss’s representation of the Debtors and Paul, Weiss does not and will

not represent any of these, or any other, institutions in matters relating to the Chapter 11 Cases.




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               19.     Alan Carr, William Transier, Paul DePodesta and Ann Reese are each

members of the Restructuring Committee, and Alan Carr and William Transier are members of the

Restructuring Sub-Committee. Each of these individuals is, in the past has been, and/or in the

future may be members of the boards of directors of other entities, and Paul, Weiss may represent

those individuals in such capacities, such entities, or persons with interests adverse to such entities

in matters wholly unrelated to the Chapter 11 Cases. In addition, in the past, Paul, Weiss has

represented Ann Reese in her individual capacity.

               20.     My wife, Stephanie Basta, is an employee of Prime Clerk LLC, the Debtors’

noticing and claims agent. No confidential details of Paul, Weiss’s representation of the Debtors

will be shared by Paul, Weiss with Prime Clerk LLC or any other representatives of the Debtors

other than in accordance with the directions of the Restructuring Committee or the Restructuring

Sub-Committee, as applicable.

               21.     The Debtors are also seeking to retain (among others): (i) Weil, Gotshal &

Manges, as general restructuring counsel; (ii) Young Conaway Stargatt & Taylor, LLP (“YCST”)

as conflicts counsel with respect to any Conflict Matters in which Paul, Weiss has an actual or

perceived conflict of interest; (iii) Lazard Frères & Co. LLC, as financial advisor to the Debtors;

(iv) M-III Advisory Partners, LP to provide a Chief Restructuring Officer and certain additional

personnel for the Debtors; (v) Evercore Group L.L.C., as investment banker to the Debtors in

connection with RSC Conflict Matters; and (vi) Alvarez & Marsal North America, LLC as

financial advisor to the Debtors in connection with RSC Conflict Matters (collectively, the

“Chapter 11 Professionals”) to provide professional services in these Chapter 11 Cases. Paul,

Weiss has worked with certain of the Chapter 11 Professionals in connection with preparations for




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the filing of these Chapter 11 Cases, and may have in the past worked for, with, or against the

Chapter 11 Professionals in matters wholly unrelated to these Chapter 11 Cases.

                22.     To the best of my knowledge and insofar as I have been able to ascertain

after due inquiry, except as set forth herein and in the Disclosure Schedule, neither Paul, Weiss

nor any of its partners, counsel, or associates has any connection with the Debtors or their affiliates,

the Debtors’ creditors, any party in interest, or their respective attorneys or accountants, any person

employed in the Office of the United States Trustee for Region 2 (the “U.S. Trustee”), any

Bankruptcy Judge currently serving on the United States Bankruptcy Court for the Southern

District of New York (the “Bankruptcy Court”), or any clerk, deputy, or personnel working in the

Bankruptcy Court, except (i) to the extent any partner, counsel, or associate (a) may have appeared

in the past and may appear in the future in cases where one or more of such parties may be

involved; and (b) may have represented or may represent one or more of such parties in interest in

matters unrelated to these Chapter 11 Cases, (ii) that Bankruptcy Judge Robert Drain was a partner

at Paul, Weiss from 1993 until 2002, and (iii) that certain Paul, Weiss attorneys have in the past

clerked or otherwise worked with certain Bankruptcy Judges in the Southern District of New York.

                23.     In light of the extensive number of the Debtors’ creditors and parties in

interest and because definitive lists of all such creditors and other parties have not yet been

obtained, neither I nor the Firm are able to conclusively identify all potential relationships at this

time, and we reserve the right to supplement this disclosure as additional relationships come to our

attention. To the extent that I become aware of any additional relationships that may be relevant

to Paul, Weiss’s representation of the Debtors, I will promptly file a supplemental declaration.




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               24.     Based upon my review of all of Paul, Weiss’s connections in these Chapter

11 Cases, I submit that Paul, Weiss is a “disinterested person” as that term is defined in section

101(14) of the Bankruptcy Code, in that the Firm, its partners, counsel, and associates:

                       (a)     are not creditors, equity security holders, or insiders of the Debtors;

                       (b)     are not and were not, within 2 years before the date of the filing of
                               the petitions, a director, officer, or employee of the Debtors; and

                       (c)     do not have an interest materially adverse to the interest of the estate
                               or of any class of creditors or equity security holders, by reason of
                               any direct or indirect relationship to, connection with, or interest in,
                               the Debtors, or for any other reason.


               25.     Except as set forth above, to the best of my knowledge and insofar as I have

been able to ascertain, neither Paul, Weiss nor any of its partners, counsel, or associates holds or

represents any interest adverse to the Debtors or their estates in the matters upon which it is to be

engaged.

                             Coordination with Other Professionals

               26.     As described above, the Debtors have submitted, or intend to submit,

separate applications to retain the Chapter 11 Professionals. Paul, Weiss will work closely (to the

extent appropriate) with all such professionals, in conjunction with the Debtors’ management, to

carefully monitor and coordinate the efforts of all such professionals and will delineate their

respective duties so as to prevent duplication of services whenever possible.

                        Attorney Statement Pursuant to Fee Guidelines

               27.     The following is provided in response to the request for additional

information set forth in Paragraph D.1 of the Fee Guidelines.




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       Question: Did you agree to any variations from, or alternatives to, your standard or
                 customary billing arrangements for this engagement?

       Response: No.

       Question: Do any of the professionals included in this engagement vary their rate
                 based on the geographic location of the bankruptcy case?

       Response: No.

       Question: If you represented the client in the 12 months prepetition, disclose your
                 billing rates and material financial terms for the prepetition engagement,
                 including any adjustments or discounts offered during the 12 months
                 prepetition. If your billing rates and material financial terms have
                 changed postpetition, explain the difference and the reasons for the
                 difference.

       Response: Paul, Weiss’s rates for timekeepers for its prepetition engagement on this matter
                 was $1,165 to $1,560 per hour for partners; $1,125 to $1,160 per hour for
                 counsel; $480 to $1,065 per hour for staff attorneys and associates; and $110 to
                 $365 per hour for paraprofessionals. Paul, Weiss has not adjusted its billing
                 rates since the Debtors engaged Paul, Weiss as bankruptcy counsel.

       Question: Has your client approved your prospective budget and staffing plan, and,
                 if so, for what budget period?

       Response: No.

               28.     The foregoing constitutes the statement of Paul, Weiss pursuant to sections

327(a), 329, and 504 of the Bankruptcy Code, Bankruptcy Rules 2014(a) and 2016(b), and Local

Rules 2014-1 and 2016-1.

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               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.

 Dated: November 1, 2018

                                    /s/ Paul M. Basta

                                    Paul M. Basta
                                    Partner
                                    Paul, Weiss, Rifkind, Wharton & Garrison LLP




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                                      Exhibit 1

                             Potential Parties in Interest
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                                             Potential Parties in Interest

                                                             Holder of Five Largest Secured Claims
Debtors                                                      Citibank, N.A.
Sears, Roebuck and Co.                                       JPP II, LLC
Sears Holdings Corporation                                   JPP, LLC
Kmart Holding Corporation                                    Wilmington Trust, N.A.
Kmart Operations LLC
Sears Operations LLC                                         Secured Lender/Bank
A&E Factory Service, LLC                                     U.S. BANK TRUST NATIONAL ASSOCIATION,
A&E Home Delivery, LLC
A&E Lawn & Garden, LLC
A&E Signature Service, LLC                                   Trade Names/Aliases (Up to 8 Years)
FBA Holdings Inc.                                            A&E Factory Service
Innovel Solutions, Inc.                                      Accents for Less
Kmart Corporation                                            American Siding & Deck, Inc.
MaxServ, Inc.                                                American Windows & Sash, Inc.
Private Brands, Ltd.
                                                             Appliance Liquidators
Sears Development Co.
Sears Holdings Management Corporation                        Austin Technology Center
Sears Home Improvement Products, Inc.                        Bath and Kitchen Elegance
Sears Protection Company                                     Bath and Kitchen Elegance of the Desert
Sears Roebuck Acceptance Corp.                               Big Beaver of Caguas Development Corporation
SRC Sparrow 1 LLC                                            Big Beaver of Caguas Development Corporation
Sears, Roebuck de Puerto Rico, Inc.                          II
Big Beaver of Florida Development, LLC                       Big Kmart
California Builder Appliances, Inc.                          Big Kmart (#3680)
Florida Builder Appliances, Inc.                             Central Wholesale Appliance Supply, Inc.
KBL Holding Inc.
                                                             Chantell Marketing
KLC, Inc.
Kmart of Michigan, Inc.                                      Circle of Beauty Inc.
Kmart of Washington LLC                                      Delver
Kmart Stores of Illinois LLC                                 Delver.com
Kmart Stores of Texas LLC                                    Designer Depot
MyGofer LLC                                                  Eblon Technologies India Private Limited
Sears Brands Business Unit Corporation                       Evoke Productions
Sears Protection Company (Florida), L.L.C.                   FitStudio by Sears
SHC Desert Springs, LLC                                      Florida Builder Appliances, Inc.
SOE, Inc.                                                    Garment Rack
SRC Sparrow 2 LLC
                                                             HDC Holding Company of Delaware, Inc.
StarWest, LLC
STI Merchandising, Inc.                                      HO. Tampa Development Co.
Troy Coolidge No. 13, LLC                                    HO. Tysons Office Investment Co.
BlueLight.com, Inc.                                          ILJ, Inc.
Sears Brands, L.L.C.                                         JAF, Inc.
Sears Buying Services, Inc.                                  KC Kelley Group
SRC O.P. LLC                                                 Kenmore Direct
KCD IP, LLC [confirm]                                        Kids Stockroom
Kmart.com LLC                                                Kmart
Sears Brands Management Corporation                          Kmart Acquisition Corp.
SRC Facilities LLC
                                                             Kmart Apparel Corp.
SRC Real Estate (TX), LLC
                                                             Kmart Apparel Fashions Corp.
                                                             Kmart Apparel Leasing Corp.
Holder of Five Largest Secured Claims                        Kmart Apparel Service of Atlanta Corp.
Bank of America, N.A.,                                       Kmart Apparel Service of Des Plaines Corp.
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Trade Names/Aliases (Up to 8 Years)                Trade Names/Aliases (Up to 8 Years)
Kmart Apparel Service of Sunnyvale Corp.           Sears Essentials
Kmart Corporation                                  Sears Grand
Kmart Enterprises, Inc.                            Sears Grand #1673
Kmart Far East Limited                             Sears Holdings Management Corporation
Kmart Financing I                                  Sears Home Appliance Showrooms
Kmart Global Sourcing Ltd.                         Sears Home Improvement Products (South), Inc.
Kmart Holding Company                              Sears Home Services
Kmart Holdings, Inc.                               Sears Home&Life
Kmart Lessee Operations, LLC                       Sears Lessee Operations, LLC
Kmart Management Corporation                       Sears Logistics Services
Kmart Michigan Property Services, L.L.C.           Sears Logistics Services, Inc.
Kmart of Amsterdam, NY Distribution Center,        Sears Merchandise Group
Inc.                                               Sears Merchandise Group, Inc.
Kmart of Pennsylvania LP                           Sears New York Insurance Agency
Kmart Pharmacies of Minnesota, Inc.                Sears Oklahoma Insurance Agency
Kmart Pharmacies, Inc.                             Sears Protection Company Inc.
Kmart Properties, Inc.                             Sears Protection Company, Inc.
Kmart Stores of Indiana, Inc.                      Sears Technology Services LLC
Kmart Stores of TNCP, Inc.                         Sears, Roebuck de Mexico, S.A. de C.V.
KMI, Inc.                                          Sears, Wishbook, Inc.
Koolvent Aluminum Products, Inc.                   ServiceLive Direct
Kresge - Kmart Limited                             SHMC, Inc.
Little Caesars                                     Shop Your Way Local, LLC
Max Acquisition Delaware Inc.                      shopyourway.com
McKids                                             Sourcing and Technical Services, Inc.
McKids The Store                                   SRC O.P. LLC
McPhail's Appliances                               SRC Real Estate (TX), LLC
MetaScale Technologies India Private Limited       Standards of Excellence
Monark                                             Standards of Excellence Outlet Store
Monark Holdings Inc.                               Super K
Monark of California                               Super Kmart
Monark Premium Appliance Co.                       SUPER KMART CENTER
Monark Premium Appliance Co. of Arizona            Super Kmart Center
Monark Premium Appliance Co. of California         Texas Bluelight.com Inc.
MXSV, Inc.                                         The Annexx Restaurant
NTB - National Tire and Battery                    The Great Indoors
NTB-National Tire & Battery                        Tire Property Holding, Inc.
PMB, Inc.                                          Tri-Valley Crossings
Prairie Buck I, Inc.                               Troy CMBS Property, L.L.C.
Prairie Buck II, Inc.                              Westar Kitchen & Bath LLC
Private Brands, Ltd.                               Westar Kitchen and Bath
Relay LLC                                          Westar Kitchen and Bath, LLC
San Diego Appliance Sales                          Western Bluelight.com LLC
Sears                                              WestStar Kitchen and Bath
Sears #1284                                        WestStar Kitchen and Bath LLC
Sears Acquisition Corp.
Sears Auto Center
Sears Auto Center #6582
Sears Auto Centers
Sears Carpet and Upholstery Care, Inc.



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                                                      Bank Accounts/Lender/UCC Lien
                                                      Parties/Administrative Agents/ Revolving Lender
Trademarks                                            Citibank
Craftsman                                             Citibank, N.A.
DieHard                                               Citigroup Global Markets Inc.
Kenmore                                               Citizens Bank
                                                      Citizens Business Capital, a division of Citizens
                                                      Asset Finance Inc.
100 Unsecured Creditors                               Citizens National Bank
                                                      Commercial International Bank (Egypt) S.A.E.
                                                      Commercial Savings Bank
363 Sale Parties                                      Community Bank NA
                                                      Community First Bank
                                                      Fifth Third Bank
                                                      First and Farmers Bank
5% or More Equity Holders                             First Bank and Trust Company
                                                      First Hawaiian Bank
                                                      First Interstate Bank of Billings
                                                      First Interstate Bank of Riverton
Secured Lender                                        First National Bank
Cascade Investment, L.L.C.                            First National Bank in Alamogordo
JPP II, LLC                                           First National Bank Oelwein
JPP, LLC                                              First National Bank of Grayson
                                                      First National Bank of Pierre
                                                      First Security Bank
Other Party of Interest                               First Security Bank and Trust Company
Angelo Gordon & Co.                                   First State Bank
ATR Corinth Partners                                  First Tennessee
LBA Realty                                            General Electric Capital Corporation
Merlone Geier Partners                                Hilltop National Bank
Northwood Investors                                   Houghton State Bank
Quarry Capital                                        HSBC Bank
Rebkee Partners                                       Huntington National Bank
Rhombus Development, LLC                              ICBC
Segerstrom Family                                     Independent Bank East Michigan
Sudberry Properties                                   Iowa State Bank
                                                      JP Morgan Chase Bank
                                                      JPP II, LLC
Bank Accounts/Lender/UCC Lien                         JPP, LLC
Parties/Administrative Agents/ Revolving Lender       Key Bank
Ally Bank                                             M&T Bank
Ally Commercial Finance LLC                           Merrill Lynch, Pierce, Fenner & Smith Incorporated
Banco Popular                                         National Bank and Trust Company of Norwich
Banco Popular de Puerto Rico                          Old National Bank
Bancorpsouth Bank                                     PNC Bank
Bank Leumi                                            PNC Bank, National Association
Bank of America                                       Premierbank
Bank of America, N.A.                                 Regions Bank
Bank of China                                         Shenzhen Development Bank Co Ltd
Bank of Oklahoma                                      Siemens Financial Services, Inc.
BB&T Bank                                             Standard Bank Ltd. Mauritius
BNY Midwest Trust Company                             Standard Chartered Bank
Capital One Bank                                      TD Bank, N.A.
Cascade Investment, L.L.C.                            U.S. Bank Trust National Association
Centennial Bank                                       Union Bank
Cherokee State Bank                                   United Missouri Bank




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Bank Accounts/Lender/UCC Lien                         New York Bankruptcy Judges Staff
Parties/Administrative Agents/ Revolving Lender       Lorraine Echevarria
UPS Capital Corporation                               William Organek
US Bank                                               Lynda Calderon
Wells Fargo Bank
Wells Fargo Bank, National Association
Wesbanco Bank                                         New York Clerk of the Court
Western State Bank                                    Vito Genna, Clerk of Court
Wilmington Trust, N.A.                                Eddie Andino, Divisional Manager
Woori Bank                                            Grimilda Correa, Project/Team Leader
Zions National Bank                                   Arturo Tavarez, Case Administrator
                                                      Claire Togher, Case Manager
                                                      Ana Vargas, Generalist Clerk

New York Bankruptcy Judges
Honorable Stuart M. Bernstein                         Bankruptcy Professionals
Honorable Shelley C. Chapman                          Deloitte & Touche LLP
Honorable Robert D. Drain                             Weil, Gotshal & Manges LLP
Honorable James L. Garrity                            AlixPartners
Honorable Robert E. Gerber                            Wachtell, Lipton, Rosen & Katz
Honorable Martin Glenn                                Prime Clerk LLC
Honorable Allan L. Gropper
Honorable Robert E. Grossman
Honorable Sean H. Lane                                Beneficiaries of Letters of Credit/ Surety Bond
Honorable Cecelia G. Morris                           Providers
Honorable Michael E. Wiles

New York Bankruptcy Judges Staff
Brenda Robie
Emily Kehoe                                           Insurance Broker/Insurance Provider
Chantel Barrett                                       ACE American Insurance Company
Diego Flores                                          ACE Fire Underwriters Insurance Company
Mike Paek                                             ACE Property and Casualty Insurance Company
Greg White                                            Aetna
Jamie Eisen                                           Aetna/HRPA
Margaret Schierberl                                   AIG Europe Limited (Lex London) (ACT)
Eddie Andino                                          Allianz Global Risks US Insurance Company
Dorothy Li                                            Allied World Assurance Company Ltd.
Rosemary DiSalvo                                      Allstate
Dabin Chung                                           American Guarantee & Liability Insurance Company
Siddharth Sisodia                                     AON Risk Consultants Inc.
Willie Rodriguez                                      AONHewitt
Robert Nosek                                          Aspen Specialty Insurance Company
Annie Wells                                           Atlantic Specialty Insurance Company
Tracey Mercado                                        AWAC
Amber Covucci                                         AXA Insurance Company
Deanna Anderson                                       AXIS Insurance Company
Nicholas Lombardi                                     Axis UK (ACT)
Andrew Pollack                                        Berkeley
Liza Ebanks                                           Berkshire Hathaway International Insurance Limited
Christine Azzaro                                      Berkshire Hathaway Specialty Insurance Company
Kelly Porcelli                                        Broadspire
Lynda Calderon                                        Burlington Insurance Company
Raff Ferraioli                                        Chubb Bermuda Insurance Ltd.
Sara Tapinekis                                        Chubb Custom Insurance Company
Jacqueline DePierola                                  Chubb Insurance Hong Kong Limited




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Insurance Broker/Insurance Provider                     Insurance Broker/Insurance Provider
Cigna
Continental Casualty Company
Endurance American Specialty Insurance Company          Contract Counter-Parties
(ACT)                                                   ADP, Inc.
Executive Risk Specialty Insurance Company              American Express Travel Related Services Company,
EyeMed Vision Care                                      Inc.
Federal Insurance Company                               American Express Prepaid Card Management
Federal Insurance Company (Chubb)                       Corporation
First Mercury Insurance Company                         Blackhawk Network, Inc.
General Security Indemnity Company of Arizona           Blackhawk Marketing Services, Inc.
Global Aerospace, Inc.                                  Cleva North America, Inc.
Great Lakes Reinsurance (UK) PLC (Munich) (ACT)         Computershare Inc.
Hamilton Specialty Insurance Company                    Computershare Trust Company, N.A.
Hiscox Insurance Company Inc.                           Dorcy, International
Hudson Specialty Insurance Company                      General Growth Properties, Inc. ("GGP")
Illinois National Insurance Company (AIG)               Lands' End
Illinois Union Insurance Company (ACE)                  SHC Promotions, Inc.
Insurance Company of the State of Pennsylvania          SHC Promotions, LLC
Ironshore Specialty Insurance Company                   Simon Property Group, Inc. ("Simon")
Liberty Mutual Fire Ins. Co.                            Stanley Black & Decker, Inc.
Liberty Mutual Fire Insurance Company and               The Macerich Company ("Macerich")
affiliates                                              Critical Vendors/ Other Material Vendors/Common
Liberty Surplus Insurance Corporation                   Carriers/Shippers/Major Customers/ Vendors
Life Insurance Company of North America (“Cigna”)       U.S. Bank National Association
Lloyd’s of London (Beazley)                             Dart Warehouse Corporation
Lloyd’s of London (Hiscox)                              Western Union Financial Services, Inc.
Lloyd’s Syndicates 623/2623
Lloyd's of London
Lloyd's of London (ASC, CGM, ACT)                       Below are in employee handbook
Lloyd's of London (MKL, ACT)                            Aon Hewitt
Lloyd's of London (MSP, CNP, TAL, BRT, ANV,             Aetna Resources for Living
ACT)                                                    Morgan Stanley Smith Barney
MetLife (Metropolitan Life Insurance Company)           Cigna Group Insurance
National Fire & Marine Insurance Company                Securian
National Union Fire Ins Co of Pittsburgh, PA            Cigna Disability Management Solutions
National Union Fire Insurance Company of                EyeMed Vision Care
Pittsburgh, PA                                          FAA/EyeMed Vision Care, LLC
Navigators Insurance Company                            MetLife Dental Claims
Novae                                                   Aetna Behavioral Services, LLC
PartnerRe Ireland Insurance Limited (ACT)
QBE Insurance Corporation                               Subsidiaries
Securian Financial Group, Inc.
Sedgwick Claims Management Services, Inc.
Starr Indemnity & Liability Company
Starr Surplus Lines Insurance Company
Tokio Marine America Insurance Company                  Beneficial Holder
Travelers Indemnity Company and affiliates              SPE I Partners, LP
Underwriters at Lloyds                                  ESL Partners, L.P.
Westchester Fire Insurance Company                      SPE Master I, LP
Westport Insurance Corporation                          RBS Partners, L.P.
WillisTowersWatson                                      ESL Investments, Inc.
XL Insurance (Bermuda) Ltd                              Edward S. Lampert
XL Insurance America, Inc.
XL Insurance Company SE
XL Specialty Insurance Company                          Director-Officer – Current




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Director-Officer – Current                       Director-Officer – Current
Acquaviva, David L.                              Cherry, Debra
Adams, Thomas                                    Chung, Eui
Aditya, Pialy                                    Ciovacco, Ryan
Ainsworth, Julie                                 Clark, Laura J.
Alexander, Robyn L.                              Clarke, Andrew
Allagapen, Kevin                                 Collins, Doris D.
Allen, Michael T.                                Conard, Mark T.
Alvarez, Cesar L.                                Connow, Daniel E.
Anderson, Jared                                  Cook, Kelly
Anderson, Nate                                   Cropp, Derek
Andresen, Randall B.                             Daley, James
Arvia, Thomas A.                                 Dastagir, Mohammed M.
Babb, Jonathan C.                                Dattilo, Anthony F.
Baker, Daena M.                                  Debber, Steven W.
Baker, Robert                                    DePodesta, Paul G.
Balagna, Jeffrey A.                              Desalvo, Thomas E.
Barr, James IV                                   Deshmukh, Makarand
Baxi, Pritam B.                                  Dickert, Philip
Bellamy, Jasmine N.                              Dillon, Jason
Berghel, Victoria S.                             Douglass, Ronald P.
Berkowitz, Bruce R.                              Drieselman, Daniel M.
Bezanson, Llewellyn W.                           Dunaway, Sheila A.
Bichkoff, Brian W.                               Dvoskin, Vlad
Blee, Jeffrey S.                                 Dybowski, Michael
Boerio, Mark                                     East, Brian
Book, Chris                                      Ebert, Gregory
Bottomly, Glenn D.                               Ejarque Lopez, Victor
Bouchard, Denis R.                               Elder, Sara E.
Bourque, Mary Ellen M.                           Elsasser, Steven M.
Boutros, Peter                                   Emmanuele, Philip L.
Bowden, Jonathan R.                              Engfer, Victoria L.
Bowie, Maya                                      Ennis, Daniel
Boyle, Raymond E.                                Eyunni, Kris
Brathwaite, Christian E.                         Fallon, John J.
Brisentine, Mary K.                              Farney, Sean M.
Brohawn, Timothy M.                              Farrar, Gary D.
Broockerd, Bronson                               Ferguson, Brian D.
Brooks, Charles A.                               Ferguson, Eric T.
Broome, Donna                                    Ferrell, Patrick J.
Brophy, Daniel M.                                Ferrone, Steven
Brotnow, Michael J.                              Finney, Stephen M.
Bruder, Kurt                                     Fleshood, Lesley R.
Buckley, Alice I.                                Foley, Brendan A.
Burdett, Jay R.                                  Ford, Christopher
Burnham, Jacob                                   Forney, Kristin J.
Butler, Rhett A.                                 Fortuna, Anthony T.
Calabrese, Frank W.                              Fournier, Michael
Carozza, Thomas                                  Franceschi, Karen M.
Cassey, Justin M.                                Freitag, Thomas C.
Catanese, JoAnn                                  Garg, Parag
Cates, Brandon T.                                Gates, Ryan W.
Cavnar, James                                    Geog, Clinton
Chapman, Bradley G.                              George, David L.
Chase, Christopher                               Gerlach, Robert J. II
Chawla, Rakesh                                   Glenn, Scott D.




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Director-Officer – Current                       Director-Officer – Current
Glover, Christopher                              Lakshman, Girish S.
Glynne, Gareth                                   Lampert, Edward S.
Gonzalez, Jesse                                  Lange, Mark W.
Gould, Christopher K.                            Lavion, Valerie
Gourlin, Franck                                  Lee, Mitchell K.
Granger, R. Christopher                          Lehlbach, Rebecca L.
Grant, Jeffrey F.                                Leismer, Andrew J.
Gray, Stuart W.                                  Lemmert, Todd C.
Green, Katherine L.                              Lifson, Dale P.
Greenfield, Stacy A.                             Lin, Eric
Guha, Angshuman                                  Linnane, William
Gursel, Kubilay                                  Little, David W.
Halffield, David W.                              Lorenz, John L.
Hand, Anne M.                                    Lukes, David R.
Harrison, Richard O.                             Lummas, David M.
Hassel, Kenik                                    Madelaine, Laurent
Hayes, Neil B.                                   Magnabosco, Peter J.
Hayward, Paul G.                                 Makechnie, Brendaen K.
Heinz, Nicholas L.                               Manzau, Horst D.
Helsel, Sean L.                                  Marks, Alan
Hernandez, Matthew C.                            Marks, Seth L.
Hicks, Mark D.                                   Marsella, David M.
Hoeller, William                                 Marusich, Sam III
Hollar, Jason M.                                 Mazouzi, Zine El Abidine
Holmes, John L. Jr.                              McClearn, Marisa
Hopp, Daniel L.                                  McCoy, Daniel
Horwitz, Sandra E.                               McGugan, Christopher L.
Huckins, Scott E.                                McIlvried, Mac D.
Humayun, S.M. Usman                              McKnight, Diane M.
Ingersoll, Andrew G.                             McLeod, W. Gene
Irby, Michael D.                                 McNerny, Michael
Ireland, Vincent A. III                          Meerschaert, Lawrence J.
Jaffe, Eric D.                                   Merchant, Kabir
James, Alasdair                                  Mesenbring, James
Jenchel, Laurence M.                             Michalski, M. Catherine
Jenkins, Laura                                   Middleton-Bjelan, Erin C.
Jhaveri, Ramya D.                                Miller, Alice
Johnstone, Andrew M.                             Miller, Lori K.
Jordan, Joseph F.                                Mitchell, Michael J.
Joshi, Vishal                                    Mitzner, Gary L.
Joye, Jennifer L.                                Mollsen, Michael C.
Kamlani, Kunal S.                                Mondkar, Aloke
Kandala, Srinivasa A.                            Mookherjee, Reetabrata
Kaner, Brian                                     Moore, Dennis B.
Karmona, Moti                                    Moore, John
Keough, Philip J. IV                             Moore, Jonathan J.
Kouatchou, Gide N.                               Morgan, Jeff E.
Krishnaswami, Ravi                               Morrie, Michael V.
Krohn, Christopher E.                            Morris, Tiffany L.
Kruszewski, Frank M.                             Mortimer, Becky A.
Kumar, Alok                                      Muddada, Vamsi
Kumar, Simha                                     Multer, Scott H.
Kunkler, William C.                              Munjal, Leena
Kurt, Justin S.                                  Munn, Donald C.
Kwan, Brenda Kwai Chu                            Murphy, Gerard




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Director-Officer – Current                         Director-Officer – Current
Naedele, Jr., Robert J.                            Semisch, Mark
Nagle, Courtney Q.                                 Shanklin, Melinda L.
Nastasia, Charles Jr.                              Sharma, Pallaw
Newell, A. Jeffrey                                 Sharp, Larsen
Nguyen, Frank                                      Shaw, Alan F.
Novak, Laura A.                                    Shears, Rodney
Nyman, Alfred W. Jr.                               Shellenberger, David A.
O'Connor, J. Michael                               Singh, Scherjang
O'Malley, Michael                                  Singhal, Anuj
Otterberg, Jonathan C.                             Sinha, Narendra N.
Pal, Anindya                                       Sinharoy, Tanuja
Paluch, Paul                                       Sitley, Stephen L.
Pang, Eileen                                       Skelley, Sean
Park, Thomas F.                                    Smathers, Karen M.
Pastrana Benito, David                             Smith, Alfred
Peoples, James                                     Smith, Charles
Petrozzi, Ursula A.                                Staelens, thi C.
Pfabe, John                                        Stall, Timothy C.
Phelan, Robert J.                                  Steckbeck, Todd
Piccininni, Domenico                               Stecko, Eric E.
Politeski, James                                   Stevens, Seth M.
Polouski, Joseph                                   Stewart, Patrick W.
Pospischel, Gustavo                                Stollenwerck, S. Jeffrey
Prakash, Rajat                                     Strohl, MIchael D.
Prestinario, Celeste                               Swager, Kenneth J.
Qazi, Shoaib A.                                    Tabor, Candace
Quinn, Jodie M.                                    Tietze, Fred B.
Raphael, Howard                                    Tisch, Thomas J.
Redman Oppenkowski, Misty N.                       Tomak, Kerem
Reese, Ann N.                                      Tortorice, Mary E.
Reese, Brian                                       Underwood, Randall
Reposa, Joseph P.                                  Unglo, Samuel J.
Reynaud, Nicolas C.J.                              Upadhyayula, Sreeharsha
Ricchio, Carol R.                                  Van Auken, Robert M.
Richards, Joseph                                   Vidal Panelli, Marino
Richter, Glenn R.                                  Wagner, Jason T.
Ridle, James K.                                    Waity-Fontanetta, Katherine
Riecker, Robert A.                                 Walls, Anita
Rita, Carlos                                       Walsh, Lynn A.
Robbins-Jones, Philip J.                           Walsh, Robert B.
Robertson, Michael A.                              Warr, Jason D.
Rockoff, Joshua                                    Weber, Robert
Rolecek, Terrence E.                               Wells, Paris S.
Rose, C. Thomas                                    West, Richard J.
Sankaran, Vishak                                   Winstead, Russell W.
Savillo, Benedicto T.                              Wong, Jimmy
Scarnati, David A.                                 Wood, David B.
Schiele, Tyrone L.                                 Yee, Wai Gen
Schoenwolf, Kimberly                               Zachrisen, Espen
Schriesheim, Robert A.                             Zehrer, Tonia E.
Schuvie, David L.                                  Zielecki, Thomas E.
Schwan, Craig A.                                   Zoll, Stephan
Schwartz, Dean
Schwartz, P. Dean                                  Director- Officer – Former
Seesholtz, Michael                                 Bruce R. Berkowitz, Bruce R.




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Director- Officer – Former                               Secretary of States
                                                         Secretary of State – Massachusetts (William Francis
                                                         Galvin)
Director/Officer – Affiliations – from 10K               Secretary of State – Michigan (Ruth Johnson)
Amazon.com, Inc.                                         Secretary of State – Minnesota (Steve Simon)
Asurion                                                  Secretary of State – Mississippi (Delbert Hosemann)
Delphi Automotive PLC                                    Secretary of State – Missouri (Jay Ashcroft)
Delphi Europe                                            Secretary of State – Montana (Corey Stapleton)
Ebay Germany                                             Secretary of State – Nebraska (John A. Gale)
ESL Investments, Inc.,                                   Secretary of State – Nevada (Barbara K. Cegavske)
Fairholme Capital Management, LLC                        Secretary of State - New Hampshire (William M.
Fairholme Funds, Inc.                                    Gardner)
Fairholme Capital Management, L.L.C.                     Secretary of State - New Jersey (Kimberly "Kim"
Grubhub, Inc.                                            Guadagno)
Inditex USA                                              Secretary of State - New Mexico (Maggie Toulouse
Powertrain Systems                                       Oliver)
Rand Group                                               Secretary of State - New York (Rossana Rosado)
Samsung Electronics Canada                               Secretary of State - North Carolina (Elaine Marshall)
Samsung USA                                              Secretary of State - North Dakota (Al Jaeger)
Topshop USA                                              Secretary of State – Ohio (Jon Husted)
                                                         Secretary of State – Oklahoma (Dave Lopez)
Equity Holders                                           Secretary of State – Oregon (Dennis Richardson)
Fairholme Capital Management, L.L.C.                     Secretary of State – Pennsylvania (Pedro A. Cortés)
Fairholme Funds, Inc.                                    Secretary of State - Rhode Island (Nellie Gorbea)
ESL Investments, Inc.                                    Secretary of State - South Carolina (Mark
                                                         Hammond)
Governmental/ Regulatory Agencies/Taxing                 Secretary of State - South Dakota (Shantel Krebs)
Authorities                                              Secretary of State – Tennessee (Tre Hargett)
Internal Revenue Service                                 Secretary of State – Texas (Rolando Pablos)
Pension Benefit Guaranty Corporation                     Secretary of State – Utah
Securities and Exchange Commission                       Secretary of State – Vermont (Jim Condos)
                                                         Secretary of State – Virginia (Kelly Thomasson)
                                                         Secretary of State – Washington (Kim Wyman)
Secretary of States                                      Secretary of State - West Virginia (Mac Warner)
Secretary of State – Alabama (John Merrill)              Secretary of State – Wisconsin (Douglas J. La
Secretary of State – Alaska                              Follette)
Secretary of State- Arizona (Michele Reagan)             Secretary of State – Wyoming (Ed Murray)
Secretary of State- Arkansas (Mark Martin)
Secretary of State – California (Alex Padilla)
Secretary of State – Colorado (Wayne W. Williams)        Attorney Generals
Secretary of State – Connecticut (Denise Merrill)        Attorney General – Alabama (Steve Marshall)
Secretary of State – Delaware (Jeffrey W. Bullock)       Attorney General – Alaska (Jahna Lindemuth)
Secretary of State – Florida (Ken Detzner)               Attorney General – Arizona (Mark Brnovich)
Secretary of State – Georgia (Brian Kemp)                Attorney General – Arkansas (Leslie Rutledge)
Secretary of State – Hawaii                              Attorney General – California (Xavier Becerra)
Secretary of State – Idaho (Lawerence Denney)            Attorney General – Colorado (Cynthia Coffman)
Secretary of State – Illinois (Jesse White)              Attorney General – Connecticut (George C. Jepsen)
Secretary of State – Indiana (Connie Lawson)             Attorney General - Delaware (Matthew Denn)
Secretary of State – Iowa (Paul Pate)                    Attorney General – Florida (Pam Bondi)
Secretary of State – Kansas (Kris Kobach)                Attorney General – Georgia (Chris Carr)
Secretary of State – Kentucky (Alison Lundergan          Attorney General – Hawaii (Doug Chin)
Grimes)                                                  Attorney General – Idaho (Lawrence Wasden)
Secretary of State – Louisiana (John Thomas              Attorney General – Illinois (Lisa Madigan)
Schedler)                                                Attorney General – Indiana (Curtis Hill)
Secretary of State – Maine (Matthew Dunlap)              Attorney General – Iowa (Thomas John Miller)
Secretary of State – Maryland (John C. Wobensmith)       Attorney General – Kansas (Derek Schmidt)




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Attorney Generals                                          Landlords/Mall Owners
Attorney General – Kentucky (Andy Beshear)                 1109 CHEBOYGAN LLC
Attorney General – Louisiana (Jeff Landry)                  1215 E Shelby Drive Holdings LLC
Attorney General – Maine (Janet T. Mills)                  14 Oaks Associates LLC
Attorney General – Maryland (Brian Frosh)                   1420 N Parham Road LC
Attorney General – Massachusetts (Maura Healey)            1670 E 4th Ontario LLC
Attorney General – Michigan (William Duncan                1799 Portage Rd LLC and KSER LLC
"Bill" Schuette)                                           1ST HERITAGE BANK OF CALIFORNI
Attorney General – Minnesota (Lori Swanson)                1st R E Investment Trust NJ
Attorney General – Mississippi (Jim Hood)                  1ST SUMMIT BANK
Attorney General – Missouri (Josh Hawley)                   2015 Shopping Mall Business LLC
Attorney General – Montana (Tim Fox)                       2020 Liberty Rock LLC
Attorney General – Nebraska (Doug Peterson)                 2070 Sam Rittenburg Blvd Holdings LLC
Attorney General – Nevada (Adam Laxalt)                    2101 BEDFORD REALTY LLC
Attorney General - New Hampshire (Gordon                   2515 HORNER LLC
MacDonald)                                                 422 Realty LP
Attorney General - New Jersey (Christopher Porrino)        4300 EAST FIFTH AVENUE LLC
Attorney General - New Mexico (Hector Balderas)            5400 Busch Blvd LLC (Romeu Pradines Manager)
Attorney General - New York         (Eric                  7 MILE FARMINGTON PARTNERSHIP
Schneiderman)                                              8 Owners dba Hight Sears Lease Partnership
Attorney General - North Carolina (Josh Stein)             909 Group LP
Attorney General - North Dakota (Wayne                     Abe Oster (Deceased?)
Stenehjem)                                                 ACADIA REALTY LIMITED PARTNERS
Attorney General – Ohio (Richard Michael DeWine)           Acadia Realty Trust
Attorney General – Oklahoma (Mike Hunter)                  Acadia Realty Trust / Heyman Properties
Attorney General – Oregon (Ellen Rosenblum)                AEStrust-Milton FLA LLC
Attorney General - Pennsylvania (Peter Kilmartin)          Aetna Realty
Attorney General - South Carolina (Alan Wilson)            Aetna Realty / US Realty
Attorney General - South Dakota (Marty J. Jackley)         Agree Limited Partnership
Attorney General – Tennessee (Herbert H. Slatery)          Agree Realty / Richard Agree owns 100% personally
Attorney General – Texas (Ken Paxton)                      Alan E Robbins
Attorney General – Utah (Sean D. Reyes)                    Alan E Robbins & Marvin Kay General Partners
Attorney General – Vermont (T.J. Donovan)                  Albany Road Real Estate Partners
Attorney General – Virginia (Mark Herring)                 ALBANY ROAD-SPRINFIELD PLAZA
Attorney General – Washington (Bob Ferguson)               Albany-Pacific LLC
Attorney General - West Virginia (Patrick Morrisey)        Alfred M Kerzner
Attorney General – Wisconsin (Brad Schimel)                ALL DREAMS REALTY LLC
Attorney General – Wyoming (Peter Michael)                 All Dreams Realty LLC (Romeu Pradines Manager)
                                                           Allen J Potts
                                                           ALLENTOWN TOWNE CENTER ALLENTO
Known Affiliates/Joint Venture Counterparties              ALLFIRST BANK ACH#165
                                                           ALTERA BANK
                                                           AmCap Inc
Landlords – from SEC filing                                American National Insurance Company
Seritage SRC Finance LLC                                   American Pacific International Capital
Seritage KMT Finance LLC                                   AMERICAN TRUST
Seritage SRC Finance LLC                                   America's Realty LLC (Carl Verstandig)
Seritage KMT Finance LLC                                   AMERIS BANK
Seritage Growth Properties                                 AMJB LLC
General Growth Properties, Inc. ("GGP")                    AMJB LLC (c/o Joseph Greenberg)
Simon Property Group, Inc. ("Simon")                       ANAHEIM TOWN SQUARE
The Macerich Company ("Macerich")                          Anchor Investments
CBL and Associates Properties, Inc. ("CBL")                Anthony Cafaro (5250%) & CBL (4750%)
                                                           Anthony Fusco
Landlords/Mall Owners                                      Antioch Redevelopment Partners LLC
1011 RT 6 LLC                                              Apple Farm LLC & Lejo Corp




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Landlords/Mall Owners                               Landlords/Mall Owners
Apple Ventures LLC                                  Bebette Yunis / Georgia Reynolds
APPLEWOOD SHOPPING CENTER GP                        BECKNATHKAN INVESTMENT LLC
Argonaut Investments                                Behnam Rafalian
Aronov Realty Company                               Bellina Development & Brooklawn Out Lot LLC
ART MONUMENT COMPANY INC                            Ben LaParne
Art Schwab Family Trust                             Benderson
Arthur Ciuffo                                       Benjamin Hadar dba Darling Realty LLC
ASHY BROWN GONZALES                                 BENNINGTON SQUARE PARTNERS LL
ATMF IX LLC                                         Benzalem MZL LLC
ATR & Associates                                    BERKADIA COMMERCIAL MORTGAGE
Auburndale Properties Inc                           Berkshire Mall LLC
Augusta Plaza Associates LLC                        BET Investments
Avenel Realty Associates LLC                        BF Legacy Portfolio -707%/ Doris Weitz Trust-293%
AVG Partners                                        BHC Big V LLC/BS Big V LLC/BHRA Big V LLC
AVR Realty                                          T in C
B V Properties Inc                                  Biltmore Commercial Properties LLC
Babcock & Brown (Gregory Greenfield)                BMO HARRIS BANK
Backstage Entertainment LLC                         BMP Northwest Holdings LLC
BACM 2005-3 Richie Hwy LLC                          BNY MELLON
BAI Rutland Mezz LLC (Amit Barnoon & Zamias)         Boardman Westpark LLC
Baker & Baker R/E Developers LLC                    Bob Gustine
Baker & Baker Real Estate Developers LLC            Boston Mutual Life Ins 50% / Kin Properties 50%
Bakkas LLC                                          Boutrous Companies
BANCFIRST                                           Boutrous Enterprises
BANCO BILBAO VIZCAYA ACH#601                        BP NEW BOSTON LLC
BANCO POPULAR DE PUERTO RICO                        BPG Properties LTD
BANEO POPULAR DE PR ACH#865                         Brahin Mgmt Corp
BANK OF AMERICA ACH#30                              BRANCH BANKING & TRUST CO ACH#
BANK OF AMERICA ACH#3535                            BRAND BANK
BANK OF AMERICA ACH#3538                            Braun Family LLC
BANK OF AMERICA ACH#636                             BRE DDR BR Whittwood CA LLC-Blackstone/DDR
BANK OF AMERICA ACH#654                             JV
BANK OF AMERICA ACH#810                             BRE RC Retail Parent LLC
BANK OF AMERICA ACH#NEW 852                         BRIAN LASH
BANK OF AMERICA C/O MERRILL LY                      BRISTOL COUNTY SAVINGS BANK AC
BANK OF AMERICA NA                                  Brixmor (aka Centro)
BANK OF NEW YORK ACH#619                            Brixton Capital
BANK OF NEW YORK ACH#804                            BROAD STREET STATION SHOPPING
BANK OF NEW YORK LINE#302 DANA                      Brockton Plaza Realty Corp
BANK OF THE SIERRA                                  BROCKTON PLAZA REALTY CORPORAT
BANK OF THE WEST                                    Bromont Property Group
BANK ONE ACH#722                                    Bross Brothers LLC
BANK ONE NA ACH#715                                 Bruce Gershenson Managing Member
BANK ONE NA ACH                                     Brunswick MZL LLC (Katz Properties)
BANK RI                                             BRYAN RENTAL INC
Bankers Financial Corp                              BVS POUGHKEEPSIE LLC
BANKERS TRUST                                       C & W Manhattan Associates
BANKONE OF BOUNTIFUL UT ACH#11                      CALIFORNIA BANK & TRUST ACH#26
BANNER BANK ACH#630                                 CALIFORNIA BANK & TRUST ACH#92
Barbara & Fred Havenick                             CAMDEN NATIONAL BANK
BB & T WESTWOOD BRANCH ACH#69                       CAMDEN NATIONAL BANK ACH#3225
BB&T                                                Caparra Center Associates LLC
BB&T BANK                                            Capital Development Company
BB2S Bartlesville LLC                               CAPITAL ONE BANK
BBVA COMPASS BANK                                   CAPITAL ONE BANK NA




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Landlords/Mall Owners                                 Landlords/Mall Owners
Capitol Funds Inc                                     COLUMBIA BANK
Caplan Family Trust / Fleder Family Trust             COLUMBUS BANK & TRUST CO ACH#7
Capri Urban Baldwin LLC                               COMERICA BANK
CAPSTAR BANK                                          COMMERCE BANK ACH#3204
Caraland LLC / Bruce Burrow                           COMMERCE WEST BANK ACH#921
CARLISLE ASSOCIATES LP                                COMMONWEALTH BUSINESS BANK
Carlyle Development Group                             COMMUNITY BANK NA ACH#541
Carnuntum Associates LP                               COMMUNITY BANK OF CENTRAL CALI
CAROLINA FIRST ACH#506                                COMMUNITY TRUST BANK
CASA GRANDE MALL LLC                                  COMPASS BANK ACH#801
Casto                                                 Concord Mall LLC
CATHAY BANK                                           CONE MANAGEMENT INC
CBL                                                   Cone Management Inc (Daniel Wiener)
CBL and Associates Properties Inc ("CBL")             COOKEVILLE COMMONS LP
CCVA Inc                                              Cookeville Commons LP (Gilbert Merritt's Children)
CE VERNON II LLC                                      Cookeville Retail Holdings LLC
Cedar Realty Trust                                    CORTLAND CROSSING LLC
CEDAR-VALLEY PLAZA LLC                                Cortlandville Crossing LLC
CENTRA BANK ACH#721                                   Cranston / BVT Associates LP
CENTRAL BANK OF MISSOURI                              CREF II Silver City LLC
CENTRAL BANK OF ST LOUIS                              CROSS KEYS DEVELOPMENT COMPANY
CENTRAL PLAZA                                         CROSSROADS JOINT VENTURE LLC
CENTRE PLACE WALNUT CREEK LLC                         Crossroads Mall LLC
CERES PROPERTY NEW ACH#505                            CROSSROADS PLAZA NOTE LLC
Cesar Vazquez Navarro                                 CSQ H95 LLC
CHAMBERSBURG TOWNE CENTER CHAM                        CSQ H95 LLLP
Charles Ajalat                                        CVM Holdings LLC
Charter Realty/WP Realty Inc                          Cypress Equities
CHASE MANHATTAN BANK ACH                              D W PROPERTIES LLC
CHASE MANHATTAN BANK ACH#3361                         Dagenais Family
CHERRYMART ASSOCIATES LLC                             Dale Voegele
CHEVY CHASE BANK ACH#670                              DALOROMA LLLP
Chico Mall Investors LLC                              Dan Arnold & Fred Keywell Partnership
Chili MZL LLC                                         DANIEL G KAMIN
CHM Foothills 7 LLC                                   DANIEL G KAMIN BECKLEY ENTERPR
CITIBANK NA BRANCH #644                               DANIEL G KAMIN EASTON ENTERPRI
CITIBANK NA NEW ACH#427                               DANIEL G KAMIN KOKOMO LLC
CITIBANK NEW ACH#684                                  DANIEL G KAMIN ROCK SPRINGS LL
CITY CENTER ASSOCIATES LLC                            DANIEL G KAMIN WATERFORD LLC
CITY NATIONAL BANK                                    DANIEL G MAIN KOKOMO LLC
CITY NATIONAL BANK ACH#212                            DANIEL G KAMIN TENESSEE ENTER
CITY NATIONAL BANK ACH#28                             Daniel Wiener
CITY NATIONAL BANK ACH#NEW831                         David Cordish
CITY NATIONAL BANK OF FLORIDA                         David E Brody
CITYBANK NA ACH#709                                   David Goldstein
CITYWIDE BANKS                                        David Hocker & Associates Inc
CJ Segerstrom & Sons / Henry Segerstrom Family        David Long
CLERMONT REGIONAL INVESTORS L                         David M Peters and Charles A Kekumano
Clermont Regional Investors LLC                       David Mandelbaum & Peter Levine
CLG MAP MCKINLEY TRS UAD 7/29/                        David Nydes
CLIFPASS SPE CORP                                     DDR
Clinton Investors LLC                                 DDR RIO HONDO LLC SE
Coastline Retail Center Inc                           De Desarrillo Inc
Cobblestone Victor NY LLC (Schottenstein)             Delbrook Holding LLC
Collett & Associates Inc                              DEMOULAS SUPER MARKETS INC




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Landlords/Mall Owners                                   Landlords/Mall Owners
DIAJEFF TRUST DBA GREENMICH LL                          Fifth Generation Investments LLC
DLM Properties LLC                                      Fifth Street Funding
DOLLAR BANK                                             FIFTH STREET FUNDING INC
DOLLAR BANK ACH#642                                     FIFTH THIRD BANK
Dollar Land Associates LLC                              First Allied Corporation
Don R Ershig                                            First Allied Corporation
Donald A Mosites                                        FIRST BANK UPPER MICHIGAN ACH#
Donald Geller                                           First Commercial Realty & Development Co
Doug Talbot                                             FIRST COMMUNITY BANK
DOUGLAS RETAIL I LLC                                    FIRST HAWAIIAN BANK ACH#924
Dr Michael Rechter and George Harbs                     FIRST NATIONAL BANK
DRAISIN-LEVCO VENTURE                                   FIRST NATIONAL BANK OF SF ACH#
Drury Land Development Inc                              FIRST NATIONAL BANK OF TENNESS
DSM Realty                                              FIRST NIAGARA BANK
EAST END COMMONS ASSOCIATES                             FIRST NIAGRA BANK NA
East End Resources Group LLC                            FIRST PLACE BANK
East River Group LLC/Shomof Children's Trust            FIRST REPUBLIC BANK
EAST WEST BANK                                          FIRST REPUBLIC BANK ACH
Eastland Mall Holdings LLC (Mohammed Al                 FIRSTBANK
Refaey)                                                 FIRSTRUST BANK
EASTSIDE INVESTMENTS LLC                                FITCHBURG MFB LLC & MFB FINDLA
EBL & S Ed Lipkin                                       Five Mile Capital / StreetMac / Urban Retail
EDGEWOOD PLAZA HOLDINGS LLC                             Properties
Edward A Gillespie Deceased / Marie Gillespie           FLAGSTAR
Edwin P Yates                                           FLAGSTAR BANK
EL CENTRO MALL LTD                                      Fletcher Bright Company
ELAT Properties                                         Florence Rosen
Elkan SC Company                                        FLUSHING SAVINGS BANK ACH
ELMWOOD VILLAGE CENTER                                  Folmar & Associates
Elwood Retail LLC                                       Forest City Enterprises
Emily R Lewis Trust-GL / JP Morgan-Dev                  Fougler-Pratt Companies
EMMCO Corporation                                       FOUNDATION BANK
Emster Properties (K Gerston D Kinzie M Epstein)        Frances E McCann (Deceased)
Envision Michigan Holdings LLC                          Francis E Lauricella
Equimax/Pentaco Management                              Frank Investments Inc
Equity Investment Group                                 Frank Viola
Equity One Realty & Management Inc                      Fred W Bruning
Ernest F Delle Donne                                    Frederick Menowitz
Estate Of A J Aberman                                   Freestanding
Estate of Frank D Milhelish                             FREP Holdings LLC
Evan & Shawn Libaw                                      Frontier Management LLC
EvCom Holdings LLC & Steadfast Companies                Fulcrum Property (managed by Macerich)
Extell Development Co                                   FUSCO PROPERTIES LP
Fairbanks Equity Ltd                                    G&I VIII CBL Triangle LLC
Fairway Roanoke LLC                                     GARDENSIDE CENTER LLC
FARMERS & MERCHANTS BANK ACH#2                          Garrison
FARMERS AND MERCHANTS BANK                              Garrison
FARMINGTON BANK                                         Garrison (CBL Manages)
FARMINGVILLE ASSOCIATES                                 Gator
FB BILLERICA REALTY INVESTORS                           GATOR SARASOTA LLC
Federal Construction Ltd                                GEM Realty (CBL Manages)
Federal Realty Investment Trust                         GEM Realty Capital (CBL Manages)
FG LLC                                                  Gemini Real Estate Advisors
Fidelis Realty Partners                                 General Growth Properties Inc ("GGP")
FIFTH GENERATION INVESTMENTS                            George B Huber




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Landlords/Mall Owners                                Landlords/Mall Owners
GEORGERTOWN PROPERTIES                                Heritage Park Mall LLC
Georgetown Centre LLC                                HERMITAGE TOWNE PLAZA
GERSHMAN PROPERTIES LLC                              HILLCREST BANK
GFI - c/o Walt Gasser & Associates                   HK Partners LLC (Eugene Hahn)
GFI DAKOTA DEVELOPMENT LLC                           Holly Hill Mall LLC
GFI Dakota Development LLC (W Gasser & Assoc)        Howard E Bowen
GGP                                                  Howard Rosenberg
GGP                                                  HOWLAND COMMONS
GGP (Price Development)                              Hudson Advisors
Gibraltar Mgmt Co Inc                                Hughes Development Corporation
GIBRALTER MANAGEMENT CO INC                          Hughes Investments Inc
Gillespie Group                                      Hughes Real Estate
GK Development                                       Hull Property Group
Glenmont MDC Eastern Hills LLC                       Hull Storey Gibson Companies
Glimcher                                             HUNTINGTON ACH 814
Gonzalez Maisterrena Attaguile                       HUNTINGTON BANK
Goodrich Mgmt Corp                                   HUNTINGTON NATIONAL BANK
GOVERNER SQUARE ASSOCIATES I S                       HYLAN PLAZA 1339 LLC
GRAND CENTRAL PLAZA INC                              IDA DEVELOPMENT ASSOCIATES LLC
GRASS VALLEY SHOPPING CENTER                         ILIGROUP INC
Gray Enterprises LP                                  IMRON LLC
Graziadio Investment Company                         INDIAN RIVER PLAZA LLC
Green Bay Mason Company                              Indy Lube Investments LLC
GREENWOOD PLAZA PROPERTIES LL                        Ingerman-Ginsburg Partnership
Greenwood Plaza Properties LLC                       Inland n/k/a IRC Retail Centers
Greenwood Square Holdings LLC                        INTEGRITY BANK A DIVISION OF
Greg Hess                                            Inversiones Joselynmari
Grove City Property LLC                              Invest West Alpha
GTM Development                                      INVESTORS BANK
Gumberg                                              Ira Smedra
Gumberg Asset Management Corp                        IRC RETAIL CENTERS INC
GUMBERG ASSOCIATES-SANDY PLAZA                       Isaac Perlstein
GVSC LP & Cameo Homes                                ISABELLA BANK
H & H Investments LLC                                ISRAEL DISCOUNT BANK OF NY
HACKENSACK VF LLC                                    J B (Barney) Gottstein
Hall Equities Group                                  J Herzog & Sons Inc
Hanover Redmer Land Investments LLC                  J P MORGAN CHASE BANK NEW ACH#
HANOVER RICHMOND KM LLC                              J J Gumberg Co
Harriet Belk dba HC Lakeshore LLC                    JACK A SNEEDEN CORPORATION
HARRIET C BELK                                       JACKMART LIMITED PARTNERSHIP
HARRIS BANK ACH#872                                  Jackson County Airport
HARRIS BANK ACH#873                                  JACKSON SHOPPING VILLAGE LLLP
HARTMAN REALTY ASSOCIATES                            Jamacha Sweetwater LLC
HARVRICH ASSOCIATES                                  James Campbell
Hastings Center LLC                                  James Giunta
Hatim Yusuf                                          James Kempner
Hauppauge Properties LLC                              James Khezrie d/b/a GP Mall LLC
Heidenberg Properties JV                             James Lewis
HEKEMIAN & COMPANY INC                               Jared and Elaine Johnson
Helen Rosner Allen Weinstock & James Gubiner         JARED CORPORATION
Henpal Realty Company                                Jared Corporation (FST Real Estate)
Herbert G Brown Sole Member                          Jay Newhouse
Herbert Singer                                       Jayne Bentzen
HERITAGE BANK & TRUST                                Jeffrey H Tamkin Inc
HERITAGE BANK GREAT FALLS ACH#                       Jeffrey Reichman




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Landlords/Mall Owners                                   Landlords/Mall Owners
JESUP PLAZA LP                                          KUKUI MARKETPLACE SPE INC
Joe Selz                                                L&B Realty Advisors LLP
JOHN E NEWMAN                                           LAKE ORION PLAZA LLC
John Hecht                                              Lake Plaza Shopping Center LLC
John I Silverman Trustee                                LAKE PLAZA SHOPPING LLC
Jonathon Silverman                                      Lake Success Shopping Center LLC
Joseph Wolf Marvin L Wolf Rosalie Rubaum                LAKEWOOD SHOPPING CENTER LLC
JP MORGAN CHASE                                         Lancaster Development Co
JP MORGAN CHASE ACH#732                                 LAND OF HOPE LLC
JP MORGAN CHASE BANK ACH                                LaPorte Towne Square LLC
JP MORGAN CHASE BANK NA                                 Laramie Abingdon Limited Partnership
JPMCC 2003-ML1 GREEN BAY RETAI                          LARAMIE ABINGDON LP
JPMCC 2003-ML1 Green Bay Retail LLC                     Larry Rose
JR & R II LLC                                           LASALLE BANK ACH# 3342
JSMN Shenango Valley Mall LLC                           Laurel Mall LP
Judd Steven Abrams                                      Laurich Properties Inc
Juster Development Co                                   LAWRENCE KADISH
K G 1 Military LLC                                      LBG Real Estate Companies
K Chaboya F Murphy J&F Murphy Trusts et al              LB-UBS COMMERCIAL MTG TR CMPT
Kadish                                                  LeBaron Investments
Kamehameha Schools - Bishop Estate                      Lee Chiang
KBS Real Estate Investment Trust Inc                    Lee Dorfman
KC HOLDING CORPORATION                                  LEMAY BUILDING CORP
 KDI Athens Mall LLC c/o Hendon Properties LLC          LEMAY BUILDING CORPORATION
KDI Rivergate Mall LLC c/o Hendon Properties LLC        Lerner Enterprises LLC
KENDALE ASSOCIATES LIMITED PAR                          LEVCO ASSOCIATES
KEY BANK                                                Levco Management Inc
KEY BANK ACH#639                                        Levin Properties LP
KEY BANK NA ACH#667                                     Lexington Corporate Properties Trust
KEYBANK                                                 LF2 Rock Creek LP
Kileen ATM LLC                                          Libby Dial Enterprises LLC
KILLEEN ATM LLC                                         Lilly Klauer / Susan Klauer Rivera / Carlos Rivera
Kiln Creek Shopping Center LLC                          LNR Partners LLC
Kim and Steve Fields                                    LNR Partners LLC
Kimco                                                   Loan Oak Paducah LP
Kimco                                                   Lockhart Gardens Inc
KIMCO INCOME OPERATING PARTNER                          LOCKHAVEN ZAMAGIAS
KIMCO REALTY CORPORATION                                Los Altos Gateway LLC
KIM-SAM PR RETAIL LLC                                   LRC Magic Investors Ltd
Kin Properties                                          LSREF3 Spartan (Genesee) LLC / Lone Star Funds
KM BAKERSFIELD PARTNERSHIP                              Luan Investment Corp
 KM Maui & Halawa Partners                              LUAN INVESTMENT SE
KM Maui LLC                                             M & P Calhoun LLC
Kmart Corporation                                       M & T BANK
KMART PLAZA BELLFLOWER CA                               M & T BANK ACH#577
KMART PLAZA LANCASTER PA LP                             M & T BANK ACH#660
 Kmart Stores of Illinois LLC                           M&T BANK
KMBC LLC                                                M&T BANK ACH#749
KMBC LLC (Eric F Saltzman)                              Macerich
KMR REDDING INVESTORS LLC                               Madison Partners (Bob Safai)
 Knoxville Partners LLC                                 MADISON PLAZA ASSOCC/O SIERRA
 Konover Properties                                     Madison Realty Capital
Korbin Development Company Inc                          MAIN 19LLC
Kossman Development                                     MAIN REALTY ASSOCIATES
KRG Sunland LP                                          Malon D Mimms (Father)




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MALONE PLAZA REALTY LLC                              Midtown Square LLC
MANAHAWKIN 2015 LLC                                  MIDWESTONE BANK
MANFACTURERES & TRADERS TRUST                        Midwood Investment & Development
Marie Amako dba Chehalis 2 LLC                       Mike Farmer & Bud Farmer (Brothers)
Mark & Dayna Langfan                                 Mike M Nassimi
Mark Four Realty LP                                  MILBROS INVESTMENT COMPANY
MARK FOUR REALTY LP/BIRNEY M                         MILLCREEK REALTY ASSOCIATES LT
MARK PLAZA FIFTY LP                                  Miller Wong Wong & Wong
MARK SHILLINGTON LP                                  MIMMS INVESTMENTS INC
Mark Shillington LP                                  Mineral King Properties LLC
Mark Zappala                                         MINOTOLA NATIONAL BANK ACH#931
Mark Zappala                                         MJB ASSOCIATES LP
Marquette Mall Properties Ltd                        ML-CFC 2006-4 Greeley Retail LLC
Marsh Road Automotive LLC (Angelo Orciuoli)          ML-CFC-2006-3 Walnut Hills LLC
MART PLAZA LLC                                       MOAC Mall Holdings Inc (Triple 5 Group)
Martin A Gaspare Individually                        MOHAVE STATE BANK
MARTIN GASPARE                                       Monroe Crossing TEI Funds LLC* (Time Equities)
Martin H Graff                                       Montgomery Cross Retail Group LLC
Marty Wasserstein                                    Moonbeam Capital Investments
Marvin Schreiber                                     Moonbeam Capital Investments
MASUE TRUST                                          Moonbeam Capital Investments (Steve Maskin)
Mathieu Rosinsky                                     MOORHEAD INVESTING COMPANY
Mat-Su Holdings LLC                                  Morgan Stanley Capital I Trust
Mattydale Commons LLC                                MORRISTOWN PARTNERS LP
Maury Abrams LLC                                     Mountain Development Corp
Maynardville Pike LP                                 Mountain Laurel Plaza
MCB Real Estate                                      MT PLEASANT SHOPPING LLC
MCM Properties Ltd                                   Munro Smith Properties
McMahon Development Group                            Murray A & Joanne Talenfeld
MCS Hemet Valley Mall LLC (MC Straus Company)        Namdar Realty Group (Igal Namdar)
MEADOW LANE MALL LLC                                 Namdar Realty Group (Igal Namdar) & Elliot Nassim
Meadowbrook Creek LLC                                Nat Franklin
MEADVILLE MEDICAL CENTER                             NATHAN ALISON TRUST
Meadville Realty Partners LP                         NATHAN-ALISON LLC AND FLOREFF
Medi Vakili and Mark Vakili                          NATIONAL CITY BANK ACH#588
Mehran Kohansieh a/k/a Mike Kohan a/k/a Kohen        NATIONAL PENN BANK
MELLON UNITED NATIONAL BANK AC                       New England Development
MELLON UNTIDED NATIONAL BANK A                       NEW MARKET STATION LP
MEMBERS COOPERATIVE CREDIT UNI                       NEW MIL BANK ACH#628
Merle Hay Investors LLC                              New Upper Valley Associates LLC
Merlone Geier                                        Newage PHM LLC
MESA SHOPPING CENTER                                 NEWBERRY SQUARE SHOPPING CTR
MFB SALEM OREGON LLC                                 NewMark Merrill Companies
MFS-Springfield LLC                                  NMC STRATFORD LLC
MFW Associates                                       NORTH FORK BANK ACH#173
MG3 Casablanc I LLC                                  NORTH FORK BANK ACH#3162
MGR Assets Inc                                       NORTH FORK BANK ACH#3200
Michael H Dilworth                                   NORTH FORK BANK ACH#3501
Michael Surnow                                       NORTH FORK BANK ACH#3848
Michel Bolour                                        NORTH FORK BANK ACH#651
Michel J and Mary F Orradre                          NORTH POINT MALL ASSOCIATES LL
MIDAMCO                                              Northgate Associates LP
Midland Empire Retail LLC                            Northpoint Associates LP
MIDSTATE PROPERTIES CO                               Norton Mailman Assoc LP / Westfield
Midstate Properties Company                          OAK LAWN CENTER 835 LLC




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Oak Ridge Baptist Church                                   Plaza Las Americas Inc
Oelwein ATM LLC (Madison Partners)                         Plaza Management
OHIO VALLEY MALL COMPANY                                   PNC
OLP-MCB CLEMMONS JV LLC                                    PNC BANK
Olshan Properties                                          PNC BANK (ACH)
One Liberty Properties                                     PNC BANK ACH#3306
OPEN BANK                                                  PNC BANK NA
OSCAR CHAPARAL LP                                          PNC BANK NA ACH#771
OSTER YORKTOWN PROPERTIES LLC                              PNC BANK NA ACH#773
Owen Partnership                                           PNC BANK NATIONAL ASSOCIATION
Oxford Development Co                                      PNC NATIONAL ASSOCIATION
Oxford Properties Group                                    Port Plaza Realty Trust
PACIFIC COMMONS LLC                                        PREFERRED BANK
Pacific Properties Group Inc                               PREIT
Pacific Retail Capital Partners                            PREIT
Pacific Retail Capital Partners/Collarmele Partners        Primestor Development Inc
PA-FLA PLAZA LTD                                           Profits Only LLC
PAL ASSOCIATES - HARRISBURG L                              Proton Prc Ltd/ F&M Properties
PAL ASSOCIATES-HARBORCREEK                                 Public Service Electric & Gas Co
PALS - MALS VENTURE                                        Pyramid
Pan Am Equities                                            QKC Maui Owner LLC
PAPA ROCHESTER LP                                          QUEEN LILI UOKALANI TRUST
PARAGON COMMERCIAL BANK ACH#35                             Quincy-Cullinan LLC
PARK NATIONAL BANK                                         R & D Associates Of Stamford LLC
Parkway Plaza I Assoc (Cafaro's Uncle-Not                  R D Management
Anthony)                                                   R K Associates
PARKWAY RETAIL CENTER LLC                                  RABOBANK
PARKWAY SHOPPING CENTER LLC                                Radiant Partners LLC
Patrick J Svoboda and Kathleen D Svoboda                   Rafael and Sarah Irom
PAVIA ASSOCIATES                                           Ralston KMGT Denver LLC
PBI BANK ACH#999                                           RAMCO-GERSHENSON PROPERTIES L
PCF WAYNESVILLE LLC                                        Ramco-Gershenson Inc
PCK Development Company (CBL Manages)                      Raven Associates
PECO Real Estate Partners (CBL manages)                    Raymond Arjmand
Peleg Group (USA) LLC                                      RCG Ventures
Pembroke Square Assoc                                      RD MANAGEMENT CORPORATION
PENNSEE LLC                                                RD TRUJILLO ALTO LP
PEOPLE'S UNITED BANK                                       Regency Centers
PERMELYNN OF BRIDGEHAMPTON 360                             Regency Realty Corp
Peru K-M Company Ltd                                       REGIONS BANK
Peter Bassett                                              REGIONS BANK SOUTH CAROLINA AC
PHD TUSCALOOSA LLC                                         Renaissance Partners I LLC (Centennial RE Mgmt)
PHENIX PARTNERSHIP LP                                      REPUBLIC BANK
Phillips Edison Group LLC                                  RESOURCE BANK
Pikala Realty LLC (Katrina Kalaj)                          Retail Opportunity Investments Corp
PIKALA REALTY LLC                                          Revenue Properties
PIKE CREEK                                                 REVENUE PROPERTIES TOWN AND CO
Piney Green LLC                                            Rexford Title Inc
PIONEER BANK                                               Ribaut Holdings LLC
PIONEER PROPERTIES COMPANY OF                              Richard G Braley
Pioneer Properties Company of Dansville LLC                Richard Langlais
PITTSTON COMMONS ASSOCIATES L                              RIDGEFIELD BANK ACH#787
Pittston Commons Associates LP                             River Oak Properties Ltd
Plaza Associates Inc                                       RIVER VALLEY BANK
Plaza Juana Diaz Inc                                       RIVERTOWNE CENTER ACQUISITION




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Landlords/Mall Owners                                  Landlords/Mall Owners
Riverwalk Inc                                          Seritage (PREIT-Developer)
Robert Gallant GP (Providence Group Manages)           Seritage / American RE Partners-(Developer)
Robert Kantor                                          Seritage / Anchor Management-(Developer)
Robert M Steeg                                         Seritage / Cafaro-50% & CBL 50%-(Developer)
Robert Waters and Christopher Chandor                  Seritage / CBL-(Developer)
Robert Lani & David Mimms (Sons)                       Seritage / CIM Group-(Developer)
Robinson Family Trust                                  Seritage / Codding Enterprises-(Developer)
ROCKAWAY REALTY ASSOC LP                               Seritage / CW Capital Asset Mgmt-(Developer)
Rockaway Realty Associates LP                          Seritage / DDR-(Developer)
Rockstep Capital                                       Seritage / Easement Agmt w/ Wal-Mart
ROIC PINOLE VISTA LLC                                  Seritage / Federal Realty Inv Trust-(Developer)
Roland E Walters                                       Seritage / Forest City Enterprises-(Developer)
Roller Mill LLC                                        Seritage / Galileo Southland LLC-(Developer)
Ronald A Gershman                                      Seritage / GGP JV
 Ronald Christopher Malooly Sr                         Seritage / GGP-(Developer)
Rouse Properties                                       Seritage / Glimcher-(Developer)
Rouse Properties                                       Seritage / Govt Personnel Mutual Life-(Developer)
Rouse Properties 51% / David Hocker & Assoc 49%        Seritage / Hendon Properties LLC-(Developer)
ROYAL BANKS OF MISSOURI                                Seritage / Howard Hughes Corp-(Developer)
Royal K LLC                                            Seritage / Hunt Valley Holdings-(Developer)
S C Brian Kim                                          Seritage / Inland n/k/a IRC Retail-(Developer)
SP Pell City Properties Inc                            Seritage / Jordan Landing LLC-(Developer)
SR Wiener / Richard Marks                              Seritage / L B Santa Maria LLC-(Developer)
Saia Enterprises Inc                                   Seritage / Lane 4 Property Grp-(Developer)
SAIA FAMILY LIMITED PARTNERSHI                         Seritage / Lormax Stern-(Developer)
Sally Kahle                                            Seritage / Macerich JV
Sam Shalem                                             Seritage / Macerich-(Developer)
Samual T Cohen Sara W Cohen & David Cohen              Seritage / Macerich-Developer)
 Sansone Companies                                     Seritage / McKinley Inc-US Bank-(Developer)
Santa Rosa Mall LLC                                    Seritage / Meissner Jacquet-(Developer)
Sarum Englewood Investors-70%/Brookmore LP-            Seritage / Metro National Corp-(Developer)
30%                                                    Seritage / Pacific Retail Capital-(Developer)
SARUM ENGLEWOOD INVESTORS-THE                          Seritage / Priority Properties LLC-Developer)
SAUL HOLDING LP                                        Seritage / Ramco-Gershenson-(Developer)
Saul Holdings LP                                       Seritage / Regency Centers-(Developer)
Saul Limited Partnership                               Seritage / Rouse Properties-(Developer)
Sayre Valley LLC                                       Seritage / Shops at Tanforan REIT-(Developer)
SBK ASSOCIATES LLC                                     Seritage / Simon / GGP-(Developer)
Schlossman Family LP                                   Seritage / Simon JV
Schostak Bros & Co Inc                                 Seritage / Simon WP Glimcher-(Developer)
 Schostak Brothers & Co                                Seritage / Simon WPG-(Developer)
Schottenstein Realty LLC                               Seritage / Simon WPG-(Developer) *docs to come)
SCOTTS VALLEY PHASE II                                 Seritage / Simon-(Developer)
Sean Hashem                                            Seritage / Simon-Developer
SEARS HOLDINGS CORPORATION                             Seritage / Simon-Turnberry Assoc JV-(Developer)
Searstown LP / Frank Weisner                           Seritage / Simon-WP GLIMCHER (Developer)
Searsvale                                              Seritage / Simon-WP GLIMCHER-(Developer)
Searsvale & Newkoa LLC (20%)                           Seritage / Starwood Capital-(Developer)
 Seaview Acquisition LLC                               Seritage / Starwood-(Developer)
 Security Square Associates                            Seritage / Starwood-(Developer)
SELDIN COMPANY                                         Seritage / Starwood-StarW Solano LLC-(Developer)
Seldin Properties LLC                                  Seritage / Starwood-Star-West JV-(Developer)
SELECT-KM PLAZA LLC                                    Seritage / Starwood-Star-West LJ LLC
Selig Enterprises Inc                                  Seritage / Starwood-Westfield's-(Developer)
SELZ REALTY COMPANY INC                                Seritage / Sunrise Mall Prop LLC-(Developer)




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Landlords/Mall Owners                                    Landlords/Mall Owners
Seritage / Tabani Group-(Developer)                      South SAC LLC
Seritage / Taubman Company-(Developer)                   SOUTHERN SQUARE LLC
Seritage / The Feil Organization-(Developer)             Southhaven Associates
Seritage / Urban Retail Properties-(Developer)           SOUTHHAVEN ASSOCIATES ASSOCIAT
Seritage / US Mall Holdings-Omninet Capital-(Dev)        SOUTHLAND MALL PROPERTIES LLC
Seritage / Vintage Capital Group-(Developer)             SOVEREIGN BANK
Seritage / Vornado-Developer                             Spatz Centers Inc
Seritage / Westfield-(Developer)                         Spigel Properties
Seritage / Wilmorite-(Developer)                         Spinoso
Seritage / Winstanley-Surrey Equities-(Developer)        SPOTSYLVANIA CROSSING INVESTOR
Seritage / Woodmont Company-(Developer)                  Spotsylvania Crossing Investors LLC
Seritage / WP Glimcher-(Developer)                       ST ALBANS CENTER II LLC
Seritage / Young Woo & Assoc-(Developer)                 St Augustine Holdings LLC
Seritage Growth Properties                               ST MARY'S SQUARE - OHIO ASSOC
Seritage Growth Properties LP                            Stafford Properties Inc
Seritage KMT Finance LLC                                 STANDARD BANK & TRUST CO
Seritage SRC Finance LLC                                 Standard Property Group LP
SERVISFIRST BANK                                          Starwood
Seth Fortgang                                             Starwood - *Star-West JV LLC
Seth Tim and Kent Oliver                                  Starwood - Star-West Chicago Ridge LLC
Seven Springs Limited Partnership                         Starwood - Star-West JV LLC
Shahanian Family-Lee Shahinian Jr-Managing                Starwood Capital Group
Owner                                                    Starwood Ceruzzi LLC (Ceruzzi Holdings)
SHALER ZAMAGIAS LP                                        Steadfast Companies
Sharp Realty                                             Stephen C Greenlee (CBL Manages)
SHC Desert Springs LLC                                   Stephen K Easton and Judith Streisand
SHC Owned                                                Stephen Redding
SHELBY LOCATIONS INC                                     STEPHENSON NATIONAL BANK & TRU
Sheldon J Mandell                                        STERIK BURBANK LP
SHIDLER/ WEST FINANCE PARTNERS                           STERLING EQUITIES II
Shindler/West Finance Partners V LP-Henry Cohen          Sterling Equities II LLC
Shingle Creek LLC c/o Gatlin Development                 STERLING NATIONAL BANK & TRUST
Company                                                  Sterling Organization
SHORE BANK (SHORE SAVINGS BANK                            Steven D Bell & Company
SHUNPIKE-WEST LP                                         Stirling Properties
Sidney Forbes and Maurice Cohen                           Stirling Properties LLC
Sidney Moray                                             STOCKTON PLAZA PARTNERS LLC
Sierra Management Corp                                   Stuart Sneeden
SILVERGATE BANK                                          Summerdale Plaza Associates
Simon                                                    SUN TRUST BANK NA
Simon                                                    Sung Rhee (SR Investment)
Simon (674%) / Kravco                                    SUNLAND TOWNE CENTRE CLEARING
Simon / Kravco                                           Sunny Isle Developers LLC
Simon / Washington Prime Group                            Sunrise CC LLC
Simon Property Group Inc ("Simon")                       Sunstar Keshav Property LLC
Sion Nobel MD & Behat Nobel                              SUNTRUST BANK
Site C LLC                                               SUNTRUST BANK ACH
Skibo Square Inc                                         SUNTRUST BANK SO FL ACH#NEW8
SKY BANK ACH#3165                                         SVAP Golf Mill Retail LP/Sterling Org
Sliva LLC                                                SVAP II HERNDON CENTRE LLC
Solari Family Trust & Baskins Family Trust                SVAP Pompano Citi Centre LLC
SOMERSET ASSOCIATES LIMITED PA                           SWZ LLC
Somersville Town Center Equities LLC et al                Tabani Group
SOMERVILLE LAS VEGAS LIMITED P                           Tabani Group
Sontic Ward Inc                                          "Ta-Hsiung Wang Huey-Yi Wang and Ta-Cheng




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Wang Olivia                                                Troy Coolidge No 21 LLC
Yan Shui Hsia"                                             Tucumcari ATM LLC (Madison Partners)
Taubman                                                    TUPART II LLC
 Taubman                                                   Tuskeena Gulfport Center LLC
Taurus Augusta Mall LLC                                    Twin City Estate Corporation
TD BANK                                                    U S Realty a/k/a Garden Properties
TD BANK NA                                                 US Realty a/k/a Garden Commercial Properties
TFG Lufkin LP                                              UE BRUCKNER PLAZA LLC
THE BANK OF NEW YORK ACH#661                               Uintah Plaza LLC
THE BANK OF NEW YORK MELLON                                UMB BANK
The Ben Tobin Companies Ltd                                UMPQUA BANK
THE BOULEVARD CORPORATION                                  UNION BANK
The Cafaro Company                                         UNION BANK & TRUST ACH#682
THE DANIEL GROUP                                           UNION BANK OF CALIFORNIA ACH#2
The Daniel Group Inc                                       Union Center Realty LLC
The Denver Gardens Company LLC                             UNISOURCE CENTERS LLC
The Feil Organization                                      United Capital Corp
The HB Nitkin Group                                        University Center Associates
THE KEMPNER CORPORATION                                    University City Inc
The Macerich Company ("Macerich")                          University Mall LLC
The Morris Companies                                       Univest-BTC S&R LLC
The Norris Living Trust                                    URBAN EDGE PROPERTIES LP
THE PRIVATE BANK                                           Urban Retail Properties LLC
 The Prudential Insurance Co of America                    US BANK
The Richardson Company                                     US BANK NA ACH#516
The Robbins Company                                        US Centennial Malls JV LLC (Westfield /
THE STOP & SHOP SUPERMARKET CO                             Centennial)
The Stop & Shop Supermarket Company LLC                    US TRUST CO OF NEW YORK ACH#35
THE WIDEWATERS GROUP INC                                   USB ACH#777
The Woodmont Company                                       V & V Real Estate Investments
THF Realty                                                 VALLEY BANK OF HELENA ACH#696
Time Equities                                              VALLEY NATIOAL BANK ACH#2026
TIMES SQUARE JOINT VENTURE LLP                             VALLEY NATIONAL BANK ACH#826
Times Square Joint Venture LLP (FST Real Estate)           Vanguard Associates
Tivoli Sqaure Apartments LP (Tivoli Capital Inc GP)        Versailles Land Group LLC (Billy Blair/Eli Mashni)
TKG San Ysidro Development LLC (The Kroenke                VERTICAL INDUSTRIAL PARK ASSOC
Group)                                                     Vertical Industrial Park Associates
TKG SAN YSIDRO DEVELOPMENT LL                              Veterans Elua LLC
TLM Realty Corp David & Stuart Epstein                     VIAPORT NEW YORK LLC
TLM Realty Corp Ron Oehl                                   VINEYARD CONCORD LP
TLM Realty Corp Ron Oehl (7475%) & DDR                     Vintage Capital Group
(2525%)                                                    Vintage Capital Group
TMM Investments Ltd                                        Vornado
TNP Sites LLC (Charles Pinter)                             Vornado / Urban Edge Properties
TONOPAH CRAIG ROAD COMPANY LLL                             W & H LLC
TOWANDA PA HOLDING LLC                                     W B WIGGINS JR
TOWN REAL ESTATE ENTERPRISESL                              W P Carey & Co
TOWNE BANK                                                 WB Wiggins Jr
 Towne Mall Galleria LLC                                   WACHOVIA BANK NA ACH#590
Trestle Natomas LLC                                        WACHOVIA BANK NA ACH#878
TRI-CITY ASSOC LIMITED PARTNER                             WACHOVIA BANK NA
TriGroup Properties LLC                                    WACHOVIA BANK NATIONAL ASSOCI
TRIPLE CROWN OPERATING TRUST                               WACHOVIA SECURITIES
Triple Crown Operating Trust LP                            Waddell Realty Co LLC
Troy Coolidge                                              WAL-GO ASSOCIATES LLC




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Landlords/Mall Owners                                      Landlords/Mall Owners
Wal-Mart Stores                                            WOLF FAMILY SERIES LP
WAL-MART STORES INC                                        Woodbury Corporation
Walter R Samuels                                           WOODBURY REALTY ASSOCIATES INC
Walton Street Capital LLC / Brian T Kelly Principal        Woodfield Mall LLC (Simon Property Group - Mall
Wangard Partners Inc                                       Mgr)
Warren Davis Properties                                    Woolmington-Smith Ventures LLC
WARREN DAVIS PROPERTIES XVIII                              WP GLIMCHER (Simon / WPG & Glimcher)
WARREN DAVIS PROPERTIES XXIII                              WP GLIMCHER* (Docs still to come)
Washington Real Estate Investment Trust                    WP GLIMCHER* (Simon / WPG & Glimcher)
Watkins Investments LP                                     WP KNOX ASSOCIATES LP
Waypoint Property Group                                    WRD Mechanicsburg LP
WC MRP Belleville Center LLC                               WRI GOLDEN STATE LLC
WC MRP INDEPENDENCE CENTER LL                              WRI/RALEIGH LP
WC MRP International Center LLC                            YL Investments LLC
Web & Sons Inc                                             Zamagias Properties
Weingarten Realty                                          Zamias
WEINGARTEN/ FINGER VENTURE                                 ZIONS FIRST NATIONAL BANK ACH#
WELLS FARGO ACH#522
WELLS FARGO ACH#791
WELLS FARGO ACH#875
WELLS FARGO ACH#995                                        Litigation
WELLS FARGO ACH#996                                        OneWorld Technologies
WELLS FARGO BANK                                           1291079 Ontario Limited v. Sears Canada, Inc., et al.
WELLS FARGO BANK - ACH 3309
WELLS FARGO BANK 3723                                      14 Oaks Associates, LLC v. Kmart Corporation
WELLS FARGO BANK ACH                                       K4720
WELLS FARGO BANK ACH#214                                   233 S. Wacker, LLC v. Sears, Roebuck and Co., and
WELLS FARGO BANK ACH#283                                   Sears Holding Corporation
WELLS FARGO BANK NA                                        3575 Madison Heights, MI Kmart - Settlement Alex
WELLS FARGO BANK NA ACH#3590                               Smith
Wells Fargo Bank NA as Trustee                             Aaron, Roger D. et al. vs. Albany International
Wells Fargo Bank NA as Trustee (Developer)                 Airport et al. asbestos defendants including Sears,
WELLS FARGO BANKNA                                         Roebuck and Co. (76 named defendants)
WEST FRANKFORD PLAZA                                       Abbatiello, Linda et ux. v. Allied Corporation, et al.,
WEST PLAZA ASSOCIATES                                      asbestos defendants including Sears, Roebuck and
WESTFALL TOWN CENTER JOINT VEN                             Co. (35 named defendants)
Westfield                                                  Abbatiello, Louis and Anna Abbatiello, h/w vs.
Westfield                                                  Georgia Pacific, et al., asbestos defendants including
Westfield / Centennial JV                                  Sears, Roebuck and Co.
Westfield / Centennial Malls JV                            Abramovich, Victor and Maya Abramovich vs. A.O.
WESTMOUNT PLAZA ASSOCIATES                                 Smith Corporation, et al., asbestos defendants
Weston Town Centre LLC                                     including Sears, Roebuck and Co.
Wharton Realty Group                                       Abreu, Marcia Ann, Individually and as Personal
White Sands Mall LLC                                       Representative of the Estate of Cary Truman
WHITNEY NATIONAL BANK ACH#737                              Hartzog, Deceased vs. A.W. Chesterton, Inc., et al.,
WILLIAM D MATTINGLY EDUCATION                              asbestos defendants including Sears, Roebuck and
William M Rice University                                  Co.
William O Passo                                            Abshire, Glenn D., vs. John Crane-Houdaille, Inc., et
Wilmington Trust Co                                        al., asbestos defendants including Sears, Roebuck and
WILMINGTON TRUST CO NEW ACH#49                             Co.
Wilmorite                                                  Acrecent Financial Corporation v. Web 2 Printing
Wilshire Business Center                                   Corp, Marketing Printing Solutions, Inc. etc.
WILSON NORRIDGE LLC                                        (ADA) Access Center for Independent Living, et al.
WINBROOK MANAGEMENT LLC                                    v. WP Glimcher Inc., et al. [Sears #1560]
Windalier West Lebanon LLC




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Litigation                                                    Litigation
(ADA) Boitnott, Jerald v. K-Mart Corporation d/b/a            Alexander, Vernon vs. Quilgey Company, Inc., et al.
K-Mart                                                        asbestos defendants including Sears, Roebuck and
(ADA) Cabrera, Gabriela v. Kmart Corporation and              Co. (56 named defendants)
Does 1 - 20                                                   Alfaro, Yaritza et al. v. Sears, Roebuck and Co., et al.
(ADA) Cohan, Howard v. K Mart Corporation dba K
Mart #3818                                                    Alimo, Vincent vs. Union Carbide Corporation, et al.,
(ADA) Corrales, Hector M. v. Sears, Roebuck and               asbestos defendants including Sears, Roebuck and
Co.; and Does 1-20, inclusive                                 Co.
(ADA) Giannone, Paula v. SVAP Pompano Citi                    Aliotta, Patricia vs. Azko Nobel Paints LLC, et al.,
Centre II, L.P.; and Sears, Roebuck and Co.                   asbestos defendants including Sears, Roebuck and
(ADA) Moralez, Francisca M. v. Kmart Corporation;             Co.
Kmart Operations LLC; and Seritage SRC Finance                Allen, Robert B. vs. Quigley Company, Inc., et al.
LLC                                                           asbestos defendants including Sears, Roebuck and
Adams and Garth, Incorporated v. Sears, Roebuck               Co. (45 named defendants)
and Co., et al                                                Allen, Rudolph L. and Dorothy Allen vs. A.O. Smith
Adams, Scott A., Executor of the Estate of Harold E.          Corporation, et al., asbestos defendants including
Adams, Jr., vs. Honeywell International, Inc., et al.,        Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Allred, Evelyn, Individually and as Surviving Spouse
Co.                                                           of the late Thomas Allred vs. A.W. Chesterton
Adler, John W. and Elaine Adler vs. 3M Company, et            Company, et al., asbestos defendants including Sears,
al., asbestos defendants including Sears Holding Co.          Roebuck and Co.
Individually and for Sears, Roebuck and Co.                   Alnijoumi, Mazzin v. Sears Holding Corporation
Afzal, Massoud et al. v. Sears, Roebuck and Co., et           Alston, Lawrence and Alston, Iris his wife v. John
al.                                                           Crane-Houdaille, Inc. et al. including Sears, Roebuck
Agrelo-Lijo, Ramon and Maria Agrelo vs. American
                                                              and Co. (52 named defendants)
Biltrite Inc., et al., asbestos defendants including
                                                              Alvarez Rodriguez, Donna v. Sears Roebuck De
Sears, Roebuck and Co.
                                                              Puerto Rico; Persona Natural O Juridica "X" y "Z"
Aguayo, Elia v. Sears, Roebuck and Co.
                                                              Ament, Richard A. and Patricia Ament, his wife vs.
Ahern, David and Diane Ahern vs. Advance Auto                 John Crane-Houdaille, Inc., et al., asbestos
Parts, et al., asbestos defendants including Sears,           defendants including Sears, Roebuck and Co.
Roebuck and Co.                                               Ammons, Thomas vs. Borg-Warner Corporation, et
Ahern-Grundland, Adrianne, Individually and as                al., asbestos defendants including Sears, Roebuck and
Special Administrator of the Estate of Barry                  Co.
Grundland, Deceased vs. Ace Hardware Corporation,             Amos, Robert Lynn and Jurlyne Amos vs. Air &
et al., asbestos defendants including Sears, Roebuck          Liquid Systems Corp., et al., asbestos defendants
and Co.                                                       including Sears, Roebuck and Co.
Aiken, Timothy v. Sears Holding Corporation                   Andersen, Gordon vs. 3M Company, et al., asbestos
                                                              defendants including Sears, Roebuck and Co.
Albee, Francine, as Executrix for the Estate of               Anderson, Allen and Pam Anderson vs. A.O. Smith
Rachael C. Beretta vs. Owens Illinois, Inc., et al.,          Corporation, et al., asbestos defendants including
asbestos defendants including Sears, Roebuck and              Sears, Roebuck and Co.
Co.                                                           Anderson, Brent v. Sears Canada Inc., et al.
Albrecht, William and Doris vs. Owens-Illinois Glass
Co. et al. asbestos defendants including Sears,               Anderson, Charles vs. 3M Company, et al., asbestos
Reobuck and Co. (50 named defendants)                         defendants including Sears, Roebuck and Co.
Albright, Raymond C. vs. A.W. Chesterton                      Anderson, Herman and Donna Anderson,
Company, et al., asbestos defendants including Sears,         Individually and as Husband and Wife vs. Advance
Roebuck and Co.                                               Auto Parts Inc., et al., asbestos defendants including
Alexander, Catherine M. v. Sears Holding                      Sears, Roebuck and Co.
Management Corporation; and Sears, Roebuck and                Andes et al v. Sears, Roebuck and Co. et al
Co.                                                           Andracchio, Federico and Carmela his wife vs.
Alexander, Herbert T. and Laura vs. Quigley
                                                              Quigley Company Inc., et al. asbestos defendants
Company, Inc., et al. asbestos defendants including
                                                              including Sears, Reobuck and Co. (45 named
Sears, Reobuck and Co. (48 named defendants)
                                                              defendants)




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Litigation                                                    Litigation
Andreoli, Eugene and Jacalyn Andreoli vs. Aerco               Deceased vs. Abbott laboratories, et al., asbestos
International, Inc., et al., asbestos defendants              defendants including Sears, Roebuck and Co.,
including Sears, Roebuck and Co.                              Individually and as Successor-in-Interest to Homart
Andrezeski, Anthony v. Sears, Roebuck and Co., et             Furnaces
al., asbestos defendants including Sears, Roebuck and         Artino, Anthony and Carol Artino vs. Able
Co.(41 named defendants)                                      Industries, Inc., et al., asbestos defendants including
Angeli, Nancy v. A.W. Chesterton, Inc., et al.,               Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Asbury, James vs. Armstrong International, et al.,
Co. (68 named defendants)                                     asbestos defendants including Sears, Roebuck and
Angelucci, Anthony and Mary Lou Angelucci, h/w                Co.
vs. Certain-Teed Corporation, et al., asbestos                Ash, Evelyn v. Sears
defendants including Sears, Roebuck and Co.
Antle, Michael and Vashtee Antle vs. A.O. Smith               Ashkanipour, Genevieve vs. A.W. Chesterton, Inc., et
Water Products, et al., asbestos defendants including         al., asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.                                        Co.
Antley, Lionel et al. vs. Albany International                Asselin, Paul M. and Annette R. Asselin vs. Aesys
Corporation Inc., et al. asbestos defendants including        Technologies, LLC, et al., asbestos defendants
Sears, Roebuck and Co. (55 named defendants)                  including Sears, Roebuck and Co.
Antoine, Wedy v. Sears, Roebuck & Co.; Sears                  Aston, Katherine and John Aston vs. Algoma
Holdings Corporation; Nikole Vile                             Hardwoods, Inc., et al., asbestos defendants including
Appliance Alliance, LLC et al. v. Sears Home                  Sears, Roebuck and Co.
Appliance Showroom, et al. [SHC and SHO]                      Atkinson, Craig vs. A.W. Chesterton, Inc., et al.,
APS Express v. Sears Holdings Corporation, et al.             asbestos defendants including Sears, Roebuck and
                                                              Co.
(ARB) Alexander, Vanica v. Sears                              Atlanta Network Technologies, Inc. dba ANTonline
                                                              v. Sears Holdings Management Corporation
(ARB) Lucero, Jennifer v. Sears Holdings                      ATS Electrical Contracting, Inc. v. Seritage SRC
Management Corporation                                        Finance LLC and Sears, Roebuck and Co. and Royal
Aretz, Duane L. vs. Honeywell International, Inc., et         Seal Construction, Inc.
al., asbestos defendants including Sears, Roebuck and         Auffarth, Vincent A. and Belle Auffarth, his wife vs.
Co.                                                           John Crane-Houdaille, Inc., et al., asbestos
Arispe, Antonio vs. 4520 Corp., et al., asbestos              defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Augustin, Clarence and Carol Augustin vs. A.W.
Aristondo, Thelma v. K Mart Corporation, Sears                Chesterton Company, et al., asbestos defendants
Holdings Inc., Marilyn Mauricio and Does 1-15,                including Sears, Roebuck and Co.
inclusive                                                     Auillanoza, Amparo, Individually and as Executrix of
Armstead, Donald and Bernice Armstead vs. Alfa                the Estate of Jesus Auillanoza vs. Sears, Roebuck and
Laval, Inc., et al., asbestos defendants including            Co., et al., asbestos defendants
Sears, Roebuck and Co.                                        Austin, Bradley and Sonia Austin, his wife vs. Union
Armstrong, Joseph Jr. and Brenda vs John Crane-               Carbide Corporation, et al., asbestos defendants
Houdaille, Inc. et al. including Sears, Roebuck and           including Sears, Roebuck and Co.
Co. [52 named defendants]                                     Austin, Junell K., Individually and as Special
Arnold, Helen Ann as Surviving Spouse of Forrest              Administrator of the Estate of Bruce C. Austin vs.
Glen Arnold and Steven Arnold as Executor of the              ACF Industries, LLC, et al., asbestos defendants
Estate of Forrest Glen Arnold vs. AGCO                        including Sears, Roebuck and Co.
Corporation, et al., asbestos defendants including            Avakian, Donald and Laura Avakian vs. Aerco
Sears, Roebuck and Co.                                        International, Inc., et al., asbestos defendants
Arnold, Linda vs. A.W. Chesterton, Inc., et al.,              including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Avary, Steve, Individually and as Executor of the
Co.                                                           Estate of Robert Avary vs. Sears, Roebuck and Co.,
Arrington, Verlyn and Kay Arrington, his wife vs.             et al., asbestos defendants
Air & Liquid Systems Corporation, et al., asbestos            Avers-Perry, Virginia, Individually and as Personal
defendants including Sears, Roebuck and Co.                   Representative of the Estate of Lance Perry and
Arseneau, Robert, Individually and as Special                 Virginia Avers-Perry, Surviving Spouse of Lance
Administrator of the Estate of Diane Arseneau,                Perry and To the Use of Nolan Perry, Surviving Son




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Litigation                                                   Litigation
of Lance Perry vs. John Crane-Houdaille, Inc., et al         including Sears, Robuck and Co. (19 named
asb                                                          defendants)
Avery, Marcella v. Sears Roebuck and Co.                     Bamber, John Joseph vs. Air & Liquid Systems
                                                             Corp., et al., asbestos defendants including Sears,
Awdakimov et al v. Sears, Roebuck and Co. et al              Roebuck and Co.
Ayars, Michael and Carol Ayars vs. American                  Banes, George v. A.W. Chesterton, Inc., et al.,
Biltrite, Inc., et al., asbestos defendants including        asbestos defendants including Sears, Roebuck and
                                                             Co. (63 named defendants)
Sears, Roebuck and Co.
                                                             Barber, Nicholas D. vs. Owens Illinois, Inc., et al.,
Ayotte, Daniel L. vs. A.W. Chesterton Company, et
                                                             asbestos defendants including Sears, Roebuck and
al., asbestos defendants including Sears, Roebuck and
                                                             Co.
Co., Individually and as Successor-in-Interest to
Western Auto Supply Company                                  Barefield, Robert and Helena Barefield vs A.W.
Azettat, Rosane v. Sears, Roebuck and Co.                    Chesterton, Inc., et al (asbestos dfts, including Sears,
                                                             Roebuck and Co.)
Baer, Michael N. and Bridgett Baer, his wife vs.             Barksdale, Kevin and Barksdale, Wanda vs Quigley
Union Carbide Corporation, et al., asbestos                  Company, Inc., et al asbestos defendants including
defendants including Sears, Roebuck and Co.                  Sears, Roebuck and Co. (46 named defendants)
Baier, Leroy F. and Lorene Baier vs. A.W.                    Barlow, Walter Jr, et al vs AC & S, Inc., et al
Chesterton Company, et al., asbestos defendants              including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                             Barnes, Everett and Brenda Barnes, his wife vs.
Baig, Mirza M. v. Sears Robuck & Co.                         Advance Auto Parts, Inc., et al., asbestos defendants
                                                             including Sears, Roebuck and Co.
Bailey, Carol vs. Quigley Company, Inc., et al.              Barnes, George L. and Mary L. vs. Quigley
asbestos defendants including Sears, Roebuck and             Company, Inc., et al. asbestos defendants including
Co. (52 named defendants)                                    Sears, Reobuck and Co. (50 named defendants)
Bailey, Laura, Individually and as the Special               Barnes, Hazel, Individually and as Special
Administrator of the Estate of William Bailey,               Administrator of the Estate of Fletcher Barnes,
Deceased vs. 4520 Corp., Inc., et al., asbestos              Deceased, vs. A.W. Chesterton Company, et al.,
defendants including Sears, Roebuck and Co.                  asbestos defendants including Sears, Roebuck and
Bailey-Lombardelli, Michael v. Sears Brands, LLC.            Co.
and Sears, Roebuck and Co. and Harold Hignite                Barnes, Mary and George Barnes, her husband vs.
Bair, Forrest D. and Gerrie Bair, his wife vs. Union         John Crane-Houdaille, Inc., et al., asbestos
Carbide Corporation, et al., asbestos defendants             defendants including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                             Barnhart, Ronald and Susan Barnhart vs. Acco
Baker, Clarence and Betty Baker vs. Allied Signal,           Engineered Systems, Inc., et al., asbestos defendants
Inc., et al., asbestos defendants including Sears,           including Sears, Roebuck and Co.
Roebuck and Co.                                              Barrett, Gerald A. and Josephine Barrett, h/w vs.
Baker, Doretha Y. and Rufus E. Baker, her husband            A.W. Chesterton, et al., asbestos defendants
vs. John Crane-Houdaille, Inc., et al., asbestos             including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                  Barron, William J. and Pauline Barron, his wife vs.
Baker, Richard and Carolyn Baker vs. ABB, Inc., et           Union Carbide Corporation, et al., asbestos
al., asbestos defendants including Sears, Roebuck and        defendants including Sears, Roebuck and Co.
Co.                                                          Barry, John and Lynn Barry vs. American Standard,
Bakie, Tom and Laura vs. Quigley Company, Inc., et           Inc., et al., asbestos defendants including Sears,
al. asbestos defendants including Sears, Roebuck and         Roebuck and Co.
Co. (56 named defendants)                                    Bartrum, Leonard and Georgia vs. Quigley Company,
Balele, Pastori M. v. Sears, Roebuck and Co.                 Inc., et al. asbestos defendants including Sears,
                                                             Roebuck and Co. (55 named defendants)
Ballard, Judy and Robert Ballard vs. Agco                    Baruch, Hephzibah v. Sears Home Services
Corporation, et al., asbestos defendants including
Sears, Roebuck and Co.                                       Bashar, Richard, as Personal Representative of the
Ballard RN Center, Inc. v. Kohll's Pharmacy &                Estate of Annette Bashar, et al., vs. A.O. Smith
Homecare, Inc.                                               Corporation, et al., asbestos defendants including
Balque, Fermon et al. vs. Burns International                Sears, Roebuck and Co. (a subsidiary of Sears
Services Corporation et al. asbestos defendants              Holdings Corporation)




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Litigation                                                     Litigation
Bass, Frederick and Sarah Bass vs. Akzo Nobel                  Bell, Albert A. and Bell, Karney Y. vs Quigley
Paints LLC, et al., asbestos defendants including              Company, Inc., et al asbestos defendants including
Sears, Roebuck and Co. (a subsidiary of Sears                  Sears, Roebuck and Co. (46 named defendants)
Holdings Corporation)                                          Belletti, Liliana, Executrix for the Estate of Stefano
Basten, Lloyd and Joann Basten vs. Advance Auto                Belletti, and Liliana Belletti as surviving spouse vs.
Parts, et al., asbestos defendants including Sears,            Allied Signal, Inc., et al., asbestos defendants
Roebuck and Co.                                                including Sears, Roebuck and Co.
Bastfield, Lloyed T. and Marsha vs. Quigley                    Bellicchi, Richard v. Mrg. Paul Henry; and CEO Ed
Company, Inc., et al. asbestos defendants including            Lampert
Sears, Roebuck and Co. (55 named defendants)                   Bell, Patricia A. and Richard Scott, Individually and
Batchelor, John and Frances Batchelor vs.                      as Personal Representatives of the Estate of Copley
Arvinmeritor, Inc., et al., asbestos defendants                Scott vs. Armstrong International, Inc., et al.,
including Sears, Roebuck and Co. (a subsidiary of              asbestos defendants including Sears, Roebuck and
Sears Holdings Corporation)                                    Co. (a subsidiary of Sears Holdings Corporation)
Bauer, Jason C. vs. Air and Liquid Systems                     Benavidez, Paul v. Kmart Corporation; Home
Corporation, et al., asbestos defendants including             Products international-North America, Inc.; and Does
Sears, Roebuck and Co.                                         1-25, inclusive
Bauer, Marjorie C., Executrix of the Estate of James           Benjamin, Thelma v. Sears Holdings Corporation
E. Ellis, Deceased vs. Allied Glove Corporation, et
al., asbestos defendants including Sears, Roebuck and          Bennett, Arthur B. and Pauletta Bennett vs. Owens
Co.                                                            Illinois Inc., et al., asbestos defendants including
Baxley, Malcolm L. and Betty Baxley vs. 3M                     Sears, Roebuck and Co.
Company, et al., asbestos defendants including Sears,          Benn, Jennifer Lynn v. Sears Home Improvement
Roebuck and Co.                                                Products, Inc.
Bazor, Robert and Kay Bazor vs. Abex Corporation,              Beres, Stefan vs. Air & Liquid Systems Corporation,
et al., asbestos defendants including Sears, Roebuck           et al., asbestos defendants including Sears, Roebuck
and Co.                                                        and Co.
Beaudreau, Beverly, Individually and as Special                Bergeman, Carole, Individually and as Surviving
Administrator of the Estate of Richard King Martin             Heir of the Estate of Robert Bergeman, Deceased vs.
vs. 4520 Corp., Inc., et al., asbestos defendants              Bird Corporation, et al., asbestos defendants
including Sears, Roebuck and Co.                               including Sears, Roebuck and Co.
Becerra, Sergio v. Sears Holdings Corporation                  Bergen, Dennis and Mary Bergen vs. Basic, Inc., et
                                                               al., asbestos defendants including Sears, Roebuck and
Becker, Arthur J. and Denise Becker vs. A.O. Smith             Co.
Water Products Co., et al., asbestos defendants                Bergeron, Donald J. et al. vs. Albany International
including Sears, Roebuck and Co.                               Corporation et al. asbestos defendants including
Becker, William J. vs. John Crane-Houdaille, Inc., et          Sears, Roebuck and Co. (70 named defendants)
al., asbestos defendants including Sears, Roebuck and          Bernard, Barbara, as Special Administrator of the
Co.                                                            Estate of Stanley Bernard, et al., vs. Asbestos
Bednarek, Rosemary J., Individually and as Special             Corporation Ltd., et al., asbestos defendants
Administrator of the Estate of Edward J. Bednarek,             including Sears, Roebuck and Co. (a subsidiary of
deceased vs. Air & Liquid Systems Corporation, et              Sears Holdings Corporation)
al., asbestos defendants including Sears, Roebuck and          Berube, James and Tammy Berube vs. Advance Auto
Co., a subsidiary of Sears Holdings Corporation                Parts, et al., asbestos defendants including Sears,
Behringer, Sr.; Joseph and Dorothy Behringer, his              Roebuck and Co.
wife vs. John Crane-Houdaille, Inc., et al., asbestos          Bettis, Thomas R. and Marlene vs. Owens-Illinois
defendants including Sears, Roebuck and Co.                    Glass Co., et al. asbestos defendants including Sears,
Behr, Margaret, Individually and as Personal                   Roebuck and Co. (53 named defendants)
Representative of the Estate of Harry Behr, et al., vs.        Bettke, Henry R. and Lola Bettke vs. ABB, Inc., et
American Optical Corporation, et al, asbestos                  al., asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                    Co.
Bellach, Cordell J. vs. Armstrong International, Inc.,         Biagetti, Marilyn L. and Roger Biagetti vs. 3M
et al., asbestos defendants including Sears, Roebuck           Company, et al., asbestos defendants including Sears,
and Co.                                                        Roebuck and Co.




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Litigation                                                    Litigation
Bialozynski, thomas W. and Bonnie L. his wife vs.             Boerschinger, Julius C. and Myrna R. Boerschinger
Quigley Company Inc., et al. asbestos defendants              vs. Asbestos Corporation Limited, et al., asbestos
including Sears, Reobuck and Co. (47 named                    defendants including Sears, Roebuck and Co.
defendants)                                                   Boggs, Donald and Emeline, Collins, Jimmie Jr and
Bienkowski, Patricia and Leon Bienkowski vs. A.O.             Edna L vs A.P. Green Services, Inc., et al (asbestos
Smith Water Products Co., et al., asbestos defendants         dfts, including Sears, Roebuck and Co.)
including Sears, Roebuck and Co.                              Bohara, Rosemary, Executor of the Estate of Bessie
Billingsley, Wilson and Margaret Billingsley, his             B. Richardson vs. Sears, Roebuck and Co., et al.,
wife v. Owens- Illinois Glass Co., f/k/a Owens-               asbestos defendants
Illinois, Inc., et al., asbestos defendants including         Bolden, Ida v. Sears
Sears, Roebuck and Co. (50 named defendants)
Biri, Mark A. and Debra G. Biri, his wife vs. John            Bolderoff, Mathew and Victoria Bolderoff vs. Air &
Crane-Houdaille, Inc., et al., asbestos defendants            Liquid Systems Corporation, et al., asbestos
including Sears, Roebuck and Co.                              defendants including Sears, Roebuck and Co. (a
Bishop, Lewis, Individually and as Representative of          subsidiary of Sears Holdings Corporation)
the Estate of Evelyn Bishop, Deceased v. Able                 Bolinsky, Jr.; Anthony and Lillian Bolinsky, h/w vs.
Supply Co., et al., asbestos defendants including             Honeywell International, Inc., et al., asbestos
Sears, Roebuck and Co.                                        defendants including Sears, Roebuck and Co.
Bjonnes, Kenneth and Maria Bjonnes vs. Amchem                 Bolyard, Michael J., Personal Representative of the
Products, Inc., et al., asbestos defendants including         Estate of Fred R. Bolyard, vs. Union Carbide
Sears, Roebuck and Co.                                        Corporation, et al., asbestos defendants including
Blackburn, Jerry, Individually and as Special                 Sears, Roebuck and Co.
Administrator of the Estate of Malta Blackburn,               Bondurant, Jerald and Carolyn Bondurant vs. ABB,
Deceased vs. ABB, Inc., et al., asbestos defendants           Inc., et al., asbestos defendants including Sears,
including Sears, Roebuck and Co.                              Roebuck and Co.
Blackburn, Joseph G. and Violet Blackburn, his wife           Bond, Woodrow vs. 4520 Corp., Inc., et al., asbestos
vs. John Crane-Houdaille, Inc., et al., asbestos              defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co. (53               Bonham, Ben N. vs. John Crane-Houdaille, Inc., et
defendants named)                                             al., asbestos defendants including Sears, Roebuck and
Blackstone, Jr., Samuel and Erma Blackstone, his              Co.
wife, Pltfs vs. John Crane-Houdaille, Inc., et al             Boone, William vs Quigley Company, Inc., et al
asbestos defendants including Sears, Roebuck and              asbestos defendants including Sears, Roebuck and
Co.                                                           Co. (46 named defendants)
Blaney, Lonnie vs. A.W. Chesterton Company et al.,            Bordelon, Burton vs. Albany International Corp., et
asbestos defendants including Sears, Roebuck and              al., asbestos defendants including Sears, Roebuck and
Co., (109 named defendants)                                   Co. (72 named defendants)
Blaser, Maurice B. vs. Union Carbide Corporation, et          Borden, Norma, Individually and as Special
al., asbestos defendants including Sears, Roebuck and         Administrator of the Estate of Donald Borden,
Co.                                                           Deceased vs. Air & Liquid Systems Corporation, et
Blick, Richard Lee, Individually and as Special               al., asbestos defendants including Sears, Roebuck and
Administrator of the Estate of Sylvia Blick, Deceased         Co.
vs. A.W. Chesterton, Inc., et al., asbestos defendants        Bordine, Paul and Rose vs. Quigley Co., Inc., et al.
including Sears, Roebuck and Co.                              asbestos defendants including Sears, Roebuck and
Blink, Brian and Deanna Blink vs. Alliance Laundry            Co. (50 named defendants)
Systems, LLC, et al., asbestos defendants including           Boria, Raul A. Lopez v. Sears de Puerto Rico, Inc.
Sears, Roebuck and Co.                                        Borst, Beverly, et al., as the surviving heirs of
Blodgett, Owen and Myrna Blodgett vs. Air & Liquid            Richard Borst, Deceased vs. Aerco International,
Systems Corporation, et al., asbestos defendants
                                                              Inc., et al., asbestos defendants including Sears,
including Sears, Roebuck and Co.
                                                              Roebuck and Co.
Blystone, John R. and Bridget Blystone vs. Owens
                                                              Bostic, Brian and Lawana Bostic, his wife vs. Afton
Illinois, Inc., et al., asbestos defendants including
                                                              Pumps Inc., et al., asbestos defendants including
Sears, Roebuck and Co.                                        Sears, Roebuck and Co.
Bodo, Lajos vs. Honeywell International, Inc., et al.,        Bostic, James P., Individually and as Personal
asbestos defendants including Sears, Roebuck and
                                                              Representative of the Estate of Paula Joe Bostic, et
Co.




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Litigation                                                     Litigation
al., vs. Union Carbide Corporation, et al., asbestos           including Sears, Roebuck and Co. (21 named
defendants including Sears, Roebuck and Co.                    defendants)
Bostic, Raymond vs. A.O. Smith Corporation, et al.,            Bramble, Margaret, Individually and as the Executrix
asbestos defendants including Sears, Roebuck and               of the Estate of Paul Bramble vs. A.O. Smith Water
Co. (a subsidiary of Sears Holdings Corporation)               Products Co., et al., asbestos defendants including
Boston, Linde, Individually and as Special                     Sears, Roebuck and Co.
Administrator of the Estate of Ora Boston, Deceased            Brandis, Gill J. and Judy Brandis vs. A.O. Smith
vs. Air & Liquid Systems Corporation, et al.,                  Water Products Co., et al., asbestos defendants
asbestos defendants including Sears, Roebuck and               including Sears, Roebuck and Co.
Co.                                                            Brandt, Wayne M. vs. Honeywell International, Inc.,
Boswell, Richard and Donna Boswell, his wife vs.               et al., asbestos defendants including Sears, Roebuck
John Crane-Houdaille, Inc., et al., asbestos                   and Co.
defendants including Sears, Roebuck and Co.                    Braunfotel, Stuart vs. A.O. Smith Water Products
Boule, Donald v. 84 Lumber, et al., asbestos                   Company, et al., asbestos defendants including Sears
defendants including Sears, Roebuck and Co.                    Holding Co., Individually and for Sears, Roebuck
Bouyer, William vs. John Crane-Houdaille, Inc., et             and Co.
al., asbestos defendants including Sears, Roebuck and          Braun, Jr.; Gunter, I., Personal Representative of the
Co.                                                            Estate of Gunter Erwin Braun, aka, Gunter I. Braun,
Bova, Lavonne M. vs. A.W. Chesterton Company, et               Sr., et al., vs. Union Carbide Corporation, et al.,
al., asbestos defendants including Sears, Roebuck and          asbestos defendants including Sears, Roebuck and
Co.                                                            Co.
Bowdish, Boyd and Grace Bowdish, his wife vs.                  Breakell, Adam J. vs. 3M Co., et al., asbestos
Arvinmeritor, Inc., et al., asbestos defendants                defendants including Sears Holdings Management
including Sears, Roebuck and Co.                               Corp. (d/b/a Craftsman), and Sears, Roebuck and Co.
Bowie, Roger and Tanis Bowie, his wife vs. AGCO                (d/b/a Craftsman)
Corporation, et al., asbestos defendants including             Breazeale, Larry, As Personal Representative of the
Sears, Roebuck and Co.                                         Estate of Dorothy Breazeale and Larry Breazeale vs.
Bowling, William L. and Jeannie vs. Owens-Illinois             ACE Hardware Corporation., et al., asbestos
Glass Co. et al. asbestos defendants including Sears,          defendants including Sears, Roebuck and Co.
Roebuck and Co. (48 named defendants)                          Breeback, Francis A. vs. John Crane-Houdaille, Inc.,
Bowman, Robert and Doris Fay Bowman vs. A.W.                   et al., asbestos defendants including Sears, Roebuck
Chesterton, Inc., et al., asbestos defendants including        and Co.
Sears, Roebuck and Co.                                         Breeden, Carole, as Special Administrator of the
Boyd, Joyce and Mack Riley, Individually and as Co-            Estate of Gerald Breeden, et al., vs. 84 Lumber
Special Administrators of the Estate of Curtis Riley,          Company, et al., asbestos defendants including Sears,
Sr., Deceased vs. A.W. Chesterton, Inc., et al.,               Roebuck and Co. (a subsidiary of Sears Holdings
asbestos defendants including Sears, Roebuck and               Corporation)
Co.                                                            Breiland, Merlyn, Individually and as Special
Boykin, Leroy and Cheryl Boykin his wife vs. John              Administrator of the Heirs and Estate of Trudy
Crane-Houdaille, Inc., et al., asbestos defendants             Breiland, Deceased vs. 84 Lumber Company, et al.,
including Sears, Roebuck and Co.                               asbestos defendants including Sears, Roebuck and
Bradley, Craig and Margaret Bradley vs. ACMAT                  Co.
Corp., et al., asbestos defendants including Sears,            Bre/Point Parcel LLC v. Pavarini Construction Co.
Roebuck and Co.                                                Inc., et al.
Bradley, Kenneth E. and Kathleen Bradley, h/w vs.              Brigantino, Sr.; Thomas J. and Phyllis Brigantino vs.
Honeywell International, Inc., et al., asbestos                A.O. Smith Water Products Company, et al., asbestos
defendants including Sears, Roebuck and Co.                    defendants including Sears Holding Co., Individually
Bradley, Theodore vs. CBS Corporation, et al.,                 and for Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and               Briggs, Rodney and Betty Briggs, Individually and as
Co. (a subsidiary of Sears Holdings Corporation)               Husband and Wife vs. A.O. Smith Water Products
Brady, Edward and Mary Brady vs. Air and Liquid                Co., et al., asbestos defendants including Sears,
Systems Corp., et al., asbestos defendants including           Roebuck and Co.
Sears, Roebuck and Co.                                         Brisker, Paul D. and Michelle Brisker, h/w vs. 20th
Brady, Terrell C. et al. vs. Burns International               Century Glove Corporation of Texas, et al., asbestos
Services Corporation et al. asbestos defendants                defendants including Sears Holdings Corporation




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Litigation                                                     Litigation
Brochu, Adrien T. vs. Aesys Technologies, LLC, et              Roebuck and Co. (a subsidiary of Sears Holdings
al., asbestos defendants including Sears, Roebuck and          Corporation)
Co.                                                            Brown, Neil and Jerry Brown, his wife vs. 4520
Brodhead, Harry vs. 84 Lumber Company, et al.,                 Corp., Inc., et al., asbestos defendants including
asbestos defendants including Sears, Roebuck and               Sears, Roebuck and Co.
Co.                                                            Brown, Paul Thaddeus v. Sears, Roebuck and Co.
Brookhart, Benjamin and Rebecca vs. John Crane-
Houdaille, Inc., et al. asbestos defendants including          Brown, Quetta v. Sears, Roebuck and Co.; and Sears,
Sears, Roebuck and Co. (54 named defendants)                   Roebuck and Co. dba as Sears at Northeast Mall
Brookins, James Q., Jr. vs Owens-Illinois Glass Co.,           Brown, Ralph A., Sr. v. Owens-Illinois, Inc., et al.,
et al asbestos defendants including Sears, Roebuck             asbestos defendants including Sears, Roebuck and
and Co. (50 named defendants)                                  Co. (46 named defendants)
Brookins, Wilma and Rodney Brookins vs. Alcatel-               Brown, Robert, as Special Administrator for the
Lucent USA Inc., et al., asbestos defendants                   Estate of Theresa Brown, and Robert Brown as
including Sears, Roebuck and Co.                               Spouse vs. 84 Lumber Company, et al., asbestos
Brooks, Allan L. Jr., and Mary vs. Quigly Company,             defendants including Sears, Roebuck and Co.
Inc. et al. asbestos defendants including Sears,               Brown, Sr.; Lawrence and Brenda Brown vs. Union
Roebuck and Co. (45 named defendants)                          Carbide Corporation, et al., asbestos defendants
Brooks, Dorothy M., Personal Representative of the             including Sears, Roebuck and Co.
Estate of Robert W. Brooks, et al., vs. John Crane-            Brown, Timothy L. and Brown, Linda D. vs Quigley
Houdaille, Inc., et al., asbestos defendants including         Company, Inc., et al asbestos defendants including
Sears, Roebuck and Co.                                         Sears, Roebuck and Co. (46 named defendants)
Brooks, Jack A. vs. A.W. Chesterton Company, et                Brown, Troy vs Sears et al
al., asbestos defendants including Sears, Roebuck and          Brown, Willaim E. Sr. and Sara Jane vs A.W.
Co.
                                                               Chesterton Inc., et al. asbestos defendants including
Brooks, Kathy, Individually and as Special
                                                               Sears, Roebuck and Co. (68 named defendants)
Administrator of the Estate of Raymond S. Reid, Jr.,
                                                               Bruce, Carol vs. Alcatel-Lucent USA Inc., et al.,
Deceased vs. A.W. Chesterton, Inc., et al., asbestos
                                                               asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                    Co.
Brooks, Maudie, Individually and as Executrix of the           Bruno, Richard vs. A.O. Smith Water Products Co.,
Estate of J. Brooks vs. Sears, Roebuck and Co., et al.,
                                                               et al., asbestos defendants including Sears, Roebuck
asbestos defendants
                                                               and Co.
Brown, Anna M. vs. 84 Lumber Company et al.
                                                               Brusca, Nunzio and Melinda Brusca vs. A.O. Smith
asbestos defendants including Sears, Roebuck and
                                                               Water Products, et al., asbestos defendants including
Co. (18 named defendants)                                      Sears, Roebuck and Co.
Brown, Brian and Robin Brown vs. Agco                          Brush, Jacqueline, Individually and as Special
Corporation, et al., asbestos defendants including
                                                               Administrator of the Estate of Rex Brush, Deceased
Sears, Roebuck and Co.
                                                               vs. 4520 Corp., Inc., et al., asbestos defendants
Brown, Bruce A. and Janice Brown vs. 4520 Corp.
                                                               including Sears, Roebuck and Co.
Inc., et al., asbestos defendants including Sears,
                                                               Bryant, Ernest D. and Juanita Bryant vs. 3M, a/k/a
Roebuck and Co., Individually and as Successor-in-             Minnesota Mining & Manufacturing Co., et al.,
Interest to Craftsman
                                                               asbestos defendants including Sears, Roebuck and
Brown, Fontello R. vs. Owens Illinois, Inc., et al.,
                                                               Co.
asbestos defendants including Sears, Roebuck and
                                                               Bryant, Stanley and Mary vs. Quigley Company,
Co.
                                                               Inc., et al. asbestos defendants including Sears,
Browning, Baniel L. and the minor children Tucker              Roebuck and Co. (45 named defendants)
Browning and Sage Browning vs. A.C. Horn Co., et               Bryson, Clifford and Sandra Bryson vs. 84 Lumber
al., asbestos defendants including Sears, Roebuck and
                                                               Company, et al., asbestos defendants including Sears,
Co.
                                                               Roebuck and Co.
Brown, Joyce, Individually and as Special
                                                               Bucci, Anthony J. and Dolores Bucci vs. Honeywell
Administrator of the Estate of Robert Lewis Brown,
                                                               International, Inc., et al., asbestos defendants
Deceased vs. AII Acquisitions, LLC, et al., asbestos           including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Buccieri, Michael and Peggy Buccieri vs. Alcatel-
Brown, Kenneth and Reba Brown vs. Arvinmeritor,
                                                               Lucent USA Inc., et al., asbestos defendants
Inc., et al., asbestos defendants including Sears,




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Litigation                                                    Litigation
including Sears, Roebuck and Co. (a subsidiary of             Burnette, Gerline vs. John Crane-Houdaille, Inc., et
Sears Holdings Corporation)                                   al., asbestos defendants including Sears, Roebuck and
Buchanan, Christy, Personal Representative of the             Co.
Estate of Anna R. Lewis vs. Union Carbide                     Burns, Debra L., Individually and as Special
Corporation, et al., asbestos defendants including            Administrator of the Estate of Robert R. Burns,
Sears, Roebuck and Co.                                        Deceased vs. A.W. Chesterton, Inc., et al., asbestos
Buchert, George P. and Ellen Buchert vs. Agilent              defendants including Sears, Roebuck and Co.
Technologies, Inc., et al., asbestos defendants               Burns, Don, Special Administrator of the Estate of
including Sears, Roebuck and Co.                              Alice Burns, Deceased vs. Rapid American
Buckles, Joseph II v. Sears Holding Corporation               Corporation, et al., asbestos defendants including
                                                              Sears, Roebuck and Co.
Bui, Jon D. v. Sears, Roebuck, & Co.; Sears Holding           Burress, James vs. John Crane-Houdaille, Inc., et al.,
Corp.; and KCD IP, LLC                                        asbestos defendants including Sears, Roebuck and
Buiwitt-Shafer, Joann v. Sears Holdings Corporation;          Co.
and Kevin N. Canary                                           Burress, Thomas and Jane vs. Quigley Company,
Bullion, Robert P., Individually and as Personal              Inc., et al. asbestos defendants including Sears,
Representative of the Estate of Margaret O. Bullion,          Roebuck and Co. (57 named defendants)
Pltf. vs. Andis Company, et al. asbestos defendants           Bushell, Patricia A., Personal Representative of the
including Sears, Roebuck and Co.                              Estate of John A. bushell, Pltf., vs. Union Carbide
Bull, Jr.; Duane L. and Kathleen M. Bull vs.                  Corporation, et al.., asbestos defendants including
Honeywell International, Inc., et al., asbestos               Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Bush, Lorraine, Individually and as Special
Bulva, Victor J. vs. A.W. Chesterton, Inc., et al.,           Administrator of the Estate of Edward Bush,
asbestos defendants including Sears, Roebuck and              Deceased vs. CBS Corporation, et al., asbestos
Co.                                                           defendants including Sears, Roebuck and Co.
Bunting, Barbara, Individually and as Special                 Bush, Walter vs. ABB, Inc., et al., asbestos
Administrator of the Estate of Stanley Bunting,               defendants including Sears, Roebuck and Co.
Deceased, vs. 84 Lumber Company, et al., asbestos             Butler, Aaron K. and Diane Butler, his wife vs. John
defendants including Sears, Roebuck and Co.                   Crane-Houdaille, Inc., et al., asbestos defendants
Buranen, Sylvia, Individually and as Administrator of         including Sears, Roebuck and Co. (52 named
the Estate of Robert B. Buranen, Deceased, et al., vs.        defendants)
AC&R Insulation Co., Inc., et al., asbestos                   Butler, John W. and Mary E. Butler, his wife vs.
defendants including Sears, Roebuck and Co.                   Union Carbide Corporation, et al., asbestos
Burchardt, Edward vs. A.W. Chesterton Company, et             defendants including Sears, Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and         Butler, Michael vs. Advance Auto Parts Inc., et al.,
Co.                                                           asbestos defendants including Sears, Roebuck and
Burchfield, Virginia Grace (King) , et al. v. ACandS,         Co. (a subsidiary of Sears Holdings Corporation)
et al. asbestos defendants including Sears, Roebuck           Butta, Michael A. and Carol G. his wife vs. Quigley
and Co.                                                       Company, Inc. et al. asbestos defendants including
Burdurmi, Nicholas and Arlene Burdurmi, h/w vs.               Sears, Roebuck and Co. (40 named defendants)
Honeywell International, Inc., et al., asbestos               Buttion, Frank and Sandra E. Buttion vs. Union
defendants including Sears, Roebuck and Co.                   Carbide Corporation, et al., asbestos defendants
Burge, David and Joan Burge vs. Allis-Chalmers                including Sears, Roebuck and Co.
Corporation, et al., asbestos defendants including            Butt, Jerome and Barbara vs. John Crane-Houdaille,
Sears, Roebuck and Co.                                        Inc., et al. asbestos defendants including Sears,
Burgess, Calvin and Phyliss Burgess, his wife vs.             Roebuck and Co. (53 named defendants)
John Crane-Houdaille, Inc., et al., asbestos                  Butt, Jr.; Edward A. vs. John Crane-Houdaille, Inc.,
defendants including Sears, Roebuck and Co.                   et al., asbestos defendants including Sears, Roebuck
Burke, Patrick J. vs. AII Acquisitions, LLC, et al.,          and Co.
asbestos defendants including Sears, Roebuck and              Buxton, John and Emma Buxton vs. A.W. Chesterton
Co. (a subsidiary of Sears Holdings Corporation)              Company, et al., asbestos defendants including Sears,
Burks, Vonceil, Individually and as Special                   Roebuck and Co.
Administrator of the Estate of Wilbur Ringer,                 Buzzanco, Eileen and Anthony Buzzanco, her spouse
Deceased vs. 4520 Corp., Inc., et al., asbestos               vs. Briggs & Stratton Power Products Group LLC., et
defendants including Sears, Roebuck and Co.                   al., asbestos defendants including Sears Holding Co.,




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Litigation                                                      Litigation
Individually and for Sears, Roebuck and Co.                     Canterbury, Thomas and Dorothy vs. Quigley
                                                                Company, Inc., et al. asbestos defendants including
Byers, Walter, as Special Administrator of the Estate           Sears, Roebuck and Co. (56 named defendants)
of David Byers vs. Advance Auto Parts, Inc., et al.,            Capobianco, Vincent, Individually and as Proposed
asbestos defendants including Sears, Roebuck and                Executor of the Estate of Roberta Evelyn
Co. (a subsidiary of Sears Holdings Corporation)                Capobianco, Deceased vs. 84 Lumber Company, et
Bynum, Clovis and Welna Bynum vs. Asbestos                      al., asbestos defendants including Sears, Roebuck and
Corporation Ltd., et al., asbestos defendants                   Co.
including Sears, Roebuck and Co. (a subsidiary of               Caponic, Sr.; Steven L. vs. John Crane-Houdaille,
Sears Holdings Corporation)                                     Inc., et al., asbestos defendants including Sears,
Byrd, Jerry T. and Linda his wife vs. Quigley                   Roebuck and Co.
Company Inc., et al. asbestos defendants including              Caputo, Dennis vs. Honeywell International, Inc., et
Sears, Roebuck and Co. (46 named defendants)                    al., asbestos defendants including Sears, Roebuck and
Cabeza, Catherine E. and Pedro L. Cabeza, her                   Co.
husband vs. John Crane-Houdaille, Inc., et al.,                 Caraballo, Julia L. Reyes v. Sears Roebuck de Puerto
asbestos defendants including Sears, Roebuck and                Rico, Inc., h/n/c Kmart
Co.                                                             Caravella, Adalgisa, Individually and as
Calacin, Karen v. Kmart Corp.                                   Administratrix of the Estate of Pietro Caravella,
CALA wrenches UTC demand                                        Deceased vs. American Biltrite Company, et al.,
                                                                asbestos defendants including Sears, Roebuck and
Callstrom, Bonita and Doug Callstrom, her husband               Co.
vs. 84 Lumber Company, et al., asbestos defendants              Cardona, Luz, Individually and as Executrix of the
including Sears, Roebuck and Co.                                Estate of Victor Rodriguez vs. Sears, Roebuck and
Calmi, Marino and Tina Calmi vs. A.O. Smith Water               Co., et al. asbestos defendants
Products, et al., asbestos defendants including Sears,          Carlsen, Linda v. Sears
Roebuck and Co.
                                                                Carpenter, Diane, Special Administrator of the Estate
Calow, Glenda June, Individually and as Special
                                                                of Charles Carpenter, Deceased vs. A.W. Chesterton
Administrator for the Estate of Graeme John Calow,
Deceased vs. Aerco International, Inc., et al., asbestos        Company, et al., asbestos defendants including Sears,
defendants including Sears, Roebuck and Co.                     Roebuck and Co.
                                                                Carrizosa, Belen V. v. Sears Roebuck and Co.
Camasso, Michael and Barbara Camasso vs. Owens
Illinois, Inc., et al., asbestos defendants including           Carter, Donald and Julia Carter vs. American Honda
Sears, Roebuck and Co.                                          Motor Co., Inc., et al., asbestos defendants including
Camby, Shirley, Individually and as Surviving Heir              Sears, Roebuck and Co.
of the Estate of, Edwin Camby, Deceased vs. 84                  Carter, Frank L. vs. John Crane-Houdaille, Inc., et
Lumber Company, et al., asbestos defendants                     al., asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                                Co.
Campbell, Charles E. vs. Ash Grove Cement                       Carter, James B. and Alvenia B. Carter, his wife vs.
Company, et al., asbestos defendants including Sears,           John Crane-Houdaille, Inc., et al., asbestos
Roebuck and Co.                                                 defendants including Sears, Roebuck and Co.
Campbell, Jeremiah and Evelyn Campbell vs.                      Carter, Natalie vs. John Crane-Houdaille, Inc., et al.,
American Locomotive Company, et al., asbestos                   asbestos defendants including Sears, Roebuck and
defendants including Sears Holdings Corp,                       Co.
Individually and as succesor in interest to Sears,              Carter, Robert C. and Carter, Betty vs Quigley
Roebuck and Co.                                                 Company, Inc., et al asbestos defendants including
Campopiano, Thomas and Marie Campopiano vs. 84                  Sears, Roebuck and Co. (46 named defendants)
Lumber Company, et al., asbestos defendants                     Carter's Carpet Services, Inc. v. Sears Home
including Sears, Roebuck and Co.                                Improvement Products, Inc.; and Does 1-25,
Candelaria, Milagros vs. A.W. Chesterton, Inc., et al.,         inclusive
asbestos defendants including Sears, Roebuck and                Carter, Sr.; Frank W. and Daphne A. Carter, his wife
Co.                                                             vs. John Crane-Houdaille, Inc., et al., asbestos
Cannon, John and Nina Cannon, his wife vs.                      defendants including Sears, Roebuck and Co.
Advance Auto Parts, Inc., et al., asbestos defendants           Catalfamo, Robert A. et al. v. Sears Holdings
including Sears, Roebuck and Co.                                Corporation, et al.




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Litigation                                                     Litigation
Cavallero, Sumiko and August Cavallero vs. Agway,              subsidiary of Sears Holdings Corporation)
Inc., et al., asbestos defendants including Sears,
Roebuck and Co.                                                Chavez, George M. and Beth Chavez vs. American
Cavazos, Glenn, Individually and as Personal                   Bridge Company, et al., asbestos defendants
Representative of the Estate of Felicia Cavazos vs.            including Sears, Roebuck and Co.
A.O. Smith Corporation, et al., asbestos defendants            Chen, Shaohong v. Sears, Roebuck and Co.
including Sears, Roebuck and Co. (a subsidiary of              Chiles, Elaine & Ronaldo v. Sears
Sears Holdings Corporation)
Cave, Colbert and Angela Cave, Individually and as             Ching, Henry v. Sears Holdings Management; and
husband and wife vs. ABB, Inc., et al., asbestos               Michael Karrer
defendants including Sears, Roebuck and Co.                    Christian, Shirley S., Individually and as Special
Center for Environmental Health v. General Electric            Administrator of the Estate of Carl C. Christian vs.
Company; et al. [including Sears, Roebuck and Co.]             Air & Liquid Systems Corporation, et al, asbestos
Center for Environmental Health v. Pacific Play                defendants including Sears, Roebuck and Co.
Tents, Inc., et al [Kmart] - Prop 65                           Christner, Teresa L. vs. Akzo Nobel Paints LLC, et
Century III Mall PA LLC v. Sears, Roebuck and Co.              al., asbestos defendants including Sears, Roebuck and
                                                               Co., a subsidiary of Sears Holdings Corporation
Cephas, Thomas E. and Dorothy Cephas vs.                       Christoff, Peter P. vs. A.O. Smith Water Products
Honeywell International, Inc., et al., asbestos
                                                               Company, et al., asbestos defendants including Sears,
defendants including Sears, Roebuck and Co.
                                                               Roebuck and Co.
Chaffee, David v. Electrolux Home Products, Inc.;
                                                               City of Livonia Accounting Dept v. Sears Auto
Sears, Roebuck and Co.
Chaffee, Dennis L. and Christine Chaffee vs. Owens             City of Los Angeles v. Sears, Roebuck and Co.
Illinois, Inc., et al., asbestos defendants including
Sears, Roebuck and Co.                                         Clarida, Alice E. and Richard Dean vs. 3M
Chaff, Ronald vs Autozone, Inc., et al., asbestos              Company, etc., et al., asbestos defendants including
defendants including Sears, Roebuck and Co.                    Kmart Corporation
Chamberlin, Charles W. and Judith A. Chamberlin,               Clark, Shadow M. and Mary Lorenzo-Amato vs.
h/w vs. Ace Hardware Corporation, et al., asbestos             American Cyanamid Company, et al., asbestos
defendants including Sears, Roebuck and Co.                    defendants including Sears, Roebuck and Co.
Chambers, Jr.; Reginald vs. Union Carbide                      Clark, Shirley M., Individually and as Personal
Corporation, et al., asbestos defendants including             Representative of the Estate of John J. Clark, Sr., et
Sears, Roebuck and Co.                                         al., vs. John Crane-Houdaille, Inc., et al., asbestos
Chambers, Roland Jr., c/o Reliable Brokering v.                defendants including Sears, Roebuck and Co.
Amazon.com, et al. [Sears.com]                                 Clark, Thomas J. and Rosemary Clark, his wife, vs.
Champ, Ralph and Connie Champ, his wife vs. John               A.C.&R. Insulation Co., Inc., et al., asbestos
Crane-Houdaille, Inc., et al., asbestos defendants             defendants including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                               Clavey, Norman D. and Norma V. Clavey vs. Union
Chance, Jr.; William vs. Union Carbide Corporation,            Carbide Corporation, et al., asbestos defendants
et al., asbestos defendants including Sears, Roebuck           including Sears, Roebuck and Co.
and Co.                                                        Clay, Barbara, Executrix (appt pending) to the Estate
Chapman, Brian A. and Patricia Chapman, his wife               of Troy Clay and Barbara Clay, Individually as
vs. John Crane-Houdaille, Inc., et al., asbestos               Surviving Spouse vs. 84 Lumber Company, et al.,
defendants including Sears, Roebuck and Co.                    asbestos defendants including Sears, Roebuck and
Charpentier, Charles J. vs. Amtico International, Inc.,        Co.
et al., asbestos defendants including Sears, Roebuck           Clayton, Ayako, and Stanley Clayton, Jr., H/W, vs.
and Co.                                                        Owens Illinois, Inc., et al., asbestos defendants
Chauncey, Patsy Ann, Individually and as Special               including Sears, Roebuck and Co.
Administrator of the Estate of Henry Harold                    Clayton, James A. Sr. and Holly vs. Quigley
Chauncey, Deceased vs. 84 Lumber, et al., asbestos             Company, Inc., et al. asbestos defendants including
defendants including Sears, Roebuck and Co.                    Sears, Roebuck and Co. (55 named defendants)
Chaundy, Marie, as Administrator of the Estate of              Cleghorn, Robert and Joyce Cleghorn vs.
Arlington Chaundy, and Marie Chaundy Individually              Metropolitan Life Insurance Company, et al.,
vs. Akzo Nobel Paints LLC., et al., asbestos                   asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co. (a                 Co.




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Litigation                                                     Litigation
Clemesha, Ila v. PB Home Services, Inc., et al.                Co., (109 named defendants)
[Sears]
Cline, Lewis vs. John Crane-Houdaille, Inc., et al.,           Collins, Robert H. and Catherine Collins his wife vs.
asbestos defendants including Sears, Roebuck and               John Crane-Houdaille, Inc., et al., asbestos
Co.                                                            defendants including Sears, Roebuck and Co.
Clopton, Linwood and Carolyn vs John Crane-                    Colton, Kenneth, Individually and as Special
Houdaille, Inc., et al. including Sears, Roebuck and           Administrator of the Estate of Shirley Colton,
Co. [53 named defendants]                                      Deceased vs. 84 Lumber Company, et al., asbestos
Coche, Maria, Individually and as Executrix and                defendants including Sears, Roebuck and Co.
Executrix ad Prosequendum of the Estate of Walter              Combs, Linda, Individually and as Special
H. Coche vs. A.O. Smith Corporation, et al., asbestos          Administrator of the Estate of Ralph Combs,
defendants including Sears, Roebuck and Co.                    Deceased vs. Advance Auto Parts, Inc., et al, asbestos
Cockerham, Arlen and Peggy Cockerham, his wife                 defendants including Sears, Roebuck and Co.
vs. Union Carbide Corporation, et al., asbestos                Commercial Development Company v. Sears
defendants including Sears, Roebuck and Co.                    Roebuck and Co. #2374
Coffee, Rose, Individually and as Special                      Comparetto, John and Cherie Comparetto, his wife
Administrator of the Estate of Frank Coffee,                   vs. Advance Auto Parts, Inc., et al., asbestos
Deceased vs. A.W. Chesterton, Inc., et al., asbestos           defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Compton, Janice A., Individually and as Special
Coffell, Anthony Lee, Individually and as Personal             Administrator of the Estate of William D. Compton
Representative for the Estate of William Coffell,              vs. Advance Auto Parts, Inc., et al., asbestos
deceased vs. DAP Products, Inc., et al., asbestos              defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Concealed Matter
Coggins, Shelia, Individually and as Special                   Condran, Clarence and Joann Condran vs. Owens
Administrator of the Estate of Willie McDill,
                                                               Illinois, Inc., et al., asbestos defendants including
Deceased vs. 4520 Corp., Inc., et al., asbestos
                                                               Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.
                                                               Congdon, Helena F., as Executrix of the Estate of
Cohen, Brian, Special Administrator of the Estate of
                                                               Everett C. Congdon, deceased, and Helena F.
Arnold L. Cohen, Deceased vs. A.W. Chesterton                  Congdon, Individually vs. A.W. Chesterton, Inc., et
Company, et al., asbestos defendants including Sears,          al., asbestos defendants including Sears, Roebuck and
Roebuck and Co.
                                                               Co.
Cohen, Jerry M. and Patricia Cohen, his wife vs.
                                                               Conley, Amos B. and Beverly Conley vs. A.W.
A.O. Smith Corporation, et al., asbestos defendants
                                                               Chesterton Company, et al., asbestos defendants
including Sears, Roebuck and Co.
                                                               including Sears, Roebuck and Co.
Cohen, Youssef vs. Aerco International, Inc., et al.,          Conley, Sandra, Individually and as Personal
asbestos defendants including Sears, Roebuck and               Representative of the Estate of Raymond Forson,
Co.
                                                               deceased vs. American Biltrite, Inc., et al., asbestos
Cohn, Steven v. Sears at 1150 Green Acres Mall
                                                               defendants including Sears, Roebuck and Co.
Colbert, Leatha, Individually and as Executrix of the          Conrad, Charles C., Vs. A.W. Chesterton Company,
Estate of Annias Colbert vs. Sears, Roebuck and Co.,           et al., asbestos defendants including Sears, Roebuck
et al., asbestos defendants                                    and Co., (109 named defendants)
Coleman, Chester E. and Cynthia Coleman vs. 84                 Conrad, Kenneth Andrew Vs. A.W. Chesterton
Lumber Company, et al., asbestos defendants                    Company et al., asbestos defendants including Sears,
including Sears, Roebuck and Co.                               Roebuck and Co., (109 named defendants)
Colley, Marie vs. Sears, Roebuck and Co., et al.,              Conrad, Robert vs. Allied Signal, Inc., et al., asbestos
asbestos defendants                                            defendants including Sears, Roebuck and Co.
Collins, Arthur and Mary Collins vs. 3M Company,               Conroy, Gregg M. vs. A.O. Smith Corporation et al.
et al., asbestos defendants including Sears, Roebuck           asbestos defendants including Sears, Reobuck and
and Co.                                                        Co. (103 named defendants)
Collins, Bruce Edwin and Paula Collins vs. A.W.                Consumer Advocacy Group, Inc. v. Kmart
Chesterton, Inc., et al., asbestos defendants including        Corporation, et al
Sears, Roebuck and Co.                                         Consumer Advocacy Group, Inc. v. Sears Holdings
Collins, Larry Vs. A.W. Chesterton Company, et al.,            Corporation, et al.
asbestos defendants including Sears, Roebuck and               Consumer Advocacy Group, Inc. v. Southern




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Litigation                                                    Litigation
Exchange Co., Inc., et al. [Kmart and SHC]                    Costley, Kathleen, Individually and as Personal
                                                              Representative of the Estate of Roger Costley,
Conte, Gerardo vs. Ameron International                       deceased vs. Asbestos Corporation Ltd., et al.,
Corporation, et al., asbestos defendants including            asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.                                        Co. (a subsidiary of Sears Holdings Corporation)
Conway, Layman L. and Della vs. Quigley Company,              Cote, Sr.; Michael and Bernice Cote vs. 3M
Inc., et al. asbestos defendants including Sears,             Company, et al., asbestos defendants including Sears,
Reobuck and Co. (50 named defendants)                         Roebuck and Co.
Cook, Brenda as Personal Representative of the                Cotherman, Timothy R. & Carol S. v. Sears Home
Estate of James B. Cook et al vs. Quigley Company,            Improvement Products, Inc., Sears Home Services,
Inc. et al asbestos defendants including Sears,               Decore-ative Specialties, Inc., Decore-ative
Roebuck & Co. (49 named defendants)                           Specialties, Daniel Paskan
Coons, Elizabeth J., Individually and as Executrix of         Coty, Paul H. and Francine D. his wife vs. Quigley
the Estate of Vincent W. Coons, Deceased vs.                  Company, Inc. et al. asbestos defendants including
A.O.Smith Water Products, et al., asbestos                    Sears, Roebuck and Co. (46 named defendants)
defendants including Sears, Roebuck and Co.                   Crace, Dorothy vs. Ashland Oil, Inc., et al., asbestos
Cooper, Margi and Stephen Cooper vs. Akebono                  defendants including Sears, Roebuck and Co.
Brake Corporation, et al., asbestos defendants                Craig, Larry W. and Lauana Craig vs. A.W.
including Sears, Roebuck and Co.                              Chesterton Company, et al., asbestos defendants
Cooper, Shirley v. Sears, Roebuck and Company                 including Sears, Roebuck and Co.
                                                              Craig, Thomas C. vs. A.W. Chesterton Company, et
Cooper, Willis L. et al v. Albany International
                                                              al., asbestos defendants including Sears, Roebuck and
Corporation et al asbestos defendants including
Sears, Roebuck and Co. (71 named defendants)                  Co.
Copechal, Jr., Edward and Lois Copechal, h/w vs.              Cribb, Bobby J. and Mary H. vs. A.O. Smith
                                                              Corporation., et al., asbestos defendants including
Honeywell International, Inc., et al., asbestos
                                                              Sears,Roebuck and Co.
defendants including Sears, Roebuck and Co.
                                                              Crickm v. Kmart Corporation #4987
Cope, Donnie, Individually and As Personal
Representative of the Heirs and Estate of Ruth                Crisler, George vs. A.W. Chesterton, Inc., et al.,
Henderson Cope, Deceased vs. Accupowder TN,                   asbestos defendants including Sears, Roebuck and
LLC., et al. asbestos defendants including Sears,             Co.
Roebuck and Co.                                               Crocker, Tom, Individually and as Surviving Heir of
Cope, Faith Belac, Administratrix of the Estate of            Keith Crocker, Dec., vs. Afton Pumps, Inc., et al.,
Loretta Belac vs. AII Acquisitions, et al., asbestos          asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                   Co.
Copeland, Robert S. v. Sears Department Store                 Crosby, Christopher M. v. Sears Holdings
                                                              Corporation
Coppersmith, Robert R. vs. Honeywell International,
                                                              Crowe, Michael and Angela Crowe vs. Aurora Pump
Inc., et al., asbestos defendants including Sears,
                                                              Company, et al., asbestos defendants including Sears,
Roebuck and Co.
Corcione, Leonard vs. 3M Company, et al., asbestos            Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Cruz, Joseph E. vs. A.W. Chesterton, Inc., et al.,
                                                              asbestos defendants including Sears, Roebuck and
Cordice, Dorothy v. Sears Executive Customer
                                                              Co.
Relations
                                                              Cullison, Edward O., Pltf vs. Union Carbide
Cornett, Paul M. and Carolyn Cornett vs. Clark
                                                              Corporation., et al., asbestos defendants including
Industrial Insulation Co., et al., asbestos defendants
including Sears, Roebuck and Co.                              Sears, Roebuck and Co.
Cornish, Mary M. vs. Union Carbide Corporation, et            Cumella, Annette v. Sears
al., asbestos defendants including Sears, Roebuck and         Cummings, John G. and Annabella vs. 84 Lumber et
Co.                                                           al. asbestos defendants including Sears, Roebuck and
Correia, Adley and Eleana Correia vs. A.O. Smith              Co. (76 named defendants)
Corporation, et al., asbestos defendants including            Cunningham, Gilbert and Patricia Cunningham vs.
Sears, Roebuck and Co.                                        A.O. Smith Corp., et al., asbestos defendants
Cosey, Jr.; Richard vs. A.W. Chesterton, Inc., et al.,        including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Cunningham, Herman T. and Barbara Cunningham,
Co.




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Litigation                                                     Litigation
his wife vs. John Crane-Houdaille, Inc., et al.,               asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and               Co. (53 named defendants)
Co.                                                            Davis, Jr.; Joe and Mae Davis, his wife, vs. Owens-
Cunningham, Robert P. vs. A.W. Chesterton                      Illinois Glass Co., et al., asbestos defendants
Company, et al., asbestos defendants including Sears,          including Sears, Roebuck and Co.
Roebuck and Co.                                                Davis, Shirley, Individually and as Special
Curran, Betty-Jo as Executrix of the Estate of Walter          Administrator for the Estate of Merle G. Davis,
D. Curran and as Surviving Spouse vs. 3M Company               Deceased vs. Air & Liquid Systems, Corp., et al.,
et al., asbestos defendants including Sears, Roebuck           asbestos defendants including Sears, Roebuck and
and Co.                                                        Co.
Curry, John William and Geraldine Curry vs. ABB,               Davis, Therethia P. and Clifton Davis, her husband
Inc., et al., asbestos defendants including Sears,             vs. John Crane-Houdaille, Inc., et al., asbestos
Roebuck and Co.                                                defendants including Sears, Roebuck and Co. (52
Cush, Francis vs. BorgWarner Morse Tec., Inc., et              named defendants)
al., asbestos defendants including Sears, Roebuck and          Dawson, Charles Vs. A.W. Chesterton Company et
Co. (a subsidiary of Sears Holdings Corporation)               al., asbestos defendants including Sears, Roebuck and
Cusick, Carlton and Doris vs. Quigley Company,                 Co., (109 named defendants)
Inc., et al. asbestos defendants including Sears,              DeAngelis, Paul v. Sears Corporation
Roebuck and Co. (45 named defendants)
Daibes, Bassam MIshail and Suha Ilbraheem v. Sears             Deardon, Guadalupe Notario as Surviving Spouse of
Service Complaint Department                                   Blaine B. Deardon (Probate Pending) vs. 84 Lumber
Daigle, Eugene R. and Dianne O. Daigle vs.                     Company, et al., asbestos defendants including Sears,
Advanced Auto Parts, Inc., et al., asbestos defendants         Roebuck and Co.
including Sears, Roebuck and Co.                               Deater, Thomas vs. Ammco Tools, Inc., et al.,
Dale, Kenneth G. and Dorathy L. Dale vs. Allied                asbestos defendants including Sears, Roebuck and
Packing & Supply, Inc., et al., asbestos defendants            Co. (a subsidiary of Sears Holdings Corporation)
including Sears, Roebuck and Co.                               Deaton, Jack B. and Joyce K. Deaton vs. A.W.
Dalton, Carmela L. and Jesse L. vs. Quigley Co., Inc.          Chesterton Company, et al., asbestos defendants
et al. asbestos defendants including Sears, Roebuck            including Sears, Roebuck and Co.
and Co. (47 named defendants)                                  Deckers Outdoor Corporation v. Sears, Roebuck and
Daly, Barbara Marie-Dill v. Sears                              Co., et al.
                                                               Deckert, Larry, Individually and as Successor in
Daly, Jr.; Edward A., As Personal Representative for           Interest to the Estate of Shirlee Diana Deckert vs.
the Estate of Frances Daly, et al., vs. Owens-Illinois         Builders Emporium, Inc., et al., asbestos defendants
Glass Co., et al., asbestos defendants including Sears,        including Sears, Roebuck and Co.
Roebuck and Co.                                                Deckert, Larry vs. Builders Emporium, Inc., et al.,
Damolaris, Noreene, Special Administrator of the               asbestos defendants including Sears, Roebuck and
Estate of Steve G. Damolaris, Deceased vs. A.W.                Co.
Chesterton Company, et al., asbestos defendants                Deemer, George and Betty Deemer, h/w, vs.
including Sears, Roebuck and Co.                               Honeywell International, Inc., et al., asbestos
Dan River Residual Matters                                     defendants including Sears, Roebuck and Co.
                                                               DeFayette, James and Joanne L. DeFayette vs. Air &
Darden, Percy W. and Bernice vs. Quigley Company,              Liquid Systems Corporation, et al., asbestos
Inc., et al. asbestos defendants including Sears,              defendants including Sears, Roebuck and Co.
Roebuck and Co. (45 named defendants)                          De Freitas, W. Alva v. Sears Home Improvement
Davis, Brett, as Special Administrator of the Estate of        Products, Inc.
Elery Davis vs. 84 Lumber Company, et al., asbestos            Deiro, Dora, as Personal Representative of the Estate
defendants including Sears, Roebuck and Co. (a                 of Walter Bearden, Deceased vs. Afton Pumps Inc.,
subsidiary of Sears Holdings Corporation)                      et al., asbestos defendants including Sears, Roebuck
Davis, Don vs. 3M Company, et al., asbestos                    and Co.
defendants including Sears, Roebuck and Co.                    De Jesus Valdes, Aida v. Sears Roebuck de Puerto
Davis, James F. and Jeanette Davis, h/w vs.                    Rico
American Honda Motor Co. Inc., et al., asbestos                DeLaCruz, Laura, Individually and as Special
defendants including Sears, Roebuck and Co.                    Administrator of the Estate of Raymond DeLaCruz,
Davis, John W. vs. John Cran-Houdaille, Inc., et al.           Jr., Deceased vs. 3M Company, et al., asbestos




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Litigation                                                   Litigation
defendants including Sears, Roebuck and Co.                  Desiderio, Salvatore and Anna vs. A.C. and S., Inc.,
                                                             et al. asbestos defendants including Sears, Roebuck
Delarosa, Hilda v. Sears                                     and Co. (134 named defendants)
                                                             Desjardins, Maurice and Della Desjardins, his wife
Delpra, John M. Vs. A.W. Chesterton Company et
                                                             vs. Advance Auto Parts, Inc., et al., asbestos
al., asbestos defendants including Sears, Roebuck and
Co., (109 named defendants)                                  defendants including Sears, Roebuck and Co.
DeLuca, Joseph L. vs. Owens Illinois, Inc., et al.,          Desposito, Frank v. Sears Inc.
asbestos defendants including Sears, Roebuck and             Devaux, Roslyn v. Sears; Shirley Doe; Angela Doe
Co.
de Markoff, Alexander J. v. Sears, Roebuck and Co.           Devonshire 2010, Inc v. Sears Roebuck - Yonkers
                                                             NY 1733
Denby, Harold and Denby, Phyllis vs Quigley                  Diamond K Incorporated v. Sears, Roebuck and Co.
Company, Inc. et al asbestos defendants including
Sears, Roebuck and Co., (46 named defendants)                Diaz, Arlene Perez v. Sears Holdings, et al. [Sears De
Deneen, Terri M., Special Administrator of the Estate        Puerto Rico and Kmart de Puerto Rico]
of Sidney J. Holwerda, Deceased vs. A.O. Smith               Dicent, Maria Jacqueline aka Jackie Disen, aka Maria
Corporation, et al., asbestos defendants including           Jacqueline Disen v. Sears Holdings and Edward
Sears, Roebuck and Co.                                       Lamper, CEO of Sears Holdings; et al
Denemark, Paul, Individually and as Special                  Dickenson, Cynthia, Individually and as Special
Administrator of the Estate of Nazariusz Malinowski,         Administrator of the Estate of Harry Russell,
Deceased vs. 84 Lumber, et al., asbestos defendants          Deceased vs. A.W. Chesterton, Inc., et al., asbestos
including Sears, Roebuck and Co.                             defendants including Sears, Roebuck and Co.
Denitti, Matthew and Marjorie Denitti vs. Allied             Diemart, Sharon, Individually and as Special
Signal, Inc., et al., asbestos defendants including          Administrator of the Estate of Rickey Diemart,
Sears, Roebuck and Co.                                       Deceased vs. 84 Lumber Company, et al., asbestos
Denley, Clifton vs. Ace Hardware Corporation, et al.,        defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and             Difonso, Grace R. vs. John Crane-Houdaille, Inc., et
Co. (a subsidiary of Sears Holdings Corporation)             al., asbestos defendants including Sears, Roebuck and
Denmon, Marilyn as Special Administrator of the              Co.
Estate of Bernice Reed, Dec., vs. 84 Lumber, et al.,         DiLauro, Carl and Diane DiLauro, his wife vs. John
asbestos defendants including Sears, Roebuck and             Crane-Houdaille, Inc., et al., asbestos defendants
Co.                                                          including Sears, Roebuck and Co.
Dennison, Jr.; Walter K. vs. John Crane-Houdaille,           Dillard, Belinda, Personal Representative of the
Inc., et al., asbestos defendants including Sears,           Estate of Curtis Lee Witt, Jr., Pltf. vs. John Crane
Roebuck and Co.                                              Houdaille, Inc., et al., asbestos defendants including
Dennis, Richard B. vs. Union Carbide Corporation, et         Sears, Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and        Dillon, Marilyn M., Individually and as Special
Co.                                                          Administrator of the Estate of Richard T. Dillon vs.
Denny, Russell Wayne, Sr. and Denny, Marian vs               Advance Auto Parts, Inc., et al., asbestos defendants
Quigley Company, Inc. et al asbestos defendants              including Sears, Roebuck and Co.
including Sears, Roebuck, and Co. (46 named                  DiPietro, Anthony M. Jr. and Mildred vs. John
defendants)                                                  Crane-Houdaille Inc., et al. asbestos defendants
Dentz, Dave Vs. A.W. Chesterton Co., et al., asbestos        including Sears, Roebuck and Co. (52 named
defendants including Sears, Roebuck and Co., (109            defendants)
named defendants)                                            Disantis, Dioro vs. American Biltrite, Inc., et al.,
Department of Transportation v. Carolina Mall, LLC,          asbestos defendants including Sears, Roebuck and
et al. S1165_Eminent Domain                                  Co.
D'Ercole, Cheryl A. as Executrix of the Estate of            Distefano, Jane and Phillip Distefano vs. A.O. Smith
Robert A. Layfield vs. 3M Company, et al., asbestos          Water Products Co., et al., asbestos defendants
defendants including Sears, Roeubck and Co.                  including Sears, Roebuck and Co.
Dereje, Mathias, Individually and as Special                 Dodson, Steven E. and Joyce Dodson, his wife vs.
Administrator of the Estate of Germa Dereje                  Union Carbide Corporation, et al., asbestos
Seyoum, Deceased vs. Borg-Warner Corporation, et             defendants including Sears, Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and        Doebereiner, John vs. John Crane-Houdaille, Inc., et
Co.                                                          al., asbestos defendants including Sears, Roebuck and




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Litigation                                                   Litigation
Co.                                                          Downing, Charlotte, Individually and as the Personal
                                                             Representative for the Estate of Christopher Downing
Doehring, Jr.; William F. and Maureen Doehring vs.           vs. Advance Auto Parts, et al., asbestos defendants
Union Carbide Corporation, et al., asbestos                  including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                  Doyle, John and Kay Doyle, his wife vs. John Crane-
Doell, Brad, Individually and as Special                     Houdaille, Inc., et al., asbestos defendants including
Administrator of the Estate of Henry Doell, Deceased         Sears, Roebuck and Co.
vs. Air & Liquid Systems Corporation, et al.,                Dozier, Angel, Individually and as Special
asbestos defendants including Sears, Roebuck and             Administrator of the Estate of Paul Emerick, Sr.,
Co.                                                          Deceased vs. Akebono Brake Corporation, et al.,
Doherty, Susan, as Personal Representative to the            asbestos defendants including Sears, Roebuck and
Estate of James Doherty, Sr. vs. 84 Lumber                   Co.
Company, et al., asbestos defendants including Sears,        Drummond, Beshma Waite v. Sears Repairs Centers
Roebuck and Co. (a subsidiary of Sears Holdings
Corporation)                                                 Dubose, Miranda, Individually and as Special
Dohman, Amie v. Innovel Solutions, Inc.; et al.              Administrator of the Estate of Willie Chaney,
                                                             Deceased vs. American Biltrite, Inc., et al., asbestos
Dombrowski, Robert J. and Marjorie Dombrowski                defendants including Sears, Roebuck and Co.
vs. A.O. Smith Water Products Co., et al., asbestos          Dudley, Robert, Personal Representative of the Estate
defendants including Sears, Roebuck and Co.                  of Edward M. Dudley, et al., vs. John Crane-
Donahoo, George F. and Melba J. Donahoo vs. A.O.             Houdaille, Inc., et al., asbestos defendants including
Smith Corp., et al., asbestos defendants including           Sears, Roebuck and Co.
Sears, Roebuck and Co.                                       Duff, McCoy vs. General Motors Corporation et al.
Donely, Allen vs. A.W. Chesterton, Inc., et al.,             asbestos defendants including Sears, Reobuck and
asbestos defendants including Sears, Roebuck and             Co. 17 named defendants)
Co.                                                          Duffy, Catherine, Special Administrator of the Estate
Donovan, Philomae S., Individually and as Executrix          of Arthur J. Duffy, Deceased vs. A.W. Chesterton
of the Estate of John J. Donovan vs. A.O. Smith              Company, et al., asbestos defendants including Sears,
Water Products, et al., asbestos defendants including        Roebuck and Co.
Sears, Roebuck and Co.                                       Duffy, Edward and Anne Duffy vs. Aldrich
Donuk, Celal and Nilgun Donuk, Individually and as           Company, et al., asbestos defendants including Sears,
Husband and Wife vs. A.O. Smith Water Products               Roebuck and Co.
Co., et al., asbestos defendants including Sears,            Dufour, Tracy, as Personal Representative of the
Roebuck and Co.                                              Estate of David McClure, et al., vs. ACE Hardware
Dooley, Richard and Karen Dooley, his wife vs. 84            Corporation, et al., asbestos defendants including
Lumber Company, et al., asbestos defendants                  Sears, Roebuck and Co. (a subsidiary of Sears
including Sears, Roebuck and Co.                             Holdings Corporation)
Doolittle, Jr.; Charles C. and Donna Doolittle vs.           Dunlap, John, et al. v. Minnesota Mining and
A.W. Chesterton Company, et al., asbestos                    Manufacturing Company, et al., asbestos defendants
defendants including Sears, Roebuck and Co.,                 including Sears, Roebuck and Co. (81 named
Individually and as Succesor-in-Interest to Western          defendants)
Auto Supply Company                                          Dunlap, Vincent and Ruth Ann Dunlap vs. 3M
Doran Phillip and Linda v. Sears Home Improvement            Company, et al., asbestos defendants including Sears,
Products, Inc.; Sears Holding Management                     Roebuck and Co.
Corporation; Onebeacon Services, LLC dba Atlantic            Dunn, Jr.; Charles L., Individually and as Special
Specialty Insurance Company                                  Administrator of the Estate of Alida Dunn, Deceased
Doran, Phillip and Linda v. Sears Home                       vs. 3M Company, et al., asbestos defendants
Improvement Products, Inc.; Sears Holding                    including Sears, Roebuck and Co.
Management Corporation; Onebeacon Services, LLC              Duran, William and Shirley Duran vs. 84 Lumber, et
dba Atlantic Specialty Insurance Company                     al., asbestos defendants including Sears, Roebuck and
Doris Parker et al v. Sears et al                            Co.
Downey, Robert and Rita vs. A.O. Smith Water                 Durso, Mariann, Individually and as Personal
                                                             Representative of the Estate of John Durso vs. Toyota
Products, et al. asbestos defendants including Sears,
                                                             Motor Sales, U.S.A., Inc., et al, asbestos defendants
Roebuck and Co. (45 named defendants)
                                                             including Sears, Roebuck and Co.




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Litigation                                                       Litigation
Dutton, Sharon K. vs. A.O. Smith Corporation, et al.,            ECOtality Bankruptcy
asbestos defendants including Sears, Roebuck and
Co.                                                              Edgenet Bankruptcy
Dyer, Charles and Nancy Dyer vs. 3M Company, et
                                                                 Edger, Brenda vs. A.W. Chesterton Company, et al.,
al., asbestos defendants including Sears, Roebuck and
                                                                 asbestos defendants including Sears, Roebuck and
Co.                                                              Co.
Dyson, Charles A. Sr. and Reba vs. John Crane-                   Edwards, Audrey as Executrix of the Estate of Leon
Houdaille Inc., et al. asbestos defendants including
                                                                 Leroy Edwards (Probate Pending) vs. 3M Company,
Sears, Roebuck and Co. (54 named defendants)
                                                                 et al., asbestos defendants including Sears, Roebuck
Dyson, Elridge v. Sears, Roebuck and Co., et al.
                                                                 and Co.
Dzielak, Charlene, et al. v. Whirlpool Corporation, et           Edwards, Bobbi and Joe Edwards, her husband vs.
al. [including Sears Holdings Corporation]                       Advance Auto Parts, Inc., et al., asbestos defendants
Eads, Wilma Ann, Individually and as Special                     including Sears, Roebuck and Co.
Administrator of the Estate of Harry Gene Eads vs.               Edwards, Gladys, Individually and as Special
ACF Industries, Inc., et al., asbestos defendants                Administrator of the Estate of Tina Schicke,
including Sears, Roebuck and Co.                                 Deceased vs. Ace Hardware Corporation, et al.,
Eagle, Cynthia, Individually and as Special                      asbestos defendants including Sears, Roebuck and
Administrator of the Estate of Michael Eagle,                    Co.
Deceased vs. 84 Lumber, et al., asbestos defendants              Edwards, Maria vs. Armstrong International, Inc., et
including Sears, Roebuck and Co.                                 al., asbestos defendants including Sears, Roebuck and
Eaker, Myram as Executor of the Estate of Lori Ann               Co.
Meiners-Gibbs, Deceased vs. 84 Lumber Company,                   Edwards, Thomas L. and Edwards, Linda M. his wife
et al., asbestos defendants including Sears, Roebuck             v. John Crane-Houdaille, Inc. et al. including Sears,
and Co.                                                          Roebuck and Co. (52 named defendants)
Easler, Lucy v. Sears                                            Egan, Holly, Individually and as Special
                                                                 Administrator of the Estate of Hubert Donnellan,
Easley, Dana Ann, Individually and as Special                    Deceased vs. 3M Company, et al., asbestos
Administrator of the Estate of John Lafayette                    defendants including Sears, Roebuck and Co.
Wilhite, Deceased vs. Advanced Composite Group,                  Ehase, James Vs. A.W. Chesterton Co., et al.,
et al., asbestos defendants including Sears, Roebuck             asbestos defendants including Sears, Roebuck and
and Co.                                                          Co., (109 named defendants)
Easley, Paige Montgomery v. Sears                                Eichner, Mathew and Dorothy M. Eichner, his wife
                                                                 vs. John Crane-Houdaille, Inc., et al., asbestos
Easley, Paige v. Sears, Roebuck & Co.                            defendants including Sears, Roebuck and Co.
                                                                 Eilber, Kathleen, Individually and as Personal
Eaton, Kathy F., Personal Representative of the
                                                                 Representative of the Estate of William C. Eilbert,
Estate of Daniel R. Rentzel, et al., vs. John Crane-
                                                                 deceased vs. Borg Warner Morse Tec, Inc., et al.,
Houdaille, Inc., et al., asbestos defendants including
                                                                 asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.
Eberle, Clifford v. Owens-Illinois, Inc., et al.,                Co. (a subsidiary of Sears Holdings Corporation)
asbestos defendants including Sears, Roebuck and                 Eldridge III, Huntington, et al., Co-Executors of the
                                                                 Estate of Huntington Eldridge, Jr., Deceased vs.
Co. (45 named defendants)
                                                                 Union Carbide Corporation, et al., asbestos
Eckel, Charles, as Executor of the Estate of William
                                                                 defendants including Sears, Roebuck and Co.
Eckel vs. Asbestos Corporation Ltd., et al., asbestos
                                                                 Eldridge, Sr.; Billy vs. Ace Hardware Corporation, et
defendants including Sears, Roebuck and Co. (a
subsidiary of Sears Holdings Corporation)                        al., asbestos defendants including Sears, Roebuck and
                                                                 Co. (a subsidiary of Sears Holdings Corporation)
Eckroth, Floyd D., Executor for the Estate of
                                                                 Elliott, Elvin and Betty Elliott vs. Certainteed
Geraldine A. Eckroth, et al., vs. Allied Signal, Inc., et
                                                                 Corporation, et al., asbestos defendants including
al., asbestos defendants including Sears, Roebuck and
                                                                 Sears, Roebuck and Co. (a subsidiary of Sears
Co.
Eclipse Group, LLP v. Target Corporation, et al.                 Holdings Corporation)
[Kmart Corporation]                                              Elms, Walter, Individually and as Special
                                                                 Administrator of the Estate of Imogene Elms,
Ecological Rights Foundation v. Sears, Roebuck and
                                                                 Deceased vs. 84 Lumber Company, et al., asbestos
Co. and Kmart Corporation
                                                                 defendants including Sears, Roebuck and Co.




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Litigation                                                       Litigation
Emerick, Dale and Elizabeth Emerick vs. Air and                  Fagerson, Patricia vs. Advance Auto Parts, Inc., et
Liquid Systems Corp., et al., asbestos defendants                al., asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                                 Co.
Emert, Richard Joseph et al. vs. Abb, Inc., et al.               Fanelli, Frank vs. 3M Company et al., asbestos
asbestos defendants including Sears, Roebuck and                 defendants including Sears, Roebuck and Co.
Co. (65 named defendants)                                        Faris, Barbara v. Whirlpool Corporation, et al.
Emke, David vs. A.W. Chesterton, Inc., et al.,                   [SHMC]
asbestos defendants including Sears, Roebuck and                 Farley, Lonnie and Shirley Farley, his wife vs. John
Co.                                                              Crane-Houdaille, Inc., et al., asbestos defendants
Engelbart, John and Marie Engelbart vs. A.O. Smith               including Sears, Roebuck and Co.
Corporation, et al., asbestos defendants including               Farmer, Joseph and Elaine Farmer, husband and wife
Sears, Roebuck and Co.                                           vs. AT&T Corp., et al., asbestos defendants including
English, Michael and Kasuko v. Sears Home                        Sears, Roebuck and Co.
Improvement Products, Inc.                                       Farrell, Michael T. vs. Air and Liquid Systems
Environmental RCRA Suit Burlington, MA                           Corporation, et al., asbestos defendants including
                                                                 Sears, Roebuck and Co.
Epple, Alice, Individually and as Executrix of the               Farwell, Elliet vs Quigley Company, Inc., et al
Estate of Frederick N. Epple, Deceased vs. Air &                 asbestos defendants including Sears, Roebuck and
Liquid Systems Corporation, et al., asbestos                     Co. (46 named defendants)
defendants including Sears, Roebuck and Co.                      Fashion Exchange, The v. Hybrid Promotions, LLC
Ercolani, Mario S. and Romaine vs. 84 Lumber, et                 et al. [Sears Brands, LLC]
al., asbestos defendants including Sears, Roebuck and            Fauceglia, Robert vs. A.W. Chesterton, Co., et al.,
Co.                                                              asbestos defendants including Sears, Roebuck and
Erdmann, Marvin vs. 3M Company, et al., asbestos                 Co., (109 named defendants)
defendants including Sears, Roebuck and Co.                      Faust, Terry and Denise Faust vs. Owens Illinois,
Espineiria, Luis, Individually and as the Executor of            Inc., et al., asbestos defendants including Sears,
the Estate of Mariano Espineiria vs. A.O. Smith                  Roebuck and Co.
Water Products Co., et al., asbestos defendants                  Fazzi, Mary Ann, Individually and as Special
including Sears, Roebuck and Co.                                 Administrator of the Estate of Donald Fazzi,
Estep, Sr.; Kevin A. and Tracey E. Estep, his wife vs.           Deceased vs. Advance Auto Parts, Inc., et al.,
Union Carbide Corporation, et al., asbestos                      asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                      Co.
Evans, Alexander and Dora Evans vs. Advance Auto                 Feaster, Deabra Bennett, as Personal Representative
Parts, et al., asbestos defendants including Sears,              of the Estate of James N. Bennett, Jr. and Beatrice
Roebuck and Co.                                                  Bennett, Individually and as Surviving Spouse of
Evans, Brian and Susan Evans vs. Advance Auto                    James N. Bennett, Jr. vs John Crane-Houdaille, Inc.,
Parts, Inc., et al., asbestos defendants including Sears,        including Sears, Roebuck and Co. [54 named defend
Roebuck and Co. (a subsidiary of Sears Holdings                  Ferrante, Lou vs. A.O. Smith et al. asbestos
Corporation)                                                     defendants including Sears, Reobuck and Co. (103
Evans, Eddie vs. A.O. Smith Corporation, et al.,                 named defendants)
asbestos defendants including Sears, Roebuck and                 Ferrell, Philip v. Sears Auto Center
Co.
Everett, Doyle and Evyon Everett, his wife vs. Union             Ferro, Joseph and Carole Ferro, his spouse vs. A.O.
Carbide Corporation, et al., asbestos defendants                 Smith Water Products Company, et al., asbestos
including Sears, Roebuck and Co.                                 defendants including Sears, Roebuck and Co.
Ewing, Linda H., Individually and as Executrix for               Fiducia, Joseph and Anita Fiducia vs A.P. Green
the Estate of Gary R. Ewing vs. 3M Company, et al.,              Industries, Inc., et al (asbestos dfts including Sears,
asbestos defendants including Sears, Roebuck and                 Roebuck and Co.)
Co.                                                              Figueroa, Juan Oquendo et al. v. Sears Roebuck de
Ewing, Thomas, Individually and as Special                       Puerto Rico, Inc., et al.
Administrator of the Estate of Mary L. Ewing,                    Finch, Herman L. vs. John Crane-Houdaille, Inc., et
Deceased vs. Akebono Brake Corporation, et al.,                  al., asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and                 Co.
Co.                                                              Finch, Phillip vs. John Crane-Houdaille, Inc., et al.,
                                                                 asbestos defendants including Sears, Roebuck and




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Litigation                                                       Litigation
Co.                                                              Forster, Bette, Individually and as Special
                                                                 Administrator of the Estate of Henry Forster,
Fineagan, Carroll and Dorothy Ellen Fineagan, his                Deceased vs. American Honda Motor Co., Inc., et al.,
wife vs. John Crane-Houdaille, Inc., et al., asbestos            asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                      Co.
Finke, Robert E. vs. A.W. Chesterton, Inc., et al.,              Forsythe, Daniel O. v. John Crane-Houdaille, Inc.,al.,
asbestos defendants including Sears, Roebuck and                 asbestos defendants including Sears, Roebuck and
Co.                                                              Co. (52 named defendants)
Fitzgerald, Alan R. vs. Union Carbide Corporation, et            Fortsch, Barry v. Sears, Roebuck and Co., d/b/a
al., asbestos defendants including Sears, Roebuck and            Kenmore
Co.                                                              Fortune, Bruce S. and Schenetta D. v. Sears
Fitzgerald II, James and Avenelle Fitzgerald vs. 4520
Corp., Inc., et al., asbestos defendants including               Foshay, Richard vs. 3M Company, et al., asbestos
Sears, Roebuck and Co.                                           defendants including Sears, Roebuck and Co.
Fitzgerald, Linda and Richard Fitzgerald, her                    Fossum, Donald and Elizabeth Fossum vs. 84
husband vs. 84 Lumber, et al., asbestos defendants               Lumber Company, et al., asbestos defendants
including Sears, Roebuck and Co.                                 including Sears, Roebuck and Co. (a subsidiary of
Fitzpatrick, Mildred A., Individually and as Personal            Sears Holdings Corporation)
Representative of the Estate of Robert G. Fitzpatrick,           Fowler, La Trycee v. Sears Home Improvement
deceased vs. 84 Lumber Company, et al., asbestos                 Products, Inc.; and Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co. (a                   Fowler, Paulette, Individually and as Special
subsidiary of Sears Holdings Corporation)                        Administrator of the Estate of Robert Biery,
Flectere LLC v. Sears Brands, L.L.C.                             Deceased vs. Akebono Brake Corporation, et al.,
                                                                 asbestos defendants including Sears, Roebuck and
Fleischmann, Nicholas and Mary Ann Fleischmann                   Co.
vs. Union Carbide Corporation, et al., asbestos                  Fox, Dawna and Travis vs. Bondex International,
defendants including Sears, Roebuck and Co.                      Inc., et al. asbestos defendants including Sears,
Fletcher, Robert vs. Asbestos Corporation Ltd., et al.,          Roebuck and Co. (21 named defendants)
asbestos defendants including Sears, Roebuck and                 Fox, Jr.; William and Dorothy Fox vs. Ammco Tools,
Co. (a subsidiary of Sears Holdings Corporation)                 Inc., et al., asbestos defendants including Sears,
Flick, Anita, Individually and as Special                        Roebuck and Co. (a subsidiary of Sears Holdings
Administrator of the Estate of James Flick, Deceased             Corporation)
vs. 4520 Corp., Inc., et al., asbestos defendants                Foy, Joseph W. and Gladys Foy vs. A.W. Chesterton
including Sears, Roebuck and Co.                                 Company, et al., asbestos defendants including Sears,
Flores, Angel L. Tapia v. Sears Roebuck of Puerto                Roebuck and Co.
Rico, et al.                                                     Frank, Ann T., as Personal Representative of the
Fode, Pamela P., Individually and as Special                     Estate of Danny Dee Cornett vs. AII Acquisitions,
Administrator of the Estate of Jimmy E. Fode,                    LLC., et al., asbestos defendants including Sears,
Deceased vs. ABB, Inc., et al., asbestos defendants              Roebuck and Co.
including Sears, Roebuck and Co.                                 Frazer, Wayne v. Sears Home Improvement
Foglia, Ronald and Sandra Foglia vs. Advance Auto                Products, Inc.
Parts, Inc., et al., asbestos defendants including Sears,        Frechette, Danny Joseph v. Sears, Inc.; and Madiline
Roebuck and Co.                                                  Sherman
Fontenelle, Don vs. Dash Building Material Center,               Frederick, Gregory and Frederick, Kathleen v
et al., asbestos defendants including Sears, Roebuck             Garlock Sealing et al asbestos defendants including
and Co.                                                          Sears, Roebuck & Co. (20 named defendants)
Forcino, Clarence R. and Carol A. Forcino his wife               Frederick, Judith A. vs. Armstrong Pumps, Inc., et
vs. John Crane-Houdaille, Inc., et al., asbestos                 al., asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                      Co.
Ford, Donald and Catherine Ford, his wife, vs.                   Freudenhammer, Gerd Wolfgang vs. 84 Lumber,
BorgWarner Morse Tec LLC, et al., asbestos                       asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                      Co.
Ford, Undray, Individually and as Executrix of the               Frew, Jeffrey v. Sears Holdings Corporation d/b/a K-
Estate of Earnest Frederick vs. Sears, Roebuck and               Mart in Wall, New Jersey; Rudy Forester,
Co., et al., asbestos defendants                                 individually and/or as agents of Sears Holdings




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Litigation                                                     Litigation
Corporation, and/or John Does 1-10                             Reobuck and Co. (80 named defendants)
Friedman, Allen and Rita Sue Friedman vs. A.W.                 Garcia, Patricia, Individually and as Special
Chesterton, Inc., et al., asbestos defendants including        Administrator of the Estate of Sherman Frost,
Sears, Roebuck and Co.                                         Deceased vs. Advance Auto Parts, Inc., et al.,
Friedman & Wexler LLC Chapter 7 Confidential                   asbestos defendants including Sears, Roebuck and
Customer Info                                                  Co.
Frost, James "Buck" v. Sears Home Improvement                  Garcia, Rafael v. Sears, Roebuck and Co.; and Does
Products, Inc.                                                 1-100 inclusive
Fuentes, Julio M. v. Sears                                     Gardiner, Robert E. and Marguerite vs. John Crane-
                                                               Houdaille, Inc., et al. asbestos defendants including
Fulton, Wayne and Dolores Fulton vs. 84 Lumber                 Sears, Roebuck and Co. (58 named defendants)
Company, et al., asbestos defendants including Sears,          Garnet v. Sears - 1616 Cornwall, Bellingham, WA
Roebuck and Co. (a subsidiary of Sears Holdings
Corporation)                                                   Garringer, Jimmie and Sandra Garringer vs. ABP
Funchess, Herman Lee and Funchess, Amanda Vs.                  Induction, LLC, et al., asbestos defendants including
A.W. Chesterton, Co., et al., asbestos defendants              Sears, Roebuck and Co.
including Sears, Roebuck and Co., (109 named                   Garrison, Dolores, Individually and as Special
defendants)                                                    Administrator of the Estate of Ronald E. Garrison,
Funk, Emmett R. Sr. and Mildred vs. John Crane-                Deceased vs. A.O. Smith Corporation, et al., asbestos
Houdaille, Inc., et al. asbestos defendants including          defendants including Sears, Roebuck and Co.
Sears, Roebuck and Co. (56 named defendants)                   Garvin, Kevin and Tandra Garvin vs. ABB, Inc., et
Gacono, Jean, Executrix of the Estate of Jeffrey               al., asbestos defendants including Sears, Roebuck and
Gacono and Jean Gacono vs. Baltimore Ennis Land                Co.
Co., Inc., et al., asbestos defendants including Sears,        Garza, Robert, et al., Individually and as Surviving
Roebuck and Co.                                                Heirs of Ronald Garza, Dec. vs. 84 Lumber, et al.,
Gadson. Herman and Brenda vs. John Crane-                      asbestos defendants including Sears, Roebuck and
Houdaille, Inc., et al. asbestos defendants including          Co.
Sears, Roebuck and Co. (55 named defendants)                   Gaudette, Sylvain et al. v. Whirlpool Corp., et al.
Gaedeke, Sandra vs. Bayer Cropscience, Inc., et al.,           [Sears Canada and SRC]
asbestos defendants including Sears, Roebuck and               GCE International, Inc. fka Paris Accessories, Inc. v.
Co.                                                            Kmart Corporation
Gage, Joe vs. A.O. Smith Corporation et al. asbestos           Gee, Leonard vs. Quigley Company, Inc., et al.
defendants including Sears, Reobuck and Co. (103               asbestos defendants including Sears, Roebuck and
named defendants)                                              Co. (45 named defendants)
Gagnon, Julia, individually and as Personal                    Gee, Patricia, Individually and as Executrix of the
Representative of the Est. of Richard Gagnon, dec.             Estate of Winford Gee vs. Sears, Roebuck and Co., et
vs. A.O. Smith Water Products Co., et al., asbestos            al., asbestos defendants
defendants including Sears Holdings Mgmt. Corp.,               Gehner, Robert vs. Air & Liquid Systems
individ and as successor in int. to Sears, Roebuck and         Corporation, et al., asbestos defendants including
Co.                                                            Sears, Roebuck and Co.
Gajdosik, Dan vs. A.W. Chesterton, Inc., et al.,               Geist, William and Betty vs. American Standard, et
asbestos defendants including Sears, Roebuck and               al., asbestos defendants including Sears, Roebuck and
Co.                                                            Co.
Galford, James vs. John Crane-Houdaille, Inc., et al.          Geiver, Dae, Individually and as Special
including Sears, Roebuck and Co. [53 named                     Administrator of the Estate of Steve Daniel Geiver,
defendants]                                                    Deceased vs. Aerco International, Inc., et al., asbestos
Gansz Bobo, Elaine, Individually and as Special                defendants including Sears, Roebuck and Co.
Administrator of the Estate of Martha Gansz,                   Gennone, Richard James and Joyce E. Flood vs. A.J.
Deceased vs. A.W. Chesterton, Inc., et al., asbestos           Eckert Company, Inc., et al., asbestos defendants
defendants including Sears, Roebuck and Co.                    including Sears, Roebuck and Co.
Ganz, Jeri v. Sears Protection Company; Sears,                 Gensler, Martha and Diane, Individually and as
Roebuck and Co.                                                Personal Representative of the Estate of Daniel G.
Garcia, Onofre Sr. et al. vs. Kellogg-Brown & Root,            Gensler, deceased vs. Owens-Illinois Glass Co. et al.
Inc. et al. asbestos defendants including Sears,               asbestos defendants including Sears, Roebuck and




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Litigation                                                     Litigation
Co. (49 named defendants)                                      Co.
George, Richard A. vs. A.W. Chesterton, Inc., et al.           Girdis, Joyce, Special Administrator of the Estate of
asbestos defendants including Sears, Roebuck and               James J. Girdis, Deceased vs. A.W. Chesterton
Co. (48 named defendants)                                      Company, et al., asbestos defendants including Sears,
George, Roy and Deanna George vs. A.O. Smith                   Roebuck and Co.
Corporation, et al., asbestos defendants including             Gissendanner, Minnie, as Personal Representative of
Sears, Roebuck and Co.                                         the Estate of Wash Gissendanner, and Minnie
George, Stephen and Dina et al. v. Greystone                   Gissendanner Individually vs. Akzo Nobel Paints
Nevada, LLC, et al v. Brandon Iron, Inc., et al.               LLC., et al, asbestos defendants including Sears,
[SHIP]                                                         Roebuck and Co. (a subsidiary of Sears Holdings
Gerley, Jr.; Victor as Personal Rep. to the Estate of          Corporation)
Victor Gerley, Sr., vs. A.W. Chesterton Company, et            Given, Karen E., Individually and as Executor to the
al., asbestos defendants including Sears, Roebuck and          Estate of James Given, Deceased vs. 84 Lumber
Co.                                                            Company, et al., asbestos defendants including Sears,
Germain, Fred and Yvonne Germain vs. Aerco                     Roebuck and Co.
International, Inc., et al., asbestos defendants               Gjorgjeski, Ruzica, Individually and as Special
including Sears, Roebuck and Co.                               Administrator of the Estate of Petar Vidojevski,
Gertz, Douglas Vs. A.W. Chesterton Co., et al.,                Deceased vs. 3M Company, et al., asbestos
asbestos defendants including Sears, Roebuck and               defendants including Sears, Roebuck and Co.
Co., (109 named defendants)                                    Gladu, Donald E. and Patricia Gladu vs. A.W.
Gerwig, Robert E. and Rita S. Gerwig, his wife vs.             Chesterton Company, et al., asbestos defendants
Union Carbide Corporation, et al., asbestos                    including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Glantz, Eve, Administratrix of the Estate of Joyce
Getz, Michael C. vs. CBS Corporation, et al.,                  Ann Thompson, Deceased, vs. BorgWarner Morse
asbestos defendants including Sears, Roebuck and               Tec, Inc., et al., asbestos defendants including Sears,
Co.                                                            Roebuck and Co.
GGF, LLC v. Sears, Roebuck and Co.; and Does 1                 Glass, Gretchen Marie v. Sears Roebuck
through 10, inclusive
Giacomini, Dominic and Patricia v. Sears Roebuck               Glaude, Gilles and Claudette Glaude vs 3M
dba Sears Holding Corporation                                  Company, et al., asbestos defendants including Sears,
Gibson, Cassandra vs. Advance Auto Parts, Inc., et             Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and          Glover, Emma, Individually and as Special
Co.                                                            Administrator of the Estate of Clarence Raymond
Gidley, Bobby vs Sears et al                                   Glover, Deceased vs. A.O. Smith Corporation, et al.,
                                                               asbestos defendants including Sears, Roebuck and
Gier, Jerome vs. Honeywell International, Inc. et al.,         Co.
asbestos defendants including Sears, Roebuck and               Godsey, Mary Ann, Individually and as Executrix of
Co.                                                            the Estate of William Godsey vs. Sears, Roebuck and
Gilley, Lydia I., Personal Representative of the Estate        Co., et al., asbestos defendants
of Thurman H. Gilley, et al, vs. Union Carbide                 Golden, Ronald B. and Carol W. Golden, his wife vs.
Corporation, et al., asbestos defendants including             Union Carbide Corporation, et al., asbestos
Sears, Roebuck and Co.                                         defendants including Sears, Roebuck and Co.
Ginetto, Charles v. Sears Home Improvement                     Goldsmith, Marshall B. and Cheryl A. vs. Quigley
Products, Inc.                                                 Company, Inc., et al. asbestos defendants including
Ginnis, Eleftgrios Vs. A.W. Chesterton Co., et al.,            Sears, Reobuck and Co. (46 named defendants)
asbestos defendants including Sears, Roebuck and               Gold Value International Textile, Inc. dba Fiesta
Co., (109 named defendants)                                    Fabric v. AX Paris USA, LLC; Kmart Corporation;
Giovanni, Janice and Jim Giovanni, her husband vs.             and Does 1-10
Advance Auto Parts, Inc., et al., asbestos defendants          Golie, James J. and Alma M. Golie, h/w vs. A.W.
including Sears, Roebuck and Co.                               Chesterton Company, et al., asbestos defendants
Girard, Pauline, Individually and as Special                   including Sears, Roebuck and Co.
Administrator for the Estate of George J. Girard, Jr.          Goll, Barbara, Executrix of the Estate of Louis T.
deceased vs. Air & Liquid Systems Corp., et al.,               Goll, III, deceased and widow in her own right vs.
asbestos defendants including Sears, Roebuck and               Ace Hardware Corp., et al., asbestos defendants




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Litigation                                                    Litigation
including Sears. Roebuck and Co.                              and Sears Holdings Management Corporation
Gomez, Karen, Individually and as Special                     Grams, John vs. Quigley Company, Inc., et al.
Administrator of the Estate of Eleanor Ray, Deceased          asbestos defendants including Sears, Roebuck and
vs. 84 Lumber, et al., asbestos defendants including          Co. (56 named defendants)
Sears, Roebuck and Co.                                        Granger, Melanie and Jeff Granger, her husband vs.
Gondar, Frank vs. A.O. Smith Water Products, et al.,          Ace Hardware Corporation, et al., asbestos
asbestos defendants including Sears, Roebuck and              defendants including Sears, Roebuck and Co.
Co.                                                           Granger, Terrence vs. Union Carbide Corporation, et
Gonzalez, Guillerma, Individually and as Executrix            al., asbestos defendants including Sears, Roebuck and
of the Estate of Ramon Gonzalez vs. Sears, Roebuck            Co.
and Co., et al., asbestos defendants                          Grant, Richard L. and Mary E. Grant vs. A.W.
Gonzalez Hernandez, Glorimar v. Sears Roebuck De              Chesterton Company, et al., asbestos defendants
PR, Inc                                                       including Sears, Roebuck and Co.
Gooden, James and Jane vs. Quigley Company, Inc.,             Grant, Willie and Genvive vs. 84 Lumber Company
et al. asbestos defendants including Sears, Roebuck           etc., et al., asbestos defendants including Sears,
and Co. (58 named defendants)                                 Roebuck and Co.
Goodrich, Howard Sr. and Myra vs. Quigley                     Grasso, Joseph A. vs. A.W. Chesterton, Inc., et al.
Company, Inc., et al. asbestos defendants including           asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co. (59 named defendants)                  Co. (54 named defendants)
Goolsby, David vs. John Crane-Houdaille, Inc., et al.,        Graul, Jr.; Albert J. and Charlotte Graul vs. Amchem
asbestos defendants including Sears, Roebuck and              Products, Inc., et al., asbestos defendants including
Co.                                                           Sears, Roebuck and Co.
Goralski, Martin W. vs John Crane-Houdaille, Inc., et         Gray, Willie Louis, et al. v. Minnesota Mining and
al. Asbestos defendants including Sears, Roebuck              Manufacturing Company, et al., asbestos defendants
and Co. [51 named defendants]                                 including Sears, Roebuck and Co. (81 named
Gordone, Ross H. and Shirley M. Gordon vs. John               defendants)
Crane-Houdaille, Inc., et al., asbestos defedants             Graziano, Vito and Gaetana v. Sears Smith-Haven
including Sears, Roebuck and Co.                              Mall #1364
Gordon, Milton Alan vs. Bird & Son, Inc., et al.,             Grecia, William v. Sears Holdings Corporation
asbestos defendants including Sears, Roebuck and
Co.                                                           Greene, Edward and Rita Greene, his wife vs.
Gordon, Noura v. Sears Home Improvement Products              Advance Auto Parts, Inc., et al., asbestos defendants
                                                              including Sears, Roebuck and Co.
Goslin, Robert vs. Honeywell International, Inc., et          Greene, Nina and Gerald v. Sears Protection
al., asbestos defendants including Sears, Roebuck and         Company, et al.
Co.                                                           Green, Leroy and Mabel L. vs. Owens-Illinois Glass
Gossage, James M., as Personal Representative of the          Co. et al. asbestos defendants including Sears,
Estate of William J. Gossage, Sr., James M. and               Reobuck and Co. (45 named defendants)
William J. Jr. Gossage as Surviving Sons of William           Greer, Jr.; Laurence Jerald vs. ABB, Inc., et al.,
J. Gossage, Sr. vs. Quigley Company, Inc., et al.             asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Reobuck and              Co.
Co.                                                           Gren, Jan F. and Elizabeth E. Gren vs. Allied Signal,
Gough, Gerard A., Personal Representative of the              Inc., et al., asbestos defendants including Sears,
Estate of John E. Gough vs. John Crane-Houdaille,             Roebuck and Co.
Inc., et al., asbestos defendants including Sears,            Grieco, Miriam v. Rozay, Inc.; and Sears
Roebuck and Co.
Grady, Jeffery vs. Union Carbide Corporation, et al.,         Griffes, Beverly, Individually and as Special
asbestos defendants including Sears, Roebuck and              Administrator of the Estate of Cecil Edward Griffes,
Co.                                                           Deceased vs. AGCO Corporation, et al., asbestos
Graham, James F. and Sandra E. Graham vs. A.O.                defendants including Sears, Roebuck and Co.
Smith Corporation, et al., asbestos defendants                Griffin, Frances vs. Union Carbide Corporation, et
including Sears, Roebuck and Co.                              al., asbestos defendants including Sears, Roebuck and
Graham, Shawn v. RWTW, LLC; Kith Retail, LLC;                 Co.
New ERA Cap Co., Inc.; Amazon.com Services, Inc.,             Griffin, Herbert D. and Griffin, Frances G. vs
                                                              Quigley Company et al asbestos defendants including




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Litigation                                                   Litigation
Sears, Roebuck and Co. (47 named defendants)                 Hackworth, Bobby Lee vs Sears et al
Griffith, Sherwood S. vs. American Standard, Inc., et        Hadley, Dallas vs. A.W. Chesterton Company, et al.,
al. asbestos defendants including Sears, Roebuck and         asbestos defendants including Sears, Roebuck and
Co. (34 named defendants)                                    Co.
Griffitts, Tommy vs. American Biltrite, et al.,              Hahner, Tracey, Personal Representative of the
asbestos defendants including Sears, Roebuck and             Estate of Harry M. Shelly, et al., vs. John Crane-
Co. (a Subsidiary of Sears Holdings Corporation)             Houdaille, Inc., et al., asbestos defendants including
Grindstaff, Albert v. Sears, Roebuck and Co.                 Sears, Roebuck and Co.
                                                             Hahn, Patton and Frank Purvis v. Sears Protection
Grissom, Lawrence E. vs. A.W. Chesterton                     Company
Company, et al., asbestos defendants including Sears,        Hahn, Rory and Linda Hahn vs. Allied Signal, Inc., et
Roebuck and Co.                                              al., asbestos defendants including Sears, Roebuck and
Grooms, Eugene v. Sears Home Improvement                     Co.
Products, Inc.                                               Haines, Philip C. and Elizabeth Haines, his wife vs.
Grosky, Bernard and Marilynn Grosky vs. A.O.                 John Crane-Houdaille, Inc., et al., asbestos
Smith Corporation, et al., asbestos defendants               defendants including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                             Hale, Mary vs. Armstrong International, Inc., et al.,
Grounds, Terry A. and Judy A. Grounds, his wife vs.          asbestos defendants including Sears, Roebuck and
20th Century Glove Corporation of Texas, et al.,             Co.
asbestos defendants including Sears, Roebuck and             Haley, Henry Aaron and Teresa Ann Haley vs.
Co.                                                          Daimler Trucks North America, et al., asbestos
Guerrero, Brenda, Individually and as Special                defendants including Sears, Roebuck and Co.
Administrator of the Estate of Stanley Dixon,                Halford, John and Mary vs. Quigley Company, Inc.,
Deceased vs. A.O. Smith Corporation, et al., asbestos        et al. asbestos defendants including Sears, Roebuck
defendants including Sears, Roebuck and Co.                  and Co. (53 named defendants)
Guerrero, San Juanita, Individually and as Executrix         Hall, Kelli D., as personal representative of the heirs-
of the Estate of Alejandro Najera vs. Sears, Roebuck         in-law and/or wrongful death beneficiaries of Gary
and Co., et al., asbestos defendants                         W. Hall vs Ace Hardware Corporation, et al.
Gurany, Kathleen, Individually and as Special                including Sears, Roebuck and Co. [110 named
Administrator of the Estate of William Gurany,               defendants]
Deceased vs. Advance Auto Parts, Inc., et al.,               Hall, Melanie Largin individually and as Exec. of the
asbestos defendants including Sears, Roebuck and             Estate of Paline Largin, Deceased and Melanie
Co.                                                          Largin Hall, Sterling Largin and Clara L. Largin
Gurkin, David B. and Elizabeth Gurkin vs. Adams              Aiono, Indiv. and as Surv. children of Pauline Largin,
Manufacturing Co., et al., asbestos defendants               Deceased vs. Hurcules Incorporated, et al. asbestos
including Sears, Roebuck and Co.                             Hall, Walter B. vs Sears et al
Gurr, Reed vs. 3M Company, et al., asbestos
defendants including Sears, Roebuck and Co.                  Hama, Joseph and Marie Hama, h/w vs. Borg Warner
Guthrie, Richard A. and Martha Guthrie, his wife vs.         Corporation, et al., asbestos defendants including
Borgwarner Morse Tec LLC, et al., asbestos                   Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                  Hamilton, Franklin vs. John Crane-Houdaille, Inc., et
Guzman, John, Individually and as Special                    al., asbestos defendants including Sears, Roebuck and
Administrator of the Estate of Joe Guzman, Deceased          Co.
vs. 84 Lumber, et al., asbestos defendants including         Hamilton, George Jr. vs. Owens-Illinois Glass Co., et
Sears, Roebuck and Co.                                       al. asbestos defendants including Sears, Roebuck and
Habelt, Sr.; Thomas E. and Barbara Habelt vs. A.W.           Co. (50 named defendants)
Chesterton Company, et al., asbestos defendants              Hamm, Norman G. and Jean vs. 20th Century Glove
including Sears, Roebuck and Co.                             Corporation of Texas et al. asbestos defendants
Haberkam, Bernard vs. John Crane-Houdaille, Inc., et         including Sears, Roebuck and Co. (108 named
al., asbestos defendants including Sears, Roebuck and        defendants)
Co.                                                          Hammonds, Sibyl as Executrix to the Estate of R.C.
Hackman, Robert E. and Mildred A. vs John Crane-             Hammonds and as Surviving Spouse vs. A.W.
Houdaille, Inc., et al. Asbestos defendants including        Chesterton Company, et al., asbestos defendants
Sears, Roebuck and Co. [50 named defendants]                 including Sears, Roebuck and Co.




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Litigation                                                   Litigation
Hamshey, John F. vs. Allied Signal, Inc., et al.,            Harsch, Carla A. and Pamela Bonkowski, Co-
asbestos defendants including Sears, Roebuck and             Executrixes of the Estate of Stephen Yorden,
Co.                                                          Deceased vs. Honeywell International, Inc., et al.,
Hanabarger, Dale vs. A.W. Chesterton, Inc., et al.,          asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and             Co.
Co.                                                          Hartl, Caryn and Tom Hartl, her husband vs. Ace
Hand, Robert v. Stephen Sitley (General Counsel              Hardware Corporation, et al., asbestos defendants
Sears Protection Company)                                    including Sears, Roebuck and Co.
Hanson, Richard and Janice Hanson vs. Aerco                  Harvey, Jonathan et al. v. Sears, Roebuck and Co., et
International, Inc., et al., asbestos defendants             al.
including Sears, Roebuck and Co.                             Harvey, Joseph and Norine vs John Crane-Houdaille,
Harden, Connie, Individually and as Special                  Inc., et al including Sears, Roebuck and Co. [65
Administrator of the Estate of Eldon Harden,                 named defendants]
Deceased vs. A.O. Smith Corporation, et al., asbestos        Harvey, Jr.; Charles and Deborah Harvey, his wife
defendants including Sears, Roebuck and Co.                  vs. John Crane-Houdaille, Inc., et al., asbestos
Harden, Robert and Jeanette v. The Corporation Trust         defendants including Sears, Roebuck and Co.
Company, registered agent for Sears, Roebuck & Co.           Hasson, William and Hasson, Stephanie vs. A.W.
Hardin, Billy R. and Frances Hardin, his wife vs.            Chesterton Company, et al., asbestos defendants
Union Carbide Corporation, et al., asbestos                  including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                  Hatchett, Milton vs. A.W. Chesterton, Inc., et al.
Harnett, William and Harnett, Mary Vs. A.W.                  asbestos defendants including Sears, Roebuck and
Chesterton Co., et al., asbestos defendants including        Co. (70 named defendants)
Sears, Roebuck and Co., (109 named defendants)               Hatfield, Richard vs. Union Carbide Corporation, et
Harney, Clarence and Janet Harney vs. 3M                     al., asbestos defendants including Sears, Roebuck and
Company, et al., asbestos defendants including Sears,        Co.
Roebuck and Co.                                              Hausman, Mildred D., Individually and as Special
Harpine, John F. and Diane vs. Quigley Company,              Administrator of the Estate of Ira W. Hausman vs.
Inc., et al. asbestos defendants including Sears,            Advance Auto Parts, Inc., et al., asbestos defendants
Roebuck and Co. (53 named defendants)                        including Sears, Roebuck and Co.
Harp, Marva, Individually and as Surviving Spouse,           Hawkins, Donald and Delores Hawkins, his wife vs.
et al., Heirs of the late Charles Harp vs. A.W.              84 Lumber Company, et al., asbestos defendants
Chesterton Company, et al., asbestos defendants              including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                             Hawkins, James C. and Jo Ann Chase vs. Quigley
Harp, Mary, Individually and as Special                      Company, Inc., et al. asbestos defendants including
Administrator of the Estate of Vernon Harp, Dec., vs.        Sears, Roebuck and Co. (46 named defendants)
84 Lumber, et al., asbestos defendants including             Hawkins, Kenneth S. v. Honeywell International Inc.
Sears, Roebuck and Co.                                       f/k/a/ Allied Signal Inc. et al. including Sears,
Harriman, Bruce and Gene vs. 84 Lumber, et al.,              Roebuck and Co. (29 named defendants)
asbestos defendants including Sears, Roebuck and             Hayden, Joseph R. and Catherine D. vs John Crane-
Co.                                                          Houdaille, Inc., et al. including Sears, Roebuck and
Harrington, Beverly, Individually and as Executrix of        Co. [53 named defendants]
the Estate of James Anderson vs. Sears, Roebuck and          Hayes, Richard W. vs. A.O. Smith Corp., et al.,
Co., et al., asbestos defendants                             asbestos defendants including Sears, Roebuck and
Harris, James W. Jr. vs. Owens-Illinois Glass Co. et         Co.
al. asbestos defendants including Sears, Roebuck and         Hays, Jeffrey, Individually and as Successor in
Co. (69 named defendants).                                   Interest to Gilbert Hays, Deceased, et al., vs.
Harris, Jr.; Ralph M. vs. A.W. Chesterton Company,           Certainteed Corporation, et al., asbestos defendants
et al., asbestos defendants including Sears, Roebuck         including Sears, Roebuck and Co.
and Co.                                                      Hazinakis, Robert vs. A.W. Chesterton Co., et al.,
Harrison, Carl and Ella v. Sears                             asbestos defendants including Sears, Roebuck and
                                                             Co., (109 named defendants)
Harrison, Herbert and Harrison, Sandra W. his wife           Heard, Janice vs. BMW Constructors, Inc., et al.,
v. John Crane-Houdaille, Inc. et al. including Sears,        asbestos defendants including Sears, Roebuck and
Roebuck and Co. (52 named defendants)                        Co.




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Litigation                                                      Litigation
Heberling, Laurine and John Heberling, her husband              Henry, Joan vs. Union Carbide Corporation, et al.,
vs. 84 Lumber Company, et al., asbestos defendants              asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                                Co.
Hefel, Eldon and Janet Hefel, his wife vs. A.W.                 Hensen, Anna A. and Frederick Hensen, her husband
Chesterton Company, et al., asbestos defendants                 vs. John Crane-Houdaille, Inc., et al., asbestos
including Sears, Roebuck and Co.                                defendants including Sears, Roebuck and Co.
Heffelfinger, Robert B. vs. Allied Signal, Inc., et al.,        Henthorn, Charles R. Jr. vs. A.O. Smith Corporation
asbestos defendants including Sears, Roebuck and                et al. asbestos defendants including Sears, Roebuck
Co.                                                             and Co. (103 named defendants)
Heidari, Hamid v. Sears, Roebuck and Co.                        Herget, Sr.; Milton and Nellie A. Herget, his wife vs.
                                                                John Crane-Houdaille, Inc., et al., asbestos
Hein, James vs. Advance Auto Supply, et al.,                    defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and                Herhold, Thomas R. and Victoria Herhold vs. AII
Co.                                                             Acquisition Corp., et al., asbestos defendants
Heiple, Russell, Individually and as Special                    including Sears, Roebuck and Co.
Administrator of the Estate of Charles Heiple, Jr.,             Herman, Lawrence E. and Maurine Herman,
Deceased vs. Agco Corporation, et al., asbestos                 Husband and Wife vs. B.F. Goodrich, et al., asbestos
defendants including Sears, Roebuck and Co.                     defendants including Sears Holdings Corp.
Held, Anthony E. v. CCA Industries Inc., et al                  Individually and as successer in interest to Sears
[Sears] - Prop 65                                               Roebuck and Company
Held Ph.D. P.E., Anthony E. v. Sky High                         Hernandez Cardona, Celida v. K-Mart Corporation
International, LLC; Kmart Corporation; et al.
Helfrich, Don vs. A.W. Chesterton, Inc., et al.,                Hernandez, Raul Estrada and Modesta Alverez, his
asbestos defendants including Sears, Roebuck and                wife vs. A.W. Chesterton Company, et al., asbestos
Co.                                                             defendants including Sears, Roebuck and Co.
Hemling, Joanne L., Personal Representative for the             Hershey, William, Individually and as Special
Estate of Harry B. Frost, Jr., vs. John Crane-                  Administrator of the Estate of Peggy Hershey,
Houdaille, Inc., et al., asbestos defendants including          Deceased vs. Ace Hardware Corporation, et al.,
Sears, Roebuck and Co.                                          asbestos defendants including Sears, Roebuck and
Hemphill, Milton and Marsha Hemphill, his wife vs.              Co.
84 Lumber Company, et al., asbestos defendants                  Hess, George J.and Marie E. Hess, his wife vs. John
including Sears, Roebuck and Co.                                Crane-Houdaille, Inc., et al., abestos defendants
Hendershot, Jr.; Walter, as Executor of the Estate of           including Sears, Roebuck and Co.
Walter A. Hendershot, Sr., vs. A.O. Smith Water                 Hester, Clyde and Gloria Jane Hester vs. A.O. Smith
Products, et al., asbestos defendants including Sears,          Corporation, et al., asbestos defendants including
Roebuck and Co.                                                 Sears, Roebuck and Co.
Henderson-Adams, Sherrie v. Sears, Roebuck and                  Hibbeler, Kenneth vs. 84 Lumber Company, et al.,
Company                                                         asbestos defendants including Sears, Roebuck and
Hendry, Barbara and William vs. A.W. Chesteron                  Co. (a subsidiary of Sears Holdings Corporation)
Company, et al., asbestos defendants including Sears,           Hicks, Charles R. Jr. and Earline vs. Quigley
Roebuck and Co.                                                 Company, Inc., et al. asbestos defendants including
Hennessy, William vs. Owens Illinois, Inc., et al.,             Sears, Roebuck and Co. (45 named defendants)
asbestos defendants including Sears, Roebuck and                Hilliman, Lawrence, Individually and as Successor-
Co.                                                             in-Interest to Harold Dean Hilliman vs. Asbestos
Henn, William vs. A.O. Smith Water Products Co., et             Corporation, Ltd., et al., asbestos defendants
al., asbestos defendants including Sears, Roebuck and           including Sears, Roebuck and Co.
Co.                                                             Hillis, David vs. Archer Daniels Midland Company,
Henriquez, Patricia, Individually and as Special                et al., asbestos defendants including Sears, Roebuck
Administrator of the Estate of Helen Schwartz,                  and Co.
Deceased vs. 84 Lumber Company, et al., asbestos                Hill, Junior C. and Olga Hill vs. 3M Company, et al.,
defendants including Sears, Roebuck and Co.                     asbestos defendants including Sears, Roebuck and
Henry, Ervin L. and Joan B. Henry, his wife vs. John            Co.
Crane-Houdaille, Inc., et al., asbestos defendants              Hinton, Edith, Individually and as Personal
including Sears, Roebuck and Co.                                Representative of the Estate of Albert Hinton, Jr. and
                                                                Edith Hinton, as Surviving Spouse of Albert Hinton,




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Litigation                                                    Litigation
Jr. vs John Crane-Houdaille, Inc., et al. including           Holmes, Fred J. vs. Union Carbide Corporation, et
Sears, Roebuck and Co. [53 named defendants]                  al., asbestos defendants including Sears, Roebuck and
Hinzmann, Judith, Individually and as Personal                Co.
Representative of the Estate of Helmut Hinzmann,              Holstege, Arlyn G. and Lois Holstege, his wife vs.
Deceased vs. 3M Company, et al., asbestos                     Amway Corporation, et al., asbestos defendants
defendants including Sears, Roebuck and Co.                   including Sears, Roebuck and Co.
Hireright Bankruptcy Proceedings                              Holt, Artis E. and Sherry vs. Quigley Company, Inc.,
                                                              et al. asbestos defendants including Sears, Roebuck
Hite, Michael and Jo Ann Hite, his wife vs. John              and Co. (63 named defendants)
Crane-Houdaille, Inc., et al., asbestos defendants            Holthaus, Robert and Betty Holthaus, his wife vs.
including Sears, Roebuck and Co.                              Union Carbide Corporation, et al., asbestos
Hockman, Cletus vs. Owens-Illinois Glass Co., et al           defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Holt, Jerry v. Sears
Co. (50 named defendants)
Hodkinson, Edwin J. and Jacqueline L. Hodkinson               Holt, Richard and Kathleen vs. John Crane-
vs. American Biltrite Co., et al., asbestos defendants        Houdaille, Inc., et al., asbestos defendants including
including Sears, Roebuck and Co. (a subsidiary of             Sears, Roebuck and Co.
Sears Holdings Corporation)                                   Holt, Sharon K., Individually and as Special
Hoeffler, Martin L. Jr. and Hoeffler, Judy A. vs.             Administrator of the Heirs and Estate of Arnold Holt,
Quigley Company, Inc., et al asbestos defendants              Jr., Deceased vs. Alfa Laval, Inc., et al., asbestos
including Sears, Roebuck and Co. (47 named                    defendants including Sears, Roebuck and Co.
defendants)                                                   Homelife Bankruptcy Escrow Claim
Hoepker, Tom vs. A.W. Chesterton, Inc., et al.,
asbestos defendants including Sears, Roebuck and              Home Orthopedics Corp. v. Rikco International, LLC
Co.                                                           et al. [Kmart]
Hoffman, Jackson and Ruth Hoffman, his wife vs.               Homer, Tammy Individually and as Personal
Union Carbide Corporation, et al, asbestos                    Representative of The Estate of Coy Jean Traylor
defendants including Sears, Roebuck and Co.                   deceased et al. vs. Georgia Pacific Corporation et al.
Hoffman, Marie J. and John Hoffman, her husband               asbestos defendants including Sears, Roebuck and
vs. Union Carbide Corporation, et al., asbestos               Co. (17 named defendants)
defendants including Sears, Roebuck and Co.                   Hooper, Marclon and Jerry L. Sr. v. Sears Protection
Hogan, Jean vs. 84 Lumber, et al., asbestos                   Company
defendants including Sears, Roebuck and Co.                   Hopkins, James F. Jr. vs. Quigley Company, Inc., et
Holbrook, Mary Ellen and Brian R. Waters as Co-               al. asbestos defendants including Sears, Reobuck and
executors for the Estate of Elizabeth M. Waters vs.           Co. (47 named defendants)
ABB, Inc., et al., asbestos defendants including              Hoppes, Robert and Denise Hoppes vs. Asbestos
Sears, Roebuck and Co.                                        Corporation Ltd., et al., asbestos defendants
Holguin, Carlos R. v. Sears Roebuck de Puerto Rico,           including Sears, Roebuck and Co. (a subsidiary of
Inc.                                                          Sears Holdings Corporation)
Hollandsworth, William and Helen Hollandsworth,               Horn, Dennis vs. John Crane-Houdaille, Inc., et al.,
his wife, vs. John Crane-Houdaille, Inc., et al.,             asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and              Co.
Co.                                                           Horstman, Gerald vs. Allis-Chalmers Corporation
Holliday, John W. v. Sears Roebuck and Co.; Vivian            Products Liability Trust, et al., asbestos defendants
Imperial                                                      including Sears, Roebuck and Co.
Holliday, Louis and Thomasina vs. Quigley                     Horton, Paula and David Horton vs. A.O. Smith
Company, Inc., et al. asbestos defendants including           Corporation, et al., asbestos defendants including
Sears, Roebuck and Co. (46 named defendants)                  Sears, Roebuck and Co.
Hollingshead, Jon L. vs. A.W. Chesterton Company,             Houser, Larry and Gail Houser, his wife vs. John
et al., asbestos defendants including Sears, Roebuck          Crane-Houdaille, Inc., et al., asbestos defendants
and Co.                                                       including Sears, Roebuck and Co.
Holman, Jr.; Hubert L., et al., Individually and on           Housh, Lenora, Individually and as Special
Behalf of Audrey Holman vs. A.W. Chesterton                   Administrator of the Estate of William Housh, Jr.,
Company, et al., asbestos defendants including Sears,         Deceased vs. A.W. Chesterton, Inc., et al., asbestos
Roebuck and Co.                                               defendants including Sears, Roebuck and Co.




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Litigation                                                   Litigation
Hovan, Mary Ann as Executrix for the Estate of Irma          Ibricevic, Smail and Sonja Ibricevic vs. A.O. Smith
Strelko, deceased vs. Asbestos Corporation, Ltd., et         Water Products Co., et al., asbestos defendants
al., asbestos defendants including Sears, Roebuck and        including Sears, Roebuck and Co.
Co.                                                          Ifill, Irwin vs Bergen tile & Linoleum Co., et al
Howard, Manuel vs. A.W. Chesterton, Inc., et al.,            Including Sears, Roebuck and Company (16 named
asbestos defendants including Sears, Roebuck and             defendants)
Co.                                                          Immenschuh, Carl and Vallene Immenschuh vs.
Howe, John and Charles D. McCallon et al. v.                 A.W. Chesterton Company, et al., asbestos
Samsung Electronics America, Inc., et al. [SHMC]             defendants including Sears, Roebuck and Co.,
Howe, Richard and Jean Howe vs. A.W. Chesterton              individually as as successor-in-interest to Western
Company, et al., asbestos defendants including Sears,        Auto Supply Company
Roebuck and Co.                                              Ingle, Barbara, Personal Representative of the Estate
Howey, Ross C and Patricia vs American Standard,             of Preston Ingle, et al., vs. John Crane-Houdaille,
et al (asbestos dfts, including Sears, Roebuck and           Inc., et al., asbestos defendants including Sears,
Co.)                                                         Roebuck and Co.
Hubbard, Arnest G. vs. A.W. Chesterton, Inc., et al.,        Ingrassia, Lucien and Constance Ingrassia vs. A.O.
asbestos defendants including Sears, Roebuck and             Smith Water Products, et al., asbestos defendants
Co.                                                          including Sears, Roebuck and Co.
Hubbard, Donald S. and Sandra Hubbard, his wife vs.          Inman, Susan, Individually and as Special
Union Carbide Corporation, et al., asbestos                  Administrator of the Estate of Richard Inman,
defendants including Sears, Roebuck and Co.                  Deceased vs. A.W. Chesterton, Inc., et al., asbestos
Huey, Crystal, Individually and as Special                   defendants including Sears, Roebuck and Co.
Administrator of the Estate of John T. Huey,                 In Re American Express Anti-Sterring rules Antitrust
Deceased vs. 4520 Corp. Inc., et al., asbestos               Litigation
defendants including Sears, Roebuck and Co.                  In Re: Clicka Holdings, Inc.; Activeon LLC; and
Huff, Geraldine, as the Special Administrator of the         Actieon, Inc., f/k/a Oncorp, US v. Consumer
Estate of Kathryn Cavender, Deceased vs. 84                  Electronics
Lumber, et al., asbestos defendants including Sears,         In re: Optical Disk Drive Products Antitrust
Roebuck and Co.                                              Litigation, MDL No. 2143 (Hitachi and LG
Huff, Glen and Lena Huff vs. A.O. Smith                      Electronics)
Corporation, et al., asbestos defendants including           In Re Payment Card Interchange Fee and Merchant
Sears, Roebuck and Co.                                       Discount Antitrust Litigation
Huff, Roger vs.4520 Corp., Inc., et al., asbestos            In re: Quanta Resources Site
defendants including Sears, Roebuck and Co.
Hughes, Sr.; Andrew J. and Marian Hughes, his wife           In the Matter of Certain Carburetors and Products
vs. Union Carbide Corporation, et al., asbestos              Containing Such Carburetors - Walbro, LLC v. Sears,
defendants including Sears, Roebuck and Co.                  Roebuck and Co.
Hunt, Gary L. vs. A.O. Smith Corporation, et al.,            Investors Bank v. RIO Mall, et. al. Kmart 9133
asbestos defendants including Sears, Roebuck and
                                                             Ippoliti, Mark, as Personal Representative of the
Co.
                                                             Estate of Nancy Demarco, deceased vs. Advance
Hurd, Ronald and Susan vs. 4520 Corp, Inc., et al.,          Auto Parts, Inc., et al, asbestos defendants including
including Sears, Roebuck and Co.
                                                             Sears, Roebuck and Co.
Hutchison, David H. vs. Owens Illinois, Inc., et al.,
                                                             Jackson, Arthur H. and Jackson, Alexandra, his wife
asbestos defendants including Sears, Roebuck and
                                                             v. John Crane-Houdaille, Inc. et al. including Sears,
Co.
                                                             Roebuck and Co. (52 named defendants)
Huth, Jr.; John and Janet Huth, his wife vs. Union           Jackson, George L. and Elaine C. Jackson vs.
Carbide Corporation, et al., asbestos defendants             American Standard, Inc., et al., asbestos defendants
including Sears, Roebuck and Co.
                                                             including Sears, Roebuck and Co.
Hutson, Charles Edward and Ardyce E. Hutson vs.
                                                             Jackson, Joseph and Rose Jackson vs. Air and Liquid
A.W. Chesterton, et al., asbestos defendants
                                                             Systems Corp., et al., asbestos defendants including
including Sears, Roebuck and Co.
                                                             Sears, Roebuck and Co.
Iacovone, Anthony and Sharon Iacovone vs. Pneumo             Jackson, Michael and Mabel vs. Quigley Company
Abex Corporation, et al., asbestos defendants                Inc., et al. asbestos defendants including Sears,
including Sears, Roebuck and Co.
                                                             Roebuck and Co. (55 named defendants)




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Litigation                                                       Litigation
Jackson, Robert L. vs. Union Carbide Corporation, et             Jeffries, Ronald vs. John Crane-Houdaille, Inc., et al.,
al., asbestos defendants including Sears, Roebuck and            asbestos defendants including Sears, Roebuck and
Co.                                                              Co.
Jackson, Robert vs. 84 Lumber Company, et al.,                   Jenkins, Leonard N. vs. John Crane-Houdaille, Inc.,
asbestos defendants inclding Sears, Roebuck and Co.              et al., asbestos defendants including Sears, Roebuck
(a subsidiary of Sears Holdings Corporation)                     and Co.
Jackson, Rudy and Sally Jackson vs. Able Industries,             Jenney, Janice, Individually and as Special
Inc., et al., asbestos defendants including Sears,               Administrator of the Estate of James Jenney, Jr.,
Roebuck and Co.                                                  Deceased vs. Aurora Pump Company, et al., asbestos
Jackson, Stephen vs. 3M Company, et al., asbestos                defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                      Jensen, Marcia, Individually and as the Special
Jacobs III, Herbert A. and Kimberly Jacobs vs.                   Administrator of the Estate of Arnold Jensen,
Owens Illinois, Inc., et al., asbestos defendants                Deceased vs. Ameron International Corporation, et
including Sears, Roebuck and Co.                                 al., asbestos defendants including Sears, Roebuck and
Jacobs, Lloyd and Betty Jacobs, h/w vs.                          Co.
ConocoPhillips Company, et al., asbestos defendants              Jeter, Jr.; Isiah and Joann Jeter vs. A.W. Chesterton,
including Sears, Roebuck and Co.                                 Inc., et al., asbestos defendants including Sears,
Jacoby, Brian Vs. A.W. Chesterton Co., et al.,                   Roebuck and Co.
asbestos defendants including Sears, Roebuck and                 Jewell, Charles and Mary vs. A.W. Chesterton Inc.,
Co., (109 named defendants)                                      et al. asbestos defendants including Sears, Roebuck
Jacquet, Stanley and Linda Jacquet, his wife vs. A.W.            and Co. (41 named defendants)
Chesterton Company, et al., asbestos defendants                  Jewett, Regina and Michael Jewett vs. Abex
including Sears, Roebuck and Co.                                 Corporation et al., asbestos defendants including
Jahn, Arthur and Mary vs. Georgia-Pacific                        Sears, Roebuck and Co.
corporation et al. asbestos defendants including                 Jimenez, Isabel Casiano v. Kmart Corporation
Sears, Roebuck and Co. (6 named defendants)
James, Jack and James, Sarah L. his wife vs. 20th                Jimmy Clyde Dunbar, et al. vs. Albion Kaolin
Century Glove Corporation of Texas, et al., asbestos             Company, et al., (asbestos defendants including
defendants including Sears, Roebuck and Co. (84                  Sears, Roebuck and Co.)
named defendants)                                                Jiu Zhou v. M. Brothers
James, Oliver and Mamie vs. Quigley Company, Inc.,
                                                                 JM Mills a/k/a Peterson/Puritan Inc. Superfund Site
et al. asbestos defendants including Sears, Roebuck
and Co. (47 named defendants)                                    Jobs, Audrey, Individually and as Special
James, Timmy v. Sears Home Improvement                           Administrator of the Estate of George Jobs, Deceased
                                                                 vs. AGCO Corporation, et al., asbestos defendants
James, Virginia, Individually and as Personal
                                                                 including Sears, Roebuck and Co.
Representative of the Estate of Thomas W. James, et
                                                                 Jockers, David W., Executor of the Estate of Vivian
al., vs. Union Carbide Corporation, et al., asbestos
                                                                 M. Jockers, et al., vs. Alcoa Inc., et al., asbestos
defendants including Sears, Roebuck and Co.
                                                                 defendants including Sears, Roebuck and Co.
Janke, Paul E. Vs. A.W. Chesterton Co., et al.,                  Johns, Antionette, Individually and as Personal
asbestos defendants including Sears, Roebuck and                 Representative of the Estate of Robert L. Johns, Jr.
Co., (109 named defendants)
                                                                 and Antionette Johns, as Surviving Spouse of Robert
Jansen, Katherine, Individually and as Special
                                                                 L. Johns Jr. vs. John Crane-Houdaille, Inc., et al.
Administrator of the Estate of Matthew Jansen,
                                                                 asbestos defendants including Sears, Roebuck and C
Deceased vs. A.O. Smith Corporation, et al., asbestos
                                                                 Johnson, Bruce v. Sears Auto Center - Store #2626
defendants including Sears, Roebuck and Co.
Jarrells, Jr.; Leslie and Lois Jarrells vs. Arvinmeritor,        Johnson, Bruce vs. Union Carbide Corporation, et al.,
Inc., et al., asbestos defendants including Sears,               asbestos defendants including Sears, Roebuck and
Roebuck and Co. (a subsidiary of Sears Holdings                  Co.
Corporation)                                                     Johnson, Charles S. and Johnson, Jessie M. his wife
Jaycox, Nancy A., Individually and as Personal                   v. John Crane-Houdaille, Inc. et al. including Sears,
Representative of the Estate of Edward F. Jaycox, et             Roebuck and Co. (52 named defendants)
al., vs. John Crane-Houdaille, Inc., et al., asbestos            Johnson, David C. and Leola vs. Owens-Illinois
defendants including Sears, Roebuck and Co.                      Glass Co., et al. asbestos defendants including Sears,
                                                                 Roebuck and Co. (49 named defendants)




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Litigation                                                    Litigation
Johnson, Debbie, Individually and as Executrix of the         Jones, Deborah, Special Administrator of the Estate
Estate of Lena Haynes vs. Sears, Roebuck and Co., et          of Essie M. Morris, Deceased vs. A.W. Chesterton
al., asbestos defendants                                      Company, et al., asbestos defendants including Sears,
Johnson, Debra, as Executrix of the Estate of                 Roebuck and Co.
Raymond Johnson, Jr., and as Surviving Spouse vs.             Jones, Donna M., Personal Representative of the
3M Company, et al., asbestos defendants including             Estate of Steve G. Jones, et al., vs. John Crane-
Sears, Roebuck and Co.                                        Houdaille, Inc., et al., asbestos defendants including
Johnson, Emma Pearl, as Executive of the Est. of Joe          Sears, Roebuck and Co.
Louis Johnson, dec., vs. A.O. Smith Water Products,           Jones, Gregory B., Individually and as Administrator
et al., asbestos defendants including Sears, Roebuck          Ad Litem of the Estate of Rena Jones, Deceased vs.
and Co.                                                       A.W. Chesterton, Inc., et al., asbestos defendants
Johnson, Essie v. Sears Holding Corp.; Sears,                 including Sears, Roebuck and Co.
Roebuck and Co.; Sears Home Improvement                       Jones, Justin L. and Christine L. Jones v. Sears
Products, Inc.; and Sears Protection Company                  Authorized Hometown Stores, LLC and Sears,
Johnson, John B. and Sandra K. Johnson vs. A.O.               Roebuck and Co.
Smith Corporation, et al., asbestos defendants                Jones-Phillips, Sheryl v. Sears Home Improvement
including Sears, Roebuck and Co.                              Products, Inc., et al.
Johnson, Monica vs. Quigley Company, Inc., et al.             Jones, Roberta Individually and as Personal
asbestos defendants including Sears, Roebuck and              Representative of the Estate of Patrick Jones ,
Co. (55 named defendants)                                     Deceased et al. vs. Owens-Illinois Glass Co., et al.
Johnson, Paul H., Executor of the Estate of Joseph            asbestos defendants including Sears, Reobuck and
Cartagena vs. A.W. Chesterton Company, et al.,                Co. (45 named defendants)
asbestos defendants including Sears, Roebuck and              Jones, Robert E. and Vernie Jones, his wife vs. Union
Co.                                                           Carbide Corporation, et al., asbestos defendants
Johnson, Richard N. vs. A.W. Chesterton Company,              including Sears, Roebuck and Co.
et. al., asbestos defendants including Sears, Roebuck         Jones, Stanley vs. Allied Signal, Inc., et al., asbestos
and Co.                                                       defendants including Sears, Roebuck and Co.
Johnson, Robert K. and Carolyn S. Johnson vs. 3M              Jones, Steve G. and Donna M. vs. Quigley Company,
Company, et al., asbestos defendants including Sears,         Inc., et al. asbestos defendants including Sears,
Roebuck and Co.                                               Roebuck and Co. (44 named defendants)
Johnson, Robert W. and Kimberly L. Johnson, his               Jones, William and Louise vs. Quigley Company,
wife vs. Union Carbide Corporation, et al., asbestos          Inc., et al. asbestos defendants including Sears,
defendants including Sears, Roebuck and Co.                   Reobuck and Co. (45 named defendants)
Johnson, Thomas v Sears Holding, LLC                          Jordan, Keith and Joyce Jordan, his wife vs. A.O.
                                                              Smith Corporation, et al., asbestos defendants
Johnson, Timothy and Darryl Moore, et al. v. Diakon           including Sears, Roebuck and Co.
Logistics, et al. [SRC]                                       JPMCC 2003-ML1 Green Bay Retail, LLC v. Kmart
Johnson, Wilfred C. and Beverly vs. Agco                      Corporation
Corporation., et al., asbestos defendants including           Judgement Lien Recovery - Kmart
Sears, Roebuck and Co.
Johnson, Yolanda, Individually and as Special                 Judgment Lien Recovery
Administrator of the Estate of Patricia Pando,
Deceased vs. Alsco Inc., et al., asbestos defendants          Jung, Rolf vs. A.O. Smith Corporation et al. asbestos
including Sears, Roebuck and Co.                              defendants including Sears, Roebuck and Co. (103
Johnston, Kenneth and Rose Johnston vs. Akzo                  named defendants)
Nobel Paints, LLC, et al., asbestos defendants                Kachel, Glenn J. and Mary Beth Kachel, h/w vs.
including Sears, Roebuck and Co.                              Honeywell International, Inc., et al., asbestos
Johnston, Richard and Norma Johnston vs. Ace                  defendants including Sears, Roebuck and Co.
Hardware, et al., asbestos defendants including Sears,        Kallenberg, Barry W. v. Sears Holdings Corp aka
Roebuck and Co.                                               Sears Brands, LLC
John Urbanski Expungement                                     Kane, Joseph P. and Donna M. Kane, h/w vs. 20th
                                                              Century Glove Corporation of Texas, et al., asbestos
Jonasson, Charles P. and Anna M. vs. John Crane-              defendants including Sears Holdings Corporation
Houdaille, Inc., et al. asbestos defendants including         Kanellakis, Emmanuel vs. Ace Hardware
Sears, Roebuck and Co. (53 named defendants)                  Corporation, et al., asbestos defendants including




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Litigation                                                    Litigation
Sears, Roebuck and Co. (a subsidiary of Sears                 Kenneth McKinney LPA Sears 1094
Holdings Corporation)
Kane, Thomas vs. A.W. Chesterton, Inc., et al.,               Keppen, Jr.; Clifford C. vs. ABB Lummus Global
asbestos defendants including Sears, Roebuck and              Inc., et al., asbestos defendants including Sears,
Co.                                                           Roebuck and Co.
Kaplan, Samuel I. v. Sears                                    Kernan, Gay, Special Administrator of the Estate of
                                                              Arnold Krafft, Deceased vs. Rapid American
Kappers, Cornelius and Dorothy Kappers vs. 3M                 Corporation, et al., asbestos defendants including
Company, et al., asbestos defendants including Sears,         Sears, Roebuck and Co.
Roebuck and Co.                                               Kerner, Sr.; Robert vs. Union Carbide Corporation, et
Kappos, Halambos Vs. A.W. Chesterton Co., et al.,             al., asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and              Co.
Co., (109 named defendants)                                   Kerns, Carolyn vs. 84 Lumber Company, et al.,
Kaproth, Mary and Carol Michalke as Co-Personal               asbestos defendants including Sears, Roebuck and
Representatives of the Estate of John A. Svihel vs. 84        Co. (a subsidiary of Sears Holdings Corporation)
Lumber Company, et al., asbestos defendants                   Keur, Lacee and Kevin Keur vs. AII Acquisitions,
including Sears, Roebuck and Co.                              LLC, et al., asbestos defendants including Sears,
Karpinski, Nora vs. A.O. Smith Water Products Co.,            Roebuck and Co.
et al., asbestos defendants including Sears, Roebuck          Khamvongsa, Dawn, Administratrix of the Estate of
and Co.                                                       Edward Plank vs. Allied Signal, Inc., et al., asbestos
Kathopoulis, Sakellarios and Kalliopi vs. Allied              defendants including Sears, Roebuck and Co.
Signal, Inc., et al., asbestos defendants including           Khan, Faisal et al. v. Sears, Roebuck and Co.
Sears, Roebuck and Co.
Katsafanas, George vs. John Crane-Houdaille, Inc., et         Kier, Anne and William v. Sears Holdings
al., asbestos defendants including Sears, Roebuck and         Corporation
Co.                                                           Killeen, Michael G., Individually and as Personal
Kauffman, Sr.; Richard W. vs. John Crane-Houdaille,           Representative to the Estate of Michael F. Killeen vs.
Inc., et al., asbestos defendants including Sears,            Arvinmeritor, Inc., et al., asbestos defendants
Roebuck and Co.                                               including Sears, Roebuck and Co. (a subsidiary of
Kaveliski, Dominic and Delores Kaveliski, his wife            Sears Holdings Corporation)
vs. Air & Liquid Systems Corporation, et al.,                 Kimble, Alden W. and Jean E. Kimble vs. A.W.
asbestos defendants including Sears, Roebuck and              Chesterton Company, et al., asbestos defendants
Co.                                                           including Sears, Roebuck and Co.
Keathley, Barbara, et al., as the surviving heirs of          Kimble, Charles and Robin Kimble vs. AII
Garey Keathley, Deceased vs. Ameron International             Acquisitions, LLC., et al., asbestos defendants
Corporation, et al., asbestos defendants including            including Sears, Roebuck and Co. (a subsidiary of
Sears, Roebuck and Co.                                        Sears Holdings Corporation)
Keaton, Tracey, Individually and as Special                   Kimble, Jr.; William and Margaret Kimble vs. A.W.
Administrator of the Estate of John Sullivan,                 Chesterton Company, et al., asbestos defendants
Deceased vs. 84 Lumber Company, et al., asbestos              including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   King, David G., Individually and as Special
Keeton, Jr.; Wilbur J. vs. John Crane-Houdaille, Inc.,        Administrator for the Estate of Linda C. King,
et al., asbestos defendants including Sears, Roebuck          deceased vs. Arvinmeritor, Inc., et al., asbestos
and Co.                                                       defendants including Sears, Roebuck and Co.
Kellerman, Lawrence vs. 3M Company, et al.,                   King, Esther, Individually and as Special
asbestos defendants including Sears, Roebuck and              Administrator of the Estate of Willie Augustus King,
Co.                                                           deceased vs. Air & Liquid Systems Corp., et al.,
Keller, Thomas Jr. v. Ford Motor Company; et al.,             asbestos defendants including Sears, Roebuck and
benzene defendants including Sears, Roebuck and               Co.
Co.                                                           King, Yvette and Marvin King vs. 84 Lumber, et al.,
Kendrick, Mary Helen, as Independent Executrix of             asbestos defendants including Sears, Roebuck and
the Estate of William Rudolph Kendrick, et al., vs.           Co.
3M Company, et al., asbestos defendants including             Kinlaw, Singletary and Everlena vs. A.w. Chesterton,
Sears, Roebuck and Co.                                        Inc., et al. asbestos defendants including Sears,
                                                              Roebuck and Co. (110 named defendants)




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Litigation                                                   Litigation
Kirby, Andrew A. and Michele Kirby, h/w vs.                  vs. 84 Lumber, et al., asbestos defendants including
Honeywell International, Inc., et al., asbestos              Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                  Knight, Arron v. Sears Logistics Services, Sears,
Kirk, Buddy E. and Kirk, Tina vs Quigley Company,            Roebuck and Co, Sears Holdings Corporation and
Inc., et al asbestos defendants including Sears,             Kim Forcade
Roebuck and Co. (46 named defendants)                        Knott, Kenneth, Individually and as Special
Kirk, Dewey, Individually and as Surviving Heir of           Administrator to the Estate of Otis Elliot Knott,
the Estate of Wesley Gerald Kirk, Deceased vs. 84            Deceased vs A.W. Chesterton, Inc., et al. including
Lumber Company, et al., asbestos defendants                  Sears, Roebuck and Co. [48 named defendants]
including Sears, Roebuck and Co.                             Knowles, Scott Vs. A.W. Chesterton Co., et al.,
Kirk, Shayne vs. AC&R Insulation Co., Inc., et al.,          asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and             Co., (109 named defendants)
Co. (a subsidiary of Sears Holdings Corporation)             Knowsley, Warren and Edna Knowsley vs. Allied
Kiss, Jr.; Charles J. and Stella Kiss vs. A.W.               Signal, Inc., et al., asbestos defendants including
Chesterton Company, et al., asbestos defendants              Sears, Roebuck and Co.
including Sears, Roebuck and Co.                             Knutson, Donald and Leslie Hirshaut-Knutson vs.
Kittredge, Betsy, Individually and as Personal               Air & Liquid Systems Corporation et al., asbestos
Representative of the Estate of Lawrence Kittredge,          defendants including Sears, Roebuck and Co.
deceased vs. Air & Liquid Systems Corporation, et            Kocol, Lisa, Executor for the Estate of Howard
al., asbestos defendants including Sears, Roebuck and        Kocol, et al., vs. Ingersoll-Rand Company, et al.,
Co. (a subsidiary of Sears Holdings Corporation)             asbestos defendants including Sears, Roebuck and
Klein, Hazel vs. A.W. Chesterton Company et al.              Co., individually and as successor-in-interest to
asbestos defendants including Sears, Roebuck and             Western Auto Supply Co.
Co. (35 named defendants)                                    Koerber, Joseph A. and Elizabeth vs. Quigley
Kline, Edward and Mary Kline, his wife vs. John              Company, Inc., et al. asbestos defendants including
Crane-Houdaille, Inc., et al., asbestos defendants           Sears, Roebuck and Co. (56 named defendants)
including Sears, Roebuck and Co.                             Kolarik, George Sr. vs. Owens-Illinois Glass Co. et
Kline, Francis H. and Dawn M. Kline his wife vs.             al. asbestos defendants including Sears, Roebuck and
John Crane-Houdaille, Inc., et al., asbestos                 Co. (61 named defendants)
defendants including Sears, Roebuck and Co.                  Kolobotos, Angelos v. Sears, Roebuck and Co.
Kloppel, Mike et al. v. Sears Holdings Corporation,
et al.                                                       Koniak, Jr.; Edward, as Personal Representative To
Klovensky, Robert R. and Helen Klovensky, his wife           the Estate of Viola Koniak vs. American Standard,
vs. John Crane-Houdaille, Inc., et al., asbestos             Inc., et al., asbestos defendants including Sears,
defendants including Sears, Roebuck and Co.                  Roebuck and Co.
Kmart 4163 - AFP Fifty Corp v. Kmart Corporation;            Korab, Martin and Louise vs. Allied Corporation et
and Sears Holdings Management Corporation                    al. asbestos defendants including Sears, Roebuck and
Kmart 7451 - U.S. Bank National Association, as              Co. (81 named defendants)
Trustee for the registered holders of Banc of America        Kornfeind v. New Werner et al (Sears, Roebuck &
Kmart #9420 (Bruckner Plaza, Bronx, NY) v.                   Co.)
Vornado Realty Trust                                         Kraemer, Donald E. vs. John Crane-Houdaille, Inc.,
Kmart Corporation v. Brownsburg Associates                   et al., asbestos defendants including Sears, Roebuck
                                                             and Co.
Kmart Corporation v. U.S. Bank (Kmart #3373)                 Kraemer, Sean L. v. Sears Holdings Corporation
Kmart Corporation v. Vertical Industrial Park                Kramer, Henry and Patricia Kramer, his wife vs. John
Associates (K#9419)                                          Crane-Houdaille, Inc., et al, asbestos defendants
Kmart Legacy Bankruptcy Matters                              including Sears, Roebuck and Co.
                                                             Krantz, Suzanne, Individually and as Surviving
Kmart Plaza, Lancaster, PA, LP v. Kmart                      Spouse of John Krantz vs. A.W. Chesterton, Inc., et
Corporation #4373                                            al. asbestos defendants including Sears, Roebuck and
Knapp, Anthony and Knapp, Mildred, his wife v.               Co. (43 named defendants)
John Crane-Houdaille, Inc. et al. including Sears,           Krauchenko, Luella J. vs. Actuant Corporation, et al.,
Roebuck and Co. (52 named defendants)                        asbestos defendants including Sears, Roebuck and
Knetzer, Richard, Individually and as Special                Co.
Administrator of the Estate of Mary Knetzer, Dec.,




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Litigation                                                     Litigation
Krebs, Walter vs. A.W. Chesterton, Inc., et al.                Lane, Arthur v. A.O. Smith, et al., asbestos
asbestos defendants including Sears, Roebuck and               defendants including Sears, Roebuck and Co. (102
Co. (69 named defendants)                                      named defendants)
Kremitske, Frank B. vs. Honeywell International,               Lane, Raymond G. vs. A.W. Chesterton, Inc., et al.,
Inc., et al., asbestos defendants including Sears,             asbestos defendants including Sears, Roebuck and
Roebuck and Co.                                                Co.
Krentz, Sarah and Korey Krentz, her husband vs. 84             Lane, Sherry and Gregory Lane, her husband vs.
Lumber, et al., asbestos defendants including Sears,           Advance Auto Parts, Inc., et al., asbestos defendants
Roebuck and Co.                                                including Sears, Roebuck and Co.
Krovich, Jeanna, Personal Representative of the                Lane, Sr.; James G. vs. 84 Lumber Company, et al.,
Estate of Ben N. Bonham vs. Union Carbide                      asbestos defendants including Sears, Roebuck and
Corporation, et al., asbestos defendants including             Co.
Sears, Roebuck and Co.                                         Langley, Geraldine, Individually and as
Krupa, Jacqueline, Individually and as Special                 Administratrix for the Estate of Kenneth Langley,
Administrator for the Estate of Barbara Bucz vs.               deceased vs. CBS Corporation, et al., asbestos
A.W. Chesterton Company, et al., asbestos                      defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Lanham, Jr.; John R. and Marsha Lanham, his wife
Kuhl, Gary J. Sr. and Susan his wife vs. Quigley               vs. Union Carbide Corporation, et al., asbestos
Company, Inc., et al. asbestos defendants including            defendants including Sears, Roebuck and Co.
Sears, Reobuck and Co. (45 named defendants)                   LaPierre, Carolyn, Individually and as Administratrix
Kumashiro, Lyndsi v. Sears, Roebuck and Co. dba                of the Estate of Robert LaPierre vs. 3M Company, et
Sears Stores Windward Mall #1738                               al., asbestos defendants including Sears, Roebuck and
Kyriazis, George and Kyriazis, Vivian Vs. A.W.                 Co.
Chesterton Co., et al., asbestos defendants including          Larsen, Judith and Ervin vs. Air & Liquid Systems
Sears, Roebuck and Co., (109 named defendants)                 Corporation et al., asbestos defendants including
Labarron, Robert and Gladys Labarron, his wife vs.             Sears, Roebuck and Co.
84 Lumber, et al., asbestos defendants including               Lassiter, Jr.; John D. and Barbara Lassiter vs. 3M
Sears, Roebuck and Co.                                         Company, et al., asbestos defendants including Sears,
LABOR-Chicago Ridge Petition                                   Roebuck and Co.
                                                               Latz, Douglas v. Sears
L.A. Gem & Jewelry Designs, Inc. v. Sears, Roebuck
and Co., et al.                                                Laudig, Ruby A. vs. American Premier Underwriters,
Lagocki, Thomas and Barbara Lagocki, his wife vs.              Inc., et al., asbestos defendants including Sears,
BorgWarner Morse Tec LLC, et al., asbestos                     Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Lawlor, John, Executor of the Estate of Jacqueline M.
LaJobi, Inc and Kids Line LLC v. Sears, Roebuck                Long, deceased vs. 3B Products Company, et al.,
and Co., et al. [Kids Brands, Inc.]                            asbestos defendants including Sears Holdings
Lakewater K Perry LLC v. Kmart Corporation -                   Corporation
#7643 Perry, FL                                                Lawson, Joel N. and Deborah J. vs John Crane-
Lalumondiere, Harold vs. A.W. Chesterton, Inc., et             Houdaille, Inc., et al including Sears, Roebuck and
al., asbestos defendants including Sears, Roebuck and          Co. [52 named defendants]
Co.                                                            Lawson, Sr.; William G. vs. 4520 Corp., et al.,
LaMarr, William K. Vs. A.W. Chesterton Co., et al.,            asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and               Co.
Co., (109 named defendants)                                    Layne, John vs. 3M Company, et al., asbestos
Lambert, Darrell and Alice Lambert, his wife vs.               defendants including Sears, Roebuck and Co.
Union Carbide Corporation, et al., asbestos                    Leahy, James and Sharon Leahy vs. Arvinmeritor,
defendants including Sears, Roebuck and Co.                    Inc., et al., asbestos defendants including Sears,
Landers, Willard and Mavis Landers, his wife vs.               Roebuck and Co., a subsidiary of Sears Holdings
4520 Corp., Inc., et al., asbestos defendants including        Corporation
Sears, Roebuck and Co.                                         Leamons, Herman and Dorothy Leamons vs. Trane
Landrum, Flora, individually as the surviving spouse           US, Inc., et al., asbestos defendants including Sears,
of Charles R. Landrum, deceased, et al., vs. Georgia-          Roebuck and Co.
Pacific, LLC, et al., asbestos defendants including            Le Conte, John N. v. Sears
Sears, Roebuck and Co.




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Litigation                                                       Litigation
Lee, Cheryl v. Sears                                             Co., (109 named defendants)
Leech, Jerald vs. 4520 Corp. Inc., et al., asbestos              Liason, Alfred III vs Quigley Company, Inc. et al
defendants including Sears, Roebuck and Co.                      asbestos defendants including Sears, Roebuck and
Lee, Frances v. Sears, Roebuck and Company                       Co. (46 named defendants)
                                                                 Liberatore, John vs. Alcoa, Inc., et al., asbestos
Lee, James and Evelyn vs. Quigley Company, Inc., et              defendants including Sears, Roebuck and Co. (a
al. asbestos defendants including Sears, Roebuck and             subsidiary of Sears Holdings Corporation)
Co. (53 named defendants)                                        Licensed Business Dentist Collections
Lee, Kenneth E. and Carolyn A. Lee, his wife vs.
John Crane-Houdaille, Inc., et al., asbestos                     Liedtke, Penelope vs. A.O. Smith Corporation, et al.,
defendants including Sears, Roebuck and Co.                      asbestos defendants including Sears, Roebuck and
Lee, Sanmaria v. Sears                                           Co.
                                                                 Lindbergh, Mary, as Personal Representative of the
Lee, Shelton vs. John Crane-Houdaille, Inc., et al.              Estate of Evan Sharpless, and Mary Lindbergh
including Sears, Roebuck and Co. [60 named                       Individually vs. 84 Lumber Company, et al., asbestos
defendants]                                                      defendants including Sears, Roebuck and Co. (a
Lee, Thermuthis v. Kmart                                         subsidiary of Sears Holdings Corporation)
                                                                 Lineberger, Tommy William and spouse Marcella
Lee, William S. v. Sears
                                                                 Wilson Lineberger vs. CBS Corporation, et al.,
Lehmann, Chester R. and Jean D. Lehmann vs.                      asbestos defendants including Sears, Roebuck and
Allied Signal, Inc., et al., asbestos defendants                 Co.
including Sears, Roebuck and Co.                                 Lines, Harry vs. 84 Lumber Company, et al., asbestos
Lemon, Isiac, Jr., and Dorothy Lemon his wife vs.                defendants including Sears, Roebuck and Co. (a
John Crane-Houdaille, Inc., et al., asbestos                     subsidiary of Sears Holdings Corporation)
defendants including Sears, Roebuck and Co.                      Linley, Jr.; Everett vs. Aerco International, Inc., et
Lennox, Charlotte L. vs. 3M Company, et al.,                     al., asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and                 Co.
Co.                                                              Liotti, James J. Vs. A.W. Chesterton Co., et al.,
Lentini, Gerald and April Lentini vs. 3M Company,                asbestos defendants including Sears, Roebuck and
et al., asbestos defendants including Sears, Roebuck             Co., (109 named defendants)
and Co.                                                          Li, Sheng v. Sears, Roebuck and Co.
Lepore, Rachel, Individually and as Special
Administrator of the Estate of Edward Rufus Lord,                Li, Sheng v. Sears, Roebuck and Co.
Jr., Deceased vs. AII Acquisitions, LLC, et al.,                 Little, Sarita, as the Surviving Heir of Delores
asbestos defendants including Sears, Roebuck and                 Skinner, Deceased vs. 84 Lumber, et al., asbestos
Co.                                                              defendants including Sears, Roebuck and Co.
Lescalleet, Kristi B. and Roy Lescaleet, her husband             Livermore, Lisa as Executor of the Estate of Terry
vs. John Crane-Houdaille, Inc., et al., asbestos                 Livermore, Deceased, et al., vs. 3M Company, et al.,
defendants including Sears, Roebuck and Co.                      asbestos defendants including Sears, Roebuck and
Lewis, Ernest and Barbara Lewis vs. Advance Auto                 Co.
Parts, Inc., et al., asbestos defendants including Sears,        Lleshi, Lek vs. American Biltrite, Inc., et al., asbestos
Roebuck and Co.                                                  defendants including Sears, Roebuck and Co.
Lewis, James and Cheryl Lewis, his wife vs.                      Loggerhead Tools, LLC v. Sears Holdings
Advance Auto Parts, Inc., et al., asbestos defendants            Corporation
including Sears, Roebuck and Co.                                 Lombardo, Joseph vs. A.W. Chesterton, Inc., et al.
Lewis, Margaret A. vs. John Crane-Houdaille, Inc., et            asbestos defendants including Sears, Roebuck and
al. asbestos defendants including Sears, Roebuck and             Co. (30 named defendants)
Co. (53 named defendants)                                        Long, Michael J. vs. A.O. Smith Corporation, et al.,
Lewis, Tess v. Sears Holdings Corporation                        asbestos defendants including Sears, Roebuck and
                                                                 Co.
Lewis, William A. and Lewis, Minnie B. vs Quigley
                                                                 Longoria, Alfonso v. Sears, Roebuck and Co.
Compay, Inc. et al asbestos defendants including
Sears, Roebuck and Co., (47 named defendants)                    Lookabill, George vs. Union Carbide Corporation, et
Liapas, Iraklis Vs. A.W. Chesterton Co., et al.,                 al., asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and




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Litigation                                                    Litigation
Co.                                                           al., asbestos defendants including Sears, Roebuck and
                                                              Co.
Loomis, Elaine M., Individually and as the Executrix          Lygren, Ronald K. and Francine J. Lygren, his wife
of the Estate of Gregory Loomis vs. ABB, Inc., et al.,        vs. John Crane-Houdaille, Inc., et al., asbestos
asbestos defendants including Sears, Roebuck and              defendants including Sears, Roebuck and Co.
Co.                                                           Lymos-Jones, Dorothy, Individually and as Surviving
Loomis, Gregory and Elaine Loomis Individually and            Spouse of the late Traniel Jones, Sr., vs. A.W.
as Husband and Wife vs. ABB, Inc., et al., asbestos           Chesterton Company, et al., asbestos defendants
defendants including Sears, Roebuck and Co.                   including Sears, Roebuck and Co.
Lopez, Arturo and Rebecca Lopez vs. 3M Company,               Lynch, Gene L. and Roberta vs. Owens-Illinois Gas
et al., asbestos defendants including Sears, Roebuck          Co., et al. asbestos defendants including Sears,
and Co.                                                       Roebuck and Co. (50 named defendants)
Lopez, Elifonzo v. Sears Holdings Management                  Lynch, Rufus and Carolyn Lynch vs. Advance Auto
Corporation; Simmons Bedding Company, LLC                     Parts, et al., asbestos defendants including Sears,
Lopez, Elifonzo v. Sears Holdings Management                  Roebuck and Co.
Corporation; Simmons Bedding Company, LLC                     Lynn, Laura, as Administrator of the Estate of Lewis
Lopez, Warren A. vs. John Crane-Houdaille, Inc., et           Lynn Jr., and Laura Lynn Individually vs. 84 Lumber
al., asbestos defendants including Sears, Roebuck and         Company, et al., asbestos defendants including Sears,
Co.                                                           Roebuck and Co. (a subsidiary of Sears Holdings
Lott, Timothy O. and Sandra vs. Bondex                        Corporation)
International, Inc., et al. asbestos defendants               Lynn, Randy G. and Carol L. vs. John Crane-
including Sears, Roebuck and Co. (18 named                    Houdaille, Inc., et al. asbestos defendants including
defendants)                                                   Sears, Roebuck and Co. (54 named defendants)
Love, Frank vs. John Crane-Houdaille, Inc., et al.,           Lyon, Karen, as Personal Representative of the Estate
asbestos defendants including Sears, Roebuck and              of Lanny Lyon, and Karen Lyon Individually vs. 84
Co.                                                           Lumber Company, et al., asbestos defendants
Love, Lawrence D., Personal Representative of the             including Sears, Roebuck and Co. (a subsidiary of
Estate of Lawrence Love, et al., vs. John Crane-              Sears Holdings Corporation)
Houdaille, Inc., et al., asbestos defendants including        Mabry, Sr.; Willard and June Mabry, his wife vs.
Sears, Roebuck and Co.                                        John Crane-Houdaille, Inc., et al., asbestos
Lovvorn, James and Barbara Lovvorn vs. A.W.                   defendants including Sears, Roebuck and Co.
Chesterton Company, et al., asbestos defendants               MacCary, Loren and Jane MacCary vs. 3M
including Sears, Roebuck and Co.                              Company, et al., asbestos defendants including Sears,
Lowe, Raymond F. vs. Union Carbide Corporation, et            Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and         Machalka, Zdenek and Vladka Machalka vs. Rapid
Co.                                                           American Corp., et al., asbestos defendants including
Lucas, Eddie and Amelia v. Sears Home                         Sears, Roebuck and Co.
Improvement Products, Inc., et al.                            Maciuk, Nicholas and Maria Maciuk vs. American
Lucas v. Kmart                                                Biltrite, Inc., et al., asbestos defendants including
                                                              Sears, Roebuck and Co.
Lujambio, Carina v. Sears Holdings Corporation, et
al. [Sears Home Improvement Products]                         Maciuk, Nicholas and Maria Maciuk vs. American
                                                              Biltrite, Inc., et al., asbestos defendants including
Lurz, James F. and Robin R. Lurz, his wife v.
                                                              Sears, Roebuck and Co.
Owens-Illinois Glass Co., f/k/a Owens-Illinois, Inc.,
                                                              Macknin, Michael and Barbara Macknin vs. Air &
et al., asbestos defendants including Sears, Roebuck
                                                              Liquid Systems Corporation, et al., asbestos
and Co. (48 named defendants)
Lurz, John M. and Doloroes Lurz, his wife v. Owens-           defendants including Sears, Roebuck and Co.
Illinois Glass Co. f/k/a Owens-Illinois, Inc., et al.,        Maclay, Wenxiav. Sear's Outlet
asbestos defendants including Sears, Roebuck and              Macri, Nadia v. Jeff Avery - Salesman; Sears
Co. (41 named defendants)                                     Roebuck and Co.
Lutsko, Sophie Ann, Administratrix of the Estate of           Madar, Marsha and Lawrence Madar, Jr., vs. 84
James Lutsko, et al., vs. Allied Signal, Inc., et al.,        Lumber Company, et al., asbestos defendants
asbestos defendants including Sears, Roebuck and              including Sears, Roebuck and Co.
Co.                                                           Madden, Verlan and Jacqueline Madden, his wife vs.
Lutz, Gregory F. vs. John-Crane Houdaille, Inc., et           4520 Corp., Inc., et al., asbestos defendants including




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Litigation                                                    Litigation
Sears, Roebuck and Co.                                        Marquardt, Wayne v. Innovel Solutions, Inc., Sears
                                                              Holdings Corporation and Sears, Roebuck and Co.
Magliozzi, Thomas vs. American Honda Motor Co.,               Marsella, Vincent and Maria Marsella vs. 3M
Inc., et al., asbestos defendants including Sears,            Company, et al., asbestos defendants including Sears,
Roebuck and Co.                                               Roebuck and Co.
Mahmoud, Asmaa v. Sears Holdings Corporation;                 Marshall, Bill NMN vs. Asarco, Inc., et al, asbestos
OneSource Staffing, LLC; and Careers USA, Inc.                defendants including Sears, Roebuck and Co. (32
Main, Patricia A., Individually and as Personal               named defendants)
Representative for the Estate of Billy D. Main vs.            Martinez, Aida, et al. v. Kmart Puerto Rico
A.F. German Co., Inc., et al., asbestos defendants
including Sears, Roebuck and Co., d/b/a Craftsman &           Martin, Kim, Individually and as Special
Sears Holdings Management Corp., d/b/a Craftsman              Administrator of the Estate of Jon Pallas, Deceased
Makin, Janice as personal representative of the estate        vs. ABB Inc., et al., asbestos defendants including
of Joseph F. Fusco (Probate Pending) vs. 84 Lumber            Sears, Roebuck and Co.
Company, et al., asbestos defendants including Sears,         Martin, Lorenzo and Angela Martin, Individually and
Roebuck and Co.                                               as Husband and Wife vs. A.O. Smith Water Products
Malady, Jerry and Tammy Malady vs. 3M Company,                Co., et al, asbestos defendants including Sears,
et al., asbestos defendants including Sears, Roebuck          Roebuck and Co.
and Co.                                                       Martin, Paul, Individually and as Special
Malaniak, Sylvia v. Sears Holding Management                  Administrator of the Estate of Christine Martin,
Corporation dba Kenmore                                       Deceased vs. Ameron International Corporation, et
Malstrom, William J. and Carol Malstrom, his wife,            al., asbestos defendants including Sears, Roebuck and
vs. John Crane-Houdaille, Inc., et al., asbestos              Co.
defendants includng Sears, Roebuck and Co.                    Marvin, John and Mary vs American Biltrite, et al
Mandrick, Kristen, Individually and as Special                (asbestos dfts, including Sears, Roebuck and Co.)
Administrator of the Estate of Caroline Brown,                Marzec, William Vs. A.W. Chesterton Co., et al.,
Deceased vs. Advance Auto Parts, Inc., et al.,                asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and              Co., (109 named defendants)
Co.                                                           Masengill, Earl vs. 3M Company, et al., asbestos
Manera, Eugene R. and Arlene J. Manera, h/w vs.               defendants including Sears, Roebuck and Co.
Saint-Gobain Abrasives, Inc., et al., asbestos                Mason, Wilbert and Pauline Mason, his wife, vs.
defendants including Sears, Roebuck and Co.                   Union Carbide Corporation, et al., asbestos
Manolis, Vassilios Vs. A.W. Chesterton Co., et al.,           defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Masterson, Thomas D., as Special Administrator of
Co., (109 named defendants)                                   the Estate of Helene Ann Masterson, Deceased vs.
Mansour, Amal v. Kmart Corporation, Inc.                      A.O. Smith Corporation, et al., asbestos defendants
                                                              including Sears, Roebuck and Co.
Manzini, Donald J. vs. Honeywell International, Inc.,         Mastroianni, George, as Executor of the Estate of
et al., asbestos defendants including Sears, Roebuck          Frank Charles Mastroianni vs. A.O. Smith Water
and Co.                                                       Products, et al., asbestos defendants including Sears,
March, Jack F. and Joanne March vs. Allied Signal             Roebuck and Co.
Inc., et al., asbestos defendants including Sears,            Mastronardi, Randolph vs. American Standards, Inc.,
Roebuck and Co.                                               et al., asbestos defendants including Sears, Roebuck
Marine, Nicholas C. vs. A.W. Chesterton Company,              and Co.
et al., asbestos defendants including Sears, Roebuck          Matanzo, Karlo A. v. Sears Holdings Company dba
and Co.                                                       Sears Auto
Marine, Walter and Annette Marine his wife vs. A.O.           Mateel Environmental Justice Foundation v. Briggs
Smith Corporation, et al., asbestos defendants                & Stratton Corporation; et al. [including Sears,
including Sears, Roebuck and Co.                              Roebuck and Co.]
Marino, Albert vs. 84 Lumber Company, et al.,                 Mathew, George v. Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and
Co.                                                           Matthews, Troy v. Sears, Roebuck
Marion, Sanford vs. A.O. Smith Corporation, et al.,
asbestos defendants including Sears, Roebuck and              Mauney, Raymond and Mary Lou Mauney, his wife
Co. (a subsidiary of Sears Holdings Corporation)              vs. Advance Auto Parts, Inc., et al., asbestos
                                                              defendants including Sears, Roebuck and Co.




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Litigation                                                     Litigation
Maurer, Richard and Maurer, Vivianne Vs. A.W.                  McDuffy, Wanda and Jackie McDuffy vs. 3M
Chesterton Co., et al., asbestos defendants including          Company, et al., asbestos defendants including Sears,
Sears, Roebuck and Co., (109 named defendants)                 Roebuck and Co. (a subsidiary of Sears Holdings
Mayes, Anthony and Stephanie v. Sears, Roebuck                 Corporation)
and Co.                                                        McGinley, James and Joanna McGinley vs.
Mayworm, Leroy, Individually and as Special                    American Biltrite, Inc., et al., asbestos defendants
Administrator of the Estate of Betty Mayworm,                  including Sears, Roebuck and Co.
Deceased vs. A.W. Chesterton, Inc., et al., asbestos           McGowan, Charles and Janice vs. Allis-Chalmers
defendants including Sears, Roebuck and Co.                    Corporation, et al., asbestos defendants including
Mazur, Raymond and Joyce Mazur, his wife vs.                   Sears, Roebuck and Co.
Advance Auto Parts, Inc., et al., asbestos defendants          McGrath, Thomas F. Jr. and Elizabeth L. vs. John
including Sears, Roebuck and Co.                               Crane-Houdaille, Inc., et al. including Sears,
Mazza, Bernard vs. A.I.I. Acquisitions Corp., et al.,          Roebuck and Co. [52 named defendants]
asbestos defendants including Sears, Roebuck and               McIntosh, Billy and Nancy McIntosh, his wife, vs.
Co.                                                            Advance Auto Parts, Inc., et al., asbestos defendants
McBee, William and Samuel McBee, Individually                  including Sears, Roebuck and Co.
and as Surviving Heirs of the Estate of Rita McBee v.          McKannan, Glenn L. and Carolyn vs. Allied
Advance Auto Parts, Inc., et al., asbestos defendants          Corporation et al. asbestos defendants including
including Sears, Roebuck and Co.                               Sears, Roebuck and Co. (68 named defendants)
McCallon, Charles D. v. Samsung Electronics                    McKee, Thomas, Jr. and Debora vs. Quigley
America, Inc., Samsung Electronic Co., Ltd., Sears             Company, Inc., et al. asbestos defendants including
Holdings Management Corporation and Sears,                     Sears, Roebuck and Co. (55 named defendants)
Roebuck and Co.                                                McKeon, John and Marjorie McKeon vs. Able
McCarty, Donald and Betty McCarty, his wife vs.                Plumbing Supply Co., et al., asbestos defendants
Allied Glove Corporation, et al., asbestos defendants          including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                               McKeown, Margaret, Executrix of the Estate of
McCaskill, James and Gayle McCaskill vs. Aerco                 Michael McKeown and Margaret McKeown in her
International, Inc., et al., asbestos defendants               own right vs. Baltimore Ennis Land Co., Inc., et al.,
including Sears, Roebuck and Co.                               asbestos defendants including Sears, Roebuck and
McClain, Dorothy, as the Surviving Heir of Shirley             Co.
McClain, Deceased vs. 84 Lumber, et al., asbestos              McKinney, Carolyn vs. 84 Lumber, et al., asbestos
defendants including Sears, Roebuck and Co.                    defendants including Sears, Roebuck and Co.
McClurkin, Jesse J. vs. Quigley Company, Inc., et al.          McLachlin, Ruth Alice vs. Arvinmeritor, Inc., et al.,
asbestos defendants including Sears, Roebuck and               asbestos defendants including Sears, Roebuck and
Co. (55 named defendants)                                      Co.
McCollum, Buford and Marie McCollum vs. A.O.                   McLaren, Lonnie and Barbara McLaren, his wife vs.
Smith Corp., et al., asbestos defendants including             Union Carbide Corporation, et al., asbestos
Sears, Roebuck and Co.                                         defendants including Sears, Roebuck and Co.
McCormick, Catherine, Individually and as Surviving            McLaughlin, James vs. Aamco Tools, et al., asbestos
Spouse, et al., of the late Howard McCormick vs.               defendants including Sears, Roebuck and Co. (a
A.W. Chesterton Company, et al., asbestos                      subsidiary of Sears Holdings Corporation)
defendants including Sears, Roebuck and Co.                    McLean, Patrick, Individually and as Special
McCullough, Arthur and McCullough, Janice vs.                  Administrator of the Estate of Robert McLean,
Bondex International, Inc., et al., asbestos defendants        Deceased vs. A.O. Smith Corporation, et al., asbestos
including Sears, Roebuck and Co., (18 named                    defendants including Sears, Roebuck and Co.
defendants)                                                    McLendon, Sr.; James L. and Ruby L. McLendon,
McDivitt, Ronald v. Max Rubin                                  his wife vs. Union Carbide Corporation, et al.,
                                                               asbestos defendants including Sears, Roebuck and
McDole, Frank A. vs. A.W. Chesteron, et al.,                   Co.
including Sears, Roebuck and Co. (84 named                     McMahon, Paul T. and Jane Anne McMahon vs.
defendants)                                                    Honeywell International, Inc., et al., asbestos
McDonald, James L. and Brenda K. McDonald vs.                  defendants including Sears, Roebuck and Co.
Air & Liquid Systems Corporation, et al., asbestos             McManus, Mary Jane v. Sears Holdings
defendants including Sears, Roebuck and Co.




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Litigation                                                   Litigation
McMillen et al v. Sears, Roebuck and Co. et al               defendants)
McMinn, Eugene and Anna McMinn vs. 3M                        Merola, Frank D. vs. Honeywell International, Inc., et
Company, et al., asbestos defendants including Sears,        al., asbestos defendants including Sears, Roebuck and
Roebuck and Co.                                              Co.
McMullen, John and Ada Quintanilla vs. A.O. Smith            Merola, Rudolph vs. Advance Auto Parts, et al.,
Corporation, et al., asbestos defendants including           asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.                                       Co.
McNeil, Lloyd v. John Crane-Houdaille, Inc. et al.           Merritt, Kenneth and Deborah Merritt, his wife vs.
including Sears, Roebuck and Co (52 named                    Union Carbide Corporation, et al., asbestos
defendants)                                                  defendants including Sears, Roebuck and Co.
McNeish, Robert vs. Akebono Brake Corporation, et            Merritt, Tiffany Stafford, Individually and as Special
al., asbestos defendants including Sears, Roebuck and        Administrator of the Estate of Roger Stafford,
Co.                                                          Deceased vs. Advance Auto Parts, Inc., et al.,
McNichol, John J. v. Allied Corporation, et al.,             asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and             Co.
Co. (37 named defendants)                                    Merritt, Yvonne v. Sears, Roebuck and Co.
Medicare Secondary Payer Reporting Project -
Asbestos Settlements (Non-SearsRE)                           Metz, Joseph Vs. A.W. Chesterton Co., et al.,
Medicare Secondary Payer Reporting Project -                 asbestos defendants including Sears, Roebuck and
Asbestos Settlements (SearsRE)                               Company (109 named defendants)
Medina, Frankie DeLeon v. Sears Holdings                     Meyer, George T. and Constance E. Meyer, his wife
Corporation et al [Sears Roebuck de Puerto Rico]             vs. John Crane-Houdaille, Inc., et al., asbestos
Medlen, Linda, Individually and as Special                   defendants including Sears, Roebuck and Co.
Administrator of the Estate of Frederick "Jim" Reid,         Meza, Sergio v. Kmart Corporation; Sears Holdings
Deceased vs. Advance Auto Parts, Inc., et al.,               Corporation; Sears Holdings Management
asbestos defendants including Sears, Roebuck and             Corporation; Ben Michel; Leroy Steiner; Kory
Co.                                                          Webber; Lorenzo Beermudez; and Does 1-30
Meinecke, Earl, Personal Representative of the Estate        Michael, John J. and Joan vs. A.W. Chesterton, Inc.,
of James Synodinos, et al., vs. John Crane-Houdaille,        et al. asbestos defendants including Sears, Roebuck
Inc., et al., asbestos defendants including Sears,           and Co. (127 named defendants).
Roebuck and Co.                                              Michaels, Janet vs. Armstrong Pumps, Inc., et al.,
Melford, Jeffrey J. and Tina Melford vs. Abex                asbestos defendants including Sears, Roebuck and
Corporation, et al., asbestos defendants including           Co.
Sears, Roebuck and Co.                                       Michalski, Joseph and Sara vs. John-Crane-
Mellor, Esther D. vs. Arnold Lumber Co., et al.,             Houdaille, Inc., et. al., asbestos defendants including
asbestos defendants including Sears, Roebuck and             Seras, Roebuck and Co.
Co.                                                          Michalski, Joseph E. and Jacqueline Michaski, his
Melton, Dolene Individually and as Personal                  wife vs. John Crane-Houdaille, Inc., et al., asbestos
Representative of the Estate of Jesse Melton,                defendants including Sears, Roebuck and Co.
Deceased vs. John Crane-Houdaille, Inc., asbestos            Middlebrooks, James and Geraldine Middlebrooks
defendants including Sears, Roebuck and Co.                  vs. Air and Liquid Systems Corp., et al., asbestos
Merced, Jose A. Castro v. Sears Roebuck de Puerto            defendants including Sears, Roebuck and Co.
Rico, Inc.                                                   Midland Funding LLC current assignee (Sears Home
Mercer, Ruth, as Special Administrator of the Estate         Improvement account, original creditor) v. Cecelia
of Fred Vang, Deceased vs. Advance Auto Parts,               Waller aka Cecelia Harris v. Sears Home
Inc., et al., asbestos defendants including Sears,           Improvement Products, Inc.; Citibank, N.A.; and
Roebuck and Co.                                              Alban Gaba, Inc. -- CounterClaim
Merckling, Donald and Dixie Merckling vs. A.O.               Midland Fundling LLC v. Martha Escapita v. Sears,
Smith Corporation, et al., asbestos defendants               Roebuck and Company
including Sears, Roebuck and Co., a subsidiary of            Mieloch, Stanley and Ella Mieloch vs. Allied Signal,
Sears Holding Corporation                                    Inc., et al., asbestos defendants including Sears,
Meredith, William G. and Meredith, Dorothy Vs.               Roebuck and Co.
A.W. Chesterton Co., et al., asbestos defendants             Might, Sr.; James and Maxine Might, his wife vs.
including Sears, Roebuck and Company (109 named              John Crane-Houdaille, Inc., et al., asbestos




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Litigation                                                     Litigation
defendants including Sears, Roebuck and Co.                    Milone, Claudine & Joseph Milone vs. American
                                                               Household, Inc., et al., asbestos defendants including
Miklos, Josephine and Joseph Miklos vs. Certainteed            Sears, Roebuck and Co.
Corporation, et al, asbestos defendants including              Milone, Durwood and Elaine Milone vs. A.O. Smith
Sears, Roebuck and Co.                                         Water Products, et al., asbestos defendants including
Miles, Jerry and Martha MacDonald vs.A.O. Smith                Sears, Roebuck and Co.
Water Products, et al., asbestos defendants including          Minck, Jeanne, Individually and as Special
Sears, Roebuck and Co. (Homart Development Co.)                Administrator of the Estate of Emil Rilli, Deceased
Millburn, Solomon and Althea vs. John Crane-                   vs. Advance Auto Parts, Inc., et al., asbestos
Houdaile, Inc., et al. asbestos defendants including           defendants including Sears, Roebuck and Co.
Sears, Roebuck and Co. (55 named defendants)                   Mitchell, Robert L. and Elvera Mitchell, his wife vs.
Miller, Bernard C. and Jean E. Miller, Individually            Union Carbide Corporation, et al., asbestos
and as Husband and Wife vs. Air & Liquid Systems               defendandts including Sears, Roebuck and Co.
Corporation, et al., asbestos defendants including             Mitchell, William and Lorna his wife vs. Quigley
Sears, Roebuck and Co.                                         Company, Inc., et al. asbestos defendants including
Miller, Gary W., and Cathy Miller vs. A.W.                     Sears, Roebuck and Co. (45 named defendants)
Chesterton Company, et al., asbestos defendants                Mock, Roy and Armande Mock vs. American Biltrite
including Sears, Roebuck and Co.                               Inc., et al., asbestos defendants including Sears,
Miller, John vs. Rapid American Corporation, et al.,           Roebuck and Co.
asbestos defendants including Sears, Roebuck and               Moeckel, Carolyn and Larry Moeckel vs. Advance
Co.                                                            Auto Parts, Inc., et al., asbestos defendants including
Miller, Joseph G. and Carol Miller vs. A.O. Smith              Sears, Roebuck and Co.
Water Products, et al., asbestos defendants including          Mollica, John J. and Mollica, Kathy Vs. A.W.
Sears, Roebuck and Co.                                         Chesterton Co., et al., asbestos defendants including
Miller, Jr.; Charles D. and Lillian M. Miller, his wife        Sears, Roebuck and Company (109 named
vs. John Crane-Houdaille, Inc., et al., asbestos               defendants)
defendants including Sears, Roebuck and Co.                    Molpus, Edward and Patricia vs. Air & Liquid
Miller, Nancy A. and Joan M. Reis, as Executrices of           Systems Corporation etc.,et al., asbestos defendants
the Estate of Marjorie Ann Nelson vs. A. W.                    including Sears, Roebuck and Co.
Chesterton Company, et al., asbestos defendants                Monastra, Carmen and Eleanor Monastra, his wife
including Sears, Roebuck and Co.                               vs. Weinstein Supply Company, et al., asbestos
Miller, Roy E. and Ivy L. Miller, his wife v. Owens-           defendants including Sears, Roebuck and Co.
ILlinois Glass Co. f/k/a Owens-Illinois, Inc., et al.,         Monks, Craig, Individually and as Special
asbestos defendants including Sears, Roebuck and               Administrator of the Estate of Ricky Monks,
Co. (48 named defendants)                                      Deceased vs. 84 Lumber, et al., asbestos defendants
Miller, Trent and David Varney v. The City of New              including Sears, Roebuck and Co.
York; et al. [including Sears Holdings Corporation             Montagano, Samuel and Santina Montagano, h/w vs.
d/b/a Kmart]                                                   Honeywell International, Inc., et al., asbestos
Miller, Vicki, Personal Representative of the Estate           defendants including Sears, Roebuck and Co.
of Rex L. Miller, deceased, and Vicki Miller vs.               Montague, Dexter, Individually and as Special
Advance Auto Parts, et al., asbestos defendants                Administrator of the Estate of William M. Montague,
including Sears, Roebuck and Co.                               Jr., Deceased vs. A.W. Chesterton, Inc., et al.,
Miller, Wayne R. and Sharon Miller vs. John Crane-             asbestos defendants including Sears, Roebuck and
Houdaille, Inc., et al., asbestos defendants including         Co.
Sears, Roebuck and Co.                                         Montana, Rachel v. Kmart Stores of Texas, LLC
Million, Connie, Individually and as Surviving Heir
of the Estate of Paul Million, Deceased vs. Ace                Montgomery County, MD v Sears, Roebuck and Co.
Hardware Corporation, et al., asbestos defendants
including Sears, Roebuck and Co.                               Montgomery County, MD v. Sears, Roebuck and Co.
Mills, Calvin L. and Nancy J. Mills, his wife vs. John
                                                               Montoya, Mary Ellen v. Sears Holdings Management
Crane-Houdaille, Inc., et al., asbestos defendants
                                                               Corporation
including Sears, Roebuck and Co.                               Mooney, Charles C. and Madeline J. Mooney vs.
Mills, George E. and Esther vs. Owens-Illinois Glass
                                                               Advance Auto Parts, et al., asbestos defendants
Co., et al. asbestos defendants including Sears,
                                                               including Sears, Roebuck and Co.
Roebuck and Co. (49 named defendants)




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Litigation                                                     Litigation
Mooney, Leonard vs. Honeywell International, Inc.,             Morris, Thomas and Ellen Morris, his wife, vs. ABB
et al., asbestos defendants including Sears, Roebuck           Inc., et al., asbestos defendants including Sears,
and Co.                                                        Roebuck and Co.
Moore, James vs. AII Acquisitions, LLC, et al.,                Morton, Carolyn as Personal Representative to the
asbestos defendants including Sears, Roebuck and               Estate of James Morton, Deceased vs. ARKLA
Co.                                                            Chemical Corporation, et al. asbestos defendants
Moore, Joanne, Individually and as the Executrix for           including Sears, Roebuck and Co. (36 named
the Estate of Joseph B. Moore vs. A.W. Chesterton              defendants)
Company, et al., asbestos defendants including Sears,          Moseley, Leland vs. 84 Lumber Company, et al.,
Roebuck and Co.                                                asbestos defendants including Sears, Roebuck and
Moore, Jr.; Alan Edward and Joanne Moore, his wife,            Co.
vs. ABB Inc., et al., asbestos defendants including            Mosley, Robert L. Sr. and Rosetta E. his wife vs.
Sears, Roebuck and Co.                                         Quigley Company, Inc., et al. asbestos defendants
Morehead, James and Fusako Morehead, his wife vs.              including Sears, Reobuck and Co. (48 named
John Crane-Houdaille, Inc., et al., asbestos                   defendants)
defendants including Sears, Roebuck and Co.                    Moss, Robert A. and Diane P. Casagni vs. A.O.
Moreno, John F. and Wanda H. Moreno, his wife, vs.             Smith Corp., et al., asbestos defendants including
John Crane-Houdaille, Inc., et al., asbestos                   Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                    Moulton, Harry C. and Phyllis E. Kent Moulton, his
Morgan, Floyd vs Sears et al                                   wife vs. John Crane-Houdaille, Inc., et al., asbestos
                                                               defendants including Sears, Roebuck and Co.
Morgan, Jay Pat v. Sears Holdings Management                   Mowry, Vernon W. and Marian vs. John Crane-
Corporation                                                    Houdaille, Inc,. asbestos defendants including Sears,
Morgan, John S. vs. Union Carbide Corporation, et              Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and          Moxley, Jr.; William and Deborah Moxley, his wife
Co.                                                            vs. Union Carbide Corporation, et al., asbestos
Morgenroth, Donald Paul, individually and as Special           defendants including Sears, Roebuck and Co.
Administrator of the Estate of Donald Alfred                   Mulkey, Norma, as Personal Representative of the
Morgenroth, Deceased vs. AII Acquisitions, LLC, et             Estate of Richard Mulkey, Deceased et al., vs. 3M
al., asbestos defendants including Sears, Roebuck and          Company, et al., asbestos defendants including Sears,
Co.                                                            Roebuck and Co.
Morinas, Elizabeth, Special Administrator for the              Munsey, James E. vs. John Crane-Houdaille, Inc., et
Estate of John Morin, and Elizabeth Morinas Spouse             al., asbestos defendants including Sears, Roebuck and
vs. Akebono Brake Corporation, et al., asbestos                Co.
defendants including Sears, Roebuck and Co.                    Murphy, Richard and Jacqueline Murphy, his wife
Morphis, Larry vs. Ameron International                        vs. Union Carbide Corporation, et al., asbestos
Corporation, et al., asbestos defendants including             defendants including Sears, Roebuck and Co.
Sears, Roebuck and Co.                                         Murphy, Willliam, Individually and as Special
Morrell, John J. and Mary Ellen Morrell, h/w, vs.              Administrator of the Estate of Eleanor Murphy,
John Crane, Inc., et al., asbestos defendants including        Deceased vs. A.O. Smith Corporation, et al., asbestos
Sears, Roebuck and Co.                                         defendants including Sears, Roebuck and Co.
Morris, Clifford and Linda; Darrick R. Bailey; Virgil          Murray, Jean L. and Marcus Murray, w/h vs.
D. Sorina, Sr.; and Scott Searcy v. Sears Home                 Honeywell International, Inc., et al., asbestos
Improvement Products, Inc.; Pelican Remodel, LLC;              defendants including Sears, Roebuck and Co.
Remodeling LA LLC; et al.                                      Musselwhite, Millicent, as Personal Representative of
Morris, Michael D. Vs. A.W. Chesterton Company,                the Estate of Autley Musselwhite & Millicent
et al., asbestos defendants including Sears, Roebuck           Musselwhite Individ. vs. AII Acquisitions, LLC., et
and Company (109 named defendants)                             al., asbestos defendants including Sears, Roebuck and
Morris, Patricia and William Morris, her husband vs.           Co. (a subsidiary of Sears Holdings Corporation)
Ace Hardware Corporation, et al., asbestos                     Myers, Arthur, as Personal Representative of the
defendants including Sears, Roebuck and Co.                    Estate of Joan Myers vs. 84 Lumber Company, et al.,
Morris, Stanley W. and Karen vs. Quigley co., Inc.,            asbestos defendants including Sears, Roebuck and
et al. asbestos defendants including Sears, Reobuck            Co. (a subsidiary of Sears Holdings Corporation)
and Co. (49 named defendants)                                  Myers, Bonnie J. vs. Borgwarner Morse Tec LLC., et
                                                               al., asbestos defendants including Sears, Roebuck and




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Litigation                                                   Litigation
Co.                                                          asbestos defendants including Sears, Roebuck and
                                                             Company (109 named defendants)
Myers, Margaret Pearl, Personal Representative of            Nelson, Darold R. vs. General Motors Corporation et
the Estate of Larry L. Myers, et al., vs. Union              al. asbestos defendants including Sears, Roebuck and
Carbide Corporation, et al, asbestos defendants              Co. (25 named defendants)
including Sears, Roebuck and Co.                             Nelson, Marie, as Administrator of the Estate of
Myers, Tom and Frances vs. A.W. Chesterton                   Andrew Nelson, et al., vs. Akzo Nobel Paints LLC, et
Company et al. asbestos defendants including Sears,          al., asbestos defendants including Sears, Roebuck and
Roebuck and Company (107 named defendants)                   Co. (a subsidiary of Sears Holdings Corporation)
Myrex, Thomas W., Personal Representative for the            Nelson, Richard L., et al. ACandS, Inc., et al.
Estate of Thomas K. Myrex vs. A.W. Chesterton                asbestos defendants including Sears, Roebuck and
Company, et al., asbestos defendants including Sears,        Co.
Roebuck and Co.                                              Nelson, Therese, Individually and as Special
Myrick, Melissa, Individually and as Special                 Administrator for the Estate of Daniel Neumaier,
Administrator of the Estate of James Corzine,                Deceased vs. A.W. Chesterton Company, et al.,
Deceased vs. American Optical Corporation, et al.,           asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and             Co.
Co.                                                          Nemec, Gigi, as Personal Representative of the Estate
Myrncza, Gary G. vs. Quigley Company, Inc. et al.            of Joseph Nemec, and Gigi Nemec Individually vs.
asbestos defendants including Sears, Roebuck and             84 Lumber Company, et al, asbestos defendants
Co. (45 named defendants)                                    including Sears, Roebuck and Co. (a subsidiary of
Nadolny, John and Sandra L. Nadolny, his wife vs.            Sears Holdings Corporation)
John Crane-Houdaille, Inc., et al., asbestos                 Neo-Neon Garnishment
defendants including Sears, Roebuck and Co.
Nagy, Ronald and Christine Nagy vs. A.O. Smith               Nero, Joseph v. Sears Home Improvement Products
Corporation, et al., asbestos defendants including
Sears, Roebuck and Co.                                       Ness, Dennis L. and Teena Ness, h/w, vs. 20th
Naismith II, David vs. Advance Auto Parts, et al.,           Century Glove Corporation of Texas, et al., asbestos
asbestos defendants including Sears, Roebuck and             defendants including Sears Holdings Corporation
Co.                                                          Ness, Robert H. and Patti J. Ness, husband and wife
Napier, James P and Sandra B. v. Sears Home                  vs. AII Acquisition, LLC., et al., asbestos defendants
Improvement Products, Inc.                                   including Sears, Roebuck and Co.
Nathanson, Melville and Shirley Jane Nathanson vs.           Nevada Gaming Partners Bankruptcy Proceedings
3M Company, et al., asbestos defendants including
                                                             Newcomb, Edward and Geraldine Newcomb, his
Sears, Roebuck and Co.                                       wife vs. Advance Auto Parts, et al., asbestos
Nava, Adrian; et al. v. Sears, Roebuck and Co.
                                                             defendants including Sears, Roebuck and Co.
Navy, Jim, Individually and as Executor of the Estate        Newkirk Avrem L.P. v. Sears, Roebuck and Co., et
of Adeleh Shafiee vs. Sears, Roebuck and Co., et al.,        al.
asbestos defendants                                          Nguyen, Young v. Sears Roebuck and Co.
Neal, Alphonso L. and Mary A. Neal, his wife vs.             Nichols, Lane J. v. Sears, Roebuck and Co.; and
John Crane-Houdaille, Inc., et al., asbestos
                                                             Sears Operations LLC
defendants including Sears, Roebuck and Co. (52
                                                             Nicholson, Melvin and Randy vs. Quigley Company,
named defendants)
                                                             Inc., et al. asbestos defendants including Sears,
Neal, David and Nina Simms vs. American Biltrite
                                                             Roebuck and Co. (50 named defendants)
Company, et al., asbestos defendants including Sears,        Nickles, Lawrence and Carolyn vs. Quigley
Roebuck and Co.
                                                             Company, Inc, et al. asbestos defendants including
Neal, Frank and Sherry vs. Quigley Company, Inc., et
                                                             Sears, Roebuck and Co. (74 named defendants)
al. asbestos defendants including Sears, Roebuck and
                                                             Nies, Gary vs. Quigley Company, Inc., et al. asbestos
Co. (46 named defendants)
                                                             defendants including Sears, Roebuck and Co. (54
Neely, Angela, Individually and as Special                   named defendants)
Administrator of the Estate of Charles Neely,                Nimal, Richard vs. A.O. Smith Corporation et al.
Deceased vs. 84 Lumber Company, et al., asbestos
                                                             asbestos defendants including Sears, Roebuck and co.
defendants including Sears, Roebuck and Co.
                                                             (114 named defendants)
Neice, Bernard Vs. A.W. Chesterton Company et al.,




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Litigation                                                     Litigation
Nimmer, Roger and Judy Nimmer, his wife vs. 84                 Roebuck and Co.
Lumber Company, et al., asbestos defendants
including Sears, Roebuck and Co.                               O'Hara, Elnora v. Sears Protection Company; and
Niu, Cai Hong                                                  Sears Home Improvement Products, Inc.
                                                               Ohde, Karen vs. 4520 Corp. Inc., et al., asbestos
Nolan, Patrick S. and Anita Nolan, his wife vs. John           defendants including Sears, Roebuck and Co.
Crane-Houdaille, Inc., et al., asbestos defendants             Ohio State Department of Medicaid v. Kmart
including Sears, Roebuck and Co.                               Corporation
Norris, Marten E. and Hazel Norris vs. A.W.                    O'Keefe, Christopher M. v. Sears Holdings
Chesterton Company, et al., asbestos defendants                Management Corporation, et al.
including Sears, Roebuck and Co.                               Olson, Marilyn L. as Surviving Spouse of Walter
Northey, Jr., Richard A. and Northey, Angela his               Marvin Olson, Probate Pending vs. A.C. Horn Inc., et
wife v. John Crane-Houdaille, Inc. et al. including            al., asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co. (52 named defendants)                   Co.
Northrup, Martin O. and Lucille Northrup vs. A.O.              Olson, Marlin vs. American Honda Motor Co., Inc.,
Smith Water Products Co., et al., asbestos defendants          et al., asbestos defendants including Sears, Roebuck
including Sears Holding Corp., Individually and as             and Co.
Successor in Interest to Sears, Roebuck and Co.                Olzewski, James P. v. AC&R Insulation, Co., Inc., et
Noser, Jeff, Individually and as Special                       al., asbestos defendants including Sears, Roebuck and
Administrator of the Estate of Jimmie Noser,                   Co. (77 named defendants)
Deceased vs. Air & Liquid Systems Corporation, et              Orange County Transportation Authority v. Seritage
al., asbestos defendants including Sears, Roebuck and          SRC Finance LLC; Seritage KMT Finance LLC;
Co.                                                            Kmart Operations LLC; Sears Operations LLC;
Novak, Donald J. and Kathy Novak vs. Allied                    Westminster Mall, LLC; Macy's California Realty,
Insulation Supply Co., Inc., et al., asbestos                  LLC; Southern California Edison Company; et al.
defendants including Allied Insulation Supply Co.,             Orchard Supply Hardware Bankruptcy #13-11565
Inc.
Novosel, Jr.; Philip R. and Bonny L. Novosel, h/w,             Orengo Velez, Jesus M. v. Kmart Corporation
vs. Honeywell International, Inc., et al., asbestos            Orr, Lyle and Patty Orr vs. Certainteed Corporation,
defendants including Sears, Roebuck and Co.                    et al., asbestos defendants including Sears, Roebuck
Nucifora, Frederick vs. A.W. Chesterton Company,
                                                               and Co. (a subsidiary of Sears Holdings Corporation)
et al., asbestos defendants including Sears, Roebuck
                                                               Orr, Neil and Barbara Orr vs. American Biltrite, et
and Co.
                                                               al., asbestos defendants including Sears, Roebuck and
Nunn, Jr.; Charles, and Wilma Nunn, his wife vs.
                                                               Co.
A.O. Smith Corporation, et al., asbestos defendants            Ortega, Lourdes and Esteban Ortega vs. Advance
including Sears, Roebuck and Co.
                                                               Auto Parts, Inc., et al., asbestos defendants including
Nwanguma, Peace v. Sears, Roebuck and Co.
                                                               Sears, Roebuck and Co.
Nwankpa, Bennett v. Sears Home Improvement                     Orth, Roger and Dorothy Orth, his wife vs. 84
Products, Inc.                                                 Lumber Company, et al., asbestos defendants
Oaks, Michael et al. v. Sears, Roebuck and Co.                 including Sears, Roebuck and Co.
                                                               Ortiz, Maria Del Refugio, et al., Individually and as
O'Brien et al v. Sears, Roebuck and Co. et al                  Co-Special Administrators of the Estate of Epifanio
                                                               Oritz, Deceased vs. A.W. Chesterton, Inc., et al.,
O'Bryan, Patrick, as Personal Representative of the            asbestos defendants including Sears, Roebuck and
Estate of Francis Higgins, and Patrick O'Bryan                 Co.
Individually vs. ABB, Inc., et al., asbestos defendants        Ortiz, Richard and Marie Ortiz vs. A.W. Chesterton
including Sears, Roebuck and Co. (a subsidiary of              Company, et al., asbestos defendants including Sears,
Sears Holdings Corporation)                                    Roebuck and Co.
O'Callahan, Edward and Margaret O'Callahan vs. Air             Orzolek, Carol S., Personal Representative of the
and Liquid Systems Corp., et al., asbestos defendants          Estate of James F. Orzolek, et al. vs. John Crane-
including Sears, Roebuck and Co.                               Houdaille, Inc., et al., asbestos defendants including
Odigie, Henryson A. v. Sears Roebuck & Co. (Sears              Sears, Roebuck and Co.
Auto Center)                                                   O'Shea, Michael vs. Ace Hardware Corporation, et
O'Field, Walter McLung and Mary Elizabeth vs. 3M               al., asbestos defendants including Sears, Roebuck and
Company, et al., asbestos defendants including Sears,          Co. (a subsidiary of Sears Holdings Corporation)




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Litigation                                                     Litigation
Ossman, Pierre, Individually and as Personal                   Patterson, David W. Vs. A.W. Chesterton Company,
Representative of the Estate of Ann D. Ossman, et              et al., asbestos defendants including Sears, Roebuck
al., vs. John Crane-Houdaille, Inc., et al., asbestos          and Company (109 named defendants)
defendants including Sears, Roebuck and Co.                    Patti, Joseph J. vs. A.W. Chesterton Company, et al.,
Ostroff, Nancy v. Sears Holding Corporation                    asbestos defendants including Sears, Roebuck and
                                                               Co.
Overman, Robert J. vs. A.W. Chesterton Company, et             Patton, Lilly, Individually and as Surviving Spouse of
al., asbestos defendants including Sears, Roebuck and          the late Erskin Patton, et al., vs. A.W. Chesterton
Co.                                                            Company, et al., asbestos defendants including Sears,
Oxford, Kelvin J. vs. Owens Illinois, Inc., et al.,            Roebuck and Co.
asbestos defendants including Sears, Roebuck and               Paul Arntz vs. AW Chesterton Company et al.,
Co.                                                            asbestos defendants including Sears, Roebuck and
Paczak, Michael and Helen Paczak, his wife vs. John            Co.
Crane-Houdaille, Inc., et al., asbestos defendants             Paul, Howard F. and Mary Paul, his wife vs. Union
including Sears, Roebuck and Co.                               Carbide Corporation, et al., asbestos defendants
Padin, Haydee v. Kmart Corp. Puerto Rico                       including Sears, Roebuck and Co.
                                                               Paulino, John and Gloria Paulino, his wife vs. John
Padin, Ivan et al. v. Sears Roebuck of Puerto Rico,
Inc., et al.                                                   Crane-Houdaille, Inc., et al., asbestos defendants
Pagnotti, Jr.; Michael S. vs. Air & Liquid Systems             including Sears, Roebuck and Co.
                                                               Pavel, Kathleen M., Individually and as Personal
Corp., et al., asbestos defendants including Sears,
                                                               Representative of the Estate of Ronald L. Pavel vs.
Roebuck and Co.
                                                               A.W. Chesterton Company, et al., asbestos
Painter, Howard and Sara Painter, h/w vs. Owens
Illinois, Inc., et al., asbestos defendants including          defendants including Sears, Roebuck and Co.
Sears, Roebuck and Co.                                         Paxton, Kenneth Earl vs. Aerco International, Inc., et
                                                               al., asbestos defendants including Sears, Roebuck and
Palmer, Martha H. v. Sears Home Improvement
                                                               Co.
Products, Inc.
                                                               Payne, Anthony J. vs. John Crane-Houdaille, Inc., et
Palmer, Samantha vs. 84 Lumber Company, et al.,
                                                               al., asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and
Co.                                                            Co.
Pancher, Eugene H. vs. A.W. Chesterton, Inc., et al.,          Payne, Larry, Individually and as Surviving Heir of
                                                               the Estate of Donald Payne, Deceased vs. Advance
asbestos defendants including Sears, Roebuck and
                                                               Auto Parts, Inc., et al., asbestos defendants including
Co.
                                                               Sears, Roebuck and Co.
Paoli, Gabriella Jorge and Luis Corchado Mososo v.
                                                               Pazur, Robert E. and Barbara Pazur vs. Owens
Sears Roebuck de Puerto Rico, et al.
Parker, James vs Sears et al                                   Illinois, Inc., et al., asbestos defendants including
                                                               Sears, Roebuck and Co.
Parker, Rita C., Personal Representative for the               Pearson, Susan, Individually and as Special
Estate of Charles M. Parker, et al., vs. John Crane-           Administrator of the Estate of Carol A. Amburg,
Houdaille, Inc., et al., asbestos defendants including         Deceased v. A.W. Chesterton, Inc., et al., asbestos
Sears, Roebuck and Co.                                         defendants including Sears, Roebuck and Co. (73
Parks, Patsy P. vs. AC&R Insulation, et al., asbestos          named defendants)
defendants including Sears, Roebuck and Co.                    Pease, IV; James W. and Marilyn Pease vs. ABB,
Partridge, Edward C. and Barbara Ann vs. 3M                    Inc., et al., asbestos defendants including Sears,
Company., et al., asbestos defendants including                Roebuck and Co.
Sears, Roebuck and Co.                                         Peck, Bernard J. and Elizabeth Peck vs. Acme
Patrick, Carlos and Gloria Patrick his wife vs. John           Roofing Supply, et al., asbestos defendants including
Crane-Houdaille, Inc., et al., asbestos defendants             Sears. Roebuck and Co.
including Sears, Roebuck and Co.                               Pelkey, Lisa, Individually and as Special
Patterson, Charles Victor and Patterson, Mary C. vs            Administrator of the Estate of Lawrence Gallop,
Quigley Company, Inc., et al asbestos defendants               Deceased vs. A.W. Chesterton, Inc., et al., asbestos
including Sears, Roebuck and Co. (46 named                     defendants including Sears, Roebuck and Co.
defendants)                                                    Pellegrino, Mary L. and her husband Italo Antonio
Patterson, Daniel L. vs. A.W. Chesterton, Inc., et al.,        "Anthony" Pellegrino vs. 3M Company, et al.,
asbestos defendants including Sears, Roebuck and               asbestos defendants including Sears, Roebuck and
Co.                                                            Co.




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Litigation                                                    Litigation
Peltier, Dennis and Glenora Ann Thomas-Peltier vs.            Persofsky, Jacob and Estelle Persofsky h/w vs A.P.
3M Company., et al., asbestos defendants including            Green Industries, Inc., et al (asbestos dfts, including
Sears, Roebuck and Co.                                        Sears, Roebcuck and Co.)
Pena, Diana Mariani v. Kmart Corporation Puerto               Peterson, Gloria et al. v. Sears Home Improvement
Rico, et al.                                                  Products, Inc., et al.
Pena, Jorge vs. Ammco Tools, Inc., et al., asbestos           Petit, Raymond A. and Priscilla Petit, his wife vs.
defendants including Sears, Roebuck and Co. (a                BorgWarner Morse Tec LLC., et al., asbestos
subsidiary of Sears Holdings Corporation)                     defendants including Sears, Roebuck and Co.
Pendergast, Linda L., as Personal Representative in           Pettie, Earl vs. John Crane-Houdaille, Inc., et al.,
the Estate of Robert G. Lowther, Jr., et al., vs.             asbestos defendants including Sears, Roebuck and
American Optical Corporation, et al., asbestos                Co.
defendants including Sears, Roebuck and Co.,                  Phillips, Francis and Beatrice Phillips, his wife vs.
Individually and as subsidiary of Sears Holdings              John Crane-Houdaille, Inc., et al., asbestos
Corporation                                                   defendants including Sears, Roebuck and Co.
Pennington, David vs. Advance Auto Parts, Inc., et            Phillips, George vs. Advance Auto Parts, Inc., et al.,
al., asbestos defendants including Sears, Roebuck and         asbestos defendants including Sears, Roebuck and
Co.                                                           Co.
Pennsylvania Sales Tax Bad Debt Refund                        Phillips, Norman, Individually and as Special
                                                              Administrator of the Estate of Diane Phillips,
Penny, Gerald vs Sears et al                                  Deceased vs. Air & Liquid Systems Corporation, et
                                                              al., asbestos defendants including Sears, Roebuck and
People of California v. Third Fairfax LLC, Third
                                                              Co.
Fairfax Inc, Ira Smedra, Kmart Corp, Robert
Schriesheim, Sears Holdings and Edward Lampert-               Phillips, Patricia, Executrix of the Estate of Joseph
Case No. 8CJ01405                                             Phillips and Patricia Phillips vs A.W. Chesterton,
                                                              Inc., et al. including Sears, Roebuck and Co. [55
People of the State of Illinois [Lindblom] v. Sears
                                                              named defendants]
Brands, et al.
                                                              Phillips, Sr.; Charles A. and Ruth Joyce Phillips, his
Peoples, James E. and Willean vs. Quigley Company,
                                                              wife vs. John Crane-Houdaille, Inc., et al., asbestos
Inc., et al. asbestos defendants including Sears,
Roebuck and Co. (47 named defendants)                         defendants including Sears, Roebuck and Co.
Pereda, Robert, as Special Administrator of the Estate        Piccione, Robert A. vs. Allied Signal, Inc., et al.,
                                                              asbestos defendants including Sears, Roebuck and
of Sergio Pereda vs. Borgwarner Morse Tec, Inc., et
                                                              Co.
al., asbestos defendants including Sears, Roebuck and
                                                              Piche, Paul Edmund vs. AII Acquisition LLC., et al.,
Co. (a subsidiary of Sears Holdings Corporation)
                                                              asbestos defendants including Sears, Roebuck and
Perez, Edwin v. Kmart Operations LLC
                                                              Co.
Perez, Estrella v. Sears Insurance Services, LLC, et          Piecara, Sr.; Charles A. vs. Sunoco, Inc., et al.,
al.                                                           asbestos defendants including Sears, Roebuck and
Perilloux, Dale, Individually and as Special                  Co.
Administrator of the Estate of Catherine Perilloux vs.        Pierce, Edwin John and Judy Pierce, his spouse vs.
84 Lumber, et al., asbestos defendants including              CBS Corporation, et al., asbestos defendants
Sears, Roebuck and Co.                                        including Sears, Roebuck and Co.
Perkins, Michael A. and Gail Perkins vs. A.W.                 Pierce, James M. and Donna Pierce vs. ABB, Inc., et
Chesterton Company, et al., asbestos defendants               al.,. asbestos defendants including Sears, Roebuck
including Sears, Roebuck and Co.                              and Co.
Peroutka, Diane and Larry Peroutka vs. A.W.                   Pinion, Patricia, Individually and Tammy Pinion as
Chesterton Company, et al., asbestos defendants               Special Administrator of the Estate of Donald
including Sears Holding Corporation                           Allison, Deceased vs. Advance Auto Parts, Inc., et
Perritt, Jesse and Martha Perritt, his wife vs. 84            al., asbestos defendants including Sears, Roebuck and
Lumber, et al., asbestos defendants including Sears,          Co.
Roebuck and Co.                                               Pitts, Jr.; David, and Mary Jean Pitts, his wife vs.
Perry, James Bruce vs. 3M Company, et al., asbestos           John Crane-Houdaille, Inc., et al, asbestos defendants
defendants including Sears, Roebuck and Co.                   includig Sears, Roebuck and Co.
Perry, William E. and Mary vs. Quigley Company,               Pitzl, Richard G. and Ramona Pitzl, his wife vs. Air
Inc., et al. asbestos defendants including Sears,             & Liquid Systems Corporation, et al., asbestos
Roebuck and Co. (55 named defendants)                         defendants including Sears, Roebuck and Co.




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Litigation                                                      Litigation
Pizza, Patricia, Individually and as Special                    Pritchard, Robert vs. 601 W Companies, et al.,
Administrator of the Estate of Christina Buttaro,               asbestos defendants including Sears, Roebuck and
Deceased vs. A.O. Smith Corporation, et al., asbestos           Co. (a subsidiary of Sears Holdings Corporation)
defendants including Sears, Roebuck and Co.                     Proctor, George C. and Nancy Proctor vs. A.O. Smith
Platt, Dale and Maxine Platt vs. 84 Lumber                      Water Products Co., asbestos defendants including
Company, et al., asbestos defendants including Sears,           Sears, Roebuck and Co.
Roebuck and Co.                                                 Proctor, Mary vs. 84 Lumber Company, et al.,
Pluck, Walter D. and Susan Pluck vs. Owens Illinois,            asbestos defendants including Sears, Roebuck and
Inc., et al., asbestos defendants including Sears,              Co.
Roebuck and Co.                                                 Propst, Loy G. vs. AII Acquisition Corp., et al.,
Plumb, Howard G. vs Quigley Company, Inc., et al                asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and                Co.
Co. (47 named defendants)                                       Provence, Olen B. v. A.W. Chesterton, Inc., et al.,
Pohl, Herbert and Ursula Pohl, his wife vs. A.W.                asbestos defendants including Sears, Roebuck and
Chesterton Company, et al., asbestos defendants                 Co.
including Sears, Roebuck and Co.                                Pruitt, Neida, as Personal Representative of the Estate
Poorbaugh, Kenneth vs. John Crane-Houdaille, Inc.,              of Harold Pruitt, and Neida Priutt Individually vs.
et al., asbestos defendants including Sears, Roebuck            A.O. Smith Corporation, et al., asbestos defendants
and Co.                                                         including Sears, Roebuck and Co. (a subsidiary of
Pope, Fred, Individually and as Special Administrator           Sears Holdings Corporation)
of the Estate of Elsie Parker, Deceased vs. 84 Lumber           Prunty, John, Individually and as Special
Company, et al., asbestos defendants including Sears,           Administrator of the Estate of Rosa Prunty, Deceased
Roebuck and Co.                                                 vs. 84 Lumber, et al., asbestos defendants including
Poulos, Gloria, Individually and as Personal                    Sears, Roebuck and Co.
Representative of the Estate of James A. Poulos, II,            Pryor, James B. vs. A.P. Green Industries Inc., et al.
Deceased, et al., vs. Alfa Laval, Inc., et al., asbestos        asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                     Co.
Pound, Gerald vs. Arvinmeritor, Inc., et al., asbestos          PSC Resources Site Palmer, MA
defendants including Sears, Roebuck and Co. (a
subsidiary of Sears Holding Corporation)                        Pumphrey, Jr.; Vernon K. and Yvonne Pumphrey, his
Powell, Debra Denise, Co-Personal Representative of             wife vs. Union Carbide Corporation, et al., asbestos
the Estate of Paul Louis Welshans, et al., vs. John             defendants including Sears, Roebuck and Co.
Crane-Houdaille, Inc., et al., asbestos defendants              Pupa, Domenic and Estrella Vergara vs. American
including Sears, Roebuck and Co.                                Standard, Inc., et al., asbestos defendants including
Powell, Sesley vs. Union Carbide Corporation, et al.,           Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and                Purdy, Sr.; William A. and Deanna Purdy vs. Union
Co.                                                             Carbide Corporation, et al., asbestos defendants
Powe, Robert vs. Ace Hardware Corporation, et al.,              including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and                Putikka, Russell vs Georgia-Pacific Corporation; The
Co. (a subsidiary of Sears Holdings Corporation)                Jamar Company; Walker-Jamar Company, Riley
Powers, Ralph, Administrator of the Estate of Laura             Stoker Corp; Sears, Roebuck and Co.; and United
Powers, Deceased vs. A.O. Smith Corp. et al.,                   States Gypsum Company
asbestos defendants including Sears, Roebuck and                Putrino, Joseph J. Vs. A.W. Chesterton Company, et
Co.                                                             al., asbestos defendants including Sears, Roebuck and
Prasse, David and Carol Prasse vs. A.O. Smith                   Company (109 named defendants)
Corporation, et al., asbestos defendants including              Pyeatt, Glennon and Patricia Pyeatt, his wife vs. 4520
Sears, Roebuck and Co.                                          Corp., Inc., et al., asbestos defendants including
Pratt, Jr.; Paul H. vs. 3M Company, et al., asbestos            Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                     Pyle, Wendell P. vs.84 Lumber Company, et al.,
Price, Walter M. and Gail L. Price vs. A.W.                     asbestos defendants including Sears, Roebuck and
Chesterton, Inc., et al., asbestos defendants including         Co.
Sears, Roebuck and Co.                                          Quail, Sr.; Hugh, Individually and as Personal
Primavera, Nicholas vs. American Standard, et al.,              Representative of the Estate of Joann Quail, deceased
asbestos defendants including Sears, Roebuck and                vs. American Biltrite Co., et al., asbestos defendants
Co.                                                             including Sears, Roebuck and Co. (a subsidiary of




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Litigation                                                      Litigation
Sears Holdings Corporation)                                     Rees, Leslie E. vs. A.W. Chesterton, Inc., et al.,
                                                                asbestos defendants including Sears, Roebuck and
Queen, Roy Weldon and Judy Queen vs. 84 Lumber                  Co. a subsidiary of Sears Holdings Corporation
Co., et al., asbestos defendants including Sears,               Reichenbach, Geraldine vs. John Crane-Houdaille,
Roebuck and Co.                                                 Inc., et al., asbestos defendants including Sears,
Racht, Jule, Individually and as Surviving Heir of              Roebuck and Co.
Robert Racht, Deceased vs. 84 Lumber, et al.,                   Reiff, Jean, Individually and as Special Administrator
asbestos defendants including Sears, Roebuck and                of the Estate of Alvin Reiff, Deceased vs. Amsted
Co.                                                             Rail Company, Inc., et al., asbestos defendants
Radatti, Anthony vs. American Biltrite, Inc., et al.,           including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and                Reimann, William and Jane Reimann vs. Air &
Co.                                                             Liquid Systems Corporation, et al., asbestos
Radding, Jonathan Bernhard v. Sears Holding                     defendants including Sears, Roebuck and Co.
Corporation                                                     Reis, Gale and Carol Reis vs. Agco Corporation, et
Ragusa, Sr.; Carmen vs. Owens Illinois, et al.,                 al., asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and                Co.
Co.                                                             Reppert, Glenn G. and Marianne Reppert, h/w vs.
Ratlief, John B. and Carol J. Ratlief, his wife vs. John        Advance Auto Parts, et al., asbestos defendants
Crane-Houdaille, Inc., et al., asbestos defendants              including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                                Resch, John as Personal Representative of the Estate
Raupp, Albert, as Executor for the Estate of Henry              of Stephen W. Resch, Deceased vs. 84 Lumber
Raupp vs. Owens Illinois, Inc., et al., asbestos                Company, et al., asbestos defendants including Sears,
defendants including Sears, Roebuck and Co.                     Roebuck and Co. (a subsidiary of Sears Holdings
Raven Associates v. Sears Holdings, Kmart                       Corporation)
Corporation, et al.                                             Reyes, Victor et al. v. Sears Holdings Corporation, et
Rawls, Robert vs. Alcatel-Lucent USA Inc., et al.,              al.
asbestos defendants including Sears, Roebuck and                Reynolds, Alvin vs. 84 Lumber Company, et al.,
Co. (a subsidiary of Sears Holdings Corporation)                asbestos defendants including Sears, Roebuck and
Raye, Charles v. Sears                                          Co.
Raynor, William N. and Betty vs. Quigley Company,               Reynolds, Paul vs. Advance Auto Parts, et al.,
                                                                asbestos defendants including Sears, Roebuck and
Inc., et al. asbestos defendants including, Sears,
                                                                Co.
Roebuck and Co. (54 named defendants)
                                                                Rhymer, Carl and Donna Rhymer vs. 4520 Corp.,
Readerlink Distribution Services, LLC v. Kmart
                                                                Inc., et al., asbestos defendants including Sears,
Corporation
Reale, Jr.; Frank W. vs. Honeywell International,               Roebuck and Co.
Inc., et al., asbestos defendants including Sears,              Richardson, Clifton and Richardson, Joan, his wife v.
                                                                John Crane-Houdaille, Inc. et al. including Sears,
Roebuck and Co.
                                                                Roebuck and Co. (52 named defendants)
Recovery Project
                                                                Richardson, Willie Jr. and Denise his wife vs.
Redfearn, Sr.; John W. vs. Honeywell International,             Quigley Company, Inc., et al. asbestos defendants
Inc., et al., asbestos defendants including Sears,              including Sears, Reobuck and Co. (47 named
Roebuck and Co.                                                 defendants)
Reed, Charles and Judith Reed vs. Alco Products                 Richey, Joy, Individually and as Special
LLC, et al., asbestos defendants including Sears,               Administrator of the Estate of Daniel Richey,
Roebuck and Co.                                                 Deceased vs. A.O. Smith Corporation, et al., asbestos
Reed, Lawrence and Beverly Reed vs. Arvinmeritor,               defendants including Sears, Roebuck and Co.
Inc., et al., asbestos defendants including Sears,              Richmond, Simon Nicholas v. Winchance Solar
Roebuck and Co. (a subsidiary of Sears Holdings                 Fujian Technology Co. Ltd.; et al. [including Kmart
Corporation)                                                    Holding Corporation; Kmart Corporation; Kmart
Reed, Stanley N. vs. A.W. Chesterton, Inc., et al.,             Holdings, Inc. and Kmart Promotions, LLC]
asbestos defendants including Sears, Roebuck and                Rickabaugh, David L. and Gwendolyn Rickabaugh,
Co.                                                             H/W, vs. American Biltrite Inc., et al., asbestos
Reese, Sandra vs. Quigley Company, Inc., et al.                 defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and                Ricker, Robert L. and Cathy vs. Owens Illinois, Inc.,
Co. (47 named defendants)                                       et al., asbestos defendants including Sears Holding




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Litigation                                                    Litigation
Corporation, aka, as successor-by-merger Kmart                American Biltrite, Inc., et al., asbestos defendants
Holding Corporation                                           including Sears, Roebuck and Co.
Rickson, Ruth vs. Agco Corporation, et al., asbestos          Roberts, Jeanie, Individually and as Special
defendants including Sears, Roebuck and Co.                   Administrator of the Estate of Finance Roberts,
Rigali, Tiffany, Individually and as Special                  Deceased vs. A.P. Green Industries, Inc., et al.
Administrator of the Estate of Michael A. DeRuosi,            asbestos defendants including Sears, Roebuck and
Jr., Deceased vs. ABB, Inc., et al., asbestos                 Co.
defendants including Sears, Roebuck and Co.                   Roberts, Mattie, Individually and as Personal
Riggin, Rodney and Carol Riggin vs. Aamco Tools,              Representative of the Estate of George P. Roberts vs.
et al., asbestos defendants including Sears, Roebuck          Quigley Company, Inc., et al. asbestos defendants
and Co.                                                       including Sears, Roebuck and Co. (53 named
Riggle, Roy Vs. A.W. Chesterton Company, et al.,              defendants)
asbestos defendants including Sears, Roebuck and              Robertson, Granvel and Claudine Robertson vs. John
Company (109 named defendants)                                Crane-Houdaille, Inc., et al. asbestos defendants
Riley, Carolyn, Individually and as Executrix of the          including Sears, Roebuck and Co.
Estate of Johnnie Riley vs. Sears, Roebuck and Co.,           Robertson, Wetzel B. and Barbara Robertson vs.
et al., asbestos defendants                                   John Crane-Houdaille, Inc., et al., asbestos
Riley, Roger and Cynthia v. Sears Holdings                    defendants including Sears, Roebuck and Co.
Corporation                                                   Robinson, Allis J., Personal Representative of the
Riley, Sara Louise, Individually and Barbara A.               Estate of James B.E. Robinson, et al., vs. Union
Walker as Executrix for the Estate of Joseph A.               Carbide Corporation, et al., asbestos defendants
Riley, Jr., vs. Owens Illinois, Inc., et al., asbestos        including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Robinson, James B. and Robinson, Allis vs Quigley
Rilli, Theresa v. Sears Holdings Corporation                  Company, Inc., et al asbestos defendants including
                                                              Sears, Roebuck and Co. (46 named defendants)
Rinehart, Robert E. and Carolyn Rinehart vs. A.O.             Robinson, Richard and Katherine Robinson, his wife
Smith Corporation, et al., asbestos defendants                vs. Union Carbide Corporation, et al., asbestos
including Sears, Roebuck and Co. (a subsidiary of             defendants including Sears, Roebuck and Co.
Sears Holdings Corporation)                                   Robinson, Robert Dale and Patricia Robinson, his
Ring, Irene S., Individually and as Special                   wife vs. John Crane-Houdaille, Inc., et al., asbestos
Administrator of the Heirs and Estate of Gordon A.            defendants including Sears, Roebuck and Co.
Ring, Sr., Deceased vs. Air & Liquid Systems                  Robinson, Sam and Robinson, Peggy Lee, his wife v.
Corporation, et al., asbestos defendants including            John Crane-Houdaille, Inc. et al. including Sears,
Sears, Roebuck and Co.                                        Roebuck and Co. (52 named defendants)
Riso, Frank and Rose Riso vs. A.O. Smith Water                Robinson, Willis A. Jr. v. Sears Home
Products, et al., asbestos defendants including Sears,        Services/Denver Service District
Roebuck and Co.                                               Robinson, Windy v. Sears Home Improvement
Ritchie, Michelle, as Personal Representative of the          Products, Inc.
Estate of David Williams vs. 84 Lumber Company, et            Rocco, Pat v. Sears Hilo Store
al., asbestos defendants including Sears, Roebuck and
Co. (a subsidiary of Sears Holdings Corporation)              Rockemann, Scott v. Sears
Ritz, Jerry vs. 84 Lumber Company, et al., asbestos
defendants including Sears, Roebuck and Co.                   Rodman, James and Marian vs. Allis-Chalmers
Rizzuti, Kevin R. vs. A.W. Chesterton Company, et             Corporation, et al., asbestos defendants including
al., asbestos defendants including Sears, Roebuck and         Sears, Roebuck and Co.
Co.                                                           Rodriguez, Edwin Joseph vs. A.O. Smith Water
Roa, Lorena v. Sears, Roebuck and Co.                         Products Co., et al., asbestos defendants including
                                                              Sears, Roebuck and Co.
Robbins, Billy J. and Denise Robbins, his wife vs.            Rodriques, Hyacinth Marie v. Sears
Union Carbide Corporation, et al., asbestos
defendants including Sears, Roebuck and Co.                   Rogers, Douglas R. vs. Owens Illinois, Inc., et al.,
Roberson, Phillip vs. Quigley Company, Inc., et al.           asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Reobuck and              Co.
Co. (45 named defendants)                                     Rogers, Sr.; Billy R. and Joyce D. Rogers vs. John
Roberts, Clovis C. and Harriet R. Roberts vs.                 Crane-Houdaille, Inc., et al., asbestos defendants
                                                              including Sears, Roebuck and Co.




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Litigation                                                      Litigation
Rohr, Leslie, Individually and as Special                       Russomanno, Vito vs. American Biltrite Company, et
Administrator of the Estate of Donald McGrath,                  al., asbestos defendants including Sears, Roebuck and
Deceased vs. AK Steel Corporation, et al., asbestos             Co.
defendants including Sears, Roebuck and Co.                     Ruzzano, Catherine, Individually, and as the
Rohrs, Howard B. and Francis M. vs. Quigley                     Executor for the Estate of John Ruzzano vs. A.W.
Company, Inc., et al. asbestos defendants including             Chesterton Company, et al., asbestos defendants
Sears, Reobuck and Co. (49 named defendants)                    including Sears, Roebuck and Co.
Roignant, George vs. Air & Liquid Systems                       Ryan, Charles and Linda Ryan vs. Advance Auto
Corporation, et al., asbestos defendants including              Parts, et al., asbestos defendants including Sears,
Sears, Roebuck and Co.                                          Roebuck and Co.
Roksiewicz, Richard vs. Union Carbide Corporation,              Rydzewski, Richard R. vs. A.O. Smith Water
et al., asbestos defendants including Sears, Roebuck            Products Co., et al., asbestos defendants including
and Co.                                                         Sears, Roebuck and Co.
Ronald B. Kliniewski and Carol M. Kliniewski, h/w               Rysewyk, Rebecca et al. v. Sears Holdings
vs. A. W. Chesterton, Inc. et al Asbestos defendants            Corporation, et al.
Including Sears, Roebuck and Co. (68 defendants                 S#1228 - Arden Fair Associates, L.P. v. Sears,
named)                                                          Roebuck and Co.; SRC Facilities LLC; Wells Fargo
Roof, Linda, as Personal Representative of the Estate           Bank, N.A.; USB AG; SRC Commercial Mortgage
of Mildred C. Hyatt vs. American Biltrite, Inc., et al.,        Trust 2003-A; and Does 1-50, inclusive
asbestos defendants including Sears, Roebuck and                Sacolic, Carrol, Individually and as Executrix for the
Co.                                                             Estate of Kenneth R. Sacolic vs. Air & Liquid
Rook, Samuel N. and Hildegard Rook, his wife vs.                Systems Corporation, et al., asbestos defendants
John Crane-Houdaille, Inc., et al., asbestos                    including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                     Sadler, Sr.; Allen R. vs. Union Carbide Corporation,
Rosas Hernandez, Elvira (Elvia) v. Sears Holding                et al., asbestos defendants including Sears, Roebuck
Management Corporation; Sears, Roebuck and Co.;                 and Co.
Sears Operation Center; and Does 1-100, inclusive               Saia Family Limited Partnership v. Kmart
Rosato, Edward and Barbara Williams as Co-                      Corporation
Personal Representatives of the Estate of Anthony E.            Salas, Daniel G. and Felicitas C. Salas vs. Akzo
Rosato, et al, vs. Advanced Stores Company, Inc., et            Nobel Paints LLC., et al., asbestos defendants
al., asbestos defendants including Sears, Roebuck and           including Sears Holding Co.
Co.                                                             Saleh, Sam D. and Fatin v. Sears Roebuck #1250
Rosen, Lester J., Independent Executor of the Estate
of Frank Powers, Deceased vs. A.W. Chesterton                   Samia, Dori J. , as personal representative of the
Company, et al., asbestos defendants including Sears,           estate of John C. Degrazia, deceased, and Elizabeth
Roebuck and Co.                                                 Degrazia, individually and as surviving spouse vs.
Rouchdy, Said et al. v. Sears, Home Improvement                 3M Company, et al., asbestos defendants including
Products, Inc., et al.                                          Sears, Roebuck and Co.
Rowe, John & Joyce Rowe vs. Allied Signal, Inc., et             Samuel, Bryant P. and Annette E. Samuel his wife vs.
al., asbestos defendants including Sears, Roebuck and           Union Carbide Corporation, et al., asbestos
Co.                                                             defendants including Sears, Roebuck and Co.
Rubenstein, Aaron v. Bruce R. Berkowitz et al. and              Sanchez, Ronnie R. v. Sears Home Improvement
Sears Holdings Corp.
                                                                Sanchez, Waleska Olivieri v. Sears Roebuck de
Ruch Lester F. and Linda C. vs. A.O. Smith
                                                                Puerto Rico et al. [dba Kmart]
Corporation., et al., asbestos defendants including
                                                                Sanders, Annette, Individually and as Surviving
Sears, Roebuck and Co.                                          Spouse of the late Donald Sanders, et al., vs.
Rudy, Dolores, Personal Representative of the Estate            American Standard, Inc., et al., asbestos defendants
of Robert E. Rudy, Sr., et al., vs. John Crane-
                                                                including Sears, Roebuck and Co.
Houdaille, Inc., et al., asbestos defendants including
                                                                Sandruck, Joseph J. vs. John Crane-Houdaille, Inc., et
Sears, Roebuck and Co.
                                                                al., asbestos defendants including Sears, Roebuck and
Rushton, Evelyn, Individually and as Special
                                                                Co.
Administrator of the Estate of Jack Rushton,                    Sandsted, John vs. 3M Company, et al., asbestos
Deceased vs. ABB Inc., et al., asbestos defendants              defendants including Sears, Roebuck and Co.
including Sears, Roebuck and Co.
                                                                Sanso, Joseph vs. A.W. Chesterton Company et al.




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Litigation                                                    Litigation
asbestos defendants including Sears, Roebuck and              including Sears, Roebuck and Co. (a subsidiary of
Co. (25 named defendants)                                     Sears Holdings Corporation)
Santamarina, Guillermo Garcia v. Sears, Roebuck &             Schaffer, Norman vs. Honeywell International, Inc.,
Co., and Does 1 through 300, inclusive                        et al., asbestos defendants including Sears, Roebuck
Santangelo, Donald and Concetta Santangelo,                   and Co.
Individually and as Husband and Wife vs. Aurora               Schanz, Robert J. and Patricia Schanz, h/w vs.
Pump Company, et al., asbestos defendants including           Honeywell International, Inc., et al., asbestos
Sears, Roebuck and Co.                                        defendants including Sears, Roebuck and Co.
Santino, Vincent and Frances Santino vs. American             Scheller, Richard vs. Quigley Company, Inc., et al.
Biltrite, Inc., et al., asbestos defendants including         asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.                                        Co. (55 named defendants)
Santora, Frank vs. Union Carbide Corporation, et al.,         Schemel, William E. and Margaret Schemel, h/w vs.
asbestos defendants including Sears, Roebuck and              A.W. Chesterton, Inc., et al., asbestos defendants
Co.                                                           including Sears, Roebuck and Co.
Sargous, Dean Allen and Cindy Marie Sargous vs.               Scheppske, Roland W. Jr. and Linda vs. Quilgey
AFC-Holcroft, LLC., et al., asbestos defendants               Company, Inc., et al. asbestos defendants including
including Sears, Roebuck and Co.                              Sears, Roebuck and Co. (56 named defendants)
Sarkan, Cherie for Tyler Erickson v. Harmony                  Scherr, Norman and Sandra Scherr, his wife vs.
Homes, et al. [StarWest] v. Del Grosso Flooring, et           Union Carbide Corporation, et al., asbestos
al.                                                           defendants including Sears, Roebuck and Co.
Sarkus, Ken v. Sears Parts Direct                             Schiff, Irwin vs. American Honda Motor Co., Inc., et
                                                              al., asbestos defendants including Sears, Roebuck and
Sarnecki, Theodore Vs. A.W. Chesterton Company,               Co., (a subsidiary of Sears Holdings Corporation)
et al., asbestos defendants including Sears, Roebuck          Schimunek, Edward and Donna Schimunek, his wife
and Company (109 named defendants)                            vs. John Crane-Houdaille, Inc., et al., asbestos
Savage, Burtice and Essie vs. John Crane-houdaille,           defendants including Sears, Roebuck and Co.
Inc., et al. asbestos defendants including Sears,             Schmitt, Gilbert and Rose Mary Schmitt vs. Akebono
Roebuck and Co. (55 named defendants)                         Brake Corporation, et al., asbestos defendants
Savage, Diane D., Personal Representative of the              including Sears, Roebuck and Co.
Estate of James W. Savage, and Estelle Savage,                Scholfield, Judith A., Individually and as the
Individually and as Surviving Spouse of James. W.             Surviving Spouse and as the Sole Heir of the late
Savage vs. John Crane-Houdaille, Inc., et al.,                Fredric R. Scholfield vs. Aurora Pump Company, et
asbestos defendants including Sears, Roebuck and              al., asbestos defendants including Sears, Roebuck and
Co.                                                           Co.
Savarino, John, as Executor of the Estate of Salvatore        Schopac, Donna, Individually and as Administratrix
Savarino vs. 3M Company, et al., asbestos defendants          for the Estate of George Schopac vs. A.W.
including Sears, Roebuck and Co.                              Chesterton, et al., asbestos defendants including
Sawicki, Paul, Individually and as Special                    Sears, Roebuck and Co.
Administrator of the Estate of Henry Sawicki,                 Schreiber, Thomas and Helen Schreiber, h/w vs.
Deceased vs. ABB,Inc., et al., asbestos defendants            Honeywell International, Inc., et al., asbestos
including Sears, Roebuck and Co.                              defendants including Sears, Roebuck and Co.
Saylor, Samuel and Gabriele Saylor, his wife vs. 84           Schultz, Carroll G. and Elizabeth vs. Quigley
Lumber Company, et al., asbestos defendants                   Company, Inc., et al. asbestos defendants including
including Sears, Roebuck and Co.                              Sears, Roebuck and Co. (46 named defendants)
Sayville Menlo, LLC v. Sears Holdings Management              Schulz-Goss, Kimberly A., and Kenneth M. Goss,
Corporation                                                   her husband vs. Union Carbide Corporation, et al.,
Scaggs, Jo, Individually and as Special Administrator         asbestos defendants including Sears, Roebuck and
of the Estate of Ivan Scaggs, Deceased vs. 84 Lumber          Co.
Company, et al., asbestos defendants including Sears,         Schulz, Jr.; Bernard R. and Connie S. Schulz, his
Roebuck and Co.                                               wife vs. John Crane-Houdaille,Inc., et al., asbestos
Scaramuzzino, John Vs. A.W. Chesterton Company,               defendants including Sears, Roebuck and Co.
et al., asbestos defendants including Sears, Roebuck          Schutt, Donald L. II v. Carrier Corporation and Sears
and Company (109 named defendants)                            Holdings Management Corporation
Schaffer, Jr.; William J. and Sally A. Meisner vs.            Schweinhart, David and Karen Schweinhart vs.
Acme Boiler Company, et al., asbestos defendants              Owens Illinois, Inc., et al., asbestos defendants




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Litigation                                                      Litigation
including Sears, Roebuck and Co.                                Sears v. Walsh, Jennifer
Schweitzer, Richard S. and Mary Schweitzer, his                 Sediva, John and Mary Sediva vs. Air and Liquid
wife vs. Union Carbide Corporation, et al., asbestos            Systems Corp., et al., asbestos defendants including
defendants including Sears, Roebuck and Co.                     Sears, Roebuck and Co.
Scotland, Aubin v. Kmart Corporation                            Seegot Holdings et al v. Bayer et al (In Re: Urethane
                                                                Antitrust Litigation)
Scott, Eileen H., Administratrix of the Estate of               Seldomridge, Jack and Marion Seldomridge, his wife
Charles Scott, deceased, vs. A.W. Chesterton, Inc.,             vs. John Crane-Houdaille, Inc., et al., asbestos
et. al., asbestos defendants including Sears, Roebuck           defendants including Sears, Roebuck and Co.
and Co.                                                         Seltzer, Susan and Robert v. Sears Roebuck &
Scott, Ethel v. C.T. Corporation System; Sears                  Company; and HomeSure of America, Inc.
Holdings Management                                             Seman, James Michael vs. 84 Lumber Company, et
Scott, James W., vs. A.W. Chesterton Company, et                al., asbestos defendants including Sears, Roebuck and
al., asbestos defendants including Sears, Roebuck and           Co.
Co.                                                             Sena, Anthony and Trudy Sena vs. ABB, Inc., et al.,
Scott, Mark, Independent Administrator of the Estate            asbestos defendants including Sears, Roebuck and
of Michael Scott, Deceased vs. A.W. Chesterton                  Co.
Company, et al., asbestos defendants including Sears,           Senise, Melissa, Special Administrator of the Estate
Roebuck and Co.                                                 of Frank Senise, Deceased vs. Rapid American
Scott, Mary and Duncan Scott, her husband vs. 84                Corporation, et al., asbestos defendants including
Lumber, et al., asbestos defendants including Sears,            Sears, Roebuck and Co.
Roebuck and Co.                                                 Serpie, Alexander J. Sr. and Rose his wife vs.
Scott, Robert Jacob v. Sears Holding Corp.; Sears               Quigley Company, Inc., et al. asbestos defendants
Hometown and Outlet Stores, Inc.; and Sears,                    including Sears, Roebuck and Co. (47 named
Roebuck & Co. Dealer Stores                                     defendants)
Sczerbinski, Jane and Joseph Sczerbinski vs.                    Seruya, Lawrence vs. Autopart International, Inc., et
Advance Auto Parts, et al., asbestos defendants                 al., asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                                Co.
Sea, Edward J. vs. Aerco International, Inc., et al.,           Seubert, Sr.; Robert D. and Geraldine L. Seubert, his
asbestos defendants including Sears, Roebuck and                wife vs. John Crane-Houdaille, Inc., et al., asbestos
Co.                                                             defendants including Sears, Roebuck and Co.
Sears 1065 - Criminal Complaint against LPA Max                 Seubert, Sr.; Robert D. and Geraldine L. Seubert, his
Frayser involving customer dispute                              wife vs. Union Carbide Corporation, et al., asbestos
Sears (#1544) v. Vornado Realty Trust (Rego Park,               defendants including Sears, Roebuck and Co.
NY)                                                             Sevilla, Jorge S. v. Sears, Roebuck & Co.
Sears #1765 (Palm Beach Gardens, FL)/Forbes
                                                                Sewak, Nicholas vs. Arvinmeritor, Inc., et al.,
Sears/Plaza Lama                                                asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co. and Kmart Corporation v.                 Co.
United States of America                                        Shaftic, Linda L. vs. 84 Lumber Company, et al.,
                                                                asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co., et al. v. Ideal Industries, Inc.
                                                                Co. (a subsidiary of Sears Holdings Corporation)
Sears, Roebuck and Co. v. Altaquip                              Shamlo, Abbas v. Sears Roebuck Co.

Sears, Roebuck and Co. v. DentalCare Partners, Inc.,            Shands, Floyd G. vs. A.W. Chesterton, Inc., et al.,
et al.                                                          asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co. v. Moonbeam Capital                      Co.
Investments, LLC (Sears# 1824)                                  Shapley, Leon, et al. v. Minnesota Mining and
Sears, Roebuck and Co. v. Specialty Printing                    Manufacturing Company, et al., asbestos defendants
Company                                                         including Sears, Roebuck and Co., (81 named
Sears, Roebuck & Co. v. Enersys Energy Products,                defendants)
Inc.                                                            Shared Services Discovery Management
Sears, Sr.; Ronald T. and Helen J. Sears vs. A.O.
                                                                Sharpe, Karen, Individually and as Special
Smith Corp., et al., asbestos defendants including
Sears, Roebuck and Co.                                          Administrator of the Estate of Stephen Sharpe,




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Litigation                                                      Litigation
Deceased vs. American Optical Corporation, et al.,              Silva, George and Barbara Silva vs. A.O. Smith
asbestos defendants including Sears, Roebuck and                Corp., et al., asbestos defendants including Sears,
Co.                                                             Roebuck and Co.
Shawhan, Phyllis, Individually and as the Special               Simmons, Alvin R. v. Owens-Illinois Glass Co., f/k/a
Administrator of the Estate of Robert Shawhan,                  Owens-Illinois, Inc., et al., asbestos defendants
Deceased vs. ABB Inc., et al., asbestos defendants              including Sears, Roebuck and Co. (46 named
including Sears, Roebuck and Co.                                defendants)
Sheahan, James F. Jr. v. Kmart Corporation                      Simon, John and Annie Simon vs. Arvin Meritor,
                                                                f/k/a Maremont Corp., et al., asbestos defendants
Shea, Meredith W., and Martha J. Woods, Co-                     including Sears, Roebuck and Co.
Executrices for the Estate of Thomas R. Woods., vs.             Simpson, Alfred and Jennifer Simpson, his wife vs.
A.W. Chesterton Company, et al., asbestos                       John Crane-Houdaille, Inc., et al., asbestos
defendants including Sears, Roebuck and Co.                     defendants including Sears, Roebuck and Co.
Sheeran, Edmund J Jr vs A.W. Chesterton, Inc., et al            Simpson, Dale, Individually and as Special
(asbestos dfts, including Sears, Roebuck and Co.)               Administrator of the Estate of Doris Wallace,
Shelton, Margaret and Jerry Shelton vs. Akebono                 Deceased vs. A.W. Chesterton, Inc., et al. asbestos
Brake Corporation, et al., asbestos defendants                  defendants including Sears, Roebuck and Co. (87
including Sears, Roebuck and Co.                                named defendants)
Sherwood, George D. Jr. and Gertrude vs. Honeywell              Singleton, Isaac and Singleton, Oziell vs Quigley
International Inc., et al. asbestos defendants including        Company, Inc. et al Asbestos defendants including
Sears, Roebuck and Co. (53 named defendants).                   Sears, Roebuck and Co. (46 named defendants)
Shiel, David and Vicki Richards, his wife vs. 84                Sink, Dennis and Ellen Sink vs. Air and Liquid
Lumber Company, et al., asbestos defendants                     Systems Corp., et al., asbestos defendants including
including Sears, Roebuck and Co.                                Sears, Roebuck and Co.
Shiel, Richard and Joan Shiel, h/w vs.AII Acquisition           Sivak, Tracy, as Executrix for the Estate of Colleen
Corp., et al., asbestos defendants including Sears,             H. Pennell vs. Owens Illinois, et al., asbestos
Roebuck and Co.                                                 defendants including Sears, Roebuck and Co.
Shifflett, Alfred L. and Rose R. Shifflett, his wife vs.        Skaggs, Sharon v. Sears Holdings Corporation
John Crane-Houdaille, Inc., et al., asbestos                    [SHIP]
defendants including Sears, Roebuck and Co.                     Skillman, George and Pauline Skillman vs. Air and
Shifflett, Wilbert T. vs. Honeywell International Inc.          Liquid Systems Corp., et al., asbestos defendants
et al. asbestos defendants including Sears, Roebuck             including Sears, Roebuck and Co.
and Co. (54 named defendants)                                   Skillman, George and Pauline Skillman vs. Air &
Shoemaker, William G. and Gertrude Shoemaker,                   Liquid Systems Corp., et al., asbestos defendants
h/w vs. 3M Company, et al., asbestos defendants                 including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                                Skillman, George and Shirley Skillman, his wife vs.
Shorter, David and Guy Shorter, Jr., Heirs of the Late          John Crane-Houdaille, Inc., et al., asbestos
Guy Shorter, Sr. vs. Advance Auto Parts, et al.,                defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and                Skinner, Jessica, as Special Administrator of the
Co.                                                             Estate of Rick Tyree, Deceased vs. 84 Lumber, et al.,
Shubert, Sr.; Thomas E. and Sharon Shubert vs.                  asbestos defendants including Sears, Roebuck and
Advance Auto Parts, Inc., et al., asbestos defendants           Co.
including Sears, Roebuck and Co.                                Slevin, Mark V. as Executor of the Estate of Patrick
Shultz, Dennis P. and Phyllis vs. Quigley Company,              T. Slevin vs. A.W. Chesterton Co., Inc., et al.,
Inc., et al. asbestos defendants including Sears,               asbestos defendants including Sears Holding Co.,
Reobuck and Co. (51 named defendants)                           Individually and for Sears, Roebuck and Co.
Siddons, Joseph vs. Allied Building Products Corp.,             Sloma, Marion vs. A.O. Smith Corporation, et al.,
et al., asbestos defendants including Sears, Roebuck            asbestos defendants including Sears, Roebuck and
and Co.                                                         Co., Individually and as Successor-in-Interest to
Siegler, Donald and Rose A. Siegler v. A.W.                     Sears Tower
Chesterton, Inc., et al., asbestos defendants including         Small, Donald J. and Doris Small v. A.O. Smith
Sears, Roebuck and Co.                                          Corp., et al. asbestos defendants including Sears,
Siler, Paulette and Dennis Wilson vs. Quigley                   Roebuck and Co.
Company, Inc., et al. asbestos defendants including             Smith, Alvin and Caroline Smith vs. AC Lighting &
Sears, Roebuck and Co. (45 named defendants)                    Electrical Supplies, LLC, et al., asbestos defendants




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Litigation                                                    Litigation
including Sears, Roebuck and Co.                              Smith, Sr.; Richard W. and Dorothea Smith, his wife
                                                              vs. Union Carbide Corporation, et al., asbestos
Smith, Elizabeth Anne and Paul Smith vs. Amcord,              defendants including Sears, Roebuck and Co.
Inc., et al., asbestos defendants including Sears,            Smith, Virginia A. and Ernest Smith vs. Agco
Roebuck and Co.                                               Corporation et al., asbestos defendants including
Smithers, Paul L. vs. Union Carbide Corporation, et           Sears, Roebuck and Co.
al., asbestos defendants including Sears, Roebuck and         Smith, William K. and Lucille L. Smith vs. Union
Co.                                                           Carbide Corporation, et al., asbestos defendants
Smith, Frank and Linda v. Sears Roebuck & Co.                 including Sears, Roebuck and Co.
                                                              Smith, William Martin vs. A.W. Chesterton, Inc., et
Smith, James D. And Tema Smith vs. Borgwarner
                                                              al., asbestos defendants including Sears, Roebuck and
Morse Tec, Inc., et al., asbestos defendants including
Sears, Roebuck and Co.                                        Co.
Smith, James E. vs Sears et al                                Smith, William V. Sears Roebuck and Co. Inc
                                                              Snook, Joan, Individually and as Special
Smith, James G. and Virgie Smith vs. A.W.
                                                              Administrator of the Estate of Harold Snook,
Chesterton Company, et al., asbestos defendants
including Sears, Roebuck and Co.                              Deceased vs. Ace Hardware Corporation, et al.,
Smith, James M. vs. Owens Illinois, Inc., et al.              asbestos defendants including Sears, Roebuck and
                                                              Co.
asbestos defendants including Sears, Roebuck and
                                                              Snowberger, Betty and Theodore M. Snowberger, her
Co.
                                                              husband vs. Union Carbide Corporation, et al.,
Smith, Jr., Benjamin A. and Rosie M. vs John Crane-
                                                              asbestos defendants including Sears, Roebuck and
Houdalle, et al, asbestos defendants including Sears,
Roebuck and Co.                                               Co.
Smith, Karen v. Sears Logistics Services, et al.              Snowberger, Theodore M. and Betty Snowberger, his
                                                              wife vs. John Crane-Houdaille, Inc., et al., asbestos
Smith, Lamar and Essie vs. John Crane-Houdaille,              defendants including Sears, Roebuck and Co.
Inc., et al. asbestos defendants including Sears,             Snowden, Laurie v. Sears, Roebuck and Co. INC
Roebuck and Co. (53 named defendants)
Smith, Larrabee M. vs. Air & Liquid Systems                   Snow, Robert vs. American Optical Corporation, et
                                                              al., asbestos defendants including Sears, Roebuck and
Corporation., et al., asbestos defendants including
                                                              Co.
Sears, Roebuck and Co.
                                                              Snyder, Thomas D. vs. A.W. Chesterton, Inc., et al.,
Smith, Lathan Tyrone vs. A.W. Chesterton, Inc., et
                                                              asbestos defendants including Sears, Roebuck and
al., asbestos defendants including Sears, Roebuck and
Co.                                                           Co.
Smith, Marcia Lynn and Herman Smith vs. 84                    Sokalsky, Linda and Leigh Anne Sokalsky as the
                                                              Surviving Heirs of Alexander Sokalsky, Deceased vs.
Lumber Co., et al., asbestos defendants including
                                                              3M Company, et al., asbestos defendants including
Sears, Roebuck and Co.
                                                              Sears, Roebuck and Co.
Smith, Michael and Lisa Alberton v. Sears Holdings
                                                              Solorzano, Rafael v. Sears Holdings Management
Corp.
Smith, Paul J. and Mary Jo Smith, his wife vs. Union          Corporation, et al.
Carbide Corporation, et al., asbestos defendants              Sotz, Elizabeth J., Individually and as Personal
                                                              Representative of the Estate of James E. Sotz,
including Sears, Roebuck and Co.
                                                              Deceased vs. A.W. Chesterton, Inc., et al., asbestos
Smith, Paul W. and Annie Smith, his wife vs. Union
                                                              defendants including Sears, Roebuck and Co.
Carbide Corporation, et al., asbestos defendants
                                                              Soule, Jeffrey, Individually and as Special
including Sears, Roebuck and Co.
Smith, Randy and Francine Owens as the surviving              Administrator of the Estate of Larry Soule, Deceased
                                                              vs. 3M Company, et al., asbestos defendants
heirs of Richard L. Smith, Deceased vs. Ameron
                                                              including Sears, Roebuck and Co.
International Corporation, et al., asbestos defendants
                                                              Source Interlink Bankruptcy
including Sears, Roebuck and Co.
Smith, Richard R. vs. Borgwarner Morse Tec, LLC,              Spann, Mark D. vs. Union Carbide Corporation, et
et al., asbestos defendants including Sears, Roebuck          al., asbestos defendants including Sears, Roebuck and
and Co.                                                       Co.
Smith, Samuel N. vs. Union Carbide Corporation, et            Spaziante, Richard M. vs. A.O. Smith Water
al., asbestos defendants including Sears, Roebuck and         Products Company, et al., asbestos defendants
Co.                                                           including Sears, Roebuck and Co.




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Litigation                                                    Litigation
Speigner, Jimmy and Beverly Speigner vs. AIW-                 Corporation; et al.
2010 Wind Down Corp., et al., asbestos defendants
including Sears, Roebuck and Co.                              Stavrakis, Mary Jane, Personal Representative of the
Spell, John and Eloise Spell, his wife vs. 4520 Corp.,        Estate of Steve W. Stavrakis, Sr., et al., vs. Union
et al., asbestos defendants including Sears, Roebuck          Carbide Corporation, et al., asbestos defendants
and Co.                                                       including Sears, Roebuck and Co.
Spence, Leonard vs. Quigley company, Inc., et al              Stavrov, Emmanuel Vs. A.W. Chesterton Company,
asbestos defendants including Sears, Roebuck and              et al., asbestos defendants including Sears, Roebuck
Co. (46 named defendants)                                     and Company (109 named defendants)
Spencer, Clodies vs. A.O. Smith Water Products, et            Steedley, Dorothy L. vs. John Crane-Houdaille, Inc.,
al., asbestos defendants including Sears, Roebuck and         et al. asbestos defendants including Sears, Roebuck
Co.                                                           and Co. (54 named defendants)
Speth, Gary, Individually and as Special                      Steeves, Anne E. and John Steeves, her husband vs.
Administrator of the Estate of Delwyn Speth,                  ABB, Inc., et al., asbestos defendants including
Deceased vs. Advance Auto Parts, Inc., et al.,                Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Steinberg, Lawrence E. v. Sears Holdings
Co.                                                           Management Corp
Spevak, Theresa and Thomas Spevak vs. 3M                      Steinberg, Terry and Carol Steinberg vs. A.W.
Company, et al., asbestos defendants including Sears,         Chesterton, Inc., et al., asbestos defendants including
Roebuck and Co.                                               Sears, Roebuck and Co.
Spinelli, Gene and Joan Spinelli, Pltfs., vs. A.L.            Stensrud, Kenneth vs. Advance Auto Parts, Inc., et
Eastmond & Sons, etc. et al. asbestos defendants              al., asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                              Co.
Spisak, Jr.; John A. vs. Air & Liquid Systems                 Stephens, Everette and Bonnie Stephens vs. Borg-
Corporation, et al., asbestos defendants including            Warner Morse Tec, LLC., et al., asbestos defendants
Sears, Roebuck and Co.                                        including Sears, Roebuck and Co. (a subsidiary of
Sportcraft Bankruptcy 2011                                    Sears Holdings Corporation)
                                                              Stevens, Maurice vs. Arvinmeritor, Inc., et al.,
Spratt, Richard J. and Edna M. Spratt vs. John Crane-         asbestos defendants including Sears, Roebuck and
Houdaille, Inc., et al., asbestos defendants including        Co. (a subsidiary of Sears Holdings Corporation)
Sears, Roebuck and Co.                                        Stewart, Douglas T. vs. AII Acquisition, LLC., et al.,
Sprinkle, Daniel, Executor to the Estate of Sandra            asbestos defendants including Sears, Roebuck and
Sprinkle, et al. vs. American Optical Corporation, et         Co.
al., asbestos defendants including Sears, Roebuck and         Stewart, James E. vs. John Crane-Houdaille, Inc., et
Co.                                                           al., asbestos defendants including Sears, Roebuck and
Sroka, Eleanor A., Personal Representative of the             Co.
Estate of Edward A. Sroka, et al., vs. John Crane-            Stewart, Roger L. vs. Allied Corporation et al.
Houdaille, Inc., et al., asbestos defendants including        asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.                                        Co. (37 named defendants)
Stachewicz, Joseph and Eugenie Stachewicz vs. 84              Stewart, Walter C. and Patricia West vs. Honeywell
Lumber Company, et al., asbestos defendants                   International, Inc., et al., asbestos defendants
including Sears, Roebuck and Co.                              including Sears, Roebuck and Co.
Standard Fabrics International, Inc. v. Project 28            Stewart, Wanda v. Sears, Roebuck and Co.
Clothing, LLC, et al. [Kmart]
Stangel, Sr., Edmund E. vs. A.W. Chesterton                   Sticklin, Ellen Jean, Executrix of the Estate of John
Company., et al., asbestos defendants including               Nicholoff vs. Air and Liquid Systems Corp., et al.,
Sears, Roebuck and Co.                                        asbestos defendants including Sears, Roebuck and
Stanton, John P. and Carol Stanton, h/w vs.                   Co.
Honeywell International, Inc., et al., asbestos               Stieglitz, Gary vs. A.W. Chesterton, Inc., et al.,
defendants including Sears, Roebuck and Co.                   asbestos defendants including Sears, Roebuck and
Starks, Eugene vs. Armstrong Pumps, Inc., et al.,             Co.
asbestos defendants including Sears, Roebuck and              Stiglitz, Louis and Marilyn Stiglitz vs. A.O. Smith
Co.                                                           Water Products Co., et al., asbestos defendants
State of Oklahoma, ex rel., Department of                     including Sears, Roebuck and Co.
Transportation v. Troy Coolidge No. 59, LLC; Kmart            Stobierski, Henry and Josephine Stobierski,




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Litigation                                                     Litigation
Individually and as husband and wife vs. Advance               (SubT) Kmart Corporation #9420 v. Lens Lab
Auto Parts, Inc., et al., asbestos defendants including        Express, Inc.
Sears, Roebuck and Co.                                         (Sub T) Kmart Corporation v. Marketing & Printing
Stoker, Nancy, Individually and Tania Stoker as                Solutions Inc., H/N/C MPS
Executrix for the Estate of Ronald Stoker vs. Owens            (Sub T) Kmart v. Stuffington Bear Factory, LLC
Illinois, et al., asbestos defendants including Sears,         #68235
Roebuck and Co.                                                Suburban Electrical Engineers/Contractors, Inc.
Stoll, John W. and Maria Stoll vs. American Biltrite
Company, et al., asbestos defendants including Sears,          Sueck, Jr.; Walter and Rosalie Sueck, his wife vs.
Roebuck and Co.                                                Union Carbide Corporation, et al.,asbestos
Stoutenburg, Heather L., as Surviving Heir of Clyde            defendants including Sears, Roebuck and Co.
W. Lick, Jr., Deceased vs. The Adel Wiggins Group,             Suggs, Tommie and Frances Suggs vs. Armstrong
et al., asbestos defendants including Sears, Roebuck           International, Inc., et al, asbestos defendants
and Co., a subsidiary of Sears Holdings Corporation            including Sears, Roebuck and Co.
Strait, Pearlie vs. AFC-Holcroft, LLC, et al., asbestos        Sullivan, William and Gail Sullivan vs. American
defendants including Sears, Roebuck and Co.                    Honda Motor Co., Inc., et al., asbestos defendants
Strapp, Arlene R., Individually and as Special                 including Sears, Roebuck and Co.
Administrator of the Estate of Bernard C. Strapp,              Suszynski, John vs. Atwood & Morrill Company, et
Deceased vs. A.W. Chesterton, Inc., et al., asbestos           al., asbestos defendants including Sears, Roebuck and
defendants including Sears, Roebuck and Co.                    Co.
Strawser, Walter L. and Strawser, Nancy vs Quigley             Suter, Robert and Carole Suter, his wife vs. 4520
company, Inc. et al asbestos defendants including              Corp., Inc., et al., asbestos defendants including
Sears, Roebuck and co. (46 named defendants)                   Sears, Roebuck and Co.
Stremmel, William Herbert and Marie C. Stremmel                Suthard, Susan D., Personal Representative of the
vs. A.O. Smith Water Products Co., et al., asbestos            Estate of Irvin D. Suthard, et al., vs. John Crane-
defendants including Sears Holdings Management                 Houdaille, Inc., et al., asbestos defendants including
Corporation, Individually and as Successor in Interest         Sears, Roebuck and Co.
to Sears, Roebuck and Co.                                      Sutton Brook/Rocco Site Tewksbury, MA
Strominger, Barbara G. and Robert vs. Owens-                   Sutton, Myron and Lana Sutton, his wife vs. 4520
Illinois., et al., asbestos defendants including Sears,        Corp., Inc., et al., asbestos defendants including
Roebuck and Co.
                                                               Sears, Roebuck and Co.
Stroud, Jimmy and Patricia Stroud vs. 84 Lumber
                                                               Svestka, Georgiann vs. BASF Catalysts LCC, et al.,
Company, et al., asbestos defendants including Sears,
                                                               asbestos defendants including Sears, Roebuck and
Roebuck and Co.
                                                               Co.
Stroupe, Michele, et al., as surviving heirs of Ronald         Swanson, Kathryn, Individually and as Special
Robichaud, Deceased vs. Armstrong International,               Administrator of the Estate of Denis I. Swanson,
Inc., et al., asbestos defendants including Sears,
                                                               Deceased vs. A.W. Chesterton, Inc., et al., asbestos
Roebuck and Co.
                                                               defendants including Sears, Roebuck and Co.
Strouth, Carolyn, Individually and as Special
                                                               Swiecicki, Robert A. and Claudia vs. Quigley
Administrator of the Estate of Bobby Strouth,
                                                               Company, Inc., et al. asbestos defendants including,
Deceased vs. Advance Auto Parts, Inc., et al.,                 Sears, Roebuck and Co. (55 named defendants)
asbestos defendants including Sears, Roebuck and
                                                               Swoyer, Paul vs. A.O. Smith Corporation, et al.,
Co.
                                                               asbestos defendants including Sears, Roebuck and
St. Thomas, Mary Lou, Individually and as Special
                                                               Co.
Administrator of the Estate of James St. Thomas,
                                                               Synder, Diane, Administratrix of the Estate of
Deceased vs. A.O. Smith Corporation, et al., asbestos          Richard Snyder and Naomi Snyder vs. A.W.
defendants including Sears, Roebuck and Co.                    Chesterton, Inc., et al. including Sears, Roebuck and
Stumbroski, Jr.; Theodore vs. Union Carbide
                                                               Co. [53 named defendants]
Corporation, et al., asbestos defendants including
                                                               Szykeruk, Henek vs. Bell Asbestos Mines, et al.,
Sears, Roebuck and Co.
                                                               asbestos defendants including Sears, Roebuck and
Stum, Eugene and Linda Stum vs. Cytec Industries,
                                                               Co.
et al., asbestos defendants including Sears, Roebuck           Szymanski, Joseph and Alma E. Szymanski vs.
and Co.                                                        American Honda Motor Co., Inc. et al., asbestos
Subat, Ali and Rita Noorzay v. Sears Holdings
                                                               defendants including Sears, Roebuck and Co.
Corporation




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Litigation                                                    Litigation
Taylor, Donald R. and Melissa Taylor vs. 84 Lumber            defendants including Sears, Roebuck and Co.
Company, et al., asbestos defendants including Sears,
Roebuck and Co.                                               The Transportation Commission; and The
Taylor, Ernest and Mary Ann vs. John Crane-                   Department of Transportation, State of Colorado v.
Houdaille, Inc., et al. asbestos defendants including         Realty Income Properties 18, LLC; Chick-Fil-A,
Sears, Roebuck and Co. (53 named defendants)                  LLC; Home Depot USA, Inc.; KFC Corporation;
Taylor, Gerald E., and Patience L. Taylor vs. A.W.            Public Service Company of Colorado; Greenwood
Chesterton Company, et al., asbestos defendants               Village, LLC; et al.
including Sears, Roebuck and Co.                              Thomas, James and Beverly Thomas vs. A.O. Smith
Taylor, Jeffrey v. Sears Holding Management                   Corporation, et al., asbestos defendants including
Corproation                                                   Sears, Roebuck and Co.
Taylor, Jr., George E. and Taylor, Mildred E., his            Thomas, Lionel S. vs. A.P. Green Industries, Inc., et
wife v. John Crane-Houdaille, Inc. et al. including           al. asbestos defendants including Sears, Reobuck and
Sears, Roebuck and Co (52 named defendants)                   Co. (72 named defendants)
Taylor, Rae and Dianne Taylor vs. 4520 Corp. Inc.,            Thomas, Otis C. Jr., and Carol vs. Quigley Company,
et al., asbestos defendants including Sears, Roebuck          Inc., et al. asbestos defendants including Sears,
and Co.                                                       Roebuck and Co. (46 named defendants)
Taylor, Tim and Shelby Taylor vs. 84 Lumber                   Thomas, Robert, and Mark Granato and Barbara
Company, et al., asbestos defendants including Sears,         Granato vs. BASF Catalysts, LLC, et al., asbestos
Roebuck and Co. (a subsidiary of Sears Holdings               defendants including Sears, Roebuck and Co.
Corporation)                                                  Thomas, Robert L. vs. John Crane-Houdaille, Inc., et
(TCPA) DeFranza, John v. Sears Holdings                       al., asbestos defendants including Sears, Roebuck and
Corporation                                                   Co.
(TCPA) Ramirez, Erendira v. Sears Brands, LLC                 Thomas, Robert L. vs. John Crane-Houdaille, Inc., et
                                                              al., asbestos defendants including Sears, Roebuck and
Teaver, Diane, Individually and as Special                    Co.
Administrator of the Estate of Francesco Marino,              Thomas, Ronald and Sandra Thomas vs. A.O. Smith
Deceased vs. A.P. Green Industries, Inc., et al.              Corporation et al., asbestos defendants including
asbestos defendants including Sears, Roebuck and              Sears, Roebuck and Co.
Co.                                                           Thomas, Ronald D. and Linda Thomas, his wife vs.
Tejada, Ana M. v. Sears, Roebuck and Co.                      John Crane-Houdaille, Inc., et al asbestos defendants
                                                              including Sears, Roebuck and Co. (60 named
Telano, Luther E. vs Albany International                     defendants)
Corporation, et al. Asbestos defendants including             Thomas, Samuel J. vs. John Crane-Houdaille, Inc., et
Sears, Roebuck and Co. [47]                                   al, asbestos defendants including Sears, Roebuck and
Tennessee LP Licensing                                        Co.
                                                              Thomas, Teddy and Judy Thomas, his wife, vs. 4520
Tennessee Sales Tax Bad Debt Refund
                                                              Corp., Inc., et al., asbestos defendants including
Terino, Michael vs. 84 Lumber Company et al.                  Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Thomas, william G. Jr. and Margaret vs. Owens-
Co. (39 named defendants)                                     Illinois Glass Co. et al. asbestos defendants including
Tessitore, Alfred and Jeraldine Tessitore vs. A.W.            Sears, Roebuck and Co. (48 named defendants).
Chesterton Company, et al., asbestos defendants               Thompson, Alfred vs. Quigley Company, Inc., et al.
including Sears, Roebuck and Co.                              asbestos defendants including Sears, Roebuck and
Theno, Frank and Florence Theno vs. Owens Illinois,           Co. (56 named defendants)
Inc., et al., asbestos defendants including Sears,            Thompson, Daniel, Individually and as Special
Roebuck and Co.                                               Administrator of the Estate of Pamela Odom,
Theobald, Peggy Sue and Jerry Theobald vs. 4520               Deceased vs. 84 Lumber, et al., asbestos defendants
Corp., Inc., et al., asbestos defendants including            including Sears, Roebuck and Co.
Sears, Roebuck and Co.                                        Thompson, Jr.; William H. and Janet Thompson, his
The People of the State of California v. 01 Sears             wife vs. Union Carbide Corporation, et al., asbestos
Roebuck & Company (Pricing Violation)                         defendants including Sears, Roebuck and Co.
Theriault, Marguerite, individually and as                    Thompson, Leonard and Peggy vs. Quigley
Administratrix for the Estate of Carl Theriault,              Company, Inc., et al. asbestos defendants including
deceased vs. American Biltrite, Inc., et al., asbestos        Sears, Roebuck and Co. (55 named defendants)




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Litigation                                                    Litigation
Thompson, Paul vs. 84 Lumber Company, et al.,                 Tooker, Clifton and Tina Tooker vs. AC&R
asbestos defendants including Sears, Roebuck and              Insulation Co., Inc., et al., asbestos defendants
Co.                                                           including Sears, Roebuck and Co. (a subsidiary of
Thornton, Charlie and Debra Thornton, his wife vs.            Sears Holdings Corporation)
John Crane-Houdaille, Inc., et al., asbestos                  Torres, Jose and Eneda Torres vs. Bird Inc., et al.,
defendants including Sears, Roebuck and Co.                   asbestos defendants including Sears, Roebuck and
Thornton, Gary and Janet Thornton, his wife vs.               Co.
Union Carbide Corporation, et al., asbestos                   Torres, Jose A. Valentin v. Kmart Holdings Corp.
defendants including Sears, Roebuck and Co.
Thornton, Sue M. and Russell Wayne Thornton vs.               Torres Oritz, Anibal v. Kmart de Puerto Rico and/or
3M Company, et al., asbestos defendants including             Sears Holdings Puerto Rico
Sears, Roebuck and Co.                                        Tous Rodriguez, Jose M. v. Sears
Tie, John H. and Marylin Tie vs. ABB, Inc., et al.,           Tracogna, Diana vs. Advance Auto Parts, Inc., et al.,
asbestos defendants including Sears, Roebuck and
                                                              asbestos defendants including Sears, Roebuck and
Co. (a subsidiary of Sears Holdings Corporation)
                                                              Co.
Tietjen, Sr.; John H. and Betty Anne Tietjen, h/w vs.
                                                              Travieso, Glenda L. Garcia v. Kmart
Georgia Pacific, et al., asbestos defendants including
Sears, Roebuck and Co.                                        Treadway, Charles R. Vs. A.W. Chesterton
Tietjen, Sr. John H. and Betty Anne vs. Ace                   Company, et al., asbestos defendants including Sears,
Hardware., et al., asbestos defendants including              Roebuck and Company (109 named defendants)
Sears, Roebuck and Co.                                        Troiano, Anthony A. and Theresa Troiano vs.
Tighe, Bernard and Patricia Tighe vs. Air and Liquid          Algoma Door, Inc., et al., asbestos defendants
Systems Corp., et al., asbestos defendants including          including Sears, Roebuck and Co.
Sears, Roebuck and Co.                                        Trombley, Robert L. and Deborah E. Trombley vs.
Tilghman, Cornell Sr., and Mary J. Tilghman his               3M Company, et al., asbestos defendants including
wife vs. John Crane-Houdaille, Inc., et al., asbestos         Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Tsarnas, Drosos R. Vs. A.W. Chesterton Company, et
Tilghman, Kelly, Individually and as Special                  al., asbestos defendants including Sears, Roebuck and
Administrator of the Estate of Betty Jo Kuter,                Company (109 named defendants)
Deceased vs. Akzo Nobel, Inc., et al., asbestos               Tucci, Frank, and Joyce Tucci, h/w, vs. A.W.
defendants including Sears, Roebuck and Co.                   Chesterton, Inc., et al., asbestos defendants including
Tinnus Enterprises, LLC v. Wal-Mart Stores, Inc., et          Sears, Roebuck and Co.
al. [Sears]                                                   Tucker, Susan vs. 84 Lumber, et al., asbestos
Tirrell-Wysocki, David E., Personal Representative            defendants including Sears, Roebuck and Co.
of the Estate of Eugene J. Wysocki, et al., vs. John          Tucker, William and Patricia Tucker vs. A.O. Smith
Crane-Houdaille, Inc., et al., asbestos defendants            Corporation, et al., asbestos defendants including
including Sears, Roebuck and Co.                              Sears, Roebuck and Co.
Todd, Wayne D. and Todd, Kathleen M. vs Quigley               Turner, Robert L. vs John Crane-Houdaille, Inc., et
Company, Inc., et al asbestos defendants including            al. including Sears, Roebuck and Co. [52 named
Sears, Roebuck and Co. (46 named defendants)                  defendants]
Tokarski, Albert vs. John Crane-Houdaille, Inc., et           Turnock, Charles H. and Judith Turnock, his wife vs.
al., asbestos defendants including Sears, Roebuck and         A.O. Smith Corporation, et al., asbestos defendants
Co.                                                           including Sears, Roebuck and Co.
Tolbert, Brian Sr. v. Sears Home Improvement                  Turnquist, Kathleen and Jerry Turnquist vs. Akebono
Products, Inc.                                                Brake Corporation, et al., asbestos defendants
Tolbert, Robert and Mary Jo vs. A.O. Smith                    including Sears, Roebuck and Co.
Corporation et al. asbestos defendants including              Turpyn, Jr.; Elmer and Norene Turpyn vs. Allen
Sears, Roebuck and Co. (103 named defendants)                 Bradley, et al., asbestos defendants including Sears,
Toll, Phyllisann and William vs. Abex Corporation,            Roebuck and Co.
et al., asbestos defendants including Sears, Roebuck          Tyler, Eugene vs. 4520 Corp., Inc., et al., asbestos
and Co.                                                       defendants including Sears, Roebuck and Co.
Toman, John vs Rapid American Corp., et al.                   Tyler, William, as Surviving Heir of Joyce Tyler,
including Sears, Roebuck and Co. [66 named                    Deceased vs. ABB, Inc., et al., asbestos defendants
defendants]                                                   including Sears, Roebuck and Co.




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Litigation                                                    Litigation
Ulibarri, Judith and Joe Ulibarri vs. American                Vasconcellos, John and Joan v. Samsung Electronics,
Biltrite, Inc., et al., asbestos defendants including         Inc.; Sears Inc, Town Center Mall, 02145
Sears, Roebuck and Co.                                        Vasold, Sr., Michael L. and Vasold, Mildred M., his
Umfress, Jimmie and Barbara Umfress, his wife vs.             wife v. John Crane-Houdaille, Inc. et al. including
84 Lumber, et al., asbestos defendants including              Sears, Roebuck and Co. (52 named defendants)
Sears, Roebuck and Co.                                        Vazquez, Sr.; Jose A. and Linda Vazquez vs. Union
Umland, Richard C. and Jill Wetzler vs. A.O.Smith             Carbide Corporation, et al, asbestos defendants
Water Products Co., et al., asbestos defendants               including Sears, Roebuck and Co.
including Sears, Roebuck and Co.                              Vazquez Velez, Miguel vs. Sears Roebuck de Puerto
Underwood, William and Frances Underwood vs. 84               Rico
Lumber Company, et al., asbestos defedants                    Veal, Jimmy vs. Caterpillar, Inc., et al. asbestos
including Sears, Roebuck and Co. (a subsidiary of             defendants including Sears, Roebuck and Co. (11
Sears Holdings Corporation)                                   named defendants)
Universal Dyeing & Printing, Inc. v. Wal-Mart                 Veal, Toni vs. Borg-Warner Corporation, et al.,
Stores, Inc.; Loehmann's, Inc.; Sears Holdings                asbestos defendants including Sears, Roebuck and
Corporation; Genesco Brands, Inc.; Does 1 through             Co.
10                                                            Vecchioni, Gerald Sr. and Carol L. vs. Quigley Co.,
UnoWeb Virtual, LLC v. Sears Holdings Corporation             Inc. et al. asbestos defendants including Sears,
                                                              Reobuck and Co. (45 named defendants)
Urban, Gary, as Special Administrator of the Estate           Velarde, Hector v. Kmart Corporation and Stanley
of George K. Urban, Deceased vs. A.O. Smith                   Black & Decker, Inc.
Corporation, et al., asbestos defendants including            Velarde, Hector v. LDR Global Industries, LLC and
Sears, Roebuck and Co.                                        Kmart Corporation
US Alliance Corp. v. Sears Roebuck de Puerto Rico,            Velarde, Martha v. SAS Safety Corporation and
Inc.                                                          Kmart Corporation
US EPA Cooksey Landfill Settlement                            Velez, Yeseni v. Sears Roebuck De Puerto Rico, Inc.;
                                                              et al.
US EPA v. Lenz Oil Site Westmont, IL
                                                              Vennie, George R. vs. John Crane-Houdaille, Inc., et
US EPA v. Waste, Inc. Site, Michigan City, LaPorte            al., asbestos defendants including Sears, Roebuck and
County, IN                                                    Co.
USOR Site PRP Group v A&M Contractors, et al                  Ventres, Rachele and David Ventres vs. 002 Auto
[Kmart]                                                       Parts Inc., et al., asbestos defendants including Sears,
USOR Site PRP Group v. A&M Contractors, Inc., et              Roebuck and Co.
al [Sears]                                                    Verchow, Margaret, Personal Representative of the
US v. Alaska Railroad Co., et al. Standard Steel &            Estate of James Edward Verchow vs. John Crane-
Metals Salvage Yard Anchorage, AK                             Houdaille, Inc., et al., asbestos defendants including
Vaccaro, Corrado, as Executor for the Estate of               Sears, Roebuck and Co.
Gregory J. Chomko, deceased vs. American Honda                Vertis Holdings Inc.
Motor Co., Inc., et al., asbestos defendants including
Sears, Roebuck and Co.                                        Via, Gilberto and Doris Via v. Sears Home
Vaden, Teresa A. v. Kmart Corporation                         Improvement Products, Inc.
                                                              Via Port New York LLC v. Sears, Roebuck and Co.
Valdez, Janet E., as Executrix of the Estate of Donald
                                                              Vickers, Joseph vs. A.W. Chesterton Company, et al.,
E. Kriske, Deceased vs. A.O. Smith Water Products,
                                                              asbestos defendants including Sears, Roebuck and
et al., asbestos defendants including Sears, Roebuck
and Co.                                                       Co.
                                                              Vidia, Frank and Carolyn Vidia vs. Borg Warner
Valentine, Charles Howard vs. 84 Lumber, et al.,
                                                              Morse Tec, Inc., et al., asbestos defendants including
asbestos defendants including Sears, Roebuck and
                                                              Sears, Roebuck and Co., (a subsidiary of Sears
Co.
                                                              Holdings Corporation)
Vales-Lewis, Vanessa v. Sears Holding Corporation
                                                              Vieley, Janet and Daniel Bentley, Individually and on
Vanim, Daniel W. vs. Allied Signal, Inc., et al.,             Behalf of All Children of Geraldine Bentley vs.
asbestos defendants including Sears, Roebuck and              American Biltrite, Inc., et al., asbestos defendants
Co.                                                           including Sears, Roebuck and Co.
Vantrece, Judy v. Kmart and Robert Sanders, Mrg.              Vigliotti, David and Gina Vigliotti vs. A.O. Smith




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Litigation                                                   Litigation
Corporation, et al., asbestos defendants including           Walker, Roosevelt, Jr. vs Quigley Company, Inc., et
Sears, Roebuck and Co.                                       al asbestos defendants including Sears, Roebuck and
Villanova, Kenneth R. and Joan Villanova vs.                 Co. (46 named defendants)
Honeywell International, Inc,. et al,. asbestos              Walli, Charles P. vs. Air & Liquid Systems Corp., et
defendants including Sears, Roebuck and Co.                  al., asbestos defendants including Sears, Roebuck and
Villegas Ortiz, Saralis v. Kmart; Sears Roebuck De           Co.
Puerto Rico, Inc.                                            Wall, Robert vs. John Crane-Houdaille, Inc., et al.,
Vineland Construction v Universal-Rundle Corp.               asbestos defendants including Sears, Roebuck and
Universal-Rundle Pennsauken, NJ                              Co.
Vinocur, Laurence v. Marketing Results Ltd.; Sears           Walter, Raymond vs. Honeywell International, Inc.,
Holding Corporation; and Does 1-150, inclusive               et al., asbestos defendants including Sears, Roebuck
Vinocur, Laurence v. Sport Squad, LLC et al. [Sears          and Co.
Holdings Corporation]                                        Walters, Dale E. and Cindy vs. Quigley Company,
Visnovec, Thomas and Joan Visnovec vs. A.W.                  Inc., et al. asbestos defendants including Sears,
Chesterton Company, et al., asbestos defendants              Roebuck and Co. (54 named defendants)
including Sears, Roebuck and Co.                             Walters, Myrtle, Individually and as Special
Vitakes, Christos and Helen vs. A.W. Chesterton              Administrator of the Estate of Joseph Walters,
Company et al. asbestos defendants including Sears,          Deceased vs. Air & Liquid Systems Corporation, et
Roebuck and Co. (107 named defendants)                       al., asbestos defendants including Sears, Roebuck and
Vogt, Lawrence and Theresa Vogt vs. 84 Lumber                Co.
Company, et al., asbestos defendants including Sears,        Walton, Carol A., Individually and as Executrix of
Roebuck and Co.                                              the Estate of John Walton a/k/a Jack Walton vs. 84
Voloshin, Michael v. Sears Home Improvement                  Lumber Company, et al., asbestos defendants
Products, Inc.; and Does 1-20                                including Sears, Roebuck and Co.
Voss, Francis and James, et al. v. ACandS, Inc., et          Ward, Grant vs. ABB, Inc., et al., asbestos defendants
al., asbestos defendants including Sears, Roebuck and        including Sears, Roebuck and Co.
Co.                                                          Warren, John P. and Joan Warren vs. 84 Lumber
Voytko, Forrest C. and Joan Voytko vs. Air & Liquid          Company, et al., asbestos defendants including Sears,
Systems Corporation, et al., asbestos defendants             Roebuck and Co. (a subsidiary of Sears Holdings
including Sears, Roebuck and Co.                             Corporation)
Vu, Hong v. Sears Operations, LLC                            Washington, Raymond H. Jr. vs. Quigley Company,
                                                             Inc., et al. asbestos defendants including Sears,
Walcutt, Kristy Elaine, Personal Representative of           Reobuck and Co. (49 named defendants)
the Estate of Woodrow W. Weaber, et al., vs. John            Waskis, Joe W. vs. John Crane-Houdaille, Inc., et al.,
Crane-Houdaille, Inc., et al., asbestos defendants           asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                             Co.
Waldrop, Mickey, as Personal Representative of the           Waterrose, Linda, Individually and as Special
Estate of Doyce Waldrop, and Mickey Waldrop                  Administrator of the Estate of William Hampton,
Individually vs. Akzo Nobel Paints LLC, et al.,              Deceased vs. Aerco International, Inc., et al., asbestos
asbestos defendants including Sears, Roebuck and             defendants including Sears, Roebuck and Co.
Co. (a subsidiary of Sears Holdings Corporation)             Watson, William and Betty Watson vs. A.W.
Waleski, Eva M., Individually and as Administratrix          Chesterton, Inc., et al., asbestos defendants including
of the the Estate of Edward Stanley Waleski,                 Sears, Roebuck and Co.
deceased vs. A.O. Smith Water Products Co., et al.,          Watts, William and Diana Watts vs. American
asbestos defendants including Sears, Roebuck and             Airlines, Inc., et al., asbestos defendants including
Co., s/h/a/ Sears Holding Corp.                              Sears, Roebuck and Co.
Walker, Bruce and Lawanna Walker vs. Akzo Nobel              Waud, Adele, as Personal Representative of the
Paints LLC., et al., asbestos defendants including           Estate of William L. Waud, Jr. vs. Bennett Auto
Sears, Roebuck and Co. (a subsidiary of Sears                Supply, Inc., et al., asbestos defendants including
Holdings Corporation)                                        Sears, Roebuck and Co.
Walker, John S. and Pamela K. Walker vs. Alfa                Waugh, Carmen et al v Quigley Co., Inc. et al
Laval, Inc., et al., asbestos defendants including           asbestos defendants including Sears, Roebuck and
Sears, Roebuck and Co.                                       Co. (49 named defendants)
Walker, Misty Lynn v. Sears, Roebuck and Co.                 Weatherholtz, Sr., Walter F. vs. John Crane-
                                                             Houdaille, Inc., et al., asbestos defendants including




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Litigation                                                     Litigation
Sears, Roebuck and Co.                                         Werner, Anne J., Executrix of the Estate of Joseph S.
                                                               Werner, deceased, and Anne J. Werner, in her own
Weber, John R. vs. A.W. Chesterton, Inc., et al.               right, vs. Honeywell International, Inc., et al.,
asbestos defendants including Sears, Roebuck and               asbestos defendants including Sears, Roebuck and
Co. (72 named defendants)                                      Co.
Weber, Patricia, Executrix of the Estate of Anthony            Wert, Marlin v. Owens-Illinois, et al, asbestos
Weber and Patricia Weber in her own right vs. Air              defendants including Sears, Roebuck and Co. (46
and Liquid Systems Corp., et al., asbestos defendants          named defendants)
including Sears, Roebuck and Co.                               Westfall, Jeanette L. and John B. Walker Jr., Co-
Wegrzyn, Brian, Individually and as Special                    Executors of the Estate of John Walker and Patricia
Administrator of the Estate of Bernice Antolec,                Walker in Her Own Right vs. Air and Liquid Systems
Deceased vs. AII Acquisitions, LLC, et al., asbestos           Corp., et al., asbestos defendants including Sears,
defendants including Sears, Roebuck and Co.                    Roebuck and Co.
Weierbach, Frank W. and Colleen W. Weierbach,                  Westfall, Ronald K. and Westfall, Rebecca, his wife
husband and wife vs. Allied Signal, Inc., et al.,              v. John Crane-Houdaille, Inc. et al. including Sears,
asbestos defendants including Sears, Roebuck and               Roebuck and Co. (52 named defendants)
Co.                                                            Westmoe, Bonnie, et al., surviving heirs to the Estate
Weiland, Jerome E. and Carole L. Weiland vs. 3M                of Jon Odell Westmoe, Deceased vs. Air and Liquid
Company, et al., asbestos defendants including Sears,          Systems Corp., et al., asbestos defendants including
Roebuck and Co.                                                Sears, Roebuck and Co.
Weimken, Kay, Individually and as Executrix of the             West, Teresa J., as Personal Representative of the
Estate of William Weimken vs. Sears, Roebuck and               Estate of Paul Pandolfini et al. asbestos defendants
Co., et al., asbestos defendants                               including Sears, Reobuck and Co. (50 named
Weisfelner, Michael v. Sears                                   defendants)
                                                               Whalen, Jr.; John J. and Betty Jane Whalen, h/w vs.
Weisner, Reid, Individually and as Special
                                                               U.S. Steel Corp., et al., asbestos defendants including
Administrator of the Estate of Melody Weisner,
                                                               Sears, Roebuck and Co.
Deceased vs. Advance Auto Parts, Inc., et al.,
                                                               Wharton, William & Pauline v. Sears Roebuck and
asbestos defendants including Sears, Roebuck and
Co.                                                            Co.
Weitzel, Martin vs. John Crane-Houdaille, Inc., et al.,        Wheaton, Clare and Elaine Wheaton, his wife vs.
                                                               Bird Incorporated, et al., asbestos defendants
asbestos defendants including Sears, Roebuck and
                                                               including Sears, Roebuck and Co.
Co.
                                                               Wheeler, Bernard vs. John Crane-Houdaille, Inc., et
Welch, Jon, Individually and as Special
                                                               al., asbestos defendants including Sears, Roebuck and
Administrator of the Estate of Barbara Welch,
Deceased vs. 84 Lumber Company, et al., asbestos               Co.
defendants including Sears, Roebuck and Co.                    Wherry, Lester L. vs. Honeywell International, Inc.,
                                                               et al., asbestos defendants including Sears, Roebuck
Welch, Judy and Robert Welch vs. 4520 Corp. Inc.,
                                                               and Co.
et al., asbestos defendants including Sears, Roebuck
                                                               Whetsel, Brandon and Kristen vs. Arkema, Inc., et al
and Co.
                                                               asbestos defendants including Kmart Corporation
Welch, Walter W. and Vicky A. Welch, h/w vs. John
Crane, Inc., et al., asbestos defendants including             Whetstone, Claudette, Individually as Surviving
                                                               Spouse and as Personal Representative of the Estate
Sears, Roebuck and Co.
                                                               of William Whetstone, et al. vs John Crane-
Welden, James and Claudia Welden vs. 4520 Corp.,
                                                               Houdaille, Inc., et al. including Sears, Roebuck and
Inc., et al., asbestos defendants including Sears,
                                                               Co. [53 named defendants]
Roebuck and Co.
Wells, John R. and Vermel Wells, his wife vs. Union            Whetzel, Judy A. and Michael K. vs. Owens-Illinois
Carbide Corporation, et al., asbestos defendants               Glass Co. et al. asbestos defendants including Sears,
                                                               Roebuck and Co. (57 named defendants)
including Sears, Roebuck and Co.
                                                               White-Bing, Emma, Individually and as Special
Wendland, Gerald and Georgia Wendland vs. 84
                                                               Administrator of the Estate of Rodney Bing,
Lumber Company, et al., asbestos defendants
                                                               Deceased vs. A.W. Chesterton, Inc., et al., asbestos
including Sears, Roebuck and Co.
Wenker, Jr.; Edward R. and Jodi L. Wenker, his wife            defendants including Sears, Roebuck and Co.
vs. John Crane-Houdaille, Inc., asbestos defendants            Whited, Galen Vs. A.W. Chesterton Company, et al.,
                                                               asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.
                                                               Company (109 named defendants)




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Litigation                                                    Litigation
White, James E. and Veronica vs. Quigley Company,             Co. [52 named defendants]
Inc., et al. asbestos defendants including Sears,
Roebuck and Co. (54 named defendants)                         Williams, James and Barbara Williams vs.
White, James L. and Nancy White h/w vs. Honeywell             A.W.Chesterton Company, et al., asbestos defendants
International, Inc., et al., asbestos defendants              including Sears, Roebuck and Co., a subsidiary of
including Sears, Roebuck and Co.                              Sears Holdings Corporation
White, Richard and Kathryn White, h/w vs.                     Williams, Jasmine; et al. v. Sears Roebuck and
Honeywell International, Inc., et al., asbestos               Company; Iparis Smartphone & Ipad Screen Repair
defendants including Sears, Roebuck and Co.                   Service; John Does 1-10
White, Samuel vs. 3M Company, et al., asbestos                Williams, Jr.; Oscar and Patricia A. Williams vs.
defendants including Sears, Roebuck and Co.                   John Crane-Houdaille, Inc., et al., asbestos
Whittaker, David, Individually and as Special                 defendants including Sears, Roebuck and Co.
Administrator of the Estate of Ilo Whittaker,                 Williamson, Russell vs. Advance Auto Parts, Inc., et
Deceased vs. 84 Lumber, et al., asbestos defendants           al., asbestos defendants including Sears, Roebuck and
including Sears, Roebuck and Co.                              Co.
Whitt, Joy, as Executor of the Estate of Harold Walts         Willis, Carl, Individually and as Personal
vs. 3M Company, et al., asbestos defendants                   Representative of the Estate of Norma Willis vs.
including Sears Holdings Corporation                          AC&R Insulation Co., Inc., et al., asbestos
Wiebe, F. Walter vs. Adience, Inc., et al., asbestos          defendants including Sears, Roebuck and Co. (a
defendants including Sears, Roebuck and Co.                   subsidiary of Sears Holdings Corporation)
Wiechert, Anne S., Individually and as Personal               Wilson, James and Jane Wilson vs. Beatty Lumber, et
Representative of the Estate of Robert L. Wiechert, et        al., asbestos defendants including Sears, Roebuck and
al., vs. John Crane-Houdaille, Inc., et al., asbestos         Co.
defendants including Sears, Roebuck and Co.                   Wilson, Jr.; Emmitt G. vs. Arvinmeritor, Inc., et al.,
Wilcox, Nancy L., As Personal Representative of the           asbestos defendants including Sears, Roebuck and
Estate of Willard C. Wilcox, and Individually as              Co. (a subsidiary of Sears Holdings Corporation)
Surviving Spouse vs. A.O. Smith Corporation et al.            Wilson, Ronald and Sheila Ann Wilson, his wife vs.
asbestos defendants including Sears, Reobuck and              A.W. Chesterton Company, et al., asbestos
Co. (47 named defendants)                                     defendants including Sears, Roebuck and Co.
Wilfong, Bernard and Linda vs. John Crane-                    Winchester, Carol and Daniel Winchester vs.
Houdaille, Inc., et al. asbestos defendants including         American Biltrite, Inc., et al., asbestos defendants
Sears, Roebuck and Co. (64 named defendants)                  including Sears, Roebuck and Co.
Wilhelm, Robert S. and Wilhelm, Elaina vs Quigley             Windt, Linda, Administratrix of the Estate of Michael
Company, Inc. et al asbestos defendants including             J. Windt, deceased, and Linda Windt, in her own
Sears, Roebuck and Co. (48 names defendants)                  right vs. Honeywell International, Inc., et al., asbestos
Wilkes, Nancy vs. 84 Lumber, et al., asbestos                 defendants including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Winfree, Wyatt and Edith Mae Winfree, his wife vs.
Wilkes, Wesley W. vs. Owens Illinois, Inc., et al.,           Anchor Packing Company, et al., asbestos defendants
asbestos defendants including Sears, Roebuck and              including Sears, Roebuck and Co.
Co.                                                           Winfrey, Donte D. et al. v. Kmart Corporation et al
Wilkins III; John E. and Frances A. Wilkins, his wife         [dba Sears]
vs. Union Carbide Corporation, et al., asbestos               Winter, Harold and Sally Winter, his wife vs. Air &
defendants including Sears, Roebuck and Co.                   Liquid Systems Corporation, et al., asbestos
William Chupela et al v. Sears et al                          defendants including Sears, Roebuck and Co.
                                                              Wirtz, Gerald and Patricia Wirtz vs. ABB, Inc., et al.,
Williams, Alex vs. Dana Companies, LLC., et al.,              asbestos defendants including Sears, Roebuck and
asbestos defendants including Sears, Roebuck and              Co.
Co.                                                           Witt, Curtis and Gerlinde E. Witt, his wife vs. John
Williams, Arnessa and Ray Williams, her husband               Crane-Houdaille, Inc., et al., asbestos defendants
vs. BMI Refractories Services, Inc., et al., asbestos         including Sears, Roebuck and Co.
defendants including Sears, Roebuck and Co.                   Wodarczyk, Bernard and Elizabeth M. Wodarczyk,
Williams, Elaine Thomas v. Sears Holdings                     his wife vs. John Crane-Houdaille, Inc., et al.,
Corporation                                                   asbestos defendants including Sears, Roebuck and
Williams, Eugene and Phyllis vs John Crane-                   Co.
Houdaille, Inc., et al including Sears, Roebuck and




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Litigation                                                    Litigation
Wolff, John W., Jr. et al vs Quigley Company, Inc. et         Yarbrough, Donald E. and Betty L. Yarbrough vs.
al asbestos defendants including Sears, Roebuck and           A.W. Chesterton, Inc., et al., asbestos defendants
Co. (46 named defendants)                                     including Sears, Roebuck and Co.
Wolford, Raymond C. and Viola E. Wolford, his wife            Yates, Michelle v. Sears Corporation
vs. Union Carbide Corporation, et al., asbestos
defendants including Sears, Roebuck and Co.                   Yazzie, Tamara, Individually and as Special
Wood, Melissa v. Sears Home Improvement                       Administrator of the Estate of Albert Yazzie,
Products, Inc.                                                Deceased vs. 3M Company, et al., asbestos
Wood, Robert vs. Aurora Pump Company, et al.,                 defendants including Sears, Roebuck and Co.
asbestos defendants including Sears, Roebuck and              Yessenia Alverez V. Sears, Roebuck and Co.
Co.
                                                              Yetzer, Paul, as Special Administrator of the Estate
Woodruff, Kathryn, Co-Personal Representative of              of Trady Yetzer, and Paul Yetzer, Individually vs.
the Estate of Robert H. Mobley, Sr., et al., vs. Union        A.O. Smith Corporation, et al., asbestos defendants
Carbide Corporation, et al., asbestos defendants
                                                              including Sears, Roebuck and Co. (a subsidiary of
including Sears, Roebuck and Co.
                                                              Sears Holdings Corporation)
Woodward, Paul H. and Marlene Woodward, h/w vs.
                                                              Yon, Charmaine, Executrix of the Estate of William
J.H. France Refractories, et al., asbestos defendants
                                                              Yon, et al., vs. American Biltrite, Inc., et al., asbestos
including Sears, Roebuck and Co.                              defendants including Sears, Roebuck and Co.
Wozniak, Paul v. Hampton Forge, Ltd, et al. [Sears            York, John J. and Gail York vs. Owens Illinois, Inc.,
Holdings Corporation]
                                                              et al., asbestos defendants including Sears, Roebuck
Wray, Robert C. and Janet J. Wray, h/w, vs.
                                                              and Co.
Honeywell International, Inc., et al., asbestos
                                                              Youngbar, Barry and Kim Youngbar, his wife vs.
defendants including Sears, Roebuck and Co.                   John Crane-Houdaille, Inc., et al., asbestos
Wren, Bruce and Connie Sue Wren, his wife vs. John            defendants including Sears, Roebuck and Co.
Crane-Houdaille, Inc., et al., asbestos defendants
                                                              Young, Billie vs. Quigley Company, Inc., et al.
including Sears, Roebuck and Co.
                                                              asbestos defendants including Sears, Reobuck and
Wright, Jack and Jan Wright vs. 84 Lumber
                                                              Co. (45 named defendants)
Company, et al., asbestos defendants including Sears,
                                                              Young, Brian C. vs. Akzo Nobel Paints LLC, et al.,
Roebuck and Co.                                               asbestos defendants including Sears, Roebuck and
Wright, Paul K. and Wright, Priscilla L. v A.O. Smith         Co., a subsidiary of Sears Holdings Corporation
Water Products, Inc., et al asbestos defendants
                                                              Young, Harry L. Sr. and Ross Anne vs. Quigley
including Sears, Roebuck and Co., et al (56 named
                                                              Company, Inc., et al. asbestos defendants including
defendants)
                                                              Sears, Roebuck and Co. (45 named defendants)
Wright, Peter and Karen Wright vs. A.W. Chesterton
                                                              Young, Lavern v. A.W. Chesterton, Inc., et al.,
Company, et al., asbestos defendants including Sears,         asbestos defendants including Sears, Roebuck and
Roebuck and Co.                                               Co. (95 named defendants)
Wyatt, Lonnie A., As Personal Representative for
                                                              Young, Norbert v. Sears Home Improvement
Margie Wyatt, Deceased vs. 84 Lumber Company, et
                                                              Products, Inc.
al., asbestos defendants including Sears, Roebuck and
                                                              Young, William and Marianna Young vs. A.O. Smith
Co.
                                                              Water Products, et al., asbestos defendants including
Wyatt, Richard and Maxine vs. Quigley Company,                Sears, Roebuck and Co.
Inc., et al. asbestos defendants including Sears,
                                                              Yount, James Warren vs. Aaberg & Feek, Inc., et al.,
Roebuck and Co. (53 named defendants)
                                                              asbestos defendants including Sears, Roebuck and
Wysocki, Eugene vs. John Crane-Houdaille, Inc., et
                                                              Co.
al., asbestos defendants including Sears, Roebuck and
                                                              Yousif, Lynn, as Proposed Executor of the Estate of
Co.                                                           Gary Heflin, deceased vs. 3M Company, et al.,
Wysocki, Ronald M. and Wysocki, Margaret Vs.                  asbestos defendants including Sears, Roebuck and
A.W. Chesterton Company, et al., asbestos
                                                              Co.
defendants including Sears, Roebuck and Company
                                                              Yu, David v. Sears Outlet Corporation, Dft
(109 named defendants)
Xiao, Sherry v. Sears Holdings Management                     Zachara, Matthew J. and Dayna Zachara vs. A.W.
Corporation                                                   Chesterton Company, et al., asbestos defendants
Yankowy, Timothy V. and Joanne Yankowy, h/w vs.               including Sears, Roebuck and Co., Individually and
Honeywell International, Inc., et al., asbestos               as Successor-in-Interest to David Bradley
defendants including Sears, Roebuck and Co.                   Manufacturing Co.




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Litigation                                                    Litigation
Zaicko, Richard and Rose vs. Owens-Illinois Glass             Acorella, Ann v. Sears; Sear Roebuck c/o Ecova,
Co., et al. asbestos defendants including Sears,              Inc., John Does 1-10 and XYZ Corporations 1-10
Reobuck and Co. (45 named defendants)                         Acosta, Jose v. K Mart Corporation; K-Mart Center
Zanghetti, Mario and Mary Zanghetti vs. A.O. Smith            Limited Partnership; BCI Coca-Cola Bottling
Water Products Co., et al., asbestos defendants               Company of Los Angeles; Coca-Cola Refreshments
including Sears, Roebuck and Co.                              U.S.A. Inc.; John Doe 1-10; and Black & White
Zeiler, George W. vs. Quigley Company, Inc., et al.           Entity 1-10
asbestos defendants including Sears, Reobuck and              Adams, Roy
Co. (47 named defendants)                                     Aguilar, Ramsey v. Sears Holdings Management
Zeiler, Raymond J. vs. Quigley Company, Inc., et al.          Corporation
asbestos defendants including Sears, Roebuck and              Akhter, Iqbal v. WalgreenCorporation; C V S
Co. (46 named defendants)                                     Corporation; Walmart Corporation; Express Scripts
Zelenka Farms Bankruptcy                                      Corporation; Rite Aid Pharmacy; K.mart Super
                                                              Center; SUPER K mart; Target Corporation;
Zeni, Joseph, as Executor of the Estate of Donald             Jewel/Osco Drugs; Meijer Stores; and Purdue
Zeni, et al., vs. 3M Corporation, et al., asbestos            Pharma
defendants including Sears Holding Corporation,               Ali, Adam; an infant by his father and natural
Individually and as successor to Sears, Roebuck and           guardian Walid Ali; and Walid Ali, individually v.
Co., and as successor to Sears Automotive                     Sears; and Sears Roebuck and Co.
Zimmerman, Sr.; Kenneth L. vs. John Crane-                    Allen, Belinda v. Sears Holdings Corporation dba K-
Houdaille, Inc., et al., asbestos defendants including        Mart
Sears, Roebuck and Co.                                        Allen, Karen and Allen, L. Edward, III, her spouse v.
Zimmer, Patrick, as Personal Representative of the            Pyramid Walden Company, LP; Pyramid
Estate of Thomas Zimmer, et al., vs. A.O. Smith               Management Group, LLC; Walden Galleria LLC;
Corporation, et al., asbestos defendants including            Walden Galleria Holdings, Inc.; Sears, Roebuck and
Sears, Roebuck and Co.                                        Co.; Sears Holdings Management Corporation
Zimnitzky, Nicholas J. and Irene A. Zimnitzky, his            Allen, Ruth Ann v. Kmart Corporation dba Kmart;
wife vs. Union Carbide Corporation, et al., asbestos          Sears Holdings Corporation; Kmart Corporation dba
defendants including Sears, Roebuck and Co.                   Kmart
Zinter, Scott A. v. Sears                                     Alonso, Carlos A. v. Sears Holdings Corporation dba
Zirounis, John N. Vs. A.W. Chesterton Company, et             Sears Holdings Management Corporation
al., asbestos defendants including Sears, Roebuck and         Alvaredo, Cecelia v. Elias Properties Babylon, LLC
Company (109 named defendants)                                Alvarez, Narciza v. K Mart Corporation
Zizza, Ralph and Annette Zizza vs. A.W. Chesterton            AMENDED-Boyle, Brandon and Lucia v. Huffy
Company, et al., asbestos defendants including Sears,         Corporation and/or ABC Corporation; Kmart, Inc.
Roebuck and Co.                                               and/or Sears and/or DEF Corporation; National
Zlozower, Neil and Barry Levine v. Hot Topic, Inc.,           Product Services and/or GHI Corporation; JKL
et al. [SHC]                                                  Corporation; John Doe 1-5; John Doe Manufacturers
Zoller, Guy, as Personal Representative of the Estate         AMENDED-Robertson, Sarah v. Sears, Roebuck and
of Samuel E. Glore, Deceased, vs. 84 Lumber                   Co.; A & E Factory Service, LLC; and Marvin
Company, et al., asbestos defendants incuding Sears,          Maddox aka Melvin Maddox
Roebuck and Co., a subsidiary of Sears Holding                Andrews, Rhonda v. Sears, Roebuck and Co.; KCD
Corporation                                                   IP, LLC; Sears Brands, LLC; and Sears Holdings
Zurawski, David v. Sears Holdings Mgt Corp.                   Corporation
                                                              Anglen, Colleen v. K Mart Corporation
--FIRE--Dimizas, Eugenia and George; Utica                    Annan-Forson, John; individually; and as guardian ad
National Insurance of Texas v. Quality Appliance              litem for Trinity Annan, a minor v. Kmart Operations
Installers, Inc.; Sears, Roebuck and Co.; Sears               LLC; and Does 1-30, inclusive
Holdings Corporation                                          Aponte, Luz v. Kmart; Sears Holding Corporation
Abbott, Annette v. Sears, Roebuck and Company                 dba Kmart; Vineland Town Center; and First Allied
Acevedo, Madeline v. K-Mart Corporation                       Corporation dba Vienland Town Center
Acker, John and Marion v. Sears, Roebuck and Co.;             Applegarth, Chantal v. Sears Roebuck and Co.;
Union Plumbing Company; Does 1-30; Roes 1-30,                 Altamonte Mall, LLC
inclusive                                                     Archer, Peter v. Kmart Corporation dba Kmart




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Litigation                                                   Litigation
Arndt, Cathy and Richard v. K Mart Corporation               Waltco Lift Corp.; Waltco Lift Corp.; Waltco Lift
Arrington, George v. K-Mart Corporation; Sears               Corp.; Dynamex Fleet Services, LLC; Dynamex
Holding Corporation; and Royal K LLC                         Fleet Services, LLC; Dynamex Operations East,
Arujo, Julia v. Sears Protection Company; Sears              Barone, Camille v. K Mart Corporation
Protection Company (Florida), L.L.C.; Sears Home             Barrientos, Karen v. Kmart Corporation; and Does 1-
Improvement Products, Inc.; United Technologies              25
Corporation; Carrier Corporation; and Does 1-10,             Barron, Michael v. Kmart Corporation --
inclusive                                                    AMENDED -- Add: Sears Brands LLC
Aslanis, Anastasios aso Allstate Insurance Company           Bartek, Carol v. Sears, Roebuck and Co.
v. Sears, Roebuck & Co.                                      Bass, Cody v. Sears, Roebuck and Co.; and Sears
Atwood, Carl S. v. K-Mart; Mimms Enerprises                  Home Improvement Products, Inc.
Austin, Joseph v. Sears, Roebuck and Co. -- TX               Bateman, Felicia v. Sears Home Service.; and Sears
NON-SUBSCRIBER                                               Roebuck & Co.
Austin, Tavesia v. Harford Mall Business Trust               Batiste, Patty B. v. Sears, Roebuck and Co.; and
AUTO-Fabian, Charles M.; as administrator of the             Schindler Elevator Corporation
estate of Sandra M. Fabian, deceased, on behalf of           Bauer, Matt L. v. K Mart Corporation; Oelwein
decedent's heirs-at-law and next of kin, and in his          ATM, LLC; and Sears Roebuck & Co.
own behalf; and Robert E. Wolf, as administrator of          Baum, Gary and Tracy aso State Farm General
the estate of Beth Ann Wolf, deceased,                       Insurance Company v. Sears, Roebuck and Co.;
AUTO-Garcia, Maggie and Jayden Eveningstar v.                Winzeler Stamping Co.; MDX Group Inc.; and Does
Harold E. Leath; Sears, Roebuck and Co.; Kmart               1-50, inclusive
Corporation; and Does 1-10                                   Bautista, Santo and Jesusa v. Sears, Roebuck and Co.
AUTO-Kurimski, David v. Sears, Roebuck & Co.;                Bechet, Patricia aso Arbella Mutual Insurance
and Bruce Allen -- TX NON-SUBSCRIBER                         Company v. Sears Roebuck & Company
AUTO-Martin, Virginia Kay and Gordon v. Sears,               Becker, Pamela Pollak-Becker and Daniel M. v. K
Roebuck and Co.; Scott Malick, Manager, Sears                Mart Corporation, dba Kmart; and Kmart Stores of
Automotive Center #6176                                      /Illinois LLC, dba Kmart
AUTO-Scullari, Anthony v. S.A. Bonsignore; Brian             Beenchell, Jean v. Jacques J. Zephirin; Sears
Stafford; Midwood Management Corp; Farmingville              Holdings Management Corporation; and MTD
Associates; Burger King Corporation; L.I. Restaurant         Products, Inc.
Associates, L.P.; TGI Friday's Inc.; and Kmart               Bender, Nancy v. Kmart Corporation, dba Kmart
Corporation                                                  Pharmacy #4275
AUTO-Walters, Karla v. Jacklyn Catherin Brown;               Benedict, Rachel and Robert aso Narraganett Bay
Does 1-10 -- CROSS-CLAIM -- Jacklyn Catherine                Insurance Company v. Sears, Roebuck and Co.; Air
Brown v. Sears Auto Center; Sears Holding                    Alliance HVAC, Inc.
Corporation; and Roes 1-20, inclusive                        Bermudez-Rivera, Marlyn and KLyn Dejesus v.
Avila, Javier M. aso State Farm General Ins. Co. v.          Kmart #3522; John Doe 1-10; and ABC Corp 1-10
Sears, Roebuck and Co.; Orellana Transport, Inc.;            Best, John and Michelle v. Sears Home Improvement
Border Transfer, Inc.; and Does 1-10                         Products, Inc.; Mitsubishi Electric US, Inc.; Jason
Avila, Washington v. Sears                                   Cowan: John Doe 1; John Doe 2; John Doe 3; John
Aweidah, Sameer v. Sears, Roebuck and Co.; and               Doe 4
Site A, LLC                                                  Bhatt, Sudha aso Mid Century Insurance Company v.
Ayala Correa, Edwin; and Alma Acevedo Molina v.              Sears, Roebuck and Co.; and Does 1-20, inclusive
Sears Roebuck De Purto Rico, Inc.; Schindler of              Bibb, Molly v. Sears Roebuck and Co.; and ABC
Puerto Rico LLC                                              Insurance Company
Bables, Shonda v. Kmart Operations LLC; Does 1-              Biggs, Joseph and Mary aso Allstate New Jersey
10, inclusive                                                Insurance Company v. Electrolux North America,
Baker, Bobbie v. ICON Health and Fitness; and                Inc.; Electrolux Home Products, Inc.; and Sears,
Sears, Roebuck and Co.                                       Roebuck and Co.
Bardina, Libertad v. Kmart Corporation; Kmart                Billings, Norma and Norman v. R.J. Grondin & Sons;
Holding Corporation; Sears Holdings Corporation;             Sears, Roebuck and Co.; and GGP - Maine Mall,
Sears Holdings Management Corporation; Sears,                LLC
Roebuck and Co.; and K-Bay Plaza, LLC                        Blacknall, Ida v. Kmart Corporation
Barnhill, Clarence v. Enterprise Holdings, Inc.;             Blanco, Luis aso Stillwater Property & Casualty
Enterprise Holdings, Inc.; Enterprise Holdings, Inc.;        Insurance Company v. Watts Regulator Co.; Omni




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Litigation                                                   Litigation
Filter co., Inc.; Sears, Roebuck and Co.; and Does 1-        Property Group, L.P.; Kravco Simon Co.; Simon
60                                                           Management Associates, LLC; Quakerbridge Mall,
Boeselager, Patricia v. Main 19, LLC                         LLC; Sears; Sears, Roebuck and Company; Sears
Boliak, Joanann P. v. AC I Manahawkin, LLC and               Holdings; John D
Manahawkin 2015 LLC; Mandee Shops; Kmart; John               Burkhart, Nancy v. Kmart Stores; Kmart
Doe (1-10) and ABC Company (1-10)                            Corporation; Sears Holdings Corporation; and
Bonifazi, Andrew and Emily, individuals; and as the          Niagara Realty, LLC
parents and natural guardians of Adelyn Bonifazi, a          Burton, Dora v. Sears Roebuck and Co., Jim Wilson
minor v. Grand Beginnings Children's Center, Inc.,           and Associates, LLC dba Edgewater Mall, Schindler
aka Grand Beginnings; Margaret Gulas aka Peg                 Elevator Corporation, Kone, Inc., and Otis Elevator
Gulas; Kristin Dunn; Johanna Sutton Caitlyn                  Company
Bonilla Rodriguez, Carmen; Esposo Candido de                 Bustelo Wilson, Wallace A.; Gina A. Acosta
Jesus; and Janette de Jesus Bonilla v. Sears Roebuck         Rodriguez; and Miguel Andres Bustelo Acosta v.
de Puerto Rico Inc.; XYZ Insurance Company; ABC              Sears Roebuck De Puerto Rico, Inc.; et al.
Corp.                                                        Byrd, Gary and Lori Kay v. Whynot Leasing, L.L.C.;
Bonner, John and Margaret A. v. Sears, Roebuck &             Frigedaire Sales Corporation; Kmart; G, H, I
Co.                                                          Caballero, Emma v. Sears, Roebuck and Co.; and
Bowman, Laura v. Sears, Roebuck and Company and              Does 1-10
XYZ Insurance Company, et al                                 Cabrera Rodriguez, Ivette v. Sears Brand Central;
Boyd, Richard v. Elton Latroy Guinyard, Sears,               and/or Sears Roebuck De Puerto Rico, Inc.; et al.
Roebuck and Co.; and Wolverine Worldwide                     Caddle, Donna and John v. Sears Holding
Boyens, Lasonda v. Sears Holdings Management                 Corporation; Seritage SRC Finance, LLC; ABC
Corporation dba Kmart; Does 1-10                             Maintenance; John Doe Masonry; XYZ Property
Brennan, Marie v. K Mart Corporation; and Coca-              Management; and John Does 1-10
Cola Refreshments USA, Inc.                                  Calder Bracero, Gracia v. Kmart Corporation
Brinkman, Lois v. Sears Holdings Corporation; and            Cammarata, Theresa v. Kmart Corporation; and Sears
Kmart , Corporation                                          Holdings Corporation
Britton, Tracee M. v. K-Mart Operations LLC                  Camo, John B. v. Kmart Corporation; Levin
Brooks, Thomas H. Jr. v. Sears, Roebuck and Co.              Management; Levin Properties; ABC Corp., 1-5; and
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60, [REMOVE DOE 1 - ADD Matthews                           as next friend for Gabriella Gonzalez, a minor child
Transportation LLC] -                                      v. Sears, Roebuck and Co.
George-Samuel, Bodill v. Kmart Corporation dba             Gonzalez, Lorraine, individually; and as mother and
Kmart Corporation                                          next friend of Caleb Gonzalez, minor child v. Sears,
Gharibian, Kevork v. Kmart Corporation; Sears              Roebuck and Co.; and Simon Property Group
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and K Mart Corporation                                         Hannum, Gary v. Sears Home Improvement
Gordon, Risa; and Risa Gordon as next friend of                Products, Inc.; and Charlest (Charles) Wynne
Jermande Doward v. K-Mart Corporation                          Harley, Arthur v. Sears Holdings Management
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Gregory (Bey), Joseph C. and Patricia v. Sears                 Hays, Teresa v. Sears, Roebuck & Co.; SRC Real
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Griffith, Gloria v. Sears (Carpet & Upholstery)                Heidingsfelder, Todd E. aso ANPAC Louisiana
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Company; Montgomery Insurance Company, a                       Operations, LLC
wholly owned su                                                Herman, Marilyn v. Sears, Roebuck and Co.
Gros, Zora and Mirko v. Sears Holdings Corporation             Herman, Morton and Jacqualine aka Jackie Herman
dba Sears Roebuck and Co.                                      v. Sears Home Improvement Products, Inc.; Zachary
Grove, Darius and Gloria, individually and as                  King; Alfred William Nyman, Jr.; and Does 1-20,
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and John Doe, fork lift/clamp operator                         Herman, Sharon L. v. Sears Holdings Corporation
Grueneich, Frances v. Kmart Operations LLC; Ted J.             dba Kmart; and Jane Doe I
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Hammon, Emery Joy, a minor by and through her                  name unknown); and Does 1-50, inclusive
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Store, L.L.C.; and Sears Hometown Store of                      Authorized Hometown Stores, LLC; [AND
Covington, L.L.C.                                               REMOVING: Nyle C. Fullmer; and Sherri Faye
SHO-Brouchet, Myra v. Sears Outlet Stores, L.L.C.               Fullmer, dba Rexburg Sears Store] -- FIRST
SHO-Clark, Ralph v. Sears Authorized Hometown                   AMENDED COMPLAINT -- SECOND AMENDED
Stores, LLC and The New England Expedition -                    COMPLAI
Wallingford, LLC                                                SHO-Sosna, Stuart v. Sears Outlet Stores, LLC.
SHO-DeHaven, William v. Sealy Mattress                          SHO-Southard, Vera v. Sears Outlet Stores, LLC
Manufacturing Company, LLC; Tempur Sealy                        SHO-Stevenson, John v. Williston Park TV & Radio,
International, Inc.; Sears Outlet Stores, L.L.C.; Sears,        Inc.; Samsung Information Systems America, Inc.;
Roebuck and Co.; and John Doe                                   Samsung Electronics America, Inc.; Sears Outlet
SHO-Easterling, Larry v. Sears authorized                       Stores, L.LC.; Sears Authorized Hometown Stores,
Hometown Stores, LLC; and ABC and DEF                           LLC; and Sears Home Improvement Products, Inc.
SHO-Fassett, Daniel and Leslie; individually and as             SHO-Thunell, Warren S. and Joy v. Sears Outlet
parents and natural of J.F., a minor v. Sears Holdings          Stores, LLC; John Does 1-15; and ABC Corporation
Corporation; Sears, Roebuck and Co.; Sears                      1-15
Hometown and Outlet Stores, Inc.; Sears Authorized              SHO-Wasik, Donald v. Sears Authorized Hometown
Hometown Stores, LLC; Kenmore Craftsman Di                      Stores, LLC; and Lance & Collins Family Holdings,




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Litigation                                                     Litigation
LLC                                                            Gauer; Whirlpool Corporation; Sears, Roebuck and
SHO-Williams, Mary Errana v. Sears Outlet Stores,              Co.; Excel, Inc.; and Does 1-40, Inclusive --
LLC                                                            AMENDED -- Adding as Doe 1: MXD Group, Inc.
SHO-Willis, Jeff aso Allstate Insurance Company v.             Spencer, Ann v. Crystal River Mall Realty
Sears, Roebuck and Co. and Sears Authorized                    Management, LLC., K Mart Corporation and David
Hometown Stores, LLC                                           Keelner
SHO-Wittmeyer, Joseph C. v. Sears Authorized                   Stanley, Marion v. K-Mart
Hometown Stores, LLC                                           Staudt, Sandra and John v. Sears; Sears Protection
Short, Cheryl K. v. K Mart Corporation                         Company; Sears, Roebuck and Company; Sears
Show, Crystl v. Sears, Roebuck and Co.                         Home Improvement Products Inc.; Sears Service
Shulas, Molly and Shulas, Walter, her husband v.               Department; John Does 1-10; and ABC Corporation
Sayre Valley, LLC and K-Mart Corporation                       1-10
Sibble, Gloria v. K Mart Corporation; and Kmart                Steinmetz, Stephanie Hirsh v. Sears, Roebuck and
Operations LLC                                                 Co. and Does 1-23
Siebert, Ryan v. Sears Roebuck and Co.; and                    Steptoe, Christopher v. Sears Holdings Management
Blackstone Industries LLC                                      Corporation; and Sears, Roebuck and Co.
Simmons, Sharon v. Sears, Roebuck, and Co, Inc.;               Stern, Eric aso Allstate Insurance Company v. Sears
Sears Holdings Management Corporation; John Doe                Holdings Management Corporation
Store Manager; and Does 1-50                                   Stewart, Tammy M. v. Sears Home Improvement
Simpson, Donna v. Kmart Corporation d/b/a Big                  Products, Inc.; MacNoliga Roofing & Exteriors, Inc.;
Kmart Store #4177                                              Crawford & Company; and Mosises B. Silva
Simpson, Parrish aso Liberty Insurance Company v.              Strickland, Voula and Thomas v. Sears Holdings
Sears, Roebuck & Co.                                           Management Corporation
Simpson, Patricia v. Sears Holdings Management                 Strikmiller, Patricia K. v. Sears, Roebuck and Co.
Corporation dba Kmart                                          Struznik, Dorrie v. Kmart Corporation; and Does 1-
Smarr, Patricia and John v. Empire Realty                      25 inclusive
Management, Inc.; Empire Schuylkill, LP; Empire                Strzelecki, Patricia and Paul v. Sears Holding
Schuylkill, GP, LLC; Kennenitz Construction                    Corporation d/b/a Kmart
Corporation; Joe Kenenitz Construction, Inc.; Tristate         Sullivan, Richard aso Allstate Insurance Company v.
Fre II GP, LLC f/d/b/a/ Fameco Management                      Elbi International S.p.A.; Sears, Roebuck and Co.;
Services General, L                                            Whirlpool Corporation; and Does 1-20
Smith, Cathy v. K Mart Corporation                             Swensen-Briones, Miriam v. Kmart Corporation; and
Smith, DeShaun v. Sears Holding Corporation -- TX              Does 1-100
NON-SUBSCRIBER                                                 Swerzynski, Julia v. Kmart Corporation; John Does
Smith, Donna aso Universal Property & Casualty                 1-10; and ABC Corporations 1-10
Insurance Company v. AZ Bussines Wold, Inc.; and               Sylvain, Aaron and Ashley v. Precision Shooting
Sears Holdings Management Corporation, dba Sears               Equipment, Inc.; and Kmart Corporation
& Sears.com                                                    Szuch, Terri v. Sears Holding Corporation dba Kmart
Smith, Selena v. Kmart Corporation; Kmart Ten Mile             Store 9438
and Dequinde Limited Partnerhsip                               Taj, Makai and Shamla v. Sears Roebuck and Co.;
Smith, Wilma v. Sears, Roebuck and Co.                         Kmart; Northridge Fashion Ce Property Owner of
Snyder, Ryston, a minor, by and through his                    premise located at 9301 Tampa Av; Does 1-50,
Guardian ad litem Ramona Snyder v. Sears, Roebuck              inclusive
and Co.; Does 1 to 40                                          Tamburello, Josephine v. Sears, Roebuck and Co.
Somma, Sally v. GGP Staten Island Mall, LLC; Abco              Tapia, Juana v. Sears Holdings Management
Maintenance, Inc.; Universal Protection Services,              Corporation; and Does 1-50 inclusive
LLC; Macy's Retail Holdings, Inc.; Macy's, Inc.;               Tarafa, Debbie v. K-Mart Corporation
Sears, Roebuck and co.; and J.C. Penny Corporation,            Tarkington, Eddie v. Lavaughan Johnson; Lavaughan
Inc.                                                           Johnson dba Up and Go BBQ; SSI Nolensville, LLC
Sopka, Kathleen v. Aleff, LLC; Kmart Corporation;              and K Mart Corporation
Spirit Master Funding II, LLC; Burger King; CBK                Tassey, Michael Eugene v. Sears; Sears Auto Center;
Futures, Inc.; and John Doe and/or John Doe, Inc. 1-           Sears Holdings Corporation; Sears Brands, LLC;
10                                                             Sears, Roebuck and Co.; Sears Holdings
Southern California Edison Company v. Ingrid                   Management Corporation; Sears Authorized
                                                               Hometown Stores, LLC; Sears Grand, LLC; Sears




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Litigation                                                    Litigation
Operations LLC; and Does                                      aka Sears Holding Company
Tate-Alley, Barbara v. Kmart Corporation                      TX NON-SUBSCRIBER-Sanchez, Patricia v. Sears
Taylor, Nefertiti v. Kmart Corporation, and Does 1 to         Holding Management Corporation dba SHMC, Inc.;
60                                                            K-Mart
Tejeda, Bertha aso American Reliable Insurance                Uppal, Alishba, an infant under the age of 14 years,
Company v. BSH Home Appliances Corporation;                   by her mother and guardian Uppal, Shabana and
Sears, Roebuck and Co.; and Does 1-25, inclusive              Uppal, Shabana, individually v. Sears, Roebuck and
Tello, Mayhua v. Sears Holding Corporation; Sears,            Co.
Roebuck & Company; John Doe 1-10; XYZ Corp. 1-                Uzoaru, Matthias E. v. Sears, Rte. 22 E. Watchung;
10                                                            and City of Watchung NJ
THEFT-McCarter, Sandra A. v. K Mart Corporation;              Valedon Gimenez, Yolanda v. Sears
and C-Huey Harrison                                           Vallecillo, Merlin Sequeira v. Sears, Roebuck and
THEFT-Rich, Christine L. v. Sears, Roebuck and                Co.; Sears Holdings Management Corporation; and
Company; Rotterdam Police Department; and Town                Randy Denny
of Rotterdam                                                  Vann, Raymond v. Sears Auto Center; Sears
THEFT-Socorro, Abdo v. Sears, Roebuck and Co.                 Holdings Corporation; Sears, Roebuck and Co.; Sears
Thomas, Angela v. Kmart Corporation; Sears                    Brands, LLC; and Seritage Growth Properties
Holdings Corporation; Sears Roeubuck and Co.;                 Vargas, Juan Carlos v. Alexander's Rego Shopping
Sears Holdings Management Corp.; Kellermeyer                  Center Inc.; Sears, Roebuck and Co.; and Sears
Bergensons Services, LLC; and Urschel                         Holdings Management Corporation
Development Corporation                                       Vargas, Sonia v. Kmart Corporation; Elias Properties
Thomas, Judy v. Kmart Corporation                             Babylon, LLC; and Greg Geiger's Landscaping and
Thomas, Wendy v. Kmart Corporation                            Snow Removal
Thompson, Rebecca v. K Mart Corporation                       Varona, Felicia v. Kmart Corporation; and Does 1 to
Tishchuk, Yevdokya and Viktor v. Sears, Roebuck,              100
& Co.; John Doe Service Technician                            Vasquez, Nora v. Sears Holdings Corporation; Sears,
Toelk, Richard C. v. Sears, Roebuck & Co.; Kmart              Roebuck and Co.; and Sears
Corporation; Sears Brands, LLC; Sears Holding,                Vega Rubio, Maria A. v. Sears Holdings
Corporation; and John Doe I-XX                                Management Corporation dba SHMC, Inc.; and
Tolen, Tyrone v. Sears Holdings Corporation                   Regency Centers Corporation dba Regency Centers
                                                              Corporation of Florida aka Pacific Retail Trust dba
Toro Muniz, Teresa v. 9420 Kmart; VNO Bruckner
                                                              Hancock Center
Plaza LLC/Vornado Realty Trust; and VNO
Bruckner Plaza LLC/CT Corporation System                      Vega, Kristan v. Craftsman; Sears; Sears Stoneridge
Torres, Edda v. Kmart Corporation                             Mall; Sears Brands Management Corporation; Sears,
                                                              Roebuck and Co.; Sears Holdings Management
Torri, Linda v. K-Mart Corporation; Aqua Seal
                                                              Corporation; Stanley Black & Decker, Inc.; Rexon;
Manufacturing & Roofing, Inc.; Baker & Baker Real
                                                              Rexon Industrial Corp., Ltd.; Power Tool Specialists,
Estate Developers, LLC
                                                              I
Townsend, Luther individually and as father and next
                                                              Velez Cintron, Rosa v. K-Mart, Corp.; et al.
friend of Samuel Townsend, minor v. Sears Brands,
                                                              Velez Collazo, Mildred; Pablo Santana Zapata; et al
L.L.C.; sears Holdings Management Corporation;
KCD IP, LLC; Briggs & Stratton Corporation;                   v. Sears Roebuck De Puerto Rico, Inc., y/o K-Mart
Husqvarna Consumer Outdoor Products N.A., Inc.                Corporation; et al
                                                              Velez, Michael v. Kmart Corporation
Townsend, Sarria v. K Mart Corporation
                                                              Ventresca, Frances v. Kmart Corporation
Trigo, Marylou v. Sears, Roebuck and Co. and
Christopher Solis                                             Villalobos, Elia v. Sears; Sears, Roebuck and Co.;
Tuitt, Eunice v. Sears, Roebuck and Co.; Sears                Hulen Mall, LLC; and Xencom Facility Management
Holdings Corporation; and Sears Holdings                      LLC
Management Corporation                                        Villamil, Alicia v. Sears, Roebuck and Co.; and Sears
Tutt, Zerita v. Sears Home & Business Franchises,             Holdings Management Corporation -- TX NON-
Inc. fka Sears Carpet and Upholstery Care, Inc.               SUBSCRIBER
Tuttle, Stephen v. Sears Logistics Services, Inc.             Vinson, James aso Allstate Insurance Company v.
                                                              Sears, Roebuck and Co.
TX NON-SUBSCRIBER-Davis, Michael v. Sears,
                                                              Vissepo, Ana v. K Mart Corporation
Roebuck & Co. dba Sears; Alicia Holland; Sears
Holding Management Corporation dba SHMC, Inc.,                Vosburg, Jerry & Esther v Sears, Roebuck & Co.




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Litigation                                                    Litigation
Vossel, Jamie and Lottich, Brian & Estrella aso State         Wilson, Karisa v. Kmart Corporation
Farm Fire & Casualty Company v. Sears, Roebuck &              Wilson, Michael v. Kmart Corporation, a Foreign
Company & TNT Appliance Installation, Inc.                    Corporation
Wakulik, Tricia v. AMENDED COMPLAINT:                         Wilson, William and Tina v. Icon Health & Fitness,
Removing: Sears Holdings Corporation dba K-Mart               Inc.; Sears, Roebuck and Co.; and Sears Holdings
[Adding: Kmart Corporation and Kellermeyer                    Corporation, both doing business as Sears Store
Building Services Acquisition Group]                          #410; and Exertech
Walker, Deborah v. K-Mart Corporation                         Withrow, Anastasia v. Stater Bros.; and Does 1-10 --
Walker, Scott v. K Mart Corporation                           AMENDED COMPLAINT -- Add: Doe 1: K Mart
Wallace, Paula and Zachary v. Kmart Corporation               Corporation
aka Kmart Enterprises of Tennessee, Inc., aka Kmart           Woodson, Shelia v. K Mart Corporation; Warren H.
Operations, LLC, aka Kmart of Lebanon, TN aka                 Boyer, Inc.; Cipriano Square Plaza Corporation
Sears Operations, LLC                                         Yambo Pena, Maria v. Sears, Roebuck De Puerto
Wardleigh-Coggins, Jodi v. Kmart Corporation, dba             Rico, Inc. hnc Kmart Corporation; Kmart
Kmart; Does 1-10, inclusive; and Roe Business                 Corporation; et al.
Entities 1-20, inclusive                                      Yanez, Velma H. v. Kmart #4205; Kmart El Paso
Waterland, Sarah aso Nationwide General Insurance             4205, LLC; Kmart Stores of Texas LLC; and Kmart
Company v. Sears Home Improvement Products, Inc.              Corporation -- TX NON-SUBSCRIBER
Weast, Brad and Melissa aso Allstate Property and             Yates, Michelle v. Sears Holdings Management
Casualty Insurance v. Lowe's Home Centers, LLC;               Corporation
A&E Factory Service, LLC                                      Young, Joanne v. Sears Roebuck & Co.
Webber, Elizabeth v. Sears, Roebuck & Co.; and                Young, Kimberly v. Sears, Roebuck and Co.
Does 1-30, inclusive                                          Young, Sandra Glee v. Income Properties Services,
Wells, Georgia Marie v. K Mart Corporation                    Inc. v. Sears, Roebuck and Co.
West, Martha G. v. Sears, Roebuck and Co.                     Young, Tupper v.K-Mart Apparel of Texas Corp;
Weyne Roig, Angela v. Sears Roebuck De PR, Inc.;              Martha Marrufo; and Samuel Alvarez -- TX NON-
Julio Alicea Acevedo; et al.                                  SUBSCRIBER
Whetstone, Carole v. Sears, Roebuck and Co.; USI              Zemantauski, Rosemary and Michael v. Kmart Store
Services Group, Inc. dba Ultimate Services, Inc.; and         Zittlau, Elaine v. Sears, Roebuck & Co.
USI Facility Services, Inc.                                   Zurita, Edinson v. Sears, Roebuck and Co.
Whitney, Carolyn and William v. Sears & Roebuck
and Company
Wicks, Terri v. Weslo, Inc.; ICON Health & Fitness,
Inc.; Sears Holdings Corporation; Kmart Corporation           Litigation
Widmeier, Robert and April Widmeier v. Sears                  (ADA) Lee, Michele v. Sears, Roebuck and Co., et al
Holdings Corporation; Sears, Roebuck & Co.                    Abdeldeen, Nick; as father and next best friend of
Wilinski, Diane and Edwin v. Sears, Roebuck and               Zena Abdeldeen, minor v. Sears Roebuck and
Company                                                       Company
Wilkerson, Brian v. Sears Holdings Management                 Akhter, Iqbal v. WalgreenCorporation; C V S
Corp.                                                         Corporation; Walmart Corporation; Express Scripts
Williams, Aquita v. Kmart Corporation; and Coca-              Corporation; Rite Aid Pharmacy; K.mart Super
Cola Refreshments USA, Inc.                                   Center; SUPER K mart; Target Corporation;
Williams, Betty and Russell v. Sears Roebuck & Co;            Jewel/Osco Drugs; Meijer Stores; and Purdue
ABC Corporation 1-5; John Doe Owner 1-5; and                  Pharma
John Doe Employee 1-5                                         Amory / Block Bankruptcy Proceedings
Williams, Kimberly v. Sears Holdings Corporation;             Anderson, Frank J. v. Sears
John/Jane Does 1-10; and ABC Corp. 1-10                       Arkontaky, Betty Ann, Individually and as Personal
Williams, Latoya v. Sears Holdings Corporation dba            Representative for the Estate of Glenn Arkontaky vs.
Sears                                                         Advance Auto Parts, et al., asbestos defendants
Williams, Pamela D. v. Sears Holding Corporation;             including Sears, Roebuck and Co.
ABC Insurance Company, Inc.; and ABC Insurance                AUTO - Burge, Judith; Robert Lane, III; on behalf of
Company, Inc.                                                 his minor child, Robert Lane, IV v. ACE American
Williamson, Debra v. Kmart Corporation; Sears                 Insurance Company; and Raymond Plessala
Holding Corporation; John Doe I and John Doe II




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AUTO - PRODS-Rodolfo Ramirez, Enedino v.                      Sears, Roebuck and Co. (a subsidiary of Sears
Thomas Gibney; and ARI Fleet Lt                               Holdings Corporation)
Barnerd, Danny v. Sears Home Services                         Fross, Norma, Special Administrator of the Estate of
Barnhill, Clarence v. Enterprise Holdings, Inc.;              James Fross, Deceased vs. A.W. Chesterton
Enterprise Holdings, Inc.; Enterprise Holdings, Inc.;         Company, et al., asbestos defendants including Sears,
Waltco Lift Corp.; Waltco Lift Corp.; Waltco Lift             Roebuck and Co.
Corp.; Dynamex Fleet Services, LLC; Dynamex                   Frost, James "Buck" v. Sears Home Improvement
Fleet Services, LLC; Dynamex Operations East,                 Products, Inc.
Bayouth, Stacy and Kay M., Jr. v. Sears, Roebuck              Geraghty, Raymond M. vs. Airco Inc., et al., asbestos
and Co. and Sears Woodland Hills #1151                        defendants including Sears, Roebuck and Co.
Beck, Shirley, Individually and as Surviving Spouse,          Gordy, Albert and Maryann Gordy vs. Akebono
et al., Heirs of the late Charles Beck vs. 3M                 Brake Corporation, et al., asbestos defendants
Company, et al., asbestos defendants including Sears,         including Sears, Roebuck and Co.
Roebuck and Co.                                               Hancock III, James R. vs. Borgwarner Morse Tec
Benison, Gary v. Whirlpool Corporation; Sedgwick              LLC, et al., asbestos defendants including Sears,
Benson, Ryan M. and Sarah A. v. Sears, Roebuck                Roebuck and Co.
and Co.                                                       Harrington, Keith and Cheryl Lee Becker Harrington,
Bermudez-Rivera, Marlyn and KLyn Dejesus v.                   his wife vs. ABB, Inc., et al., asbestos defendants
Kmart #3522; John Doe 1-10; and ABC Corp 1-10                 including Sears, Roebuck and Co.
Bradley Plumbing LLC v. Sears Home Improvements               Herman, Annette v. Nick Meister
& Products                                                    Hillis, David, Individually and as Special
Bradshaw, Rodney M. vs. Honeywell International,              Administrator of the Estate of Nancy Hillis,
Inc., et al., asbestos defendants including Sears,            Deceased vs. Archer Daniels Midland Company, et
Roebuck and Co.                                               al., asbestos defendants including Sears, Roebuck and
Bullitt, Dana v. K Mart Corporation; Kmart                    Co.
Operations, LLC                                               Holguin, Carlos R. v. Sears Roebuck de Puerto Rico,
CHUBB - AUTO-Young, Gabriel v. Sears Holding                  Inc.
Management Corporation and Michael Gatewood                   Ivory, Diane v. Sears Roebuck and Company
CHUBB - Irom, Sheri, Individually and as Next                 Jimmeye, April and John v. Sears, Roebuck and Co.
Friend and Guardian of Jacob Irom, a Minor v. Sears,          Julian, Susan A. and James v. K Mart Corporation
Roebuck and Co. d/b/a A&E Factory Service, LLC                Kelly, Angela and Janyce L. MacKenzie v. Cooper
and Mark Noble Hensley                                        Tire & Rubber Company; TBC Corporation;
Clarida, Alice E. and Richard Dean vs. 3M                     Meineke Care Care Centers, LLC; MCCC 4333, Inc.
Company, etc., et al., asbestos defendants including          d/b/a Meineke Car Care Center #4333; and Sears,
Kmart Corporation                                             Roebuck and Co., d/b/a Sears Auto Center and/or
Clawson, Christopher a/s/o State Farm Lloyds v. EZ-           Sears, Roebuck and
Flo International, Inc., Sears Roebuck and Co., and           Kmart 9676 - City of Streetsboro v. Troy Collidge
Roy Feagley, D/B/A Ace Appliance Installation                 No. 10, LLC; Sears, Roebuck and Co.; and Portage
Contile, Maria and Mykalai Kontilai as Co-Special             County Auditor
Administrators of the Estate of Sylvia Contile,               Lumsden, Andrea C. v. Sears Roebuck and Co.
Deceased vs. Air & Liquid Systems Corporation et              Manko, Christopher David v. Sears Holdings
al., asbestos defendants including Sears, Roebuck and         Management Corporation
Co.                                                           Marthone, Solange v. Sears
Delgado, Reyna Margarita v. Kmart Stores; John                McHenry, Robert and Rosemary McHenry vs. Air
Does 1-10; and ABC Corp. 1-10                                 and Liquid Systems Corp., et al., asbestos defendants
Desai, Navil v. Sears Holdings Management                     including Sears, Roebuck and Co.
Corporation, Inc.; Sears Appliance Repair, Inc.; and          Miranda, Ana v. Kmart Operations, LLC
Sears, Roebuck and Co, Inc.                                   Mylonas, Alex v. Sears aka/dba Sears Holdings
Dickerson, Scott v. Sears Protection Company                  Corporation
Doe, John, James and Jane v. Sears Holdings                   Nesheiwat, Nasri v. Sears Home Service
Corporation; Kmart Corporation; Rebecca Van                   Norris, Martha Yvonne Hankins v. Kmart
Hattem and Does 1-25, inclusive                               Corporation
Flynn, Nettie v. Sears                                        Nugent, Dolores v. Sears Robuck and Co. Inc
Freitas, Michael and Barbara Freitas vs. A.O. Smith           Paez, Presciliano G. and Dolores Guevara, his wife
Corporation, et al., asbestos defendants including            vs. 84 Lumber Company, et al., asbestos defendants
                                                              including Sears, Roebuck and Co.




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Piggee, Wilma, Individually and as Special                       Sims, Susan M. v Sears Holding Corp.
Administrator of the Estate of Ernest Piggee,                    Siu, Gordon, et al. v. Sears Holdings Management
Deceased vs. Arconic Inc., et al., asbestos defendants           Corp., et al.
including Sears, Roebuck and Co.                                 Siwecki, Alexandria v. Sears, Roebuck and Co.; John
Plummer, Gloria J. v. Sears Holdings Corporation                 Does 1-20; Jane Does 1-20; Doe Corporations 1-20;
Poundstone, Jr.; Ronald H. and Doris Poundstone vs.              Doe Partnerships 1-20; Doe Governmental Entities 1-
A.O. Smith Water Products Co., et al., asbestos                  20.
defendants including Sears, Roebuck and Co.                      Stericycle, Inc., Steri-Safe
Prop Subro Claim - Atlas Roofing                                 Stone, Carolyn Cottingham, Individually and as
Prop Subro Claim - British Petroleum                             Special Administrator for the Estate of Clinton Dale
Prop Subro Claim - Frigidaire                                    Cottingham, Deceased vs. 4520 Corp., Inc., et al.,
Prop Subro Claim - Herzog Roofing, Inc.                          asbestos defendants including Sears, Roebuck and
Prop Subro Claim - Jackson County Water & Sewage                 Co.
Authority                                                        Tighe, Patricia vs. Air and Liquid Systems Corp., et
Prop Subro Claim - King of Prussia Associates                    al., asbestos defendants including Sears, Roebuck and
Simon Property Group                                             Co.
Prop Subro Claim - Kozy Korner                                   West, Merle C. and Janice E. Bradford West, his wife
Prop Subro Claim - North American Roofing                        vs. Air & Liquid Systems Corporation, et al.,
Prop Subro Claim - Rockaway Realty Associates ISJ                asbestos defendants including Sears, Roebuck and
Management Corp.                                                 Co.
Prop Subro Claim - Spotsylvania Mall Company c/o                 Williamson, Josefine, Individually and Ronald
The Cafaro Company                                               Williamson, as Special Administrator of the Estate of
Prop Subro Claim - Tara Retail Group                             Ronald D. Williamson, Deceased vs. Advance Auto
Prop Subro Claim - Wal-Mart, ADP                                 Parts, Inc., et al., asbestos defendants including Sears,
Restoff, Joseph vs. CBS Corporation, et al., asbestos            Roebuck and Co.
defendants including Sears, Roebuck and Co.
Rivers, Barbara, Individually and as Surviving
Spouse, et al., Heirs of the late Tom Rivers vs. A.W.            U.S. Trustee Office for S.D.N.Y.
Chesterton Company, et al., asbestos defendants                  William K. Harrington, U.S. Trustee
including Sears, Roebuck and Co.                                 Linda A. Riffkin, Assistant U.S. Trustee
Rosenfeld, Bascia a/s/o Allstate Insurance Company               Michael Driscoll, Trial Attorney
v. Sears, Roebuck and Co., and Midea American                    Richard W. Fox, Trial Attorney
Corporation                                                      Susan Golden, Trial Attorney
Russell, Vivian v. Sears Holding Management Corp.                Nazar Khodorovsky, Trial Attorney
Santos, Adrian v. A&E Factory Service                            Brian S. Masumoto, Trial Attorney
Schulz, Hugo R. Jr. - v. Sears Holdings Corporation              Richard C. Morrissey, Trial Attorney
Sears #1434 - State of New Jersey, by the                        Serene Nakano, Trial Attorney
Commissioner of Transportation v. Willowbrook                    Andrea B. Schwartz, Trial Attorney
Mall, LLC; Sears, Roebuck and Co.; et al.                        Paul K. Schwartzberg, Trial Attorney
Sears, Roebuck and Co. v. Virginia Center Common                 Andy Velez-Rivera, Trial Attorney
Realty Holding, LLC S1065                                        Greg M. Zipes, Trial Attorney
Sears, Roebuck and Co., et al. v. Ideal Industries, Inc.         Cheuk M. Ng, Auditor (Bankruptcy)
SEARS-Fassett, Daniel and Leslie; individually and               Victor Abriano, Bankruptcy Analyst
as parents and natural of J.F., a minor v. Sears                 Danny A. Choy, Bankruptcy Analyst
Holdings Corporation; Sears, Roebuck and Co.; Sears              Nadkarni Joseph, Bankruptcy Analyst
Hometown and Outlet Stores, Inc.; Sears Authorized               Anna M. Martinez, Bankruptcy Analyst
Hometown Stores, LLC; Kenmore Craftsman                          Mary V. Moroney, Bankruptcy Analyst
Shadowen, Jacky v. CT Corporation (Sears Roebuck                 Sylvester Sharp, Bankruptcy Analyst
and Co)                                                          Catletha Brooks, Legal Assistant (Bankruptcy/OA)
Shefa LMV, Inc. v. Sears Holdings Corporation;                   Ercilia A. Mendoza, Legal Assistant
Ronan Tools, Inc.; Allstar Products Group; Wahl                  (Bankruptcy/OA)
Clipper Corporation; and Does 1-100, inclusive -                 Amanda Cassara, Paralegal (Bankruptcy)
Prop 65                                                          Maria Catapano, Paralegal Specialist
Shepard, Beverly H. v. Cross Country Home Service;               Myrna R. Fields, Paralegal Specialist
Sears, Roebuck and Co.                                           Ilusion Rodriguez, Paralegal Specialist
Sherman, Rosa v. Sears Home Services




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                                                      Top Unsecured Creditors (40)
Ordinary Course Professionals                         Collins Co. Ltd.
Steptoe & Johnson LLP                                 Cooper Tire & Rubber Company
Haynes and Boone, LLP                                 Dongbu Daewoo Electronics America
Teneo Holdings                                        East Penn Manufacturing Co Inc.
                                                      F & T Apparel LLC
Other Parties in Interest                             FMI Inc.
                                                      Frigidaire Company
                                                      General Electric Company
                                                      Haddad Apparel Group Ltd.
Professionals of Other Parties in Interest            Hasbro Inc.
Sullivan & Cromwell                                   Husqvarna Outdoor Products
                                                      Icon Health and Fitness
Significant Competitors                               Jordache Limited
ACE Hardware Corporation                              Maytag Appliances
Amazon                                                Michelin North America Inc.
Amazon.com, Inc.                                      MKK Enterprises Corp.
American Apparel                                      MTD Products Inc.
BCBG MaxAzria                                         Natural Textile Co. Ltd.
Best Buy                                              Procter & Gamble Distributing
Best Buy Co., Inc.                                    Prudent International Ltd.
BJ's Wholesale Club                                   Sealy Mattress Company
Costco Wholesale Corporation                          Serta Incorporated
CVS Pharmacy                                          South China Shoes Products Co.
Dillard's, Inc.                                       Tempur Pedic North America LLC
Ebay, Inc.                                            VF Jeanswear Limited Partnership
Gap Inc.                                              Waterloo Industries Inc.
hhgregg Appliances and Electronics                    Whirlpool Corporation
J.C. Penney Company, Inc.                             Whirlpool Kenmore Corporation
Kohl's Corporation                                    Winners Industry Company Limited
L Brands, Inc.                                        Wolverine World Wide Inc.
Limited Stores, LLC                                   Xiamen Golden Textile Import
Lowe's Companies, Incv.                               Xiamen Golden Textile Import
Macy’s                                                Zhejiang Kata Technology Co Ltd.
Meijer
Menard, Inc.
National Electronics Warranty Corporation             Unions
(“N.E.W.”)                                            AFL-CIO
Payless Shoesource                                    International Brotherhood of Electrical Workers
Rollins, Inc.                                         International Brotherhood of Teamsters
Target Corporation                                    International Union of Operating Engineers
The Home Depot, Inc.                                  Service Employees International Union
The Service Master Company                            The International Union, United Automobile,
TJX Companies, Inc.                                   Aerospace and Agricultural Implement Workers of
True Value Company                                    America (UAW)
Walmart                                               The United Food and Commercial Workers
Wal-Mart Stores, Inc.                                 International Union
                                                      United Service Workers Union (USWU)
Top Unsecured Creditors (40)                          United Steel Workers Union
American Tire Distributors Inc.                       Workers United
Apex Tool Group LLC                                   International Brotherhood of Electrical Workers
Apparel Sourcing (HK) Limited                         Local #1075 (IBEW)
Black & Decker US Inc.                                International Brotherhood of Electrical Workers
Cardinal Health                                       Local #1547
Chamberlain Manufacturing Corp.                       International Brotherhood of Teamsters #107
Cleva Hong Kong Ltd.                                  International Brotherhood of Teamsters #150




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Unions                                                     Customer Programs
International Brotherhood of Teamsters #174                YWCA Metropolitan Chicago
International Brotherhood of Teamsters #243
International Brotherhood of Teamsters #348
International Brotherhood of Teamsters #401                Notice Parties
International Brotherhood of Teamsters #688                Bank of America, N.A., as administrative agent under
International Brotherhood of Teamsters #705                the First Lien Credit Facility
International Union of Operating Engineers Local #         Citibank, N.A., as administrative agent under the
399 (IUOE)                                                 Letter of Credit Facility
International Union of Operating Engineers Local           JPP, LLC, as administrative agent under the Second
#70                                                        Lien Credit Facility
The International Union, United Automobile,                Wells Fargo Bank, National Association, as indenture
Aerospace and Agricultural Implement Workers of            trustee for the Second Lien Notes
America (UAW) #2901                                        Computershare Trust Company, N.A., as indenture
The International Union, United Automobile,                trustee for the SHC Unsecured Notes
Aerospace and Agricultural Implement Workers of            BNY Midwest Trust Company, as indenture trustee
America (UAW) #8275                                        for the SRAC Unsecured Notes
The United Food and Commercial Workers                     the Pension Benefit Guaranty Corporation
International Union Local #880                             the Securities and Exchange Commission
The United Food and Commercial Workers                     the Internal Revenue Service
International Union Local #881 (UFCW)                      the United States Attorney’s Office for the Southern
United Service Workers Union (USWU) District 10            District of New York
United Steel Workers Union District 10
Workers United #196
Workers United #512                                        8% Senior Unsecured Notes due 2019
United Automobile, Aerospace and Agricultural              Computershare Trust Company, N.A.
Implement Workers of America (“UAW”) Local                 Cede & Co.
8275                                                       Computershare Inc.
UAW Local 2901                                             Wachtell, Lipton Rosen & Katz LLP – Counsel for
UFCW Local 880                                             sears?
UFCW Local 881
                                                           Indenture
                                                           Ally Bank
Supplemental Workforce Agencies                            Banc of America Securities LLC
Crossfire                                                  Bank of America Merrill Lynch
Beeline                                                    Bank of America, N.A.,
Randstad                                                   Barclays Capital Inc.
                                                           BNY Midwest Trust Company
                                                           Citigroup Global Markets Inc.
                                                           Deutsche Bank Securities Inc.
Customer Programs                                          Goldman, Sachs & Co.
Avalara                                                    Merrill Lynch, Pierce, Fenner & Smith Incorporated
Groupon                                                    PNC Bank, National Association
Intelligent Clearing Network Inc.                          Siemens Financial Services, Inc.
Iraq and Afghanistan Veterans of America (IAVA)            Wells Fargo Bank, National Association
Kmart for Kids                                             Wells Fargo Securities, LLC
March of Dimes
NCH Marketing Inc.
Oregon Beverage Recycling Cooperative                      Insurance
Rebuilding Together                                        ACE
Sears Heroes at Home                                       Citizens Insurance Company of America
ServeYourWay                                               Hibernia Bk
St. Jude Children’s Research Hospital                      Liberty Mutual Insurance Company
TechGYRLS                                                  Massachusetts Bay Insurance Company
Waste Management                                           National Union Fire Insurance Co.
We Are the Mighty (WATM)                                   Ohio Bureau of Workers Compensation




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Insurance                                                    Utility from extranet
Old Republic Insurance Company                               AEP/24418-Columbus Southern Power
Safety National                                              AEP/24421 Public Service Company of OK
State of California - Office of Self Insurance Plans         AEP/24422-Southwestern Electric Power
(OSIP)                                                       AEP/24424
Travelers Indemnity Company                                  Alabama Power
Virginia Surety Company, Inc.,                               Alagasco - Alabama Gas Corporation
                                                             Alameda County Water District
                                                             Albany Road-Springfield Plaza LLC
                                                             Albany Utilities - GA
Surety Bond                                                  Albemarle County Service Authority
Ameren Missouri                                              Albuquerque Bernalillo County Water
Bank of America                                              Alcorn County Electric Power Assn.
Beede Site Group                                             Alexandria Renew Enterprises
Commonwealth of Massachusetts                                Algona Municipal Utilities, IA
First American Title Ins.                                    Alliant Energy/IPL
Hanover Insurance                                            Alliant Energy/WP&L
Hudson Insurance                                             Allied Oil Company LLC
LINCOLN GEN INS CO.                                          ALP Utilities
RLI Surety                                                   Altoona Water Authority
Safeco                                                       Amador Water Agency, CA
Sears Protection Company/Wisconsin                           Amarillo Mall, LLC
Travelers Casualty and Surety                                Ameren Illinois
Trinity Reit, Inc.                                           Ameren Illinois Company
Virginia Surety                                              Ameren Missouri
WC CA Liberty posted cash                                    American Electric Power - Aep Columbus Southern
XL Specialty Insurance                                       American Electric Power - Aep Ohio
                                                             American Electric Power - Aep Texas
Third Party Alliances                                        American Electric Power (AEP)
American Express Travel Related Services Company,            American Industrial Center IX, LLC
Inc.                                                         American Messaging
Blackhawk Network, Inc.                                      American Water & Energy Savers
SHC Promotions, LLC                                          Amerigas/Charlotte, NC
                                                             Amerigas/Londonderry, NH
                                                             Amerigas/New Castle, DE
Utility from extranet                                        Ames Municipal Utilities
100 Mushroom Blvd Associates LLC                             AN WC Holdings LP
1057 Hanover LLC                                             Anchorage Water & Wastewater Utility
1511 Simon Property Group LP                                 Andalusia Utilities
225 Robbins LLC                                              Anderson City Utilities
380 Towne Crossing L.P.                                      Anne Arundel County Water and Wastewter
701 Osage Owner LLC                                          Anniston Water Works, AL
770 Broadway Owner LLC                                       Antioch Redevelopment Partners, LLC
9445 Richmond Town Square Mall LLC                           AP Adler NVIP, LLC
A&B Properties, Inc.                                         Apex Billing Solutions
ABCWUA                                                       Apple Ventures, LLC
AC I Berlin LLC                                              APS
Acadia Realty LP-Property #0056                              APS/Arizona Public Service
Acadia Realty Trust, NY                                      AQUA IL
ACC Stormwater                                               Aqua Indiana, Inc.
ACS                                                          Aqua New Jersey/1229
AEP/24002-Ohio Power                                         Aqua OH
AEP/24407/24412-Indiana Michigan                             Aqua Pennsylvania/1229
AEP/24410-Kentucky Power                                     Aquarion Water Company of CT
AEP/24413/24415-Appalachian Power                            Arboreal Real Estate LLC
AEP/24414-Kingsport Power                                    Arizona Public Service




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Utility from extranet                                Utility from extranet
Arizona Water Company                                Benton PUD
Arkansas Oklahoma Gas Corp (AOG)                     Berkshire Gas Company
Armstrong                                            Berkshire Mall LLC - W510159
Arnot Realty                                         Berlin Township, MI
Artesian Water Company, Inc.                         Berwick Associates
AT&T                                                 BGE
AT&T (Ameritech)                                     Big Box Property Owner E, LLC
AT&T (Bellsouth)                                     Big Flats Water Dept
AT&T (Pacific Bell)                                  Big V Town Centre
AT&T (Southwestern Bell)                             Birch Communications
AT&T Mobility                                        Bi-State Propane - 5135
Atascadero Mutual Water Co                           Bi-State Propane,NV
Athens Clarke County, GA                             Black Hills Energy
Athens Township Authority, PA                        Black Hills Energy - Kansas Gas Utility Company
Atlanta Gas Light (AGL)                              Blackfox Parkway Associates
Atlantic Broadband                                   Blackman Charter Township
Atlantic City Electric                               Blue Ribbon Fuel Corp.
Atlantic City Electric/13610                         Bluefield Gas Company
ATMC                                                 Bluefield Gas Company/932522
Atmos Energy/790311                                  Board of Municipal Utilities, Sikeston
Auburn Water & Sewer Dist, ME                        Board of Public Utilities-Cheyenne, WY
Auburn Water District, MA                            Board of Water Supply/HI
Augusta Utilities Department                         Board of Water Works of Pueblo, CO
Aurora Water/City of Aurora, CO                      Borough of Akron,PA
Austell Natural Gas System                           Borough of Belle Vernon, PA
Automotive Realty Corp.                              Borough of Chambersburg, PA
Autoridad de Acueductos y Alcantarillado             Borough of Edwardsville
Avenel Realty Associates, LLC                        Borough of Elmwood Park,Water Collection
Avista Utilities                                     Borough of Ephrata, PA
Azusa Light & Water Department                       Borough of Glassboro, NJ
BAI Rutland LLC                                      Borough of Hanover, PA
BAJSA                                                Borough of Indiana, PA
Baker & Baker                                        Borough of Lawnside Sewer Dept
Baker Properties LP                                  Borough of Maywood, NJ
Baldwin EMC                                          Borough of Paramus, NJ
Baltimore Gas & Electric                             Borough of Shillington, PA
Bangor Gas, ME                                       Borough of Watchung, NJ
Bangor Water District                                Bossier City Utilities Dept. LA
Bath Electric Gas & Water                            Bottini Fuel
Bay County Dept of Water & Sewer MI                  Boulevard Mall SPE, LLC
BCSP OND Property LLC                                Bowling Green Municipal Utilities
BCWSA (Bucks County Water & Sewer)                   Bradley Public Service District, WV
Beaches Energy Services                              Bradys Run Sanitary Authority, PA
Bear Valley Electric Service                         Braelinn Village 1752 LLC
Beaufort-Jasper Water & Sewer Authority              Braelinn Village II, LLC
Beaver Falls Municipal Authority                     Braintree Electric Light Department
Beckley Sanitary Board WV                            Braintree Water & Sewer Dept
Beckley Water Company, WV                            BRE Retail Residual Owner 1, LLC/645351
Belmont County Sanitary Sewer Dist, OH               BRE Retail Residual Owner 1, LLC/713547
Belmont Petroleum Corp.                              Breckenridge Assoc LLC
Belvidere Water and Sewer Department                 Brick Township Municipal Utilities
Ben Tobin Companies, LTD                             Brighthouse Networks
Benderson Development Co., Inc - 823201              Bristol Virginia Utilities (BVU) - 8100
Bensalem MZL LLC                                     Brixmor GA Streetsboro Crossing LLC
Benton County PUD                                    Brixmor Hamilton Plaza Owner LLC




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Brixmor IA Southfield (MI) SC LLC                  Central Hudson Gas & Electric Co
Brixmor Miami Gardens, LLC                         Central Maine Power (CMP)
Brixmor Property Group/645346                      Centro Enfield LLC
Brodhead Creek Regional Authority,PA               Centurylink
Brownsburg Management Group LTD                    Chambersburg Mall Realty LLC
Brownsville Public Utilities Board                 Champion Energy Services, Llc
Brunswick & Topsham Water District                 Champion Energy Services, LLC/4723
Brunswick Sewer District                           Champion Energy Services/4190
Buckeye Water District, OH                         Champion Energy, LLC/4749
Buena Vista Township Water & Sewer Dept.           Charles County Government
Buffalo Water                                      Charles Mall Co., LP
Builders, Inc-Comml Div.                           Charleston County Revenue Collections
Burbank Water and Power                            Charleston Sanitary & City of Charleston
Burlington Township Water&Sewer Utility            Charleston Water System
Butler County Water & Sewer Department             Charlevoix Township Treasurer, MI
BV Associates                                      Charlotte County Utilities
BVS Poughkeepsie, LLC                              Charter Communications
Byron Township MI                                  Charter Township of Blackman, MI
C. Hoffberger Co.                                  Charter Township of Madison, MI
Cable One                                          Charter Township of Orion, MI
Cabot Waterworks                                   Charter Township of Plymouth, MI
Cafaro Bradford/Tuller Sq                          Charter Township of Port Huron, MI
Caledonia Utility District                         Chattanooga Gas Company/5408
Calhoun Utilities, GA                              Chautauqua County, NY
California Water Service-Bakersfield               Chehalis, LLC
California Water Service-Chico                     Chelan County Public Utility District
California Water Service-Salinas                   Chemung County Sewer Districts
California Water Service-Stockton                  Chenowith Water PUD
California Water Service-Torrance                  Cherokee Electric Coop, AL
California Water Service-Visalia                   Chesapeake Utilities
California-American Water Company                  Chesapeake Utilities-Sandpiper Energy
Caln Township, PA                                  Chillicothe Utilities Dept, OH
Calvert County Government, MD                      Christian Brothers University
Camden County MUA                                  Chugach Electric
Cape Fear Public Utility Authority                 Cincinnati Bell
Cape Town Plaza LLC                                Cisco Systems
Capital Electric Cooperative, Inc                  Citizens Energy Group
Capital Enterprises, Inc.                          Citizens Gas Fuel Co MI
CAPREF Lloyd Center LLC                            Citrus Heights Water District
Carbon Emery Telcom                                City & County of Butte-Silver Bow
Carolina Mall-Hull Storey Retail Group             City Corporation - Russellville W & S
Carolina Place                                     City Finance Director
Carroll Home Services                              City of Aberdeen, SD
Carroll Partnership LLP                            City of Aberdeen, WA
Cascade Natural Gas                                City of Abilene, TX
Caseyville Township Sewer System (IL)              City of Adrian, MI
Cedar Rapids Municipal Utilities                   City of Aiken, SC
Cedar-Circle LLC                                   City of Akron-Utilities Business Office
Centerpoint Energy - Tx (Inc. Houston)             City of Alamogordo, NM
CenterPoint Energy Minnegasco/4671                 City of Alexandria, LA
CenterPoint Energy/1325/4981/2628                  City of Alliance, NE
CenterPoint Energy/4583                            City of Altamonte Springs, FL
Central Florida Gas                                City of Alton, IL
Central Hooksett Water                             City of Amarillo, TX
Central Hudson Energy Group, Inc.                  City of Ammon, ID




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City of Anaheim, CA                                   City of Burlington, NC
City of Ann Arbor Treasurer, MI                       City of Burlington, WA
City of Antioch, CA                                   City of Burnsville, MN
City of Ardmore, OK                                   City of Calumet City, IL
City of Arlington, TX                                 City of Camarillo, CA
City of Arroyo Grande, CA                             City of Camas, WA
City of Artesia, NM                                   City of Cambridge, MA
City of Arvada, CO                                    City of Cambridge, OH - Utilities Dept
City of Asheboro, NC                                  City of Camden, SC
City of Asheville, NC                                 City of Cape Girardeau, MO
City of Ashtabula, OH                                 City of Carlsbad, CA
City of Athens Utilities                              City of Carroll Utilities, IA
City of Athens, TX                                    City of Casa Grande, AZ
City of Attleboro, MA                                 City of Casper, WY
City of Aurora, IL                                    City of Centerville, GA
City of Austin, TX                                    City of Centralia, WA
City of Bakersfield, CA                               City of Ceres, CA
City of Baltimore, MD (metered water)                 City of Cerritos, CA - Water Billing
City of Bangor Wastewater                             City of Chandler, AZ
City of Barberton, OH                                 City of Charles City, IA
City of Bartlesville, OK                              City of Charlevoix Utilities, MI
City of Battle Creek, MI                              City of Charlotte, NC
City of Baytown, TX                                   City of Charlottesville, VA
City of Beaumont, TX                                  City of Chattanooga, TN
City of Beaverton, OR                                 City of Cheboygan, MI
City of Belleview, FL                                 City of Chehalis, WA
City of Belleville, IL                                City of Cherokee, IA
City of Bellingham, WA                                City of Chicago, IL- Dept. of Water
City of Belton, TX                                    City of Chubbuck, ID
City of Benicia, CA - Benicia Utilities               City of Chula Vista, CA
City of Bethlehem, PA                                 City of Clearwater, FL
City of Big Spring, TX                                City of Clermont, FL
City of Billings, MT-30958                            City of Cleveland Division of Water
City of Binghamton, NY                                City of Clinton, OK
City of Bishop, CA                                    City of Clovis, CA
City of Bismarck, ND                                  City of Clovis, NM
City of Bloomington, IL                               City of Coalinga, CA
City of Bloomington, IN                               City of Cocoa, FL
City of Bloomington, MN                               City of Coeur d Alene, ID
City of Bluefield, WV                                 City of College Park, GA
City of Blythe CA                                     City of Colonial Heights, VA
City of Boca Raton, FL                                City of Columbia, MO
City of Boynton Beach, FL/Utilities Dept              City of Columbia, MS
City of Branson, MO                                   City of Columbia, SC - Water
City of Brea, CA                                      City of Commerce, GA
City of Brevard, NC                                   City of Concord, NC
City of Brewton Utilities AL                          City of Concord, NH
City of Bridgeport, WV                                City of Conway, SC
City of Brighton, CO                                  City of Cookeville, TN
City of Brockton, MA                                  City of Coon Rapids, MN
City of Brookfield, WI                                City of Cornelia, GA
City of Brooklyn Center, MN                           City of Corona, CA
City of Brooksville, FL                               City of Corpus Christi,TX-Utility Busine
City of Buena Park, CA                                City of Corvallis, OR
City of Burbank, CA                                   City of Covington, GA




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City of Craig, CO                                       City of Florence, SC
City of Crockett, TX                                    City of Fond Du Lac, WI
City of Crossville, TN                                  City of Fort Dodge Water Billing
City of Crystal Lake, IL                                City of Fort Lauderdale, FL
City of Cudahy Water/Sewer Dept                         City of Fort Myers, FL
City of Dallas, TX                                      City of Fort Oglethorpe, GA
City of Danbury-Water Dept.                             City of Fort Smith, AR
City of Danville, VA                                    City of Fort Walton Beach, FL
City of Davenport, IA                                   City of Fostoria, OH
City of Daytona Beach, FL                               City of Frederick, MD
City of Dearborn, MI                                    City of Fresno, CA
City of Decatur, IN                                     City of Frisco, TX
City of Defiance                                        City of Gainesville, GA
City of Deland, FL                                      City of Galesburg, IL
City of Delano, CA                                      City of Gallipolis, OH
City of Denton, TX                                      City of Garden City, KS
City of Des Plaines, IL                                 City of Garland Utility Services
City of Detroit Lakes, MN                               City of Gastonia, NC
City of Devils Lake, ND                                 City of Gillette, WY
City of Dinuba                                          City of Glendale, AZ/500
City of Douglas, GA                                     City of Glendale, CA - Water & Power
City of Dover, DE                                       City of Glendive, MT
City of Downey, CA                                      City of Glenwood Springs, CO
City of Dubois, PA                                      City of Goldsboro, NC
City of Duluth Comfortsystems                           City of Gonzales, LA
City of Durham, NC (Sewer/Water)                        City of Goodlettsville, TN
City of Eaton, OH                                       City of Grand Island, NE
City of Eau Claire, WI                                  City of Grand Junction, CO
City of Edmond, OK                                      City of Grand Rapids, MI
City of Effingham, IL                                   City of Grandville, MI
City of El Cajon, CA                                    City of Granite City, IL
City of El Centro, CA                                   City of Grass Valley, CA
City of Elgin, IL                                       City of Grayling, MI
City of Elkins, WV                                      City of Great Falls, MT
City of Elko Utility Bill                               City of Greeley, CO
City of Elmhurst, IL                                    City of Greenfield, WI
City of Elwood Utilities, IN                            City of Greensboro, NC
City of Elyria - Elyria Public Utilities                City of Greenville, MI
City of Elyria - Stormwater                             City of Gresham, OR
City of Emporia, KS                                     City of Griffin, GA
City of Englewood, CO                                   City of Gulfport, MS
City of Enid, OK                                        City of Guymon, OK
City of Escanaba-Utilities                              City of Hagerstown
City of Escondido, CA                                   City of Hamilton, MT
City of Eureka, CA                                      City of Hanford, CA
City of Fairmont, MN                                    City of Hastings, MI
City of Fall River Water Department                     City of Hattiesburg, MS/1897
City of Fargo, ND                                       City of Havre, MT
City of Farmers Branch, TX                              City of Heath, OH
City of Farmington, NM                                  City of Helena, MT
City of Fayetteville, AR                                City of Hemet, CA
City of Fenton, MI                                      City of Henderson, KY
City of Fernandina Beach-Utility Dept                   City of Henderson, NV - Utilities Srvc
City of Fitchburg, MA                                   City of Hesperia, CA
City of Flagstaff, AZ                                   City of Hialeah, FL-Dept of Water & Sewe




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City of Hickory, NC                                 City of Leesburg, FL
City of High Point, NC                              City of Lemoore, CA
City of Hobbs, NM                                   City of Leominster, MA
City of Hollister, CA                               City of Lewisburg, WV
City of Hollywood, FL                               City of Lewiston, ID
City of Holyoke, MA                                 City of Lima - Utilities, OH
City of Houston, TX - Water/Wastewater              City of Lincoln Park, MI
City of Huber Heights, OH                           City of Livonia, MI
City of Humble, TX                                  City of London, OH
City of Huntington Beach, CA                        City of Long Beach, CA
City of Hurst, TX                                   City of Longmont, CO
City of Hutchinson, KS                              City of Longview, TX
City of Idaho Falls, ID                             City of Longwood, FL
City of Independence, MO                            City of Lorain, OH
City of International Falls, MN                     City of Lorain, OH - Water
City of Iowa City, IA                               City of Loveland, CO
City of Irving, TX                                  City of Lowell, MA
City of Jackson Utility Billing, MI                 City of Lufkin, TX
City of Jackson, CA                                 City of Lumberton, NC
City of Jackson, OH                                 City of Lynchburg, VA
City of Jacksonville, NC                            City of Lynnwood, WA
City of Jacksonville, TX                            City of Madison Heights, MI
City of Jamestown, NY                               City of Mandeville, LA
City of Jesup, GA                                   City of Mankato, MN
City of Joliet, IL                                  City of Manteca, CA
City of Joplin, MO                                  City of Marietta, OH
City of Kankakee, IL                                City of Marine City
City of Kendallville, IN                            City of Marion, IL
City of Kennewick, WA                               City of Marion, OH
City of Kent, WA                                    City of Marlborough, MA
City of Killeen, TX                                 City of Marshall, MI
City of Kingman, AZ                                 City of Martinsburg, WV
City of Kingsburg, CA                               City of Mary Esther, FL
City of Kingsland, GA                               City of Maryville Utilities,TN
City of Kingsport, TN                               City of Massillon, OH
City of Kokomo, IN                                  City of Mauston, WI
City of Lacey, WA                                   City of McHenry - 333
City of Lafayette, IN                               City of Medford, OR
City of Lake Charles Water Division                 City of Melbourne, FL
City of Lake Charles, LA                            City of Menominee, MI
City of Lake Wales, FL                              City of Merced, CA
City of Lakeport, CA                                City of Meridian, MS
City of Lakewood, CA                                City of Mesa, AZ
City of Lakewood, CO                                City of Mesquite, TX
City of Lancaster, PA                               City of Middletown, OH
City of LaPorte Utilities, IN                       City of Midland, MI
City of LaPorte, IN                                 City of Midland, TX
City of Laramie, WY                                 City of Midwest City, OK
City of Laredo, TX                                  City of Milledgeville GA
City of Las Cruces, NM                              City of Milton, FL
City of Las Vegas - Sewer                           City of Minnetonka, MN
City of Lawrence, KS                                City of Minot, ND
City of Lawton, OK                                  City of Mission,TX
City of Lebanon, PA                                 City of Modesto, CA
City of Lebanon, TN                                 City of Moline, IL




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City of Monroe, LA                                  City of Phenix City, AL
City of Monroe, NC                                  City of Philadelphia - Water Revenue, PA
City of Monroe, OH                                  City of Phoenix, AZ - City Services
City of Montclair, CA                               City of Pickerington, OH
City of Morganton, NC                               City of Pikeville, KY
City of Moultrie, GA                                City of Pineville, LA
City of Mount Airy, NC                              City of Piqua, OH
City of Mt Pleasant, MI                             City of Pittsburg, KS
City of Mt. Pleasant, TX                            City of Plano, TX
City of Mt. Vernon Utility Dept, IL                 City of Plantation, FL
City of Muskegon, MI                                City of Pleasanton, CA
City of Muskogee, OK                                City of Pompano Beach, FL
City of Myrtle Beach, SC                            City of Port Arthur, TX
City of Nampa, ID                                   City of Portage, MI
City of Naperville, IL                              City of Portland, OR
City of Naples, FL                                  City of Portland, TX
City of Neptune Beach, FL                           City of Portsmouth, NH
City of Nevada, MO                                  City of Prescott, AZ
City of New Brunswick, NJ                           City of Puyallup - Utilities
City of New London, CT                              City of Rahway, NJ
City of Newark, DE                                  City of Raleigh, NC
City of Newburyport, MA                             City of Rancho Cucamonga, CA
City of Niles, OH                                   City of Red Oak, IA
City of Norman, OK                                  City of Redding, CA
City of North Canton, OH                            City of Redlands, CA/6903
City of North Las Vegas, NV- Finance Dep            City of Redmond, WA
City of North Miami Beach, FL                       City of Redwood City
City of North Miami, FL                             City of Reidsville, NC
City of Novi, MI                                    City of Reno, NV
City of Oakdale, CA                                 City of Richardson, TX
City of Ocala, FL                                   City of Richland, WA
City of Oceanside, CA                               City of Richmond, MI
City of Odessa, TX                                  City of Richmond, VA
City of Oklahoma City, OK                           City of Ridgeland, MS
City of Olathe, KS                                  City of Ripon,WI
City of Olean, NY                                   City of Rochester, NH
City of Olive Branch, MS                            City of Rock Hill, SC
City of Olympia, WA                                 City of Rockford, IL
City of Opelousas, LA                               City of Rocky Mount
City of Orange, CA                                  City of Rome, GA
City of Oregon, OH                                  City of Rome, NY
City of Oviedo, FL                                  City of Roseburg, OR
City of Panama City Beach, FL                       City of Roseville, CA
City of Panama City, FL                             City of Roseville, MI
City of Paris, TX                                   City of Roswell, NM - Water Dept
City of Parkersburg, WV                             City of Round Rock, TX
City of Pasadena, CA                                City of Russell Springs Sewer & Water
City of Pasadena, TX                                City of Sacramento, CA-Dept of Utilities
City of Pekin, IL                                   City of Saint Paul, MN
City of Pell City, AL                               City of Salem, OR
City of Pembroke Pines, FL                          City of Salem, VA
City of Pensacola, FL                               City of Salina, KS
City of Perry, FL                                   City of Salisbury, NC
City of Peru, IL                                    City of San Angelo Utility Billing
City of Petaluma, CA                                City of San Bernardino, CA - Water




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Utility from extranet                               Utility from extranet
City of San Bruno, CA                               City of Sunrise, FL
City of San Jose, CA                                City of Sweetwater, TX
City of San Luis Obispo, CA                         City of Tacoma Public Utilities
City of Sandusky, MI                                City of Tacoma Solid Waste Management
City of Sanford, FL                                 City of Taft, CA
City of Sanford, NC                                 City of Tallahassee, FL
City of Santa Ana, CA                               City of Tallmadge, OH
City of Santa Barbara, CA                           City of Tampa Utilities
City of Santa Clara, CA                             City of Taylor, MI - Water Dept
City of Santa Fe, NM                                City of Tehachapi, CA
City of Santa Maria, CA                             City of Temple Terrace, FL
City of Santa Monica, CA                            City of Terre Haute/Sewer
City of Santa Paula, CA                             City of Texas City, TX
City of Santa Rosa, CA-Tax Bills                    City of The Dalles, OR
City of Santa Rosa, CA-Water & Sewer                City of Thief River Falls, MN
City of Sarasota, FL                                City of Thornton, CO
City of Savannah, GA                                City of Thousand Oaks, CA
City of Scotts Valley, CA                           City of Tifton, GA
City of Scottsbluff, NE                             City of Tigard, OR
City of Sealy, TX                                   City of Titusville, FL
City of Seattle/35177/35178                         City of Tolleson, AZ
City of Sebring, FL                                 City of Topeka, KS
City of Sevierville, TN                             City of Torrance Utilities
City of Shawnee, OK                                 City of Trotwood, OH
City of Shelby, NC                                  City of Troy, MI
City of Sheridan, WY                                City of Tucson, AZ
City of Sherman, TX                                 City of Tucumcari, NM
City of Show Low, AZ                                City of Tukwila, WA
City of Shreveport, LA-D O W A S                    City of Tulsa Utilities
City of Sierra Vista AZ                             City of Tuscaloosa, AL
City of Sioux City, IA                              City of Twin Falls, ID
City of Solon, OH                                   City of Tyler, TX
City of Somerset, KY                                City of Union Gap, WA
City of Somerville, MA                              City of Valdosta, GA
City of Southaven, MS                               City of Vancouver, WA
City of Sparks, NV                                  City of Vero Beach, FL
City of Spokane, WA                                 City of Victoria,TX
City of Springboro, OH                              City of Victorville, CA
City of Springfield, OH                             City of Vienna, WV
City of St. Albans MUC                              City of Virginia Beach, VA
City of St. Albans/1488                             City of Visalia, CA - Utility Billing
City of St. Clair Shores, MI                        City of Waco Water Office
City of St. Cloud, MN                               City of Wake Village, TX
City of St. George, UT                              City of Walla Walla, WA
City of St. Joseph, MO                              City of Warren, MI
City of St. Marys, OH                               City of Warren, OH
City of St. Peters, MO                              City of Warsaw Wastewater Payment Office
City of St. Petersburg, FL                          City of Wasco, CA
City of Statesboro, GA                              City of Waupaca, WI
City of Statesville, NC                             City of Waycross, GA
City of Sterling Heights Water                      City of Waynesboro, VA
City of Sterling, IL                                City of Weatherford, TX
City of Stockton, CA                                City of Webster City, IA
City of Streetsboro, OH                             City of Weirton, WV
City of Sumter, SC                                  City of Wenatchee, WA




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City of West Allis, WI                              Columbia Water Company
City of West Branch, MI                             Columbiana County Water & Sewer
City of West Columbia, SC                           Columbus - City Treasurer
City of West Jordan, UT                             Columbus Light and Water Dept.
City of Westland Water                              Columbus Water Works
City of Westminster, CA                             Columbus-City Treasurer Power Sewer/Wat
City of Westminster, MD                             Com Ed
City of White Plains, NY                            Comcast
City of Wichita Water Department, KS                Commissioners of Public Wks - Grnwood SC
City of Wilkes-Barre- Sewer Maint Fee               Commissioners of Public Works-Summervill
City of Williamsburg, VA                            Comporium Communications
City of Williston, ND                               Con Edison
City of Winston-Salem, NC                           ConEdison Solutions/223246
City of Winter Park, FL                             Connecticut Natural Gas Corp (CNG)
City of Woodward, OK                                Connexus Energy
City of Yonkers, NY                                 Consolidated Communications
City of Yuba City, CA                               Consolidated Edison
City of Yuma, AZ                                    Consolidated Irrigation Dist #19
City of Zanesville, OH                              Consolidated Mutual Water
City Treasurer Madison - WI                         Constantino Noval NV 2 LLC
City Treasurer, Virginia Beach                      Constellation
City Treasurer-Public Utilities Dept                Constellation NewEnergy Gas Div LLC/5473
City Utilities (Fort Wayne, IN)                     Constellation NewEnergy Gas Div/15246
City Utilities Commission (Corbin, KY)              Constellation NewEnergy/4640
City Utilities of Springfield, MO                   Consumers Energy
City Water & Light (CWL)                            Continental Realty Corporation
City Water Light & Power, Springfield IL            Contra Costa Water District
Clackamas River Water                               Conway Corporation
Clark County Water Reclamation District             Coplay-Whitehall Sewer Authority
Clark Kennett Realty Partners                       Coral Springs Improv. Dist.
Clark Public Utilities                              Corinth Gas & Water Dept
Clarksville Department of Electricity               Coronado Center
Clarksville Gas & Water Department                  CoServ
Clarksville Wastewater Treatment Dept, I            Council Bluffs Water Works
Clay County Utility Authority,FL                    County of Henrico, VA
Clay Electric Cooperative/Orange Park               County of York, VA
Clayton County Water Authority                      Covad Communications
Cleco Power LLC                                     Covington Township Sewer Authority, PA
Clermont County Water Resources, OH                 Coweta-Fayette EMC
Cleveland Avenue Associates                         Cox Communications
Clinton Township Treasurer, MI                      CPS Energy
Coachella Valley Water District                     Cranberry Township, Seneca
College Station Utilities - TX                      Creek Road Partners LLC
College Township Water Authority, PA                Crystal City Water Department
Collier Twp Municipal Authority                     Cspire
Colorado Springs Utilities                          Cucamonga Valley Water District
Columbia Gas of Kentucky                            Cumberland Mall LLC
Columbia Gas of Maryland                            Cumberland Valley Rural Electric Coop
Columbia Gas of Massachusetts                       Dakota Central
Columbia Gas of Ohio                                Dakota Electric Association
Columbia Gas of Ohio - GTS                          Dalton Utilities
Columbia Gas of Pennsylvania                        Dam Neck Crossing
Columbia Gas of Pennsylvania - GTS                  Danville Sanitary District
Columbia Gas of Virginia                            Dartmouth Mall
Columbia Power & Water Systems (CPWS)               Davidson Partners




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Dayton Power & Light                            Dupage County Public Works
Dead River Company/11000                        Duquesne Light Company
Dead River Company/Brewer                       Durant City Utility, OK
Dekalb County Water/Sewer System                DWP-City of Big Bear Lake
Delle Donne & Associates, Inc.                  Dyersburg Gas & Water Dept
Delmarva Power - Md                             Earthlink Business
DELMARVA POWER DE/MD/VA/17000/13609             East Bay Municipal Utility Dist (EBMUD)
Delta Charter Township, MI                      East Brunswick Water/Sewer Utilities
Delta Natural Gas Co Inc/Corbin                 East Norriton Township
Demopolis Water Works & Sewer Board             East Pennsboro Township
Denver Water                                    East Richland Co. P. S. D.
Department of Public Utilities, OH              Eastern Municipal Water District
Department of Public Utilities/NY               Eastern Oil Company
Department of Water Supply, CO of Maui          Eastern Propane & Oil
Department of Water, County of Kauai            Easton Suburban Water Authority
Dept of Public Utilities,OH                     Eastpoint Mall
Dept of Utilities City of Quincy IL             Eastview Mall, LLC.
Dept of Water Supply/County of HI               Eatel
Deptford Township MUA, NJ                       Edgewater Mall
Des Moines Water Works                          El Dorado Irrigation District (CA)
Des Moines Water Works, IA                      El Paso Electric Company
Destiny USA Holdings LLC                        El Paso Electric/650801
Direct Energy Business                          El Paso Water Utilities
Direct Energy/11836                             Electric Board City of Muscle Shoals
Direct Energy/643249/660749                     Electric City Utilities/City of Anderson
Director of Finance, MD                         Elizabethtown Area Water Authority
Directv                                         Elizabethtown Borough
Diversified Development Group                   Elizabethtown Gas/5412
Division of Water and Wastewater, OH            Elizabethtown Utilities, KY
Docomo Mariana Cablevision                      Elk Valley Public Service District
Dolphin Partners, Inc.                          Elkhart Public Utilities
Dominion East Ohio/26225                        Elyria Public Utilities
Dominion East Ohio/26785                        Emera Maine/11008
Dominion Energy Ohio/26225                      Emera Maine/11031
Dominion Energy Ohio/26785                      Emerald Coast Utilities Authority
Dominion Energy West Virginia                   Empire District - 219239
Dominion Energy/45841                           Enbridge St. Lawrence Gas
Dominion Hope/26783                             Energy Management Systems/Dept 0106
Dominion Retail, Inc/298                        Energy Management Systems/Dept 0468
Dominion VA/NC Power/26543/26666                Energy West - Montana
Dothan Utilities                                EnergyWorks Lancaster, LLC
Douglasville-Douglas County GA                  ENGIE Resources
Dover Water Commissioners NJ                    Engie Resources, Llc
Doylestown Township Municipal Authority         Enstar
DPL Energy Resources                            Entergy Arkansas, Inc./8101
Draper City Corporation                         Entergy Gulf States LA, LLC/8103
DTE Energy - Michcon                            Entergy Louisiana, Inc./8108
DTE Energy/630795/740786                        Entergy Mississippi, Inc./8105
Duke Energy                                     Entergy Texas, Inc./8104
Duke Energy (Oh)                                EPB - Electric Power Board-Chattanooga
Duke Energy Progress                            EPCOR Water/80036
Duke Energy/1004                                EPCOR Water/80037
Duke Energy/1326                                Eric Richard IB Co., LLC
Duke Energy/70516                               Erie County Water Authority
Duo County Telephone                            Erie Water Works




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ETCBW, LLC c/o Steiner + Associates                        Fox Metro
Eugene Water & Electric Board (EWEB)                       Fox Run Mall
Evansville, IN Waterworks Dept                             Frankfort Plant Board - 308
Everett Utilities                                          Franklin County Sanitary Engineering
Eversource Energy/650032                                   Franklin Township Dept of Water
Eversource Energy/650034                                   Franklin Township, PA - FTMSA
Eversource Energy/650047                                   Frederick County Division of Utilities
Eversource Energy/650851                                   Fremont City Waterworks, OH
Eversource Energy/660369                                   Frenchtown Water
Eversource Energy/660753                                   Frontier
Exelon Energy - Comed                                      Fruitland Mutual Water Company
Extreme Networks                                           Fruitport Charter Township, MI
F. M. Brown's Sons, Inc.                                   FTC
Fairfax Water - VA                                         Fulton County, GA
Fairfield Electric Cooperative, Inc.                       Fulton, NY Water Department
Fairfield Municipal Utilities                              Fuqua Park Row LLC
Fairpoint                                                  Fusco Enterprises
Fayette Water Board, AL                                    Fyles Brothers
Ferrellgas/MO-Liberty #40                                  Gadsden Mall Associates LLC
Filly Oil                                                  Gainesville Regional Utilities
Financial Services, AK Dept of NR                          Galveston County WCID #1
First Energy - Jersey Central Power & Light Co.            Garden City Water Department, MI
(Jcp&L)                                                    Garden State Pavilions Center LLC
First Energy - Metropolitan Edison Co. (Met-Ed)            Gas City Utilities IN
First Energy - Ohio Edison Co.                             GCI
First Energy - Pennsylvania Electric Co. (Penelec)         GCSED
First Energy - Pennsylvania Power Co. (Penn Power)         General Growth Properties-Century Plaza
First Energy - Potomac Edison (Md)                         Georgetown Centre Partners, Ltd.
First Energy - The Cleveland Electric Illuminating         Georgetown Municipal Water & Sewer SVC
Co.                                                        Georgia Power
First Energy - Toledo Edison Co.                           Gerald M. Cohen
First Utility District of Knox County                      GF Valdosta Mall
Flagg Creek Water Reclamation District                     GGP Limited Partnership-Regency Mall
Flathead County Water Dist #1-Evergreen                    GGP Mall Of Louisiana, LP
Flathead Electric Cooperative, Inc.                        Giant Food Stores, Inc.
Flint EMC,GA                                               Glasgow Electric Plant Board
Flint Township-Board of Public Works                       Glasgow Water Co.
Florence Utilities, AL                                     Glendale 2004, LLC
Florence Water & Sewer Commission                          Gloucester County Utilities Dept, VA
Florida City Gas/5410                                      GNP Partners
Florida Governmental Utility Auth - AQ                     Golden Heart Utilities
Florida Governmental Utility Auth - GG                     Golden State Water Co.
Florida Governmental Utility Auth - NFM                    Golden Valley Electric Association
Florida Keys Aqueduct Authority                            Goleta Water District
Florida Keys Electric Coop Assoc Inc                       Goodman Properties/PA
Florida Keys Electric Cooperative                          Grand Central Mall
Florida Mall Assoc LTD                                     Grand Chute Utilities
Florida Power & Light Company (FPL)                        Grand Forks Utility Billing
Florida Public Utilities Co./2137                          Grand Traverse County Dept of Pub Works
Forest Hills Municipal Authority                           Grand Valley Drainage District
Fort Atkinson Water Department WI                          Granger-Hunter Improvement District
Fort Collins Utilities                                     Granite
Fort Hill Natural Gas Authority                            Grays Harbor PUD
Fort Pierce Utilities Authority                            Grayson Rural Elec Coop, KY
Fort Worth Water Dept, TX                                  Grayson Utilities




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Great Hills Retail Inc - IL                         Henderson/Coyle JT Venture, LP
Greater Augusta Utility District, ME                Henry County Public Service Authority
Greater Cincinnati Water Works                      Heritage Village Water Company
Greater Hazleton Joint Sewer Authority              Hermitage Sewer
Greater Peoria Sanitary District                    Hernando County Utilities, FL
Greece Town Mall                                    Hershey Square 2014 LP
Green Bay Water Utility                             Hickorytech
Green Mountain Power (GMP)                          Hicksville Water District
Green Mountain Power Corporation                    Highland Sewer & Water Authority
Green Springs LTD                                   Hillsboro Public Utilities/OH
Greenbrier PSD No. 1                                Hillsborough County Water Resource -BOCC
Greene Township Muni Auth/PA                        Hixson Utility District, TN
Greeneville Light & Power System                    Holyoke Gas & Electric Department
Greeneville Water Commission - TN                   Holyoke Water Works, MA
Greenlawn Water District                            Hooksett Sewer Commission, NH
Greenville Utilities Commission, NC                 Hopkinsville Electric System
Greenville Water System, SC                         Hopkinsville Water Environment Auth
Greenville Water Works & Sewer                      Horizon
Greenwood Sanitation Department                     Hot Springs Municipal Utilities
Gregory F.X. Daly, Collector of Revenue             Houghton Lake Sewer Authority
GreyStone Power Corporation (elec)                  HRSD/HRUBS
Groveport Water Dept.                               Hudson Energy
GS Portfolio Holdings LLC                           Hudson Energy Services NY
GSA SPE LLC                                         Hudson Energy Services TX
GTA                                                 Hunt Valley Towne Centre
Guam Power Authority                                Hyannis Water System
Guam Waterworks Authority                           Idaho Power
Guilford Water Authority                            IGS Energy
Gulf Power                                          IGS Energy - Gas
Gustine Wind Gap Associates II, LTD                 Illinois-American Water Company
Gwinnett Co. Water Resources                        Imperial Irrigation District, CA
HAB-UTIL (Berkheimer Tax Admin)                     Incorporated Village of Garden City, NY
Hallsdale-Powell Utility District                   Indian River County Utilities, FL
Hamilton Township                                   Indian Wells Valley Water District
Hampden Township                                    Indiana-American Water Company
Hampton Shaler Water Authority-Fire Ren             Indianapolis Power & Light (IPL)
Hampton Shaler Water Authority-HSWA                 Indio Water Authority
Hancock Center-c/o Regency Center                   Indyme Solutions
Hannay Investment Properties, Inc.                  Infinite Energy Inc/105247
Hanover Township, Lehigh County                     Innovative Telephone
Hardin County Water District # 2                    Intermountain Gas Company
Hargray Communications                              Interstate Gas Supply, Inc./631919
Harlingen Waterworks System                         Iowa-American Water Company
Harris CO MUD #162                                  Irving Oil Corp-ME
Harris County MUD #275                              Its Integrated Telephone Service
Harrison Utilities                                  Jackson Commons LLC
Hastings Utilities, NE                              Jackson County Water & Sewerage Auth.
Hawaii Electric Light Co., Inc. (HELCO)             Jackson Electric Membership Corp, GA
Hawaii Gas                                          Jackson Energy Authority - 2288
Hawaiian Electric Company (HECO)                    Jackson Metrocenter Mall Ltd
Hawaiian Telecom                                    Jackson Purchase Energy Corp.
Hayward Water System                                Jackson Water Collection, MI
Hazleton City Authority - Water Dept.               Janesville Water & Wastewater Utility
Heidner Property Management                         Jardel Co., Inc
Helix Water District                                Jasper Municipal Utilities




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Jasper Waterworks & Sewer Board, Inc AL             La Crosse Water Utility
JDBA Vegas, LLC                                     Lackawanna River Basin-LRBSA
JEA                                                 Laclede Gas Company
Jefferson City Utilities, MO                        Lafayette Utilities Systems (LUS)
Jefferson County AL, Sewer Service Fund             Lake County Dept of Public Works, IL
Jefferson Parish, LA                                Lake County Dept. of Utilities (OH)
Jennings 1-6 LLC                                    Lake Havasu City
Jersey Central Power & Light                        Lake Pointe Shopping Center, LP
Jersey City MUA                                     Lakehaven Water & Sewer District
Jersey City Municipal Utilities Auth.               Lakeland Electric/City of Lakeland,FL
Johnson City Municipal Services                     Lakeline Developers
Johnson City Power Board                            Lancaster Area Sewer Authority PA
Johnson City Utility System                         Lancaster Utilities Collection-Office
Johnson County Wastewater - 219948                  Landis Sewerage Authority
Joint Water & Sewer Commission                      Lansing Board of Water & Light
Jointly Owned Natural Gas                           Las Vegas Valley Water District
Jones-Onslow Electric                               Latrobe Municipal Authority, PA
Jordan Valley Water Conservancy District            Lavale Associates II LLC
JPC Investments                                     Layton City Corporation
JPMCC 2006-LDP7 Centro Enfield LLC                  LCEC- Lee County Electric Cooperative
JSM at Route 70, LLC                                LCWSA-Lycoming County Water & Sewer Auth
Jurupa Community Services District                  Lee County Utilities
Juster Development                                  Lees Summit Water Utility
Kamehameha Schools                                  Lenoir City Utilities Board (LCUB)
Kamps Propane of Hayward, CA                        LEVCO Management, Inc.
Kamps Propane of Sacramento, CA                     Level 3
Kansas City Board of Public Utilities               Levin Management Corporation
Kansas City Power & Light Co./219330                Lewis County Public Utility District
Kansas City Power & Light Co./219703                Lexington-Fayette Urban County Govt
Kansas Gas Service                                  LG Realty Advisors
Kauai Island Utility Cooperative                    LG&E - Louisville Gas & Electric
K-Bay Plaza LLC                                     Liberty Utilities - NH
KC Water Services                                   Liberty Utilities Georgia
KDHWWTP                                             Liberty Utilities Midstates
Kearny Water Department                             Liberty Utilities/219501
Kenhorst MZL LP                                     Liberty Utilities/219599
Kennebec Water District                             Liberty Utilities/6004
Kenosha Water Utility                               Liberty Utilities/6005
KENSA Cranberry Associates                          Liberty Utilities/80374
Kent Landing Limited Partnership                    Lima Center LLC
Kenton Water Works, OH                              Lincoln Electric System
Kentucky Terminal, INC                              Lincoln Water System
Kentucky-American Water Company                     Lockhart Garden,Inc.
Keys Energy Services                                Lockhaven Zamagias LTD Partnership
KIMCO - Great Barrington 609                        Logan Township Municipal Utilities Auth
Kimco Delaware Inc.                                 Logan Township, PA
Kin Properties, Inc.                                London Utility Commission, KY
Kissimmee Utility Authority                         Los Angeles County Waterworks
Kitsap County Public Works                          Los Angeles Dept of Water & Power/30808
Kootenai Electric                                   Loudoun Water
KRCV                                                Louisville Water Company
KRE Colonie Owner LLC                               Lower Paxton Township Authority
KRG Las Vegas Centennial Center, LLC                Lower Southampton Township - PA
KUB-Knoxville Utilities Board                       Lower Valley Energy/Jackson, WY
KU-Kentucky Utilities Company                       LSREF Summer REO Trust 2009




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LSREF3 Spartan (Genesee) LLC                      Metro Technology, Inc. (LA)
Lubbock Power Light & Water                       Metro Water Services TN
Lumos                                             Metronet
Lycoming Mall Realty Holding LLC                  Metropolitan St. Louis Sewer Dist/437
MABL-Borough of Lewistown, PA-Water               Metropolitan Telecommunications
Macerich Fiesta Mall LLC                          Metropolitan Utilities Distric/2166/3600
Macerich Lubbock Ltd.                             Metropolitan Water Reclamation District
Macerich Management Company                       Miami-Dade County Stormwater Utility
Macerich Partnership LP/Chesterfield              MIAMI-DADE WATER AND SEWER DEPT
Macomb City Waterworks                            Michigan Dept. of Environmental Quality
Macon Water Authority                             Michigan Gas Utilities
Madawaska Water District                          Mid Valley Disposal, Inc.
Madison County Sanitary Sewer, SSA#1              MidAmerican Energy Company
Madison Gas and Electric - WI                     Midcontinent Communications
Madison Gas and Electric, WI                      Middle Tennessee Electric Membership
Madison Suburban Utility Dist                     Middle Tennessee Electric Membership/Leb
Maine Natural Gas, ME                             Middle Tennessee Natural Gas
Malaga County Water District                      Middlesex Water Company
Mall at Montgomeryville LP                        Midland Public Service District, WV
Mall At Valle Vista LLC                           Midwest Natural Gas Corp, IN/707
Manager of Finance/Denver, CO                     Midwood Management Corp.
Manchester Water Works                            Millcreek Township Sewer and Water
Manhasset-Lakeville Water District                Milwaukee Water Works
Manpower Communications                           Minneapolis Finance Dept.
Mantua Township Municipal Utilities Auth          Minnesota Energy Resources
Marbles Enterprises & Molly Belle Prop.           Minnesota Energy Resources Corporation
Marietta Power                                    Minnesota Power
Marin Municipal Water District                    Mishawaka Utilities
Marshall County Gas Dist AL                       Mission Springs Water District
Marshalltown Water Works                          Mississippi Power
Martin County Utilities                           Missouri Gas Energy (MGE)
Maryland-American Water Company                   Missouri-American Water
Matanuska Electric Association, Inc.              MOAC Mall Holdings, LLC/1450
Matanuska Telephone Association                   Mobile Area Water & Sewer System-MAWSS
MATR/Township of Robinson,PA                      Modesto Irrigation District
Maui Electric Company (MECO)                      Mohave Electric Cooperative
MAWC                                              Mohawk Valley Water Authority
Maysville Utility Commission, KY                  Molay Inc c/o Southpace Mgmt Inc
McAllen Public Utilities -TX                      MonPower/Monongahela Power
MCI                                               Monroe County Water Authority
McKinley Mall LLC/NY                              Montana-Dakota Utilities Co.
McKinleyville Community Services Dist             Monte Vista Water District
MCP VOA II LLC                                    Monterey Regional Water P.C.A.
MCUD-Manatee County Utilities Department          Montgomery County Environmental Svs, OH
Meadows Mall                                      Montgomery Mall LLC
Medford Electric Utility                          Montgomery Township Municipal Sewer Auth
Medford Water Commission, OR                      Montgomery Water Works
Mediacom                                          Moon Township Municipal Authority
Medina County Sanitary Engineers                  Morgantown Utility Board
Megapath                                          Morristown Utility Commission
Melvin D Hutchings                                Morrisville Municipal Authority
Memphis Light, Gas & Water Division               Moseley Associates, LTD
Merrillville Conservancy District                 MOUNTAINEER GAS/5656
Mesa Water District                               M-Red Management Inc.
Met-Ed/3687                                       MSD Buncombe County




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Mt. Olympus Improvement District                  North Dakota Telephone
Muncie Sanitary District                          North Georgia EMC
Municipal Authority of Allegheny Townshi          North K I-29 2004 LLC
Municipal Authority of Hazle Township             North Little Rock Electric
Municipal Light & Power (Anchorage, AK)           North Shore Gas
Municipal Light & Power/Anchorage                 North State Communications
Municipal Services Commission                     North Vernon Water & Wastewater Dept IN
Municipal Utilities Board of Albertville          North Versailles Township Sanitary Autho
Municipal Utilities/Poplar Bluff, MO              North Wales Water Authority
Municipal Water Authority-New Kensington          Northampton Borough Municipal Authority
Murfreesboro Electric Department (MED)            Northcentral EPA
Murfreesboro Water & Sewer Dept.                  Northeast Career Planning, The Workshop
Murray City Corporation, UT                       Northeast Ohio Regional Sewer District
Muskegon County Public Works                      Northern Kentucky Water Dist
MZIRP, Inc.                                       Northern Telephone & Data
Namdar Realty Group LLC                           Northern Virginia Electric Cooperative
Naples South Realty Associates LLC                Northern Wasco County PUD
Nashua Waste Water System                         Northland Communications
Nashville Electric Service                        Northwestern Electric Cooperative, Inc
Natchez Water Works, MS                           Northwestern Energy
National Fuel Gas - Pa                            NorthWestern Energy, MT
National Fuel Resources                           NV Energy/30073 North Nevada
National Fuel Resources/9072/371810               NV Energy/30150 South Nevada
National Fuel/371835                              NW Natural
National Grid - Brooklyn/11741                    NYC Water Board
National Grid - Hicksville/11791                  NYSEG-New York State Electric & Gas
National Grid - Massachusetts/11737               O Fallon Water & Sewer Department, IL
National Grid - New York/11742                    O.B.M.U.A.
National Grid - Newark/11735                      Oahu Gas - 7801
National Grid - Rhode Island/11739                Oahu Gas Service
National Realty & Development Corp.               Oak Hill Sanitary Board
NDF III MJ Crossing LLC                           Oak Ridge Baptist Church, Inc
Nebraska Public Power District                    OASG Hazlet LLC
New AFC Realty LLC                                Oceanic Time Warner Cable
New Albany Municipal Utilities                    Oconomowoc City Utilities
New Castle County Delaware                        OCW Retail-Dedham
New Castle Sanitation Authority                   OCWA-Onondaga County Water Authority
New Castle Union Assoc/McKinney Prop              OG&E -Oklahoma Gas & Electric Service
New Castle Utilities, IN                          Ogden City Utilities
New Century Associates Group, LP                  Ohio Edison
New Jersey American Water Company/371331          Ohio Gas Company
New Jersey Natural Gas Company (NJR)              Ohio Valley Mall
New Mexico Gas Company                            Oklahoma Natural Gas Co: Kansas City
New York American Water                           Olde Sproul Shopping Village
New York State Electric & Gas                     Omaha Public Power District
Newport News Waterworks                           Oncor
Nicor Gas Transportation                          One Penn Plaza, LLC/371486
Nicor Gas/2020/0632/5407                          Oneida Company Ltd.
NIPSCO - Northern Indiana Public Serv Co          Onslow Water & Sewer Authority
Nittany Centre Realty LLC                         Ontario Municipal Utilities Company
NJNG                                              Ontario Water Works
Norry Management Corporation                      Orange and Rockland Utilities - Ny
North Attleborough Electric                       Orange and Rockland Utilities (O&R)
North Beckley PSD                                 Oscoda Township, MI
North Charleston Sewer District                   Osterman Propane LLC-Methuen




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Osterman Propane LLC-Palmer                       Plainfield Charter Township, MI
Osterman Propane LLC-Plainfield                   Platteville Water & Sewer Dept
Otter Tail Power Company                          Plaza Paseo
Owensboro Municipal Utilities (OMU)               PNM
Oxford Valley                                     Portage County Water Resources
Oxford Water Works, AL                            Portage Utility Service Board
Ozarks Electric Cooperative Corporation           Portland General Electric (PGE)
P7/Sealy 1050 Venture Owner, LP                   Portland General Electric Company
PA Municipal Service Co                           Portland Water District - ME
Pace Water Systems, Inc                           POTOMAC EDISON
Pacific Gas & Electric                            Potomac Electric Power Company - Md
Pacific Gas & Electric Co.                        Pottstown Center LP
Pacific Power-Rocky Mountain Power                Poughkeepsie Galleria
Paducah Power System                              PPL Electric Utilities
Paducah Water Works                               PPL Electric Utilities/Allentown
Paintsville Utilities                             PR Crossroads I LLC
Palace Properties                                 PR Financing LP DBA Francis Scott Key Ma
Palatka Gas Authority                             PR Financing LP DBA Nittany Mall
Palm Beach County Water Utilities Dept            PR Valley LP
Palmetto Electric Coop                            PR Wyoming Valley Limited Partnership
Panhandle Telephone Cooperative, Inc.             Prattville Water Works Board
Paradise Irrigation District                      PREI's Westport Office Park, LLC #171201
Parkersburg Utility Board                         PREIT Services LLC
Parr Reno Water Company                           Presque Isle Water District, ME
Pasco County Utilities                            Price City Utilities, UT
Paulding-Putnam Electric Cooperative              Price Municipal Corporation, UT
PCK Development Company LLC                       Prince Kuhio Plaza
Pea Ridge Public Serv Dist                        Princeton Fuel Oil CO Inc
Peabody Municipal Light Plant                     Promenade Delaware, LLC
Pearl Brook Ltd.                                  Providence Water
Pearl River Valley EPA                            Provo City Utilities
Peco                                              PSE&G-Public Service Elec & Gas Co
PECO/37629                                        PSEGLI
Penelec/3687                                      PSNC Energy (Public Service Co. of NC)
Penn Power                                        PTI Pacifica Inc. It & E
Penn Ross Joint Venture                           Public Utility District of Skagit County
Pennichuck Water Works, Inc.                      Public Water Supply Dist #3
Pennsylvania-American Water Company               Public Works Comm. City of Fayetteville
Peoples Gas                                       Puerto Rico Electric Power Authority
Peoples TWP LLC                                   Puerto Rico Telephone Company
Peoples/644760                                    Puget Sound Energy
PEPCO (Potomac Electric Power Company)            Puhi Sewer & Water Company
Peru Utilities                                    Putnam Public Service District
Pet Poultry Product, Inc                          Putnam WPCA
Philadelphia Gas Works                            PWCSA - Prince William County Services
Phillipsburg Mall LLC                             PWSD #1 of Cole County, MO
Phoenixville Shopping Center                      PYramid Mall Of Glen Falls
Piedmont Natural Gas-Nashville Gas                Pyramid Walden Company, L.P/Dept #496
Pike County Light & Power Company (O&R)           QKC Maui Owner, LLC
Pike Natural Gas Company                          Queensbury Water
Pineville Electric And Telephone - 249            Questar Gas
Pittsburgh Water & Sewer Authority                Qwest
Pittston Commons                                  Racine Water Utility - WI
PK II Sunset Square LLC                           Ramona Municipal Water District
Placer County Water Agency                        Rancho California Water District




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Utility from extranet                             Utility from extranet
Randolph Township, NJ                             Sandy Township Municipal Authority
Rapid City Finance Department                     Sanitary Board Of Bluefield, WV
Raton Utilities                                   Sanitary District of Michigan City
Raton Utilities/PO99/910/40                       Sanitation District #1 - KY
Reading Area Water Authority                      Santa Cruz Municipal Utilities
Receiver of Taxes - Town of Yorktown              Santee Cooper
Receiver of Taxes -Town of Riverhead              Sapp Bros. Inc - Omaha
Regency Utilities                                 Sarasota County Public Utilities
Regional Water Authority                          Sawnee EMC
Reliant Energy/4932/650475                        SCE&G-South Carolina Electric & Gas
Revenue Prop Southland Ltd Partnership            Scotts Valley Water District
Revere Gas Inc                                    SDG Macerich Properties LP (Atlanta)
Reynolds Protective Services LLC                  Seacoast Utility Authority
Reynoldsburg Water Dept                           Seacourt Pavilion
RG&E - Rochester Gas & Electric                   Sedalia Water Department
RGPLP-Crofton Centre                              SELCO - 9258
RH Sixth Avenue Plaza Shopping Center             Selig Enterprises, Inc.
Rhode Island Mall Condo Assn.                     Semco Energy Gas Company
Richmond Power & Light                            Seneca Light & Water
Richmond Sanitary District, IN                    Seneca Realty Associates
Ridgewood Water                                   Seven Oil Co.
Riverside Public Utilities, CA                    Sevier County Electric System
Roanoke Gas Company                               Sevier County Utility District (SCUD)
Roanoke Rapids Sanitary Dist NC                   Sewer & Water Utility Bill
Rochester Public Utilities                        Shakopee Public Utility
Rochester Telephone                               Shamokin Dam Boro
Rock River Water Reclamation                      Shelby Township Dept of Public Works
Rock Springs Municipal Utility                    Shenandoah Valley Electric Co-Op
Rockaway Realty Associates                        Shillington Plaza LLC
Rockaway Township Municipal Utility               Shoppingtown Mall NY LLC
Rockaway Township-Sewer Department                Shorelands Water Co. Inc.
Rockland Electric Company (O&R)                   Silverdale Water District
Rockwood Water PUD                                Simon Properties
Rolla Municipal Utilities                         Simon Property Group
Rome City Treasurer, NY                           Simon Property Group LP/7675
Ronald Wastewater District                        Simon Property Grp, L.P. (OH)
Roseburg Urban Sanitary Authority                 SimplexGrinnell
Rostraver Township Sewer Authority                Sioux Falls Utilities
Rowland Water District                            SMECO (Southern Maryland Electric Coop)
Royal Utility Company, FL                         Snohomish County PUD
RPAI US Management LLC                            Somers Point City Sewerage
RREEF America REIT II Corp. Z                     SourceGas Arkansas Inc.
RREEF America REIT II PortfolioLP/209238          SourceGas Distribution, LLC
Rucci Oil Company Inc.                            Sourdough Fuel
Sacramento County Utilities                       South Burlington Water Department
Sacramento Municipal Utility District             South Central Power CO, OH
Sacramento Suburban Water District                South County Shopping Town, LLC
Saginaw Charter Township, MI                      South Hills Improvements LLC
Saint Paul Regional Water Services                South Hills Village Assoc. LP
Salt Lake City Corporation                        South Jersey Energy Company
San Antonio Water System, TX                      South Jersey Gas Company
San Diego Gas & Electric                          South Middleton Township Municipal Auth
San Diego Gas &Electric                           South Tahoe Public Utility District
San Gabriel Valley Water Company                  South Valley Sewer District, UT
San Jose Water Company                            South Whitehall Township-PA




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Utility from extranet                                    Utility from extranet
South Y Center                                           Suburban Water Systems-West Covina
Southeast Gas - Andulasia                                Suddenlink
Southern California Edison                               Suez Water Delaware
Southern California Gas (The Gas Co.)                    Suez Water Idaho
Southern Connecticut Gas (SCG)                           Suez Water New Jersey
Southern Maryland Oil                                    Suez Water Pennsylvania
Southern Pioneer Electric Company                        Suez Water Pennsylvania/Metered Fire Ln
Southpark Mall LLC                                       Suez Water Rhode Island
Southwest Gas Corporation                                Suez Water Toms River
Southwestern VA Gas Company                              Suez Water Westchester District 1
Spanaway Water Company                                   Suffolk County Sewer Dist-Ny
Spanish Fork City UT                                     Suffolk County Water Authority - NY
Spartanburg Water System                                 Sugarcreek Borough, PA
Spectrum Utilities Solutions                             Sulphur Springs Valley Elec Coop
Speedway Waterworks                                      Summit Natural Gas of Maine, Inc.
SPG Independence Center, LLC                             Sunny Isles Developers LLC
Spokane County Environmental Services                    Sunny Slope Water Company
Spokane County Water Dist #3                             Sunshine Shopping Center Inc
Sprague Operating Resources LLC/847887                   Superior Plus Energy Services/1365 Dept1
Springdale Water Utilities                               Superior Plus Energy Services/1365 Dept3
Springettsbury Township                                  Superior Water, Light and Power Co.
Springfield Utility Board                                Susquehanna Valley Mall Associates, L.P.
Springfield Water & Sewer Commission                     Sussex County Utility Billing Division
Sprint                                                   Swansea Water District
Sprint Pcs                                               Sweetwater Authority
SRP -Salt River Project                                  Sweetwater Utilities Board
SRT Communications                                       Sycamore Center DeKalb LLC
St. Mary Parish Water and Sewer Com. #2                  Sylacauga Utilities Board - 207
Stafford TWP Water & Sewer, NJ                           T & T Properties LLC
STAG Industrial                                          T Mobile
Stark County Metropolitan Sewer District                 T Northgate Mall LLC
Starwest Louis Joliet LLC                                Taunton Muni Lighting Plant (TMLP) - 870
Starwood Ceruzzi                                         Taunton Water Division
State Street Bank and Trust Company (Trustee For         Taunton Water Division, MA
Company 401k)                                            Tax Collector, City of Danbury, CT
Stevens Point Water Department                           Tax Collector, City of Waterbury, CT
Stockton Plaza Partners                                  TDS Telecom
Stone Mountain Industrial Park, Inc.                     Teco Tampa Electric Company
Strata                                                   Teco: Peoples Gas
Stroud Township Sewer Authority                          Telefonica
Suburban Centers Inc                                     Telepacific Communications
Suburban Natural Gas                                     Telesoft
Suburban Propane/NJ-1112                                 TEMUA
Suburban Propane/NJ-2022                                 Tennessee-American Water Company
Suburban Propane/NJ-2049                                 Texarkana Water Utilities
Suburban Propane/NJ-2106                                 Texas Gas Service
Suburban Propane/NJ-2171                                 Texas New Mexico Power Company
Suburban Propane/NJ-2247                                 The Borough of Phoenixville
Suburban Propane/NJ-2272                                 The Centre at Salisbury
Suburban Propane/NJ-2311                                 The City of Waco Water Office
Suburban Propane/NJ-2350                                 The Connecticut Water Company - CWC
Suburban Propane/NJ-2720                                 The Energy Cooperative
Suburban Propane/SC-Chapin                               The Hampshire Companies
Suburban Propane-1298                                    The Hempfield Twp. Munic Auth/Greenburg
Suburban Water Authority-Mill Hall                       The Illuminating Company




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Utility from extranet                                 Utility from extranet
The Kroger Co                                         Town of Natick, MA
The McDowell Partnership                              Town of Newburgh, NY
The Metropolitan District CT                          Town of Niagara, NY
The Retail Property Trust                             Town of North Attleborough
The Shops at Nanuet                                   Town of Palmer, MA
The Trustees of the Estate of BP Bishop               Town of Plattsburgh, NY
The Westover Companies                                Town of Poncha Springs, CO
The York Water Company                                Town of Prescott Valley, AZ
Three Rivers Water Deptartment                        Town of Salem, NH
Tidewater Utilities, Inc                              Town of Saugus, MA
Tiger Inc./Department 2192                            Town of Schererville, IN
Time Warner Cable                                     Town of Swanzey, NH
Titusville Commercial Properties                      Town of Wallkill, NY
TKG Christiana Center LLC                             Town of Warrenton, VA
TKL-East LLC                                          Town of Watertown, CT
Toho Water Authority                                  Town of Watertown, NY
Toledo Edison                                         Town of Waynesville, NC
Tombigbee Electric Power Assoc-Tupelo                 Town of Webster, NY
Toms River Municipal Utilities Authority              Town of Williston, VT
Tonopah Craig Road Company LLLP                       Town of Wytheville, VA
Town Center at Cobb, LLC                              Town of Yorktown, NY
Town East Mall Partnership                            Towne West Square, LLC
Town of Abingdon, VA                                  Township of Belleville, NJ
Town of Acton, MA                                     Township of Cumru, PA
Town of Apple Valley, CA                              Township of Falls Authority
Town of Auburn, MA                                    Township of Franklin Sewerage Auth-NJ
Town of Batavia, NY                                   Township of Freehold, NJ
Town of Bel Air, MD                                   Township of Livingston, NJ
Town of Big Flats, NY                                 Township of Middletown Sewage Auth.
Town of Billerica, MA                                 Township of Middletown, Sewer Authority
Town of Brownsburg, IN                                Township of Moorestown, NJ
Town of Burlington, MA                                Township of Ocean Sewerage Authority
Town of Centre, AL                                    Township of Palmer, PA
Town of Chesterton Utility                            Township of Parsippany-Troy Hills, NJ
Town of Christiansburg, VA                            Township of Wall, NJ
Town of Clay Uniform Water                            Township of Wayne, NJ
Town of Clayton, NC                                   Township of West Caldwell, NJ
Town of Cortlandville, NY                             Township of Woodbridge Sewer Utility
Town of Dewitt, NY                                    TPX
Town of Elkton, MD                                    Tract 349 Mutual Water Co
Town of Fairhaven, MA                                 Tracy Mall Partners, LP
Town of Franklin, NC                                  Treasurer - Spotsylvania County
Town of Griffith, IN                                  Treasurer, Chesterfield County
Town of Hanover Water, MA                             Trenton Water Works
Town of Hanover, MA-Tax Collector                     Tricon Properties
Town of Henrietta, NY                                 Tri-County Electric Cooperative, Inc/OK
Town of Herndon, VA                                   Truckee Meadows Water Authority, NV
Town of Hudson,NH Water Utility                       True Natural Gas
Town of Kill Devil Hills, NC                          True Natural Gas (Fka Coweta-Fayette Emc)
Town of Lantana, FL                                   Trumbull County Water & Sewer Dept.
Town of Lexington, SC                                 Trussville Gas and Water
Town of Madawaska                                     TSC
Town of Madison, NC                                   Tucson Electric Power Company
Town of Manchester, CT                                Tullahoma Utilities Board - 788
Town of Morehead City, NC                             Tupelo Water & Light Dept




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Turlock Irrigation District                        Village of Bedford Park, IL
Turtle Rock LLC                                    Village of Bloomingdale, IL
Tuttle Crossing Associates LLC                     Village of Bradley, IL
Tutu Park Limited                                  Village of Bridgeview, IL
TVWD/CWS                                           Village of Cherry Valley,IL
Twenty First Properties, Inc                       Village of Chicago Ridge, IL
TXU Energy/650638                                  Village of Deerfield, IL
U.S. Realty Mgt. Co. LLC (New Jersey)              Village of Elmwood Park, IL
UGI Central Penn Gas                               Village of Germantown, WI
UGI Energy Services, Inc.                          Village of Greendale, WI
UGI Penn Natural Gas                               Village of Greenwich, NY
UGI Utilities - Electric Service                   Village of Gurnee, IL
UGI Utilities - Gas Service                        Village of Herkimer, NY
UGI Utilities Inc                                  Village of Hoffman Estates, IL
Union Oil & Gas Incorporated                       Village of Horseheads, NY
Uniontown Mall Realty LLC                          Village of Lansing, IL
UniSource Energy Services Elec/80079               Village of Little Chute, WI
UniSource Energy Services Gas/80078                Village of Malone, NY
United Illuminating Company                        Village of Manteno, IL
United Power                                       Village of Matteson, IL
United Power Inc                                   Village of Melrose Park, IL
UNITIL MA Electric & Gas Operations                Village of Mokena, IL
UNITIL ME Gas Operations                           Village of New Lenox, IL
UNITIL NH Electric Operations                      Village of Niles, IL
UNITIL NH Gas Operations                           Village of Norridge, IL
Unity Township Municipal Authority PA              Village of North Riverside, IL
Urbandale Water Department                         Village of Oak Brook, IL
US Cellular                                        Village of Oak Lawn, IL
Ute Water Conservancy District                     Village of Orland Park, IL
Utilities Commission, FL                           Village of Palm Springs, FL
Utility Billing Services-AR                        Village of River Grove, IL
Utility Payment Processing BR Water                Village of Romeoville, IL
Utility Payment Processing/BR Water                Village of Round Lake Beach, IL
Valencia Water Company,CA                          Village of Schaumburg, IL
Valley Energy                                      Village of Sidney, NY
Valparaiso City Utilities                          Village of South Elgin, IL
Van Buren Township, MI                             Village of Steger, IL
Vast                                               Village of Streamwood, IL
Vectren Energy Delivery/6248                       Village of Tinley Park
Vectren Energy Delivery/6250                       Village of West Dundee, IL
Vectren Energy Delivery/6262                       Village Shoppes of Coconut Creek Investm
Ventura Water                                      Vineland Municipal Utilities
Verendrye Electric Cooperative, Inc.               Virgin Islands Water & Power Authority
Verizon                                            Virginia Natural Gas/5409
Verizon Business                                   Virginia-American Water Company
Verizon Cabs                                       Volunteer Energy Cooperative
Verizon Wireless                                   Voorhees Township
Vermont Gas Systems, Inc.                          Vornado Office Management LLC, NY
Vernal City, UT                                    W.U.C., CT
Vernon Township Sanitary Authority                 W/S Lebanon Properties LLC
Versailles Municipal Utilities                     WAL-AUSTIN LP
Vertical Industrial Park Assoc.                    Wal-Mart Center
VI Water and Power Authority-St Croix              Walnutport Authority, PA
Victor Sewer District                              Walton EMC
Vienna Township Public Works                       Warren County W & S Dept, OH




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Warwick Billing                                  Wooster City Services
Washington Commons NewCo, LLC                    Worldnet Telecommunications
Washington County Svc. Authority                 Wow Business
Washington County Water and Sewer Dept           WVC Utility Billing
Washington Gas/37747                             WVR Real Estate II, LLC
Washington Suburban Sanitary Commission          Wyoming Valley Sanitary Authority
Wastewater Div. - Hi/County of Hawaii            XCEL Energy:Northern States Power Co.
Water District                                   XCEL Energy:Public Service Company of CO
Water Environment Services                       XCEL Energy:Southwestern Public Service
Water Supply District of Acton MA                XO Communications
Water Works District #3                          Yampa Valley Electric Association, Inc.
Waterford Water & Sewer Dept                     York County Natural Gas
Waterloo Water Works                             Young's Market Company, LLC
WaterOne                                         Youngstown Water Dept., OH
Waterpro Inc.                                    Zamias Services Inc-Dubois Mall
Watertown Water Dept                             Zia Natural Gas Company
Waterville Shopping Trust
Waterworks Department (Leavenworth, KS)
Watsonville City Water Dept
WE Energies/Wisconsin Electric/Gas               Vendors (merchandise and non-merchandise)
WEA Southcenter LLC                              1 MODEL MANAGEMENT LLC
Webster Plaza Realty LLC                         10 MGMT 10 MAMAGEMENT INCORPOR
West Boise Sewer District                        1000BULBS.COM SERVICE LIGHTING
West Hempfield Township                          123STORES INC
West Kern Water District                         180S LLC
West Milford MUA                                 1928 JEWELRY COMPANY
West Orange Plaza                                1ST IMPRESSION LANDSCAPING INC
West Penn Power                                  1WORLDSYNC
West Side Telecommunications                     2 GIRLS ACCYS INC
West View Waste Water Dept                       2333 DESIGNS AND MANUFACTURING
West View Water Authority                        24 7 COMFORT INC
West Virginia-American Water Company             24 7 CUSTOMER
West Whiteland Township, PA                      24 SEVEN
Westar Energy/KPL                                2810 NEWPORT CENTRE LLC
Western Municipal Water District/7000            333 CORP
Western Virginia Water Authority                 3H FARM LLC
Westfall Town Center Joint Venture               3M
Westland Mall Realty LLC                         3M COMPANY KBE0561
WEWJA-Washington-E Washington Joint Auth         3M PUERTO RICO INC
WF Water Department                              4207602 CANADA INC
White Township Sewer Service                     4IMPRINT
Whitehall Township Authority                     5330 CROSSWIND LLC
Wilkes-Barre Township Sewer Maintenance          5TH & OCEAN CLOTHING LLC
Williamsport Municipal Water Authority           7UP RC BOTTLING CO OF SO CALIF
Willis Towers Watson                             8 TO 20 PARTNERS LLC
Willmut Gas Company                              800 ANSWER TECH ANDREW M GOLDS
Winchester Municipal Utilities                   8X8 INC
Winchester Public Utilities, VA                  8X8 INC-177742863
Wind Gap Plaza LP                                A & B LANDSCAPE
Windalier West Lebanon, LLC                      A & E / KASTAR
Windham Water/Sewer Department                   A & S RENOVATIONS CORINA CHAVE
Windstream                                       A 1 PAINTING BRIAN F SCHIMSCHO
Wisconsin Public Service                         A 1 PROPERTY MANAGEMENT INC
Withlacoochee River Electric Cooperative         A 1 SWITCHING
Woodbridge Center Property, LLC                  A AND B REFRIGERATION




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
A B E PARKING LOT STRIPING CO                     ACE ASPHALT OF ARIZONA INC
A C ELECTRIC CO A-C ELECTRIC C                    ACE ELECTRICAL CONTRACTORS INC
A D SUTTON & SONS                                 ACE SIGN CO
A D WILLEMS CONSTRUCTION INC                      ACEWELL LIMITED
A DOOR SPECIALIST CO                              ACHIM IMPORTING CO
A FASHION COMPANY LIMITED                         ACHIM IMPORTING CO INC
A GARELECK & SONS INC                             ACI INTERNATIONAL
A J MANUFACTURING CO INC                          ACME COMPLETE PARKING LOT SERV
A LINE STAFFING SOLUTION LLC A                    ACME UNITED CORPORATION
A PLUS LANDSCAPING AND MAINTEN                    ACR MAINTENANCE CONTRACTORS CH
A TECH REFRIGERATION & MECHANI                    ACRS LLC AMERICAN COMMERICAL A
A VERDI LLC                                       ACTION DOOR CONTROLS INC
A&A (H.K.) INDUSTRIAL LIMITED                     ACTION SERVICE CORP
A&H LITHOPRINT                                    ACTIVEON HOLDINGS INC
A-1 DOOR SPECIALTIES                              ACTIVICA LLC-706791
A1 MULTI SERVICE LLC A1 ELECTR                    ACUSTRIP COMPANY INC-1806657508
AA PLUMBING                                       ACXIOM
AAA COMPLETE BUILDING SERVICES                    AD ART
AAA ENERGY SERVICE CO                             AD PRO INC
AAA GLASS & MIRROR                                ADAIR PROGRESS INC
AAA PHARMACEUTICAL INC                            ADAM LEVINE PRODUCTIONS INC
AAA ROOFING BY GENE INC                           ADAPTIVE INSIGHTS INC
AADVANTAGE NORTH AMERICAN                         ADAPTLY
AAON                                              ADAZON
AARONS LAWN CARE & LANDSCAPING                    ADCO SERVICES
ABA LIGHTING INC                                  ADCOLOR
ABACUS ADVISORS GROUP                             ADDISON INDEPENDENT
ABACUS PROPERTY INSPECTIONS BR                    ADECCO EMPLOYMENT SERVICES
ABAM LLC                                          ADESSO-MADDEN
ABBOTT LABORATORIES PUERTO RIC                    ADGIANTS ADGIANTS LLC
ABC ELECTRIC                                      ADH GUARDIAN USA LLC
ABC SEATING INC                                   ADHERIS
ABILITY MAINTENANCE INC                           ADMARKETPLACE INC
ABLE PLUMBING REPAIR INC                          ADOBE SYSTEMS
ABONI KNITWEAR LTD                                ADP RPO
ABOUT TIME SNOW REMOVAL FHG CO                    ADP SCREENING & SELECTION SERVICES
ABS GRAPHICS                                      ADRENALINE ENTERPRISES LLC ADR
ACADEMY FIRE PROTECTION ACADEM                    ADROIT DS LLC ADROIT DIGITAL
ACC INTERNATIONAL LLC                             ADVANCE MANAGEMENT INC
ACCELERATED ASSEMBLIES INC                        ADVANCE OHIO MEDIA
ACCENTURE LLP                                     ADVANCE PRINTING
ACCERTIFY INC                                     ADVANCE PROGRESS
ACCERTIFY INC-702255                              ADVANCE PUBLICATIONS
ACCESS SHOPPERS GUIDE GATEHOUS                    ADVANCE STAFFING Q A SALES COR
ACCESSORY INNOVATIONS LLC                         ADVANCED BUILDING CONTROLS
ACCO BRANDS USA LLC                               ADVANCED CUSTOM ENG SYSTEMS
ACCO ENGINEERED SYSTEMS                           ADVANCED DISTRIBUTION SERVICES
ACCU STAFFING SERVICES                            ADVANCED DOOR SERVICE INC DOOR
ACCULYNK INC                                      ADVANCED ELECTRIC INC
ACCULLINK INC                                     ADVANCED INTEGRATED SERVICES
ACCUSWEEP SERVICES INC                            ADVANCED LIGHTING SYSTEMS
ACCUTIME WATCH CORP                               ADVANCED POWER SWEEP
ACCUWEATHER ENTERPRISE SOLUTIO                    ADVANCED PROJECT SOLUTIONS
ACCUWEATHER ENTERPRISE SOLUTIONS-                 ADVANCED REFRIGERATION HEATING
780258120                                         ADVANCED TECHNOLOGY SERVICES I




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ADVANTAGE ELECTRICAL SERVICES                     ALABAMA MEDIA GROUP
ADVANTAGE PAVING ADVANTAGE PAV                    ALANS LAWNMOWER CENTER 90650 A
ADVANTAGE ROOFING AND RESTORAT                    ALARM DATACOM COMPANY STEPHEN
ADVANTAGE STORAGE TRAILERS INC                    ALASKA COMMUNICATIONS SYSTEMS
ADVANTAGE TRANSP EQUIP                            ALASKA INTEGRATED SERVICES
ADVERTISER                                        ALASKA MARINE LINES INC LYNDEN
ADVERTISER GLEAM TENNESSEE VAL                    ALASKA NORTH STAR BUILDERS ALA
ADWOOD MANUFACTURING LTD                          ALBAAD USA INC
AERCOR WIRELESS INC-517987                        ALBERTA NEWSPRINT SALES
AFERO INC                                         ALBUQUERQUE JOURNAL
AFFILIATED BUSINESS GROUP INC                     ALCON LABORATORIES INC
AFFINE INC-709371                                 ALDEN CORPORATION
AFFORDABLE PLUMBING OF UTAH RA                    ALEN USA LLC
AFFORDABLE PLUMBING PROS M S F                    ALERT DISTRIBUTING LLC
AFFORDABLE SPRINKLERS INC                         ALERT STAMPING & MFG CO INC
AFFORDABLE TOOLS LLC                              ALERT STAMPING & MGF CO INC
AFG MEDIA LTD                                     ALEX BRANDS BUZZ BEE TOYS HK L
AFN                                               ALEXANDRIA NEWSPAPERS
AFO OFA INVESTMENT GROUP INC Z                    ALFRED R CALABRESE ALFRED CALA
AG DISTRIBUTORS & SUPPLIES COR                    ALFRESCO SOFTWARE LIMITED-522578
AGELITY INC                                       ALGONA PUBLISHING CO HALLMARK
AGENCIA COMERCIAL WAI YUEN                        ALICE NEWSPAPERS INC GATEHOUSE
AGENCY WORX LLC                                   ALISON BROD PUBLIC RELATIONS
AGGLO CORP LTD                                    ALL AMERICAN TRANSFER CO INC
AGILENCE INC                                      ALL AMERICAN TREE & LAWN JEFF
AGRI-FAB INC                                      ALL CORNERS SWEEPING
AHS STAFFING                                      ALL DESERT SERVICE CORP
AIKEN COMMUNICATIONS                              ALL DOORS AND GLASS
AIM MEDIA TEXAS                                   ALL DOORS LLC CAMERON CALL
AIM MEDIA TX                                      ALL IN ONE CONTRACTING INC
AINSWORTH PET NUTRITION LLC                       ALL IN ONE SERVICE GROUP INC
A-IPOWER CORPORATION                              ALL INTERIORS
AIR & WATER INC                                   ALL PRO OF SARASOTA JOSE L ZEV
AIR AD PROMOTIONS INC                             ALL PRO PROPERTY MANAGEMENT SE
AIR CENTERS OF FLORIDA INC                        ALL PRO TRANSPORTATION INC
AIR CHILLER MECHANICAL CONSTRU                    ALL SEASON PROPERTY MANAGEMENT
AIR CONDITIONING INNOV SOLUTIO                    ALL SYSTEMS WIRELESS INC
AIR TEMP MECHANICAL INC                           ALL THE RAGES INC
AIRGAS                                            ALL TYPE PROFESSIONAL DOOR SER
AIRGAS-REFRIGERANTS                               ALLEN CO INC NON SBT
AIRSTRON INC                                      ALLEN MECHANICAL
AIRWATCH-696562                                   ALLENS PLUMBING INC
AJ SUPER GARMENTS LTD                             ALLERGAN PHARMACEUTICALS
AJC II LLC                                        ALLIANCE COMFORT SYSTEMS INC
AJM PACKAGING CORPORATION                         ALLIANCE MATERIAL HANDLING
AJS LANDSCAPE AJS LANDSCAPE OF                    ALLIANCE OF WISCONSIN RETAILER
AJS TECHNOLOGY INC                                ALLIANCE TIMES HERALD
AKA SPORT INC                                     ALLIANT SYSTEMS LLC
AKAMAI TECHNOLOGIES                               ALLIED DOOR SYSTEMS LLC
AKDY IMPORTS LLC                                  ALLIED INDUSTRIES
AKH ECO APPARELS LTD                              ALLIED NEWSPAPERS NEWSPAPER HO
AKITAS LANDSCAPE AND MAINTENAN                    ALLIED PACKAGING CORP
AKORN CONSUMER HEALTH                             ALLIED RENTAL CENTER ALLIED CO
AKRON BEACON JOURNAL                              ALLIED STORAGE CONTAINERS INC
ALA MAKANA INC                                    ALLIED TRADE GROUP INC




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ALLIED TRAILER SALES & RENTALS                    AMERICAN FOOD & VENDING CORP
ALLIED UNIVERSAL SECURITY SERV                    AMERICAN GAS PRODUCTS-691189
ALLION USA LLC-21133494                           AMERICAN GASKET TECHNOLOGIES I
ALLSEEN ALLIANCE INC                              AMERICAN GASKET TECHNOLOGIES INC-
ALLSTAR MARKETING GROUP LLC                       700694
ALLURE GEMS LLC                                   AMERICAN GREETING CORP
ALLURE HOME CREATION CO INC                       AMERICAN INCORPORATED
ALLWAY TOOLS INC                                  AMERICAN INTERNATIONAL INDUSTR
ALMAR SALES CO INC                                AMERICAN JANITOR AND PAPER SUP
ALMO FULFILLMENT SERVICES LLC                     AMERICAN LAWNSCAPE & SW SNOWPL
ALOHA ISLE MOVING INC                             AMERICAN MARKETING ENTERPRISES
ALPENA NEWS                                       AMERICAN MECHANICAL INC
ALPHA MECHANICAL SERVICE INC                      AMERICAN MEDIA INC
ALPHA MEDIA USA ALPHA MEDIA LL                    AMERICAN NEWS
ALPHA PAVING INDUSTRIES LLC                       AMERICAN PAPER CORP
ALPINE CORPORATION                                AMERICAN PRESIDENT LINES
ALPINE CREATIONS LTD                              AMERICAN PRIDE MECHANICAL
ALS ASPHALT PAVING CO INC                         AMERICAN RETAIL LLC
ALSANGEST INTERNATIONAL LLC                       AMERICAN RING CO INC
ALSBRIDGE INC                                     AMERICAN SNOW REMOVAL INC
ALSTON & BIRD LLP                                 AMERICAN SNOW REMOVAL INCORPOR
ALTA DENA CERTIFIED DAIRY LLC                     AMERICAN SOCIETY OF COMPOSERS
ALTATAC INC                                       AUTHORS AND PUBLISHERS
ALTERNATIVE PRESSURE WASHING &                    AMERICAN TELECAST PRODUCTS LLC
ALTERRA TOOLS LTD                                 AMERICAN TEXTILE COMPANY
ALTMAN SPECIALTY PLANTS ALTMAN                    AMERICAN TIRE DISTRIBUTORS INC
ALTMAN SPECIALTY PLANTS SBT                       AMERICAN WEIGH SCALES INC
ALTOONA MIRROR CENTRAL PENNSYL                    AMERICAN WOOD FIBERS INC
ALVA AMCO PHARMACAL CO INC                        AMERICAS FRESH FOODS INC
ALVIN B CHAN INC                                  AMERIGAS PROPANE
ALVIN SUN AND ADVERTISER HARTM                    AMERIPLUS INC
AMARR                                             AMERITECH SERVICES
AMAV ENTERPRISES LTD                              AMERITEMPS AZ LLC
AMAZON COM                                        AMERIWOOD INDUSTRIES
AMAZONLOT                                         AMERIWOOD INDUSTRIES INC
AMBASSADOR ALARMS INC DARREN B                    AMI VENTURES
AMBIUS INC                                        AMLOID CORPORATION
AMBROS INC                                        AMNET AMNET GROUP INC
AMEC ENVIRONMENT & INFRASTRUCTURE                 AMO SALES AND SERVICE INC
AMERICAN ACCESSORIES INC                          AMPAC SECURITY PRODUCTS-519249
AMERICAN APPLIANCE INSTALLERS                     AMPLEX CORPORATION
AMERICAN AUTOMATIC DOORS INC                      AMRA MAP AUTOMOTIVE MAINT & RE
AMERICAN BENEFITS COUNCIL                         AMREP INC-1051010429
AMERICAN CASTING AND MANUFACTURING                AMS ASSOCIATES
AMERICAN CLEANING SUPPLY INC                      AMS ASSOCIATES INC
AMERICAN COATINGS & INSULATION                    AMSTORE
AMERICAN COLOR INC                                AMTRANET GROUP
AMERICAN COLOR INC RYAN VAN HO                    AMTURF ENTERPRISES LLC
AMERICAN DE ROSA LAMPARTS LLC                     AMW VIETNAM CO LTD
AMERICAN DIGITAL CORPORATION-                     ANAYA GEMS INC
114174253                                         ANCHOR ACQUISITION LLC
AMERICAN DISCOUNT OFFICE SUPPL                    ANCHORAGE DAILY NEWS
AMERICAN DOOR AND DOCK                            ANDA
AMERICAN EQUIPMENT SALES INC                      ANDALUSIA STAR NEWS ANDALUSIA
AMERICAN EXPRESS                                  ANDERSON DAIRY INC




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
ANDINA INC                                        APTARIS PROFESSIONAL SERVICES
ANDREW KIRK PAINTERS INC ANDRE                    AQUARIUS LTD
ANDREWS & SON TRADINGS INC                        AQUINO TRANSPORT LLC MARIO AQU
ANERI JEWELS LLC DBA SUMIT DIA                    AR NORTH AMERICA INC
ANEW ELECTRONICS LLC                              ARAMARK MANAGEMENT SERVICES
ANGELS YARD CARE ANGEL TORRES                     ARAMARK SERVICES
ANGIES LIST INC                                   ARAMARK SERVICES INC/BSG PNC L
ANGLO-AMERICAN ENTERPRISES COR                    ARAMARK UNIFORM SERVICES
ANHAEUSER ELECTRIC                                ARAMSCO INC
ANIKET METALS PVT LTD                             ARANCO INC
ANIMAL ADVENTURE LLC                              ARBON EQUIPMENT CORP RITE HITE
ANJER INC TRAILER DIVISION                        ARC FRESNO
ANN MARIE LINK                                    ARC INTERNATIONAL NORTH AMERIC
ANT GROUP                                         ARC MID CITIES ASSOCIATION FOR
ANTELOPE VALLEY PRESS ANTELOPE                    RETARDED CITIZENS
ANTHONY KERRIGAN ANTHONY C KER                    ARCA INDUSTRIAL CORP
ANTIGO DAILY JOURNAL BERNER BR                    ARCADIA HOLDING CO LTD
ANTILLAS SHOE CORP                                ARCHER AIR CONDITIONING SERV
ANTILLES BRANDS INC                               ARCHID GARMENT FACTORY LTD
ANTIM SOURCING LTD                                ARCHITECTURAL GRAPHICS INC
ANTIMATTER RESEARCH INC-80223034                  ARCHITEXT-194613
ANYTHING GOES DELIVERY SERVICE                    ARCHOS INC
AON CONSULTING WORLDWIDE                          ARCHWAY INC
AON RISK SERVICES COMPANIES                       ARCTIC GLACIER USA INC
AOSOM LLC                                         ARCTIC SERVICE LLC
AP ENTERPRISE AP PROPERTY SERV                    ARDEN FAIR ASSOCIATES
APEX CHANCE LIMITED                               ARDISAM INC
APEX FOOTWEAR LIMITED                             AREA WIDE PAVING PAUL POGUE
APEX SALES GROUP INC                              ARIA CHILD
APEX TOOL GROUP LLC                               ARIBA
APG MEDIA OF CHESAPEAKE LLC                       ARIELA ALPHA INTERNATIONAL LLC
APG MEDIA OF OHIO LLC                             ARIZONA BEVERAGES USA LLC
API NATIONAL SERVICES GROUP                       ARIZONA DAILY SUN
APOGEE AGENCY LLC GREG HOFFMAN                    ARIZONA DESERT DESIGNS LLC
APOGEE DELIVERY & INSTALLATION                    ARIZONA GAME & FISH DEPT
APOLLO HEALTH AND BEAUTY CARE                     ARIZONA PLUMBING SERVICES INC
APOLLO RETAIL SPECIALISTS                         ARIZONA REPUBLIC
APOLLO RETAIL SPECIALISTS LLC                     ARKANOFF PAINTING
APOTHECARY PRODUCTS LLC                           ARKANSAS CITY TRAVELER WINFIEL
APP ANNIE EUROPE LIMITED                          ARKANSAS DEMOCRAT-GAZETTE
APPALCHIAN NEWSPAPERS                             ARLINGTON DEVELOPERS CONSTRUCT
APPAREL MANUFACTURING SOURCING                    ARMORED AUTOGROUP
APPAREL SOURCING (HK) LIMITED                     ARMOUTH INTERNATIONAL INC
APPLAUSE APP QUALITY INC-706710                   ARMSTRONG FLOORING INC-795844
APPLE ONE EMPLOYMENT SERVICES                     ARNOLD
APPLIANCE APPOINTMENT COM FELI                    ARNOLD & PORTER LLP
APPLIANCE PARTS COMPANY                           ARNOLD FOODS INC
APPLIANCE PARTS DEPOT LLC                         ARNOLD TRANSPORTATION SERVICES
APPLIANCE PARTS IMPORTS                           ARNSTEIN & LEHR
APPLICA CONSUMER PRODUCTS INC                     ARRIS INC
APPLIED HANDLING INC                              ARROW ELECTRONICS INC
APPLIED PREDICTIVE TECHNOLOGIES                   ARROW FASTENER COMPANY INC
APPNEXUS RESOURCES INC                            ARROW GLOBAL ASSET DISPOSITION
APPRISS INC                                       ARROW HOME PRODUCTS COMPANY
APPSFLYER LTD-711380                              ARROW SHED LLC




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ARROW SHIRT COMPANY                               AUSTIN AMERICAN STATESMAN
ARROW SPORTSWEAR                                  AUTEL US INC
ARROW TRU LINE                                    AUTHENTIC BRANDS GROUP LLC ABG
ARROWHEAD HEATING AND AIR COND                    AUTO CARE ASSOCIATION
ARROWHEAD MOUNTAIN SPRING WATE                    AUTO EXPRESSION LLC
ARS ECOMMERCE                                     AUTODESK INC
ARTIFICIAL ICE EVENTS LLC                         AUTOMATED BUILDING COMPONENTS
ARTISAN PRINT                                     AUTOMATED DISTRIBUTION SYSTEMS
ARTITALIA GROUP                                   AUTOMATED PACKAGING SYSTEMS
ARTOFABRIC                                        AUTOMATIC ACCESS INC
ASAP ASPHALT SEALING AND PAVIN                    AUTOMATIC APPLIANCE PARTS
ASBURY FOODSERVICE EQUIPMENT C                    AUTOMATIC DATA PROCESSING
ASD HEALTHCARE                                    AUTOMATIC DOOR DOCTOR INC
ASE AUTO SERVICE EQUIPMENT CO                     AUTOMOTIVE RENTALS
ASHEVILLE CITIZEN-TIMES                           AUXO INTERNATIONAL LTD
ASHLAND DAILY TIDINGS                             AVALARA INC
ASHLEY COUNTY PUBLISHING CO IN                    AVAM INC
ASIA SOCKS INC                                    AVAYA
ASPECT SOFTWARE INC-547075                        AVERUS FACILITEC CENTRAL
ASPEN MARKETING SERVICES                          AVERY DENNISON
ASPHALT SEALING & STRIPING CO                     AVERY PRODUCTS CORPORATION
ASPHALT SOLUTIONS INC                             AVI SYSTEMS
ASPHALT SOLUTIONS PLUS LLC DON                    AVIS RENT A CAR SYSTEM
ASROTEX                                           AVOYELLES PUBLISH CO INC JOURN
ASSEMBLERS INC-1000427617                         AVPROSTORE-710704
ASSET RECOVERY ADVISORS LLC                       AWARD STAFFING SERVICES
ASSET TECHNOLOGIES LLC                            AWERKAMP & MCCLAIN PC MICHAEL
ASSOCIATED DESERT NEWSPAPER                       AWESOME PRODUCTS INC
ASSOCIATED DESERT SHOPPERS                        AX PARIS USA LLC
ASSOCIATED ELECTRICAL CONTRACT                    AXIKIT INC
ASSOCIATED GROUP                                  AXIOM GLOBAL INC
ASSOCIATED HYGIENIC PRODUCTS                      AXIOM STAFFING GROUP
ASURE SOFTWARE                                    AYANA JEWELS
ASURION INSURANCE SERVICES                        AZ PATIO HEATERS LLC
ASW LLC                                           AZIMOV CONSULTING
AT & T                                            B & A SUNRISE SPRAYERS WAYNE D
ATEB                                              B & B ACQUISITION INC
ATEQ TPMS TOOLS LC ATEQ CORPOR                    B & B ROLLING DOOR
ATEQ TPMS TOOLS LC-1000996469                     B & M SEASONAL SERVICES LLC
ATKINS KROLL INC                                  B AND B BEDDING INC
ATKINS NUTRITIONALS INC                           B AND C GREENHOUSES INC
ATLANTA NETWORK TECHNOLOGIESAN                    B FERNANDEZ & HNOS INC
ATLANTIC BOTTLING CO                              B G BRECKE INC
ATLANTIC COMFORT SYSTEMS INC                      B G R INC
ATLANTIC NEWS TELEGRAPH                           B HALL SWEEPING INC
ATLANTIC SOUTHERN PAVING AND S                    B KRAMER INC
ATLANTIC TRAILER LEASING CORP                     B P AMERICA
ATLAS FIRST ACCESS                                B R KETTERING TOWNE CENTER LLC
ATLAS SIGN INDUSTRIES ATLAS SI                    BABCOCK & BROWN GREENFIELD HLD
ATLAS TOYOTO MATERIAL HANDLING                    BABY COCA FOR WEARS AND TEXTIL
ATLAS VAN LINES                                   BABY TREND INC
ATOMIC PLUMBING & DRAIN CLEANI                    BACK TO BASICS PRODUCTS INC
ATRIUM STAFFING LLC                               BACKER LANDSCAPING INC
ATTACHMATE CORPORATION-1000903765                 BAESMAN GROUP INC
AUHC DENIM CLOTHING LTD                           BAGGS LANDSCAPING & MAINTENANC




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BAJER DESIGN AND MARKETING INC                    BEAUTY GEM INC
BAKER & HOSTETLER LLP                             BEAUX MERZON INC
BAKER & MCKENZIE                                  BEAVER NEWSPAPERS
BAKER DONELSON BEARMAN CALDWELL &                 BECKS ELK RIVER GRNHSE & VEG F
BERKOWITZ                                         BEDWARDS INC
BAKER ROOFING COMPANY                             BEDZ KING LLC
BAKERSFIELD CALIFORNIAN                           BEEVILLE PUBLISHING CO
BALANCE INNOVATIONS LLC-706641                    BEHLER YOUNG COMPANY
BALANCE MARKETING                                 BEIERSDORF INC
BALANCING ACT BALANCING ACT TV                    BEIJING GONGMEI COMPANY
BALD EAGLE DELIVERY & HOME SVC                    BEIJING INDUSTRIAL DEV CO LTD
BALFORD FARMS                                     BEIJING INDUSTRIAL DEV CO. LTD
BALL BOUNCE AND SPORT INC                         BEL LARIMER LLC
BALLESTER HERMANOS INC                            BELCO INDUSTRIES
BALTIMORE SUN                                     BELKIN INTERNATIONAL INC
BANDAI AMERICA INC                                BELL LITHO
BANGOR PUBLISHING                                 BELL SPORTS INC
BANK OF AMERICA                                   BELLOWS INTERNATIONAL LTD
BANNER GRAPHIC RUST PUBLISHING                    BELLSOUTH PRO CABS
BANNER NEWS PUBLISHING                            BELLY UP CRAB CO
BARACK FERRAZZANO KIRSCHBAUM P                    BELOIT DAILY NEWS GREATER BELO
BARBARA R SKEENS                                  BELTON JOURNAL BELTON NEWSPAPERS
BARCHARTS PUBLISHING INC                          INC
BARI TEXTILE MILLS (PVT) LTD                      BEM WIRELESS LLC
BARLO SIGNS INTERNATIONAL INC                     BENEFITFOCUS COM INC
BARNARD LANDSCAPING LLC AARON                     BENICIA HERALD
BARRY COUNTY ADVERTISER EMORY                     BENITEZ HERMANOS INC
BARS PRODUCTS                                     BENITEZ KARASZ BENITEZ KARASZ
BARUVI FRESH LLC                                  BENJAMIN WALK CORP
BASE INC                                          BENNER MECHANICAL AND ELECTRICAL
BASIC SOLUTIONS                                   BENTEX GROUP INC
BASS SECURITY SERVICES                            BENTLEY SYSTEMS
BATES ELECTRIC                                    BERKEL MIDWEST BERKEL MIDWEST
BATTEN & COMPANY                                  BERKSHIRE EAGLE NEW ENGLAND NE
BAUDUCCO FOODS INC                                BERKSHIRE FASHIONS
BAW PLASTICS                                      BERNADINE J EACHUS
BAXLEY NEWS BANNER GARDNER                        BERNSTEIN & ANDRIULLI INC GREA
NEWSPAPERS INC                                    BESS HOME FASHIONS INC
BAXTER BULLETIN                                   BEST FURNACE CO
BAYER CORPORATION                                 BEST LOCK ASIA LIMITED
BAYER PUERTO RICO INC                             BEST PARAMOUNT INTERNATIONAL L
BAYSHORE POWER SWEEPING                           BEST SECURITY INDUSTRIES-626106
BAYTOWN C&M EQUIPMENT CO                          BESTMARK INC
BAYTOWN SUN                                       BESTWAY (HONG KONG) INT'L LTD
BAZAARVOICE                                       BESTWAY RENTALS BESTWAY RENTAL
BC IN THE CLOUD QUEUE IN THE C                    BETTER BUSINESS BUREAU
BDO BDO PUERTO RICO PSC                           BETTER EARTH LANDSCAPE BETTER
BDO SEIDMAN                                       BETTER MADE SNACK FOODS INC
BEACH TRADING CO                                  BETTER SOURCING WORLDWIDE LTD
BEALLS INC                                        BEVERAGE WORKS NY INC
BEAR CONSTRUCTION ANDY PONTOJA                    BFC FORMS SERVICE INC-693971
BEAUMONT ENTERPRISE DIVISION                      BFG SUPPLY CO
BEAUMONT PRODUCTS INC                             BH MEDIA GROUP
BEAUTIWAY ENTERPRISES LTD                         BH MEDIA GROUP HOLDINGS
BEAUTY 21 COSMETICS INC                           BH NORTH AMERICA CORP




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BH NORTH AMERICA CORPORATION                       BLUE WAVE PRODUCTS INC
BIANCA FASHION LIMITED                             BLUE-BLACK GARMENTS CO LIMITED
BIC CORPORATION                                    BLUEGRASS NEWSMEDIA
BICKLEY CONSULTING INC                             BMC SOFTWARE
BICOASTAL FITTING MODELS MALIW                     BMG MODEL BROWN MANAGEMENT GRO
BICYCLE DOCTOR OF BROWARD INC                      BMS TENANT SERVICES LLC
BIDCLERK                                           BOB KILINSKI
BIDTELLECT INC                                     BOCK & CLARK CORPORATION
BIG ASS FANS                                       BODMAN LLP
Delta T Corporation, dba Big Ass Solutions         BODY FLEX SPORTS INC
BIG BEAR GRIZZLY HI DESERT PUB                     BODY FLEX SPORTS INC.
BIG GEYSER INC                                     BODY SOLID
BIG SKY PUBLISHING                                 BOELTER BRANDS LLC
BIG SPRING HERALD                                  BOERNE STAR
BIG TIME TOYS LLC                                  BOHLER ENGINEERING
BILLS LITTER LOVER PARKING LOT                     BOLDIQ INC
BIMBO BAKERIES USA                                 BOLIVAR COMMERCIAL
BIOTAB NUTRACEUTICALS                              BOLUS TRUCK PARTS
BIOWORLD MERCHANDISING INC                         BOLYMAX INTERNATIONAL CORP
BIRCHWOOD SNOW & LANDSCAPE CON                     BON-AIRE INDUSTRIES INC
BIRD BONETTE STAUDERMAN                            BOND MANUFACTURING INC
BISSELL HOMECARE INTERNATIONAL                     BONNER COUNTY DAILY BEE
BITTERROOT SWEEPERS MICHAEL W                      BONNIE PLANT FARM SBT
BL INTIMATE APPAREL CANADA INC                     BOOMERANG COMMERCE
BLACK & DECKER US INC                              BOPPY COMPANY LLC
BLACK AND DECKER MACAO COMMERC                     BORAAM INDUSTRIES
BLACK BOX NETWORK SERVICES                         BORDEN DAIRY COMPANY OF FLORID
BLACK DOT GROUP CAPS VISUAL CO                     BORDEN DAIRY COMPANY OF OHIO L
BLACKHAWK ENGAGEMENT SOLUTIONS                     BORDER TRANSFER
BLACKHAWK NETWORK                                  BORDERFREE
BLACKSHOR SNOW REMOVAL & EXCA                      BOSCH AUTOMOTIVE SERVICE SOLUT
BLACKSTONE INDUSTRIES LLC                          BOSCH AUTOMOTIVE SERVICES SOLUTIONS
BLADE EMPIRE PUBLISHING BELOIT                     BOSE CORPORATION
BLAIR SIGN COMPANY                                 BOSS PET PRODUCTS INC
BLAIR TECHNOLOGY GROUP LLC                         BOSTON GLOBE ELECTRONIC PUBLISHING
BLAKESLEE MAINTENANCE                              BOSTON HERALD
BLANCOS PILESO SA DE CV                            BOT HOME AUTOMATION INC
BLENDED CLOTHING INC                               BOTTENFIELD EXCAVATING LLC BRY
BLI LIGHTING SPECIALISTS BUDGE                     BOTTOMLINE TECHNOLOGIES-745484
BLIP LLC                                           BOUNCE EXCHANGE INC-926658829
BLIZZARD REPAIR SERVICE JAMES                      BOWLING GREEN SENTINEL CO
BLOOMBERG L P                                      BOWMAN TRAILER LEASING
BLOOMING COLOR INC                                 BOYD CONSTRUCTION CO INC
BLOOMREACH                                         BOYD FLOTATION INC
BLUE BOX OPCO LLC DBA INFANTIN                     BP LUBRICANTS USA INC
BLUE CHIP GLOBAL CONNECT LLC                       BPG INTERNATIONAL INC
BLUE DOG BAKERY GROUP INC                          BPI GROUP NORTH AMERICA
BLUE ENGINE MARKETING INC                          BRACK CLEMONS
BLUE LINE DISTRIBUTING                             BRADBURNE BRILLER & JOHNSON LL
BLUE LINE DISTRIBUTING INC                         BRADENTON HERALD
BLUE MOON DIGITAL INC                              BRADFORD COUNTY TELEGRAPH INC
BLUE RHINO                                         BRADFORD ERA
BLUE RHINO CORP                                    BRAHA INDUSTRIES INC
BLUE ROCK PRODUCTS PEPSI                           BRAINTRUST CONSULTING GROUP-784691938
BLUE STAR FASHION NY INC                           BRANCH SOLUTIONS INC LEVEL 7 I




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BRAND ELECTRIC COMPANY                            BRUNSWICK NEWS PUBLISHING CO
BRANDFOLDER                                       BRYAN CAVE LLP
BRANDIX ASIA LTD                                  BRYAN TIMES
BRANDON HASS                                      BRYANS SERVICES JOSHUA H BRYAN
BRANDT COMPANIES LLC                              BRYSON INDUSTRIES INC
BRANT INSTORE                                     BSREP US REIT II LLC
BRAVADO INTERNATIONAL GROUP                       BST INTERNATIONAL FASHION LIMI
BRAVO SPORTS                                      BTI TOOLS LLC
BRAZOS MALL OWNERS LLC                            BUCHI PLUMBING CO
BRE PENTAGON RETAIL HOLDINGS A                    BUCK KNIVES INC
BREATHABLEBABY LLC                                BUCKBOARD CATERING CO CAMERON
BREEZE NEWSPAPERS                                 BUCKEYE SWEEPING
BREEZEWARE BREEZE TECHNOLOGIES                    BUCKLEY NEWSPAPERS INC IMPACT
BRENHAM BANNER PRESS                              BUCKS COUNTY COURIER TIMES
BRENNAN ELECTRIC INC                              BUDD GROUP INC
BRENNAN JEWELRY                                   BUDGET TRUCK RENTAL
BREWTON STANDARD                                  BUFFALO NEWS
BRIAN E LINEBAUGH                                 BUG DOCTOR
BRIDGE CONSULTING GROUP LLC                       BUILDERDEPOT, INC
BRIDGE DIRECT INC                                 BUILDERS BEST
BRIDGEVINE INC                                    BUILDING MAINTENANCE SERVICES
BRIGGS & STRATTON POWER PRODUC                    BUILDING SYSTEMS & SERVICES IN
BRIGGS & STRATTON POWER PRODUCTS                  BULLY TOOLS INC
BRIGHT HORIZONS FAMILY SOLUTIO                    BUNZL DISTRIBUTION
BRIGHTEDGE TECHNOLOGIES INC                       BUNZL RETAIL
BRIGHTSTAR                                        BUREAU OF NATIONAL AFFAIRS INC
BRIGHTSTAR US INC                                 BURLINGTON HAWK EYE
BRIGHTTAG INC-696466                              BURNS LANDSCAPE MANAGEMENT JAM
BRIGHTVIEW COMPANIES                              BURTON ENERGY GROUP INC
BRIGHTVIEW LANDSCAPES                             BURTON ENERGY GROUP INC-711047
BRINKS GLOBAL SERVICES                            BURTON EXC INC
BRINKS US                                         BUSH SPECIALTY VEHICLES
BRINLY-HARDY CO                                   BUSH TRUCK LEASING
BRISAS DEL CARIBE CORP                            BUSINESS INTERIOR GROUP INC
BRITTEN BANNERS & EVENT SOLUTI                    BUTLER COUNTY PUBLISHING LLC D
BRK BRANDS INC                                    BUXTON INC
BROAD STREET MEDIA PA THE TREN                    BUZZTALA LLC
BROADCAST MUSIC                                   BVI BEACON
BROADCASTER PRESS                                 BW MAINTENANCE
BROADRIDGE ICS INC                                BYER CALIFORNIA DC & JIT
BROAN NUTONE LLC                                  C & C JEWELRY MFG INC
BROAN-NUTONE LLC                                  C & C TRUCKING COREY RANDALL S
BROOKE GRAPHICS LLC                               C & D CONTRACTING LLC CHRISTY
BROOKS BEVERAGES MANAGEMENT CO                    C & D DISTRIBUTORS
BROOKSTONE COMPANY                                C & G PUBLISHING
BROTHER INTERNATIONAL CORP                        C & L INDUSTRIAL LIMITED
BROTHERS TRADING CO INC                           C & L MAINTENANCE AND REFRIGER
BROWN ASPHALT PAVING CO                           C & M CLEANING MICHAEL SPERO
BROWN JORDAN SERVICES INC                         C & M LANDSCAPE & DESIGN INC
BROWNBERRY INC                                    C & R ASPHALT LLC
BROWNTROUT PUBLISHERS INC                         C & S WHOLESALE GROCERS INC
BROWNWOOD NEWSPAPERS                              C & V LIQUIDATION INC CHARLES J
BRUCE LOFTHUS BRUCE J LOFTHUS                     CICCRELLA
BRUCE W KALMBACH                                  C H ROBINSON WORLDWIDE
BRUCKMANN & VICTORY LLP                           C J M LIGHTING SERVICE




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C L H & SON INC                                   CANETE LANDSCAPE INC CANETE SN
C L RHODES CONCRETE CONSTRUCTI                    CANETE SNOW MANAGEMENT INC
C M A FIRE PROTECTION R L H FI                    CANNON VALLEY CONSULTING LLC
C N A PROPERTY SERVICES LLC LA                    CANON CITY SHOPPER MINOR PUBLI
C R GIBSON CO                                     CANON FINANCIAL SERVICES
C&J GONZALEZ LLC                                  CANON SOLUTIONS AMERICA
C&K PAVING CONTRACTORS INC                        CANTEEN REFRESHMENT SERVICES C
CA                                                CAP BARBELL INC
CAD PRODUCTIVITY FACILITY TREE                    CAPGEMINI NORTH AMERICA
CADILLAC EVENING NEWS                             CAPITAL ALLIANCE CORP ADVANTAGE
CAFARO NORTHWEST PARTNERSHIP                      TRANSP
CAFE ROMA GRUPPOF4 INC                            CAPITAL BRANDS LLC
CAFE YAUCONO                                      CAPITAL CITY PRESS PUBLISHER C
CAIRO COTTON CENTER                               CAPITAL CITY WEEKLY SHIVERS TR
CAITO FOODS SERVICE INC                           CAPITAL IQ INC
CAL PURE PISTACHIOS INC                           STANDARD & POOR
CAL SELECT BUILDERS INC                           CAPITAL NEWSPAPERS
CALAMP WIRELESS DATA SYSTEMS                      CAPITOL ADVOCACY LLC
CALAMP WIRELESS NETWORKS                          CAPPS POWER SWEEPING LLC
CALERES INC                                       CAPTAIN INDUSTRIES LTD
CALIDAD AUTO TECHNOLOGIES                         CAR FRESHNER CORPORATION
CALIFORNIA CARTAGE                                CARAVAN CANOPY INTL INC
CALIFORNIA COMMERCIAL ROOFING                     CARDINAL APPLIANCE AND HARDWAR
SYSTEM                                            CARDINAL HEALTH
CALIFORNIA COSTUME INT'L LTD                      CARDINAL INDUSTRIES INC
CALIFORNIA INNOVATIONS INC                        CARDINAL SOLUTIONS GROUP INC
CALIFORNIA NEWSPAPER                              CARDIO PARTNER RESOURCES
CALIFORNIA NEWSPAPER PARTNERSHIP                  CARDLYTICS
CALIFORNIA NEWSPAPERS PARTNER                     CAREER CORNER ASSOCIATES-703409
CALIFORNIA NEWSPAPERS PARTNERSHIP                 CAREER GROUP INC FOURTH FLOOR
CALIFORNIA RETAILERS ASSOCIATION                  CAREERBUILDER
CALIFORNIA SHOPPING CART RETRI                    CAREERSTAFF RX NATIONAL CAREER
CALL & JENSEN APC                                 CAREERSUSA INC CAREERS USA INC
CALLABRESI HEATING & COOLING                      CARIBBEAN PACKAGING
CALLCAP SITA LABORATORIES INC                     CARIBE RECYCLING CORP
CALLIDUS SOFTWARE INC-690263                      CARLA BRUNI
CALPHALON                                         CARLYLE BLOCKHUS CARLYLE S BLO
CALVINS PLUMBING                                  CARMA LABORATORIES INC
CALZADO LOBO S A DE C V                           CAROL R THOMPSON
CALZADO MI LORD SA DE CV                          CAROLINA COUPON CLEARING
CAMBRIA SUITES                                    CAROLINA GREEN LAWN SERVICE STEPHEN
CAMCO MANUFACTURING INC                           M BALL
CAMDEN CHRONICLE                                  CARPENTERS SMALL ENGINE SCALES
CAMDEN NEWS                                       CARPINET PLUMBING & HEATING
CAMERON HERALD MILAM CO NEWSPA                    CARRIER
CAMERON NEWSPAPERS                                CARROLL COUNTY NEWSPAPERS RUST
CAMETA CAMERA                                     CARRYLAND CO
CAMINOVA CORPORATION-639724                       CARSON DUNLOP & ASSOCIATES LTD
CAMPBELL DELONG LLP                               CARSON DUNLOP & ASSOCIATES LTD-
CAMPBELL HAUSFELD LLC                             1000416149
CAMPBELL SALES COMPANY                            CARTERET PUBLISHING CO INC
CANADA DRY BOTTLING CO OF NY                      CARTMASTERS LLC
CANADA DRY DELAWARE VALLEY BTL                    CARTTRONICS
CANAL TOYS LTD                                    CARTUS
CANDELA SEARCH                                    CARY FRANCIS GROUP




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CASA GRANDE VALLEY NEWSPAPERS                     CERCE CAPITAL LLC
CASA MOLLER USA INC                               CERTIFIED AIR CONTRACTORS INC
CASCO EQUIPMENT CORPORATION                       CERTIFIED DELIVERY SPECIALIST
CASEYS LANDSCAPING LLC CASEY C                    CERTONA PERSONALIZE ANYTIME
CASIO INC                                         ANYWHER-708775
CASPER STAR-TRIBUNE                               CESAR CASTILLO INC
CASPIO INC                                        CHAINALYTICS LLC
CASSONE LEASING INC                               CHAIR WORKERS COMPENSATION BOARD
CASTANEA LABS INC                                 CHALLENGER MOTOR FREIGHT INC
CASTLE ALLIANCE INC                               CHAMBERLAIN MANUFACTURING CORP
CASTLE CONSTRUCTION EVERGREEN                     CHAMELEON TECHNOLOGIES INC
CASTLEWOOD APPAREL CORP                           CHAMPION CONTAINER CORPORATION
CASTO TECHNICAL SERVICES                          CHANEY INSTRUMENT CO
CATALINA MARKETING                                CHANGE HEALTHCARE
CATALYST PAPER                                    CHANNELADVISOR CORPORATION
CATALYST TAGS INC-694474                          CHANNELLOCK INC
CATCHPOINT SYSTEMS INC-701274                     CHANX.COM INC
CATWALK ENTERPRISES INC                           CHAPIN INTERNATIONAL INC
CBA INDUSTRIES                                    CHAR-BROIL
CC CONSULTANTS LLC BRYAN R SIM                    CHARLES CITY PRESS ENTERPRISE
CCH                                               CHARLES FREIHOFER BAKING CO
CCL LABEL                                         CHARLES GOULD CHARLES M GOULD
CDW DIRECT                                        CHARLES'S WAIN WORLDWIDE CORP
CE COMPASS INC                                    CHARLESTON NEWSPAPERS
CEI ROOFING                                       CHARLOTTE OBSERVER PUBLISHING
CELADON TRUCKING SERVICES                         CHARTER LIMITED
CELECTIV LIDERS LLC                               CHARTWELL STAFFING SERVICES IN
CELIN CORPORATION                                 CHATMETER INC
CELLCO PARTNERSHIP                                CHATTANOOGA PUBLISHING
CELLCONTROL-704297                                CHATTEM INC
CELLCORP GLOBAL LIMITED                           CHEBOYGAN DAILY TRIBUNE
CELLINI LLC                                       CHECKPOINT SYSTEMS
CEMC ELECTRICAL & COMMUNICATIO                    CHENG COHEN LLC
CENTERLINE ELECTRIC INC-723978                    CHENG YEN ENTERPRISES CO LTD
CENTERLINE TECHNOLOGIES INC                       CHEP
CENTERSCAPE INC SNOW MANAGEMEN                    CHERRY GROUP CO LTD
CENTIMARK CORPORATION                             CHEVRON (HK) LIMITED
CENTRA MARKETING AND                              CHESAPEAKE MERCHANDISING INC
COMMUNICATIONS                                    CHICAGO AMERICAN MANUFACTURING
CENTRAL AIR AND HEATING SERVIC                    CHICAGO AMERICAN MFG LLC
CENTRAL IOWA CHAPTER MECHANICAL                   CHICAGO AREA COUSTIC GLO SHELDAN
CONTRACT                                          CONSTRUCTION PROD & SVCES
CENTRAL MAINE MORNING SENTINEL                    CHICAGO REVIEW PRESS INC
CENTRAL POWER DISTRIBUTORS INC                    CHICAGO SHOW INC
CENTRALIA SENTINEL SENTINEL                       CHICAGO TAG & LABEL INC-711752
CENTRESCAPES INC                                  CHICAGO TRIBUNE
CENTREX PLASTICS LLC                              CHICOLOGY INC
CENTRIAM LLC-711171                               CHIEFWAY INTERNATIONAL LIMITED
CENTRO TECNICO DE REPARACION D                    CHILDRENS APPAREL NETWORK LTD
CENTURY FIRE PROTECTION LIBERT                    CHILLER SPECIALTIES LAGARDE LT
CENTURY FIRE SPRINKLERS INC                       CHILLER TECHNOLOGY SERVICES IN
CENTURY SIGN CO                                   CHINA FORTUNE LLC
CENTURYLINK                                       CHINEX APPAREL INC
CEQUENT CONSUMER PROD PPD                         CHING CONSTRUCTION
CEQUENT CONSUMER PRODUCTS                         CHINOOK ASIA LLC




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CHINOOK ASIA LLC ASIA DIRECT                      CLASSIC SLIPCOVERS INC
INVESTMENTS LLC                                   CLAUSEN MILLER P C
CHL ENTERPRISES INC                               CLEAN A LOT INC
CHOICE FOODS LLC                                  CLEAN PUERTO RICO RECYCLING IN
CHOICE MINE AND INDUSTRIAL SER                    CLEAN SWEEP ENTERPRISES
CHOSEN MANAGEMENT                                 CLEAN TOOLS INC
CHRIS N MOCK CHRISTOPHER N MOC                    CLEANMACHINE POWERWASH INC
CHRIS TAGLIAFERRO                                 CLEANSERV INC
CHRISTMAS CREATIVE COMPANY LTD                    CLEAR CHANNEL BROADCASTING INC
CHRONICLE INDEPENDENT CAMDEN M                    CLEAR CHANNEL OUTDOOR
CHRONICLE LAFRAMBOISE NEWSPAPE                    CLEARVIEW RESEARCH INC
CHRONICLE TELEGRAM LORAIN COUN                    CLEARWATER PAPER CORPORATION
CHUN FUNG FOOTWEAR COMPANY LIM                    CLEVA HONG KONG LTD
CHUNGCHUNG CHEN                                   CLEVA NORTH AMERICA INC
CHURCH & DWIGHT CO INC                            CLEVE JACKSON SUPREME CLEANING
CHUTE CORPORATION                                 CLEVELAND BROTHERS EQUIPMENT C
CINCINNATI AIR CONDITIONING CO                    CLEVELAND COCA COLA BTLG CO IN
CINCINNATI BELL TELEPHONE                         CLEVELAND DAILY BANNER CLEVELAND
CINCINNATI ENQUIRER                               NEWSPAPERS INC
CINDY DALEY                                       CLEVERBUG INC
CINTAS                                            CLICKSOFTWARE
CINTAS CORPORATION NO 2                           CLICKTALE INC-707037
CINTAS SALES                                      C-LIFE GROUP
CIPS MARKETING GROUP                              CLIFFSTAR LLC
CIRCLE 8 LOGISTICS                                CLINIQUE LABORATORIES LLC PUER
CIRCLE LOCATION SERVICE INC AB                    CLINTON DAILY NEWS
CIRCLE R MECHANICAL INC                           CLM MIDWEST C & L MAINTENANCE
CISCO SYSTEMS                                     CLOCK ELECTRIC INC
CIT COMMERCIAL SERVICES                           CLOROX COMPANY OF PUERTO RICO
CITI CENTRE JEWELERS INC                          CLOROX SALES CO
CITIZEN OF EAST ALABAMA MAGNOL                    CLOSING CONSULTANT INC
CITIZEN TRIBUNE                                   CLOUDERA INC-693237
CITIZEN VOICE SCRANTON TIMES L                    CLOVER TECHNOLOGIES GROUP LLC
CITIZEN WATCH COMPANY OF AMERI                    CLOVERLEAF CHEMICAL COMPANY
CITRIX CITRIX SYSTEMS INC                         CLOVIS MEDIA
CITRIX-415042                                     CLUEN CORPORATION
CITRUS PUBLISHING                                 CLW DELIVERY
CITY CHOICE LIMITED                               CLYDE SNOW & SESSIONS
CITY OF HOPE                                      CMA CGM AMERICA
CITY OF TAMPA                                     CMI LIGHTING OF SOUTHERN VIRGI
CIVIL WORKS INC                                   COALFIRE SYSTEMS INC-708571
CIVITAS MEDIA                                     COAST APPLIANCE PARTS
CKK HOME DECOR LP                                 COAST SIGN
CLABBER GIRL CORPORATION                          COAST TO COAST COMPUTER PRODUCTS
CLANTON NEWSPAPERS INC CLANTON                    COASTAL SEAL COATING OF NWF IN
CLARABRIDGE INC                                   COASTLAND TIMES TIMES PRINTING
CLARABRIDGE INC-695085                            COATES ROOFING COMPANY INC
CLARION HOTEL                                     COCA COLA BEV CO GUAM INC
CLARK BEVERAGE GROUP INC KY                       COCA COLA BEVERAGES FLORIDA LL
CLARK HEINTZ TOOLS & EQUIPMENT                    COCA COLA BOTTLING CO
CLARKSBURG PUBLISHING CO                          COCA COLA BOTTLING CO HIGH COU
CLARKSTON MAINTENANCE CO B JOH                    COCA COLA BOTTLING CO OF NORTH
CLASSIC ACCESSORIES INC                           COCA COLA BOTTLING CO OF NY IN
CLASSIC INTERNATIONAL CO LTD                      COCA COLA BOTTLING CO UNITED I
CLASSIC SALES INC                                 COCA COLA BOTTLING COMPANY




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COCA COLA BTLG CO CONSOLIDATED                    COME LAND MAINTENANCE SERVICES
COCA COLA BTLG CO OF CA                           COMFORT REVOLUTION LLC
COCA COLA BTLG CO OF LOS ANGEL                    COMFORT SYSTEMS
COCA COLA BTLG CO OF NEW ENGLA                    COMFORT SYSTEMS USA SOUTHEAST
COCA COLA BTLG CO OF NORTH TEX                    COMMERCE OBJECTS
COCA COLA BTLNG CO CONSOLIDATE                    COMMERCE TECHNOLOGIES
COCA COLA ENT FLORIDA REGION                      COMMERCIAL APPEAL
COCA COLA PUERTO RICO BOTTLERS                    COMMERCIAL ASSET PRESERVATION
COCA COLA REFRESHMENTS                            COMMERCIAL BUSINESS FORMS INC
COCA-COLA                                         COMMERCIAL CLEANING SYSTEMS IN
COCAM INTL ENTERPRISES LTD                        COMMERCIAL DISPATCH PUBLISHING
COCAM INT'L ENTERPRISES LTD                       COMMERCIAL FIRE LLC BROOKS EQU
COCO JOS                                          COMMERCIAL MAINTENANCE INC FRA
CODA RESOURCES LTD-1011952116                     COMMERCIAL PLUMBING
CODE CONSULTANTS INCORPORATED                     COMMERCIAL PROPERTY MAINTENANC
CODE42 SOFTWARE INC-623561                        COMMERCIAL SOLUTIONS
CODY ENTERPRISE SAGE PUBLISHIN                    COMMERCIAL SWEEPING INC
COEFFICIENT MECHANICAL SYSTEMS                    COMMERCIAL SWEEPING SERVICES R
COEUR D ALENE PRESS HAGADONE C                    COMMISSION JUNCTION
COFFEE HOLDING CO INC                             COMMONPATH LLC
COGNIZANT TECHNOLOGY SOLUTIONS                    COMMONWEALTH PUBLISHING CO
COLEMAN CO INC                                    COMMUNICATIONS DIRECT INC-392811
COLEMAN COMPANY                                   COMMUNICATIONS SUPPLY
COLEMAN COMPANY INC                               COMMUNITY HOLDINGS OF MARYLAND
COLGATE PALMOLIVE                                 COMMUNITY HOLDINGS OF WV BECKL
COLGATE PALMOLIVE CO DISTR                        COMMUNITY NEWSPAPER
COLLECTION XIIX                                   COMMUNITY NEWSPAPER GROUP
COLLEGEVILLE CONTRACTING                          COMMUNITY NEWSPAPER HOLDINGS
COLLINS CO LTD                                    COMODO CA LIMITED-701068
COLLINS ROOFING INC                               COMOSOFT INC-702259
COLLISION REPAIR EDUCATION FOU                    COMPACTOR & BALER SERVICES WES
COLOMBINA DE PUERTO RICO LLC                      COMPASS ELECTRICAL SOLUTIONS L
COLOMER & SUAREZ INC                              COMPLETE BUILDING MAINTENANCE
COLOR INK                                         COMPLETE CAREER CENTER
COLOR SPOT NURSERIES INC                          COMPLETE CONCRETE INC
COLORADO COMMUNITY MEDIA MACAR                    COMPLETE ELECTRICAL SERVICES I
COLORADO MOUNTAIN NEWS MEDIA                      COMPLETE REFRIGERATION LLC
COLORADO PRODUCT CONCEPTS INC                     COMPORIUM COMMUNICATIONS
COLORADO REUSE AND SALVAGE DHF                    COMPUCOM SYSTEMS
COLORADO SPRINGS GAZETTE                          COMPUTER AND PRINTER SOLUTIONS
COLORADOAN MEDIA GROUP                            COMPUTER ENGINEERING ASSOCIATES INC-
COLORON JEWELRY INC                               217653
COLORS IN OPTICS LTD                              COMPUTERSHARE SHAREHOLDER SRV
COLUMBIA ASPHALT & GRAVEL INC                     CONAIR CORPORATION- PERSONAL C
COLUMBIA BASIN HERALD                             CONCORD MONITOR NEWSPAPER OF N
COLUMBIA DAILY TRIBUNE TRIBUNE                    CONCUR TECHNOLOGIES
COLUMBIA OMNICORP                                 CONDUENT
COLUMBIAN HOME PRODUCTS LLC                       CONDUENT BUSINESS SERVICES LLC
COLUMBIAN PROGRESS MARLAN PUBL                    CONFIRMIT INC-706216
COLUMBIAN PUBLISHING CO                           CONNECTICUT BOILER REPAIR & MA
COLUMBUS LEDGER-ENQUIRER                          CONNECTICUT RETAIL MERCHANTS A
COLUMBUS TELEGRAM                                 CONNECTICUT WOMENS CONTRACTING
COMBE INCORPORATED                                CONNECTSHIP
COMBINE INTERNATIONAL                             CONNERSVILLE PUBLISHING
COMCAST                                           CONNEXITY INC PG USA LLC




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CONNEY SAFETY PRODUCTS CO                         CORREA PALLET INC
CONNOISSEURS PRODUCTS CORP                        CORTLAND STANDARD
CONNORS FOOTWEAR                                  CORTZ APPARELS LTD
CONOPCO INC                                       CORVAL CONSTRUCTORS INC
CONSOLIDATED COMMUNICATIONS                       CORY HOME DELIVERY SERVICES OF
CONSOLIDATED DOORS INC                            COSCO SHIPPING LINES NORTH AMERICA
CONSOLIDATED ELECTRIC DIST INC                    COSCO SHIPPING NORTH AMERICA
CONSOLIDATED FIRE PROTECTION                      COSHOCTON COUNTY BEACON GOOD F
CONSOLIDATED MECHANICAL GROUP                     COSMO LIGHTING INC
CONSTANTINE CANNON LLP                            COSMOS DISTRIBUTING CO LTD
CONSTRUCTION MARKET DATA GROUP                    COSTA FARMS LLC
CONSUMER AFFAIRS CONSUMERS UNI                    COTT BEVERAGES USA INC
CONSUMER ELECTRONICS DISTRIBUT                    COTTON ELECTRIC SERVICE INC
CONSUMERS DIGEST COMMUNICATION                    COTY PR INC
CONTAINER SYSTEMS                                 COTY PRESTIGE
CONTINENTAL COMMERCIAL PRODUCT                    COTY US LLC
CONTINENTAL I FUND LP CONTINENTAL                 COUNTRYSIDE POWER SWEEPING
PROPERTIES COMPANY INC                            COUNTRYSIDE PROPERTY MAINTENAN
CONTINENTAL TIRE THE AMERICAS                     COURIER EXPRESS TIOGA PUBLISHI
CONTINENTAL TIRE THE AMERICAS LLC                 COURIER PUBLISHING CO
CONTRA COSTA HEALTH SERVICES C                    COURIER TIMES PAXTON MEDIA GRO
CONTRACT FREIGHTERS                               COURIER-JOURNAL
CONTROL FIRE PROTECTION INC                       COUTLET LLC
CONTROL TECH JAMES E RUNDEL                       COVANSYS
CONTROLS SERVICE & ENGINEERING                    COVENTRY WORKERS COMP SERVICES
CONVENIENCE CONCEPTS INC                          COVENTRY HEALTH CARE WORKERS
CONVERGINT TECHNOLOGIES LLC                       COMPEN
CONVERSANT                                        COVERS F C INC
COOKE COMMUNICATIONS                              COVINGTON & BURLING
COOKE COMMUNICATIONS LLC                          COVINGTON PUBLISHING COMPANY T
COOKSON HILLS PUBLISHERS INC                      COWLEY DISTRIBUTING INC
COOPER LIGHTING                                   COX NEWSPAPERS
COOPER SWEEPING & MAINTENANCE                     COX NORTH CAROLINA PUBLICATIONS
COOPER TIRE & RUBBER COMPANY                      COYNERS PARKING LOT CLEANING
COOPER TOOLS                                      COYOTE LOGISTICS
COPLEY OHIO NEWSPAPER                             CPC STRATEGY LLC
COPLEY OHIO NEWSPAPERS                            CPO COMMERCE LLC
COPYRIGHT CLEARANCE CENTER INC                    CPP INTERNATIONAL LLC
COQUI                                             CR BRANDS INC
CORAL REEF ASIA PACIFIC                           CRAIG ELECTRONICS INC
CORAL REEF ASIA PACIFIC LTD                       CRAIG FRAMES INC
CORBO LANDSCAPING INC                             CRAWFORD COUNTY AVALANCHE
CORDELE NEWSMEDIA LLC                             CRAYOLA LLC
CORE ORGANIZATION                                 CREATIVE ASSOCIATES LLC
CORECENTRIC SOLUTIONS INC                         CREATIVE BATH PRODUCTS INC
CORLIVING DISTRIBUTION LLC                        CREATIVE CASTER INC-131653474
CORNERSTONE SERVICES                              CREATIVE CIRCLE LLC MSCP V CC
CORNERSTONE STAFFING SMITH TEM                    CREATIVE CONNECTION LTD
CORNFIELDS INCORPORATED                           CREATIVE CONSTRUCTION & FACILITY
CORONA CURTAIN MFG INC                            CREATIVE ELECTRONICS AND SOFTW
CORPORATE CONCEPTS INC                            CREATIVE MARKETING GROUP INC
CORPORATE IMAGING CONCEPTS LLC                    CREEDENCE HOLDINGS LLC
CORPORATE REMEDIES INC                            CRESOX NORTH AMERICA LLC
CORPTAX INC                                       CRESTED BUTTE NEWS INC
CORPTAX INC-547612                                CRETE CARRIER




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CRISTALIA ACQUISITION CORP                        CYNTHIA REIMERS
CRITEO                                            CYPRESS MEDIA
CRITICAL MIX INC                                  D & D OFFICE SUPPLIES MIGUEL A
CROSMAN CORPORATION                               D & H DISTRIBUTING
CROSS COUNTY SHOPPING CENTER                      D & M STRIPING
CROSSCOM NATIONAL                                 D M F BAIT
CROSSMARK GRAPHICS                                D&J TRADING CO. LTD
CROSSMARK GRAPHICS-187261847                      D&N LANDSCAPE LLC
CROWDSOURCE SOLUTIONS INC                         DA YANG KNITTING FTY LTD
CROWE HORWATH LLP                                 DACO TRAILER LEASING INC
CROWLEY LINER SERVICES                            DADE PAPER & BAG
CROWN CRAFTS INFANT PRODUCTS                      DAILEY INSTALLATION INC
CROWN EQUIPMENT                                   DAILY ADVANCE COOKE COMMUNICAT
CROWN LIFT TRUCKS                                 DAILY AMERICAN
CROWN METAL MANUFACTURING                         DAILY ASTORIAN
CROWN PACKAGING CORP                              DAILY COMET
CROWN SERVICES INC                                DAILY COMMERCIAL CA FLORIDA HO
CRST INTERNATIONAL                                DAILY CORINTHIAN PAXTON MEDIA
CRUZ MOYA ELEVATOR CONSULTANTS                    DAILY DEMOCRAT CALIFORNIA NEWS
CRYOPAK INDUSTRIES (2007) ULC                     DAILY EVENING ITEM HASTINGS &
CRYPTZONE NORTH AMERICA INC-517891                DAILY FREEMAN JOURNAL OGDEN NE
CRYSTAL SPRINGS WATER D S WATE                    DAILY GATE CITY PUBLISHING DEM
CS GROUP                                          DAILY HAMPSHIRE GAZETTE
CSC CORPORATE DOMAINS INC                         DAILY HERALD
CSG CONSOLIDATED SERVICE GROUP                    DAILY HOME
CSI MEDIA LLC                                     DAILY INTERLAKE HAGADONE INVES
CSN STORES LLC                                    DAILY MINING GAZETTE OGDEN NEW
CSS INC                                           DAILY MOUNTAIN EAGLE CLEVELAND
CT CORPORATION SYSTEM                             DAILY NEWS
CT CORPORATIONS UCC DIRECT                        DAILY NEWS JOURNAL
CTI INDUSTRIES CORP SBT                           DAILY OKLAHOMAN
CTM ENTERPRISES INC                               DAILY POST ATHENIAN
CTR LAWN SERVICES CARMEN ROTON                    DAILY PRESS
CUDLIE ACCESSORIES LLC C                          DAILY RECORD
CUHACI & PETERSON CUHACI & PET                    DAILY REPORTER PUBLISHING
CUMMINS                                           DAILY REPUBLIC
CUMMINS PACIFIC                                   DAILY REVIEW LSN PUBLISHING CO
CUPCAKE CLOTHING LIMITED                          DAILY REVIEW SAMPLE MEDIA MSK
CUPID FOUNDATIONS INC                             DAILY SENTINEL
CURT FAUS CORPORATION                             DAILY STANDARD STANDARD PRINTI
CURVATURE LLC-417840                              DAILY SUN CONWAY DAILY SUN
CUSHMAN & WAKEFIELD INC                           DAILY SUN NEWS
CUSTOM CLIMATE LLC                                DAILY TIMES
CUSTOM LAWN CARE & LANDSCAPING                    DAILY TRIBUNE
CUSTOM LAWN SERVICE INC                           DAILY WORLD
CUSTOM MAINTENANCE SERVICES                       DAIRY TREK INC
CUSTOM PERSONALIZATION SOLUTIO                    DAISY MANUFACTURING COMPANY
CUSTOMER MINDED ASSOCIATES INC-202833             DAKOTA SQUARE MALL CMBS LLC
CUTTER GREEN LLC                                  DALHART TEXAN DALHART TEXAN ME
CUTTERS PLUMBING LLC ROBIN DON                    DALLAS COWBOYS MERCHANDISING L
CWORK SOLUTIONS                                   DALLAS MORNING NEWS
CYBER ARK SOFTWARE INC-706282                     DALLES CHRONICLE EAGLE NEWSPAP
CYBERTRON INTERNATIONAL INC                       DAM TECHNICAL SERVICES DAVID A
CYCLE FORCE GROUP LLC                             DAMCO
CYMAX STORES USA LLC                              DAN DEE INTERNATIONAL LTD




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DAN POST BOOT COMPANY                             DELIVERY PROS INC
DANA CLASSIC FRAGRANCES INC                       DELL
DANE TECHNOLOGIES INC-26070                       DELL FINANCIAL SERVICES
DANECRAFT INC                                     DELL MARKETING L P
DANIEL PAUL CHAIRS LLC-471029                     DELOITTE
DANNY & NICOLE                                    DELOITTE & TOUCHE
DANSON HONG KONG LTD                              DELOITTE TAX
DARIAN GROUP INC                                  DELSEY LUGGAGE INC
DARLING INTERNATIONAL                             DELTA CARBONA LP
DARREN BILBEY DELIVERY SERVICE                    DELTA CONSOLIDATED INDUSTRIES
DART CONTAINER CORP                               DELTA FIRE SYSTEMS
DART EQUIPMENT                                    DELTA FOREMOST CHEMICAL CORP
DART INTERNATIONAL A                              DELTA GALIL USA INC
DART TRANSIT COMPANY                              DELTA GLOBAL SOURCING LTD
DART WAREHOUSE                                    DELTA MARKETING
DATA PRINT TECHNOLOGIES INC                       DELTA MECHANICAL SERVICE CORPORATIO
DATAFLOW SERVICES CW & ASSOCIA                    DELTA NEWS CITIZEN
DATALOGIC AUTOMATION                              DELTA PACKAGING INC
DATAMAX-O'NEIL                                    DELTA-DEMOCRAT PUBLISHING
DATAMEER INC-696524                               DEM HOLDINGS INC
DATASPAN                                          DEM HOLDINGS,INC. DBA BETTER O
DATASTAX                                          DEMAR LOGISTICS
DAVID C AUSTEN C O GLADYS AUSTEN                  DEMATIC
DAVID CHRISTMAN                                   DEMERT BRANDS INC
DAVID E ALEXANDER JR                              DEMOCRAT & CHRONICLE TIMES
DAVID H MARTIN EXCAVATING INC                     DEMOCRAT PUBLISHING COMPANY
DAVID HUANG                                       DENTALCARE PARTNERS INC
DAVID L MEYER                                     DENTONS US
DAVID R WOODSON                                   DENVER POST
DAVIS MECHANICAL SERVICE INC                      DEPORTES SALVADOR COLOM INC
DAVIS WRIGHT TREMAINE LLP                         DEPREY COMPANY SIRVER A DEPREY
DAWN TIL DUSK LAWN CARE LLC DT                    DES MOINES REGISTER
DAY PUBLISHING COMPANY                            DESCARTES SYSTEMS
DAYTON APPLIANCE PARTS CO                         DESERT EXTRUSION CORP
DBK CONCEPTS                                      DESERT EXTRUSION CORP EMP
DC SERVICE SOLUTIONS LLC                          DESERT EXTRUSION CORPORATION
DCT SPECIAL PROJECTS INC                          DESERT SUN PUBLISHING
DDP ROOFING SERVICES                              DESIGN INTERNATIONAL GROUP INC
DE LA CRUZ AND ASSOCIATES                         DESIGN TEES HAWAII INC
DE QUEEN BEE COMPANY MENA WALD                    DESIGNCO
DE VORE INDUSTRIES INC                            DESIGNER PROTEIN LLC
DEAN FOODS NORTH CENTRAL LLC                      DESIGNPAC GIFTS LLC
DEBELLIS PAINTING SERVICES                        DETERGENT 2.0 LLC
DEBRA J BARRETT                                   DETROIT LAKES TRIBUNE FORUM CO
DEBRA-KUEMPEL                                     DETROIT NEWS
DECISIONFOCUS                                     DEVELOPLUS INC
DEEM LLC                                          DEWAN & SONS
DEER PARK TRIBUNE HORIZON WA P                    DEWITT TRANSPORTATION SVCES DE
DEES PAPER COMPANY INC                            DGC CAPITAL CONTRACTING
DEL RIO NEWS HERALD SOUTHERN N                    DGS IMPORT
DELAHOYDE PROJECTS STEVEN THOM                    DHRUV GLOBALS LTD
DELANO BUILDING MATERIALS                         DIAKON LOGISTICS
DELANO PALLET RECYCLING INC                       DIAL CORPORATION
DELAWARE VALLEY PAVING                            DIAMOND COSMETICS INC
DELIVERIES BY TODD INC                            DIARIO LAS AMERICAS LAS AMERIC




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DIBA FAR EAST LLC                                 DONGGUAN HAOYUN SHOES LIMITED
DICE HOLDINGS INC                                 DONNELLEY FINANCIAL SOLUTIONS
DICK KREIMBORG LLC JAMES R KRE                    DOOR AUTOMATION INC
DICKERSON & QUINN                                 DOOR CONTROLS
DICKIE TOYS HONG KONG LTD                         DOOR SYSTEMS
DICKINSON NEWSP FORUM COMMUNIC                    DOOR TECH OF NASHVILLE INC WMK
DIEBOLD INC                                       DOORS INC
DIGITAL COMPLEX INC                               DORCY INTERNATIONAL
DIGITAS                                           DORCY INTERNATIONAL INC
DILIGENT HOSPITALITY LLC                          DOREL ASIA INC
DINSMORE & SHOHL LLP                              DOREL ASIA SRL
DIPLOMAT SPECIALTY PHARMACY                       DOREL INDUSTRIES INC
DIRECTIONS STUDIO LLC                             DOREL JUVENILE GROUP INC
DISPLAY DATA                                      DOREL JUVENILLE GROUP INC
DISPLAY SPECIALISTS                               DOREL USA INC
DISSTON COMPANY                                   DOREYS QUALITY LAWN CARE
DIST CALZADO DE 1RA CLASE SA D                    DORMA
DISTRIBUTION INTEGRATED SERVIC                    DORMAN PRODUCTS INC
DISTRIBUTION INTEGRATED SERVICES                  DOROTHY COMBS MODELS INC
DIVERSIFIED DYNAMICS CORP                         DORVIN D LEIS CO INC
DIVERSIFIED GLOBAL TECHNOLOGIE                    DOSIS FRAGRANCES LLC
DIVERSIFIED MAINTENANCE                           DOSKOCIL MFG COMPANY DBA PETMA
DIVERSIFIED MAINTENANCE SYSTEMS                   DOUGLAS EDWARDS
DIVERSIFIED MEDIA GROUP LLC-128595506             DOUGLAS ENTERPRISES TRT DOUGLA
DIVERSIFIED PRINT GROUP LLC-706030                DOUGLAS PROPERTY SERVICES LLC
DIVISION 1 GROUND MAINTENANCE                     DOUGLAS W PITCHFORD GREATER HO
DIVISION 21                                       DOVER GREASE TRAP INC
DIVISIONS INC MAINTENANCE GROU                    DOVER POST
DIXON ACOSTA                                      DOW JONES LMG STOCKTON
DIXON TICONDEROGA CO                              DPI INC
DLA PIPER US LLP                                  DPS BEVERAGES INC
DLZP GROUP LLC-70993812                           DR FRESH INC
DM MERCHANDISING INC                              DR MARTENS AIRWAIR USA LLC
DMC INC DYNAMIC MOTION CONTROL                    DR MARTENS AIRWIAR USA LLC
DMC SERVICE INC                                   DR PEPPER SNAPPLE GROUP
DMI FURNITURE INC                                 DRAKE STAFFING SERVICES CHARLE
DML MARKETING                                     DRAWBRIDGE INC
DNA MODEL MANAGEMENT INC DNA M                    DRC ENGINEERING INC
DO IT CORPORATION-72339518                        DRINKER BIDDLE & REATH LLP
DOCK & DOOR HANDLING SYSTEMS I                    DRIVE CHANGE LLC
DOCKERS FOOTWEAR                                  DRIVELINE RETAIL MERCHANDISING
DOCUMENT TECHNOLOGIES DTI                         DRIVERS ALERT
DOCUSIGN INC                                      DRIVEWAY MAINTENANCE INC ALL DADE
DODGE CITY DAILY GLOBE                            DRIVEWAY MAINTENANCE
DODGE COUNTY NEWS MIDDLE GEORG                    DRM INC
DOERNER SAUNDERS DANIEL & ANDE                    DROPBOX INC
DOHENYS LLC                                       DRUM LLC
DOLCE VITA FOOTWEAR                               DS WATERS OF AMERICA LP
DOLCE VITA INTIMATES LLC                          DSTILLERY INC
DOMINION POST WEST VIRGINIA NE                    DTE ENERGY COMPANY
DOMO INC                                          DU PAGE INDUSTRIES INC
DOMO INC-60840274                                 DUBLIN COURIER HERALD
DON HILLMAN INC                                   DUKE REALTY LP
DON TO DUSK & SON LLC                             DULING TRADING CO LTD
DONGBU DAEWOO ELECTRONICS AMER                    DULUTH NEWS TRIBUNE




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DULZURA BORINCANA INC                             EASTMAN EXPORTS GLOBAL CLOTHIN
DUMA LANDSCAPING ROGEL DUMA                       EATEL
DUN & BRADSTREET                                  EATON CORPORATION-830991832
DUNBAR ARMORED                                    EAU CLAIRE AUTO PARTS
DUNBAR SECURITY PRODUCTS                          EBAY
DUNHAM CONSTRUCTION                               ECHO BRIDGE ACQUISITION CORP L
DUNLOP SPORTS GROUP AMERICAS                      ECLECTIC PRODUCTS INC
DURACELL DISTRIBUTING INC                         ECM PUBLISHERS INC
DURANT DAILY DEMOCRAT CIVITAS                     ECO APPLIANCES
DURO BAG MFG CO                                   ECO FIBRE FURNISHING
DURO BAG MFG CO DURO HILEX POL                    ECO FLO PRODUCTS INC
DURST TRUCKING                                    ECODYNE
DWYER CAMBRE & SUFFERN                            ECOLAB INC
DXAGENCY                                          ECONOCO CORPORATION-641332
DYKEMA GOSSETT                                    ECONOMY RENTAL MS ECONOMY RENT
DYNAMIC MECHANICAL HEATING & A                    ECOVA
DYNAMIC VENTURES INC                              ECOWATER SYSTEMS
DYNASTY APPAREL CORP                              ECS GLOBAL INC-710252
DYNATRACE LLC-79778873                            ECS TUNING LLC
DYSON INC                                         EDDIES ELECTRIC EDWARD S YOUNG
E & B GIFTWARE LLC                                EDEALSZONE LLC
E & E CO LTD                                      EDGE BRANDS LIMITED
E AND C CUSTOM PLASTIC                            EDGEWELL PERSONAL CARE PR INC
E CHABOT LTD                                      EDITH ROSARIO
E E MILLS & SONS INC                              EDITORA PASO DEL NORTE
E GADGET GROUP INC                                EDUSHAPE LTD
E GLUCK CORPORATION                               EDWARDS ELECTRICAL & MECH INC
E MC ELECTRICAL SERVICES GREEN                    EDWARDSVILLE PUBLISHING
E T BROWNE DRUG CO INC                            EFI GLOBAL
E W SCRIPPS                                       EIGHTY ONE ENTERPRISE INC
E Z PRODUCTS OF SOUTH FLORIDA                     EKQ CLEANING SERVICES INC
E3LOCAL MARKETING SOLUTIONS TE                    EL DORADO NEWS TIMES
EA OUTDOOR SERVICES                               EL INFORMADOR DEL VALLE HECTOR
EAGLE ENT INC                                     EL LATINO NEWSPAPERS
EAGLE HERALD PUBLISHING LLC                       EL MANANA INC
EAGLE LEASING                                     EL PASO ROOTER GASPAR A RAMIRE
EAGLE NEWSPAPERS INC OMAK CHRO                    EL PASO TIMES
EAGLE PASS BUSINESS JOURNAL IN                    EL TORO CARMESI LLC
EAGLE PRINTING & PUBLISHING LL                    EL VOCERO DE PUERTO RICO PUBLI
EAGLE PRINTING CO                                 ELAN POLO
EAGLE PUBLISHING CO INC                           ELARASYS WORLDWIDE LLC-1042010160
EAGLE TRIBUNE E                                   ELAVON INC-664797
AGLE TRIBUNE PUBLISHING CO                        ELC
EARLY MORNING LONE STAR ROSE N                    ELCO LABORATORIES DIV CHGO AER
EARTHGRAINS BAKING COMPANIES I                    ELDON W GOTTSCHALK & ASSOCIATES
EAS ENTERPRISES SKIER EAS INC                     ELECTRICAL SOLUTIONS OF OKLAHO
EAST ASIA ARTIC FLOWERS FTY CO                    ELECTROLINE WHOLESALE ELECTRON
EAST COAST COMPACTOR CORP                         ELECTROLUX HOME PRODUCTS
EAST COAST NEWSPAPERS                             ELECTRONIC FUNDS TRANSFER INC
EAST PENN MANUFACTURING                           ELECTRONIC RECYCLERS INTL INC
EAST PENN MANUFACTURING CO INC                    ELEVATE LLC
EASTCOAST EXECUTIVE LIMOUSINE                     ELITE CREATIVE SOLUTIONS LLC-783123966
EASTERN LIFT TRUCK CO INC                         ELITE MAINTENANCE & CONSTRUCTI
EASTERN PRIME TEXTILE LIMITED                     ELITE MODEL MANAGEMENT LLC
EASTERN SHORE POST INC NEW POS                    ELITE SNOW REMOVAL ELITE COMME




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
ELIXIR TECHNOLOGIES CORPORATION-                  ENVIRONMENTAL PRODUCTS & SERVICES
710720                                            OF ROCHESTER
ELIZABETH ARDEN INC                               ENVIRONMENTAL PROTECTION INDUS
ELK CITY DAILY NEWS                               ENVISION GRAPHICS LLC
ELKHART TRUTH PAXTON MEDIA GRO                    ENVISION GRAPHICS LLC-1071001791
ELKINS INTER-MOUNTAIN                             ENVISIONS LLC
ELKO DAILY FREE PRESS                             EPI GROUP
ELLIOTT LEWIS CORP                                EPI PRINTERS
ELLISON FIRST ASIA LLC                            EPIC DESIGNERS LIMITED
ELLSWORTH AMERICAN                                EPICOR SOFTWARE
ELOYALTY                                          EPSILON DATA MANAGEMENT
EMAG SOLUTIONS                                    EPTA AMERICA LLC
EMARKETER INC-694544                              EQUEST LLC
EMC                                               EQUINOX
EMCOR SERVICES                                    EQUIPARTS CORP-1000738690
EMCOR SERVICES INTEGRATED SOLUTIONS               ERACENT INC-429050
EMERSON ELECTRIC CO                               ERATH PUBLISHERS
EMERSON HEALTHCARE LLC                            ERIC JAY LTD
EMERSON NETWORK POWER LIEBERT                     ERIK BIANCO
SERVICES                                          ERNST & YOUNG
EMG CLAMPETT INDUSTRIES LLC                       ERP ADVISORS GROUP-708020
EMKAY INC                                         ERWIN PENLAND
EMMSPHERE LLC                                     ESB P R CORP SBT
EMPAQUES DEL CARIBE CORP                          ESB P R CORP SBT
EMPIRE DISTRIBUTORS EJD ENTERP                    ESCALADE SPORTS
EMPLOYMENT ADVISORY SERVICES I                    ESCOBAR MAINTENANCE SERVICE JO
EMPLOYMENT EMPLOYMENT SOLUTION                    ESCREEN
EMPORIA GAZETTE WHITE CORPORAT                    ESI CASES & ACCESSORIES INC
EMPRESAS VELAZQUEZ                                ESI MAINTENANCE INC
EMT INDUSTRIAL SERVICES EDWARD                    ESPN ENTERPRISES INC
ENABLEVUE LLC-710768                              ESQUEL ENTERPRISES LTD
ENC NEWSPAPERS                                    ESQUIRE DEPOSITION SOLUTIONS L
ENCHANTE ACCESSORIES INC                          ESRI INC ENVRMNTL SYST RSRCH INST-
ENCO MANUFACTURING CORP                           1000129295
ENCYCLE TECHNOLOGIES INC-700669                   ESSENCE CORP
ENDEAVOR TOOL COMPANY LLC                         ESSENDANT CO
ENERGY CONTRACTORS S E AMAURY                     ESSENPREIS PLUMBING & HEATING
ENERSYS                                           ESSICK AIR PRODUCTS
ENERVISE INCORPORATED                             ESTHERVILLE PUBLICATIONS INC D
ENERVISE LLC                                      E-TEEN MARKET LIMITED
ENGINEERED COMFORT SYSTEMS                        ETERNAL BEST INDUSTRIAL LTD
ENGINEERED COOLING SERVICES                       ETERNAL FORTUNE FASHION LLC
ENGLE PRINTING & PUBLISHING CO                    ETHOCA LIMITED-705434
ENGLEWOOD MARKETING GROUP INC                     ETHORITY LLC TALX CORPORATION
ENGLISH COMPUTER CONSULTING LTD-                  EUGENE ARMSTRONG EUGENE MARK
8892234                                           ARMSTRONG
ENRIGHT COMPANIES LLC ENRIGHT                     EUGENE F KOCH
ENTECH SALES SERVICES                             EUGENE W HANKEE & SON INC
ENTERPRISE GROUP                                  EUNICE NEWS LSN PUBLISHING COM
ENTERPRISE JOURNAL J O EMMERIC                    EUREKA CO
ENTERTAINMENT RADIO NETWORK LLC                   EURO PRO SALES COMPANY
ENTRANCE TECHNOLOGIES INC                         EUROPEAN HOME DESIGNS LLC
ENVIRO WATER SOLUTIONS LLC                        EUROPEAN TANNING SYSTEMS
ENVIROCON TECHNOLOGIES INC                        EVANSVILLE COURIER & PRESS
ENVIRONMENTAL DRAIN & PLUMBING                    EVENFLO COMPANY INC




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EVENFLO FEEDING INC                               FACT AUTOMATED ENTRANCES
EVENFLO JUVENILE FURN CO                          FACTIVA
EVENING LEADER HORIZON OHIO PU                    FACTOR MODEL MANAGEMENT
EVERBLOOM GROWERS INC SBT                         FACTORY OUTLET STORE
EVEREST GROUP USA INC                             FACTSPAN INC-703174
EVERETT GOODRICH INC EVERETT G                    FAEGRE BAKER DANIELS LLP 2200
EVERGREEN SHIPPING AGENCY AMERICA                 FAILSAFE MEDIA COMPANY INC
EVERLAST SPORTS MFG CORP                          FAIMON PUBLICATIONS
EVERLAST WORLDS BOXING CORP RO                    FAIR TRADE CONSULTING
EVINE LIVE INC                                    FAIRBANKS DAILY NEWS MINER INC
EVITEX APPARELS LIMITED                           FAIRBORN MID ATLANTIC FAIRBORN
EVY OF CALIFORNIA INC                             FAIRFIELD LEDGER WMPF INC
EWI WORLDWIDE EWI WORLDWIDE IN                    FAIRMONT TIMES WEST VIRGINIA N
EWI WORLDWIDE-96958533                            FAIRPOINT COMMUNICATIONS INC
EX CELL HOME FASHIONS INC                         FALCUM SERVICE
EXACTEC-525464                                    FALLING STAR LANDSCAPE INC
EXADEL                                            FAMILY FIRST PHARMACEUTICALS I
EXCEL BUILDING SERVICES                           FAMOSA NORTH AMERICA INC
EXCEL INTERNATIONAL INC                           FANATICS INC OPERATING ACCOUNT
EXCEL TECHNOLOGIES TIM FOSTER                     FANTASIA ACCESSORIES LTD
EXCELSIOR PUBLISHING COMPANY D                    FARIDA SHOES PVT LTD
EXCHANGE INC                                      FARRIS LAWN CARE BOBBY L FARRI
EXCLUSIVE ARTIST MANAGEMENT IN                    FASHION ACCENTS LLC
EXHIBIT HOUSE JOB MANAGEMENT                      FASHION ACCESSORY BAZAAR LLC
EXIDE TECHNOLOGIES                                FAST FINGERS LIFT SVCS (PARTS
EXIST INC                                         FAST FORWARD LLC
EXMART INTERNATIONAL PVT LTD                      FASTENAL
EXPEDITORS INTERNATIONAL                          FASTTRACK STAFFING INC
EXPERIAN EXPERIAN INFORMATION                     FATPIPE INC
EXPO COMMUNICATIONS INC EXPO T                    FAULTLESS STARCH BON AMI CO
EXPO COMMUNICATIONS INC-652958                    FAYETTE CITIZEN FAYETTE PUBLIS
EXPRESS SERVICES INC                              FAYETTE COUNTY RECORD INC
EXQUISITE APPAREL CORP                            FAYETTEVILLE OBSERVER DB NORTH
EXTECH INSTRUMENTS CORPORATION                    FEATHER PUBLISHING
EXTOLE INC                                        FEDERAL BUILDING SERVICES INC
EXTREME CONCEPTS LLC                              FEDERAL EXPRESS
EXTREME NETWORKS                                  FEDERAL WAGE & LABOR INSTITUTE
EXXEL OUTDOORS INC                                FEDERAL WARRANTY SERVICES
EXXEL OUTDOORS LLC                                FEDEX
EZ FLO INTERNATIONAL INC                          FELIPE DE JESUS GALVAN HERNAND
EZ MAINTENANCE SERVICES LLC                       FENG TAI FOOTWEAR CO LTD
EZRASONS INC                                      FERNANDO C PUJALS & BROS INC
F & F CONSTRUCTION                                FERNANDO NINO
F & J SERVICE CO                                  FERNANDOS BAKERY INC
F & M TOOL & PLASTICS                             FEROZA GARMENTS LTD
F & P MECHANICAL F AND P MECHA                    FERRANDINO & SON
F & T APPAREL LLC                                 FERRELLGAS
F C L GRAPHICS INC-1069979623                     FERRERO INC
F W WEBB COMPANY                                  FERROL TRUCKING SERVICES INC
FABRICA DE CALZADO PLASCENCIA                     FETCH FOR COOL PETS LLC
FACEBOOK                                          FFR INC FASTENERS FOR RETAIL C
FACILITIES SOLUTIONS LLC CONST                    FGO DELIVERIES LLC FGO LOGISTI
FACILITY PRODUCTS AND SERVICES                    FGX INTERNATIONAL INC
FACILITY SERVICES OF AMERICA                      FHK CONSTRUCTION LLC
FACILITY SOLUTIONS GROUP                          FIBRE CRAFT MATERIALS CORP




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FIBRIX LLC                                        FLYNN ENTERPRISES LLC
FIBRIX LLC BUFFALO BATT DIV                       FM GENERATOR INC
FIDELITONE                                        FMH CONVEYORS
FIDELITONE INC                                    FMI
FIDELITY ENTERPRISES LTD                          FMI INC
FIDENS ENTERPRISES LLC JORGE L                    FNA S.P.A.
FIELD MANUFACTURING                               FOCUS DAILY NEWS
FILA USA INC                                      FOLEY COMPANY
FILO AMERICA                                      FOLKRAFT CO LTD
FILTER LLC ATTENTION ACCOUNTS                     FOLSOM SERVICES
FINDLY LLC                                        FOOD WAREHOUSE CORP
FINELINE                                          FOOTWEAR DISTRIBUTORS AND RETA
FINEST FOODS DISTRIBUTING CO                      FOOTWEAR SPECIALTIES INTERNATI
FINGER LAKES TIMES FINGER LAKE                    FOR LIFE PRODUCTS LLC
FINGERPRINT COMMUNICATIONS                        FORD MODELS
FINISH LINE TECHNOLOGIES INC                      FORESEE RESULTS
FIRE SYSTEMS PLUS RICHARD E JO                    FOREST SERVICES INC
FIRE TECH INC                                     FOREVER INTERNATIONAL (TAIWAN)
FIREFOE CORP FIRE FOE CORPORAT                    FORNEY INDUSTRIES INC
FIRST AMERICAN HOME BUYERS PRO                    FORRESTER RESEARCH INC
FIRST CHOICE COFFEE SERVICES D                    FORRESTER RESEARCH INC-1087806399
FIRST CHOICE SWEEPING AND LAND                    FORSYTHE SOLUTIONS GROUP
FIRST DATA TECHNOLOGIES                           FORT BEND HERALD AND TEXAS COA
FIRST IMPRESSIONS PRINTING FIP                    FORT BRAGG ADVOCATE NEWS CALIF
FIRST POINT MECHANICAL SERVICE                    FORT STOCKTON PIONEER BIG BEND
FIRST QUALITY CONSUMER PRODUCT                    FORT WAYNE NEWSPAPERS INC
FIRST TEXAS PRODUCTS LLC                          FORTUNE CREATION COMPANY LIMIT
FISHER & PHILLIPS                                 FORUM ANALYTICS A CBRE COMPANY
FISHER PRICE BDS A DIV OF MDII                    FORUM COMMUNICATIONS
FISHER UNITECH-1362049892                         FOSSIL INC
FISHER-PRICE                                      FOSTER FARMS DAIRY CO
FISHMAN PUBLIC RELATIONS                          FOTORAMA USA LLC
FISKARS BRANDS INC                                FOUR J S DEVELOPMENT TOOLS INC-254024
FISKARS GARDEN TOOLS INC                          FOUR SEASONS DESIGN INC
FIT & FRESH INC                                   FOWNES BROTHERS & CO INC
FIT AND FRESH INC                                 FOX APPLIANCE PARTS OF ATLANTA
FITNESS SOLUTIONS                                 FOX LUGGAGE INC
FITZPATRICK LENTZ & BIBBA PC                      FOX ROTHSCHILD LLP
FIXTURE HARDWARE                                  FP INTERNATIONAL
FLAMBEAU INC                                      FPC CORPORATION
FLEET STREET LTD                                  FRAGOMEN DEL REY BERNSEN & LOEWY
FLEET TRAILER LEASING INC                         FRAHLER ELECTRIC COMPANY
FLEXPRINT LLC FLEXPRINT INTERM                    FRANCHISE OPPORTUNITIES NETWOR
FLEXXPERTS-588673                                 FRANCO MFG CO
FLOCK FREE BIRD CONTROL SYSTEM                    FRANCONNECT LLC
FLORIDA CONSTRUCTION EXPERTS I                    FRANKFORT PUBLISHING STATE JOU
FLORIDA PNEUMATIC MANUFACTURIN                    FRANKLIN SPORTS INDUSTRIES INC
FLORIDA PNEUMATIC MFG CORP                        FRANKLIN T COTTON
FLORIDA RETAIL FEDERATION                         FRANKLIN TIMES FRANKLIN COUNTY
FLORIDA SUN PUBLICATIONS LAKEW                    FRED E DEYHLE FREDERICK E DEYH
FLORIDA TODAY                                     FREDDY DUNCAN & SONS MOVING & STORA
FLOWERS BAKING CO OF VILLA RIC                    FREDERICK NEWS POST RANDALL FA
FLUKE ELECTRONICS                                 FREDERICKSBURG PUBLISHING CO
FLUKE ELECTRONICS CORPORATION                     FREE LANCE STAR BH MEDIA GROUP
FLYING UP INTERNATIONAL LIMITE                    FREE PRESS PUBLISHING INC




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FREEBORN & PETERS LLP                             GARDNER DENVER
FREEDOM CALIFORNIA VILLE PUBLISHING               GARDNER INC
COMPANY                                           GARDNER NEWS
FREEDOM COMMUNICATIONS                            GARLAND SALES INC
FREEMAN EXPOSITIONS                               GARTNER GROUP INC
FREEMAN SIGNS INC                                 GARTNER REFRIGERATION COMPANY
FRENCHTOAST.COM LLC                               GARY JORGENSEN
FRESHKO PRODUCE SERVICES                          GARY R CLIFT
FRIEND SMITH & CO INC                             GATEHOUSE
FRIEND SMITH & CO INC FRIEND S                    GATEHOUSE MEDIA
FRIGIDAIRE COMPANY                                GATEKEEPER SYSTEMS INC-171884
FRILOT LLC                                        GATESVILLE MESSENGER
FRITO LAY INC                                     GATEWAY FAIRVIEW INC
FRONT STREET FS FRONTSTREET FA                    GATEWAY PHARMACY NETWORKS LLC
FRONTIER COMMUNICATIONS                           GATTI PLUMBING INC
FRONTIER KNITTERS PVT LTD                         GAUSS COMMUNICATIONS-156958766
FRONTLINE PRODUCTS INC                            GAWKER MEDIA LLC
FROSTING FROSTING STUDIO                          GAZEBO PENGUIN INC
FRUIT OF THE EARTH INC                            GAZETTE COMMUNICATIONS INC
FSA NETWORK                                       GAZETTE PUBLISHING CO BEDFORD
FSI ARCHITECTURE                                  GBG BEAUTY LLC
FTI CONSULTING                                    GC RANCHERS INC
FUCILE & REISING LLP                              GCE INTERNATIONAL INC
FUJIAN APEX INT TRADING CORP L                    GCI COMMUNICATION CORP
FUJIAN APEX INTL TRAD CORP LMT                    GD GALANZ MICROWAVE ELE APP
FUJIAN JUNDA SPORTS GOODS CO L                    GD HAIXING PLASTIC & RUBBER CO
FULL POWER ELECTRICAL CORP                        GEAUGA DOOR SALES AND SERVICE
FULL SERVICE BEV CO OF COLORAD                    GECKOBYTE INC-142399620
FULLCONTACT                                       GEELONG SALES MCO LIMITED
FUN2PLAY TOYS LLC                                 GEISS DESTIN & DUNN INC
FUNDERBURK ROOFING INC                            GELCO
FUZHOU HARVEST LAND INDUSTRY C                    GELMART INDUSTRIES INC
FW ASPHALT FRED WOLLER                            GEM GUAM CORPORATION
G & K SERVICES                                    GEMMY INDUSTRIES (HK) LTD B.V.
G A GERTMENIAN & SONS LLC                         GENERAL BUILDING SERVICES INC
G B TOOLS & SUP INC                               GENERAL CONTRACTING & MAINTENA
G H PRODUCTIONS INC                               GENERAL ELECTRIC
G&J PEPSI COLA BOTTLING CO                        GENERAL ELECTRIC COMPANY
GA COMMUNICATIONS                                 GENERAL FACILITY SERVICE
GADSDEN TIMES                                     GENERAL FOAM PLASTICS CORP
GAGE ROOFING & CONST INC                          GENERAL INTL POWER PRODUCTS LL
GAIL FORD GAIL L FORD                             GENERAL LION FOOTWEAR (INTL) L
GAIN STRONG INDUSTRIAL LIMITED                    GENERAL MARKETING SOLUTIONS LL
GAINESVILLE SUN PUBLISHING                        GENERAL MILLS INC
GALILEO GLOBAL BRANDING GROUP                     GENERAL PAINT & MANUFACTURING
GALLAGHER FIRE EQUIPMENT CO                       GENERAL TOOLS MFG CO INC
GALLO WINE CO & VINTAGE WINE C                    GENERAL TOOLS MFG CO LLC
GALVESTON DAILY NEWS GALVESTON                    GENERIS TEK INC
GANNETT                                           GENESEE GLASS & MIRROR
GANNETT SATELLITE INFORMATION                     GENESEE VALLEY PENNY SAVER
NETWORK                                           GENESYS TELECOMMUNICATION LABS INC-
GARDA CL WEST                                     634121
GARDEN CITY TELEGRAM                              GENPRO INTERNATIONAL INC
GARDEN STATE GROWERS                              GEORGE HOWE CO INC
GARDINER C VOSE INC                               GEORGE J KULIK PE PC




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GEORGE LEWIS                                      GOKALDAS EXPORTS LTD
GEORGETOWN COMMUNICATIONS                         GOLD COUNTRY MEDIA AUBURN JOUR
GEORGETOWN NEWS GRAPHIC GEORGE                    GOLD EAGLE CO
GEORGIA PACIFIC CORRUGATED                        GOLD LLC
GEORGIA SUBSEQUENT INJ TRUST F                    GOLD MEDAL PROD CO
GEOSPATIAL EXPERTS-694813                         GOLD PRAIRIE LLC
GERARD DESIGN INC                                 GOLD PRAIRIE LLC-1189295707
GERBER CHILDRENSWEAR LLC                          GOLDBERGER INTERNATIONAL LTD
GERBER LEGENDARY BLADES                           GOLDEN VANTAGE LLC
GERST CONTRACTING INC                             GOLDMAN ANTONETTI & CORDOVA
GETABSTRACT INC                                   GOLDSBORO NEWS ARGUS WAYNE PRI
GETTY IMAGES INC                                  GOLF GIFTS & GALLERY
GEVERS PAVING CO INC                              GOLIATH GAMES LLC
GEXPRO GENERAL SUPPLY & SERVIC                    GONZALES WEEKLY CITIZEN
GFR MEDIA                                         GOOD HUMOR ICE CREAM
GFX INTERNATIONAL                                 GOOD NEWS SUBURBAN COMMUNICATI
GGPLP REAL ESTATE INC                             GOODY PRODUCTS INC
GI SPORTZ DIRECT LLC                              GOOGLE
GIBSON OVERSEAS INC                               GOPLUSCORP
GIDEONS & GRECO PLUMBING CO INC                   GORSKI AND OSTERHOLDT
GIDEONS SOURCE OF KANSAS INC                      GOSHEN NEWS NEWSPAPER HOLDINGS
GIFTMAKER SYSTEMS LLC                             GOSSI INC
GILBERT EXPRESS                                   GOTAPPAREL
GILDAN USA INC                                    GOVERNMENT OF THE VIRGIN ISLAN
GILLAM & SMITH LLP                                GOYA DE PUERTO RICO INC
GINSEY INDUSTRIES INC                             GOYA FOODS INC
GITLAB INC-87987115                               GPD ASSOCIATES
GIZA SPINNING AND WEAVING CO                      GPS PLUMBING GARDING PLUMBING
GLAM MEDIA INC                                    GR CONTRACT SERVICES
GLAMOUR CORPORATION                               GR ELECTRICAL SERVICES INC
GLAMOUR PRESTIGE CORP                             GRACIOUS LIVING
GLASS AGENCY                                      GRACO CHILDRENS PRODUCTS INC
GLAXOSMITHKLINE CONSUMER HEALT                    GRANADA SALES CORP
GLD GROUP                                         GRAND BASKET CO INC
GLE ASSOCIATES                                    GRAND BONANZA ENTERPRISE INC
GLEN FARMER                                       GRAND ENTRANCE-607366
GLIDE RITE CORPORATION-703543                     GRAND FLY DISPLAY PROD (SZ) CO
GLIDER CO LTD                                     GRAND FORKS HERALD
GLOBAL ADVANTAGE TRADING & IMP                    GRAND HOME HOLDINGS INC
GLOBAL CONCEPTS LIMITED INC                       GRAND ISLAND INDEPENDENT BH ME
GLOBAL DESIGN CONCEPTS INC                        GRAND JUNCTION MEDIA
GLOBAL ELECTRIC RZB INC                           GRAND LUCK FUJIAN FOOTWEAR CO
GLOBAL EXPERIENCE SPECIALISTS                     GRAND ORIENTAL INTL (HK) CO LT
GLOBAL LOGISTICS INC GLOBAL XP                    GRAND RAPIDS NEWSPAPERS
GLOBAL PRODUCT RESOURCES INC                      GRAND VALLEY DELIVERY LLC
GLOBAL WAY ACCESSORIES LLC                        GRANDSTEP (HK) LTD
GLOBANT                                           GRANITE CITY ARMORED CAR INC
GLOUCESTER MATHEWS GAZETTE JOURNAL                GRANITE TELECOMMUNICATIONS
GMC CONTRACTORS INC                               GRANT LEIGHTON ASSOC OF TX
GO2PAPER                                          GRAPHIC MEASURES INC GRAPHIC M
GODFATHERS SPORTSWEAR E L FONT                    GRAPHIC TEAM INC
GODS LITTLE GIFTS                                 GRASSLAND FOOD & SNACK LLC
GOFFA INTERNATIONAL CORPORATIO                    GRASSWORX
GOGO INTERNATIONAL PVT LTD                        GREAT AMERICAN DUCK RACES INC
GOJO INDUSTRIES INC                               GREAT BEND TRIBUNE MORRIS NEWS




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GREAT FALLS TRIBUNE                               GRUPO RUZ, S.A. DE C.V.
GREAT LAKES COCA COLA DIST LLC                    GRUSPI CONSULTING INC
GREAT LAKES TECHNOLOGIES LLC                      GSD INTERNATIONAL ENTERPRISES
GREAT MOUNTAIN WEST SUPPLY INC                    GSF
GREATER DALLAS CONSTRUCTION                       GSF BUILDING SYSTEMS-1000829093
GREATER NIAGARA NEWSPAPERS COM                    GSL GRAPHIC SOLUTIONS LLC
GREATER W B IND FUND INC GREAT                    GT NEXUS
GREEBY COMPANIES INC                              GTA
GREELEY TRIBUNE NORTHERN COLOR                    GTM USA CORP
GREEN AND SONS LLC ROBERT GREE                    GTM USA CORPORATION
GREEN CANYON HOLDINGS I INC MICHAEL               GTT COMMUNICATIONS
ANGELAKOS                                         GUAHAN WASTE CONTROL INC
GREEN DOT CORPORATION SBT                         GUAM PUBLICATION PACIFIC DAILY NEWS
GREEN JOBINTERVIEW                                GUANGDONG TEXTILES IMP & EXP C
GREENJOBINTERVIEW.COM LLC                         GUARD MANAGEMENT SERVICE CORP
GREEN MARKET SERVICES COMPANY                     GUARDIAN DRUG COMPANY INC
GREEN MOUNTAIN TECHNOLOGY LLC                     GUARDIAN SERVICE INDUSTRIES
GREEN RIVER STAR                                  GUBERMAN BENSON & CALISE LLC
GREENBERG TRAURIG                                 GULF COAST MEDIA OPC NEWS LLC
GREENDALE HOME FASHIONS LLC                       GULF PUBLISHING
GREENE JERSY SHOPPERS                             GUNNISON COUNTRY SHOPPER INC
GREENES FENCE CO                                  GUOTAI USA
GREENEVILLE SUN JONES MEDIA IN                    GUY ROOFING
GREENFELDER HEMKER & GALE PC                      GWINNETT DAILY POST
GREENFIELD VEDETTE LEWIS COUNT                    GXS
GREENLEE TEXTRON                                  GXS INC
GREENLIGHT FACILITY SOLUTIONS                     H & H DEVELOPMENT GENERAL CONT
GREENPRO SPRAY AND LAWN MAINT                     H & H SYSTEMS INC
GREENROOM PRODUCTIONS INC                         H & M LIMO
GREENSBORO NEWS & RECORD                          H AND N ASSOCIATES DONALD R NO
GREENSPOON MARDER PA                              H B MCCLURE CO INC
GREENVILLE ADVOCATE GREENVILLE                    H C INTERNATIONAL INC
GREENVILLE NEWS                                   H H BROWN SHOE
GREENVILLE NEWSPAPERS LLC                         H N W INDUSTRY INC
GREENVILLE OUTLET STORE LLC VA                    H O H CHEMICALS INC-428755
GREER & KIRBY CO INC                              H&H APPAREL CO., LTD
GREGG APPLIANCES INC HHGREGG                      H&L JUNO INC
GREGORY CANTONE                                   H&M NEW CENTURY GROUP
GREGS PETROLEUM SERVICE INC                       HADDAD APPAREL GROUP LTD
GRENDENE USA INC                                  HADDAD BROTHERS INC
GRETCHEN INTERNATIONAL INC                        HAGERSTOWN HERALD MAIL
GREYLAND TRADING LIMITED                          HAGGAR CLOTHING COMPANY
GREYSTAR MANAGEMENT SERVICES G                    HAIN CELESTIAL GROUP INC THE H
GRIFFIN DAILY NEWS                                HAINES & KIBBLEHOUSE INC H & K
GRIFFIN FOOTWEAR LLC                              HAITRAL LED LIGHTING HK CO LIM
GRIMMS SNOW REMOVAL LLC                           HALE TRAILER BRAKE & WHEEL INC
GRIZZLY INDUSTRIAL INC                            HALIFAX
GROOM LAW GROUP CHARTERED                         HALLMARK MARKETING COMPANY LLC
GROUNDS GUYS LEHIGH VALLEY TIL                    HALO HALO BRANDED SOLUTIONS IN
GROUNDS SPECIALISTS                               HALO-701507
GROUP O MARKETING SOLUTIONS GR                    HAMILTON BEACH BRANDS INC
GROUP O MARKETING SOLUTIONS-712093                HAMM MECHANICAL LLC
GROUPE SEB USA                                    HAMPTON DIRECT INC
GROVE SUN GATEHOUSE MEDIA OKLA                    HAMPTON FORGE LTD EMP
GROW'N UP LIMITED                                 HANA FINANCIAL INC




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
HANCE CONSTRUCTION                                HAVEL BROS SHAMBAUGH & SON LP
HANDCRAFT MFG CORP                                HAVRE DAILY NEWS
HANDI CRAFT CO                                    HAWAII INTERCONTINENTAL CORPOR
HANDYMAN AL MARLYN MAE MEYER                      HAWAII MERCANTILE LLC
HANESBRANDS INC BALI                              HAWAII MODULAR SPACE
HANESBRANDS INC BALI SEARS                        HAWAIIAN HOST CHOCOLATES INC
HANESBRANDS INC CHAMPION                          HAWAIIAN ISLES DISTRIBUTORS
HANESBRANDS INC HOSIERY                           HAWAIIAN ISLES DISTRIBUTORS HA
HANESBRANDS INC LEGGS                             HAWAIIAN TELCOM
HANESBRANDS INC PLAYTEX KMART                     HAWAIIHOME
HANESBRANDS INC PLAYTEX SEARS                     HAYNES AND BOONE LLP
HANESBRANDS INC SOCK                              HCV DISTRIBUTORS INC
HANESBRANDS INC UNDERWEAR                         HD LANDSCAPE LLC
HANFORD SENTINEL                                  HEADS UP LANDSCAPE CONTRACTORS
HANG FUNG GARMENT GROUP LTD                       HEALTH CARE POLICY ROUNDTABLE
HANGZHOU BESTSINO I/E CO LTD                      HEALTH VIGOR LIMITED
HANGZHOU IN CHOICE IMP & EXP C                    HEALTHCARE DATA SOLUTIONS GRAC
HANJIN SHIPPING AMERICA                           HEALTHCARE QUALITY ASSOCIATION
HANKOOK TIRE AMERICA CORP                         HEALY NEWSPAPERS INC
HANKS MOWER REPAIR LLC CLARENC                    HEARST
HANLEY WOOD MEDIA INC                             HEARTHSTONE GROUP
HANSAE CO LTD                                     HEARTLAND COCA COLA BOTTLING C
HANSAE CO. LTD                                    HEARTLAND EXPRESS
HANSEN GLOBAL INC                                 HEARTLAND FOOD PRODUCTS GROUP
HAPAG LLOYD AMERICA                               HEARTLAND PUBLICATIONS
HAPNER LAWN & LANDSCAPE LLC NA                    HEARTLAND WOODCRAFT
HAPPIEST MINDS TECHNOLOGIES                       HEATH CONSTRUCTION LLC
HAPPY GRACE HONG KONG LIMITED                     HECHT TRAILERS L L C
HAPPY SHIRTS INC                                  HEFFNER MANAGEMENT INC
HARBOR INDUSTRIES                                 HEIDE & COOK LLC
HARBORTOWN INDUSTRIES INC                         HEIDRICK & STRUGGLES INTERNATIONAL
HARDING GROUP INC                                 HEIGHTS BUILDERS INC
HARDINS GARDENS DOUGLAS P HARD                    HELEN ANDREWS INC
HARDY MOVING & STORAGE KITCHEN                    HELLO DIRECT
HARLING INC                                       HELLO DIRECT-462812
HARMONY ENTERPRISES                               HELMSING LEACH HERLONG NEWMAN
HARRINGTON BOTTLING CO                            HENDERSON DAILY DISPATCH PAXTO
HARRIS PAINTS                                     HENGXING (HK) TRADE CO LIMITED
HARRISBURG GARDENS INC                            HENKEL CONSUMER
HARRISON APPLIANCE INC                            HENKELS & MC COY
HARRY J GOODMAN                                   HENNESSY INDUSTRIES
HART I 55 INDUSTRIAL LLC                          HENNESSY INDUSTRIES INC
HART MOVING & STORAGE                             HENRICKSEN & COMPANY
HARTCORN PLUMBING & HEATING IN                    HENRY LAMOND COMPANY LTD
HARTZ MOUNTAIN CORP                               HENRYS JANITORIAL SERVICES INC
HARVEST TRADING GROUP INC                         HENSON ROBINSON CO
HASBRO INC                                        HERALD
HASTINGS DAILY TRIBUNE SEATON                     HERALD CITIZEN COOKEVILLE NEWS
HASTINGS REMINDER                                 HERALD DEMOCRAT DB TEXAS HOLDI
HATCH ENTERPRISE INC                              HERALD DISPATCH
HATTENBACH                                        HERALD GAZETTE
HAUCK (HONG KONG) LIMITED                         HERALD JOURNAL
HAUGH LAW GROUP HAUGH & ASSOCI                    HERALD LEADER PRYOR PUBLICATIO
HAUSER LIST SERVICES INC                          HERALD NEWS
HAVAS WORLDWIDE                                   HERALD PUBLISHING




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HERALD STAR OGDEN NEWS PUBLISH                    HODES LLC
HERKER HERKER BUILDING & LAWN                     HOFFINGER INDUSTRIES INC
HERNANDEZ CART SERVICE INC                        HOGAN LOVELLS US LLP
HERR FOODS INC                                    HOJ ENGINEERING & SALES CO INC
HERSAM ACORN NEWSPAPERS                           HOLDSUN GROUP LIMITED
HERSHEY CHOCOLATE COMPANY                         HOLLAND & HART LLP
HERSHEY CHOCOLATE COMPANY HERSHEY                 HOLLANDER SLEEP PRODUCTS LLC
CARIBE INC                                        HOLLIDAY CONSTRUCTION INC TROY
HERSHEY CHOCOLATE USA HERSHEY                     HOLLYWOOD FASHION TAPE INC
HERTZ EQUIPMENT RENTAL                            HOLMBERG FARMS INC
HESS PRINT SOLUTIONS-68148261                     HOLMES GROUP INC
HEWITT ASSOCIATES                                 HOLST TRUCKING & EXCAVATING
HEWLETT PACKARD ENTERPRISE                        HOLSTON GASES INC
HEWLETT-PACKARD FINANCIAL SERVICES                HOLSUM DE PUERTO RICO INC
HEXACOMB CORPORATION-701400                       HOMALLY INC
HFC PRESTIGE INTERNATIONAL U S                    HOME & COMMERCIAL CLEANING SVC
HFC PRESTIGE INTL PR LLC                          HOME & KITCHEN SOLUTIONS INC
HG FIRE SYSTEMS LP                                HOME AND BUILDING SERVICES LLC
HI MARK INTERNATIONAL CO LTD                      HOME BRANDS INC
HI TECH AIR CONDITIONING SRVC                     HOME ESSENTIALS & BEYOND INC
HI TECH PHARMACEUTICALS INC                       HOME IMPROVEMENT RESEARCH
HICKORYTECH                                       INSTITUTE-551325
HIGH COUNTRY SHOPPER MEDRANO H                    HOME PRODUCTS INTERNATIONAL IN
HIGH POINT ENTERPRISE PAXTON M                    HOME TEAM MARKETING LLC
HIGH RIDGE BRANDS                                 HOMECARE LABS INC SBT
HIGH SIERRA DIST                                  HOMEDELIVERYLINK
HIGH SIERRA SPORT COMPANY                         HOMETOWN NEWS MERRITT ISLAND C
HIGHJUMP SOFTWARE                                 HOMETOWN NEWSPAPERS SOUTHERN R
HIGHLAND GRP INDUSTRIES LP                        HONG KONG CITY TOYS FACTORY LI
HIGHLAND LAKES PUBLISHING LP H                    HONGKONG BEST SOURCE GROUP LIM
HIGHLAND LAWN & LANDSCAPE BEN                     HONGKONG SOLAMODA INDUSTRY CO
HILCO WHOLESALE SOLUTION LLC                      HONOUR SERVICES LTD
HILEX POLY                                        HONTUS LTD INC
HILEX POLY CO LLC                                 HOOD COUNTY NEWS
HILLDRUP COMPANIES INC HILLDRU                    HOOSIER TIMES
HILLIS CLARK MARTIN & PETERSON                    HOOVER INC
HILLMAN GROUP                                     HOPE STAR
HILLWORKS                                         HOPWOOD ENTERPRISES INC
HINES GROWERS INC                                 HORCHER CONSTRUCTION
HINMAN & CARMICHAEL LLP                           HORIZON BEHAVIORAL SERVICES
HINSHAW & CULBERTSON                              HORIZON CALIFORNIA PUBLICATIONS INYO
HIRERIGHT SOLUTIONS                               REGISTER
HIS INTERNATIONAL GROUP LLC                       HORIZON CHILLICOTHE TELEPHONE
HITACHI KOKI USA LTD                              HORIZON GROUP USA INC NON SBT
HI-TEX CO. LTD.                                   HORIZON TOOL INC
HIVES & HONEY INC                                 HOT SPRINGS VILLAGE VOICE DB A
HK GREATSTAR INTL CO LTD                          HOUSE OF FILTERS
HK JUNYAO FOREIGN TRADE CO LTD                    HOUSEWARES CORP OF ASIA LIMITE
HK SINO-THAI TRADING CO LTD                       HOUSTON COUNTY COURIER
HKD GLOBAL LIMITED                                HOWARD & HOWARD ATTORNEYS
HMI SERVICES INC HMI TECHNICAL                    HOWARD BOBROFF
HOA PHONG IMP EXP TRADING CO.                     HOWARD CDM
HOBART                                            HOWARDS OUTDOOR POWER EQUIPMEN
HOBART RETAIL SALES                               HR MANAGEMENT GROUP INC
HOBBS NEWS SUN SUN PUBLISHING                     HR MOTORS INC




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HSM (FAR EAST) CO LIMITED                         ICONTROL NETWORKS INC
HUALALAI MECHANICAL LLC                           ICROSSING
HUAWEI ENTERPRISE USA-78518830                    IDAHO BEVERAGES INC
HUB GROUP ASSOCIATES                              IDAHO STATE JOURNAL IDAHO STATE
HUB GROUP TRUCKING                                PUBLISHING LLC
HUB KEARNEY PUBLISHING                            IDEA NUOVA INC
HUB SIGNS & CRANE CORP HUB SIG                    IDEAVILLAGE COM
HUBBELL WIRING DEVICE                             IDELLE LABS LTD
HUDSON HOME GROUP LLC                             IDENTIFIX INC
HUDSON NEWS COMPANY                               IDENTITY GAMES INTERNATIONAL U
HUEN ELECTRIC                                     IDM WORLDWIDE LLC
HUFFY BICYCLES                                    IDX CORPORATION-701309
HUFFY CORPORATION                                 IENJOY LLC
HUGHES NETWORK SYSTEMS                            IESI NY CORPORATION
HUGUENOT LABORATORIES HUGUENOT                    IGLOO PRODUCTS CORPORATION
HUHTAMAKI INC                                     IGNITE USA LLC
HUIDONG YUSHUN SHOES CO LTD                       IGOSEATING LIMITED
HUNTER ENGINEERING                                IKEDDI ENTERPRISES INC
HUNTERDON COUNTY DEMOCRAT PENN                    ILEAD MARKETING LLC ILEAD LLC
HUNTINGTON SECURITY SYSTEMS IN                    ILLIANA SWEEPING COMPANY ADVAN
HUPPINS HI FI PHOTO & VIDEO IN                    ILLINOIS MERCHANTS POLITICAL A
HUSKEY VAC OF KODAK                               ILLINOIS RETAIL MERCHANTS ASSO
HUSQVARNA OUTDOOR PRODUCTS                        ILOYAL
HUSSMANN                                          IMAGE NATIONAL
HUSTON ELECTRIC INC                               IMAGE360 BAUM HOLDINGS INC
HUTCH PAVING INC                                  IMAGEONE INDUSTRIES LLC
HUTCHISON LEADER                                  IMAGINATION PUBLISHING LLC
HUZHOU LICHUANG TEXTILE CO.,LT                    IMAGITAS
HVAC SYSTEMS INC AC ELECTRIC S                    IMGR AMERICA INC
HWA IN INTERNATIONAL SA                           IMPACT INNOVATIONS INC
HY KO PRODUCTS COMPANY                            IMPACT NETWORKING
HY TECH PROPERTY SERVICES INC                     IMPACT SALES INC LESLIE E MAHAN
HYBRID PROMOTIONS LLC                             IMPERIAL INDUSTRIAL SUPPLY
HYDE STONE MECHANICAL CONTRACT                    IMPERIAL INDUSTRIAL SUPPLY CO
HYDRAULIC AND ELECTRO MECHANIC                    IMPERIAL LIGHTING MAINTENANCE
HYGENIC CORPORATION THE                           IMPERIAL TOY LLC
HYLANDS INC                                       IMPERIAL-DELTAH INC
HYPARD TRADING CORP                               IMPO INTERNATIONAL
HYPERCAP TRADING COMPANY                          IMPORTIQUE CORP
HY-VEE                                            IMPREMEDIA
HZ U JUMP ARTS & CRAFTS CO LTD                    IMUSA USA LLC
I HEALTH INC                                      IN GEAR FASHIONS INC
I ON INTERACTIVE INC                              IN MAR TRADING INC
IACQUIRE LLC                                      IN ZONE BRANDS INC
IBERIA FOODS CORP                                 INA INTERNATIONAL LTD
ICE MILLER LLP                                    INCINERATOR INTERNATIONAL INTL
ICE MOUNTAIN NESTLE WATERS NOR                    INDEED INC
ICE MOUNTAIN SPRING WATER NEST                    INDEPENDENCE DAILY REPORTER MO
ICED MEDIA                                        INDEPENDENT APPEAL M NAINY CO
ICEE                                              INDEPENDENT NEWSPAPERS
ICF INTERNATIONAL ICF INCORPOR                    INDEPENDENT PUBLISHING
ICON EYEWEAR INC                                  INDERA MILLS COMPANY
ICON HEALTH AND FITNESS                           INDEX JOURNAL CO
ICONEX LLC-80274444                               INDIANA GAZETTE INDIANA PRINTI
ICONIX BRAND GROUP                                INDIANA NEWSPAPERS




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INDIANA PROPERTY SERVICES LLC                     INTEK AMERICA INC
INDIANA RETAIL COUNCIL                            INTEL AMERICAS INC-341792
INDIX-30493470                                    INTELEX TECHNOLOGIES INC-597208
INDUSTRIAL COLOR                                  INTELLIGRATED SYSTEMS
INDUSTRIAL PACKAGING CORPORATION                  INTELLISOURCE
INDUSTRIAL PAPER CORPORATION                      INTER COUNTY MECHANICAL CORP
INDUSTRIAL PACKAGING SUPPLIES                     INTERACTIONS
INDUSTRIAL POWER AND LIGHTING                     INTERACTIVE COMMUNICATIONS INT
INDUSTRIAL POWER PRODUCTS                         INTERCALL
INDUSTRIAL REFRIGERATION                          INTERDESIGN INC
INDUSTRIAS DE MOVEIS ROTTA LTD                    INTERLAKE MECALUX
INDUSTRIAS NETTALCO SA                            Is E BRANDS
INDUSTRY DIVE INC                                 INTERMODAL SALES
INFINITE GREEN CONSULTING INC                     INTERNAP NETWORK SERVICES CORP
INFINITE PERIPHERALS                              INTERNATIONAL BALER CORPORATIO
INFINITY MILESTONE LLC MILESTO                    INTERNATIONAL BROTHERHOOD OF T
INFINITY SOURCING SERVICES LLC                    INTERNATIONAL BUSINESS MACHINES
INFOBLOX                                          INTERNATIONAL CRUISE & EXCURSIONS
INFOR US                                          MULTIPLE SEARS LOCATIONS
INFORMATION CONTROL COMPANY LL                    INTERNATIONAL GREASE TRAP CORP
INFOSYS                                           INTERNATIONAL HOME MIAMI CORP
ING JOSE RIVERA MANDES                            INTERNATIONAL MULCH COMPANY IN
INGENICO-88971                                    INTERNATIONAL PAPER
INGERSOLL-RAND                                    INTERNATIONAL SEAWAY TRADING
INGRAM ELECTRO MEK INC                            INTERNET COMMUNICATIONS INC
INNER WORKINGS INNERWORKINGS                      INTERSTATE TRAILER SALES INC
INNOCOR INC                                       INTERSTOFF APPARELS LTD
IN-N-OUT BURGERS                                  INTERVOICE
INNOVA PRODUCTS INC                               INTEX TRADING LTD
INNOVATION FIRST LABS INC                         INTRADECO APPAREL INC
INNOVATIVE COMMUNICATIONS CORP                    INTRALINKS INC
INNOVATIVE DOOR SOLUTIONS INC                     INTUIT INC
INNOVATIVE EXCAVATION INC                         INVICTA WATCH COMPANY OF AMERI
INNOVATIVE FACILITY SERVICES                      INVISIONAPP INC-78620198
INNOVATIVE TECHNOLOGY ELECTRON                    INVODO INC
INOVATEX LLC                                      INVUE SECURITY PRODUCTS
INSIDE EDGE COMMERCIAL INTERIOR                   IOLA REGISTER
SERVICES                                          IOLANI SPORTSWEAR LTD
INSIDESALES COM INC INSIDESALE                    IOLETTE LLC
INSIGHT DIRECT                                    IOSCO COUNTY NEWS HERALD
INSIGHTPOOL LLC                                   IOVATE HEALTH SCIENCES USA INC
INSPIRED BEAUTY BRANDS INC                        IOWA CITY PRESS CITIZEN
INSPIRED ELEARNING LLC                            IOWA RETAIL CHAIN PHARMACY IOW
INSTALLATIONS INC GO CONFIGURE                    IPRINT TECHNOLOGIES LLC
INSTALLS INC LLC SPECTRUM CAPI                    IPROMOTEU INC
INSTANT STORAGE                                   IPROSPECT COM
INSULAR TRADING CO INC                            IPSOS MMA
INSULATED ROOFING CONTRACTORS                     IPSOS-INSIGHT
INTEGRACOLOR                                      IRON MOUNTAIN
INTEGRATED DATA STORAGE                           IRON MOUNTAIN RECORDS MANAGEMENT
INTEGRATED MERCHANDISING SYS LLC                  OF OHIO
INTEGRATED MERCHANDISING SYSTEMS                  IRWIN & LEIGHTON
INTEGRATED SERVICE MANAGEMENT                     IRWIN INDUSTRIAL TOOL COMPANY
INTEGRATED SUPPLY NETWORK                         IRWPR INTERNATIONAL ROOFING &
INTEGRATED WIRING SOLUTIONS LL                    ISA & STEF LLC




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ISACO INTERNATIONAL CORP                          JACK SCHWARTZ SHOES INC
ISAVE ONLINE STORES LLC                           JACKSON & COKER LOCUMTENENS LL
ISCHOLAR INC                                      JACKSON COUNTY NEWSPAPERS
ISFTV KEVIN T MILLER                              JACKSON HOLE NEWS TETON MEDIA
ISIDRO GALLEGOS                                   JACKSON LAWN CARE MATTHEW S JA
ISLAND ASSEMBLY AND INSTALLATI                    JACKSON SUN
ISLAND DELIVERY SERVICES                          JACKSON TIMES
ISLAND ELEVATOR LEOPOLD JOHN B                    JACLYN SMITH INTL INC ACCRUAL
ISLAND MOVERS                                     JACLYN SMITH INTL INC ROYALTY
ISLAND SNACKS INC                                 JAE HOON CORPORATION
ISLAND SUN NEWSPAPER                              JAIME G ARIAS
ISLAND WIDE A C SERVICE LLC                       JAK PROPERTY SERVICES LLC JORD
ISLAND WINES & SPIRITS DISTRIB                    JAKOS LTD
ISLANDER GROUP INC                                JAMES BEALE JAMES M BEALE
ISLANDER WHOLESALE                                JAMES CARR & SONS PLUMBING INC
ISOMORPHIC SOFTWARE-647854                        JAMES D SWARTZ LLC NEWS JOURNA
ITEK SERVICES INC                                 JAMES THAXTON
ITEM OSTEEN PUBLISHING COMPANY                    JAMES THOMAS JR
ITEMMASTER LLC-710769                             JAMES WHEELER
ITO EN USA INC                                    JAMIE A JENSEN
IT'S ACADEMIC INTERNATIONAL LT                    JAMN PRODUCTS INC
ITW GLOBAL BRANDS DIV ITW INC                     JAN PRO CLEANING SYSTEMS CARSO
IVGSTORES LLC                                     JANELL MOORE
IVY TRADING INC                                   JANESVILLE GAZETTE BLISS COMMU
IWC INC-631416                                    JANRAIN INC-686998
J & F REPAIR SERVICES INC                         JAPC CONSTRUCTION INC
J & G DISTRIBUTORS & WHOLESALE                    JARDEN CONSUMER SOLUTIONS
J & G INSTALLERS JASON A GROVE                    JARDEN HOME BRANDS
J & J SERVICES SMF INC                            JASCO PRODUCTS COMPANY LLC
J & L DOOR SERVICE                                JASON FURNITURE (HANGZHOU) CO
J & L SWEEPING SERVICE INC                        JASON LOPER
J & R TRUCKING                                    JASON MARK
J & S ELECTRIC & SIGN CO                          JASON YIP
J A COSMETICS                                     JAY FRANCO & SONS INC
J ASCENCION SANTAN GUZMAN                         JAYDEE GROUP USA INC
J B HUNT TRANSPORT                                JAYMY INC
J B WELD COMPANY LLC                              JAZWARES INC
J C ELECTRIC INC                                  JB ROOFING A TECTA AMERICA COM
J CAROL CONSULTING LLC                            JC MARKETING INC
J D POWER AND ASSOCIATES-1000546762               JC TOYS ASIA LIMITED
J G CORP JUAR GON CORP                            JDA SOFTWARE
J G ELECTRIC                                      JDA SOFTWARE GROUP
J GILL AND COMPANY                                JDM SORTING LLC-23659305
J J BASICS LLC                                    JDM SYSTEMS CONSULTANTS-466177
J L MECHANICAL SERVICE INC                        JDV PRODUCTS INC
J M VAZQUEZ ELECTRICAL (LABOR)                    JEFF SMITH BUILDING & DEVELOPMENT
J M VAZQUEZ ELECTRICAL (PARTS)                    JEFFCOAT MECHANICAL SERVICES I
J MCHALE & ASSOCIATES INC                         JEFFERSONIAN CO LLC
J N B SERVICES INC                                JEFFREY NANCE JEFFREY C NANCE
J T NAKAOKA ASSOCIATES ARCHITE                    JELMAR
J&B TOOL SALES INC                                JENKINS ELECTRICAL CONTRACTORS
J&V INTERNATIONAL LTD                             JENNER & BLOCK LLP
JAB DISTRIBUTORS LLC                              JENNINGS DAILY NEWS
JACK & JILL ICE CREAM CO                          JENSEN BUILDERS LTD
JACK OCHODNICKY ELECTRICAL                        JENSON LIGHTING MAINTENANCE JE




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JERRY A VIRES                                     JOSE SANTIAGO INC
JERRY CORZINE                                     JOSEPH F BIDDLE PUBLISHING CO
JERRY LEIGH OF CALIFORNIA INC                     JOSLIN AND SON SIGNS JOSLIN SI
JERRY SHERMAN                                     JOURNAL & COURIER FEDERATES
JESSE LOPEZ                                       JOURNAL INQUIRER JOURNAL PUBLI
JFC INTERNATIONAL INC                             JOURNAL PUBLICATIONS HILLSBORO
JIANGSU GUOTAI INTL GRP GUO MA                    JOURNAL INC
JIANGSU SOHO GARMENTS CO LTD                      JOURNAL REGISTRAR NEWSPAPER
JIAWEI TECHNOLOGY HK LTD                          NETWORK
JIM ROSS LTD                                      JOURNAL REVIEW MONTGOMERY COUN
JIMCO LAMP & MANUFACTURING CO                     JOURNAL SENTINEL
JIMCO LAMP & MANUFACTURING COM                    JOURNAL TIMES
JIN RONG HUA LE METAL MFR CO L                    JOURNAL TRIBUNE BEACON PRESS I
JLS QUALITY LANDCARE INC ATD P                    JOURNAL-STAR PRINTING
JM ELECTRICAL INC LABOR JM ELE                    JS PRODUCTS
JM ELECTRICAL INC PARTS JM ELE                    JS PRODUCTS INC
JMP FASHION INC                                   JSB1
JMS APPLIANCE INSTALLATION & D                    JS-FANTASY INC
JNJ LOGISTICS LLC                                 JSMN SHENANGO VALLEY MALL LLC
JOBSTORE INC JOBSTORE STAFFING                    JTS MECHANICAL LLC
JOE BOXER                                         JUMP DESIGN GROUP INC
JOE BOXER COMPANY ACCRUAL ONLY                    JUMPKING INC
JOE SCHMITT & SONS PLUMBING &                     JUNCTION CLIMATE CONTROL
JOE ZALEWSKI                                      JUNE A GROTHE CONSTRUCTION
JOELE FRANK J FRANK ASSOCIATES                    JUPITER WORKSHOPS HK LTD
JOHN A JURGIEL & ASSOCIATES IN                    JUST PLAY (HK) LTD
JOHN DANNA                                        JVC AMERICAS CORP
JOHN DAVID CHESNEY                                JVCKENWOOD USA CORPORATION
JOHN HAUGHEY & SONS INC                           K & K ELECTRIC
JOHN J SULLIVAN                                   K & K FIRE PROTECTION ENT INC
JOHN JACOB PROPERTIES LLC                         K & M ASSOCIATES L P
JOHN KIRBY LLC JOHN R KIRBY                       K & R TRANSPORTATION
JOHN YERKES & SONS INC                            K C CO LTD
JOHNDOW INDUSTRIES INC-691536                     K C PHARMACEUTICALS INC
JOHNSON & JOHNSON CONSUMER INC                    K INTERNATIONAL
JOHNSON BATTERY COMPANY INC                       K S ARMATURE CO KENNY L STONE
JOHNSON CITY PRESS JOHNSON CIT                    KAESER COMPRESSORS
JOHNSON CONTROLS                                  KAHENA DIGITAL MARKETING LTD D
JOHNSON CONTROLS BATTERY GROUP INC                KAI NING LEATHER PRODUCTS CO L
JOHNSON CONTROLS INC                              KALIL BOTTLING CO
JOHNSON COUNTY GRAPHIC INC                        KAMAL JOHN SHUKUR
JOHNSON HEALTH TECH NORTH AMER                    KAN JAM LLC
JOHNSON LEVEL & TOOL                              KANTAR RETAIL
JOHNSTONE SUPPLY                                  KANTOR ELECTRIC INC
JON SEFTON                                        KAO BRANDS COMPANY
JONES & FRANK JF ACQUISITION L                    KAPOOR INDUSTRIES
JOOLA NORTH AMERICA LLC/SPORT                     KARCHER NORTH AMERICA INC
JOPLIN GLOBE PUBLISHING CO NEW                    KARDELL PLUMBING INC
JORDACHE LIMITED                                  KAREN STAVINS ENTERPRISES INC
JORDAN KAHN CO INC                                KARI KARCH KARI A KARCH
JORDANA COSMETICS CORPORATION                     KARIKAS CONSULTANTS LLC GEORGE
JORE CORPORATION                                  KASHION INDUSTRY CO LTD
JORGENSEN SALES JARGENSEN SALE                    KATALYST TECHNOLOGIES INC
JOSE A ARCE VERDE 3 NORTE                         KATERNO INC
JOSE LARA PHOTOGRAPHY JOSE R L                    KATMANDU APPAREL PVT LTD




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KAYTEE PRODUCTS INCORPORATED                      KILLEEN DAILY HERALD FRANK MAY
KAZ USA INC                                       KILLER BEE INC
KAZOO INC                                         KILLMER ELECTRIC CO INC
KBR SNOW & ICE MANAGEMENT PROF                    KIMBERLY CLARK CORP
KDC CONSTRUCTION                                  KIMBERLY CLARK PUERTO RICO INC
KEECO LLC                                         KIMCO FACILITY SERVICES
KEENE SENTINEL                                    KIMLEY HORN & ASSOCIATES INC K
KEENS SERVICES INC                                KIMLEY HORN OF MICHIGAN INC
KEERS REMEDIATION INC                             KIMLEY HORN OF NEW YORK P C
KEGERREIS OUTDOOR ADVERTISING                     KING & SPALDING
KEHE DISTRIBUTORS LLC                             KING LAWN & LANDSCAPING MM & B
KEIGHTLEY & ASHNER LLP                            KING PAR LLC
KELE INC                                          KING SERVICE HOLDING INC
KELLERMEYER BERGENSONS SERVICES                   KING WOOD COMPANY LIMITED
KELLEYS GLASS AND MIRROR INC                      KINGMAN NEWSPAPERS MOHAVE COUN
KELLY LAWN & LANDSCAPING LLC                      KINGS LANDSCAPING & IRRIGATION
KELLY SERVICES INC                                KINGS REHABILITATION CENTER
KEN BLANCHARD COMPANIES BLANCH                    KINGSPORT PUBLISHING KINGSPORT
KEN F & CO                                        KINGSTATE CORPORATION
KEN L BOSLEY                                      KINGSVIEW ENTERPRISES INC
KENNEDY TRANSFER & STORAGE INC                    KINGSVILLE PUBLISHING CO
KENNETH COLE PRODUCTIONS INC                      KIR MONTEBELLO LP
KENNETH V TURNIPSEED                              KIRAN JEWELS INC
KENNY NACHWALTER                                  KISS PRODUCTS INC
KENOSHA NEWS NEW DIV OF UNITED                    KITCHENAID INC
KENS SIGN SERVICE INC                             KITCHENTUNE UP KTU WORLDWIDE I
KENSEYS BAYOU SWEEPING LLC                        KITSAP SUN
KENSHOO                                           KITTRICH LLC
KENT INTERNATIONAL INC                            KITV INC
KENTON TIMES HARDIN COUNTY PUB                    KIU HUNG INDUSTRIES LIMITED
KENTUCKY NEW ERA INC                              KKU INCORPORATED
KENTUCKY RETAIL FEDERATION                        KL OUTDOOR LLC
KERNEL SEASONS LLC                                KLM COMMERCIAL SWEEPING INC
KERRVILLE DAILY TIMES                             KLOPPENBURG ENTERPRISES INC
KETER NORTH AMERICA LLC                           KMI BUILDING SERVICES INC
KEURIG GREEN MOUNTAIN INC                         KMR PHARMACY ADVISORS LLC
KEVIN CAMPBELL LLC                                KMR PRINT INC KMR PARTNERS INC
KEVIN P VINCELETTE KEVIN PATRI                    KNIGHT TRANSPORTATION
KEYSTONE FREIGHT                                  KNIGHTS APPAREL INC
KEYSTONE MANUFACTURING CO                         KNIPEX TOOLS LP
KGK CREATIONS PVT LTD                             KNOX FERTILIZER COMPANY INC
KGMB TV RAYCOM MEDIA INC                          KNOXVILLE NEWS SENTINEL
KGS PARTNERS LTD-711295                           KOBI KATZ INC
KICK FACTORY INC                                  KOCH FILTER
KID GALAXY INC                                    KOCH TRUCKING
KIDDESIGNS INC                                    KODIAK ROOFING & WATERPROOFING
KIDDIELAND TOYS LIMITED                           KODIAK TERRA USA INC
KIDS PREFERRED LLC                                KOLLINS COMMUNICATIONS INC
KIDS STATION TOYS INCORPORATED                    KOLTOV INC
KIDS STUFF LTD                                    KOMELON USA CORP
KIDZ CONCEPTS LLC                                 KONA TRANSPORTATION
KIDZ TOYZ HK LIMITED                              KONA WINDS CONSTRUCTION
KIDZTECH TOYS MANUFACTURING LI                    KONICA MINOLTA BUSINESS SOLUTIONS
KIK INTERNATIONAL INC                             KOOLATRON INC
KIK POOL ADDITIVES INC                            KOOLATRON INC DIV OF LENTEK




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
KORN FERRY HAY GROUP INC                          LANDMAN CORSI BALLAINE & FORD
KOROSEAL INTERIOR PRODUCTS LLC                    LANDMARK COMMUNITY NEWSPAPERS
KOSS CORPORATION                                  LANDS END
KOUPER-FKS INDUSTRIES INC                         LANDS' END
KPC MEDIA GROUP INC                               LANDS END INC
KPE INVESTIGATE ENGINEERS INC                     LANDSCAPE CONCEPTS MANAGEMENT
KPOST COMPANY INC                                 LANE CONSTRUCTION
KRAFT GENERAL FOODS INC                           LANGE PLUMBING LLC
KREBER                                            LANGUAGE SCIENTIFIC INC
KRIS WETHERBEE                                    LANIER
KSD CORP ATLANTIC TRANSPORT SY                    LANIER CLOTHES
KSF ACQUISITION CORPORATION                       LANSING STATE JOURNAL
KTGY GROUP INC                                    LANSINOH LABORATORIES INC
KUMHO TIRES USA INC                               LAPORTE HERALD ARGUS
KVANTUM INC                                       LAPTOPPLAZA INC
KYD INC                                           LARAMIE NEWSPAPERS INC
L & D CARRIER DEMETRIUS CLINTO                    LAREDO LAWN SERVICE LUIS GUZMA
L & E BOTTLING COMPANY                            LARSON NEWSPAPERS
L & J ACCESSORIES                                 LAS VEGAS REVIEW JOURNAL
L & K DEMOLITION LLC                              LASER PRODUCTS INC
L 3 SALES AND SOURCING INC                        LATENTVIEW ANALYTICS
L IMAGE ENTERPRISES INC                           LATROBE BULLETIN LATROBE PRINTING &
L OREAL CARIBE                                    PUBLISHNG CO INC
L PERRIGO COMPANY                                 LAUGHLIN CONSTABLE
L SCHAFER ENTERPRISES LLC                         LAUNCHPAD EVENTS LLC
LA JUNTA TRIBUNE DEMOCRAT                         LAUNCHPAD EVENTS LLC-711291
LA MODELS                                         LAUREL THE STYLIST INC LAUREL
LA PRENSA DE SAN ANTONIO DURAN                    LAVANTE INC
LABEL INDUSTRIES INC                              LAVANTE INC-700182
LABOR READY                                       LAVISH CLOTHING INC
LABOR READY MID-ATLANTIC                          LAW OFFICES OF STEPHEN P SINIS
LABOR READY MIDWEST                               LAWN & LANDSCAPING SERVICES LL
LABOR READY NORTHEAST                             LAWN & TURF LANDSCAPING INC
LABOR WORKS LOUISVILLE LABOR W                    LAWN CARE BY WALTER INC
LABORATORIES GARNIER                              LAWN ENFORCEMENT VICKI MUSCARE
LACOMB ENTERPRISES INC NEAL LA                    LAWN PERKS
LAGNAM INFOTECH SOLUTIONS P LTD-                  LAWN PROZ OF FLORIDA
447420                                            LAWNSTYLES MAINTENANCE
LAGRANGE DAILY NEWS CIVITAS HO                    LAWRENCE COUNTY ADVOCATE INC
LAIBE ELECTRIC CO                                 LAWRENCE JOURNAL WORLD
LAKE CHARLES AMERICAN PRESS IN                    LAWRENCE LANDSCAPE INC
LAKE CITY SHOPPER SHOPPER INC                     LAWTON PUBLISHING
LAKE COUNTY RECORD BEE                            LA-Z-BOY INCORPORATED
LAKE GENEVA REGIONAL NEWS                         LBG DISTRIBUTION INC-712437
LAKELAND TIMES ADVERTISER                         LDR GLOBAL INDUSTRIES LLC
LAKESHORE DISPLAY MFG-6104350                     LE MARS DAILY SENTINEL
LAKESHORE NEWSPAPER CONLEY SER                    LEAD DOG ENTERPRISES RYAN SEIB
LAKEWAY PUBLISHERS INC TULLAHO                    LEADER LIGHT LTD
LAKIN TIRE WEST                                   LEADER PUBLISHING
LAMBERT VET SUPPLY LLC                            LEAF CHRONICLE
LAMO SHEEPSKIN INC                                LEAKTITE CORPORATION
LANCE GACKOWSKI G MEN INC                         LEAP YEAR PUBLISHING LLC
LANCO MANUFACTURING CORPORATIO                    LEASEPLAN
LAND O SUN DAIRIES INC                            LEATHERMAN TOOL GROUP INC
LANDCARE LANDCARE USA LLC                         LEC MAINTENANCE HOLDINGS LLC O




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LECTRA USA INC                                    LG ELECTRONICS ALABAMA INC
LEDGER DISPATCH                                   LH LICENSED PRODUCTS INC
LEDGER NEWS                                       LI YU EVOX MANAGEMENT
LEDVANCE                                          LIAISON TECHNOLOGIES
LEDVANCE LLC                                      LIAN YI DYEING & WEAVING FTY CO LTD
LEE & ASSOCIATES ASSET MANAGEM                    LIBERAL HIGH PLAINS DAILY LEADER
LEE & CO. LTD                                     SEWARD COUNTY PUBLISHING LLC
LEE CENTRAL COAST NEWSPAPERS                      LIBERTY DISPLAYS INC-1965699150
LEE ENTERPRISES                                   LIBERTY GAZETTE ALDEBARAN INC
LEE ENTERPRISES INCORPORATED THE                  LIBERTY PUBLISHING GROUP
SENTINEL                                          LIBERTY TRANSPORTATION
LEE ENTERPRISES INCORPORATED THE                  LIC LIMITED
TIMES                                             LICKEN IND & TRADING CO LTD
LEES MAINTENANCE SERVICE                          LIEBER CONSTRUCTION INC
LEGACY CLASSIC FURNITURE INC                      LIFE INSURANCE COMPANY OF NORT
LEGACY ELECTRIC LLC                               LIFE WEAR TECHNOLOGIES
LEGACY MANUFACTURING COMPANY                      LIFESPAN BRANDS LLC
LEGACY MARKETING PARTNERS                         LIFESTYLES UNLIMITED INC
LEHIGH VALLEY DAIRIES INC                         LIFETIME CUTLERY CORP
LEHR CONSTRUCTION CO INC                          LIFEWORKS TECHNOLOGY GROUP
LEI WANG                                          LIFOAM INDUSTRIES LLC
LEICK FURNITURE INCORPORATED                      LIFT INC
LEIF J OSTBERG                                    LIFT SOURCE
LEISURE PRODUCTS INC                              LIFT STATION SERVICES SOUTH FL
LEISURE TIME PRODUCTS                             LIFT TRUCKS & LABOUR INC
LEMAK LANDSCAPE & GROUND MAINT                    LIFT TRUCKS AND PARTS INC
LEMBERG ELECTRIC COMPANY                          LIGA PUERTORRIQUENA CONTRA EL
LENDAL INC                                        LIGHT GAS FORK LIFT EXCHANGE
LENNOX NATIONAL ACCOUNT SERVICES                  LIGHTING SERVICE INC
LENOIR NEWS-TOPIC                                 LIGHTRICITY ELEKTRIC
LEO D BERNSTEIN & SONS                            LIL ANGLERS LLC
LEO P MAREK                                       LILLIE SUBURBAN NEWSPAPERS INC
LERCH BATES INPECTIONS SERVICE                    LILLY COMPANY
LESS PACKAGING COMPANY                            LILYS TALENT AGENCY & COMPANY
LETEX LIMITED                                     LIMITED GOODS LLC
LETSOS COMPANY                                    LIMOLINK INC
LEUKEMIA & LYMPHOMA SOCIETY IN                    LINBIT USA LLC-688358
LEVATOY LLC                                       LINC PEN & PLASTICS LIMITED
LEVEL 11 CONSULTING LLC                           LINCOLN INDUSTRIAL
LEVEL 3 COMMUNICATIONS                            LINCOLN INDUSTRIAL-1000459599
LEVELWING MEDIA                                   LINEMART INC
LEVERAGED MARKETING CORPORATIO                    LINGRAPH PACKAGING SERVICES
LEVI STRAUSS & CO                                 LINK GROUP
LEWIS ELECTRIC COMPANY                            LINK SNACKS INC
LEWIS INDUSTRIAL SUPPLY CO RUB                    LINKEDIN CORP
LEWIS P C JACKSON                                 LINN COUNTY LEADER
LEWIS PAPER PLACE INC                             LINN STAR TRANSFER
LEWISTON DAILY SUN SUN JOURNAL                    LINNEX ENTERPRISE LIMITED
LEXINGTON HERALD-LEADER                           LINON HOME DECOR PRODUCTS INC
LEXIOOK LIMITED                                   LION SPORTS INC
LEXISNEXIS MATTHEW BENDER MATT                    LIPARI DELI FOODS
LEXISNEXIS RISK DATA MANAGEMEN                    LIPSEY LOGISTICS LIPSEY LOGIST
LF MENS GROUP LLC                                 LIQUIDYNAMICS INC-707827
LFC LLC                                           LISLE CORPORATION
LG ELECTRONICS                                    LISSI DOLLS AND TOYS HK LTD




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LITCHFIELD CAVO LLP                               LOVIN ENTERPRISES INC
LITCHFIELD NEWS HERALD                            LOW DUST SWEEPING SERVICE NICK
LITHYEM INDUSTRIES INC                            LOW PRICE MAINTENANCE DENNIS A
LITTELFUSE INC                                    LOWELL SUN PUBLISHING
LITTLE BLUE BALL INC-705135                       LOWE'S HOME CENTERS
LITTLE CAESAR ENTERPRISES                         LP NETWORK INC DBA SECURITY SO
LITTLE KIDS INC                                   LPJOBS
LITTLER MENDELSON                                 LPM MEDIA GROUP INC CONTACT IN
LITTLES PLUMBING LLC MR ROOTER                    LSC COMMUNICATIONS US
LIVE INTENT INC                                   LTD SOFTWARE LLC ECOMDASH
LIVECLICKER INC-709192                            LUCAS GROUP LUCAS ASSOCIATES I
LIVINGSTON DAILY PRESS                            LUCENT JEWELERS INC
LIVINGSTON ENTERPRISE PARK COU                    LUCIANO MEYER CRETIVE LLC
LIVINGSTON PARISH NEWS                            LUCKINBILL INC
LK DESIGN GROUP INC                               LUCKY SUPPLIES
LL D INC RESPOND NEW MEXICO                       LUCKY ZONE (SHANGHAI) CO. LTD.
LL D INC RESPOND NEW MEXICO-292917                LUCKYTOWN HOME PRODUCTS INC
LM FARM LLC DBA GARDENS ALIVE                     LUEN FUNG ENTERPRISES
LMS ELECTRICAL LIGHTING MAINTE                    LUFKIN DAILY NEWS
LN INTERNATIONAL                                  LUIS GARRATON INC
LNP MEDIA GROUP                                   LUTZ ROOFING CO INC
LOADING DOCK INC                                  LUV N CARE INC
LOCAL 99 HEALTH AND WELFARE FUND                  LUXE GROUP INC THE
LOCAL MEDIA GROUP                                 LYNCH ROWIN LLP
LOCK HAVEN EXPRESS OGDEN                          LYNDEN TRANSPORT INC
PUBLICATIONS OF PA INC                            M & G JEWELERS
LOG CABIN DEMOCRAT SHIVERS TRA                    M & G PARTNERS LLP
LOL INC LANDSCAPE IMAGES OF TE                    M & J INC
LONE STAR COMMERCIAL SERVICES                     M & K DISTRIBUTORS INC
LONE STAR NEWS GROUP NEWSPAPER                    M & M FLOWER MARKET CORP
LONGFORTUNE INVESTMENTS CORP                      M & M LANDSCAPING MAINTENANCE
LONGSHORE LTD                                     M & S CONTRACTING M & S LANDSC
LONGVIEW DAILY NEWS                               M A A C PROPERTY SERVICES CINM
LONGVIEW NEWS JOURNAL TEXAS CO                    M A N E ENTERPRISES
LOOKER DATA SCIENCES INC-79150828                 M DANNY HARRISON INC
LOOMIS ARMORED US                                 M MAYO STRIPING
LOOMIS-914846                                     M R COCKERHAM SNOW REMOVAL INC
LORD DANIEL SPORTSWEAR INC                        M S K CREATIONS PVT LTD
LOREAL CARIBE INC                                 M S PORTFOLIO LLC
LOREAL COSMETIC AND FRAGRANCE                     M Z BERGER & CO INC
LORETTA LEE LIMITED                               M&E SALES L L P
LOS ANGELES NEWSPAPER GROUP                       M2 DESIGN LLC M4 GROUP INC
LOS ANGELES TIMES COMMUNICATIONS                  MAB ADVERTISING
LOSS PREVENTION FOUNDATION                        MABELS PLANTS
LOTTI INC                                         MAC MECHANICAL CONVEYOR INC
LOTUS ONDA INDUSTRIAL CO LTD                      MAC RETAIL & WHOLESALE CONSULT
LOTUSSE LLC                                       MACHUGA CONTRACTORS INC
LOUISIANA DEPARTMENT OF HEALTH AND                MACON TELEGRAPH PUBLISHING
HOSPITALS                                         MACSPORTS (HONG KONG) LIMITED
LOUISIANA LANDSCAPE SPECIALTY                     MADE 4U STUDIO LLC
LOUISIANA STATE TREASURER LOUISIANA               MADE IN THE SHADE LLC JASON L
WORKFORCE COMMISION                               MADERA TRIBUNE
LOUISO LAWN CARE & SNOW REMOVA                    MADISON COURIER
LOUISVILLE MECHANICAL SERVICES                    MADIX
LOUISVILLE SIGN CO INC                            MAERSK




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MAG INSTRUMENT INC                                MARKET FORCE INFORMATION
MAG NIF INC                                       MARKET PARTNER SR INC
MAGAZINE DIRECT SYNAPSE VENTURES INC              MARKET REFRIGERATION SPECIALIS
MAGNETIC MEDIA ONLINE INC                         MARKET TRACK
MAHALO TOURS & TRANSPORTATION                     MARKETING ADVANTAGES INTL
MAIDENFORM INC                                    MARKETING CARD TECHNOLOGY
MAINELY MEDIA LLC                                 MARKETING SUPPORT
MAINETTI USA INC-16808                            MARKETPAY ASSOCIATES
MAINSTREET NEWSPAPERS INC                         MARKWINS BEAUTY PRODUCTS INC
MAINSTREET PROMOTIONS                             MARKWINS INTERNATIONAL
MAINTENANCE TEAM INC                              MARLA DELL TALENT MDT AGENCY I
MAINTENX MAINTENX INTERNATIONA                    MARLEY LIGHT & POWER LLC
MAJESTIQUE CORPORATION                            MARNIE SIMMERING ACCT 90134047
MAJOR LINDSEY & AFRICA                            MARQUEZ BROTHERS INTERNATIONAL
MAK ROOFING & WATERPROOFING IN                    MARRS ELECTRIC
MALABY & BRADLEY LLC                              MARS PETCARE US INC
MALCA AMIT USA LLC                                MARSALA MANUFACTURING CO
MALDONADO NURSERY & LANDSCAPIN                    MARSHALL ASSOCIATES
MALONEY AND BELL GENERAL CONST                    MARSHALL CHRONICLE ADVISOR & C
MAM USA CORPORATION                               MARSHALL DENNEHEY WARNER COLEM
MANATT PHELPS PHILLIPS                            MARSHALL INDEPENDENT OGDEN NEW
MANCHESTER ENTERPRISE                             MARTAVIUS GAYLES
MANHATTAN BEER DISTRIBUTORS LL                    MARTELLI GROUP LLC
MANHATTAN MERCURY SEATON PUBLI                    MARTINEZ NEWS GAZETTE
MANHATTAN WELDING COMPANY INC                     MARTINS LANDSCAPING CO INC
MANN HUMMEL PUROLATOR FILTERS                     MARTINSBURG JOURNAL JOURNAL PU
MANNINGTON MILLS INC-685321                       MARTINSVILLE BULLETIN
MANPOWERGROUP                                     MARU GROUP LLC-711495
MANSHEEN INDUSTRIES LTD                           MARVIN C PERDUE
MANTECA BULLETIN MORRIS NEWSPA                    MARVIN STERNBERG
MANTHAN SOFTWARE SERVICES PRIVATE-                MARYLAND PENNYSAVER GROUP
709397                                            PENNYSAVER GROUP INC
MANTKIN LLC                                       MARYLAND WHOLESALE AUTOMATIVE
MANTUA MANUFACTURING CO                           MAS INTIMATES PRIVATE LIMITED
MAPLES INDUSTRIES INC                             MASTER FOODS INTERAMERICA
MAPPIN SINGAPORE PTE LTD                          MASTER FOODS INTERAMERICA MARS
MARATHON COMPANY                                  MASTERCARD INTERNATIONAL INC
MARC ANTHONY COSMETICS LTD                        MASTERMEDIA DEALS LLC
MARCH OF DIMES FOUNDATION                         MASTERPIECES PUZZLE CO INC
MARCINELLI CONSULTING LLC-711089                  MASTERPIECES PUZZLE COMPANY IN
MAR-CONE APPLIANCE PARTS                          MATANUSKA TELEPHONE ASSOCIATIO
MARCONE APPLIANCE PARTS CO                        MATARAZZI CONTRACTING LLC ANDREW J
MAREY HEATER CORP                                 MATARAZZI
MARION CHRONICLE TRIBUNE PAXTO                    MATCOM ENTERPRISES
MARION PLAZA INC                                  MATERIALS TRANSPORTATION
MARK A FRISCH                                     MATHESON TRI-GAS
MARK FIVE SERVICES INC                            MATHY CONSTRUCTION
MARK GILES LANDSCAPE COMPANY                      MATLIN GLASS LLC
MARK IT GRAPHICS THELEN GRAPHI                    MATOSANTOS COMMERCIAL CORP
MARK KOST CONSTRUCTION INC                        MATSON NAVIGATION
MARK MCCORMACK                                    MATTEL BRANDS A DIV OF MDII
MARK MOSES ELETRICAL SERVICES                     MATTEL TOYS
MARK SALES ENTERPRISE LLC                         MATTHEW E KURTZ NURSERY & TOPS
MARK YOUR SPACE INC                               MATTRESS & FURNITURE SUPPLY LL
MARKET ADVERTISING SERVICE                        MATWORKS




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MAUI NEWS                                         MEASUREMENT LIMITED INC
MAUI SODA & ICE WORKS LTD                         MEASUREMENT LTD INC
MAURICE SPORTING GOODS                            MECHANICAL DESIGN & SERVICE
MAURICE SPORTING GOODS INC                        MECHANICAL SHOP OF LAREDO INC
MAURICIO PLUMBING SERVICES                        MECHANICAL TECH GROUP INC
MAX CHEMICAL INC                                  MECHANICAL TECHNOLOGIES INC
MAX ELEGANT LIMITED                               MECHANIC'S TIME SAVERS
MAX MEHRA COLLECTIONS LLC                         MECHANICS TIME SAVERS INC
MAXELL CORPORATION OF AMERICA                     MECHANIX WEAR
MAXIMUS                                           MED TURN
MAXMARK INC                                       MEDAL SPORTS USA LLC
MAXPOINT INTERACTIVE INC                          MEDALLA DISTRIBUTOR DE PUERTO
MAXWELL BUILDERS INC                              MEDALLION LANDSCAPE MANAGEMENT
MAY CHEONG TOY PRODUCTS FTY LT                    MEDASSETS PERFORMANCE MANAGEME
MAYA GROUP INC                                    MEDELCO INC
MAYBELLINE CO                                     MEDIA CAPTIAN LLC
MAYER BROWN ROWE & MAW LLP MAY                    MEDIA GENERAL OPERATIONS
MAYFAIR ACCESSORIES INTL LTD                      MEDIA PLANNING GROUP
MAYFAIR ACCESSORIES INT'L LTD                     MEDIA SUPPLY INC
MAYHEW STEEL PRODUCTS INC                         MEDIA WORKS
MAYSVILLE NEWSPAPERS                              MEDIANEWS GROUP
MAYTAG APPLIANCES                                 MEDIAONEPA TEXAS NEW MEXICO NE
MAZZA BLACKTOP SEALING                            MEDICAL SECURITY CARD
MBSS SOLUTIONS LLC                                MEDLINE INDUSTRIES INC
MC BUILDERS LLC                                   MEDTECH PRODUCTS INC
MC SIGN                                           MEEKS PLUMBING INC
MC2 MODEL MANAGEMENT LLC                          MEENU CREATION LLP
MCAFEE INC-707903                                 MEG DIVISION OF HIRSH INDUSTRIAL
MCALEERS PLUMBING HEATING & AC                    MEGAGOODS INC
MCALESTER NEWS CAPITAL                            MEGUIARS INC
MCANDREWS HELD AND MALLOY                         MELANSON COMPANY INC
MCCALL ELECTRIC CO INC                            MELISSA & DOUG LLC
MCCARLS SERVICES INC                              MELISSA K BEAMSLEY MELISSA BEA
MCCLATCHY NEWSPAPERS                              MELITTA INC
MCCLOREY ELECTRIC INC                             MENDEZ & CO INC
MCCLURE NEWSPAPERS                                MENEHUNE WATER COMPANY INC
MCCONNELL VALDES                                  MENLO LOGISTICS
MCCOOK DAILY GAZETTE                              MENS FASHION CORPORATION
MCCUNE ELECTRICAL SERVICES JOE                    MENTHOLATUM CO
MCDERMOTT WILL & EMERY LLP                        MENU FOODS LIMITED
MCDONOUGH VOICE                                   MERCADO LATINO INC
MCELROYS INC                                      MERCER
MCGOWAN LAW OFFICE LLC                            MERCHANDISING INVENTIVES
MCKEARNEY ASPHALT & SEALING IN                    MERCHANT BUSINESS CREDIT
MCKEE FOODS CORP                                  MERCHANT FINANCIAL CORPORATION
MCKEON PRODUCTS INC                               MERKLE
MCKINNEY TRAILER RENTALS                          MEROTEC INCORPORATED
MCKINSTRY CO LLC                                  MERRICK ENGINEERING INC
MCNAUGHTON NEWSPAPERS                             MESABI DAILY NEWS
MCS LIFE INSURANCE COMPANY                        MESSENGER INQUIRER
MCS SERVICES INC                                  METAL FUSION INC
MD USA LLC                                        METAL MAN WORK GEAR CO
MDA MUSCULAR DYSTROPHY ASSOCIA                    METRO CONTROLS INC
MEAD JOHNSON & COMPANY                            METRO CONTROLS INC-79237490
MEAD JOHNSON NUTRITION INC PR                     METRO FURNITURE




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METRO PLUMBING                                    MIKE CASEY
METRO PUERTO RICO LLC                             MIKE MCGOVERN AND ASSOCIATES I
METRO RENTALS LLC                                 MIKE MEDIA GROUP INC
METRO TRAILER LEASING                             MIKE WILKEN MICHAEL WILKEN
METROPOLITAN CONSTRUCTION SYST                    MIKEN SALES INC
METROPOLITAN TELECOMMUNICATION                    MIKES CLEAN SWEEP MICHEAL A LE
MEYERS GLASS K & K MEYERS INC                     MILBERG FACTORS INC
MFG ENTERPRISES LLC                               MILEN
MGA ENTERTAINMENT                                 MILESCRAFT INC
MGA ENTERTAINMENT INC                             MILITARY PARCEL XPRESS CORPORA
MGOC                                              MILITARY SALES & SERVICES
MGP XI EL MONTE CENTER LLC MGP                    MILL CREEK ENTERTAINMENT LLC
MGSOLUTIONS INC                                   MILLAR MECHANICAL LLC JAMES MI
MHI SERVICE INC                                   MILLER BOLDT INC MILLER-BOLDT
MIA SHOES                                         MILLER CANFIELD PADDOCK AND STONE
MICHAEL A SIMMONDS CO                             MILLER LANDSCAPE INC-125492
MICHAEL BOWMAN MICHAEL T BOWMA                    MILLER MECHANICAL INC
MICHAEL G FONS                                    MILLWORK PTE LTD
MICHAEL HATCHER & ASSOCIATES L                    MILTON J WOOD COMPANY
MICHELIN NORTH AMERICA INC                        MIM SERVICES INC
MICHIGAN COMMERCIAL DOOR GROUP                    MIMEDIA INC
MICHIGAN RETAILERS ASSOCIATION                    MINDEN PRESS HERALD
MICRO WORLD CORPORATION                           MINDFUL LLC
MICRON GENERAL CONTRACTORS DVP                    MINDSEYE BUSINESS SOLUTIONS LL
MICRONESIAN BROKERS INC                           MINDSINSYNC INC
MICROSOFT                                         MINEOLA MONITOR BLUEBONNET PUB
MICROSOFT CORPORATION                             MINER CENTRAL TEXAS LT
MICROSOFT LICENSING                               MINER LTD MINER CORPORATION
MICROSTRATEGY                                     MINER SOUTHWEST LLC
MID AMERICA TILE INC-1000530311                   MING LI JIANG
MID CONTINENT BTLG CO INC                         MINGES BOTTLING GROUP INC
MID MICHIGAN LAWN STARS LLC                       MINGLE FASHION LIMITED
MID PACIFIC DISTRIBUTORS                          MINI PAPER BUYERS GUIDE
MID SOUTH ACCESS MARK BRYAN                       MINING JOURNAL OGDEN NEWS PUBLISHING
MID SOUTH PLUMBING & HEATING C                    OF MI INC
MID SOUTH PUMP SALES & SERVICE                    MINNESOTA DEPARTMENT OF LABOR &
MID STATE ELECTRIC OF OCALA IN                    INDUSTRY
MID-AMERICA TRANSFER                              MINNESOTA LIFE INSURANCE COMPA
MIDDLESBORO DAILY NEWS CIVITAS                    MINNESOTA RETAIL MERCHANTS ASS
MIDEA AMERICA CORP                                MINTEL INTERNATIONAL GROUP LTD-
MIDEA INTERNATIONAL TRADING CO                    1018488736
MIDLAND PUBLISHING                                MINTEXRX INC
MIDLAND REPORTER TELEGRAM                         MINUTEMAN PRESS INTERNATIONAL
MIDTRONICS INC-1151752482                         MIRACLESUIT
MIDWAY IMPORTING INC                              MIRARCHI ELECTRIC
MIDWAY SIGNS INC CHARLES G CRU                    MIRELES LANDSCAPING ROBERTO MI
MIDWEST AIR TECHNOLOGIES INC                      MIRROR EXCHANGE
MIDWEST CAN COMPANY                               MISSION ELECTRIC COMPANY KOSIT
MIDWEST COCA COLA BTLG                            MISSION FOODS
MIDWEST COMMERCIAL CONSTRUCTIO                    MISSOULIAN
MIDWEST ENGINE WAREHOUSE                          MISSOURIAN PUBLISHING COMPANY
MIDWEST PROMOTIONAL GROUP-5522875                 MISTER D S CONSTRUCTION INC
MIDWEST SNOWTECH MIDWEST SNOW                     MISTER SWEEPER
MIDWEST TOOL AND CUTLERY COMPA                    MISTOLIN CARIBE INC
MIEN CO LTD                                       MITCHELL & PHILLIPS INC




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MIX & GOLDMAN LLC                                 MORRISON & FOERSTER
MIXPANEL INC                                      MORRISTOWN STAR STRUCK LLC-44350460
MIXPANEL INC-708747                               MORROW MEADOWS CORP
MJ HOLDING COMPANY LLC                            MORTON SALT INC
MJC INTERNATIONAL GROUP LLC                       MOSAIC DATA SCIENCE MOSAIC ATM
MKK ENTERPRISES CORP                              MOSCOW PULLMAN DAILY NEWS
MMA HOLDING GROUP INC                             MOSES AND SINGER LLP
MMC CONTRACTORS MMC CONTRACTOR                    MOSO GRAPHICS
MNC APPARELS LTD                                  MOSO GRAPHICS LLC MOSO GRAPHIC
MOBERLY MONITOR                                   MOSS ROOFING & INSULATION
MOBILE MINI                                       MOTIONPOINT
MOBILE MODULAR PORTABLE STORAG                    MOUNTAIN DEMOCRAT AND TIMES
MOBILE VAC RICHARD A SCHERER                      MOUNTAIN HOME NEWS
MOBILEVAC H L ANDERSON & SON I                    MOUNTAIN MAIL ARKANSAS CALLEY
MODEL SERVICE AGENCY MODEL SER                    MOUNTAIN TIMES PUBLICATIONS HI
MODELOGIC MIDWEST LLC                             MOUNTAINER NEWSPAPERS
MODIS                                             MOWER COUNTY SHOPPER
MOGI BRANDING LLC                                 MOWTOWNUSA
MOHAWK FACTORING                                  MPC INC
MOHAWK INDUSTRIES INC                             MPM FOOD EQUIPMENT GROUP INC-631804
MOJACK DISTRIBUTORS LLC                           MR CHRISTMAS LTD
MOLINE DISPATCH PUBLISHING CO                     MR ELECTRIC OF SAN ANTONIO SAN
MOMENTIVE PERFORMANCE MATERIAL                    MR NATURAL INC
MOMMA CUISINE INC JOHANNA MARI                    MR VACUUM INC
MONADNOCK COMMERCIAL BUILDING                     MSCRIPTS LLC
MONADNOCK LEDGER                                  MSPARK MAILSOUTH INC
MONADNOCK SHOPPER NEWS SHAKOUR                    MT AIRY NEWSPAPERS CIVITAS HOL
MONDELEZ PUERTO RICO LLC                          MT VERNON NEWS
MONOGRAM CREATIVE GROUP                           MTD PRODUCTS INC
MONONA PLUMBING & FIRE PROTECT                    MTM TECHNOLOGIES-157727991
MONROE EVENING NEWS MONROE PUB                    MUELLER SPORTS MEDICINE INC
MONROE JOURNAL BOLTON NEWSPAPE                    MULTI LINK APPAREL JIANGYIN CO
MONROE PIPING & SHEET METAL LL                    MULTI MEDIA CHANNELS LLC
MONSTER WORLWIDE INC MONSTER COM                  MULTI-LINK APPAREL (JIANGYIN)
MONTANA STANDARD                                  MULTIMEDIA HOLDINGS
MONTEREY BAY PROF LNDSCP SVS I                    MULTIPET INTERNATIONAL INC
MONTEZUMA VALLEY PUBLISHING IN                    MULTIPLE SOLUTIONS INC ONE 1 M
MONTGOMERY ADVERTISER                             MULTIVIEW
MOORE & BISER PLLC                                MULTI-WALL PACKAGING
MOORE CREATIVE GROUP BARRINGTO                    MUNCHKIN INC
MOORE MEDICAL                                     MUNCIE STAR & EVENING PRESS
MOORHEAD CONSTRUCTION CO LLC                      MUNIE OUTDOOR SERVICES INC MUN
MOOSE TOYS PTY LTD                                MUNSON LANDSCAPING & EXCAVATIN
MORALES DISTRIBUTORS INC                          MURALS & SO MUCH MORE RICHARD
MORET SK LLC                                      MURNANE BRANDT PA
MORGAN LEWIS & BOCKIUS                            MURPHY PAVING AND SEALCOATING
MORGAN STANLEY SMITH BARNEY HO                    MURRAY LEDGER AND TIMES MURRAY
MORNING CALL                                      MUSIC TECHNOLOGIES INTERNATIONAL-
MORNING JOURNAL NORTHEAST PUBL                    98574
MORNING STAR PUBLICATIONS INC                     MUSIC TECHOLOGIES
MORNING SUN                                       MUTH ELECTRIC INC
MORNING TIMES                                     MUTUAL BUSINESS FORMS EUGENIE
MORRICO EQUIPMENT                                 MUZAK
MORRIS COMMUNICATIONS                             MVP GROUP INTERNATIONAL INC
MORRIS NICHOLS ARSHT & TUNNELL                    MXD GROUP




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MYERS MEDIA GROUP LLC                             NEBRASKA GAME & PARKS COMMISSI
MYERS TIRE SUPPLY INTERNATIONAL                   NEHEMIAH MANUFACTURING COMPANY
MYKEL PALAZZINI                                   NEIGHBOR NEWSPAPERS
MYOFFICEPRODUCTS.COM                              NEIL KRAVITZ GROUP SALES INC
MZB WORLD TIME LIMITED                            NEILMED PHARMACEUTICALS INC
N G HEIMOS GREENHOUSES INC                        NEOGRAPHICS DENNIS DUROS CUBER
N I MEDIA GROUP                                   NES JEWELRY INC
NABCO ENTRANCES                                   NESBITT TRUCKING
NACDS INC                                         NESHOBA DEMOCRAT
NAFECS LIMITED                                    NESTLE PURINA PET CARE COMPANY
NAN SHAN INTERNATIONAL CO LTD                     NESTLE USA INC
NANJING SANIC TRADING CO. LTD.                    NESTLE USA INC DSD
NANTONG SPLENDOR INTL TRADING                     NET HEALTH SHOPS LLC
NAPA VALLEY PUBLISHING                            NETAPP
NAPC INC-699251                                   NETRELEVANCE
NARULA CONSULTING SATISH C NAR                    NETWORK FRONTIERS LLC-702008
NASDAQ CORPORATE SOLUTIONS LLC                    NEVADA NEWS
NASHVILLE RAIDER                                  NEW AMERICAN FOOD PRODUCTS LLC
NASSA BASICS LTD                                  NEW BRAUNFELS HERALD & ZEITUNG
NATCHEZ NEWSPAPERS INC                            NEW BRIGHT INDUSTRIAL CO LTD
NATCHITOCHES TIMES                                NEW BRITAIN HERALD CENTRAL CON
NATCO PRODUCTS                                    NEW ENGLAND COFFEE NEW ENGLAND
NATERRA INTERNATIONAL INC                         NEW ENGLAND RETAIL EXPRESS
NATIONAL ASSOCIATION OF HOME                      NEW ENTERPRISE LANDMARK COMMUN
NATIONAL DISTRIBUTION WHSE INC                    NEW HAMPSHIRE FISH & GAME DEPT
NATIONAL EVENT PUBLICATIONS PR                    NEW IMAGE BUILDING SERVICES IN
NATIONAL GLASS & GATE SERVICES                    NEW IMAGE BUILDING SERVICES INC-599571
NATIONAL GOVERNMENT SERVICES PCU-                 NEW JERSEY HERALD
DME MAC INDIANA                                   NEW JERSEY RETAIL MERCHANTS AS
NATIONAL HEALTH INFORMATION                       NEW MILANI GROUP INC
NETWORK                                           NEW PIG
NATIONAL HVAC SERVICE                             NEW PIONEER INDUSTRIAL LIMITED
NATIONAL HVAC SERVICE CO                          NEW RELIC INC
NATIONAL INTERNATIONAL ROOFING                    NEW SUB SERVICES
NATIONAL PRESTO INDUSTRIES INC                    NEW SV MEDIA INC
NATIONAL PRINTING STEVE MOLINO                    NEW ULM JOURNAL OGDEN NEWSPAPE
NATIONAL RECYCLING CORP                           NEW WAY CONSULTING INC
NATIONAL ROOFING COMPANY                          NEW YORK TRANSIT INC
NATIONAL ROOFING PARTNERS RL N                    NEWAGE PRODUCTS INC
NATIONAL SIGN CORP                                NEWARK MORNING LEDGER
NATIONS ROOF LLC                                  NEWAY INTERNATIONAL INC
NATROL LLC                                        NEWPORT DAILY NEWS EDWARD A SH
NATURAL DIAMOND CORPORATION US                    NEWS AND CITIZEN
NATURAL RESOURCE TECHNOLOGY IN                    NEWS AND OBSERVER PUBLISHING
NATURAL TEXTILE CO. LTD.                          NEWS COURIER
NATURES MARK LLC                                  NEWS DATA SERVICE INC KAREN AN
NATURES PILLOWS INC                               NEWS DISPATCH
NAVEX GLOBAL INC                                  NEWS GAZETTE INC
NAVIGANT CONSULTING                               NEWS GRAM
NAVYSTAR COMPANY LIMITED                          NEWS JOURNAL
NAYLOR LLC                                        NEWS LEADER
NBE ELECTRICAL CONTRACTORS INC                    NEWS OBSERVER
NBTY INC                                          NEWS PRESS PUBLISHING
NCR                                               NEWS PUBLISHING
NDA WHOLESALE DISTRIBUTORS                        NEWS RECORD




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NEWS REPORTER CO INC                              NORTH BAY APPAREL LLC
NEWS REVIEW LOTUS MEDIA GROUP                     NORTH CAROLINA RETAIL MERCHANT
NEWS SUN SUNCOST MEDIA GROUP I                    NORTH COUNTRY THIS WEEK INC
NEWS TELEGRAM                                     NORTH GEORGIA NEWS
NEWS TIMES                                        NORTH GEORGIA NEWSPAPER GROUP
NEWS TRIBUNE                                      NORTH HANOVER CENTRE REALTY LL
NEWS VIRGINIAN                                    NORTH JERSEY MEDIA GROUP
NEWS WEST PUBLISHING                              NORTH PACIFIC PAPER CORP
NEWS XPRESS JON S PETERS                          NORTH PLATTE TELEGRAPH
NEWSDAY MEDIA GROUP                               NORTH STAR PUBLISHING CO RED W
NEWSPAPER AGENCY                                  NORTH STATE TELEPHONE CO
NEWSPAPER HOLDING                                 NORTHEAST MISSISSIPPI DAILY JO
NEWSPAPERS OF WEST GEORGIA PAX                    NORTHEAST PUBLISHING COMPANY B
NEWSPRINT INC                                     NORTHEASTERN PLASTICS INC
NEWS-STAR                                         NORTHERN BOTTLING COMPANY
NEWTON 2 ENTERPRISES RICHARD L                    NORTHERN LIGHT TREE COMPANY
NEWTOYS & NOVELTY HK LIMITED                      NORTHERN MICHIGAN REVIEW ACCOU
NEXGRILL INDUSTRIES INC                           NORTHERN PEABODY LLC
NEXT DAY MRO                                      NORTHERN SAFETY COMPANY INC
NEXT MANAGEMENT LLC                               NORTHLAND ALUMINUM PRODUCTS IN
NEXTAG INC                                        NORTHLAND CONSTRUCTORS OF DULU
NEXUM                                             NORTHLAND MECHANICAL CONTRACTO
NHI MEDIA                                         NORTHSTAR MEDIA INC CAMBRIDGE
NHI NEWSPAPER HOLDINGS INC                        NORTHSTAR RECOVERY SERVICES
NHS GLOBAL EVENTS NATIONAL HOT                    NORTHWEST COMPANY LLC
NIAGARA BOTTLING                                  NORTHWEST NEWS CO INC
NIAGARA BOTTLING LLC                              NORTHWEST PALLET SUPPLY
NICHOLAS CHRONICLE NICHOLA COU                    NORTHWEST YELLOW LLC MORMAN JO
NICOLSON LAW GROUP LLC                            NOTIONS MARKETING CORP E COMME
NIELSEN MEDIA RESEARCH AC NIEL                    NOVA GENESIS INTL CO LTD
NIELSEN MEDIA RESEARCH-1007130613                 NOVA PALM LTD
NIELSEN ZEHE & ANTAS P C                          NOVA SERVICES INC
NIGELS RELIABLE SERVICES NIGEL S                  NOVEL SHOES CO LTD
WILLIAMS                                          NOVO GROUP INC THE NOVO GROUP
NII NORTHERN INTERNATIONAL INC                    NPB COMPANY INC
NILIMA ONLINE SERVICES INC                        NPD GROUP INC
NIN GROUP INC                                     NPG NEWSPAPERS INC
NINA FOOTWEAR CORP                                NPN 360 INC
NINGBO HESHENG FASHION ACC CO                     NRI NATIONAL RESOURCES INC
NINGBO JADE SHOES CO LTD                          NSA MEDIA
NINGBO MEIQI TOOL CO LTD                          NSF SERVICES INC
NITEO PRODUCTS LLC                                NTM INC
NITROGOLF LLC                                     NUANCE COMMUNICATIONS
NITTANY PRINTING AND PUBLISHING                   NUCO2 LLC NUCO2 INC AND SUBSID
NIVEN MARKETING GROUP R D NIVE                    NUDELL ARCHITECTS J HOWARD NUD
NKOK INC                                          NURTURE INC
NLMS                                              NUTRITION AND FITNESS INC
NOBLAND INTERNATIONAL INC.                        NUWAVE LLC
NOHODO LLC                                        NVC LOGISTICS GROUP
NOR LAKE INCORPORATED-689765                      NVE INC
NORCELL                                           NW ARKANSAS DEMOCRAT GAZETTE A
NORFOLK DAILY NEWS                                NWH JEWELRY GROUP
NORMAN R YORK JR                                  NXGN INC-80292752
NORRIS TYSSE LAMPLEY & LAKIS L                    O BANNON PUBLISHING CO
NORTH AMERICAN ROOFING SERVICES                   O CONNELL ELECTRIC COMPANY




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O D Y ACCESSORIES INC                             ONE REPUBLIC HOLDINGS LLC-21796473
O MEARA LEER WAGNER & KOHL PA                     ONE TO ONE GARMENT MFG LTD
O NEILL & BORGES                                  ONE TOUCH GROUNDS MAINTENANCE
OAHU PUBLICATIONS                                 ONE WAY FASHIONS INC
OAK BROOK MECHANICAL                              ONE WORLD TECHNOLOGIES IN
OAKLEAF WASTE MANAGEMENT                          ONEIL SALE EDWARD A O NEIL
OB C GROUP LLC                                    ONEILL & BORGES
OBERING WURTH & ASSOCIATES LLP                    ONFIELD APPAREL GROUP LLC
OBJECTIF LUNE LLC                                 ONION INC
OBSERVEPOINT INC-711792                           ONIX NETWORKING CORPORATION
OBSERVER                                          ONTEL PRODUCTS CORP
OBSERVER & ECCENTRIC NEWSPAPERS                   ONYX CORPORATION
OBSERVER NEWSPAPERS                               OP4G CORPORATE BILLING
OBSERVER PUBLISHING                               OPEN TEXT CORP-56614
OCALA STAR BANNER                                 OPERATIVE SOFTWARE PRODUCTS-711023
OCCK INC                                          OPSTECHNOLOGY INC
OCEAN SIDE FARMS INC                              OPTIMAL LDM LLC
OCEAN SPRAY CRANBERRIES INC                       OPTIMIZELY INC
OCONEE PUBLISHING INC                             OPTIMUM FULFILLMENT
OCW RETAIL - DEDHAM LLC                           OPTIV SECURITY
OELWEIN DAILY REGISTER OELWEIN                    ORA INTERACTIVE LLC-710542
OFFICE EQUIPMENT COMPANY OF MO                    ORACLE AMERICA
OFFICEMATE INTERNATIONAL CORP                     ORACLE ELEVATOR
OFFICIAL PILLOWTEX LLC                            ORACLE SYSTEMS
OFFICIAL PILLOWTEX LLC ACCRUAL                    ORANGE LANDSCAPING CHRISTOPHER
OGDEN NEWSPAPERS                                  ORE INTERNATIONAL INC
OGDEN PUBLISHING CORPORATION                      OREGON LITHOPRINT INC NEWS REG
OGEMAW COUNTY HERALD SUNRISE P                    OREGON PUBLICATIONS CORP COMMU
OGLETREE DEAKINS NASH SMOAK &                     OREGONIAN PUBLISHING
STEWART                                           ORGANIC TOOL CORP THE
OHIO MULCH SUPPLY INC                             ORGANIZE IT ALL INC
OHIO PAVING & CONSTRUCTION                        ORGANIZED FISHING INC
OHIO STEEL INDUSTRIES INC                         ORGILL
OHLSSON MANAGEMENT LLC BRANDIS                    ORGILL BROTHERS & CO
OKIN AND ADAMS LLP                                ORIENTAL LEAD INVESTMENTS LIMI
OKLAHOMA CHILLER CORPORATION                      ORIENTAL UNLIMITED INC
OLD DUTCH FOODS INC                               ORIGINAL CALIFORNIA CAR DUSTER
OLD WORLD INDUSTRIES LLC                          ORIGINAL GOURMET FOODS CO INC
OLEAN TIMES HERALD BRADFORD PU                    ORIGINAL SMITH PRINTING-696240
OLIVER CONSULTING INC                             ORION ENERGY SYSTEMS
OLLA BEAUTY SUPPLY INC DC & JI                    ORION ICS LLC
OLYMPIA TOOLS INTERNATIONAL IN                    ORR SAFETY CORP
OLYMPIC FOREST PRODUCTS COMPANY-                  ORR SAFETY CORP-1024077364
711220                                            ORRICK HERRINGTON & SUTCLIFFE
OMAHA ELECTRIC SERVICE INC                        OSCAR W LARSON
OMAHA WORLD-HERALD                                OSI INC
OMEGA CLEANING CO                                 OSLER HOSKIN & HARCOURT LLP
OMNI CART SERVICES INC                            OTHELLO OUTLOOK
OMNI UNITED USA INC                               OTTAWA HERALD GATEHOUSE MEDIA
OMNILIFT                                          OTTAWAY NEWSPAPERS
OMRON HEALTHCARE INC                              OUR ALCHEMY LLC
ON TIME DISTRIBUTION LLC                          OUT INTERNATIONAL INC
ONE CALL NOW SWN COMMUNICATION                    OUTDOOR FX INC
ONE JEANSWEAR GROUP INC                           OUTDOOR LEISURE PRODUCTS INC
ONE REPUBLIC HOLDINGS LLC                         OUTDOOR LIVING INC




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OUTDOOR OASIS JAMES S WHITE JR                    PAN ASIAN CREATIONS LIMITED
OUTDOOR RECREATION GROUP THE                      PAN PEPIN INC
OUTER BANKS SENTINEL SLAM PUBL                    PANEL PROCESSING INC-370056
OUTERSTUFF LTD                                    PAN-FORMOSA INTERNATIONAL CORP
OV DOORS CORP                                     PANLINE USA INC
OVED APPAREL CORPORATION                          PANOLA WATCHMAN TEXAS COMMUNITY
OVERHEAD DOOR                                     MEDIA LLC
OVERHEAD DOOR SOLUTIONS INC                       PAN-PACIFIC CO. LTD
OWNERIQ INC                                       PANTAGRAPH
OXFORD EAGLE OXFORD NEWSMEDIA                     PANTIES PLUS
OXFORD GLOBAL RESOURCES                           PAPER OF MONTGOMERY COUNTY
OXO INTERNATIONAL LTD                             PAPERHOUSE CORPORATION
P & T CLEANING AND LAWN CARE C                    PARADIES GIFTS INC
P J CHONBURI PARAWOOD CO LTD                      PARADIGM FITNESS EQUIPMENT INC
P L DEVELOPMENTS INC                              PARADIGM TECHNOLOGY CONSULTING
P M F RENTALS                                     PARADISE BEVERAGES INC
P W C HAWAII CORPORATION                          PARADISE VALLEY MALL SPE LLC
PAC VAN INC                                       PARAGOULD DAILY PRESS
PACE SHAVE                                        PARAMOUNT RX INC
PACER                                             PARFUMS DE COEUR
PACESETTER IMPORTS                                PARIS NEWS SOUTHERN NEWSPAPERS
PACIFIC ALLIANCE USA INC                          PARIS POST INTELLIGENCER
PACIFIC CHARLIE CO INC                            PARIS PRESENTS
PACIFIC CUP                                       PARKER EXCAVATING INC
PACIFIC CYCLE                                     PARKER HANNIFIN CORPORATION
PACIFIC GREEN LANDCARE LLC                        PARKER ROSEN LLC
PACIFIC LP GAS                                    PARKERSBURG NEWSPAPER NEWS & S
PACIFIC MARKET INC LLC                            PARKS ENVIRONMENTAL CONSULTING
PACIFIC NORTHERN                                  PARLANCE CORPORATION-966128795
PACIFIC NORTHWEST PUBLISHING                      PARSONS PUBLISHING
PACIFIC PAPER PRODUCTS INC                        PARTERRE FLOORING & SURFACE SYSTEMS-
PACIFIC RIM UNLIMITED INC                         1011826245
PACIFIC TRANSFER                                  PARTITION SYSTEMS
PACIFIC TRANSPORTATION LINES                      PARTNERS IN LEADERSHIP
PACIFIC TRANSPORTATION SERVICES                   PARTY WORLD CO LTD
PACKAGING ALTERNATIVES CORPORA                    PASCHALL TRUCK LINES INC
PACKAGING ASSOCIATES                              PASTORI LANDSCAPE
PACKAGING CORPORATION OF AMERI                    PATRIOT-NEWS
PACKAGING CREDIT COMPANY LLC P                    PATTEN INDUSTRIES INC
PACKERS PROVISION CO OF PUERTO                    PAUL HASTINGS
PACKET MEDIA LLC                                  PAUL L DONAKOWSKI PAUL L DONAK
PACKIT LLC                                        PAUL LENNEN
PACO (CHINA) GARMENT LTD                          PAVE THE WAY INC
PADDOCK PUBLICATIONS INC                          PAVE WEST INC
PAGOSA SPRINGS SUN                                PAVEMENT SERVICES CORPORATION
PAKMARK                                           PAWTUCKET TIMES
PAL SERV OF DALLAS LLC                            PAXTON MEDIA GROUP
PALADIN MARKETING RESOURCES                       PAYSON ROUNDUP NEWSPAPER WORLD
PALESTINE HERALD PRESS NEWSPAP                    PC CONNECTION SALES CORP PC CO
PALLADIUM ITEM FEDERATED PUBLI                    PC CONNECTION SALES CORP-360859
PALLET FACTORY INC                                PCA PREMIERE BRANDS CORP
PALM TREE ENTERPRISE CO LTD                       PCCS (HONG KONG) LIMITED
PALMER PROMOTIONAL PRODUCTS-691465                PCL CO LIMITED
PALO VERDE VALLEY TIMES YUMA S                    PDX
PAMPA BEVERAGES LLC                               PEACOCK APPAREL GROUP INC




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PEARL GLOBAL INDUSTRIES LTD                       PERIO INC
PEARL GLOBAL INDUSTRIES LTD.                      PERKINS T P TRAILERS
PEARSON CONSTRUCTION CORP                         PERMASTEEL INC
PEDDLER PRINT ADVERTISING INC                     PERMISSION DATA LLC
PEDS LEGWEAR USA INC                              PERRYS LAWNSCAPE & PROPERTY MG
PEGGS                                             PERSADO
PEKIN DAILY TIMES                                 PERSONAL CARE PRODUCTS LLC
PEL INDUSTRIES                                    PERSONALI INC
PENN JERSEY ADVANCE                               PERU DAILY TRIBUNE PUBLISHING
PENNSYLVANIA DEPARTMENT OF STATE                  PESHTIGO TIMES
PENNSYLVANIA JOINT BOARD                          PET PARTNERS INC
PENNSYLVANIA RETAILERS ASSOC                      PETER A KLINE
PENNY POWER                                       PETER JIN
PENNYSAVER                                        PETERSON TECHNOLOGY PARTNERS
PENNYSAVER CA DAYTONA HOLDINGS                    PETOSKEY PLASTICS INC-51761013
PENSACOLA NEWS JOURNAL                            PETRO WEST INC
PENTAHO-706999                                    PETTIT KOHN INGRASSIA & LUTZ P
PENTEL OF AMERICA LTD                             PETUNIA LLC
PENULTIMATE CONSULTING                            PG & E
PEOPLE SCOUT INC                                  PHARMACISTS LETTER THERAPEUTIC
PEOPLESHARE                                       PHARMACY QUALITY SOLUTIONS INC
PEORIA JOURNAL STAR                               PHARMACY QUALITY SOLUTIONS INC-709545
PEORIA METRO CONSTRUCTION                         PHELPS INDUSTRIES LLC
PEPPERIDGE FARM INC                               PHILADELPHIA NEWSPAPERS
PEPSI AMERICAS                                    PHILIPS ACCESSORIES AND COMPUT
PEPSI BOTTLING VENTURES LLC                       PHILLIP C HENTSCHEL
PEPSI COLA BOTTLING CO                            PHILLIPS LANDSCAPING DAVID PHI
PEPSI COLA BOTTLING CO GUAM                       PHILLIPS MEDIA GROUP LLC PHILL
PEPSI COLA BOTTLING OF THE DAL                    PHOENIX (QINGDAO) GARMENT CO L
PEPSI COLA BOTTLING OF WALLA W                    PHOENIX ENERGY TECHNOLOGIES
PEPSI COLA BTLG                                   PHOENIX SOFTWARE INTERNATIONAL INC-
PEPSI COLA BTLG CO                                539866
PEPSI COLA BTLG CO OF BLACK HI                    PHP SALES
PEPSI COLA BTLG CO OF HICKORY                     PHU NGUYEN LLC
PEPSI COLA BTLG CO OF SALISBUR                    PHYSICIANS FORMULA INC
PEPSI COLA BTLG CO PUERTO RICO                    PICO MANUFACTURING SALES CORP
PEPSI COLA BTLG COMPANY OF NY                     PIEDMONT COCA COLA BOTTLING
PEPSI COLA COMPANY                                PIEDMONT MATERIAL HANDLING LLC
PEPSI COLA OF WESTERN NEBRASKA                    PIEDMONT SIGN SERVICE BLAIN A
PEPSICO CARIBBEAN INC                             PIERCE ATWOOD LLP ATTORNEYS AT
PEPSI-COLA BOTTLING GROUP                         PIERPASS LLC
PEPSI-COLA GENERAL BOTTLERS                       PIERRE HANDL ENGINEERING EXPER
PEPSI-COLA METROPOLITAN BOTTLING                  PILOT AUTOMOTIVE INC
PEREGRINE INC                                     PILOT CORPORATION OF AMERICA
PERFECT FIT INDUSTRIES LLC                        PILOT TRAVEL CENTERS
PERFECT SWEEP INC                                 PIMKIE APPARELS LTD.
PERFECTION GROUP INC                              PINEAE GREENHOUSES INC
PERFECTSIGNS COM PERFECT SIGNS                    PINNACLE ADVERTISING & MARKETING-
PERFICIENT INC-11260838                           38146440
PERFORMANCE BUILDERS INC LABOR                    PINNACUS LLC
PERFORMANCE BUILDERS INC PARTS                    PINON MECHANICAL SERVICES INC
PERFORMANCE DESIGNED PRODUCTS                     PINTEREST INC
PERFORMANCE TEAM FREIGHT SYSTEMS                  PIONEER GROUP
PERFORMANCE TRUCKING INC                          PIONEER PRESS
PERFUME WORLDWIDE INC                             PIONEER VNS




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PIPP MOBILE STORAGE SYSTEMS INC-418178            POUYAN BARZIVAND
PITNEY BOWES BANK                                 POWELL MECHANICAL LLC GLEN E P
PITNEY BOWES SOFTWARE                             POWELL VALLEY PRINTING COMPANY
PITTSBURGH COMMERCIAL CLEANING                    POWER CLEAN OF TEXARKANA NORTO
PITTSBURGH POST GAZETTE                           POWER LINE CONTRACTORS INC
PLACO BUBBLES LTD                                 POWER PRICE INC
PLAINVIEW DAILY HERALD                            POWER TECHNOLOGY INC
PLANTATION PRODUCTS LLC SBT                       POWER TOOL SPECIALISTS INC
PLASTIC DISPLAYS MFG CO INC                       POWER VAC SERVICES LLC
PLASTICOLOR MOLDED PRODUCTS                       POWERBLOCK INC
PLATFORA INC-706591                               POWERREVIEWS
PLATTEVILLE SHOPPING NEWS WOOD                    PPG INDUSTRIES
PLAYMATES TOYS INC                                PPH VITBIS SP. Z O.O.
PLAYMIND LIMITED                                  PQA INC
PLAYMONSTER LLC                                   PR NEWSWIRE INC PR NEWSWIRE AS
PLAZA PROVISION CO                                PR REVOLUTION LLC
PLEASANTON EXPRESS WILKERSON P                    PRACTECOL LLC
PLM INDUSTRIES INC                                PRAIRIE ELECTRIC COMPANY INC
PLUM GROUP LLC                                    PRAIRIE FARMS DAIRY INC
PLUMB MEDIC INC                                   PRAIRIE MOUNTAIN PUBLISHING
PLUMBING & SEWER CLEANING R US                    PRAIRIE STONE
PLUMBING JOINT INC                                PRATT CORRUGATED HOLDINGS JET
PLUMBING MASTER LOZANO PLUMBIN                    PRATT INDUSTRIES
PLUMBING TECHNOLOGIES LLC                         PRATT TRIBUNE LIBERTY GROUP
PLUMCHOICE                                        PRAXAIR
PLUMP ENGINEERING                                 PRC MECHANICAL M & D PLUMBING
PLUS LOCATION SYSTEMS-835596763                   PRECISION CONTROL SYSTEMS OF C
PLUSONE SOLUTIONS INC                             PRECISION CONTROL SYSTEMS-1129043175
PM FLEET LUBE AND SERVICE INC                     PRECISION CONVERTERS INC
PM TECHNOLOGIES LLC PREVENTIVE                    PRECISION ELECTRICAL COMPANY I
PM TECHNOLOGIES LLC-269907                        PRECISION ELECTRICAL CONTRACTO
PMG ACQUISITION                                   PRECISION LANDSCAPE & EXCAVATI
PNY TECHNOLOGIES INC                              PRECISION PRODUCTS INC
POLAR AIR CONDITIONER VAZQUEZ                     PRECISION PROPERTY SERVICES LL
POLAR CORP                                        PRECISION RETAIL ASSEMBLY MARK
POLK COUNTY PUBLISHING CO                         PREFERRED COMMERCE INC
POLSINELLI SHALTON PC                             PREFERRED DISPLAY INC-795489561
PONCA CITY NEWS PONCA CITY PUB                    PREFERRED MEDIA PREFERRED MEDI
PONCE CARIBBEAN DISTRIBUTORS I                    PREMIER CONTRACTING INC
POND NORTH                                        PREMIER EXECUTIVE TRAILERS LLC
POP COMMUNICATIONS LLC ROBYN U                    PREMIER HEALTHCARE PREMIER HEA
POPULAR PAYS INC                                  PREMIER HORTICULTURE INC
POPULUS BRANDS LLC                                PREMIER LOGISTICS & TRANSPORTA
PORTAGE COUNTY GAZETTE GAZETTE                    PREMIER TRANSPORT
PORTER ROOFING CONTRACTORS INC                    PREMIER TRANSPORTATION
POSITEC MACAO COMM OFFSHORE LT                    PREMIUM BRANDS OF MICHIGAN LTD
POSITEC USA INC                                   PREPAC MANUFACTURING LTD
POST AND MAIL HORIZON INDIANA                     PRESCOTT COURIER PRESCOTT
POST COBB PUBLISHING LLC                          NEWSPAPERS INC
POST GARDENS OF BATTLE CREEK I                    PRESS & DAKOTAN
POST JOURNAL                                      PRESS & STANDARD WALTERBORO NE
POST REGISTER                                     PRESS DEMOCRAT
POST STANDARD                                     PRESS OF ATLANTIC CITY WORLD M
POTEX TOYS MANUFACTURER LTD                       PRESS REPUBLICAN COMMUNITY NEW
POUGHKEEPSIE JOURNAL                              PRESS TRIBUNE IDAHO PRESS TRIB




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PRESS-ENTERPRISE                                  PROPHET BRAND STRATEGY INC-825207863
PRESSMAN TOY CORP                                 PROSCAPE LAWN & LANDSCAPE SERV
PRESSURE SPRAY INC                                PROSPACE INTERNATIONAL CO LTD
PRESTIGE MAINTENANCE                              PROSPEROUS INTERNATIONAL LTD
PRESTO PRODUCTS COMPANY                           PROSTRIPE LLC
PRESTONE PRODUCTS CORPORATION                     PROTECH DELIVERY AND ASSEMBLY
PRGX                                              PROTECH ELECTRIC LLC
PRGX GLOBAL                                       PROTECTION ONE ALARM MONITORING
PRICE COUNTY REVIEW APG MEDIA                     PROTECTIVE TECHNOLOGIES INTL
PRIME ELECTRIC INC                                PROTOS SECURITY
PRIME TIME TOYS LTD                               PROVIDENCE JOURNAL
PRIMO WATER CORPORATION                           PROVIDENCE PRODUCTS LLC
PRIMO WATER CORPORATION SBT                       PRUDENT INTERNATIONAL LTD
PRIMOW LANDSCAPE                                  PSS DISTRIBUTION LP
PRINCE OF PEACE ENTERPRISES IN                    PT BUSANAREMAJA AGRACIPTA
PRINCETON PUBLISHING CO INC                       PTC
PRIORITY ELECTRIC INC                             PTG LOGISTICS
PRIORITY STAFFING INC                             PTI GROUP INC
PRISM PUBLISHING                                  PTI PACIFICA INC
PRO STRIPING & ASPHALT MAINTEN                    PTR BALER AND COMPACTOR
PRO TECH MECHANICAL INC                           PUBLISHING PROPERTIES
PRO TECH MECHANICAL SERVICES                      PUEBLO CHIEFTAIN STAR JOURNAL
PRO TECH MECHANICAL VALLEY LLC                    PUERTO RICO SUPPLIES CO INC
PROCTER & GAMBLE COMMERCIAL LL                    PUERTO RICO SUPPLIES CO INC PU
PROCTER & GAMBLE DISTIBUTING L                    PULITZER NEWSPAPERS
PRODUCT DESIGN CANOPY LTD                         PULSAR PRODUCTS INC
PRODUCT DEVELOPMENT TECHNOLOGI                    PULSELEARNING LTD-985112643
PRODUCTOS NORMA INC                               PURE GLOBAL BRANDS INC
PRODUCTWORKS LLC                                  PURE SUN DEFENSE LLC
PROFESSIONAL GOLF BALL SERVICE                    PURITY WHOLESALE GROCERS INC
PROFESSIONAL LOT MAINTENANCE B                    PUSH SOLUTIONS LLC-703045
PROFESSIONAL PAVEMENT SERVICES                    PUTIAN NEWPOWER INT'L TRADE CO
PROFESSIONAL PAVING & CONCRETE                    PUYOUNG IND CO LTD
PROFESSIONAL PROPERTY MAINTENANCE                 PVH NECKWEAR INC
OF MIS                                            QEP COMPANY INC
PROFILE ENT                                       QINGHE ZHANG
PROFIT RECOVERY LLC-710711                        QL2 SOFTWARE LLC
PROFIT SEEKERS                                    QUAD GRAPHICS
PROFORMA                                          QUAKER OATS COMPANY
PROFORMA PFG HOWLAND PRINTING                     QUALITY CALIBRATION SERVICE IN
PROGRAMONE                                        QUALITY FOR SALE
PROGRESSIVE FLOORING SERVICES                     QUALITY HOUSE INT
PROGRESSIVE SERVICES LLC                          QUALITY INTERNATIONAL INC
PROGRESSIVE SERVICES RANDY FLO                    QUALITY KING DISTRIBUTORS INC
PROJECT RESOURCE SOLUTIONS                        QUALITY KING FRAGRANCE INC
PROLOGIS LP DBA PROLOGIS                          QUALITY LAWN CARE INC
PROLOGIS N AMERICAN IND FUND I                    QUALITY MECHANICAL SERVICES IN
PROLOGIS PROLOGIS L P                             QUALITY MECHANICAL SOLUTIONS I
PROMAC INC                                        QUALITY PAINTING & RESTORATION
PROMIKA LLC                                       QUALITY PHOTO
PROMOCIONES COQUI FEIZAL MARRE                    QUALTRICS LLC
PROOFPOINT INC-700622                             QUANTUM BUILDERS INC
PROPEL TRAMPOLINES LLC                            QUANZHOU BAOFENG SHOES CO LTD
PROPERTY MANAGEMENT SPECIALIST                    QUARLES & BRADY
PROPHET BRAND STRATEGY INC                        QUARTER20 INC




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
QUEENS CHRONICLE MARK I PUBLIC                    RCS REAL ESTATE ADVISORS
QUEST RESOURCE MANAGEMENT GROUP                   RDL ARCHITECTS INC
QUILL PRESS COMPANY                               RDR VIDEO PRODUCTIONS INC
QUINCY HERALD WHIG QUINCY NEWS                    RE NEW OF ARIZONA RE-NEW OF AR
QUINTANA & SONS TRADING LLC                       RE SOURCE PARTNERS ASSET MANAG
QUINTANA QUINTANA CORPORATION                     REACH TECHNOLOGIES BOW-BOECK E
QVS SOFTWARE                                      READERLINK DISTRIBUTION SVCS L
QWEST                                             READING EAGLE COMPANY
QWEST COMMUNICATIONS INTERNATIONAL                READY REFRESH BY NESTLE
R & B SETS                                        READY REFRESH BY NESTLE NESTLE
R & C ELECTRIC                                    REAL HOME INNOVATIONS INC
R & D LAPEYRE                                     REAL MCCOY LAWN CARE & SNOW RE
R C RICHARDSON CO                                 REAL UNDERWEAR INC
R E DAIGLE & SON ELECTRICAL RI                    REALTY WIZARDS INC
R F FISHER ELECTRIC CO                            RECEIVABLE MANAGEMENT SERVICES
R G I S INVENTORY SPECIALISTS                     RECKITT BENCKISER LLC
R R DONNELLEY & SONS                              RECORD AUTOMATIC DOOR INC
R S ELECTRIC CORP                                 RECORD AUTOMATIC DOORS INC
R S ELECTRIC R - S ELECTRIC                       RECORD GAZETTE CENTURY GROUP
R W ROGERS COMPANY INC-1000390476                 RECORD JOURNAL INC
RABBITT PITZER & SNODGRASS PC                     RECORD PUBLISHING CO COPLEY OH
RAC ENTERPRISES INC                               RECORD USA INC
RADIANT EXPORTS                                   RECRUITMILITARY LLC RVET OPERA
RADIATOR SPECIALTY CO                             RECYCLING EQUIPMENT CORP
RADIOHIO INC                                      RED BOOK SOLUTIONS
RADNIK EXPORTS                                    RED BOX TOY FACTORY LTDD
RAINBOW COTTON CANDY LLC                          RED BULL DISTRIBUTION CO INC (
RAINS ELECTRIC COMPANY INC                        RED HAT
RAISE MARKETPLACE INC                             RED ROCK SOURCING LLC
RAJCO INTERNATIONAL INC                           RED WING BRANDS OF AMERIC
RAJU SAGIRAJU                                     REDBLUE INC HVAC LIGHTING AND
RAM AIR ENGINEERING                               REDCLEY LLC
RAMBOLL ENVIRON US CORPORATION                    REDDY ICE CORP
RAMIREZ AND SONS INC                              REDI SHADE INC
RAMONA SENTINEL MAINSTREET COM                    REDSTONE CONSTRUCTION GROUP IN
RAMS IMPORTS INC                                  REEBOK INTERNATIONAL LTD
RANDA ACCESSORIES LEATHER GOOD                    REED AND PICK
RANDA CORP                                        REED GROUP MANAGEMENT LLC GUAR
RANDOLPH LEADER                                   REED GROUP MANAGEMENT LLC-712333
RANDSTAD GENERAL PARTNER US                       REED PRINTING & SUPPLY CO INC
RANDSTAD NORTH AMERICA                            REED SMITH
RANGER AMERICAN OF V I INC                        REEDISHA KNITEX LTD
RANIR LLC                                         REEDY MAINTENANCE AND REPAIR
RANSCAPES INC                                     REFLEXIVE MEDIA LLC
RAPID CITY JOURNAL                                REFRESHMENT SERVICES INC
RAPID DISPLAYS-437967                             REFRIGERANT RECYCLING INC
RAPIER RESOURCE GROUP LLC                         REFRIGERATION SERVICES
RAPPAHANNOCK RECORD                               REFUSE EQUIPMENT SER INC
RASMUSSEN MECHANICAL SERVICES                     REGAL FLOOR COVERING INC
RAWLINGS SPORTING GOODS CO INC                    REGAL HOME COLLECTIONS
RAY WATSON RAY A WATSON                           REGAL SHOES MFG CO LTD
RAZBABY INNOVATIVE BABY PRODUC                    REGENCY CENTERS LP
RAZOR USA LLC                                     REGENCY INTL MARKETING CORP
RBE INCORPORATED ROESNER BEARD                    REGISTER GUARD GUARD PUBLISHIN
RCS LOGISTICS INC                                 REGISTER MAIL




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REGISTER PAJARONIAN WATSONVILL                    REVLON CONSUMER PRODUCTS
REGISTER PUBLICATIONS                             REVLON PR INC
RELIABLE IMAGING COMPUTER PROD                    REVOLUTION RETAIL SYSTEMS LLC
RELIABLE PARTS USA                                REVTRAX ONCARD MARKETING INC
RELIAKOR SERVICES                                 REXON INDUSTRIAL CORP LTD
RELY SERVICES INC                                 REYNOLDS BUILDING SYSTEMS INC
REMCO INC                                         REYNOLDS CONSUMER PRODUCTS INC
REMINGTON INDUSTRIES INC                          REZA FASHIONS LIMITED
REMOVE RECYCLE REMARKET LLC                       RGA ENVIRONMENTAL
RENAISSANCE APPARELS LTD                          RGE MOTOR DIRECT INC
RENAISSANCE IMPORTS INC                           RGGD INC
RENAISSANCE JEWELRY NEW YORK I                    RGGD INC DBA CRYSTAL ART GALLE
RENFRO CORPORATION                                RGGD INC SBT
RENO NEWSPAPERS                                   RGL LANDSCAPING INC
RENPURE LLC                                       RHODE ISLAND TEXTILE COMPANY I
RENWOOD MILLS LLC                                 RHR INTERNATIONAL LLP
RENZO EXCAVATING LLC                              RICARDO CRUZ DISTRIBUTORS INC
REP CONSULTING INC ROBERT E PRATT                 RICE LAKE CHRONOTYPE
REPAIR AND WEAR INC                               RICHA & CO
REPLACEMENT GLASS COMPANY RGC                     RICHARD AMUNDSEN
REPONE LLC                                        RICHARD COFFEY
REPUBLIC FIRE CONSULTANTS                         RICHARD DOIBAN
REPUBLIC PAVING LLC                               RICHARDS LAYTON & FINGER
REPUBLIC PLASTICS LTD                             RICHLAND CENTER SHOPPING NEWS
REPUBLIC SERVICES                                 RICHLINE GROUP
REPUBLICAN                                        RICHLUND VENTURES INC
RESCOM ARCHITECTURAL INC                          RICHMAN GREER P A
RESCUE WOODWORKS JOHN J BECK                      RICHRELEVANCE
RESEARCH NOW INC RESEARCH NOW                     RICOH
RESERVES NETWORK                                  RICOLA INC
RESILION                                          RIDGE TOOL COMPANY
RESOLUTE FP US                                    RIGHTLINE GEAR INC
RESOURCE AMMIRATI                                 RIGHTTHING
RESOURCE CONTROL CONSULTANTS L                    RIKON POWER TOOLS INC
RESULT MC MANAGEMENT CONSULTANTS-                 RIMINI STREET INC-621076715
712090                                            RINGGOLD GROWERS LLC
RET ENVIRONMENTAL TECHNOLOGIES                    RINGSIDE COLLECTIBLES INC
RETAIL ASSITANCE                                  RINI REALTY COMPANY
RETAIL CONSTRUCTION SERVICES I                    RISE INTERACTIVE INC
RETAIL CONTRACTING SERVICES                       RISE INTERACTIVE INC-11393599
RETAIL DATA LLC                                   RITCHIE TRUCKING SERVICES INC
RETAIL FIRST INC RETAIL FIRST                     RITE-MADE PAPER CONVERTERS
RETAIL INDUSTRY LEADERS ASSOC                     RITZ MARKETING CORP LTD
RETAILERS ASSOC OF MASSACHUSET                    RIVA TECHNOLOGIES
RETAILIGENCE CORPORATION                          RIVAL MANUFACTURING CO
RETAILNEXT INC                                    RIVER CITY NEWSPAPER TODAYS NE
RETAILNEXT INC-9643101                            RIVERSIDE TRANSPORT INC
RETROFIT TECHNOLOGY                               RIVERSTONE USA LLC
RETURN PATH INC                                   RIVERTON RANGER
REUNITED LLC                                      RIVERTOWN NEWSPAPER GROUP FORU
REVIEW OGDEN NEWS PUBLSHING OF                    RIVERVIEW EXCAVATING & SNOWPLO
REVIEW TRACKERS INC                               RIZE CONSTRUCTION LLC
REVIEWED.COM GENNETT SATELITE                     RIZEPOINT STETON TECHNOLOGY GR
REVISE CLOTHING INC                               RIZEPOINT-1941096687
REVLOCAL                                          RJS PROPERTY MAINTENANCE RICHA




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
RJW MEDIA RJW COMMUNICATIONS I                    ROVIRA FOODS INC
RKON                                              ROWLAND SWEEPING SERVICE
RM ACQUISITION LLC-5128731                        ROYAL APPLIANCE MFG CO
RMS INTERNATIONAL USA INC                         ROYAL CHEMICAL & SUPPLY INC
ROBERT BOSCH TOOL CORP                            ROYAL CONSUMER PRODUCTS LLC
ROBERT BROWN ROBERT R BROWN                       ROYAL FLUSH PLUMBING
ROBERT D NELSON                                   ROYAL FOOD DISTRIBUTORS INC
ROBERT G WHEELER                                  ROYAL PET INCORPORATED
ROBERT HALF INTERNATIONAL                         ROYAL SEAL CONSTRUCTION INC
ROBERT J CLANCEY LTD                              RPH ON THE GO INC
ROBERT JAMES CLEANING L L C                       RPI CHESTERFIELD LLC
ROBERT M SHANKS                                   RR COMMUNITY PUBLISHING
ROBERT MAUCK                                      RRNY ENTERPRISES LLC
ROBERTS OXYGEN CO                                 RSA SECURITY
ROBERTS REFRIGERATION                             RSI INC ROBERT PATRICK STERN
ROBESONIAN CIVITAS HOLDINGS LL                    RSM US LLP
ROBINSON & COLE LLP                               RSQ-709499
ROBOTICS SOCIETY OF AMERICA                       RTH MECHANICAL SERVICES INC
ROCHESTER ARMORED CAR INC                         RUBBERMAID INC
ROCK AGENCY                                       RUBICON PROJECT
ROCK CREATIONS DARRON JORDAN                      RUBIES COSTUME
ROCK SPRINGS NEWSPAPERS INC                       RUBIN BROS PRODUCE CORP
ROCKET SOFTWARE INC-664938                        RUBYRED GARMENT MANUFACTURING
ROCKFORD REGISTER STAR                            RUG DOCTOR INC
ROCKPORT PILOT HARTMAN NEWSPAP                    RUMBERGER KIRK & CALDWELL
ROCKY FORD DAILY GAZETTE ROCKY                    RUSHMORE PHOTO & GIFTS INC
ROCKY MOUNTAIN SUPER VAC INC                      RUSSELL BRANDS LLC
ROD DESYNE INC                                    RUSSELL CONSTRUCTION COMPANY
RODAEL DIRECT INC                                 RUSSELL REYNOLDS ASSOCIATES
GENESIS DIRE                                      RUSSELLVILLE NEWSPAPERS
RODNEY WEBB LLC                                   RUST PUBLISHING IN L C
ROEDER SNOW REMOVAL LLC DAVID                     RUSTICI SOFTWARE LLC-140788279
ROEHL TRANSPORT INC                               RUST-OLEUM CORPORATION
ROGERS LAWN CARE ROGER MARSHAL                    RUSTON NEWSPAPERS INC RUSTON D
ROI TRAINING INC                                  RUTAN REFRIGERATION SEPIDEH IN
ROIG GROUP LLC                                    RUTLAND HERALD HERALD ASSOCIAT
ROLLING THUNDER EXPRESS R T PI                    RW PACKAGING LTD
ROME DAILY SENTINEL ROME SENTI                    RX PRO HEALTH INC
ROME NEWS MEDIA LLC                               RYAD CONSULTING
RON FOX                                           RYAN LLC
RON FRANKLIN CONSULTING LLC RO                    S & J DIAMOND CORP
RON WEBB PAVING INC                               S & K GLASS & METAL WORKS INC
RONAN TOOLS INC                                   S & L DELIVERY
ROOFCONNECT ROOFCONNECT LOGIST                    S & S ENTERPRISES
ROOSTER PRODUCTS INTERNATIONAL                    S A COMUNALE
ROSEMARY ASSETS LIMITED                           S A MIRO INC
ROSENTHAL & ROSENTHAL INC                         S BERKSHIRE SHOPPERS GUIDE SOU
ROSS PRODUCTS DIVISION                            S C JOHNSON & SON
ROSWELL DAILY RECORD INC                          S L DISTRIBUTION COMPANY INC
ROSY BLUE INC                                     S LICHTENBERG & CO INC
ROTO ROOTER SERVICES CO                           S LINE LLC HEICO HOLDING INC
ROTONDOS INC                                      S R SANDERS LLC STEVEN SANDERS
ROUND HILL FURNITURE INC                          S&E FAMILY GROUP INC WALTER E
ROUNDTRIPPING LTD                                 SAE A TRADING CO LTD
ROUTE 66                                          SAFAVIEH INTL LLC




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SAFETY-KLEEN SYSTEMS                              SBD HOLDINGS GROUP CORP
SAFEWAY                                           SBLM ARCHITECTS PC
SAFILO USA                                        SCALEARC-51484412
SAGITTARIUS SPORTING GOODS CO                     SCC CLEANING CO INC
SAIA FAMILY LIMITED PARTNERSHIP                   SCENTS OF WORTH INC
SAIA PLUMBING & HEATING CO                        SCHAPER COMPANY
SAKAR INTERNATIONAL INC                           SCHAWK
SAKS NEWS INC MAGAZINES                           SCHENECTADY GAZETTE NEWS DAILY
SAKUTORI DESIGNS LLC                              GAZETTE CO INC
SALEM NEWS SALEM PUBLISHING CO                    SCHIELE GRAPHICS
SALESFORCE COM                                    SCHINDLER ELEVATOR
SALESMASTER CORPORATION PACKAG                    SCHLAAK ENTERPRISES LLC
SALINA JOURNAL                                    SCHNEIDER TRAILER RENTALS
SALINAS NEWSPAPERS                                SCHOLTEN ROOFING INC
SALISBURY POST SALISBURY NEWSP                    SCHULENBURG STICKER INC
SALLAND INDUSTRIES LTD                            SCHUMACHER ELECTRIC CORP
SALMCO JEWELRY CORP                               SCHUMACHER ELECTRIC CORPORATIO
SALMON PRESS                                      SCHUSTER AGUILO
SALYERVILLE INDEPENDENT LLC                       SCHWABE NORTH AMERICA INC
SAM HEDAYA CORP                                   SCHWARZ PAPER
SAMD LIMITED                                      SCIENTIFIC TOYS LTD
SAMSONITE LLC                                     SCM GARMENTS PVT LIMITED
SAMSONITE LLC.                                    SCOBELL COMPANY INC
SAMSUNG ELECTRONICS                               SCOTT COMPANY JEFF SCOTT
SAN APPARELS LTD                                  SCOTT MA
SAN APPARELS LTD.                                 SCOTTS COOLING UNLIMITED HAWAI
SAN BRUNO GARBAGE COMPANY                         SCOTTSBORO NEWSPRS INC
SAN DIEGO NEIGHBORHOOD                            SCRANTON ELECTRIC HEATING & CO
SAN FRANCISCO EXAMINER SAN FRA                    SCRIPPS NETWORKS LLC
SAN JOSE MERCURY NEWS                             SCRIPTURE CANDY INC
SAN LUIS OBISPO TRIBUNE                           SCS FLOORING SYSTEMS
SAND MOUNTAIN REPORTER SOUTHER                    SDI CONSULTING LLC
SANDHILLS COMM LAWN SERVICES I                    SEA BOX INC
SANDLER TRAVIS & ROSENBERG PA                     SEA LTD
SANDLER & TRAVIS TRADE ADVISORY                   SEALAND MAERSK MAERSK LINE
SANDUSKY REGISTER                                 SEALY MATTRESS COMPANY
SANDY INC-1029866902                              SEALY NEWS
SANFORD AMERLING & ASSOCIATES                     SEARS ROEBUCK AND CO
SANFORD HERALD INC PAXTON MEDI                    SEARS ROEBUCK AND COMPANY
SANFORD LP                                        SEARS TIRE DISTRIBUTION CENTER 437
SANITARY TRASHMOVAL SERVICES I                    SEARS, ROEBUCK AND CO.
SANTA BARBARA NEWS PRESS AMPER                    SEASIDE LANDSCAPE & EXCAVATION
SANTA FE MALL PROPERTY OWNER L                    SEASONAL VISIONS INTERNATIONAL
SANTA FE NEW MEXICAN SF NEW ME                    SEATON PUBLISHING
SAP AMERICA                                       SEATTLE MECHANICAL INC IECS IN
SARASOTA HERALD TRIBUNE                           SEATTLE PACIFIC IND INC
SARIS CYCLING GROUP INC                           SEATTLE TIMES
SAS INSTITUTE                                     SECO REFRIGERATION
SASHA HANDBAGS INC                                SECOND GENERATION INC
SASSY14 LLC                                       SECUREWORKS INC-659292
SAUDER WOODWORKING CO                             SECURIAN LIFE INSURANCE
SAUK VALLEY NEWSPAPERS BF SHAW                    SECURITAS SECURITY SERVICES IN
SAUL EWING                                        SECURITY COMPASS-832445998
SAVINGSTAR INC                                    SECURITY FIRE PROTECTION
SAVVIS COMMUNICATIONS                             SECURITY RESOURCES INC




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SEDGWICK CMS SEDGWICK CLAIMS M                    SH NEX-T INTL CO. LTD
SEELEY SAVIDGE & EBERT CO LPA                     SHADE SHACK INC
SEGERDAHL GRAPHICS                                SHADES OF PARADISE LLC
SEIKO CORPORATION OF AMERICA                      SHADLOO INDUSTRIAL CO LTD
SEIN TOGETHER CO LTD                              SHAGHAL LTD
SEKIGUCHI TRADING                                 SHAKER HILL LANDSCAPE & NURSER
SELECT BEVERAGES INC                              SHAKESPEARE COMPANY
SELECT INTERNATIONAL                              SHALOM INTERNATIONAL CORP
SELECT SYSTEMS TECHNOLOGY INC-710366              SHAMROCK ACOUSTICS
SELMA TIMES JOURNAL                               SHANAZ RAWOOF AHMED
SEMANA NEWSPAPER NEWSPANMEDIA                     SHANGHAI BROADWAY INTL TRADING
SEMINOLE PRODUCER INC                             SHANGHAI CONVERGE INT'L TRADIN
SEND WORD NOW SWN COMMUNICATIO                    SHANGHAI CONVERGE INTL TRADING
SENME LLC                                         SHANGHAI EAST BEST FOREIGN TRA
SENNCO SOLUTIONS INC-1000662023                   SHANGHAI FOCHIER INTL TRADE CO
SENSORMATIC ELECTRONICS                           SHANGHAI GISTON GARMENT CO LTD
SENTINEL                                          SHANGHAI GRAVIM INDUSTRIAL CO.
SENTINEL COMMUNICATIONS NEWS                      SHANGHAI KINGTON TRADING CO LT
VENTURES                                          SHANGHAI NEOENT INDUSTRIAL CO
SENTINEL STANDARD                                 SHANGHAI SHENGDA TEXTILE CO LT
SENTINEL-RECORD                                   SHANGHAI STYLE FASHION ACCESSO
SENTRY HEALTH FINANCE CORPORAT                    SHANGHAI SUNWIN IND GROUP CO L
SENTRY ROOFING INC                                SHANGHAI XIYUAN IMP & EXP CO L
SEOMOZ INC MOZ                                    SHAREASALE COM INC
SERGE NIVELLE STUDIO                              SHARK CORPORATION
SERIGRAPH                                         SHARN ENTERPRISES INC
SERITAGE GROWTH PROPERTIES LP                     SHARP ELECTRONICS CORP
SERRANO LANDSCAPING & GROUND M                    SHAUGER GROUP INC SHAUGER CLEA
SERTA INCORPORATED                                SHAW MEDIA
SERVCO INDUSTRIES                                 SHAWANO EVENING LEADER WOLF RI
SERVICE 1 ELECTRIC TNT VENTURE                    SHAWN FITZGERALD ENTERPRISES S
SERVICE CEOS LLC                                  SHAWN MONTAZAMI
SERVICE EXPRESS INC-884360926                     SHAWSHANK LEDZ INC
SERVICE MECHANICAL INC                            SHEARERS FOODS BURLINGTON LLC
SERVICE NET WARRANTY LLC-1069112204               SHEARERS FOODS LLC
SERVICE PERFORMANCE GROUP                         SHEARMAN & STERLING LLP
SERVICE SOLUTIONS LLC                             SHELBYVILLE NEWS PAXTON MEDIA
SERVICEBENCH                                      SHELLEY WILLIS VERGARA
SERVICEMASTER                                     SHELTERLOGIC CORP
SERVICENOW                                        SHELTERLOGIC CORP (EMP)
SERVICEPOWER                                      SHERIDAN PRESS SHERIDAN NEWSPA
SESAC INC                                         SHERWIN WILLIAMS COMPANY
SEVELL REALTY PARTNERS INC                        SHERWIN-WILLIAMS
SEVEN BRIDGES SUPPLY LLC                          SHI INTERNATIONAL
SEVEN UP BOTTLING CO                              SHI YI FOOTWEAR MFG FACTORY
SEVEN UP BOTTLING CO DR PEPPER                    SHILOH PAVING & EXCAVATING
SEVEN UP BTLG CO INCORPORATED                     SHIN CREST PTE LTD
SEVEN UP COMPANY COLUMBUS                         SHINJIN INTERNATIONAL CORP
SEWING COLLECTION INC                             SHINN FU COMPANY OF AMERICA, I
SEYFANG ELECTRICAL SERVICES                       SHINSUNG TONGSANG CO LTD
SEYFARTH SHAW ATTORNEYS                           SHIPCOMPLIANT SIX88 SOLUTIONS
SG WINE & SPIRITS OF THE CARIB                    SHIVALIK PRINTS LIMITED
SGG INC                                           SHOE METRO
SGN SHOWCASE LLC                                  SHOEBACCA LTD
SGOTTO CONSTRUCTION LLC                           SHOEBUY.COM




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SHOEZOO COM LLC                                   SISSELMAN & SCHWARTZ LLP
SHOOK HARDY & BACON LLP                           SITEBOX STORAGE A BOX 4 U LLC
SHOP247.COM INC                                   SITEL
SHOPCHIMNEY.COM INC                               SITESTUFF INC
SHOPLOCAL                                         SIUSLAW NEWS CENTRAL COAST PUB
SHOPPAS MID AMERICA LLC                           SJC RESOURCES INC
SHOPPER OUTLET NETWORK                            SKAGIT HORTICULTURE
SHOPPERS WEEKLY                                   SKAGIT VALLEY HEARLD SKAGIT PU
SHOP-VAC CORPORATION                              SKC COMMUNICATION PRODUCTS LLC-
SHORELINE LANDSCAPING AND DESI                    584388
SHORT CIRCUIT ELECTRONICS                         SKECHERS USA INC
SHOWLINE AUTOMOTIVE PRODUCTS I                    SKECHER'S USA INC
SHRED-IT                                          SKILLS USA INC
SHUBIN & BASS P A                                 SKILLSOFT CORPORATION-699256
SHURTECH BRANDS LLC                               SKOTZ MANUFACTURING
SHUTTERSTOCK INC                                  SKULLCANDY INC
SI & D US INC                                     SKUSKY INC
SI DOLLAR SAVER INC                               SKY BILLIARDS INC
SIDDHARTH EXPORTS                                 SKY SHOPPE USA INC
SIDECAR INTERACTIVE INC                           SKYLINE ELECTRICAL
SIDLEY AUSTIN LLP                                 SKYLINE PRODUCTS INC
SIEGEL & MOSES PC ATTORNEYS AT                    SKYWALKER HOLDINGS LLC
SIEMENS INDUSTRY                                  SLC FREE TRADER WILLOW PUBLISH
SIENA DIGITAL LLC                                 SM CAMARAZA ENTERPRISES INC
SIERRA COMMERCIAL SWEEPING LAR                    SMART MARKETS FUND REIT LLC
SIERRA NEVADA MEDIA GROUP MOUN                    SMART SOLAR INC
SIGN & LIGHTING SERVICES LLC                      SMARTERVILLE PRODUCTIONS LLC
SIGN ENGINEERING                                  SMB INTERNATIONAL LLC
SIGN OUTLET                                       SMITH COMMUNICATIONS INC
SIGNAL NEWHALL NEWSPAPER INC                      SMITH ROBERTS NATIONAL CORPORA
SIGNATURE GRAPHICS                                SMITH SHARPE FIRE BRICK SUPPLY
SIGNATURE LANDSCAPES                              SMITH SNOW AND ICE REMOVAL
SIGNATURE PRODUCTS GROUP                          SMITTYS SUPPLY INC
SIGNATURE SPRINGS LLC                             SMS ASSIST LLC
SIGNS & DISPLAYS                                  SMS MARKETING SERVICES
SILK ROUTE SOURCING LIMITED.                      SMS SYSTEMS MAINTENANCE SERVICES IN-
SILTRON EMERGENCY SYSTEMS-790850515               5419148
SILVER CITY DAILY PRESS SILVER                    SMUCKER RETAIL FOODS INC
SILVERADO CONSTRUCTION INC                        SNAGAJOB INC SNAGAJOB COM INC
SILVIS GROUP INC                                  SNAP INC
SIM SUPPLY INC                                    SNAP TV INC SBT
SIMILASAN CORPORATION                             SNAPPY POPCORN CO INC
SIMMONS COMPANY                                   SNELLING STAFFING
SIMMONS PET FOOD INC                              SNO VALLEY PROCESS SOLUTIONS I
SIMON ROOFING AND SHEET METAL                     SNOW COAST LIMITED
SIMPLE PRODUCTS CORPORATION                       SNOW MANAGEMENT INC
SIMPLEXGRINNELL                                   SNOWDEN BROTHERS LLC
SIMPSON THACHER AND BARTLETT                      SNOWMEN INC
SINE NOMINE ASSOCIATES INC-19151070               SNOWPUSHER INC
SINFULCOLORS INC                                  SNOWS GARDEN CENTER SNOWKNOWS
SINGER SEWING                                     SOASTA INC
SINGER SEWING COMPANY                             SOASTA INC-694709
SINGULARITY UNIVERSITY SINGULA                    SOCIALWELLTH INC WORLDDOC INC
SINO GIFTS CO LTD                                 SOCIEDAD AMERICANA CONTRA EL C
SIOUX CITY NEWSPAPER                              SOCIETY CONSULTING LLC-710832




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SOCIOMANTIC LABS GMBH                             SOUTHWEST SIGN GROUP
SOEFKER SERVICES LLC                              SOUTHWEST TOWN MECHANICAL SERV
SOFT AIR USA INC                                  SOUTHWESTERN OREGON PUBLISHING
SOFTCHOICE                                        SOVOS COMPLIANCE
SOFTEON                                           SP APPARELS LTD
SOFTWARE AG USA INC-15188162                      SPACESAVER CORPORATION-796830029
SOFTWARE ENGINEERING OF AMERICA-                  SPALDING
433292                                            SPALDING SOFTWARE INC
SOFTWARE ONE INC SOFTWAREONE I                    SPARK INNOVATORS CORPORATION
SOHO CORPORATION                                  SPARTAN PAVING INC SPARTAN SEA
SOLARWINDS INC-546056                             SPARTAN PLUMBING INC
SOLID COMMERCE LIQUIDATE DIREC                    SPARTAN STAFFING LLC TRUEBLUE
SOLOMON PAGE GROUP LLC                            SPEARHEAD NETWORKS INC-709848
SOLON OH RETAIL LLC                               SPECIALIZED TRANSPORTATION AGENT
SOLUTIONS 2 GO LLC                                GROUP
SOLUTIONS IES INC                                 SPECIALTY FREIGHT SERVICES INC
SOMICOM MULTIMEDIA INC                            SPECIALTY LIGHTING GROUP
SONDEX CORPORATION OF AMERICA                     SPECIALTY PACKAGING LLC
SONIC DRIVE-IN                                    SPECIALTY RECORDS MANAGEMENT I
SONY PICTURES HOME ENTERTAINME                    SPECTRUM BRANDS INC
SONY PUERTO RICO INC                              SPECTRUM MANAGEMENT HOLDING
SOPHIAS STYLE BOUTIQUE                            SPEEDWAY
SOUND PUBLISHING                                  SPEEDWRENCH INC
SOURCE 2 MARKET LLC                               SPENCER NEWSPAPERS INC
SOUTH ASIA KNITTING FACTORY LT                    SPG INTERNATIONAL LTD
SOUTH BEND TRIBUNE                                SPG PROPERTY SERVICES
SOUTH CHINA SHOES PRODUCTS CO                     SPHERE CONSULTING INC
SOUTH COAST A Q MD                                SPIC AND SPAN COMPANY
SOUTH GEORGIA MEDIA GROUP                         SPILL MAGIC INC-835498866
SOUTH HOUSTON ASPHALT & CONCRE                    SPIN MASTER LTD
SOUTH LOUISIANA PUBLISHING                        SPIN MASTER TOYS FAR EAST
SOUTH PACIFIC FASHIONS LTD                        SPIRIT DELIVERY AND DISTRIBUTION
SOUTH SHORE INDUSTRIES LTD                        SERVICES
SOUTH SHORE SIGNS CHRISTOPHER                     SPIRIT INTERNATIONAL INC
SOUTH WATER SIGNS LLC                             SPLIT EXCAVATING INC
SOUTH WIN LTD                                     SPLUNK INC-704398
SOUTHCOAST MEDIA GROUP OTTAWAY                    SPM PROFESSIONAL SERVICES
SOUTHCOMB LANDSCAPING RICHARD                     SPOKESMAN REVIEW
SOUTHEAST ATLANTIC BEVERAGE CO                    SPOONER ADVOCATE WASHBURN COUN
SOUTHEAST MISSOURIAN CONCORD P                    SPORT PET DESIGNS INC
SOUTHEAST SUN QST PUBLICATIONS                    SPORT SQUAD LLC
SOUTHEASTERN INDUSTRIAL LINING                    SPORT TECH CORPORATION
SOUTHEASTERN NEWSPAPERS                           SPORTSMANS SUPPLY INC
SOUTHERN AIR                                      SPP HOLDING CORPORATION OPERAT
SOUTHERN ATLANTIC ELECTRIC CO                     SPRAYCO
SOUTHERN COMMUNITY NEWSPAPERS                     SPRAYWAY INC
SOUTHERN EXCHANGE LP                              SPREDFAST INC-705965
SOUTHERN MOTOR CARRIERS RATE-252317               SPRINGFIELD NEWS LEADER
SOUTHERN NEWSPAPER INC BAY CIT                    SPRINGHILL PRESS NATCHITOCHES
SOUTHERN TECHNOLOGIES LLC                         SPRINGS GLOBAL US INC
SOUTHSTAR RISK CONSULTING LLC                     SPRINGS WINDOW FASHION LLC
SOUTHWEST DISTRIBUTORS                            SPRINKLISMS INC
SOUTHWEST ENTRANCES INC                           SPRINKLR INC
SOUTHWEST MATERIAL HANDLING IN                    SPRINT COMMUNICATIONS
SOUTHWEST PUBLISHERS                              SPS COMMERCE INC




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SPS COMMERCE INC-1000779017                       STEAMBOAT PILOT WORLDWEST LLC
SPT APPLIANCE INC                                 STEINEL AMERICA INC
SQUARE ONE PRINT MEDIA LLC                        STEP IT UP INTERNATIONAL
SRI ELEVEN NORTH STATE STREET                     STEPHEN GOULD CORP-573386
SRN TRUCKING SCOTT R NOWAKOWSK                    STEPHENS MEDIA
SRT COMMUNICATIONS                                STEPTOE & JOHNSON LLP
SS GROUP INC                                      STERICYCLE
SSI HAZEL PATH LLC                                STERLING BUILDING SERVICES
ST ALBANS MESSENGER VERMONT PU                    STERLING FIVE STAR EQUIPMENT R
ST CLOUD NEWSPAPERS                               STERLING MOBILE SERVICES INC
ST CORPORATION                                    STERLING VALUE ADD INVESTMENTS
ST CROIX AVIS INC BRODHURSTS P                    STERNO PRODUCTS LLC
ST JUDES CHILDREN RESEARCH HOS                    STEVE HENDLEY
ST LOUIS POST-DISPATCH                            STEVE SILVER COMPANY
STACK ON PRODUCTS CO                              STEVEN L HILL STEVEN HILL
STAFFORD COMMUNICATIONS GROUP                     STEVEN VARDI INC
STAMAR PACKAGING                                  STEVENSON
STAMINA PRODUCTS INC                              STEWART TALENT
STANDARD CONTAINER CO                             STIG JIANGSU LIGHT TEXTILE
STANDARD DEMOCRAT DA PUBLISHIN                    STILLWATER NEWSPRESS NEWSPAPER
STANDARD JOURNAL NEWSPAPERS                       STL INTERNATIONAL INC
STANDARD SPEAKER STANDARD SPEA                    STOLAAS
STANLEY CONVERGENT SECURITY                       STONE CLAD INC
SOLUTIONS                                         STONE SOUP 3 INC
STANLEY CREATIONS                                 STONEPEAK CERAMICS INC
STANLEY E SINGLETON                               STONER INC
STAPLES                                           STONER LAWN & LANDSCAPE
STAR BRIGHT INTL(MACAO COM OFFS)LTD               STONES RIVER ELECTRIC TLC INVE
STAR COMMUNITY NEWSPAPERS                         STORA ENSO NORTH AMERICAN SALES
STAR EXHIBITS & ENVIRONMENTS I                    Store or Other Ad-Hoc Expense, see Description
STAR HERALD                                       (Vendor Name) for details.
STAR JOURNAL PUBLISHING CO                        STORE TO DOOR DELIVERY & ASSEM
STAR NEWS                                         STOREKEEPERS STEVE VARGAS
STAR SNACKS CO LLC                                STOREX INDUSTRIES CORPORATION
STAR SWEEPING FLIP GJERGJI                        STORK CRAFT LTD
STAR TRIBUNE MEDIA                                STORK CRAFT MFG (USA) INC
STARBUCKS CORPORATION                             STOVEKRAFT PRIVATE LIMITED
STARFRIT USA                                      STRAIGHT ARROW PRODUCTS INC
STARLIGHT KNITWEAR LTD                            STRATASYS INC REDEYE
STARLIGHT KNITWEAR LTD UNIT 2                     STRAWINSKI & STOUT PC
STARMOUNT SYSTEMS                                 STREAMSEND EZ PUBLISHING INC
STARS & STRIPES                                   STRIDE STAFFING TJ DANIELS INC
STAR-TELEGRAM OPERATING                           STRIDE TOOL LLC
STATE CHEMICAL SALES CO INT IN                    STRONG PROGRESS GARMENT FTY CO
STATE INDUSTRIES INC                              STUDIO 1
STATE INSURANCE FUND                              STUDIO ELUCEO LTD
STATE JOURNAL REGISTER                            STUDIO HIROSHI LLC REID SHIMABUKURO
STATE MEDIA                                       STURZENBECKER CONSTRUCTION
STATE OF CONNECTICUT DEPT OF E                    STYLESCAPE INC
STATE OF NEW HAMPSHIRE TREASUR                    STYLETEX LTD
STATE OF NEW JERSEY                               SUBLETTE EXAMINER WYOMING NEWS
STATE OF OHIO                                     SUBURBAN AIR CONDITIONING
STATESBORO HERALD STATESBORO P                    SUBURBAN LANDSCAPE CO
STATESMAN EXAMINER HORIZON WA                     SUBURBAN PROPANE PARTNERS
STATESMAN-JOURNAL                                 SUGARCRM INC-168338536




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SUGARMAN ROGERS BARSHAK & COHEN                   SUPPLYLOGIX LLC
SUIZA DAIRY                                       SUPPLYONE PHILADELPHIA
SUKENO USA INC                                    SUPREME ACCESS INDUSTRIAL LIMI
SUMEC HARDWARE & TOOLS CO LTD                     SUPREME INTERNATIONAL CORP
SUMECHT NA INC                                    SURVEY SAMPLING INTERNATIONAL
SUMIT TEXTILE INDUSTRIES                          SUTHERLAND ASBILL & BRENNAN
SUMMER INFANT INC                                 SUTHERLAND GLOBAL SERVICES PRIVATE-
SUMMIT ELECTRICAL CONTRACTORS                     712344
SUMMIT GROUP                                      SUTONG CHINA TIRE RESOURCES
SUMXING CO LIMITED                                SUTTON CHRYSLER JEEP
SUN ADVOCATE GULL COMMUNICATIO                    SUY CO LTD
SUN CHRONICLE UNITED COMMUNICA                    SUZHOU HIWEL TEXTILE CO LTD
SUN COAST MEDIA GROUP                             SUZHOU KAILAI TRADING CO LTD
SUN GAZETTE CO                                    SUZHOU NEWLOOK IMP & EXP CO LT
SUN IMAGE DISTRIBUTORS INC                        SVM LP S V M LP
SUN INDUSTRIAL                                    SW CORPORATION
SUN NEWSPAPERS                                    SWANSON MARTIN & BELL
SUN PRODUCTS CORPORATION                          SWANSON TOOL CO INC
SUN PUBLISHING                                    SWC TECHNOLOGY PARTNERS
SUN SENTINEL                                      SWEETWATER REPORTER HPC OF TEX
SUN VALLEY CONST OF MICHIGAN                      SWIFT RESPONSE LLC
SUN VALLEY LTD                                    SWIFT TRANSPORTATION
SUN WEST PLUMBING S H EVANS IN                    SWIM N PLAY INC
SUNBEAM PRODUCTS INC                              SWIMWAYS CORP
SUNBELT RENTALS                                   SWIRE COCA COLA USA
SUNBURST MAINTENANCE INC                          SYED I MAHMOOD
SUNCOAST PARKING LOT SERVICES                     SYMBOL TECHNOLOGIES
SUNCRAFT HARDWARE TOOLS CORP                      SYNCSORT INC-480954
SUNDANCE INTERNATIONAL INC                        SYNERGY MARKETING AND SALES IN
SUNDANCE INTERNATIONAL INC                        T & D PLUMBING AND HEATING
SUNDBERG AMERICA                                  T & J LANDSCAPE SERVICES INC
SUNDESA LLC                                       T & L SERVICES OF ALUM CREEK L
SUNERA LLC-601821627                              T D SECURITY LTD INC
SUNFOODS LLC                                      T ESAKI FARM INC
SUNLAND ASPHALT                                   T F H PUBLICATIONS INC
SUNNEST SERVICE LLC                               T FAL WEAREVER
SUNNY DAYS ENTERTAINMENT LLC                      T L M INTERNATIONAL INC
SUNNY DIRECT LLC-1137626508                       T LEX
SUNNY DISTRIBUTOR INC                             T SHIRT INTERNATIONAL INC
SUNNY JET TEXTILES CO LTD                         T&K MOVING INC TWO MEN AND A T
SUNNYWOOD INC                                     T4G
SUNSHINE GROWERS INC                              TA HSING ELECTRIC WIRE & CABLE
SUNSHINE LANDSCAPING MAINTENAN                    TAA APPAREL INC
SUNSHINE MILLS INC                                TABLET WORLD LLC
SUNSWEET GROWERS INC                              TABOR LORIS TRIBUNE ATLANTIC C
SUN-TIMES MEDIA GROUP                             TACOMA NEWS
SUPERB INTERNATIONAL CO LTD                       TAFT STETTINIUS & HOLLISTER LL
SUPERIOR HANDLING EQUIPMENT IN                    TAGKAST INC
SUPERIOR LAWNMOWER CENTER JIM                     TAI FA IMPORT & EXPORT
SUPERIOR OVERHEAD DOOR TRON EN                    TAI FONG SHOES LIMITED
SUPERIOR PEST CONTROL & LNDSCP                    TALEND INC-693073
SUPERIOR SIGN & LIGHTING                          TALENT INTELLIGENCE INC
SUPERIOR TRAILER LEASING SUPER                    TALENTQUEST CORPORATE PSYCHOLO
SUPPLIES DISTRIBUTORS BSD ACQU                    TALX
SUPPLY CHAIN ALLIANCE INC                         TAMPA MEDIA GROUP




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TANDEM ELECTRIC INC                               TEMP RITE OF WISCONSIN INC
TANDUS CENTIVA US                                 TEMPLE DAILY TELEGRAM FRANK MA
TANYA CREATIONS LLC                               TEMPT INSTORE PRODUCTIONS
TAOS NEWS INC EL CRESPOSCULO I                    TEMPUR PEDIC NORTH AMERICA LLC
TAPLYTICS INC-202927554                           TEND INSIGHTS INC
TARGET MARKETING LLC                              TENDER CORPORATION
TARIF HAWASLY                                     TENNANT CO
TASHARINA CORP                                    TENNANT SALES AND SERVICE CO-
TASTE BEAUTY LLC                                  1000103904
TASTE OF HOME READERS DIGEST S                    TENNESSEAN
TATA AMERICA INTERNATIONAL                        TERADATA OPERATIONS
TATA INTERNATIONAL LIMITED                        TERI LINGERIE COMPANY LLC
TAVANO TEAM DIEGO M ISOLA                         TERMINIX INTERNATIONAL COMPANY
TAX COMPLIANCE-1809841760                         TERRACON CONSULTANTS
TAYLOR MAINT                                      TERRY COX
TAYLOR PRECISION PRODUCTS INC                     TERRY VONDERHEIDE CARPENTRY INC
TAYSE INTERNATIONAL TRADING IN                    TEST RITE INTL CO LTD
TBDUM, LLC DBA UNCLE MILTON                       TEXARKANA NEWSPAPER INC DEL
TC MILLWORK INC-961452653                         TEXAS MOTOR SPEEDWAY INC
TCA HOLDINGS PROPARTNERS LLC T                    TEXAS PLUMBING DIAGNOSTICS LLC
TDBBS LLC                                         TEXAS RETAILERS ASSOCIATION
TDINDUSTRIES INC                                  TEXTILES FROM EUROPE
TDS TELECOM                                       TEXTILES INTERNATIONAL OF EGYPT
TEALIUM INC                                       T-FORCE
TEALIUM INC-826859154                             TGF MANAGEMENT GROUP HOLDCO
TEAM BEANS LLC                                    TGM INC
TEAM DESIGN BUILD                                 THANH CONG TEXT GMT INVEST TRA
TEAM PRO MARK LLC                                 THE AC OUTLET
TECH 4 KIDS INC                                   THE ASEAN CORPORATION LIMITED
TECH FOR LESS INC                                 THE BEST DEALS FOR YOU LLC
TECH INTERNATIONAL-1004293569                     THE BRIDGE DIRECT HK LTD
TECHNI CON                                        THE CIT GROUP
TECHNICAL YOUTH LLC BROOKSOURC                    THE CIVIL ENGINEERS LTD(WOVEN
TECHNOLOGY ADVISORS INC-711569                    THE EUREKA COMPANY
TECHNOLOGY CONSULTING INC                         THE GOODYEAR TIRE & RUBBE
TECHNOLOGY PARTNERS INTERNATIO                    THE GOODYEAR TIRE & RUBBER COM
TECTA AMERICA                                     THE LEHIGH GROUP
TECTA AMERICA AUSTIN LLC TECTA                    THE LITTLE TIKES CO
TEGRETE                                           THE MADDEN CORPORATION
TEHACHAPI NEWS                                    THE MARTIN WHEEL CO INC
TEICHMAN ENTERPRISES-373589                       THE MIBRO GROUP
TEKKY TOYS                                        THE ORB FACTORY LIMITED
TELEBRANDS CORPORATION                            THE SHERWIN-WILLIAMS CO
TELECHECK SERVICES                                THE SINGING MACHINE CO INC
TELEGRAPH HERALD                                  THERMA CORP
TELEGRAPH PUBLISHING                              THERMO DYNAMICS INC
TELEPACIFIC COMMUNICATIONS U S                    THERMODYNAMICS MECHANICAL SERVICES
TELESIGHT                                         THIEF RIVER FALLS TIMES MCM ME
TELESOFT LLC                                      THIESSEN COMMUNICATIONS
TELESOURCE                                        THILSTED ELECTRIC COMPANY
TELETECH SERVICES                                 THINKFOUNT STUDIOS LLC
TELGIAN                                           THINKGEEK INC
TELLERMATE INC-1956160915                         THIS WEEK PUBLICATIONS
TELUS COMMUNICATIONS                              THOMANN ASPHALT PAVING CORP
TEMP AIR INC                                      THOMAS & BETTS POWER SOLUTIONS




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
THOMAS & COMPANY-824632038                        T-MOBILE
THOMAS DIAZ INC                                   TMOXPHOTO LTD
THOMAS GUASTELLO                                  TNG GP
THOMAS MACKAY THOMAS H MACKAY                     TNT LUMBER COMPANY
THOMSON REUTERS TAX & ACCOUNTING                  TOBEYS CONSTRUCTION & CARTAGE
THOMSON WEIR                                      TODD STEPHENSON
THORNE INVESTMENT GROUP LTD                       TODDS ENVIROSCAPES INC
THREAD COLLECTIVE INC                             TODO MAULEG
THREE D COMMERCIAL SERVICES IN                    TOLEDO BLADE
THREE LEAF THREE LEAF SOLUTION                    TOM CALLAHAN ASSOCIATES INC
THREESIXTY SOURCING LTD                           TOM GEISE PLUMBING INC
THREEVOLTS LLC                                    TOM LEWIS
THUAN PHUONG EMBROIDERIES GMT                     TOMPKINS CORPORATION BILL TOMP
THULE INC (KAR RITE INTERNATIO                    TOMRA PROCESSING CENTER TOMRA
TIANJIN JIAHUA FOOTWEAR CO LTD                    TOM'S TOY INTERNATIONAL (HK) L
TIANJIN PANYAM GARDEN & HORTIC                    TOMTOM NORTH AMERICA INC-698645
TIDEWATER PUBLICATIONS LLC TID                    TOMY INTERNATIONAL INC
TIEN-HU TRADING (HONG KONG) LI                    TONE SOFTWARE-869607
TIFF HESTER                                       TONGFANG GLOBAL INC
TILIA JARDEN CONSUMER SOLUTION                    TONKA CONSTRUCTION INC
TILTON TRAILER RENTAL                             TOOELE TRANSCRIPT BULLETIN
TIMBERCREEK LAWN CARE BLAIR TO                    TOP APEX ENTERPRISES LTD
TIMBERLAND A DIV OF VF OUTDOOR                    TOP CENTURY ENTERPRISES LTD
TIME ENTERPRISES                                  TOP QUALITY REPAIR KEITH SHELB
TIME SERVICE INC                                  TOP SUCCESS INDUSTRIAL LTD
TIMELINK TRADING LIMITED                          TOPET USA INC
TIMELY RAIN MUSICAL INSTR CO L                    TOPHAT LOGISTICAL SOLUTIONS
TIMES BULLETIN VAN WERT COUNTY                    TOPLINE
TIMES HERALD                                      TOPLINE FURNITURE
TIMES JOURNAL                                     TOPMOST CHEMICAL & PAPER CORP
TIMES JOURNAL DIVISION STREET                     TOPPS COMPANY INC
TIMES LEADER PUBLICATIONS LLC                     TORI RICHARD LTD
TIMES MEDIA GROUP                                 TORIN INC
TIMES NEWS                                        TORKIA INTERNATIONAL INC
TIMES NEWS PUBLISHING                             TOTAL AIR SOLUTIONS LLC
TIMES NEWSPAPERS INC GATEHOUSE                    TOTAL COSMOS LIMITED
TIMES OF TRENTON PUBLISHING                       TOTAL FACILITY INC
TIMES PICAYUNE PUBLISHING                         TOTAL FIRE & SAFETY INC
TIMES PUBLISHING                                  TOTE MARITIME
TIMES RECORD ALLIANCE PRESS                       TOTES ISOTONER CORPORATION
TIMES REPUBLICAN MARSHALLTOWN                     TOUCHPOINT 360
TIMES TRIBUNE NEWSPAPER HOLDIN                    TOUCHSTORM LLC
TIMES TRIBUNE SCRANTON TIMES L                    TOUSIGNANT INC & EXTERIOR WHOL
TIMES UNION                                       TOVAR SNOW PROFESSIONAL
TIMES-WORLD                                       TOWER TECH SERVICES INC
TIMETRADE SYSTEMS INC                             TOWERS WATSON & CO.
TIMEX CORPORATION                                 TOWNS COUNTY HERALD NGN & TCH INC
TIP TOP BRANDING LLC                              TOWNSHIP OF WEST ORANGE
TJ KANGLI KITCHENWARE MFR CO L                    TOY BOX LIMITED
TJ TIANXING KESHENG LTHR PROD                     TOY HERO COMPANY LTD
TL PEREZ RESIDENTIAL SERVICES                     TOY STATE INTERNATIONAL LIMITE
TLD OF PUERTO RICO INC                            TOY WOODS (BD) CO LTD
TMC DISTRIBUTION INC                              TOY WOODS BD CO LTD
TMI STRIPING PJ GRYP                              TOY2U MANUFACTORY COMPANY LIMI
TMM INVESTMENTS LTD                               TOYOTA MOTOR CREDIT




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TOYOTALIFT                                        TRINTECH-1066645102
TOYS R US DELAWARE INC .COM AC                    TRION INDUSTRIES
TPF ACQUISITION CO                                TRIPLE A REFRIGERATION & AIR C
TPF TOYS LLC                                      TRIPLE G LAWN FERTILIZATION RI
TRACKING FIRST LLC                                TRIPLE J FIVE STAR WHOLESALE F
TRACX US INC                                      TRIPLE J LAWN CARE JUSTIN JONE
TRACY PRESS TANK TOWN MEDIA LL                    TRIPLELIFT INC
TRADEMARK GAMES INC                               TRIPWIRE INC-524033
TRANE                                             TRISTAR FULFILLMENT SERVICES I
TRANSFORMER INSPECTION RETROFI                    TRISTAR FULFILLMENT SERVICES INC-701877
TRANSPORT CORPORATION OF AMERICA                  TRISTAR PRODUCTS INC
TRANSPORT XPRESS XPRESS TRANSP                    TRISTATE SPEED SERVICE CO LLC
TRANSPORTE BAIROA                                 TRITONE SHOE CORP
TRANSYLVANIA TIMES                                TROPICAL PUBLISHERS & SOUVENIR
TRASH COMPACTOR SERVICE INC                       TROY PUBLICATIONS THE MESSENGE
TRAVEL CADDY INC                                  TRUE FITNESS TECHNOLOGY INC
TRAVEL CONCEPTS                                   TRUE INC
TRAVELERS CHOICE TRAVELWARE                       TRUE JADE COMPANY LIMITED
TRAVERSE CITY RECORD- EAGLE                       TRUSS & SON PLUMBING INC
TRE MILANO LLC                                    TRUSTE TRUE ULTIMATE STANDARDS
TREADSTONE GROUP INC                              TUAN DINH
TREASURE COAST NEWSPAPERS                         TUNGTEX TRADING CO LTD
TREASURE GLORY GARMENT FACTORY                    TUNIES & SUCH NURSERY & LANDSC
TREASURER STATE OF NEW NJ SEY                     TUP 130 LLC
TREASURER STATE OF NJ STATE OF                    TUPOS SERVICES LLC
TREMCO                                            TURLOCK JOURNAL
TRENDS INTERNATIONAL INC                          TURTLE WAX INC
TREY BUSINESS SOLUTIONS INC                       TUSCALOOSA NEWS
TRI CITIES SOUTHWEST VA WORLD                     TUSCAN
TRI CO DOOR NY INC                                TUSCARORA LANDSCAPING AND LAWN
TRI COASTAL DESIGN GROUP                          TWC PRODUCT AND TECHNOLOGY LLC
TRI COUNTY BACK FLOW SPECIALIS                    TWENTIETH CENTURY FOX HOME
TRI COUNTY SWEEPING SERVICES I                    TWENTIETH CENTURY FOX HOME
TRI COUNTY TIMES ROCKMAN COMMU                    ENTERTAINMENT
TRI ISLAND ENERGY LLC                             TWILIO INC
TRI NORTH BUILDERS                                TWILIO INC-9370111
TRI SALES MARKETING LLC                           TWIN CITY OUTDOOR SERVICES INC
TRI STATE CAMERA                                  TWIN CITY TIMES TWIN CITY PUBLISHING
TRIAD MECHANICAL CONTRACTORS I                    INC
TRIANGLE HOME FASHIONS                            TWIN LAKES LANDSCAPING
TRIATOMIC ENVIRONMENTAL INC                       TWINS ENTERPRISES INC
TRIBLES INC                                       TWITTER INC
TRIBUNE CHRONICLE EASTERN OHIO                    TWO POINT CONVERSIONS INC
TRIBUNE CHRONICLE EASTERN OHIO                    TYCO INTEGRATED SECURITY
NEWSPAPERS INC                                    TYLER MORNING TELEGRAPH TBB PR
TRIBUNE DIRECT MARKETING                          TYMETRIX
TRIBUNE PUBLISHING CO                             TYNER EATON & FULCE PLLC
TRIBUNE REVIEW PUBLISHING                         U S A DISTRIBUTORS INC
TRIBUNE STAR NEWSPAPER HOLDINGS INC               U S LAWNS OF LAKELAND & PLANT
TRIDENT LIMITED                                   U S NONWOVENS CORP
TRILLIANT FOOD AND NUTRITION L                    U S SECURITY ASSOCIATES
TRIMAX TRADING WUXI CO LTD                        U S XPRESS
TRIMFIT INC                                       UAW LOCAL 1112 INTERNATIONAL U
TRIMFOOT COMPANY LLC                              UAW LOCAL 8275 INTERNATIONAL U
TRINITY DOOR SYSTEMS INC                          UBASE INTERNATIONAL, INC




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UBS INC                                           UNIVERSAL DOOR SYSTEMS INC
UNIVERSE BUILDINGS SYS                            UNIVERSAL HOSIERY INC
UINTAH BASIN STANDARD GULL COM                    UNIVERSAL MUSIC & VIDEO
ULLMAN DEVICES CORPORATION                        UNIVERSAL SERVICE AGENCY LLC
ULTIMATE LANDSCAPING ULTIMATE                     UNIVERSAL SITE SERVICES INC
ULTIMATE LAWN CARE DENNIS J WI                    UNIVERSAL SUPPLY CORP INK EXPR
ULTRA LOGISTICS                                   UNIVERSITY OF TENNESSEE CAREER SRVS
UMAREX USA INC                                    UP NORTH TRUCKING INC
UMMAD A SALEEM                                    UPM-KYMMENE
UNBEATABLE SALE                                   UPPER CANADA SOAP AND CANDLE M
UNBOUND COMMERCE MOBEGIC INC                      UPS CUSTOM HOUSE BROKERAGE
Unclassified                                      UPSHOT INC
UNDERPRESSURE POWERWASHERS                        URBAN METALS URBAN GROUP OF CO
UNEEDA INTERNATIONAL LTD                          URBANCAL OAKLAND MALL LLC
UNI HOSIERY CO INC                                URS CORPORATION SOUTHERN
UNIFIDE INDUSTRIES LLC                            US ELECTRIC CO INC
UNIFIED INC                                       US FOODS INC
UNIFIED MARINE                                    US LINES LLC CMA CGM
UNIFY                                             US METRO GROUP
UNIMAX SYSTEMS CORPORATION-593876                 USA MAINTENANCE OF FLORIDA LLC
UNION CAPITAL INTERNATIONAL LT                    USELMAN CONSTRUCTION COMPANY
UNION CITY DAILY MESSENGER                        USER TESTING INC
UNION LEADER CORP                                 USER TESTING INC-696996
UNION NEVADA COUNTY PUBLISHING                    USER ZOOM INC
UNION TRIBUNE PUBLISHING                          USF COLLECTION INC
UNION UNDERWEAR COMPANY INC                       USGB SERVICES LLC
UNIONTOWN NEWSPAPERS                              USI SERVICES GROUP
UNIQUE CONSULTANT LLC                             UTOPIA THE AGENCY INC
UNIQUE DESIGNS                                    UVALDE LEADER NEWS
UNIQUE DESIGNS INC                                UVERITECH INC-39459537
UNIQUE INDUSTRIES INC                             V ANGOCO
UNITE SOUTHWEST DISTRICT COUNC                    V ANGOCO V ANGOCO TRUCKING INC
UNITED APPAREL CO LTD                             V I P SERVICES INC
UNITED APPAREL COMPANY LTD                        V SUAREZ & CO
UNITED COMB & NOVELTY COMPANY                     V12 DATA-699126
UNITED COMB & NOVELTY CORP                        VALASSIS DIRECT MAIL
UNITED CONSTRUCTION COMPANY IN                    VALASSIS INC
UNITED DISTRIBUTOR                                VALENCIA COUNTY NEWS BULLETIN
UNITED FURNITURE INDUSTRIES IN                    VALENCIA FORKLIFT SERVICES COR
UNITED INDUSTRIES CORPORATION                     VALENCIA TOWN CENTER VENTURE L
UNITED INFINITE CORP TAIWAN BR                    VALLEY COURIER ALAMOSA NEWSPAP
UNITED NETWORKS OF AMERICA INC                    VALLEY ENTERPRISES INC
UNITED ONE RESOURCES                              VALLEY NEWS NEWSPAPERS OF NEW
UNITED PARCEL SERVICES                            VALLEY REFRIGERATION AND AIR
UNITED PET GROUP                                  VALLEY SCOOTERS OF TEXAS GARDE
UNITED RENTALS NORTH AMERICA I                    VALLEY TIMES NEWS
UNITED STATES ACCESSORIES INC                     VALLEY TOWN CRIER GATEHOUSE ME
UNITED STATES LUGGAGE                             VALLEY VIEW INDUSTRIES
UNITED STATES PLAYING CARD CO                     gHC INC
UNITED TEXTILE INC TAIWAN BRAN                    VALPAK DIRECT MARKETING SYSTEM
UNITED WEAVERS OF AMERICA INC                     VALUE SMART PRODUCTS INC
UNITED WIRE CRAFT                                 VALVOLINE INTERNATIONAL
UNITEK SOLVENT SERVICES                           VALVOLINE LLC
UNITEX INC                                        VAN DE POEL & LEVY
UNIVERSAL APPAREL INC                             VAN HOOK SERVICE CO INC




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VAN METER INC                                     VETERANS OPPORTUNITIES VETERAN
VAN NESS PLASTIC MOLDING CO IN                    VF IMAGEWEAR INC
VAN ZANDT NEWSPAPERS LLC                          VF JEANSWEAR LIMITED PARTNERSH
VANDALE INDUSTRIES INC                            VF LICENSED SPORTS GROUP LLC
VANDENBERG CONTRACTING JOSEPH                     VF OUTDOOR INC
VANGUARD CLEANING SYSTEMS                         VFP FIRE SYSTEMS
VANGUARD INTEGRITY PROFESSIONALS-                 VHC GROUP LLC VH CONSULTING GR
138107                                            VIATECH PUBLISHING SOLUTIONS I
VANITY FAIR INTIMATES                             VIBES MEDIA
VANSON INTERNATIONAL LIMITED                      VICKSBURG POST VICKSBURG NEWSM
VAQUERIA TRES TRES MONJITAS IN                    VICTOR M LUGO
VARCOMAC ELECTRICAL CONSTRUCTI                    VICTORIA ADVOCATE
VARIETY ACCESSORIES LLC                           VICTORY PUBLISHING CO LTD
VARIETY INTERNATIONAL ENTERPRI                    VIDA NEWSPAPER
VARIETY PET FOODS LLC                             VIESTE CREATIONS
VAROUJ APPLIANCES SERVICES INC                    VILLAGE COMPANY LLC
VASEN INTERNATIONAL LIMITED                       VILLAGE OF HOFFMAN ESTATES-1074439308
VAUGHAN & BUSHNELL MFG CO                         VILLAGE OF MELROSE PARK
VCC LLC                                           VILLAGES DAILY SUN
VECTOR CONSTRUCTION INC                           VILLAS SERVICES ANGEL VILLA
VECTOR SECURITY INC                               VINDICATOR PRINTING COMPANY
VEDDER PRICE KAUFMAN AND KAMMHOLZ                 VINITECK INTERNATIONAL INC.
VEEDER ROOT CO GILBARCO INC                       VINTON ASPHALT CO
VEGA OTERO FRANCISCO                              VIR VENTURES INC
VEGHERB LLC                                       VIRCO LAND & SNOW LLC
VEHICLE SERVICE GROUP                             VIRGINIA FORKLIFT INC
VELAS HISPANIOLA S A                              VIRGINIA RETAIL MERCHANTS ASSO
VENABLE LLP                                       VIRGINIA TILE-17029612
VENANGO NEWSPAPERS INC DERRICK                    VIRGINIAN REVIEW COVINGTON VIR
VENCO WESTERN INC                                 VIRGINIAN-PILOT MEDIA COMPANIES
VENETIAN WORLDWIDE LLC                            VIRTUAL LAW PARTNERS LLP
VENTIV TECHNOLOGY INC                             VISALIA NEWSPAPERS
VENTO DISTRIBUTORS CORP                           VISARA INTERNATIONAL-428750
VENTURA COUNTY STAR                               VISION CRITICAL COMMUNICATIONS US
VENTURA ENTERPRISE CO INC                         VISITORS CHANNEL
VENUS COLOMBIANA SA                               VISSER GREENHOUSES INC
VEOLIA ES TECHNICAL SOLUTIONS                     VISUAL CREATIONS INC
VERBATIM AMERICAS LLC                             VISUAL CREATIONS INC-488841
VERDE VALLEY NEWSPAPER                            VITAL PHARMACEUTICALS INC
VERIDIAN HEALTHCARE LLC                           VITALSMARTS LC-708527
VERIFONE                                          VM INNOVATIONS INC
VERIGOLD DBA RENAISSANCE JEWEL                    VML
VERINT AMERICAS                                   VMWARE
VERISK CRIME ANALYTICS INC-401158                 VOGUE INTERNATIONAL
VERITEXT CORPORATE SERVICES IN                    VOORTMAN COOKIES LIMITED
VERITIV OPERATING                                 VORTEX
VERIZON COMMUNICATIONS                            VORTEX INDUSTRIES INC
VERIZON WIRELESS                                  VOXX INTERNATIONAL CORPORATION
VERIZON WIRELESS OF THE EAST                      VP RACING FUELS INC
VERSAIC INC                                       VPNA LLC
VERSAPET INCORPORATED                             VTECH COMMUNICATIONS INC
VERSO PAPER                                       VTECH ELECTRONICS LTD
VERTEX INC                                        W B JONES SPRING CO INC
VERUS SPORTS INC                                  W B MASON CO INC
VESTCOM RETAIL SOLUTIONS                          W E BASSETT COMPANY




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
W E CARLSON CORPORATION                           WEATHERFORD DAILY NEWS WEATHER
W J GRIFFIN INC                                   WEATHERITE CORPORATION
W S C WSC OF NY INC                               WEATHERVANE SERVICES
W W GAY MECHANICAL CONTRACTOR                     WEAVETEX OVERSEAS
W W GRAINGER                                      WEBHUE LLC
W W W SARETTE BROTHERS INC                        WEBSTER PROPERTY MAINTENANCE
WACHTELL LIPTON ROSEN & KATZ                      WEIHAI LIANQIAO INTL COOP GP C
WACO TRIBUNE HERALD BH MEDIA G                    WEIHAI TEXTILE GROUP IMPORT
WAGNER SAENZ DORILTY LLP                          WEIHAI YINJIE GROUP CO LTD
WAHL CLIPPER CORPORATION                          WEIL GOTSHAL & MANGES LLP
WAHLSTROM GROUP                                   WEIMAN PRODUCTS LLC
WALDINGER CORP                                    WEINTRAUB TOBIN CHEDIAK COLEMA
WALKCON LTD                                       WEISSER DISTRIBUTING
WALKER EXCAVATION LLC NICHOLAS                    WELCH ATM WSILC LLC
WALKER PARKING CONSULTANTS                        WELCO CGI GAS TECHNOLOGIES LLC
WALKER PRINTERY INC-203158                        WELCOME INDUSTRIAL CORP
WALLA WALLA UNION BULLETIN                        WELFARE KNITTING CO LTD
WALTMAN ENTERPRISES                               WELLS FARGO
WALTON BEVERAGE CO INC                            WELLS FARGO BANK N A
WALTONS ELECTRIC INC                              WELLS FARGO INS SERVICES USA I
WAREHOUSE OF TIFFANY INC                          WELLS LAMONT LLC
WAREHOUSE PACIFIC                                 WELLS SWEEPING
WAREHOUSE RACK COM WAREHOUSE R                    WENATCHEE WORLD WORLD PUBLISHI
WARFIGHTER MADE                                   WENZHOU FIRST LIGHT INDUSTRY C
WARNACO INC                                       WENZHOU LIXINLONG IMP&EXP CO L
WARNER NORCROSS & JUDD LLP                        WERCS PROFESSIONAL SERVICES
WARNERS                                           WERNER ENTERPRISES
WARREN BUSINESS SERVICE TROPTI                    WEST & CO PAINTING
WARREN DISTRIBUTION                               WEST CHESTER MARKETING INC
WARSON GROUP INC                                  WEST COAST CASTERS & WHEELS IN
WASATCH WAVE                                      WEST INDIES CORPORATION
WASHINGTON NEWS PUBLISHING CO                     WEST LINN PAPER COMPANY
WASHINGTON POST                                   WEST MEMPHIS TIMES
WASHINGTON PRIME GROUP LP                         WEST PALM REALTY LLC
WASHINGTON RETAIL ASSOC                           WEST SIDE TELEPHONE CO WEST SI
WASHINGTON SUBURBAN PRESS NETW                    WEST TECHS CHILL WATER SPECIALIST
WATERBURY REPUBLICAN AMERICAN                     WEST TEXAS DOORS
WATERLOO COURIER                                  WESTCOTT DISPLAYS
WATERLOO INDUSTRIES INC                           WESTERN CAROLINA NEWSPAPERS
WATERS MCPHERSON MCNEILL PC                       WESTERN COMMUNICATIONS BAKER CITY
WATERTOWN PUBLIC OPINION COTEA                    HERALD
WATERWORKS                                        WESTERN COMMUNICATIONS INC
WATTERSON ENVIRONMENTAL GROUP                     WESTERN COMMUNICATIONS INC CUR
WAVE COMMUNICATIONS                               WESTERN COMMUNICATIONS UNION D
WAXAHACHIE NEWSPAPERS                             WESTERN DRESSES LTD
WAXMAN CONSUMER PRODUCTS GROUP                    WESTERN FLYER EXPRESS INC
WAYCROSS JOURNAL HERALD                           WESTERN FORGE CORPORATION
WAYNE AUTOMATIC FIRE SPRINKLER                    WESTERN FORGE INC
WAYNE COUNTY PRESS                                WESTERN SALES TRADING COMPANY
WAYNE INDEPENDENT                                 WESTERN WYOMING BEVERAGES INC
WAYNESVILLE MOUNTAINEER                           WESTPORT CORPORATION
WAZAGUA INC-1000519108                            WESTROCK MECHANICAL CORP
WD 40 COMPANY                                     WESTSIDE MECHANICAL DESIGN
WE IN J CORPORATION                               WEVEEL LLC
WE R HELPERS INC HELPERS                          WEYCO GROUP INC




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WGSN INC                                          WILLOW LAKE BUSINESS PARK LLC
WH GROUP LLC-691210                               WILLOWBROOK COMPANY LLC THE
WHAT KIDS WANT INC                                WILSON COUNTY NEWS WCN INC
WHEELING NEWSPAPERS INC                           WILSON ELSER MOSKOWITZ EDELMAN &
INTELLINGENCER                                    DICKER
WHEELS INC                                        WILSON SPORTING GOODS CO
WHIRLPOOL CORPORATION                             WILSON SPORTING GOODS INC
WHIRLPOOL KENMORE CORPORATION                     WINCHESTER STAR
WHITAKERS DETAIL SERVICE                          WINCON ROOF SERVICES INC
WHITE CASTLE ROOFING AND CONTR                    WINDHAM EAGLE NEWSPAPER TIME4P
WHITE CONVEYORS INC-1150596419                    WINDMAX HOME IMPROVEMENT
WHITE ELECTRICAL CONSTRUCTION                     WINDSTREAM NUVOX
WHITE GRAPHICS INC WHITE GRAPHICS                 WINFAT INDUSTRIAL CO LTD
PRINTING SERVICE INC                              WING ENTERPRISES INC
WHITE GRAPHICS INC-668137                         WING HING SHOES FACTORY LIMITE
WHITE MARK UNIVERSAL INC                          WINGER COMPANIES WINGER CONTRA
WHITE OAK ADVISORS LLC TIMOTHY                    WINIX INC
WHITE OAKS LANDSCAPING INC THO                    WINNER WAY INDUSTRILA LTD
WHITEMOUNTAIN PUBLISHING CO DO                    WINNERS INDUSTRY COMPANY LIMIT
WHITEOUT SNOW AND ICE CONTROL                     WINNING COLLECTIVE LLC
WHITESIDE MANUFACTURING                           WINNING RESOURCES LIMITED
WHITLAM LABEL COMPANY INC-372396                  WINNSCAPES INC
WHITMOR INC                                       WINPLUS NORTH AMERICA INC
WHOLESALE FUELS INC ACCOUNTING                    WINSTON & STRAWN
WHOLESALE INTERIORS INC                           WINSTON RETAIL SOLUTIONS LLC
WHY 8 INC                                         WINSTON SALEM JOURNAL
WHYNTER LLC                                       WIP INC
WICHITA EAGLE AND BEACON PUBLISHING               WIPRO
WICK COMMUNICATIONS                               WIS
WICKED COOL HK LIMITED                            WISCONSIN PHARMACAL CO LLC
WICKED FASHIONS INC                               WISE COUNTY MESSENGER
WICKLANDER ZULAWSKI AND ASSOCIATES                WISE FOODS INC
WIESE PLANNING & ENGINEERING I                    WISE-PACIFIC CO., LTD
WIESNER PRODUCTS INC                              WJCA INC
WILBRAHAM LAWLER & BUBA                           WM T SPAEDER CO INC
WILD HORSES APPAREL LLC                           WMVP AM ABC INC
WILDE TOOL CO INC                                 WNC PARKING LOT SERVICE INC
WILDWOOD INDUSTRIES INC                           WOLF CORPORATION
WILHELMINA INTERNATIONAL                          WOLFTEVER CONSULTING LLC TIMOT
WILLARD C GATES                                   WOLTERS KLUWER HEALTH
WILLENKEN WILSON LOH & LIEB LL                    WOLVERINE SEALCOATING LLC
WILLGRATTEN PUBLICATIONS LLC                      WOLVERINE WORLD WIDE INC
WILLIAM CARTER COMPANY                            WOLVERTON INC
WILLIAM L RUSSELL JR                              WOMBLE CARLYLE SANDRIDGE & RIC
WILLIAM L THROWER                                 WOMEN MGMT MEN WOMEN NY MODEL
WILLIAM MANSFIELD WILLIAM DEAN                    WOMENCERTIFIED INC
WILLIAM PONDER WILLIAM M PONDE                    WONDERSAUCE-709634
WILLIAM R GOGLIN INC                              WOOD BUILDING
WILLIAM R MEIXNER & SONS                          WOODENTRACKS COM INC
WILLIAMS CONSTRUCTION                             WOODRUFF CORPORATION
WILLIAMS KASTNER & GIBBS PLLC                     WOODS CONSTRUCTION
WILLIAMS SCOTSMAN INC                             WOODSTOCK GARDENS
WILLIAMSON COUNTY SUN                             WOODSTREAM CORPORATION
WILLIAMSON-DICKIE MANUFACTURIN                    WOODWARD NEWS NEWSPAPER HOLDIN
WILLISTON OBSERVER                                WOOSTER DAILY RECORD INC




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Vendors (merchandise and non-merchandise)         Vendors (merchandise and non-merchandise)
WORCESTER TELEGRAM & GAZETTE                      YESCO YOUNG ELECTRIC SIGN
WORKIVA INC                                       YESCOM USA INC
WORLD COURIER GROUND INC                          YEXT CALLS
WORLD DATA PRODUCTS INC                           YI LIANG
WORLD DATA PRODUCTS INC-181273988                 YING FU ENTERPRISE CO LTD
WORLD INDUSTRIAL DEVELOPMENT L                    YONGKANG DACHENG IND & TRADE C
WORLD KITCHEN LLC                                 YONGKANG DACHENG INDUSTRY & TR
WORLD LEISURE INC                                 YORK CLAIMS SERVICES
WORLD PUBLICATION                                 YORK INTERNATIONAL
WORLD RACING GROUP                                YORK TELECOM CORPORATION-699851
WORLD TECH TOYS INC                               YORK WALLCOVERINGS INC
WORLDNET TELECOMMUNICATIONS IN                    YOST VISES LLC
WORLDS FINEST CHOCOLATE INC                       YOTHER CONSTRUCTION MANAGEMENT
WOW WEE GROUP LIMITED                             YOTPO INC
WP BEVERAGES LLC                                  YOUNG SUPPLY
WPNC WESTERN PENNSYLVANIA NEWS                    YOUNGONE CORP
WRIGHT COUNTY JOURNAL PRESS                       YOUNGS MARKET COMPANY OF HAWAI
WRIGHTS LANDSCAPING SERVICE DA                    YPM INC
WRIGLEY PUERTO RICO INC                           YUEN FUNG GARMENT MFG CO LTD
WTS CONTRACTING                                   YUMA SUN INC
WUHU SHANSHAN NEWMINGDA I&E CO                    YUNKER INDUSTRIES
WUXI CITY DONGXIANG HABIT CO.                     YUNUS TEXTILE MILLS LIMITED
WV DLY NEWS AND VALLEY RANGER                     ZAK DESIGNS INC
GREENBRIER DAILY NEWSPAPERS INC                   ZARBEES INC
WXZ DEVELOPMENT INC                               ZEBRA TECHNOLOGIES
WYETH CONSUMER HEALTHCARE                         ZEBRA TECHNOLOGIES INTERNATIONAL
WYETH CONSUMER HEALTHCARE LTD                     ZELLE MCDONOUGH & COHEN LLP
WYNNE PROGRESS                                    ZELLER MARKETING & DESIGN ZGRA
WYOMING GAME & FISH                               ZEMOGA
WYOMING TRIBUNE EAGLE CHEYENNE                    ZENITH PRODUCTS CORPORATION
XAD INC                                           ZENITHEN (HONG KONG) LIMITED
XDL INTERNATIONAL LIMITED                         ZENITHEN (HONG KONG) LTD
XEROX                                             ZENO GROUP
XI TAN                                            ZERO CHAOS APC WORKFORCE SOLUT
XIAMEN GOLDEN TEXTILE IMPORT                      ZG APPAREL GROUP LLC
XIAMEN LUXINJIA IMP & EXP CO L                    ZHANGJIAGANG UNITEX CO LTD
XIAMEN TOP MOUNTAIN TRADING CO                    ZHANGZHOU XYM FURNITURE PRODUC
XIAMEN UNIPROS CAMPING PROD CO                    ZHEJIANG KATA TECHNOLOGY CO LT
XPO LAST MILE                                     ZHEJIANG ORIENT KNITWEAR I/E C
XPO LOGISTICS                                     ZHUHAI SHICHANG METALS LTD
XTRA LEASE                                        ZIM MFG CO
Y HATA & CO LTD                                   ZING GLOBAL LIMITED
YAHOO                                             ZINUS INC
YAKIMA HERALD REPUBLIC                            ZIPP DELIVERY INC
YANCEY TIMES JOURNAL                              ZIRCON CORPORATION
YASSES TRUCKING & CONSTRUCTION                    ZJ SUNSHINE LEISURE PRODUCTS C
YAT FUNG (MACAO COMM OFFSHORE)                    ZJ WUYI HAOTIAN IND & TRADE CO
YAT FUNG MACAO COMM OFFSHORE L                    ZOGNET INC
YEE TUNG GARMENT CO LTD                           ZOOM INFORMATION INC
YELLOW & BLACK LLC                                ZOOMUSA
YELP INC                                          ZURU INC
YELP INC-705119                                   ZURU LLC
YES TO INC
YESCO CLEVELAND HERITAGE SIGN
YESCO NASHVILLE ALLISON COMPAN




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Secured Lenders Information from 8K filed              Bio-Lab Inc.
June 2018                                              Bracketron, Inc.
                                                       Burwood Group, Inc.
BNY Midwest Trust Company                              Canon Financial Services, Inc.
Computershare Trust Company, N.A.                      Chapal Zenray Inc.
JPP II, LLC                                            Chapal Zenray Inc.
JPP, LLC                                               Citizens First National Bank
Och-Ziff Capital Structure Arbitrage Master            Clover Technologies Group LLC
Fund Ltd                                               Combine International, Inc. (d/b/a I.L. Mfg. Co.,
Och-Ziff Holding Corporation                           Shan Corporation and/or NSM Corp.)
OZ Management LP                                       Cross Country Home Services, Inc.
RBS Partners, L.P                                      Crown Credit Company
UBS AG, Stamford Branch, LLC                           CT Corporation System
UBS Securities LLC                                     Dell Financial Services L.L.C.
Ally Commercial Finance LLC                            Dell Financial Services Ltd. Partnership
Banco Popular de Puerto Rico                           Disons Gems, Inc.
Bank of America N.A                                    D-Link Systems, Inc.
Bank of America, N.A.                                  Early Morning LLC
Cascade Investment, L.L.C                              Envisions LLC
Citibank, N.A.                                         ET Enterprises Distributors LLC
Citizens Business Capital, a division of Asset         Frederick Goldman Inc.
Finance, Inc.                                          Gold LLC
Pension Benefit Guaranty Corporation                   Heartland Bank and Trust Company
PNC Bank, National Association                         Hewlett-Packard Financial Services Company
Regions Bank                                           Hilco Wholesale Solutions, LLC
Siemens Financial Services, Inc.                       Homecare Labs Inc.
TD Bank, N.A.                                          Horizon Group USA Inc.
U.S. Bank National Association                         House of Marley, LLC
UBS Capital Corporation                                Illinois Secretary of State
Wells Fargo Bank, National Association                 Istar Jewelry LLC d/b/a Stanley Creations
Citibank, N.A.                                         Jacmel Jewelry Inc.
Citibank (South Dakota), N.A.                          Joseph Enterprieses Inc.
                                                       JPMorgan Chase Bank, N.A.
Bank Accounts                                          JPP II, LLC
Bank of America                                        JPP, LLC
                                                       Kama-Schachter Jewelry, Inc.
Lien Holders (UCC filed)                               KCD IP, LLC
Abrim Enterprises, Inc.                                Kiran Jewels, Inc.
ACCO Brands USA LLC                                    Land’s End, Inc.
Allure Gems LLC                                        LM Farms LLC
Amana Company, L.P. DBA\Amana Appliances               LM Farms, LLC
American Greetings Corporation                         Lucent Jewelers, Inc.
Aneri Jewels, L.L.C.                                   Lucent Jewelers, Inc.
Aneri Jewels, L.L.C.                                   Maxcolor LLC
APS Express, Inc.                                      MaxMark, Inc.
AT&T Mobility II, LLC                                  Maytag Appliances Sales Company
Bank of America, N.A.                                  Mill Creek Entertainment LLC
Bank of America, N.A., as Control Co-                  MJ Holding Company LLC
Collateral Agent                                       N.D. Gems Inc.
Beauty Gem Inc.                                        NCR Corporation
Beauty Gem, Inc.                                       NMHG Financial Services, Inc.



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PAJ, Inc.
Pension Benefit Guarantee Corporation                  Litigation Party
(“PBGC”)                                               Thomas H. Brooks
Pension Benefit Guaranty Corporation                   Chantal Applegarth
Plus Mark LLC                                          Joanne Young
Plymouth Packaging, Inc. d/b/a Box on Demand           Dorothy Bolton
RGGD, Inc. d/b/a Crystal Art Gallery                   Rockford Mutual Insurance
Richline Group Inc.                                    Howard McPherson
Richline Group, Inc.                                   Mary Riley Luster
Riverstone USA LLC                                     The Department of Transportation of the State of
Rosy Blue, Inc.                                        Illinois
Rosy Blue, Inc.                                        Greater Chautauqua Federal Credit Union
Royal Consumer Products LLC                            Michelle Palmer Allen
S&J Diamond, Corp.                                     Glinda Bridgeman
Sakar International Inc.                               Betty White
Sakar International, Inc.                              Ronald Garrett
Scents of Worth Inc.                                   SCI Apparel Inc.
Seiko Corporation of America                           Christina Garcia
Shaghal Ltd.                                           Luther Townsend
Shaghal Ltd.                                           State of Illinois
Shanti Corporation d/b/a Vijay Gold Design             Allstate Insurance Company
Soft Air USA Inc.                                      Mary Riley Luster
Stanley Creations, Inc.                                Arturo Gonzalez
State of Florida, Department of Revenue Out of         Ana Avila
State/Central Collections Unit                         Luther Townsend
State Street Bank and Trust Company                    Rebecca Rysewyk
Suberi Brothers LLC
Suberi Brothers, LLC                                   Officers and Directors (Current)
Sumit Diamond Group LLC                                Edward S. Lampert
Sumit Diamond Group LLC                                Robert A. Riecker
Sumit Diamond Group LLC                                Luke J. Valentino
Sun Diamond, Inc. d/b/a Sun Source
Sun Diamond, Inc. d/b/a Sun Source                     Competitors (NASDAQ)
The Luxe Group Inc.                                    Big Lots, Inc.
The Luxe Group Inc.                                    BJ’s Wholesale Club
The News Group L.P.                                    Burlington Stores, Inc.
Thompson Tractor Co., Inc.                             Costco Wholesale Corporation
Three Point Capital, LLC                               Dillard’s Inc.
Tiger Capital Group, LLC                               Dollar General Corporation
Toyota Industries Commercial Finance, Inc.             Five Below, Inc.
Twentieth Century Fox Home Entertainment               Fred’s Inc.
LLC                                                    Hudson Ltd.
U.S. Bank National Ass                                 J.C. Penney Company, Inc. Holding Company
U.S. Bank National Association                         Kohl’s Corporation
Unique Designs, Inc. d/b/a Kiran Jewels, SDIL,         Macy’s Inc.
InterJewel                                             Ollie’s Bargain Outlet Holdings, Inc.
Verbatim Americas LLC                                  PriceSmart, Inc.
Vijaydimon (USA) Inc.                                  Target Corporation
Wells Fargo Bank, National Association                 Tuesday Morning, Corp.
Wilmington Trust, National Association                 Walmart Inc.




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Board of Directors                                 Nonantum Capital Partners
Bruce R. Berkowitz (Former)                        Oaktree Capital Management, L.P.
Thomas J. Tisch                                    Oaktree Huntington Investment Fund II, L.P.
Paul G. DePodesta                                  Oaktree Special Situations Fund, L.P.
Kunal S. Kamlani                                   OMERS Private Equity U.S.A. Inc.
William C. Kunkler, III                            One Madison Group LLC
Edward S. Lampert                                  Owl Rock Capital Advisor LLC
Ann N. Reese                                       Peak Rock Capital, LLC
                                                   Permira Advisers LLC
Professional                                       Platinum Equity Advisors, LLC
Deloitte & Touche LLP                              Presidio Investors LLC
                                                   Roark Capital Acquisition LLC
Non-Debtor Professional                            Sentinel Capital Partners, L.L.C.
Cleary Gottlieb                                    Service.com, Inc.
                                                   Stone Point Capital LLC
Contract Counterparty (NDA’s) – non-               Sycamore Partners Management, L.P.
disclosure agreements signed                       TA Associates Management, L.P.
ABRY Partners II, LLC                              TA Associates Management, L.P.
Ace Hardware Corporation                           The Jordan Company, L.P.
ACOF Investment Management LLC                     TowerBrook Capital Partners L.P.
AEA Investors LP                                   Trilantic Capital Partners VI (North America)
Altamont Capital Management LLC                    L.P.
Amazon.com, Inc.                                   Trilantic Capital Partners VI Parallel (North
American Securities LLC                            America) L.P.
Apollo Hybrid Value Management                     UBS Securities LLC
Arçelik A.Ş.                                       West Street Capital Partners VII, L.P.
Bayshore Capital Advisors, LLC                     Direct Energy
Benefit Street Partners L.L.C.                     Graham Capital
Black Diamond Capital Management, L.L.C.           MSD Capital
Burke America Parts Group LLC                      Ferguson Plc
CCP Credit Acquisition Holdings, L.L.C.            Golden Gate Capital
CITIC Capital Partners Management Limited          Goldman Sachs
Clayton, Dubilier & Rice, LLC                      Houzz
Clearlake Capital Group, L.P.                      Ingersoll-Rand
Cyrus Capital Partners, L.P.                       Liberty Media
Encompass Supply Chain Solutions Inc.              Eldis/ Founder Holdings/Fix.com
Ferguson Enterprises, Inc.                         Wynnchurch Capital
Founder Holdings Inc.                              Alta Mont Capital
Freeman Spogli Management Co., L.P.                Ares Management
Gamut Capital Management, L.P.                     Appliance Parts
Golden Gate Private Equity, Inc.                   Assurant
H.I.G. Capital Management, LLC                     Centerbridge
Harvest Partners, LP                               Coonns
HomeServe USA Corp.                                Costco
Kelso & Company                                    Electrolux
Kohlberg Kravis Roberts & Co. L.P.                 THL
Kohlberg Management VIII, L.L.C.                   Warburg Pincus
Littlejohn & CO. LLC                               Watsco, Inc.
Lowe’s Companies, Inc.
Mavecap LP                                         Beneficial Owners (form 13D – Amend NO.
Monomoy Capital Management, L.P.                   65) filed 6.5.18



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ESL Partners, L.P. (73.5%)
JPP II, LLC (36.2%)
SPE I Partners, LP (.1%)
SPE Master I, LP (.2%)
RBS Partners, L.P. (73.6%)
ESL Investments, Inc. (73.6%)
JPP, LLC (28%)
Edward S. Lampert (73.6%)

Joint Venture
General Growth Properties, Inc. ("GGP")
Simon Property Group, Inc. ("Simon")
The Macerich Company ("Macerich")
Seritage Growth Properties ("Seritage")




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                                     Exhibit 2

                                Disclosure Schedule
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                                                  Disclosure Schedule

          Matched Entity                       Relationship to Debtors                Relationship to Paul Weiss 1
Abbott Laboratories Puerto                 Debtors’ Vendor                               Subsidiary or Affiliate of
Rico                                                                                          Current Client
Accenture LLP                              Debtors’ Vendor                                    Former Client
ACE American Insurance                     Debtors’ Insurance Brokers                    Subsidiary or Affiliate of
Company                                                                                       Current Client
Adobe Systems                              Debtors’ Vendor                                    Former Client
ADP                                        Parties and Counterparties in                       Current Client
                                           Litigation
ADP RPO                                    Debtors’ Vendor                               Subsidiary or Affiliate of
                                                                                              Current Client
ADP, Inc.                                  Debtors’ Contract                                  Current Client
                                           Counterparties
Aetna Resources for Living                 Debtors’ Employee Handbook                    Subsidiary or Affiliate of
                                                                                              Current Client
AlixPartners                               Bankruptcy Professionals                           Current Client
Allen Co Inc Non Sbt                       Debtors’ Vendor                               Subsidiary or Affiliate of
                                                                                              Current Client
Allergan Pharmaceuticals                   Debtors’ Vendor                                    Former Client
Allianz Global Risks Us                    Debtors’ Insurance Brokers                           Former Client
Insurance Company
Ally Bank                   Debtors’ Indenture Trustee,                                  Subsidiary or Affiliate of
                            Bank Accounts/Lender/UCC                                          Current Client
                            Lien Parties/Administrative
                            Agents/ Revolving Lender
Ally Commercial Finance LLC Debtors’ Secured Lender,                                     Subsidiary or Affiliate of
                            Bank Accounts/Lender/UCC                                          Current Client
                            Lien Parties/Administrative
                            Agents/ Revolving Lender
Alvarez & Marsal            Bankruptcy Professional                                             Former Client

Amazon                                     Debtors’ Significant                                 Former Client
                                           Competitors


      1
          As used herein, the term “current client” means an entity listed as a client, or related to a client, in Paul,
          Weiss’s conflicts search system where that matter was reported as open. As referenced in the Disclosure
          Statement, the term “former client” means any entity listed as a client, or related to a client, on the Paul,
          Weiss conflicts search system where the matter was reported as closed within the last two years. Whether
          an actual client relationship exists can only be determined by reference to the documents governing Paul,
          Weiss’s representation rather than its potential listing in Paul, Weiss’s conflicts search system. The list on
          Exhibit 2, generated by the conflicts search system, is over-inclusive for disclosure purposes.
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         Matched Entity                      Relationship to Debtors            Relationship to Paul Weiss 1
Amazon.com, Inc.                         Debtors’ Vendor, Debtors’                     Former Client
                                         Contract Counterparties,
                                         Debtors’ Director and Officer
                                         Affiliations
American Express                         Parties and Counterparties in                 Former Client
                                         Litigation
American Express Travel                  Debtors’ Third Party Alliances           Subsidiary or Affiliate of
Related Services Company,                                                              Current Client
Inc.
American Media Inc.                      Debtors’ Vendor                               Current Client

American National Insurance              Debtors’ Landlord                             Current Client
Company
American Society Of                      Debtors’ Vendor                               Current Client
Composers Authors And
Publishers
Ampac Security Products-                 Debtors’ Vendor                          Subsidiary or Affiliate of
519249                                                                                 Current Client
Angelo Gordon & Co.                      Debtors’ Other Interested                     Current Client
                                         Parties
Ann Reese                                Debtors’ Director/Officer                     Current Client 2

Apex Tool Group LLC                      Debtors’ Vendor                          Subsidiary or Affiliate of
                                                                                       Former Client
Apollo Hybrid Value                      Debtors’ Contract                        Subsidiary or Affiliate of
Management                               Counterparties                                Current Client
Appnexus Resources Inc                   Debtors’ Vendor                               Current Client

Ares Management                          Debtors’ Contract                             Current Client
                                         Counterparties
AT&T                                     Debtors’ Utilities, Debtors’             Subsidiary or Affiliate of
                                         Vendor                                        Current Client
AT&T Mobility II, LLC                    Debtors’ Lien Holders                    Subsidiary or Affiliate of
                                                                                       Current Client
Attorney General                         Attorney Generals                             Former Client
Massachusetts
Attorney General Michigan                Attorney Generals                             Former Client

Authentic Brands Group LLC               Debtors’ Vendor                               Current Client
ABG
AXA Insurance Company                    Debtors’ Insurance Brokers                    Current Client




    2
        For further detail, please see paragraph 19 of the Basta Declaration.

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       Matched Entity               Relationship to Debtors       Relationship to Paul Weiss 1
Bank Of America                  Debtors’ Surety Bond,                   Current Client
                                 Debtors’ Landlord, Parties and
                                 Counterparties in Litigation,
                                 Debtors’ Vendor
Bank Of America N.A              Debtors’ Bank                           Current Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender, Debtors’
                                 Lien Holders, Debtors’
                                 Secured Lenders, Debtors’
                                 Five Largest Security Claims,
                                 Debtors’ Notice Parties,
                                 Debtors’ Indenture Trustee
Banc of America Securities       Debtors’ Indenture Trustee              Current Client
LLC
Bank of America Merrill          Debtors’ Indenture Trustee              Current Client
Lynch
Bank Of China                    Debtors’ Bank                           Current Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender
Bank Of The West                 Debtors’ Landlord                       Current Client

Barclays Capital Inc.            Debtors’ Indenture Trustee              Current Client

BB&T Bank                        Debtors’ Bank                           Former Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender, Debtors’
                                 Landlord
BDO Seidman                      Debtors’ Vendor                         Former Client

Benefit Street Partners L.L.C.   Debtors’ Contract                       Current Client
                                 Counterparties
Best Buy                         Debtors’ Significant                    Former Client
                                 Competitors
Bloomberg LP                     Debtors’ Vendor                         Current client

BMO Harris Bank                  Debtors’ Landlord                       Current client

BNY Midwest Trust Company        Debtors’ Indenture Trustee,             Current Client
                                 Debtors’ Notice Parties




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          Matched Entity                      Relationship to Debtors            Relationship to Paul Weiss 1
BNY Midwest Trust                         Debtors’ Bank                                 Current Client
Company/Bank Of New York                  Accounts/Lender/UCC Lien
Mellon                                    Parties/Administrative Agents/
                                          Revolving Lender, Debtors’
                                          Secured Lenders
BP Lubricants USA Inc                     Debtors’ Vendor                          Subsidiary or Affiliate of
                                                                                        Current Client
BRE DDR BR Whittwood CA                   Debtors’ Landlord                        Subsidiary or Affiliate of
LLC-Blackstone/DDR JV                                                                   Current Client
British Petroleum                         Parties and Counterparties in            Subsidiary or Affiliate of
                                          Litigation                                    Current Client
Brixmor (Aka Centro)                      Debtors’ Landlord                             Current Client

Brixmor Property                          Debtors’ Utilities                       Subsidiary or Affiliate of
Group/645346                                                                            Current Client
Bryan Cave LLP                            Debtors’ Vendor                               Current Client

Bumble Bee Foods LLC                      Debtors’ Litigation                           Current Client 3
                                          Counterparty
Canon Financial Services, Inc.            Debtors’ Lien Holders                    Subsidiary or Affiliate of
                                                                                        Current Client
Capital One Bank                          Debtors’ Bank                                 Current Client
                                          Accounts/Lender/UCC Lien
                                          Parties/Administrative Agents/
                                          Revolving Lender, Debtors’
                                          Landlord
Capstar Bank                              Debtors’ Landlord                             Current Client

Carlyle Development Group                 Debtors’ Landlord                             Current Client

Cascade Investment, L.L.C                 Debtors’ Bank                                 Current Client
                                          Accounts/Lender/UCC Lien
                                          Parties/Administrative Agents/
                                          Revolving Lender, Debtors’
                                          Secured Lender
CCL Label                                 Debtors’ Vendor                          Subsidiary or Affiliate of
                                                                                        Current Client
Centerbridge                              Debtors’ Contract                             Current Client
                                          Counterparties
Centerview Partners LLC                   Debtors’ Professional                         Current Client

Chevron (HK) Limited                      Debtors’ Vendor                               Current Client



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         For further detail, please see paragraph 15 of the Basta Declaration.

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         Matched Entity            Relationship to Debtors       Relationship to Paul Weiss 1
Chubb Bermuda Insurance         Debtors’ Insurance Brokers              Current Client
Ltd.
Chubb Custom Insurance          Debtors’ Insurance Brokers              Current Client
Company
Chubb Insurance                 Parties and Counterparties in           Current Client
                                Litigation
Chubb Insurance Hong Kong       Debtors’ Insurance Brokers              Current Client
Limited
Cigna                           Debtors’ Insurance Brokers              Current Client

Cigna Disability Management     Debtors’ Employee Handbook         Subsidiary or Affiliate of
Solutions                                                               Current Client
Cigna Group Insurance           Debtors’ Employee Handbook         Subsidiary or Affiliate of
                                                                        Current Client
CIM Group                       Debtors’ Landlord                       Current Client

Cintas                          Debtors’ Vendor                         Former Client

Citibank                        Debtors’ Bank                           Current Client
                                Accounts/Lender/UCC Lien
                                Parties/Administrative Agents/
                                Revolving Lender, Debtors’
                                Landlord
Citibank, N.A.                  Debtors’ Five Largest Security          Current Client
                                Claims,
                                Debtors’ Secured Lenders,
                                Debtors’ Notice Parties
CITIC Capital Partners          Debtors’ Contract                  Subsidiary or Affiliate of
Management Limited              Counterparties                          Current Client
Citigroup Global Markets Inc.   Debtors’ Bank                           Current Client
                                Accounts/Lender/UCC Lien
                                Parties/Administrative Agents/
                                Revolving Lender, Debtors’
                                Indenture Trustee
Citrix Systems Inc              Debtors’ Vendor                         Former Client

Clearlake Capital Group, L.P.   Debtors’ Contract                       Current Client
                                Counterparties
Colgate-Palmolive               Debtors’ Vendor                         Former Client

Comcast                         Debtors’ Utilities, Debtors’            Current Client
                                Vendor
Computershare Inc.              Debtors’ Contract                  Subsidiary or Affiliate of
                                Counterparties                          Current Client



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       Matched Entity                Relationship to Debtors      Relationship to Paul Weiss 1
Computershare Trust               Debtors’ 8% Senior                Subsidiary or Affiliate of
Company, N.A.                     Unsecured, Debtors’ Notice             Current Client
                                  Parties, Debtors’ Secured
                                  Lenders
Conair Corporation- Personal      Debtors’ Vendor                        Current Client
C
Conopco Inc.                      Debtors’ Vendor                        Former Client

Cox Communications                Debtors’ Utilities                Subsidiary or Affiliate of
                                                                         Current Client
Crosman Corporation               Debtors’ Vendor                        Former Client

Cushman & Wakefield Inc.          Debtors’ Vendor                        Former Client

CVS Pharmacy                      Debtors’ Significant                   Former Client
                                  Competitors
Cyrus Capital Partners, L.P.      Debtors’ Contract                      Current Client
                                  Counterparties
Daniels, Aaron And Judy           Parties and Counterparties in          Former Client
                                  Litigation
Deloitte                          Debtors’ Vendor                        Current Client

Deloitte & Touche LLP             Bankruptcy Professionals,              Current Client
                                  Other Professional
Dennis Wilson                     Parties and Counterparties in          Former Client
                                  Litigation
Deutsche Bank Securities Inc.     Debtors’ Indenture Trustee             Current Client

Dice Holdings Inc                 Debtors’ Vendor                        Current Client

Directv                           Debtors’ Utilities                     Former C1ient

Dow Jones LMG Stockton            Debtors’ Vendor                   Subsidiary or Affiliate of
                                                                         Current Client
Dropbox Inc                       Debtors’ Vendor                        Former Client

Duff & Phelps                     Debtors’ Professional                  Current Client

Duke Energy                       Debtors’ Utilities                     Former Client

Dynatrace LLC-79778873            Debtors’ Vendor                   Subsidiary or Affiliate of
                                                                         Current Client
Earthlink Business                Debtors’ Utilities                     Former Client

Ebay                              Debtors’ Vendor                        Former Client




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       Matched Entity                Relationship to Debtors       Relationship to Paul Weiss 1
Ebay Germany                      Debtors’ Director and Officer      Subsidiary or Affiliate of
                                  Affiliations                            Current Client
Ebay, Inc.                        Debtors’ Significant                    Former Client
                                  Competitors
Ecolab Inc                        Debtors’ Vendor                         Current Client

Elizabeth Arden Inc               Debtors’ Vendor                         Former Client

Enco Manufacturing Corp           Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                          Current Client
Entergy Arkansas, Inc./8101       Debtors’ Utilities                 Subsidiary or Affiliate of
                                                                          Current Client
Entergy Gulf States LA,           Debtors’ Utilities                 Subsidiary or Affiliate of
LLC/8103                                                                  Current Client
Entergy Louisiana, Inc./8108      Debtors’ Utilities                 Subsidiary or Affiliate of
                                                                          Current Client
Entergy Mississippi, Inc./8105    Debtors’ Utilities                 Subsidiary or Affiliate of
                                                                          Current Client
Entergy Texas, Inc./8104          Debtors’ Utilities                 Subsidiary or Affiliate of
                                                                          Current Client
Epi Group                         Debtors’ Vendor                         Current Client

Equinox                           Debtors’ Vendor                   Subsidiary or Affiliate of
                                                                         Current Client
Ernst & Young                     Debtors’ Vendor                   Current and Former Client

ESPN Enterprises Inc              Debtors’ Vendor                         Former Client

Evercore Group LLC                Bankruptcy Professional                 Current Client

Facebook                          Debtors’ Vendor                         Current client

Farmers Insurance Exchange        Parties and Counterparties in      Subsidiary or Affiliate of
                                  Litigation                              Current Client
Federal Insurance Company         Parties and Counterparties in           Former Client
                                  Litigation
Fifth Third Bank                  Debtors’ Bank                           Current Client
                                  Accounts/Lender/UCC Lien
                                  Parties/Administrative Agents/
                                  Revolving Lender, Debtors’
                                  Landlord
First Niagara Bank                Debtors’ Landlord                       Former Client

Frontier Management LLC           Debtors’ Landlord                 Subsidiary or Affiliate of
                                                                   Current Client, Former Client



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         Matched Entity            Relationship to Debtors       Relationship to Paul Weiss 1
Frontline Products Inc          Debtors’ Vendor                         Current Client

FTI Consulting                  Debtors’ Vendor                         Former Client

Gamut Capital Management,       Debtors’ Contract                       Current Client
L.P.                            Counterparties
Gap Inc.                        Debtors’ Significant                    Former Client
                                Competitors
Gardner Denver                  Debtors’ Vendor                         Former Client

Gemini Real State Advisors      Debtors’ Landlord                       Former Client

General Electric                Debtors’ Vendor                         Current Client

General Electric Capital        Debtors’ Bank                           Current Client
Corporation                     Accounts/Lender/UCC Lien
                                Parties/Administrative Agents/
                                Revolving Lender
General Electric Co.            Debtors’ Top Unsecured                  Current Client
                                Creditors
Getty Images Inc.               Debtors’ Vendor                         Current Client

Gildan USA Inc                  Debtors’ Vendor                         Current Client

Goldman Sachs                   Debtors’ Contract                       Current Client
                                Counterparties
Goldman, Sachs & Co.            Debtors’ Indenture Trustee              Current Client

Google                          Debtors’ Vendor                         Former Client

Greenberg Taurig                Debtors’ Vendor                         Current Client

H.I.G. Capital Management,      Debtors’ Contract                       Former Client
LLC                             Counterparties
Harvest Partners, LP            Debtors’ Contract                       Current Client
                                Counterparties
Hasbro Inc.                     Debtors’ Top Unsecured                  Former Client
                                Creditors, Debtors’ Vendor
Hearst                          Debtors’ Vendor                         Current Client

Hertz Equipment Rental          Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                        Current Client
Hess Print Solutions-68148261 Debtors’ Vendor                           Former Client

Hilco Wholesale Solutions,      Debtors’ Lien Holders              Subsidiary or Affiliate of
LLC                                                                     Current Client



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       Matched Entity               Relationship to Debtors       Relationship to Paul Weiss 1
HSBC Bank                        Debtors’ Bank                           Current Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender
Illinois National Insurance      Debtors’ Insurance Brokers         Subsidiary or Affiliate of
Company (AIG)                                                            Current Client
Ingersoll-Rand                   Debtors’ Contract                       Current Client
                                 Counterparties
James Kempner                    Debtors’ Landlord                       Current Client

Johnson Controls                 Debtors’ Vendor                         Former Client

JP Morgan Chase Bank             Debtors’ Bank                           Current Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender,
                                 Debtors’ Landlord
JPMorgan Chase Bank, N.A.        Debtors’ Lien Holders, Parties          Current Client
                                 and Counterparties in
                                 Litigation
Key Bank                         Debtors’ Bank                      Subsidiary or Affiliate of
                                 Accounts/Lender/UCC Lien                Current Client
                                 Parties/Administrative Agents/
                                 Revolving Lender
KEYBANK                          Debtors’ Landlord                  Subsidiary or Affiliate of
                                                                         Current Client
Kik Internatonal Inc.            Debtors’ Vendor                         Current Client

Kohlberg & Company               Parties and Counterparties in           Current Client
                                 Litigation
Kohlberg Kravis Roberts &        Debtors’ Contract                       Current Client
Co. L.P.                         Counterparties
Kohlberg Management VIII,        Debtors’ Contract                  Subsidiary or Affiliate of
L.L.C.                           Counterparties                          Current Client
Lazard                           Bankruptcy Professional                 Current Client

Liberty Media                    Debtors’ Contract                       Current Client
                                 Counterparties
Liberty Mutual Fire Insurance    Debtors’ Insurance Brokers              Former Client
Company
Lowe's Companies, Inc.           Debtors’ Significant                    Former Client
                                 Competitors
LSREF3 Spartan (Genesee)         Debtors’ Landlord                  Subsidiary or Affiliate of
LLC / Lone Star Funds                                                    Current Client



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           Matched Entity                      Relationship to Debtors            Relationship to Paul Weiss 1
Marshall Dennehey Warner                   Debtors’ Vendor                               Former Client
Coleman & Goggin, P.C.
Mastercard International Inc               Debtors’ Vendor, Debtors’                     Current Client 4
                                           Litigation Counterparty
Merrill Lynch, Pierce, Fenner              Debtors’ Bank                                 Current Client
& Smith Incorporated                       Accounts/Lender/UCC Lien
                                           Parties/Administrative Agents/
                                           Revolving Lender, Debtors’
                                           Indenture Trustee
Metlife (Metropolitan Life                 Debtors’ Insurance Brokers              Subsidiary or Affiliate of
Insurance Company)                                                                Current Client, Former Client
MetLife Dental Claims                      Debtors’ Employee Handbook              Subsidiary or Affiliate of
                                                                                         Current Client
Microsoft Corporation                      Debtors’ Vendor                               Current Client

Moelis & Co.                               Other Professional                            Current Client

Momentive Performance                      Debtors’ Vendor                               Current Client
Material
Morgan Stanley Smith Barney                Debtors’ Employee Handbook                    Current Client

Morris, Nichols, Arsht &                   Debtors’ Vendor                               Former Client
Tunnell
MSD Capital                                Debtors’ Contract                             Current Client
                                           Counterparties
National Union Fire Insurance              Debtors’ Insurance Brokers                    Former Client
Company Of Pittsburgh, Pa
Nationwide                                 Parties and Counterparties in                 Former Client
                                           Litigation
NCR                                        Debtors’ Vendor                               Current Client

NCR Corporation                            Debtors’ Lien Holders                         Current Client

Nuance Communications                      Debtors’ Vendor                               Current Client

Oaktree Capital Management                 Parties and Counterparties in                 Current Client
                                           Litigation
Oaktree Capital Management,                Debtors’ Contract                             Current Client
L.P.                                       Counterparties
Och-Ziff Capital Structure                 Debtors’ Secured Lenders                 Subsidiary or Affiliate of
Arbitrage Master Fund Ltd                                                                Current Client
Och-Ziff Holding Corporation               Debtors’ Secured Lenders                 Subsidiary or Affiliate of
                                                                                         Current Client


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          For further detail, please see paragraph 15 of the Basta Declaration.

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       Matched Entity              Relationship to Debtors       Relationship to Paul Weiss 1
Old Republic Insurance          Debtors’ Insurance Brokers              Former Client
Company
Owl Rock Capital Advisor        Debtors’ Contract                       Current Client
LLC                             Counterparties
OZ Management LP                Debtors’ Secured Lenders                Current Client

Pacific Gas & Electric Co.      Debtors’ Utilities                      Former Client

Payless Shoesource              Debtors’ Significant                    Former Client
                                Competitors
Pension Benefit Guaranty        Debtors’ Lien Holders,                  Former Client
Corporation (“PBGC”)            Debtors’ Secured Lenders,
                                Debtors’ Notice Parties
PNC Bank, National              Debtors’ Bank                           Current Client
Association                     Accounts/Lender/UCC Lien
                                Parties/Administrative Agents/
                                Revolving Lender, Debtors’
                                Indenture Trustee, Debtors’
                                Secured Lenders
Prime Clerk LLC                 Bankruptcy Professionals                Current Client

Procter And Gamble              Debtors’ Top Unsecured             Subsidiary or Affiliate of
Distributing                    Creditors                               Current Client
Randstad                        Debtors’ Supplemental                   Former Client
                                Workforce Agency
Randstad North America          Debtors’ Vendor                         Former Client

Republic Bank                   Debtors’ Landlord                       Former Client

Revlon Consumer Products        Debtors’ Vendor                         Current Client

Revlon PR Inc                   Debtors’ Vendor                         Current Client

Richards Layton & Finger        Debtors’ Vendor                         Former Client

Roark Capital Acquisition       Debtors’ Contract                  Subsidiary or Affiliate of
LLC                             Counterparties                          Current Client
S C Brian Kim                   Debtors’ Landlord                       Current Client

Samsung Electronics             Debtors’ Vendor                         Current Client

Samsung Electronics             Debtors’ Director and Officer           Current Client
Canada/USA                      Affiliations
SAP America                     Debtors’ Vendor                         Current Client

Seiko Corporation of America    Debtors’ Lien Holders              Subsidiary or Affiliate of
                                                                        Current Client

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       Matched Entity                Relationship to Debtors       Relationship to Paul Weiss 1
Sentinel Capital Partners,        Debtors’ Contract                       Former Client
L.L.C                             Counterparty
Serta Incorporated                Debtors’ Top Unsecured                  Current Client
                                  Creditors
Service Employees                 Debtors’ Unions                         Former Client
International Union
SESAC, Inc.                       Debtors’ Vendor                         Former Client

Sharp Electronics Corporation     Debtors’ Vendor                         Current Client

Shutterstock Inc                  Debtors’ Vendor                         Former Client

Sidley & Austin LLP               Debtors’ Vendor                         Former Client

Siemens Financial Services,       Debtors’ Secured Lenders                Former Client
Inc.
Simon Property Group              Parties and Counterparties in           Current Client
                                  Litigation, Debtors’ Utilities
Simon Property Group Inc.         Debtors’ Landlord, Debtors’             Current Client
                                  Contract Counterparties,
                                  Debtors’ Joint Venture
Simon-Turnberry Associates        Debtors’ Landlord                  Subsidiary or Affiliate of
                                                                          Former Client
Snap Inc.                         Debtors’ Vendor                         Current Client

Sony Pictures Home                Debtors’ Vendor                    Subsidiary or Affiliate of
Entertainment                                                             Current Client
Spectrum Brands Inc               Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                          Current Client
Spin Master Ltd.                  Debtors’ Vendor                         Current Client

St. Jude Children’s Research      Debtors’ Customer Programs         Subsidiary or Affiliate of
Hospital                                                                  Current Client
Standard & Poor                   Debtors’ Vendor                         Current Client

Standard Chartered Bank           Debtors’ Bank                           Current Client
                                  Accounts/Lender/UCC Lien
                                  Parties/Administrative Agents/
                                  Revolving Lender
State Farm General Insurance      Parties and Counterparties in      Subsidiary or Affiliate of
Company                           Litigation                              Current Client
State Street Bank And Trust       Debtors’ Lien Holders                   Former Client
Company
Steadfast Companies               Debtors’ Landlord                  Subsidiary or Affiliate of
                                                                          Current Client


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       Matched Entity                Relationship to Debtors       Relationship to Paul Weiss 1
Stericycle                        Debtors’ Vendor                         Former Client

Stericycle, Inc.                  Parties and Counterparties in           Former Client
                                  Litigation
Sullivan & Cromwell               Debtors’ Other Professionals            Former Client

Sun Trust Bank NA                 Debtors’ Landlord                       Current Client

Sutherland Asbill & Brennan       Debtors’ Vendor                         Former Client
LLP
Target Corporation                Debtors’ Significant                    Former Client
                                  Competitors
Taylor Precision Products, Inc.   Debtors’ Vendor                         Current Client

TD Bank, N.A.                     Debtors’ Bank                           Former Client
                                  Accounts/Lender/UCC Lien
                                  Parties/Administrative Agents/
                                  Revolving Lender, Debtors’
                                  Secured Lenders
Telus Communications              Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                          Current Client
The Bank Of New York              Debtors’ Landlord                       Current Client

The Goodyear Tire & Rubber        Debtors’ Vendor                         Current Client
Company
The Home Depot, Inc.              Debtors’ Significant                    Current Client
                                  Competitors
The Jordan Company, L.P.          Debtors’ Contract                       Former Client
                                  Counterparties
The Luxe Group Inc                Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                          Current Client
The Prudential Insurance          Debtors’ Landlord                       Current Client
Company Of America
The Service Master Company        Debtors’ Significant                    Former Client
                                  Competitors
THL                               Debtors’ Contract                       Current Client
                                  Counterparties
Tidewater Utilities, Inc          Debtors’ Utilities                 Subsidiary or Affiliate of
                                                                          Current Client
Time Warner Cable                 Debtors’ Utilities                      Current Client

TLM Realty Corp Ron Oehl          Debtors’ Landlord                 Subsidiary or Affiliate of
                                                                          Current Client
T-Mobile                          Debtors’ Vendor                   Subsidiary or Affiliate of
                                                                   Current Client, Former Client


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      Matched Entity               Relationship to Debtors       Relationship to Paul Weiss 1
TowerBrook Capital Partners     Debtors’ Contract                       Current Client
L.P.                            Counterparties
Toyota Industries Commercial    Debtors’ Lien Holders                   Former Client
Finance, Inc.
Trilantic Capital Partners VI   Debtors’ Contract                  Subsidiary or Affiliate of
(North America) L.P.,           Counterparties                          Current Client
Trilantic Capital Partners VI   Debtors’ Contract                  Subsidiary or Affiliate of
Parallel (North America) L.P.   Counterparties                          Current Client
Tristar Products Inc.           Debtors’ Vendor                         Current Client

Twentieth Century Fox Home      Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                        Current Client
Twentieth Century Fox Home      Debtors’ Lien Holders              Subsidiary or Affiliate of
Entertainment Llc                                                       Current Client
TXU Energy/650638               Debtors’ Utilities                      Former Client

U.S. Bank National              Debtors’ Bank                           Current Client
Association                     Accounts/Lender/UCC Lien
                                Parties/Administrative Agents/
                                Revolving Lender, Debtors’
                                Lien Holders, Parties and
                                Counterparties in Litigation,
                                Debtors’ Secured Lenders
U.S. Bank Trust National        Debtors’ Secured Lender            Subsidiary or Affiliate of
Association                                                             Current Client
UBS Capital Corporation         Debtors’ Secured Lenders           Subsidiary or Affiliate of
                                                                        Current Client
UBS Inc.                        Debtors’ Vendor                         Current Client

UBS Securities LLC              Debtors’ Contract                       Current Client
                                Counterparties
US Bank                         Debtors’ Contract                       Former Client
                                Counterparties, Debtors’
                                Landlord
Verizon Communications          Debtors’ Vendor                         Current Client

Verizon Wireless                Debtors’ Utilities                      Current Client

Verso Paper                     Debtors’ Vendor                         Former Client

Vornado                         Debtors’ Landlord                  Subsidiary or Affiliate of
                                                                        Current Client
Vornado Realty Trust            Parties and Counterparties in           Former Client
                                Litigation
Wachovia Securities             Debtors’ Landlord                 Subsidiary or Affiliate of
                                                                 Current Client, Former Client

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        Matched Entity              Relationship to Debtors       Relationship to Paul Weiss 1
Walmart                          Debtors’ Significant                    Former Client
                                 Competitors
Waste Management                 Debtors’ Customer Programs              Former Client

Wells Fargo                      Debtors’ Vendor                         Current Client

Wells Fargo Bank, National       Debtors’ Bank                           Current Client
Association                      Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender, Debtors’
                                 Lien Holders, Debtors’ Notice
                                 Parties, Debtors’ Secured
                                 Lenders; Debtors’ Indenture
                                 Trustee
Wells Fargo Securities, LLC      Debtors’ Indenture Trustee              Current Client

Western Union Financial          Debtors’ Contract                       Current Client
Services, Inc.                   Counterparties
Wilmington Trust Co              Debtors’ Landlord                       Current Client

Wilmington Trust, N.A.           Debtors’ Bank                           Current Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender, Debtors’
                                 Five Largest Security Claims;
                                 Debtors’ Lien Holders
Wolf Family Series LP            Debtors’ Landlord                  Subsidiary or Affiliate of
                                                                         Current Client
Woori Bank                       Debtors’ Bank                           Former Client
                                 Accounts/Lender/UCC Lien
                                 Parties/Administrative Agents/
                                 Revolving Lender
World Kitchen LLC                Debtors’ Vendor                         Current Client

Xerox                            Debtors’ Vendor                    Subsidiary or Affiliate of
                                                                         Current Client
XL Insurance (Bermuda) Ltd       Debtors’ Insurance Brokers         Subsidiary or Affiliate of
                                                                         Former Client
XL Insurance America, Inc.       Debtors’ Insurance Brokers         Subsidiary or Affiliate of
                                                                         Former Client
XL Insurance Company SE          Debtors’ Insurance Brokers         Subsidiary or Affiliate of
                                                                         Former Client
XL Specialty Insurance           Debtors’ Insurance Brokers         Subsidiary or Affiliate of
Company                                                                  Former Client
XPO Logistics                    Debtors’ Vendor                         Current Client


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        Matched Entity          Relationship to Debtors   Relationship to Paul Weiss 1
Yahoo                        Debtors’ Vendor                     Current Client

Yelp Inc.                    Debtors’ Vendor                     Current Client

YWCA Metropolitan Chicago    Debtors’ Customer Programs          Former Client




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                                     Exhibit C

                                Transier Declaration




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------x
In re:                                                           :       Chapter 11
                                                                 :
SEARS HOLDINGS CORPORATION, et al.,                              :       Case No. 18-23538 (RDD)
                                                                 :
                  Debtors. 1                                     :       (Jointly Administered)
                                                                 :
----------------------------------------------------------------x
        DECLARATION OF WILLIAM TRANSIER IN SUPPORT OF DEBTORS’
        APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION AND
      EMPLOYMENT OF PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
    AS ATTORNEYS FOR THE DEBTORS NUNC PRO TUNC TO THE PETITION DATE

          William L. Transier makes this declaration under 28 U.S.C. § 1746:

          1.       I am one of the two Disinterested Directors 2 of Sears Holding Corporation

(“Sears”).      In that capacity, I serve on the Restructuring Committee and the Restructuring

Sub-Committee of the Sears’ Board. In my current role at Sears, I am responsible for supervising

outside counsel with respect to Conflict Matters, and will assist Sears’ personnel in monitoring

and managing legal fees and expenses with respect to Conflict Matters.


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are as follows: Sears Holdings Corporation (0798); Kmart Holding Corporation (3116); Kmart Operations
    LLC (6546); Sears Operations LLC (4331); Sears, Roebuck and Co. (0680); ServiceLive Inc. (6774); A&E Factory
    Service, LLC (6695); A&E Home Delivery, LLC (0205); A&E Lawn & Garden, LLC (5028); A&E Signature
    Service, LLC (0204); FBA Holdings Inc. (6537); Innovel Solutions, Inc. (7180); Kmart Corporation (9500);
    MaxServ, Inc. (7626); Private Brands, Ltd. (4022); Sears Development Co. (6028); Sears Holdings Management
    Corporation (2148); Sears Home & Business Franchises, Inc. (6742); Sears Home Improvement Products, Inc.
    (8591); Sears Insurance Services, L.L.C. (7182); Sears Procurement Services, Inc. (2859); Sears Protection
    Company (1250); Sears Protection Company (PR) Inc. (4861); Sears Roebuck Acceptance Corp. (0535); Sears,
    Roebuck de Puerto Rico, Inc. (3626); SYW Relay LLC (1870); Wally Labs LLC (None); Big Beaver of Florida
    Development, LLC (None); California Builder Appliances, Inc. (6327); Florida Builder Appliances, Inc. (9133);
    KBL Holding Inc. (1295); KLC, Inc. (0839); Kmart of Michigan, Inc. (1696); Kmart of Washington LLC (8898);
    Kmart Stores of Illinois LLC (8897); Kmart Stores of Texas LLC (8915); MyGofer LLC (5531); Sears Brands
    Business Unit Corporation (4658); Sears Holdings Publishing Company, LLC. (5554); Sears Protection Company
    (Florida), L.L.C. (4239); SHC Desert Springs, LLC (None); SOE, Inc. (9616); StarWest, LLC (5379); STI
    Merchandising, Inc. (0188); Troy Coolidge No. 13, LLC (None); BlueLight.com, Inc. (7034); Sears Brands, L.L.C.
    (4664); Sears Buying Services, Inc. (6533); Kmart.com LLC (9022); SHC Licensed Business LLC (3718); SHC
    Promotions LLC (9626); and Sears Brands Management Corporation (5365). The location of the Debtors’ corporate
    headquarters is 3333 Beverly Road, Hoffman Estates, Illinois 60179.
2
    Capitalized terms used herein, but not otherwise defined, have the meaning ascribed to them in the Retention
    Application (as defined below).
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       2.      I submit this declaration (this “Declaration”) in support of the Debtors’ Application

for an Order Authorizing the Retention and Employment of Paul, Weiss, Rifkind, Wharton &

Garrison LLP as Attorneys for the Debtors Nunc Pro Tunc to the Petition Date

(the “Retention Application”). This Declaration is provided pursuant to Paragraph D.2 of the

United States Trustee Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases,

effective November 1, 2013 (the “Fee Guidelines”). Except as otherwise indicated herein, the

facts set forth in this Declaration are based upon my personal knowledge, information provided to

me by the Debtors’ employees or advisors, or my opinion based upon knowledge and experience

as a Disinterested Director of the Debtors and as a current or former member of the board of

directors of several other companies. I am authorized to submit this Declaration on behalf of the

Debtors.

                                        Selection of Paul, Weiss

       3.      The Debtors recognize that a comprehensive review process is necessary when

selecting and managing chapter 11 counsel to ensure their bankruptcy professionals are subject to

the same client-driven market forces, security, and accountability as professionals in non-

bankruptcy engagements. To that end, the Debtors assessed potential counsel to handle Conflict

Matters in the Chapter 11 Cases based on their experience and expertise in the relevant legal issues

and in similar proceedings, considering a number of firms to serve as potential counsel with respect

to Conflict Matters at the direction of the Restructuring Sub-Committee and the Restructuring

Committee, as applicable, in the Chapter 11 Cases.

       4.      The Debtors retained Paul, Weiss for the role of counsel with respect to Conflict

Matters in light of, among other reasons, Paul, Weiss’s substantial experience representing debtors


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and creditors in chapter 11 involving investigations and bankruptcy-related litigation. I believe

that Paul, Weiss is well-qualified and well-situated to represent the Debtors in these Chapter 11

Cases with respect to Conflict Matters in an effective, efficient and timely manner.

                                   Rate Structure and Cost Supervision

        5.      In connection with the filing of these Chapter 11 Cases, the Debtors and Paul, Weiss

have agreed upon rates in accordance with Paul, Weiss’s customary rates. Paul, Weiss has

confirmed to the Debtors that the Firm does not vary its billing rates or the material terms of an

engagement depending on whether such engagement is a bankruptcy or a nonbankruptcy

engagement. Paul, Weiss has further advised the Debtors that its current customary U.S. hourly

rates are $1,165 to $1,560 per hour for partners; $1,125 to $1,160 per hour for counsel; $480 to

$1,065 per hour for staff attorneys and associates; and $110 to $365 per hour for paraprofessionals.

It is my understanding that Paul, Weiss reviews and adjusts its billing rates annually to ensure that

its rates are comparable to the billing rates of its peer firms. To the extent that there is any disparity

in such rates, however, I nevertheless believe that Paul, Weiss’s retention by the Debtors is

warranted in these Chapter 11 Cases.

        6.      The Debtors understand that Paul, Weiss’s fees and expenses will be subject to

periodic review on a monthly, interim, and final basis during the pendency of these Chapter 11

Cases by various third parties, including the Court, and that such fees and expenses will be subject

to the terms of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any orders of the

Court governing the procedures for approval of interim compensation of professionals retained in

these Chapter 11 Cases.

        7.      I recognize that it is the Debtors’ responsibility to monitor closely the billing

practices of their counsel to ensure the fees and expenses paid by the estates remain consistent


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with the Debtors’ expectations and the exigencies of these Chapter 11 Cases. The Debtors will

continue to review the statements that Paul, Weiss regularly submits and amend the budget and

staffing plans periodically, as the Chapter 11 Cases develop. Moreover, Paul, Weiss has informed

me that I, and the Restructuring Sub-Committee, will be provided with the opportunity to review

all invoices and request adjustments to such invoices to the extent that they determine that such

adjustments are necessary and appropriate, and that such requests will be carefully considered by

Paul, Weiss. As they did prepetition, the Debtors will continue to diligently review counsel fees

and expenses and, together with Paul, Weiss, amend such invoices as necessary.

       8.      For the reasons set forth above, the Debtors believe that Paul, Weiss’s employment

is necessary and in the best interest of the Debtors and their estates.

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                                     Exhibit D

                                 Engagement Letter




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PAUL, W E I S S , R I F K I N D , W H A R T O N ^ G A R R I S O N LLP                                                MATTHEW W ABBOTT
                                                                                                                     EDWARD T. ACKERMAN
                                                                                                                                                             JONATHAN S KANTER
                                                                                                                                                             BRAD 5. KARP
                                                                                                                     JACOS A ADLERSTE1N                      "ATRICK N KAHSNITZ
                                                                                                                     A L L A N J . ARFFA                     JOHN C. KENNEDY
1285 AVENUE OF THE AMERICAS                             UNIT SSOt , FORTUNE FINANCIAL CENTER                         ROBERT A, ATKINS                        BRIAN KIM
                                                                                                                     DAVID J B A L L                         KYLE J. KfMPLER
NEW YORK. NEW YORK 10019*6064                                        5DONGSANKUANZHONGLU                             SCOTT A. BARSHAY                        DAVID M. K L E I N
                                                     CHAOYANG DiSTRfCT. BEIJING lOOOSO, CHINA                        PAUL M. BASTA                           A L A N W . KORNBERG
                                                                                                                     J O H N F. BAUGHMAN                     DANIEL J KRAMER
TELEPHONE      (£12)373-3000                                     TELEPHONE •80-1Oi 5 3 2 B - G 3 0 0                                                         DAVID K. LAKHDHiR
                                                                                                                     J . STEVEN BAUGHMAN                     STEPHEN P. L A M B -
                                                                                                                     LYNN B BAYARD                           JOHN E. LANGE
LLOYD K. GARRISON U 9 4 6 - 1 9 9 1 )                                                                                CRAiG A BENSON                          GREGORY F LAUFER
                                                        HONG KONG CLUB B U I L D I N G , 12TH PLOOH                  MITCHELL L. GERG                        BRIAN C LAVIN
RANDOLPH E. PAUL i 1946-1 9 5 3 i                                                                                    MARK S BERGMAN                          KSACYU GREG LIL
                                                                    3A CHATER ROAD. CENTRAL                          DAVID M, BERNiCK                        J E F F R E Y D . MARELL
SIMON H. H i F K f N D tlSSO-lSSSi
                                                                                         MONO KONG                   JOSEPH J BIAL.                          MARCO V MASOTT!
LOUIS S, WEISS         M 927-1950;                                                                                                                           EDWIN S. MAYNARD
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JOHN F WHARTON         n927"1S77i                                                                                    H. CHRISTOPHER BOEHNING                 ELIZABETH R MCCOLM
                                                                                                                     ANGELO BONV1NO                          ALVARO MEMBRSLLERA
                                                                                                                     DAVID W. BROWN                          MARK F MENDELSOHN
                                                                                AL.DER CASTLE                        SUSANNA M. BUERGEL                      CLAUDSNE MEREDITH-GOUJON
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                                                                                                                     JESSICA S. CAREY                        JUDiE NG S H O R T E L L '
                                                             LONDON EC2V 7JU UNITED KINGDOM                          JEANETTE K. CHAN                        CATHERINE NYARADV
                                                                                                                     GEOFFREYR CMFPTGA                       JANE 3. O'BRIEN
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V R I T E K S DiRECT DIAL NUMBER                                                                                     W I L L I A M A. CLAP.EHAN              BRAD R. OKUN
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                                                             CHIYODA-KU, TOKYO 1OO-O0 1 1 . JAPAN                    Ti-fOMAS V. DE LA BASTIDE Ul            WALTER G RICCIARD:
VRITERS DIRECT FACSIMiLE                                           TELEPHONE (3 1-3.' 3 5 9 7 - S I O I              A R I E L J. DECKELBAUM                 WALTER RI EM AN
                                                                                                                     ALICE B E L I S L E EATON               RICHARD A. ROSEN
                                                                                                                     ANDREW J, EHRL1CH                       ANDREW N. ROSENBERG
                                                                                                                     GREGORY A. HZRtNG                       JACQUELINE P RUBIN
   212 492 0023                                                       TORONTO-DOMINION CENTRE                        LESLIE GORDON FAGEN
                                                                                                                     ROSS A. FIELDSTON
                                                                                                                                                             CHARLES F. " R i C K " R U L E -
                                                                                                                                                             RAPHAEL M . R U 6 S 0
                                                                77 KING STREET WEST SUITE 3 I OO                      BRAD J. F I N K E L S T E i N          ELIZABETH M. SACKSTEDER
VRITER'S DIRECT E-MAiL ADORES                                                        P.O. BOX 2 2 6                  BRIAN P F i N N E G A N                 JEFFREY D. SAFERSTEIN
                                                                                                                      ROBERTO FtNZI                          JEFFREY B. SAMUELS
                                                                       TORONTO, ONTARIO M5K t J 3                     PETER E F1SCH                          DALE M. SARRO
                                                                                                                      ROBERT C FLEDER                        TERRY E. SCHIMEK
                                                                       TELEPHONE :;4!6i 5 0 4 - 0 5 2 0              MARTIN F L U M E N 3 A U M              KENNETH M SCHNEIDER
 pbasta@paulweiss.com                                                                                                ANDREW J, FOLEY
                                                                                                                     ANDREW J F O R M A N -
                                                                                                                                                             ROBERT 3. SCHUMER
                                                                                                                                                             J O H N M SCOTT
                                                                                       £OOI K STREET. NW             HARRIS E FREIDU3                        DAVID R, S1CULAR
                                                                                                                     MANUEL ft PREY                          MOSES SILVERMAN
                                                                      W A S H i N O T O N , DC 2 0 0 0 6 - 1 0 4 7   ANDREW L, GAINES                        AUDRA J. SOLOWAY
                                                                                                                     KENNETH A. GALLO                        SCOTT M. SONTAG
                                                                         TELEPHONE ;:?0£.              2Z3-7300      MICHAEL E GERTZMAN                      TARUN M. STEWART
                                                                                                                     ADAM M. GIVERT2                         ERIC A L A N STONE
                                                                                                                     SALVATOR-- GOG L.IORM ELLA              AtDAN SYNNOTT
                                                                SOO DELAWARE AVENUE, SUITE 2 0 0                     N E i L GOLDMAN                         RfCr-:ARD C TARLOWE
                                                                                                                     ROBERTO J . GONZALEZ                    MONICA K THURMOND
                                                                                   POST OFFICE BOX 32                CATHERINE L GOODALL                     DANIEL J . TOAL
                     October 11,2018                                 W I L M I N G T O N . DE I S S 9 3 - 0 0 3 2
                                                                                                                     ERIC GOOD1SON
                                                                                                                     C H A R L E S H GOOGE.JP
                                                                                                                                                             LIZA M. VELAZQUEZ
                                                                                                                                                             RAMY J. WAHBEH
                                                                       TELEPHONE ^302: 6 5 5 - 4 4 10                ANDREW G, GORDON                        LAWRENCE G WEE
                                                                                                                     BRIAN 5. GRIEVE                         THEODORE V. YVELLS JR.
                                                                                                                      UDI GROFMAN                            STEVEN J. W I L L I A M S
                                                                                                                      N i C H O L A S GROOMBRiDGE            LAWRENCE I. WITDORCH1C
                                                                                                                      BRUCE A. G U T E N P L A N             MARK B. WLAZLO
                                                                                                                     ALAN S HALPERiN                         J U L I A MASON WOOD
                                                                                                                     JUSTIN G. H A M I L L                   .JENNIFER H WU
                                                                                                                     CLAUDIA HAMMERMAN                       BETTY YAP*
                                                                                                                      BRIAN S. HERMANN                       JORDAN E. YARETT
                                                                                                                      MECHELE H I R S H M A N                KAYE N YOSHINO
                                                                                                                      DAViD S HUNTINGTON                     TONG YU
                                                                                                                      AMRAN HUSSEIN
                     Sears Holdings Corporation                                                                       LORETTA A. (PPOLITO
                                                                                                                     JAREN ..lAMOHOR^Atii
                                                                                                                      BRIAN M. J.ANSON
                     c/o Alan Carr, Director                                                                         JEM C. JOHNSON
                                                                                                                      MEREDITH J. KANE                       TRAOEY A ZACCONE
                                                                                                                                                             TAURIE M, ZEITZER
                                                                                                                                                             T ROBERT ZOCHOWSKi. JR
                     333 Beverly Road
                     Hoffman Estates, IL 60178
                                                               Engagement as Counsel

                     Dear Alan:

                                     I am pleased and grateful that Sears Holdings Corporation and its direct
                     and indirect subsidiaries (collectively, the "Company") have retained Paul, Weiss,
                     Rifkind, Wharton & Garrison LLP ("Paul Weiss") as their counsel (i) acting at the
                     direction of the restructuring sub-committee (the "Restructuring Sub-Committee") of the
                     restructuring committee (the "Restructuring Committee") of the Company's board of
                     directors (the "Board") with respect to all matters that are delegated by the Board to the
                     Restructuring Sub-Committee (the "RSC Conflict Matters"), and (ii) acting at the
                     direction of the Restructuring Committee or the Restructuring Sub-Committee, as the
                     case may be, in connection with all matters in which Weil, Gotshal, & Manges LLP
                     cannot represent you due to an actual or perceived conflict of interest (the "Other Conflict
                     Matters").

                                      I write to confirm our acceptance of your engagement of us as counsel and
                     to provide you with certain information concerning our practices and policies on fees,
                     billing, collection, conflicts, and other material terms of our engagement. The rules
                     governing our professional obligations require that we establish at the outset a common
                     understanding about the terms and conditions of our employment. We began work on the
                     matter, and our engagement is effective, as of October 8, 2018. The retainer for this
                     engagement is $250,000, subject to increase as provided in Section 2.
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PAUL, W E I S S , R I F K I N D , W H A R T O N & G A R R I S O N LLP


         Sears Holdings Corporation                                                                 2


                                         TERMS OF ENGAGEMENT

                         The following terms and conditions apply to our engagement as your
         counsel:

                         1.     Scope of Representation and Client Relationship — The scope
         of this engagement shall be advising the Company (i) solely at the direction of the
         Restructuring Sub-Committee in connection with RSC Conflict Matters, and (ii) solely at
         the direction of the Restructuring Committee or the Restructuring Sub-Committee, as the
         case may be, in connection with the Other Conflict Matters. Because the specific matters
         that may become RSC Conflict Matters or Other Conflict Matters cannot be fully known
         at this time, Paul Weiss will be actively involved in, among other things (a) investigating
         and advising the Restructuring Sub-Committee regarding whether a matter constitutes a
         RSC Conflict Matter, (b) conducting investigations and analyses sufficient to advise the
         Restructuring Sub-Committee regarding RSC Conflict Matters, (c) implementing the
         directions of the Restructuring Sub-Committee related to RSC Conflict Matters and (d)
         implementing the directions of the Restructuring Committee or the Restructuring Sub-
         Committee, as the case may be, with respect to Other Conflict Matters. Rendering
         services for the foregoing will include, but not be limited to, fact investigation, legal
         research, briefing, argument, discovery, negotiation, litigation, participation in meetings
         of the Board and applicable committees thereof, appearance and participation in hearings,
         and communications and meetings with parties in interest.

                         We agree to provide legal services in connection with RSC Conflict
         Matters and Other Conflict Matters which in our professional judgment are reasonably
         necessary and appropriate in connection with the matters described above. In all matters
         in which we represent you, we will provide services of a strictly legal nature, and it is
         understood that you will not be relying on us for business, investment, or accounting
         advice, nor to assess or vouch for the character or creditworthiness of any third person.

                        Paul Weiss is not your general counsel and our engagement does not
          involve an undertaking to represent the interests of the Company in any matters other
          than RSC Conflict Matters and Other Conflict Matters.

                           Unless we otherwise agree or our representation of you otherwise requires,
          our engagement is solely with the individuals or entities specifically identified as clients
          in this letter. By entering into this agreement, and except as provided herein, we are not
          agreeing to represent any other individuals or entities not named as clients herein. The
          Restructuring Sub-Committee shall direct our work in connection with all RSC Conflict
          Matters and shall control any attorney-client, work product, or other privilege in
          connection with Paul Weiss's work or privileged communications on the RSC Conflict
          Matters. The Restructuring Committee or the Restructuring Sub-Committee, as the case
          may be, shall direct our work in connection with all Other Conflict Matters and shall
          control any attorney-client, work product, or other privilege in connection with Paul
          Weiss's work or privileged communications on Other Conflict Matters.
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         Sears Holdings Corporation                                                                 3


                       The question of whether our fees are covered by some third-party
         agreement (including an insurance policy) is not within the scope of our representation,
         unless you specifically request us to consider that question,

                          2.     Retainer — Our agreement to represent the Company in
         connection with this engagement is contingent upon the Company's payment to us of an
         advance payment retainer in the amount of $250,000.00. In addition, the Company
         agrees to provide one or more additional advance payment retainers as necessary, so as to
         ensure that the amount of any advance payment retainers remain at or above our
         estimated fees and expenses. We may apply the advance payment retainers to any
         outstanding fees as services are rendered and to expenses as they are incurred. The
         Company understands and acknowledges that any advance payment retainers are earned
         by us upon receipt, any advance payment retainers become our property upon receipt, the
         Company no longer has a property or any other interest in any advance payment retainers
         upon our receipt, any advance payment retainers will be placed in our general account
         and will not be held in a client trust, escrow or similar account, and the Company will not
         earn any interest on any advance payment retainers. The purpose of the advance payment
         retainer is to ensure that we do not become a creditor of the Company and will not be
         disqualified from representing the Company in any liquidation, reorganization or similar
         proceeding, including in any case under Title 11 of the United States Code. The advance
         payment retainer is not a security deposit or security retainer. Notwithstanding payment
         of the advance payment retainers, the Company shall remain liable to us for all amounts
         owed to us pursuant to the terms of this engagement letter. At the conclusion of this
         engagement, if the amount of any advance payment retainers held by us are in excess of
         the amount of our outstanding and estimated fees, expenses and costs, we will pay to the
         Company an amount equal to the amount by which any advance payment retainers
         exceed such fees, expenses and costs.

                         3.      Fees for Legal Services — Our fees for legal services are based
         on our assessment of the reasonable value of our services. To assist us in determining
         that value, we assign hourly rates to each of our lawyers and legal assistants, and require
         each to maintain a record of the time spent and the services rendered on a particular
         matter. Time is recorded in tenths of an hour, which is the minimum we charge for any
         service. Our hourly rates, which are based on seniority, currently range from $1,165 to
         $1,560 per hour for partners; $1,125 to $1,160 per hour for counsel; $480 to $1,065 per
         hour for staff attorneys and associates; and $110 to $365 per hour for legal assistants.
         From time to time, we reassess these rates to account for increases in our costs,
         augmentation of the experience and ability of our legal personnel and other factors, and
         thus our current rates may change (and be thereafter applied to all unbilled time) during
         our representation of you. In addition to hourly rates, we may also take account of the
         types of services involved; the size, scope, complexity, and time limitations of the matter;
         the results obtained; and other relevant circumstances, including any factors that you may
         wish to call to our attention. We are prepared, consistent with these principles, to adapt
         our valuation of services in advance of undertaking the representation to address any
         special needs you may raise with us.
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PAUL, W E I S S , R I F K I N D , W H A R T O N & G A R R I S O N LLP


         Sears Holdings Corporation                                                                 4


                         4.      Disbursements & Other Charges — We are committed to
         serving you with the most effective and cost-efficient support systems reasonably
         required as an incident to our legal services, and to this end we allocate charges for such
         systems in accordance with the extent of usage by individual clients, which are billed in
         addition to our fee for legal services. We provide certain services (or incur costs) in-
         house for which we charge an amount calculated in an effort fairly to reflect the
         equipment, personnel and overhead costs to us of providing the services to you. We
         obtain other services (or incur other costs) from outside vendors or suppliers for which
         we charge only the amount billed to us by the vendor or supplier. We may forward the
         invoices from these outside sources directly to you, in which event you will be
         responsible to pay the invoices in accordance with their terms. Otherwise, our statements
         will separately bill you for these disbursements and other charges.

                        In the event we are required to respond to a subpoena or other formal
         request from a third party relating to services we have performed for you, you agree to
         reimburse us for our time and expense incurred in responding to such request.

                         5.       Billing — We want our clients to be satisfied with both the
         quality of our services and the reasonableness of our bills, and we earnestly invite you to
         discuss with us any questions or comments you may have about any of our fees and
         charges or the format of our bills. We will send statements to the Company on a monthly
         basis for the fees, disbursements, and related charges incurred in the preceding month,
         except that, in certain transactions, we may mutually agree that some or all of the billing
         will be done on some other basis. While we make every effort to include all
         disbursements in the statements for the period in which they were incurred, some costs
         (especially telephone or outside vendor expenses) are not available at the time of billing
         and must therefore be included in a later statement. Our statements are due and owing
         upon receipt and the Company, by the signature of its representative below, agrees to pay
         such statements. In the event that some or all of our fees might be subject to payment by
         some third party (e.g., an insurance company), we regard our client as responsible for the
         payment of our fees and, absent a specific agreement to the contrary, we will not look to
         the third party for payment. We first apply all payments we receive from you to our
         oldest outstanding statement.

                          6.     Managing Costs — We are sensitive to the need to manage and,
          when possible, to predict legal costs. We are happy to work with you to estimate our
          likely fees and expenses in connection with our services. You understand, however, that
          any estimate of projected fees is necessarily only an inexact approximation based on
          assumptions that may prove unfounded in the unique circumstances of each matter, and
          that such estimates are not intended as either a maximum or a minimum fee for our legal
          services.

                           7.      Outside Experts — In the course of our representation it may be
          appropriate, with your advance approval, to retain persons of special training or expertise
          to assist in the rendition of legal services (e.g., accountants, economists, financial
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         advisors, investigators). Owing to privileges that may apply to services that an attorney
         requests from a third party, it will often be advisable for this firm to assume responsibility
         for hiring such experts. Notwithstanding that the contractual relationship may be with
         this firm, however, you agree that you will bear the responsibility directly to pay the
         invoices for the fees and expenses incurred by these persons.

                        8.      Arbitration — In certain circumstances, you may have the right
         to demand arbitration of a dispute over our legal fees in civil matters involving amounts
         greater than one thousand dollars ($1,000) and less than fifty thousand dollars ($50,000).
         In the event such a dispute arises, we shall notify you in writing of your rights, if any, to
         demand mediation or arbitration, processes that may have significant advantages for you.

                         9.      Confidentiality — For our relationship to succeed, it is essential
         for you to provide us with all factual infonnation reasonably relevant and material to the
         subject matter of our representation. We regard the lawyer's duty to preserve the
         confidences and secrets of a client with the utmost seriousness. The confidences and
         secrets we obtain in the course of our representations belong to and may be waived by the
         Restructuring Committee or the Restructuring Sub-Committee, as applicable, and not by
         the employees, officers, or other directors of the Company. Of course, in the absence of a
         conflict, we are free to represent these other persons, but should not be deemed to do so
         without our express agreement to that effect.

                          10.    Conflicts of Interest — We wish to avoid any circumstance in
         which you would regard our representation of another client to be inconsistent with our
         duties to and understandings with you. Unless we have told you otherwise, we do not
         now represent another client in the specific matter in which you have retained us.
         However, the specific matters that could be or are RSC Conflict Matters or Other
         Conflict Matters are not known with certainty at the time of the commencement of this
         engagement. Upon the identification of specific RSC Conflict Matters or Other Conflict
         Matters, we will identify and notify you of any potential or actual ethical conflicts that
         Paul Weiss may have with respect to such RSC Conflict Matter or Other Conflict
         Matters. The extent of such notice may be affected by our ethical duty to our other
         client(s) not to disclose the confidential information of the other client(s), in which case
         we will initially provide only the extent of notice that we believe we are then permitted to
         provide and supplement the notice when doing so would no longer violate our ethical
         duty to our other client(s). If Paul Weiss determines that there is a potential or actual
         ethical conflict with respect to a particular RSC Conflict Matter or Other Conflict Matter,
         our representation and legal advice in that particular RSC Conflict Matter or Other
         Conflict Matter shall be subject to our receipt of written informed consent from each
         client.

                          Additionally, because we represent a large number of clients in a wide
          variety of legal matters around the world, it is possible that we currently represent, or in
          the future may be asked to represent, in some other matter unrelated to the specific matter
          in which you have engaged us, some person or entity whose interests are actually or
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         potentially adverse to your interests in this or other matters, including in negotiations,
         work-outs, bankruptcy proceedings, or litigation. We agree that we will not undertake
         any such representation if the subject of the other representation is related to the specific
         matter in which we currently represent you. If the matters are not related, however, then
         you hereby agree that we will be free to undertake such an unrelated adverse
         representation provided that (a) the unrelated representation will not implicate any
         confidential information we have received from you, and (b) the other client has
         consented to our continued representation of you. This means that this firm could
         represent another client against you in an unrelated matter such as a lawsuit, a
         transaction, or some other matter. Your agreement as set forth in this paragraph
         represents your acknowledgement that such adverse representations are foreseeable to
         you, and effects a waiver of your right, if any, to object to our representation in the
         unrelated matter of another client whose interests are adverse to yours. Since we
         understand that you are experienced in retaining counsel, we are relying upon your
         agreement to the foregoing in undertaking this representation. We urge you to ask us (or
         other counsel) any questions concerning this paragraph before we undertake to represent
         you.

                          Moreover, in the course of representing you, and in order fully to satisfy
         our professional obligations, we may from time to time need to consult with the lawyers
         in this firm responsible for advising the firm on ethical issues, including issues that may
         implicate your interests. You acknowledge and agree that, notwithstanding this potential
         for conflict in consideration of our professional obligations, the firm is free to consult
         with its own internal counsel on such matters without your consent and that such
         consultations are privileged and confidential.

                          11.    Termination — We hope and trust that our relationship with you
         will be a long and fruitful one. Nevertheless, you are free to terminate our representation
         of you at any time unless judicial approval is required for us to withdraw, in which event
         we agree not to oppose such withdrawal. Subject always to any applicable rule of court,
         we may terminate this agreement if you deliberately disregard the terms of this agreement
         or if, in our professional judgment, we are unable to continue the representation
         consistent with our ethical obligations. Notwithstanding any such termination, you
         remain liable to pay all fees and charges incurred up to the date of termination. Upon
         completion of the matter to which this engagement letter applies, or the earlier
         termination of the representation, our attorney-client relationship will end unless we
         agree to continue the representation on other matters. We shall have no continuing
         obligation to advise you on any matter unless we otherwise agree in writing.

                         12.    Legal Updates, Publications and Events — You agree that we
          may contact you with legal updates or other publications which we believe may be useful
          to you (for example, with details of relevant changes in law). In addition, you agree that
          we may send you invitations to events such as client seminars on various legal topics.
          We may contact you for these purposes by email, mail or telephone (as appropriate). If
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         you prefer not to be contacted for these purposes, please email us at
         privacy@paulweiss.com.

                       13.     Governing Law — Any controversy, dispute or claim of any
         kind between us shall be governed by and interpreted in accordance with the laws of the
         State of New York, without regard to any provisions governing conflicts of laws.

                       14.    Entire Agreement — These terms set out the entire agreement
         between you and us concerning our provision of legal services. Any modifications of or
         amendments to these terms must be in writing and agreed by both parties.

                         15.     Records Management and Retention — We will maintain all
         paper and electronic records related to our representation of you in secure facilities and
         on secure servers. Those records will include documents such as legal pleadings,
         transactional documents, substantive correspondence and other documents reasonably
         necessary to our representation of you in the matter (the "Client File"). The Client File is
         your property. The records may also include purely internal firm documents prepared for
         the purpose of facilitating performance of our legal services in the form of research
         memoranda, outlines, emails, handwritten notes and mark-ups of documents, as well as
         new matter intake forms and internal conflicts checking records. These records are our
         property. At the close of a specific matter, we will return to you your original
         documents, if any, related to the matter. At your request, any remaining records in the
         Client File will be returned to you at your expense. You agree that we may make
         physical or electronic copies if we choose at our own expense. You agree and understand
         that any materials left with us after the engagement has terminated may be retained or
         destroyed at our discretion without further notice to you and in a manner which preserves
         the confidential and secret nature of their contents. The firm's current policy is to retain
         records (other than duplicates and the like) for a period often years after the matter has
         terminated. In personal representation matters, the retention period is twenty years. At
         the expiration of the relevant retention period, the retained matter records will be
         destroyed. Please advise us if you have a records retention policy in place with which we
         will need to comply.



                         Our goal is to serve you in an effective and efficient way, and we welcome
         your views on how we may best do so. We encourage you to discuss with us any
         questions you might have concerning these matters. Please signify your acceptance of
         the foregoing Terms of Engagement by signing the enclosed copy of this letter and
         returning it to me. Please note that your instructing us or continuing to instruct us on the
         matter discussed above will constitute your full acceptance of the terms set out above.
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                       Again, we are all pleased at the chance to work on this matter and look
        forward to a successful outcome.

                                                     Sincerely,




                                                     Paul M. Basta


        AGREED:


        By:


        Name:      Alan J. Carr

        Title:   Member of the Board of Directors
